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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                       (Jointly Administered)
                        Debtors.


          FIFTH AMENDED CHAPTER 11 PLAN OF REORGANIZATION FOR
              BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

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Attorneys for the Debtors and Debtors in Possession

Dated: September 15, 2021
       Wilmington, Delaware



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    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The
    Debtors’ mailing address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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                                       INTRODUCTION

        Boy Scouts of America and Delaware BSA, LLC, the non-profit corporations that are
debtors and debtors in possession in the above-captioned chapter 11 cases, hereby propose this
plan of reorganization pursuant to section 1121(a) of the Bankruptcy Code. Capitalized terms
used herein shall have the meanings ascribed to such terms in Article I.A. The Plan provides for
the global resolution of Abuse Claims against the Debtors, Related Non-Debtor Entities, Local
Councils, Contributing Chartered Organizations, Settling Insurance Companies, and their
respective Representatives. The Debtors are the proponents of the Plan within the meaning of
section 1129 of the Bankruptcy Code. The Plan is also proposed in accordance with the JPM /
Creditors’ Committee Term Sheet, pursuant to which the Debtors, the Creditors’ Committee and
JPM have agreed to take certain actions to support the prosecution and consummation of the
Plan. The Coalition and the Future Claimants’ Representative also support the Plan. Reference
is made to the Disclosure Statement for a discussion of the Debtors’ history, charitable mission,
operations, projections for those operations, risk factors, and certain related matters. The
Disclosure Statement also provides a summary and analysis of the Plan. YOU ARE URGED TO
READ THE DISCLOSURE STATEMENT AND THE PLAN WITH CARE IN EVALUATING
HOW THE PLAN WILL AFFECT YOUR CLAIM(S) BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.

                                          ARTICLE I.

                   DEFINITIONS AND RULES OF INTERPRETATION

      A.      Definitions. The capitalized terms used in the Plan shall have the respective
meanings set forth below.

              1.     “2010 Bond” means The County Commission of Fayette County (West
       Virginia) Commercial Development Revenue Bond (Arrow WV Project) Series 2010B in
       an aggregate principal amount of $50,000,000, issued by the Bond Issuer pursuant to the
       2010 Bond Agreement, the proceeds of which were loaned to the BSA pursuant to the
       2010 Note.

              2.     “2010 Bond Agreement” means that certain Bond Purchase and Loan
       Agreement dated as of November 5, 2010, by and among the Bond Issuer, JPM, the BSA
       and Arrow, as amended, restated, supplemented or otherwise modified from time to time.

               3.      “2010 Bond Claim” means any Claim against the Debtors arising under,
       derived from, or based upon the 2010 Bond Documents, including any Claim for
       obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2010
       Bond Documents, whether now existing or hereafter arising, whether direct, indirect,
       related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
       several, including the obligation of the BSA to repay the 2010 Note, interest on the 2010
       Note, and all fees, costs, expenses and obligations of any kind or character due or
       recoverable from the Debtors under the 2010 Bond Documents.
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        4.     “2010 Bond Documents” means collectively, the 2010 Bond, the 2010
Bond Agreement, the 2010 Note, the Prepetition Security Documents (2019), the
Prepetition Security Agreement (2020) (in the case of the Prepetition Security Documents
(2019) and the Prepetition Security Agreement (2020), solely as such documents and
agreements pertain to obligations under the other 2010 Bond Documents), and all
documentation executed and delivered in connection therewith, as amended, restated,
supplemented or otherwise modified from time to time.

        5.      “2010 Credit Agreement” means that certain Credit Agreement dated as of
August 11, 2010, by and between the BSA, as borrower, and JPM, as lender, as amended
by that certain First Amendment to Credit Agreement dated as of November 5, 2010, that
certain Second Amendment to Credit Agreement dated as of November 11, 2011, that
certain Third Amendment to Credit Agreement dated as of March 9, 2012, that certain
Fourth Amendment to Credit Agreement dated as of April 25, 2016, that certain Fifth
Amendment to Credit Agreement dated as of March 2, 2017, that certain Sixth
Amendment to Credit Agreement dated as of February 15, 2018, and that certain Seventh
Amendment to Credit Agreement, dated as of March 21, 2019, pursuant to which JPM
agreed to make term loans to the BSA in an aggregate amount of $25,000,000 and agreed
to make revolving loans to the BSA and issue letters of credit on behalf of the BSA in an
aggregate amount not to exceed $75,000,000.

        6.      “2010 Credit Facility Claim” means any Claim against the Debtors arising
under, derived from, or based upon the 2010 Credit Facility Documents, including any
Claim for obligations, indebtedness, and liabilities of the BSA arising pursuant to any of
the 2010 Credit Facility Documents, whether now existing or hereafter arising, whether
direct, indirect, related, unrelated, fixed, contingent, liquidated, unliquidated, joint,
several, or joint and several, including the obligation of the BSA to pay principal and
interest, and all fees, costs, expenses and other obligations of any kind or character due or
recoverable under the 2010 Credit Facility Documents.

        7.     “2010 Credit Facility Documents” means, collectively, the 2010 Credit
Agreement, the Prepetition Security Documents (2019), the Prepetition Security
Agreement (2020) (in the case of the Prepetition Security Documents (2019) and the
Prepetition Security Agreement (2020), solely as such documents and agreements pertain
to obligations under the other 2010 Credit Facility Documents), and all documentation
executed and delivered in connection therewith, as amended, restated, supplemented or
otherwise modified from time to time.

        8.      “2010 Note” means that certain Promissory Note – 2010B executed by the
BSA, as borrower, and payable to the order of the Bond Issuer in the original principal
amount of $50,000,000, which note was pledged by the Bond Issuer to JPM pursuant to
the 2010 Bond Agreement to secure the repayment of the 2010 Bond, as amended,
restated, supplemented or otherwise modified from time to time.

       9.     “2012 Bond” means The County Commission of Fayette County (West
Virginia) Commercial Development Revenue Bond (Arrow WV Project), Series 2012, in
an aggregate principal amount of $175,000,000, issued by the Bond Issuer pursuant to the


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2012 Bond Agreement, the proceeds of which were loaned to the BSA pursuant to the
2012 Note.

       10.   “2012 Bond Agreement” means that certain Bond Purchase and Loan
Agreement dated as of March 9, 2012, between the Bond Issuer, JPM, the BSA and
Arrow, as amended, restated, supplemented or otherwise modified from time to time.

        11.     “2012 Bond Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2012 Bond Documents, including any Claim for
obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2012
Bond Documents, whether now existing or hereafter arising, whether direct, indirect,
related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
several, including the obligation of the BSA to repay the 2012 Note, interest on the 2012
Note, and all fees, costs, expenses and obligations of any kind or character due or
recoverable from the Debtors under the 2012 Bond Documents.

        12.    “2012 Bond Documents” means collectively, the 2012 Bond, the 2012
Bond Agreement, the 2012 Note, the Prepetition Security Documents (2019), the
Prepetition Security Agreement (2020) (in the case of the Prepetition Security Documents
(2019) and the Prepetition Security Agreement (2020), solely as such documents and
agreements pertain to obligations under the other 2012 Bond Documents), and all
documentation executed and delivered in connection therewith, as amended, restated,
supplemented or otherwise modified from time to time.

        13.     “2012 Note” means that certain Promissory Note – 2012, executed by the
BSA, as borrower, and payable to the order of the Bond Issuer in the original principal
amount of $175,000,000, which note was pledged by the Bond Issuer to JPM pursuant to
the 2012 Bond Agreement to secure the repayment of the 2012 Bond, as amended,
restated, supplemented or otherwise modified from time to time.

       14.     “2019 RCF Agreement” means that certain Credit Agreement, dated as of
March 21, 2019, by and between the BSA, as borrower, and JPM, as lender, pursuant to
which JPM agreed to make revolving loans to the BSA and issue letters of credit on
behalf of the BSA in an aggregate amount not to exceed $71,500,000, the maturity date
of which was extended pursuant to that certain Consent to Extension of Maturity Date
dated as of January 16, 2020.

        15.     “2019 RCF Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2019 RCF Documents, including any Claim for
obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2019
RCF Documents, whether now existing or hereafter arising, whether direct, indirect,
related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
several, including the obligation of the BSA to pay principal and interest, and all fees,
costs, expenses and other obligations of any kind or character due or recoverable under
the 2019 RCF Documents.




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        16.    “2019 RCF Documents” means, collectively, the 2019 RCF Agreement,
the Prepetition Security Documents (2019), the Prepetition Security Agreement (2020)
(in the case of the Prepetition Security Documents (2019) and the Prepetition Security
Agreement (2020), solely as such documents and agreements pertain to obligations under
the other 2019 RCF Documents), and all documentation executed and delivered in
connection therewith, as amended, restated, supplemented or otherwise modified from
time to time.

        17.    “Abuse” means sexual conduct or misconduct, sexual abuse or
molestation, sexual exploitation, indecent assault or battery, rape, pedophilia,
ephebophilia, sexually related psychological or emotional harm, humiliation, anguish,
shock, sickness, disease, disability, dysfunction, or intimidation, any other sexual
misconduct or injury, contacts or interactions of a sexual nature, including the use of
photography, video, or digital media, or other physical abuse or bullying or harassment
without regard to whether such physical abuse or bullying is of a sexual nature, between a
child and an adult, between a child and another child, or between a non-consenting adult
and another adult, in each instance without regard to whether such activity involved
explicit force, whether such activity involved genital or other physical contact, and
whether there is or was any associated physical, psychological, or emotional harm to the
child or non-consenting adult.

        18.     “Abuse Claim” means a liquidated or unliquidated Claim against a
Protected Party or a Limited Protected Party that is attributable to, arises from, is based
upon, relates to, or results from, in whole or in part, directly, indirectly, or derivatively,
alleged Abuse that occurred prior to the Petition Date (and in the case of Limited
Protected Parties, on or after January 1, 1976), including any such Claim that seeks
monetary damages or other relief, under any theory of law or equity whatsoever,
including vicarious liability, respondeat superior, conspiracy, fraud, including fraud in
the inducement, any negligence-based or employment-based theory, including negligent
hiring, selection, supervision, retention or misrepresentation, any other theory based on
misrepresentation, concealment, or unfair practice, public or private nuisance, or any
other theory, including any theory based on public policy or any act or failure to act by a
Protected Party, a Limited Protected Party or any other Person for whom any Protected
Party or Limited Protected Party is alleged to be responsible; provided, however, that
with respect to any Contributing Chartered Organization or its personnel or affiliates, the
term “Abuse Claim” shall be limited to any such Claim that is attributable to, arises from,
is based upon, or results from, in whole or in part, directly, indirectly, or derivatively,
alleged Abuse that occurred prior to the Petition Date, including any such Claim that
seeks monetary damages or other relief, under any theory of law or equity whatsoever,
including vicarious liability, respondeat superior, conspiracy, fraud, including fraud in
the inducement, any negligence-based or employment-based theory, including negligent
hiring, selection, supervision, retention or misrepresentation, concealment, or unfair
practice, public or private nuisance, or any other theory, including any theory based on
public policy or any act or failure to act by a Protected Party, a Limited Protected Party or
any other Person for whom any Protected Party or Limited Protected Party is alleged to
be responsible, in connection, in whole or in part, with the Contributing Chartered
Organization’s involvement in, or sponsorship of, one or more Scouting units (including


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any Claim that has been asserted or may be amended to assert in a proof of claim alleging
Abuse, whether or not timely filed, in the Chapter 11 Cases); provided further, however,
that with respect to any Participating Chartered Organization, the term “Abuse Claim”
shall be limited to Post-1975 Chartered Organization Abuse Claims. Abuse Claims
include any Future Abuse Claims, any Indirect Abuse Claims, and any Claim that is
attributable to, arises from, is based upon, relates to, or results from, alleged Abuse
regardless of whether, as of the Petition Date, such Claim was barred by any applicable
statute of limitations.

        19.   “Abuse Claims Settlement” has the meaning ascribed to such term in
Article V..S.

        20.   “Abuse Insurance Policies” means, collectively, the BSA Insurance
Policies and the Local Council Insurance Policies. Abuse Insurance Policies do not
include Non-Abuse Insurance Policies.

        21.    “Accrued Professional Fees” means, as of any date, and regardless of
whether such amounts are billed or unbilled, all of a Professional’s or Coalition
Professional’s accrued fees and reimbursable expenses for services rendered in the
Chapter 11 Cases up to and including such date, whether or not such Professional or
Coalition Professional has then filed an application for the Allowance and payment of
such fees and expenses: (a) to the extent that any such fees and expenses have not been
previously paid by the Debtors; and (b) after each Professional has applied to such
accrued fees and expenses the balance of any retainer that has been provided by the
Debtors to such Professional, if applicable. No amount of a Professional’s or Coalition
Professional’s fees or expenses denied by a Final Order of the Bankruptcy Court shall
constitute Accrued Professional Fees.

       22.    “Ad Hoc Committee” means the Ad Hoc Committee of Local Councils of
the Boy Scouts of America.

        23.    “Administrative Expense Claim” means any right to payment from the
Debtors that constitutes a cost or expense of administration incurred during the Chapter
11 Cases of the kind specified under 503(b) of the Bankruptcy Code and entitled to
priority under sections 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses of preserving the Estates or
continuing the operations of the Debtors incurred during the period from the Petition
Date to the Effective Date; (b) the Hartford Administrative Expense Claim and, if
applicable in accordance with the Hartford Insurance Settlement Agreement, the Hartford
Additional Administrative Expense Claim; (c) Professional Fee Claims; and (d) Quarterly
Fees.

        24.    “Affiliate” has the meaning ascribed to such term in section 101(2) of the
Bankruptcy Code. With respect to any Person that is not a Debtor in the Chapter 11
Cases, the term “Affiliate” shall apply to such Person as if the Person were a Debtor.




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        25.     “Affirmation Order” means an order of the District Court affirming
Confirmation of the Plan and issuing or affirming the issuance of the Channeling
Injunction in favor of the Protected Parties and the Limited Protected Parties, which shall
be in form and substance acceptable to (a) the Debtors, the Ad Hoc Committee, the
Coalition, the Future Claimants’ Representative and Hartford and (b) the Creditors’
Committee and JPM in accordance with their respective consent rights under the JPM /
Creditors’ Committee Term Sheet.

       26.     “Allowed” has the following meanings for Non-Abuse Claims:

               a.     with respect to any Claim that is asserted to constitute an
       Administrative Expense Claim: (i) a Claim that represents an actual and necessary
       cost or expense of preserving the Estates or continuing the operations of the
       Debtors incurred during the period from the Petition Date to the Effective Date
       for which a request for payment is filed, (A) to the extent such Claim is
       determined by the Debtors to constitute an Administrative Expense Claim or
       allowed by a Final Order of the Bankruptcy Court or (B) as to which no objection
       to allowance has been interposed and not withdrawn within the applicable period
       fixed by the Plan or applicable law; (ii) other than with respect to a Professional
       Fee Claim, a Claim that arises during the period from the Petition Date to the
       Effective Date for which a request for payment is filed that is Disputed by the
       Debtors, which Claim is allowed in whole or in part by a Final Order of the
       Bankruptcy Court to the extent that such allowed portion is determined by a Final
       Order to constitute a cost or expense of administration under sections 503(b) and
       507(a)(1) of the Bankruptcy Code; (iii) a Claim that arises during the period from
       the Petition Date to the Effective Date in the ordinary course of the Debtors’ non-
       profit operations that is determined by the Debtors to constitute an Administrative
       Expense Claim; or (iv) a Professional Fee Claim, to the extent allowed by a Final
       Order of the Bankruptcy Court;

              b.     with respect to any 2010 Credit Facility Claim, 2019 RCF Claim,
       2010 Bond Claim, or 2012 Bond Claim, any such Claim that is expressly allowed
       as provided under Article III; and

                c.      with respect to any Priority Tax Claim, Other Priority Claim, Other
       Secured Claim, Convenience Claim, General Unsecured Claim, Non-Abuse
       Litigation Claim, or any portion of any of the foregoing, a Claim that is: (i) listed
       in the Schedules as not being disputed, contingent or unliquidated and with
       respect to which no contrary or superseding Proof of Claim has been filed, and
       that has not been paid pursuant to an order of this Court prior to the Effective
       Date; (ii) evidenced by a Proof of Claim filed on or before the applicable Bar
       Date, not listed in the Schedules as disputed, contingent or unliquidated, and as to
       which no objection has been filed on or before the Claims Objection Deadline;
       (iii) not the subject of an objection to Allowance, which Claim (A) was filed on or
       before the Claims Objection Deadline and (B) has not been settled, waived,
       withdrawn or Disallowed pursuant to a Final Order; or (iv) expressly Allowed
       (x) pursuant to a Final Order, (y) pursuant to an agreement between the holder of


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       such Claim and the Debtors or Reorganized BSA, as applicable, or (z) pursuant to
       the terms of the Plan. For the avoidance of doubt, the holder of a Claim
       evidenced by a Proof of Claim filed after the applicable Bar Date shall not be
       treated as a creditor with respect to such Claim for the purposes of voting and
       distribution.

       “Allowance” and “Allowing” have correlative meanings.

      27.     “Amended BSA Bylaws” means the amended and restated bylaws of the
BSA, substantially in the form contained in the Plan Supplement.

       28.    “Arrow” means Arrow WV, Inc., a West Virginia non-profit corporation.

       29.    “Arrow Collateral Assignment” means that certain Collateral Assignment
of Promissory Note and Credit Line Deed of Trust, dated as of March 21, 2019, by and
between the BSA, as assignor, and JPM, as lender, pursuant to which BSA assigned the
Arrow Intercompany Note and Arrow Deed of Trust to JPM to secure the obligations
under the 2010 Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond
Documents, and the 2012 Bond Documents.

       30.    “Arrow Deed of Trust” means that certain Credit Line Deed of Trust,
dated as of June 30, 2010, made and executed by Arrow, as grantor, to Leslie Miller-
Stover, as trustee, for the benefit of the BSA, as amended by that certain First
Amendment to Credit Line Deed of Trust, dated as of March 21, 2019.

       31.    “Arrow Intercompany Note” means that certain Amended and Restated
Promissory Note dated as of March 21, 2019, issued by Arrow to the BSA in an original
principal amount of $350,000,000.

       32.    “Artwork” means the artwork listed on Schedule 1.

        33.    “Assumed Contracts and Unexpired Leases Schedule” means the schedule
of Executory Contracts or Unexpired Leases to be assumed by the BSA under the Plan
and the Cure Amount for each such Executory Contract or Unexpired Lease, as set forth
in the Plan Supplement, as may be amended, modified, or supplemented from time to
time in accordance with the terms hereof.

        34.     “Avoidance Actions” means any and all actual or potential avoidance,
recovery, subordination or other Claims, causes of action or remedies that may be
brought by or on behalf of the Debtors or their Estates or other authorized parties in
interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims,
Causes of Action or remedies under sections 502, 510, 542, 544, 545, 547 through 553,
and 724(a) of the Bankruptcy Code, or under similar or related local, state, federal, or
foreign statutes or common law, including preference and fraudulent transfer and
conveyance laws, in each case whether or not litigation to prosecute such Claim(s),
Cause(s) of Action or remedy(ies) were commenced prior to the Effective Date.




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      35.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101–1532, as in effect on the Petition Date.

        36.     “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware or such other court having jurisdiction over the Chapter 11 Cases.

       37.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under 28 U.S.C. § 2075, as applicable
to the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy
Court, each as amended from time to time.

       38.    “Bar Date” means (a) November 16, 2020 for any Claim (other than an
Administrative Expense Claim or a Claim of a Governmental Unit), or (b) August 17,
2020 for any Claim of a Governmental Unit, in each case as established by the Bar Date
Order.

        39.     “Bar Date Order” means the Order, Pursuant to 11 U.S.C. §§ 502(b)(9),
Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and 3003-1,
(I) Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and
Manner of Notice Thereof, (III) Approving Procedures for Providing Notice of Bar Date
and Other Important Information to Abuse Survivors, and (IV) Approving Confidentiality
Procedures for Abuse Survivors, entered by the Bankruptcy Court on May 26, 2020 at
Docket No. 695, as amended, modified or supplemented by order of the Bankruptcy
Court from time to time.

       40.      “Bond Issuer” means The County Commission of Fayette County (West
Virginia) in its capacity as the issuer under the 2010 Bond Agreement and the 2012 Bond
Agreement.

        41.     “BSA” means Boy Scouts of America, a congressionally chartered non-
profit corporation under title 36 of the United States Code.

       42.     “BSA Charter” means the congressional charter of the BSA, enacted on
June 15, 1916, as amended.

        43.    “BSA Insurance Policies” means any and all known and unknown
contracts, binders, certificates or Insurance Policies currently or previously in effect at
any time on or before the Effective Date naming the Debtors, or either of them, or any
predecessor, subsidiary, or past or present Affiliate of the Debtors, as an insured (whether
as the primary or an additional insured), or otherwise alleged to afford the Debtors
insurance coverage, upon which any claim could have been, has been, or may be made
with respect to any Abuse Claim, including the policies listed on Schedule 2. For the
avoidance of doubt, BSA Insurance Policies shall not include: (a) any policy providing
reinsurance to any Settling Insurance Company; (b) any Non-Abuse Insurance Policy; or
(c) any Local Council Insurance Policy.




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       44.    “BSA Settlement Trust Contribution” means:

              a.     all of the Net Unrestricted Cash and Investments, which are
       forecasted to total approximately $90,000,000, subject to potential variance
       depending upon the timing of the Effective Date and the BSA’s cash flow
       performance up to and including the Effective Date;

             b.      the BSA Settlement Trust Note, in the principal amount of
       $80,000,000, subject to the terms of Article V.S.3;

              c.      the BSA’s right, title and interest in and to the Artwork, which are
       deemed to be valued at approximately $59,000,000, and the rights to any
       insurance or the proceeds thereof with respect to missing, damaged, or destroyed
       Artwork, if any;

               d.     all of the BSA’s right, title and interest in and to the Warehouse
       and Distribution Center, subject to the Leaseback Requirement, or the proceeds of
       a third-party sale-leaseback of the Warehouse and Distribution Center for fair
       market value, which is valued at approximately $11,600,000;

               e.     the BSA’s right, title and interest in and to the Oil and Gas
       Interests, which are valued at approximately $7,600,000;

              f.     the net proceeds of the sale of Scouting University, which equal
       approximately $1,962,000;

              g.      the Insurance Assignment;

              h.      the Debtors’ Settlement Trust Causes of Action; and

              i.     the assignment of any and all Perpetrator Indemnification Claims
       held by the BSA.

For the avoidance of doubt, the BSA Settlement Trust Contribution shall not include:
(i) the proceeds of the Foundation Loan Facility; or (ii) any Causes of Action against
Released Parties or holders of General Unsecured Claims, Non-Abuse Litigation Claims,
or Convenience Claims released by the Debtors and their Estates under Article X.J.

       45.     “BSA Settlement Trust Note” means the secured, interest-bearing
promissory note in the principal amount of $80,000,000, substantially in the form
contained in the Plan Supplement, to be issued to the Settlement Trust by Reorganized
BSA on the Effective Date in accordance with Article V.S.3 and Article V.X.

       46.     “Business Day” means any day, other than a Saturday, Sunday or “legal
holiday” as such term is defined in Bankruptcy Rule 9006(a).

       47.    “Cash” means legal tender of the United States of America.



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       48.     “Cash Collateral Order” means the Final Order (I) Authorizing the
Debtors to Utilize Cash Collateral Pursuant to 11 U.S.C. § 363; (II) Granting Adequate
Protection to the Prepetition Secured Party Pursuant to 11 U.S.C. §§ 105(a), 361, 362,
363, 503, and 507; and (III) Granting Related Relief, entered by the Bankruptcy Court on
April 15, 2020 at Docket No. 433.

         49.     “Causes of Action” means any claims, interests, damages, remedies,
causes of action, demands, rights, actions (including Avoidance Actions), suits,
obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens,
indemnities, guaranties, and franchises of any kind or character whatsoever, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or
non-contingent, liquidated or unliquidated, choate or inchoate, secured or unsecured,
capable of being asserted, directly or derivatively, matured or unmatured, suspected or
unsuspected, in contract, tort, law, equity, or otherwise, whether arising before, on, or
after the Petition Date. Causes of Action also include: (a) all rights of setoff,
counterclaim, or recoupment and claims under contracts or for breaches of duties
imposed by law or in equity; (b) the right to object to or otherwise contest Claims or
Interests; (c) such claims and defenses as fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; and (d) any claim under any
local, state, federal or foreign law, including any fraudulent transfer or similar claim.

        50.   “Channeling Injunction” means the permanent injunction provided for in
Article X.F with respect to (a) Abuse Claims against the Protected Parties and (b) Post-
1975 Chartered Organization Abuse Claims against the Limited Protected Parties, to be
issued pursuant to the Confirmation Order.

        51.   “Chapter 11 Cases” means the cases filed by the Debtors under chapter 11
of the Bankruptcy Code, which are jointly administered under Case No. 20-10343 (LSS).

       52.     “Chartered Organizations” means each and every civic, faith-based,
educational or business organization, governmental entity or organization, other entity or
organization, or group of individual citizens, in each case presently or formerly
authorized by the BSA to operate, sponsor or otherwise support one or more Scouting
units.

        53.     “Chartered Organization Reserved Policies” shall mean liability insurance
policies, if any, that (a) (i) were issued to individual Local Councils before January 1,
1976 or (ii) were issued to the BSA before January 1, 1976, (b) have a policy period that
ends before January 1, 1976, and (c) name Chartered Organizations as insureds, either
individually or collectively.

      54.    “Claim” means any “claim,” as defined in section 101(5) of the
Bankruptcy Code, which, for the avoidance of doubt, shall include any Abuse Claim.

      55.    “Claims Objection Deadline” means the deadline for filing an objection to
any Administrative Expense Claim (other than a Professional Fee Claim), Priority Tax
Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General



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Unsecured Claim, or Non-Abuse Litigation Claim, which deadline shall be: (a) 180 days
after the Effective Date with respect to all such Claims and Interests other than
Convenience Claims, General Unsecured Claims, and Non-Abuse Claims, subject to any
extensions approved by an order of the Bankruptcy Court; and (b) sixty (60) days after
the Effective Date with respect to Convenience Claims, General Unsecured Claims, and
Non-Abuse Litigation Claims, subject to any extensions approved by an order of the
Bankruptcy Court with the consent of the Creditor Representative (such consent not to be
unreasonably withheld); provided, however, that the Debtors shall not be bound by the
Claims Objection Deadline with respect to any Claim filed after the Bar Date; provided
further, however, that the Claims Objection Deadline shall not apply to Abuse Claims,
which shall be administered exclusively in accordance with the Settlement Trust
Documents.

        56.    “Claims Record Date” means the Voting Deadline, which is the date on
which the transfer register for each Class of Non-Abuse Claims against or Interests in the
Debtors, as such register is maintained by the Debtors or their agents, shall be deemed
closed.

       57.    “Claims Register” means the official register of Claims maintained by the
Notice and Claims Agent in the Chapter 11 Cases.

        58.     “Class” means each category of holders of Claims or Interests as set forth
in Article III pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

       59.     “Coalition” means the Coalition of Abused Scouts for Justice, an ad hoc
committee composed of thousands of holders of Direct Abuse Claims that filed a notice
of appearance in the Chapter 11 Cases on July 24, 2020 at Docket No. 1040.

       60.     “Coalition Professionals” means (a) Brown Rudnick LLP, (b) Robbins,
Russell, Englert, Orseck & Untereiner LLP, (c) Monzack, Mersky and Browder, P.A.,
(d) Province, LLC, and (e) Parsons, Farnell & Grein, LLP.

        61.     “Coalition Restructuring Expenses” has the meaning ascribed to such term
in Article V.T.

       62.     “Common-Interest Communications with Insurers” means documents,
information, or communications that are subject to the attorney-client privilege, attorney-
work product doctrine, or other privilege or protection from disclosure, and are shared
between or among (a) the Debtors and/or any Protected Party or Limited Protected Party,
on the one hand, and (b) any Insurance Company or its Representatives, on the other
hand, including documents that reflect defense strategy, case evaluations, discussions of
settlements or resolutions, and communications regarding underlying litigation.
Common-Interest Communications with Insurers do not include any communications
between or among the Debtors and any Insurance Company relating to matters on which
an Insurance Company has denied coverage.

      63.    “Compensation and Benefits Programs” means all employment
agreements and policies, and all employment, compensation, and benefit plans, policies,


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savings plans, retirement plans (including the Pension Plan), deferred compensation
plans, supplemental executive retirement plans, healthcare plans, disability plans,
severance benefit agreements, plans or policies, incentive plans, life and accidental death
and dismemberment insurance plans, and programs of the Debtors, and all amendments
and modifications thereto, applicable to the Debtors’ employees, former employees,
retirees, and non-employee directors, and the employees, retirees and non-employee
directors of the Local Councils and the Related Non-Debtor Entities. Notwithstanding
the foregoing, the Compensation and Benefits Programs shall not include the Deferred
Compensation Plan or the Restoration Plan.

        64.    “Compensation Procedures Order” means the Order (I) Approving
Procedures for (A) Interim Compensation and Reimbursement of Expenses of Retained
Professionals and (B) Expense Reimbursement for Official Committee Members and (II)
Granting Related Relief entered by the Bankruptcy Court on April 6, 2020 at Docket No.
341, as amended by the Order Amending the Order (I) Approving Procedures for (A)
Interim Compensation and Reimbursement of Expenses of Retained Professionals and (B)
Expense Reimbursement for Official Committee Members and (II) Granting Related
Relief entered by the Bankruptcy Court on August 6, 2021 at Docket No. 5899.

       65.    “Confirmation” means the entry of the Confirmation Order by the
Bankruptcy Court on the docket of the Chapter 11 Cases. “Confirm,” “Confirmed” and
“Confirmability” shall have correlative meanings.

        66.   “Confirmation Date” means the date on which the Bankruptcy Court
enters the Confirmation Order on the docket of the Chapter 11 Cases within the meaning
of Bankruptcy Rules 5003 and 9021.

       67.    “Confirmation Hearing” means the hearing(s) held by the Bankruptcy
Court under section 1128 of the Bankruptcy Code at which the Debtors seek entry of the
Confirmation Order.

       68.     “Confirmation Order” means the order of the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code, which shall be in
form and substance acceptable to (a) the Debtors, the Ad Hoc Committee, the Coalition.
the Future Claimants’ Representative and Hartford and (b) the Creditors’ Committee and
JPM in accordance with their respective consent rights under the JPM / Creditors’
Committee Term Sheet, as incorporated by reference in Article I.D.

       69.     “Contributing Chartered Organization Settlement Contribution” means the
following:

              a.     the contributions to the Settlement Trust by the Contributing
       Chartered Organizations, including the TCJC Settlement Contribution, as set forth
       on Exhibit C, and including contributions made after the Effective Date in
       accordance with Article IV.I;

             b.      to the maximum extent permitted by applicable law, any and all of
       the Contributing Chartered Organizations’ rights, titles, privileges, interests,


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       claims, demands or entitlements, as of the Effective Date, to any proceeds,
       payments, benefits, Causes of Action, choses in action, defense, or indemnity,
       now existing or hereafter arising, accrued or unaccrued, liquidated or
       unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent,
       arising under or attributable to: (i) the Abuse Insurance Policies, the Insurance
       Settlement Agreements, and claims thereunder and proceeds thereof; (ii) the
       Insurance Actions; and (iii) the Insurance Action Recoveries;

               c.      the waiver, release, and expungement from the Claims Register, as
       of the Effective Date, of any and all Claims that have been asserted in the Chapter
       11 Cases by or on behalf of any Contributing Chartered Organization, including
       any Indirect Abuse Claims, without any further notice to or action, order, or
       approval of the Bankruptcy Court, and the agreement of each Contributing
       Chartered Organization not to (i) file or assert any Claim or Claims against the
       Settlement Trust, the Debtors, or Reorganized BSA arising from any act or
       omission of the Debtors on or prior to the Confirmation Date or (ii) file or assert
       any rights or interests in any property transferred to the Settlement Trust under the
       Plan; provided, however, that the Indirect Abuse Claims (Claim Nos. 1248 and
       12530) filed by TCJC relating to the payment of costs to defend and resolve
       Abuse Claims shall be subordinated and not otherwise receive distributions until
       the date that the Confirmation Order and Affirmation Order become Final Orders;

              d.      the Contributing Chartered Organizations’ Settlement Trust Causes
       of Action; and

              e.     the assignment of any and all Perpetrator Indemnification Claims
       held by the Contributing Chartered Organizations.

        70.    “Contributing Chartered Organizations” means the current or former
Chartered Organizations listed on Exhibit D hereto, including any Chartered
Organization made a Protected Party under a Post-Effective Date Chartered Organization
Settlement approved by the Bankruptcy Court in accordance with Article IV.I. No
Participating Chartered Organization shall be considered a Contributing Chartered
Organization based solely on the Participating Chartered Organization Insurance
Assignment. Without limiting the foregoing, subject to Confirmation of the Plan and
approval of the TCJC Settlement Agreement by an order of the Bankruptcy Court
(including in the Confirmation Order), TCJC is a Contributing Chartered Organization
and shall be designated as such in the Confirmation Order and the Affirmation Order.

       71.     “Contributing Chartered Organization Insurance Rights” has the meaning
ascribed to such term in Article V.S.1.b.

       72.     “Convenience Claim” means any Claim that would otherwise be a General
Unsecured Claim that is Allowed in an amount of $50,000 or less; provided that a holder
of a General Unsecured Claim that is Allowed in an amount greater than $50,000 may
irrevocably elect, as evidenced on the Ballot (as defined in the Voting Procedures) timely
and validly submitted by such holder (or other writing acceptable to the Debtors), to have


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such Claim irrevocably reduced to $50,000 and treated as a Convenience Claim (upon
Allowance) for purposes of the Plan, in full and final satisfaction of such Claim; provided
further that a General Unsecured Claim may not be subdivided into multiple Convenience
Claims. The holder of an Allowed Non-Abuse Litigation Claim may elect to have such
Allowed Claim treated as a Convenience Claim solely in accordance with the terms of
Article III.B.9. For the avoidance of doubt, the holder of an Abuse Claim (including
Direct Abuse Claims and Indirect Abuse Claims) may not elect to have such Claim
treated as a Convenience Claim.

       73.    “Core Value Cash Pool” means Cash in the aggregate amount of
$25,000,000 for purposes of making Distributions to holders of Allowed General
Unsecured Claims and, subject to the terms of Article III.B.9, holders of Allowed Non-
Abuse Litigation Claims. Reorganized BSA shall fund the Core Value Cash Pool in
accordance with Article V.P.

       74.    “Creditor Representative” means the creditor representative to be
appointed as of the Effective Date in accordance with Article V.P. The Creditor
Representative will be identified in the Plan Supplement.

       75.     “Creditor Representative Fee Cap” the maximum amount of reasonable
compensation and reimbursement of expenses that shall payable by Reorganized BSA to
the Creditor Representative on account of its services, which shall be equal to $100,000.

        76.    “Creditors’ Committee” means the official committee of unsecured
creditors appointed by the United States Trustee in the Chapter 11 Cases under section
1102(a) of the Bankruptcy Code.

        77.   “Cure Amount” means, with respect to any Executory Contract or
Unexpired Lease sought to be assumed or assumed and assigned by the Debtors, the
monetary amount, if any, required to cure the Debtors’ defaults under any such Executory
Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the non-
Debtor party to an Executory Contract or Unexpired Lease) at the time such Executory
Contract or Unexpired Lease is assumed by the Debtors pursuant to sections 365 or 1123
of the Bankruptcy Code.

        78.    “Cure and Assumption Notice” means the notice of proposed assumption
of, and proposed Cure Amount payable in connection with, an Executory Contract or
Unexpired Lease (and, to the extent the Debtors seek to assume and assign any such
Executory Contract or Unexpired Lease pursuant to the Plan, adequate assurance of
future performance within the meaning of section 365 of the Bankruptcy Code), to be
served in accordance with Article VI.C.

        79.     “D&O Liability Insurance Policies” means all Insurance Policies issued at
any time to any of the Debtors for directors’, managers’, and officers’ liability (including
any “tail policy” or run-off coverage) and all agreements, documents, or instruments
relating thereto.




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       80.     “De Minimis Asset” means any miscellaneous asset that is valued by the
Debtors at $10,000 or less and that is located at the premises subject to any Unexpired
Leases rejected by the Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code,
including furniture and equipment.

        81.     “Debtors” means the BSA and Delaware BSA, the non-profit corporations
that are debtors and debtors in possession in the Chapter 11 Cases.

        82.    “Deferred Compensation Plan” means the Boy Scouts of America 457(b)
Plan, a non-qualified deferred compensation plan under section 457(b) of the Internal
Revenue Code, which allows eligible BSA and Local Council employees to make
elections to defer the payment of a certain amount or percentage of their regular base
salary or bonus for future payment.

      83.      “Delaware BSA” means Delaware BSA, LLC, a Delaware limited liability
company.

         84.   “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse
Claim.

        85.     “Disallowed” means, as to any Administrative Expense Claim, Priority
Tax Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, any such Claim or portion thereof
that: (a) has been disallowed, denied, dismissed, expunged, or overruled pursuant to the
terms of the Plan or a Final Order of the Bankruptcy Court or any other court of
competent jurisdiction or by a settlement; (b) has been listed on the Schedules at an
amount of $0.00 or as contingent, disputed, or unliquidated and as to which a Bar Date
has been established but no Proof of Claim has been timely filed or deemed timely filed
with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of
the Bankruptcy Court, including the Bar Date Order, or otherwise deemed timely filed
under applicable law; or (c) has not been scheduled and as to which a Bar Date has been
established but no Proof of Claim has been timely filed, such that the creditor holding
such Claim shall not be treated as a creditor with respect to such claim for the purposes of
voting and distribution. “Disallowance” and “Disallowing” have correlative meanings.
With respect to any 2010 Credit Facility Claim, 2019 RCF Claim, 2010 Bond Claim,
2012 Bond Claim, Direct Abuse Claim, Indirect Abuse Claim, or Interest, the term
“Disallowed” shall not apply.

       86.   “Disbursing Agent” means, with respect to all Claims other than Abuse
Claims, Reorganized BSA or a Person or Persons selected by the Debtors or Reorganized
BSA to make or facilitate Distributions contemplated under the Plan.

       87.    “Discharge Injunction” means the injunction issued in accordance with
sections 524 and 1141 of the Bankruptcy Code and contained in Article X.E.2 of the
Plan.

         88.   “Discharges” means the discharges set forth in Article X.E.



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        89.    “Disclosure Statement” means the disclosure statement for the Plan,
including all exhibits and schedules thereto, as the same may be amended, supplemented
or otherwise modified from time to time, as approved by the Bankruptcy Court pursuant
to section 1125 of the Bankruptcy Code, which is in form and substance acceptable to
(a) the Debtors, the Ad Hoc Committee, the Coalition and the Future Claimants’
Representative and (b) the Creditors’ Committee and JPM in accordance with their
respective consent rights under the JPM / Creditors’ Committee Term Sheet.

        90.   “Disclosure Statement Order” means one or more orders entered by the
Bankruptcy Court, in form and substance reasonably acceptable to (a) the Debtors, the
Ad Hoc Committee, the Coalition and the Future Claimants’ Representative and (b) the
Creditors’ Committee and JPM in accordance with their respective consent rights under
the JPM / Creditors’ Committee Term Sheet: (i) finding that the Disclosure Statement
(including any amendment, supplement, or modification thereto) contains adequate
information pursuant to section 1125 of the Bankruptcy Code; (ii) fixing the amounts of
Claims solely for voting purposes and not for purposes of distributions; (iii) approving
the Voting Procedures; and (iv) authorizing solicitation of the Plan.

        91.     “Disputed” means, as to any Administrative Expense Claim, Priority Tax
Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, any such Claim (or portion thereof)
(a) that is neither Allowed nor Disallowed, (b) that is listed on the Schedules as
“disputed,” “contingent,” or “unliquidated” or (c) for which a Proof of Claim has been
filed or a written request for payment has been made to the extent that any party in
interest has interposed a timely objection to such Claim, which objection has not been
withdrawn or adjudicated pursuant to a Final Order. The term “Disputed” does not apply
to Abuse Claims.

       92.     “Disputed Claims Reserve” means the reserve of Cash within the Core
Value Cash Pool to be Distributed to holders of Disputed General Unsecured Claims, if
and when such Disputed Claims become Allowed, which shall be funded with amounts
and on terms acceptable to the Creditor Representative.

        93.     “Distribution” means the payment or delivery of Cash, property, or
interests in property, as applicable, to holders of Allowed Non-Abuse Claims under the
terms of the Plan. “Distributed” and “Distribution” have correlative meanings.

        94.     “Distribution Date” means the dates on which the Disbursing Agent
makes a Distribution, or causes a Distribution to be made, from the Core Value Cash
Pool to holders of Allowed General Unsecured Claims and, subject to the terms of Article
III.B.9, holders of Allowed Non-Abuse Litigation Claims. Each Distribution Date shall
occur as soon as practicable after Reorganized BSA makes each semi-annual installment
payment of the Core Value Cash Pool in accordance with Article V.P.

      95.     “District Court” means the United States District Court for the District of
Delaware.




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       96.    “Document Agreement” means the document agreement, substantially in
the form contained in the Plan Supplement, by and among Reorganized BSA, the Related
Non-Debtor Entities, the Local Councils, the Contributing Chartered Organizations, and
the Settlement Trust, in form and substance acceptable to the Debtors, the Ad Hoc
Committee, the Coalition, the Future Claimants’ Representative and TCJC.

       97.     “DST” means the Delaware statutory trust established under Article V.Y
and the DST Agreement for the purposes set forth therein; provided, that the DST may be
any other type of Entity, provided such Entity is not affiliated with Reorganized BSA or
the Local Councils under principles of accounting.

        98.    “DST Agreement” means the agreement governing the DST, dated as of
the Effective Date, the form of which shall be included in the Plan Supplement.

        99.    “DST Note” means the non-recourse interest-bearing promissory note in
the principal amount of $100,000,000, substantially in the form contained in the Plan
Supplement, to be issued to the Settlement Trust by the DST on the Effective Date in
accordance with Article V.Y and the DST Note Mechanics.

      100. “DST Note Mechanics” means the terms of Exhibit F as they relate to the
payments that will be made by the DST following the Effective Date.

        101. “Effective Date” means the first Business Day on which all of the
conditions precedent to the occurrence of the Effective Date set forth in Article IX.B
shall have been satisfied or waived pursuant to Article IX.C.

        102. “Encumbrance” means, with respect to any property (whether real or
personal, tangible or intangible), any mortgage, Lien, pledge, charge, security interest,
assignment, or encumbrance of any kind or nature in respect of such property, including
any conditional sale or other title retention agreement, any security agreement, and the
filing of, or agreement to give, any financing statement under the Uniform Commercial
Code or comparable law of any jurisdiction, to secure payment of a debt or performance
of an obligation.

        103.   “Entity” means an entity as defined in section 101(15) of the Bankruptcy
Code.

      104. “Estate” means, as to each Debtor, the estate created for such Debtor in its
Chapter 11 Case under sections 301 and 541 of the Bankruptcy Code upon the
commencement of the applicable Debtor’s Chapter 11 Case.

        105. “Estate Causes of Action” means any and all Causes of Action owned,
held, or capable of being asserted by or on behalf of either Debtor or its Estate, whether
known or unknown, in law, at equity or otherwise, whenever and wherever arising under
the laws of any jurisdiction, including actions that: (a) arise out of or are based on breach
of contract, fraudulent conveyances and transfers, breach of fiduciary duty, breach of
duty of loyalty or obedience, legal malpractice, recovery of attorneys’ fees, turnover of
property and avoidance or recovery actions of the Debtors or their respective Estates,


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including actions that constitute property of the Estate under section 541 of the
Bankruptcy Code that are or may be pursued by a representative of the Estates, including
pursuant to section 323 of the Bankruptcy Code, and actions, including Avoidance
Actions, that may be commenced by a representative of the Estates under section 362 or
chapter 5 of the Bankruptcy Code, seeking relief in the form of damages (actual and
punitive), imposition of a constructive trust, turnover of property, restitution, and
declaratory relief with respect thereto or otherwise; or (b) seek to impose any liability
upon, or injunctive relief on, any Protected Party or to satisfy, in whole or in part, any
Abuse Claim.

        106. “Excess Cash and Investments” means, as of any date on or after the
Effective Date, the unrestricted Cash and balance sheet investments owned by
Reorganized BSA that are not subject to legally enforceable restrictions on the use or
disposition of such assets for a particular purpose.

       107.    “Excess Cash Sweep” has the meaning ascribed to such term in Article
V.V.

        108. “Exculpated Parties” means, collectively, the following Persons: (a) the
Debtors; (b) Reorganized BSA; (c) the Creditors’ Committee; (d) the members of the
Creditors’ Committee in their capacities as such; (e) the Tort Claimants’ Committee; (f)
the members of the Tort Claimants’ Committee in their capacities as such; (g) the Future
Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’
current officers and directors, former officers and directors who served in such capacity
during the pendency of the Chapter 11 Cases but are no longer officers or directors as of
the Effective Date, employees, volunteers, agents, attorneys, financial advisors,
accountants, investment bankers, consultants, representatives, and other professionals.

       109. “Executory Contract” means any executory contract to which BSA is a
party that is subject to assumption or rejection under sections 365 or 1123 of the
Bankruptcy Code.

        110. “Expedited Distribution” means a one-time Cash payment from the
Settlement Trust in the amount of $3,500.00, conditioned upon satisfaction of the criteria
set forth in the Trust Distribution Procedures.

       111. “Fee Examiner” means Justin H. Rucki of Rucki Fee Review, LLC, in his
capacity as the fee examiner appointed pursuant to the Order Appointing Fee Examiner
and Establishing Related Procedures for the Review of Applications of Retained
Professionals, entered by the Bankruptcy Court on September 18, 2020 at Docket No.
1342, or any successor appointed by the Bankruptcy Court.

        112. “Final Order” means an order or judgment of the Bankruptcy Court (or
other court of competent jurisdiction) that has not been reversed, vacated, stayed,
modified or amended, and as to which (a) the time to appeal, petition for certiorari or
move for a new trial, reargument or rehearing has expired and as to which no appeal,
petition for certiorari or other proceedings for a new trial, reargument or rehearing shall



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then be pending, or (b) if an appeal, writ of certiorari, new trial, reargument or rehearing
thereof has been sought, such order or judgment of the Bankruptcy Court (or other court
of competent jurisdiction) shall have been affirmed by the highest court to which such
order was appealed, or certiorari shall have been denied or a new trial, reargument or
rehearing shall have been denied with prejudice or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari or move for a new
trial, reargument or rehearing shall have expired; provided, however, that the possibility
that a motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or under Rule 59
or Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
Bankruptcy Rules, may be filed with respect to such order shall not cause such order to
not be a Final Order.

       113. “Florida Sea Base Assignment” means the Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations under the 2010
Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019
RCF Agreement.

        114. “Florida Sea Base Mortgage” means the Mortgage, Security Agreement,
Assignment of Rents and Leases and Fixture Filing, dated as of March 21, 2019, by and
from the BSA, as mortgagor, and JPM, as mortgagee, which secures the BSA’s
obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond
Agreement, and the 2019 RCF Agreement.

        115. “Foundation” means the National Boy Scouts of America Foundation, a
District of Columbia nonprofit corporation.

       116. “Foundation Loan” means the new second-lien term loan lending facility
pursuant to which the Foundation, as lender, shall make a term loan to Reorganized BSA,
as borrower, in the principal amount of $42,800,000, which is equal to the appraised
value of the Summit Bechtel Reserve. The material terms of the Foundation Loan are set
forth on the term sheet attached hereto as Exhibit E, which is qualified in its entirety by
reference to the Foundation Loan Agreement.

        117. “Foundation Loan Agreement” means the credit agreement governing the
Foundation Loan, dated as of the Effective Date, the form of which shall be included in
the Plan Supplement.

        118. “Future Abuse Claim” means any Direct Abuse Claim against any
Protected Party that is attributable to, arises from, is based upon, relates to, or results
from, in whole or in part, directly, indirectly, or derivatively, alleged Abuse that occurred
prior to the Petition Date but which, as of the date immediately preceding the Petition
Date, was held by a Person who, as of such date, (a) had not attained eighteen (18) years
of age, or (b) was not aware of such Direct Abuse Claim as a result of “repressed
memory,” to the extent the concept of repressed memory is recognized by the highest
appellate court of the state or territory where the claim arose; provided, however, that
with respect to any Contributing Chartered Organization, the term “Future Abuse Claim”


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shall be limited to any such Direct Abuse Claim that satisfies either (a) or (b) in
connection, in whole or in part, with the Contributing Chartered Organization’s or its
personnel’s or affiliates’ involvement in, or sponsorship of, one or more Scouting units.

       119. “Future Claimants’ Representative” means James L. Patton, Jr., the legal
representative appointed by the Bankruptcy Court for holders of Future Abuse Claims, or
any successor legal representative appointed by the Bankruptcy Court.

       120. “General Unsecured Claim” means any Claim against the Debtors that is
not an Administrative Expense Claim, a Priority Tax Claim, an Other Priority Claim, an
Other Secured Claim, a 2010 Credit Facility Claim, a 2019 RCF Claim, a 2010 Bond
Claim, a 2012 Bond Claim, a Convenience Claim, a Non-Abuse Litigation Claim, a
Direct Abuse Claim, or an Indirect Abuse Claim. Claims arising under the Deferred
Compensation Plan or the Restoration Plan shall be deemed to be General Unsecured
Claims.

        121. “Gift Annuity Agreements” mean the charitable gift annuity agreements
described in the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
Debtors to (A) Maintain and Administer Prepetition Customer, Scout, and Donor
Programs and Practices and (B) Pay and Honor Related Prepetition Obligations, and
(II) Granting Related Relief, filed by the Debtors on the Petition Date at Docket No. 8.

       122. “Governmental Unit” means a governmental unit as defined in section
101(27) of the Bankruptcy Code.

        123. “Hartford” means Hartford Accident and Indemnity Company, First State
Insurance Company, Twin City Fire Insurance Company and Navigators Specialty
Insurance Company and each of their past, present and future direct or indirect parents,
subsidiaries, affiliates and controlled entities, and each of their respective officers,
directors, stockholders, members, partners, managers, employees, predecessors,
successors and assigns, each in their capacity as such.

       124. “Hartford Additional Administrative Expense Claim” means Hartford’s
administrative expense claim, in addition to the Hartford Administrative Expense Claim,
of $23.61 million that Hartford may assert in accordance with the terms and conditions of
the Hartford Insurance Settlement Agreement in the event that BSA exercises a Fiduciary
Out or takes another Specified Action (as such capitalized terms are defined in the
Hartford Insurance Settlement Agreement), which administrative expense claim shall be
reserved for prior to distributions to unsecured creditors and to which the Debtors, the Ad
Hoc Committee, the Future Claimants’ Representative, the Coalition, and the State Court
Counsel (as identified and defined in the Hartford Insurance Settlement Agreement) shall
not object or argue that the claim should be allowed in an amount less than $23.61
million (except as permitted under the Hartford Insurance Settlement Agreement).

       125. “Hartford Administrative Expense Claim” means Hartford’s
administrative expense claim for the Debtors’ alleged breach of the Settlement
Agreement and Release between Hartford and the Debtors, dated as of April 15, 2021, in



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the amount of $2,000,000, which shall be paid in full in Cash to Hartford on, or as soon
as reasonably practicable after, the Effective Date in accordance with the Hartford
Insurance Settlement Agreement.

        126. “Hartford Insurance Settlement” has the meaning ascribed to such term in
Article V.S.4.

       127. “Hartford Insurance Settlement Agreement” means that certain settlement
agreement, which remains subject to definitive documentation, by and between Hartford,
the Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’ Representative,
and certain state court counsel to holders of Direct Abuse Claims, as such agreement is
described in the term sheet appended to the Sixth Mediators’ Report [D.I. 6210] filed on
September 14, 2021, and as such agreement may be subsequently set forth in a definitive
written settlement agreement that is consistent with such term sheet and executed by all
of the parties thereto. Upon its execution by all of the parties thereto, the Hartford
Insurance Settlement Agreement shall be attached hereto as Exhibit I-1.

        128. “Hartford Policies” shall have the meaning set forth for such capitalized
term in the Hartford Insurance Settlement Agreement.

       129. “Hartford Settlement Contribution” shall mean the “Settlement Amount”
as defined in the Hartford Insurance Settlement Agreement, which is equal to Seven
Hundred Eighty-Seven Million Dollars ($787,000,000).

       130. “Headquarters” means that certain parcel of real property owned by the
BSA located at 1325 West Walnut Hill Lane, Irving, Texas 75038, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon.

       131. “Headquarters Assignment” means that certain Assignment of
Agreements, Licenses, Permits and Contracts, dated as of March 21, 2019, by and from
the BSA, as assignor, and JPM, as assignee, which secures the BSA’s obligations under
the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and
the 2019 RCF Agreement.

       132. “Headquarters Deed of Trust” means that certain Deed of Trust, Security
Agreement, Assignment of Rents and Leases and Fixture Filing, dated as of March 21,
2019, by and between the BSA and JPM.

        133. “High Adventure Base Participant” means a registered Youth Member
who has paid the participation fee (which has not been refunded in whole or in part) for
attending a BSA program at one of the four high adventure bases (Florida Sea Base,
Northern Tier, Philmont or Summit Bechtel Reserve). High Adventure Base Participants
do not include Youth Members attending a Jamboree, an Order of the Arrow program, or
an event sponsored by the World Organization of the Scouting Movement (WOSM) or a
member of WOSM other than the BSA.




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      134. “Impaired” means “impaired” within the meaning of section 1124 of the
Bankruptcy Code.

       135.      “Indemnification Obligations” means each of the Debtors’
indemnification obligations in place as of the Effective Date, whether in the bylaws,
limited liability company agreements, or other organizational or formation documents,
board resolutions, management or indemnification agreements, employment or other
contracts, or otherwise, for the past and present directors, officers, employees, attorneys,
accountants, investment bankers, and other professionals and agents who provided
services to the Debtors before, on, or after the Petition Date.

       136. “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim
for contribution, indemnity, reimbursement, or subrogation, whether contractual or
implied by law (as those terms are defined by the applicable non-bankruptcy law of the
relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever,
whether in the nature of or sounding in contract, tort, warranty or any other theory of law
or equity whatsoever, including any indemnification, reimbursement, hold-harmless or
other payment obligation provided for under any prepetition settlement, insurance policy,
program agreement or contract.

       137. “Injunctions” means the Discharge Injunction, the Channeling Injunction,
the Insurance Entity Injunction, the Release Injunctions, and any other injunctions
entered by the Bankruptcy Court or the District Court in connection with Confirmation of
the Plan.

        138. “Insurance Action” means any claim, Cause of Action, or right of the
Debtors, Related Non-Debtor Entities, Local Councils, Participating Chartered
Organizations, and Contributing Chartered Organizations, or any of them, under the laws
of any jurisdiction, against any Non-Settling Insurance Company, arising from or related
to an Abuse Insurance Policy (except for Participating Chartered Organizations’ claims,
Causes of Action, or rights arising from or related to the Chartered Organization
Reserved Policies), including: (a) any such Non-Settling Insurance Company’s failure to
provide coverage or otherwise pay under an Abuse Insurance Policy; (b) the refusal of
any Non-Settling Insurance Company to compromise and settle any Abuse Claim under
or pursuant to any Abuse Insurance Policy; (c) the interpretation or enforcement of the
terms of any Abuse Insurance Policy with respect to any Abuse Claim; (d) any conduct
by any Non-Settling Insurance Company constituting “bad faith” conduct or that could
otherwise give rise to extra-contractual damages, or other wrongful conduct under
applicable law; or (e) any right to receive proceeds held by such Person with respect to an
Abuse Insurance Policy. For the avoidance of doubt, no claim, Cause of Action, or right
of the Debtors, Related Non-Debtor Entities, Local Councils, Participating Chartered
Organizations or Contributing Chartered Organizations, or any of them, against any
Settling Insurance Company shall be deemed an Insurance Action, except for any Cause
of Action arising from or related to an Insurance Settlement Agreement.




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        139. “Insurance Action Recoveries” means (a) Cash or other proceeds derived
from and paid by an Insurance Company pursuant to an Insurance Settlement Agreement
and (b) the right to receive the proceeds or benefits of any Insurance Action.

        140. “Insurance Assignment” means (x) the assignment and transfer to the
Settlement Trust of (a) the Insurance Actions, (b) the Insurance Action Recoveries,
(c) the Insurance Settlement Agreements, and (d) all other rights, claims, benefits, or
Causes of Action of the Debtors, Related Non-Debtor Entities, Local Councils, or
Contributing Chartered Organizations under or with respect to the Abuse Insurance
Policies (but not the policies themselves) and (y) the Participating Chartered
Organization Insurance Assignment. The Insurance Assignment does not include (i) any
rights, claims, benefits, or Causes of Action under or with respect to any Non-Abuse
Insurance Policies and D&O Liability Insurance Policies or (ii) any Local Council
Reserved Rights.

       141. “Insurance Company” means any insurance company, insurance
syndicate, coverholder, insurance broker or syndicate insurance broker, guaranty
association, or any other Entity that has issued, or that has any actual, potential,
demonstrated, or alleged liabilities, duties, or obligations under or with respect to, any
Insurance Policy or Local Council Insurance Policy.

         142. “Insurance Coverage Actions” means any and all pending coverage
litigation between the BSA and any Insurance Company as of the Effective Date,
including: (a) Boy Scouts of America, et al. v. Insurance Company of North America et
al., Case No. DC-18-11896, pending in the 192nd Judicial District Court of Dallas
County, Texas; (b) Boy Scouts of America, et al. v. Hartford Accident and Indemnity Co.,
et al., Case No. DC-18-07313, pending in the District Court of Dallas County, 95th
Judicial District; (c) National Surety Corp. v. Boy Scouts of America, et al., Case No.
2017-CH-14975, pending in the Circuit Court of Cook County, Illinois, Chancery
Division; and (d) Hartford Accident and Indemnity Co. and First State Ins. Co. v. Boy
Scouts of America, et al., Adv. Pro. No. 20-50601 (LSS), pending before the Bankruptcy
Court.

        143. “Insurance Coverage Defense” means, subject to Article X.M, all rights
and defenses that any Insurance Company may have under any Insurance Policy and
applicable law with respect to a claim seeking insurance coverage or to an Insurance
Action, but Insurance Coverage Defenses do not include any defense that the Plan or any
of the other Plan Documents do not comply with the Bankruptcy Code. Upon entry of
the Confirmation Order in the Chapter 11 Cases determining that the Insurance
Assignment is authorized notwithstanding any terms or provisions of the Abuse
Insurance Policies that any Insurance Company asserts or may assert otherwise prohibits
the Insurance Assignment, an Insurance Coverage Defense shall not include any defense
that the Insurance Assignment is prohibited by the Abuse Insurance Policies or applicable
non-bankruptcy law.

       144.   “Insurance Entity Injunction” means the injunction described in Article
X.H.


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       145. “Insurance Policies” means any and all known and unknown contracts,
binders, certificates or insurance policies currently or previously in effect at any time on
or before the Effective Date naming the Debtors, or either of them, or any predecessor,
subsidiary, or past or present Affiliate of the Debtors, as an insured (whether as the
primary or an additional insured), or otherwise alleged to afford the Debtors insurance
coverage. Insurance Policies include Abuse Insurance Policies, BSA Insurance Policies
and Non-Abuse Insurance Policies.

        146. “Insurance Settlement Agreement” means: (a) the Hartford Insurance
Settlement Agreement; (b) any other settlement agreement entered into after the Petition
Date and before the Effective Date by and among (i) any Insurance Company, on the one
hand, and (ii) one or more of the Debtors and/or any other Protected Party or Limited
Protected Party, on the other hand, under which an Insurance Policy and/or the Debtors
and/or other Protected Parties’ or Limited Protected Parties’ rights thereunder with
respect to Abuse Claims or Non-Abuse Litigation Claims are, subject to Confirmation of
the Plan and the entry of a Final Order approving such settlement agreement (which order
may be the Confirmation Order), released; and (c) any Post-Effective Date Insurance
Settlement entered into during the Insurance Settlement Period by and between (i) any
Insurance Company, on the one hand, and (ii) the Settlement Trustee (or the Settlement
Trustee and any other Protected Party), on the other hand, under which an Insurance
Policy that is subject to the Insurance Assignment and/or the Settlement Trustee’s and/or
Protected Parties’ or Limited Protected Parties’ rights thereunder with respect to Abuse
Claims or Non-Abuse Litigation Claims are released. All Insurance Settlement
Agreements entered into before the Effective Date related to Specified Primary Insurance
Policies that release the applicable Insurance Company from liability arising from Non-
Abuse Litigation Claims must be acceptable to the Creditors’ Committee in accordance
with the terms of the JPM / Creditors’ Committee Term Sheet; provided, however, that
with respect to proposed settlements of any Specified Excess Insurance Policy entered
into before the Effective Date, the Creditors’ Committee shall have consultation rights.

        147. “Insurance Settlement Period” has the meaning ascribed to such term in
Article IV.K.

      148. “Interest” means any “equity security” as defined in section 101(16) of the
Bankruptcy Code.

        149. “Internal Revenue Code” means title 26 of the United States Code, 26
U.S.C. §§ 1 et seq., as in effect on the Petition Date, together with all amendments,
modifications, and replacements of the foregoing as the same may exist on any relevant
date to the extent applicable to the Chapter 11 Cases.

       150. “JPM” means JPMorgan Chase Bank, National Association and any
successors and assigns.

        151. “JPM / Creditors’ Committee Settlement” has the meaning ascribed to
such term in Article V..S.




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       152. “JPM / Creditors’ Committee Term Sheet” means that certain settlement
term sheet appended as Exhibit A to the First Mediators’ Report filed on March 1, 2021
at Docket No. 2292.

        153. “JPM Exit Fee” means an exit fee to be paid by Reorganized BSA on the
Effective Date, in an amount equal to the aggregate principal amount due and owing as of
the Effective Date, plus the undrawn amount of any letters of credit then outstanding,
under the Restated 2010 Bond Documents, the Restated 2012 Bond Documents and the
Restated Credit Facility Documents, multiplied by 0.50%.

        154. “Leaseback Requirement” means the requirement that Reorganized BSA
be entitled to lease the Warehouse and Distribution Center from the Settlement Trust for
fair market value so long as the Settlement Trust holds title to such premises and that any
sale or other transfer of the Warehouse and Distribution Center by the Settlement Trust
be subject to Reorganized BSA’s right to lease such premises from any Person that
acquires the Warehouse and Distribution Center from the Settlement Trust (or any
subsequent acquirer) for fair market value for a term of not less than two years with four
two-year options to renew at the option of Reorganized BSA. If as of the filing of the
Plan Supplement the Bankruptcy Court has not approved a sale of the Warehouse and
Distribution Center or if no motion to approve such sale is then pending before the
Bankruptcy Court, then an agreement reflecting the terms of the Leaseback Requirement
shall be filed with the Plan Supplement.

        155.   “Lien” means any “lien” as defined in section 101(37) of the Bankruptcy
Code.

        156. “Life-Income Agreement” means the agreements described in the
Supplement to Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
Debtors to (A) Maintain and Administer Prepetition Customer, Scout, and Donor
Programs and Practices and (B) Pay and Honor Related Prepetition Obligations, and
(II) Granting Related Relief, filed by the Debtors on March 3, 2020 at Docket No. 134.

       157. “Limited       Protected   Parties”   means       the   Participating   Chartered
Organizations.

        158. “Local Council Insurance Policies” means any and all known and
unknown contracts, binders, certificates or insurance policies currently or previously in
effect at any time on or before the Effective Date naming the Local Councils, or any of
them, or any predecessor, subsidiary, or past or present Affiliate of any Local Council, as
an insured (whether as the primary or an additional insured), or otherwise alleged to
afford any Local Council insurance coverage, upon which any claim could have been, has
been or may be made with respect to any Abuse Claim, including the policies identified
on Schedule 3. Notwithstanding the foregoing, Local Council Insurance Policies shall
not include any policy providing reinsurance to any Settling Insurance Company. For the
avoidance of doubt, Local Council Insurance Policies do not include any BSA Insurance
Policy or any insurance policy issued at any time to any of the Local Councils for




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directors’, managers’, and officers’ liability (including any “tail policy” or run-off
coverage) or any agreements, documents, or instruments relating thereto.

        159. “Local Council Insurance Rights” has the meaning ascribed to such term
in Article V.S.1.a.

        160. “Local Council Reserved Rights” means any right of a Local Council
under any Specified Insurance Policy with respect to any Non-Abuse Litigation Claim;
provided, that such Local Council provides notice of such claim to the Debtors, the
Coalition, and the Future Claimants’ Representative prior to the Effective Date.

       161.   “Local Council Settlement Contribution” means:

               a.      the contributions to the Settlement Trust by the Local Councils, as
       set forth on Exhibit F;

               b.     to the maximum extent permitted under applicable law, any and all
       of the Local Councils’ rights, titles, privileges, interests, claims, demands or
       entitlements, as of the Effective Date, to any proceeds, payments, benefits, Causes
       of Action, choses in action, defense, or indemnity, now existing or hereafter
       arising, accrued or unaccrued, liquidated or unliquidated, matured or unmatured,
       disputed or undisputed, fixed or contingent, arising under or attributable to: (i) the
       BSA Insurance Policies, the Insurance Settlement Agreements, and claims
       thereunder and proceeds thereof (but not the policies themselves); (ii) the
       Insurance Actions; and (iii) the Insurance Action Recoveries; provided, however,
       that the transfer set forth herein will not include the Local Council Reserved
       Rights;

               c.     to the maximum extent permitted under applicable law, any and all
       of the Local Councils’ rights, titles, privileges, interests, claims, demands or
       entitlements, as of the Effective Date, to any proceeds, payments, benefits, Causes
       of Action, choses in action, defense, or indemnity, now existing or hereafter
       arising, accrued or unaccrued, liquidated or unliquidated, matured or unmatured,
       disputed or undisputed, fixed or contingent, arising under or attributable to: (i) the
       Local Council Insurance Policies, the Insurance Settlement Agreements, and
       claims thereunder and proceeds thereof; (ii) the Insurance Actions; and (iii) the
       Insurance Action Recoveries; provided, however, that the transfer set forth herein
       will not include the Local Council Reserved Rights;

               d.     the waiver, release, and expungement from the Claims Register, as
       of the Effective Date, of any and all Claims that have been asserted in the Chapter
       11 Cases by or on behalf of any Local Council, including any Indirect Abuse
       Claims, without any further notice to or action, order, or approval of the
       Bankruptcy Court, and the agreement of each Local Council not to (i) file or
       assert any Claim or Claims against the Settlement Trust, the Debtors, or
       Reorganized BSA arising from any act or omission of the Debtors on or prior to




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       the Confirmation Date or (ii) file or assert any rights or interests in any property
       transferred to the Settlement Trust under the Plan.

               e.     the Local Councils’ Settlement Trust Causes of Action; and

              f.     the assignment of any and all Perpetrator Indemnification Claims
       held by the Local Councils.

        162. “Local Councils” means, collectively, each and every current or former
local council of the BSA, including each and every current local council of the BSA as
listed on Exhibit G hereto, “supporting organizations” within the meaning of 26 U.S.C. §
509 with respect to any Local Council, Scouting units (including “troops,” “dens,”
“packs,” “posts,” “clubs,” “crews,” “ships,” “tribes,” “labs,” “lodges,” “councils,”
“districts,” “areas,” “regions,” and “territories”) associated with any Local Council, and
all Entities that hold, own, or operate any camp or other property that is operated in the
name of or for the benefit of any of the foregoing.

        163. “Mediators” means the Honorable Kevin J. Carey (Ret.), Paul A. Finn, and
Timothy V.P. Gallagher, each of whom is appointed by the Bankruptcy Court as a
mediator in the Chapter 11 Cases under the Order (I) Appointing Mediators, (II)
Referring Certain Matters to Mediation, and (III) Granting Related Relief entered on
June 9, 2020 at Docket No. 812.

        164. “Net Unrestricted Cash and Investments” means all of the Unrestricted
Cash and Investments as of the Effective Date, after Reorganized BSA has received the
proceeds of the Foundation Loan, less (a) $25,000,000 (subject to potential variance as
set forth in Article V.M), which shall be funded first from the proceeds of the Foundation
Loan, (b) an amount of Cash equal to the JPM Exit Fee, (c) an amount of Cash sufficient
to fund all unpaid Allowed Administrative Expense Claims, (d) without duplication, an
amount of Cash sufficient to fund the Professional Fee Reserve, (e) an amount of Cash
equal to the Creditor Representative Fee Cap, (f) the amount of Cash estimated to be
required to satisfy Allowed Priority Tax Claims, Allowed Other Priority Claims, Allowed
Secured Claims, and Allowed Convenience Claims, and (g) an amount of Cash sufficient
to fund all accrued but unpaid interest and reasonable fees and expenses of JPM as of the
Effective Date to the extent not paid pursuant to the Cash Collateral Order.

      165. “Non-Abuse Claim” means any Claim against the Debtors that is not an
Abuse Claim.

       166. “Non-Abuse Insurance Policy” means any and all known and unknown
contracts, binders, certificates or Insurance Policies currently or previously in effect at
any time on or before the Effective Date naming the Debtors, or either of them, or any
predecessor, subsidiary, or past or present Affiliate of the Debtors, as an insured (whether
as the primary or an additional insured), or otherwise alleged to afford the Debtors
insurance coverage, upon which any claim could have been, has been, or may be made
with respect to any Non-Abuse Claim and which does not include coverage for Abuse
Claims. Non-Abuse Insurance Policies do not include Abuse Insurance Policies (which



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Abuse Insurance Policies, for the avoidance of doubt, include the Specified Insurance
Policies).

         167. “Non-Abuse Litigation Claim” means any Claim that is a prepetition
unsecured non-priority Claim against the Debtors relating to pending or threatened
litigation against one or both of the Debtors that does not relate to Abuse. For the
avoidance of doubt, Non-Abuse Litigation Claims include (a) all personal injury or
wrongful death Claims against the Debtors that do not relate to Abuse and (b) all Claims
against the Debtors asserted by the Girl Scouts of the United States of America. Non-
Abuse Litigation Claims do not include any Administrative Expense Claims that may be
asserted by holders of Non-Abuse Litigation Claims.

        168. “Non-Settling Insurance Company” means any Insurance Company to the
extent it is not a Settling Insurance Company.

       169. “Northern Tier Assignment” means that certain Assignment of
Agreements, Licenses, Permits and Contracts, dated as of March 21, 2019, by and from
the BSA, as assignor, and JPM, as assignee, which secures the BSA’s obligations under
the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and
the 2019 RCF Agreement.

       170. “Northern Tier Mortgage” means that certain Mortgage, Security
Agreement, Assignment of Rents and Leases and Fixture Filing, dated as of March 21,
2019, by and from the BSA, as mortgagor, and JPM, as mortgagee, which secures the
BSA’s obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the
2012 Bond Agreement, and the 2019 RCF Agreement.

        171. “Notice and Claims Agent” means Omni Agent Solutions, in its capacity
as “claims and noticing agent” for the Debtors, and any successor thereto.

       172. “Official Committees” means the Tort Claimants’ Committee and the
Creditors’ Committee.

      173. “Oil and Gas Interests” means those certain mineral or royalty interests
owned by the BSA, consisting of approximately 1,027 properties located in Alabama,
Arkansas, California, Florida, Georgia, Illinois, Louisiana, Michigan, Mississippi,
Nebraska, New Mexico, North Dakota, Oklahoma, Oregon, Texas, South Dakota and
Wyoming. The Oil and Gas Interests include those listed on Schedule 4.

        174. “Other Priority Claim” means any Claim against the Debtors that is
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code,
other than an Administrative Expense Claim or a Priority Tax Claim.

        175. “Other Secured Claim” means any Secured Claim against the Debtors
other than any 2010 Credit Facility Claim, 2019 RCF Claim, 2010 Bond Claim, or 2012
Bond Claim.




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        176. “Participating Chartered Organization” means a Chartered Organization
that does not (a) object to confirmation of the Plan or (b) inform Debtors’ counsel in
writing on or before the confirmation objection deadline that it does not wish to make the
Participating Chartered Organization Insurance Assignment. Notwithstanding the
foregoing, with respect to any Chartered Organization that is a debtor in bankruptcy as of
the Confirmation Date, such Chartered Organization shall be a Participating Chartered
Organization only if it advises Debtors’ counsel in writing that it wishes to make the
Participating Chartered Organization Insurance Assignment, and, for the avoidance of
doubt, absent such written advisement, none of such Chartered Organization’s rights to or
under the Abuse Insurance Policies shall be subject to the Participating Chartered
Organization Insurance Assignment. A list of Chartered Organizations that are not
Participating Chartered Organizations is attached hereto as Exhibit K.

        177. “Participating Chartered Organization Insurance Action” means any Cause
of Action of the Participating Chartered Organizations, or any of them, under the laws of
any jurisdiction, against any Non-Settling Insurance Company, arising from or related to
an Abuse Insurance Policy (excluding Chartered Organization Reserved Policies),
including: (a) any such Non-Settling Insurance Company’s failure to provide coverage or
otherwise pay under an Abuse Insurance Policy (excluding Chartered Organization
Reserved Policies); (b) the refusal of any Non-Settling Insurance Company to
compromise and settle any Abuse Claim under or pursuant to any Abuse Insurance Policy
(excluding Chartered Organization Reserved Policies); (c) the interpretation or
enforcement of the terms of any Abuse Insurance Policy (excluding Chartered
Organization Reserved Policies) with respect to any Abuse Claim (excluding Abuse
Claims that are not Post-1975 Chartered Organization Abuse Claims); (d) any conduct by
any Non-Settling Insurance Company that could give rise to extra-contractual damages,
or other wrongful conduct under applicable law (excluding conduct relating to Chartered
Organization Reserved Policies); or (e) any right to receive proceeds held by such
Participating Chartered Organization with respect to an Abuse Insurance Policy
(excluding Chartered Organization Reserved Policies). For the avoidance of doubt, no
Cause of Action of the Participating Chartered Organizations, or any of them, against any
Settling Insurance Company shall be deemed a Chartered Organization Insurance Action,
except for any Cause of Action arising from or related to an Insurance Settlement
Agreement.

        178. “Participating Chartered Organization Insurance Assignment” means the
assignment and transfer by the Participating Chartering Organizations (and each of them)
to the Settlement Trust of their rights in and to (a) the Participating Chartered
Organization Insurance Actions, (b) the Insurance Action Recoveries, (c) the Insurance
Settlement Agreements, and (d) all other rights, claims, benefits, or Causes of Action
under or with respect to the Abuse Insurance Policies (but not the policies themselves);
provided, however, that the Participating Chartered Organization Insurance Assignment
shall not apply to Chartered Organization Reserved Policies or any rights, claims,
benefits, or Causes of Action thereunder or with respect thereto.

       179. “Participating Chartered Organization Insurance Rights” has the meaning
ascribed to such term in Article V.S.1.c.


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         180.   “Participating Chartered Organization Settlement Contribution” means:

                 a.     to the maximum extent permitted by applicable law, the
         Participating Chartered Organization Insurance Assignment;

                 b.      the waiver, release, and expungement from the Claims Register, as
         of the Effective Date, of any and all Claims that have been asserted in the Chapter
         11 Cases by or on behalf of any Participating Chartered Organization, including
         any Indirect Abuse Claims, without any further notice to or action, order, or
         approval of the Bankruptcy Court, and the agreement of each Participating
         Chartered Organization not to (i) file or assert any Claim or Claims against the
         Settlement Trust, the Debtors, or Reorganized BSA arising from any act or
         omission of the Debtors on or prior to the Confirmation Date or (ii) file or assert
         any rights or interests in any property transferred to the Settlement Trust under the
         Plan; and

                c.      the assignment of any and all Perpetrator Indemnification Claims
         held by the Participating Chartered Organizations.

      181. “Pension Plan” means the Boy Scouts of America Retirement Plan for
Employees, a single-employer, qualified, defined benefit pension plan that is subject to
the Employee Retirement Income Security Act of 1974, as amended, and the Internal
Revenue Code, of which BSA is the sponsor.

        182. “Perpetrator” means any individual who personally committed or is
alleged to have personally committed an act of Abuse that forms the basis for an Abuse
Claim. The term “Perpetrator” does not include any individual who did not personally
commit or is not alleged to have personally committed an act of Abuse that forms the
basis for an Abuse Claim, against whom an Abuse Claim is nevertheless asserted or may
be asserted, including by virtue of such individual’s position or service as an employee or
volunteer of the Debtors or as a Scout participant, or by virtue of such individual’s
position or service as an employee or volunteer of a Local Council or a Chartered
Organization or as a Scout participant.

        183. “Perpetrator Indemnification Claim” means a Claim against a Perpetrator
for indemnification or contribution arising from or relating to an Abuse Claim.

         184.   “Person” has the meaning set forth in section 101(41) of the Bankruptcy
Code.”

         185.   “Petition Date” means February 18, 2020.

       186. “Philmont Assignment” means that certain Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations under the 2010
Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019
RCF Agreement.



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        187. “Philmont Mortgage” means that certain Mortgage, Security Agreement,
Assignment of Rents and Leases and Fixture Filing, dated as of March 21, 2019, by and
from the BSA, as mortgagor, and JPM, as mortgagee, which secures the BSA’s
obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond
Agreement, and the 2019 RCF Agreement.

      188. “Plan” means this Fifth Amended Plan of Reorganization for Boy Scouts
of America and Delaware BSA, LLC filed by the Debtors, as the same may be amended
or modified from time to time pursuant to section 1127 of the Bankruptcy Code.

        189. “Plan Documents” means, collectively, the Plan, the Disclosure Statement,
the Disclosure Statement Order, each of the documents that comprises the Plan
Supplement, and all of the exhibits and schedules attached to any of the foregoing
(including the Settlement Trust Documents, the Hartford Insurance Settlement
Agreement, and the TCJC Settlement Agreement). The Plan Documents shall be in form
and substance acceptable to (a) the Debtors, the Ad Hoc Committee, the Coalition. the
Future Claimants’ Representative and Hartford and (b) the Creditors’ Committee and
JPM in accordance with their consent rights under the JPM / Creditors’ Committee Term
Sheet.

        190. “Plan Supplement” means the compilation of documents and forms of
documents, agreements, schedules, exhibits, and annexes to the Plan, which the Debtors
shall file no later than fourteen (14) days before the Voting Deadline, unless otherwise
ordered by the Bankruptcy Court, and additional documents filed with the Bankruptcy
Court before the Effective Date as amendments, modifications or supplements to the Plan
Supplement. The Plan Supplement will include the following: (a) the Amended BSA
Bylaws; (b) the Assumed Contracts and Unexpired Leases Schedule; (c) the form of the
BSA Settlement Trust Note; (d) the form of the Document Agreement; (e) the form of the
DST Agreement; (f) the form of the DST Note; (g) the name of the Creditor
Representative; (h) changes, if any, to Reorganized BSA’s directors and officers; (i) the
form of the Foundation Loan Agreement; (j) the form of agreement reflecting the terms
of the Leaseback Requirement; (k) the Rejected Contracts and Unexpired Leases
Schedule; (l) the forms of the Restated 2010 Bond Documents; (m) the forms of the
Restated 2012 Bond Documents; (n) the forms of the Restated Credit Facility
Documents; (o) the form of the Restated Security Agreement; (p) the names of the initial
members of the Settlement Trust Advisory Committee; and (q) the name of the initial
Special Reviewer; provided that the Plan Documents listed in clauses (b) and (k) of the
foregoing sentence will be revised, in the Debtors’ discretion, subject to Article VI, to
account for any additional Executory Contracts or Unexpired Leases to be assumed or
rejected in advance of the Confirmation Hearing. The Plan Supplement shall be served
only on those parties that have requested notice in the Chapter 11 Cases pursuant to
Bankruptcy Rule 2002 and any party in interest who requests in writing a copy from
counsel to the Debtors. Once the Plan Supplement is filed, a copy will also be available
for review on the Notice and Claims Agent’s website free of charge at
https://omniagentsolutions.com/BSA. The Plan Supplement shall be in form and
substance reasonably acceptable to the Creditors’ Committee and JPM.



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        191. “Post-1975 Chartered Organization Abuse Claims” means any Abuse
Claim against a Participating Chartered Organization that relates to Abuse alleged to have
first occurred on or after January 1, 1976; provided, however, that the term “Post-1975
Chartered Organization Abuse Claims” shall be limited to any Claim against a
Participating Chartered Organization that is attributable to, arises from, is based upon,
relates to, or results from Abuse that occurred in connection with the Participating
Chartered Organization’s sponsorship of one or more Scouting units.

      192. “Post-Effective Date Chartered Organization Settlement” shall have the
meaning ascribed to such term in Article IV.I.

       193. “Post-Effective Date Insurance Settlement” shall have the meaning
ascribed to such term in Article IV.K.

       194. “Prepetition Debt and Security Documents” means, collectively, the 2010
Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond Documents, the
2012 Bond Documents, the Prepetition Security Documents (2019), and the Prepetition
Security Agreement (2020).

       195.    “Prepetition Security Agreement (2019)” means that certain Third
Amended and Restated Security Agreement, dated as of March 21, 2019, by and among
the BSA and Arrow, as debtors, JPM, in its capacity as collateral agent, JPM, in its
capacity as the lender under each of the 2010 Credit Agreement and the 2019 RCF
Agreement, and as holder under each of the 2010 Bond Agreement and the 2012 Bond
Agreement.

       196. “Prepetition Security Agreement (2020)” means that certain Consent and
Security Agreement dated as of February 3, 2020, by and among Delaware BSA, the
BSA, JPM, as collateral agent, and JPM, in its capacity as the lender under the 2010
Credit Agreement and the 2019 RCF Agreement, and as holder under the 2010 Bond
Agreement and the 2012 Bond Agreement.

        197. “Prepetition Security Documents (2019)” means, collectively, the
Prepetition Security Agreement (2019), the Florida Sea Base Mortgage, the Florida Sea
Base Assignment, the Headquarters Deed of Trust, the Headquarters Assignment, the
Northern Tier Mortgage, the Northern Tier Assignment, the Philmont Mortgage, the
Philmont Assignment, and the Arrow Collateral Assignment.

       198. “Priority Tax Claim” means any Claim of a Governmental Unit against the
Debtors that is entitled to priority in payment under section 507(a)(8) of the Bankruptcy
Code.

        199.     “Privileged Information” means any privileged information that relates, in
whole or in part, to any Abuse Claim, including: (a) the Debtors’ books and records
transferred to the Settlement Trust in accordance with the Document Agreement; (b) any
privileged information containing a factual or legal analysis or review of any Abuse
Claim; (c) any privileged information evaluating the reasonableness, effectiveness, or
Confirmability of the Plan or any other chapter 11 plan filed or that could be filed in the


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Chapter 11 Cases; (d) any privileged information exchanged by the Debtors or their
professionals, on the one hand, and any of the Related Non-Debtor Entities, Local
Councils, the Ad Hoc Committee, either Official Committee, the Future Claimants’
Representative, or their respective Representatives, on the other hand, related to the Plan,
the Plan Documents, or the Abuse Claims; and (e) information shared pursuant to that
certain Joint Defense, Common Interest, and Confidentiality Agreement among the BSA,
the Ad Hoc Committee, and each Local Council that executed a joinder to said agreement
that was acknowledged in writing by the BSA and the Ad Hoc Committee; (f) any
privileged information containing a factual or legal analysis of the Debtors’ potential
exposure in connection with any Abuse Claim or any litigation related thereto; and
(g) any Common-Interest Communications with Insurers.

        200. “Pro Rata” means, at any time, with respect to any Claim, the proportion
that the amount of such Claim in a particular Class or group of Classes bears to the
aggregate amount of all Claims (including Disputed Claims) in such Class or group of
Classes, unless in each case the Plan provides otherwise.

        201. “Pro Rata Share” means the proportion that an Allowed Claim in a
particular Class bears to the aggregate amount of all Allowed Claims in that Class.

       202.     “Professional” means any Person retained by the Debtors, the Tort
Claimants’ Committee, the Creditors’ Committee, or the Future Claimants’
Representative pursuant to a Final Order of the Bankruptcy Court entered under
sections 327, 328, 363, or 1103 of the Bankruptcy Code.

        203. “Professional Fee Claim” means any Claim of a Professional or other
Person for Allowance by the Bankruptcy Court and payment by the Debtors of
compensation for services rendered and/or reimbursement of costs or expenses incurred
in the Chapter 11 Cases for the period from the Petition Date to and including the
Effective Date under sections 328, 330, 331, or 503(b) of the Bankruptcy Code, including
a Claim for reimbursement and/or payment of Coalition Restructuring Expenses under
Article V.T.

       204. “Professional Fee Reserve” means a segregated account funded from
Unrestricted Cash and Investments on hand of the Debtors as of the Effective Date in an
amount equal to the Professional Fee Reserve Amount as of such date, solely for the
purpose of paying all Allowed Professional Fee Claims.

       205. “Professional Fee Reserve Amount” means the aggregate Accrued
Professional Fees as of the Effective Date, as estimated by the Professionals in
accordance with Article II.A.2.

       206. “Proof of Claim” means any proof of claim filed with the Bankruptcy
Court or the Notice and Claims Agent pursuant to section 501 of the Bankruptcy Code
and Bankruptcy Rules 3001 or 3002 that asserts a Claim against either of the Debtors.

       207. “Protected Parties” means the following Persons: (a) the Debtors;
(b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Local Councils;


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(e) the Contributing Chartered Organizations; (f) the Settling Insurance Companies,
including Hartford; and (g) all of such Persons’ Representatives; provided, however, that
no Perpetrator is or shall be a Protected Party. Notwithstanding the foregoing, a
Contributing Chartered Organization shall be a Protected Party with respect to Abuse
Claims only as set forth in the definition of “Abuse Claim.”

       208. “Quarterly Fees” means all fees due and payable pursuant to section
1930(a)(6) of title 28 of the United States Code.

         209. “Reinstatement” means (a) leaving unaltered the legal, equitable and
contractual rights to which a Claim entitles the holder of such Claim or
(b) notwithstanding any contractual provision or applicable law that entitles the holder of
such Claim to demand or receive accelerated payment of such Claim after the occurrence
of a default, (i) curing any such default that occurred before or after the Petition Date,
other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code;
(ii) reinstating the maturity of such Claim as such maturity existed before such default;
(iii) compensating the holder of such Claim for any damages incurred as a result of any
reasonable reliance by such holder on such contractual provision or such applicable law;
(iv) if such Claim arises from any failure to perform a nonmonetary obligation,
compensating the holder of such Claim (other than the Debtors or an “insider” of the
Debtors within the meaning of section 101(31) of the Bankruptcy Code) for any actual
pecuniary loss incurred by such holder as the result of such failure; and (v) not otherwise
altering the legal, equitable or contractual rights to which such Claim entitles the holder
thereof. “Reinstated” has a correlative meaning.

        210. “Rejected Contracts and Unexpired Leases Schedule” means the schedule
of Executory Contracts or Unexpired Leases to be rejected by the BSA under the Plan, as
set forth in the Plan Supplement, as may be amended, modified, or supplemented from
time to time.

        211. “Rejection Damages Bar Date” has the meaning ascribed to such term in
Article VI.B.

       212.     “Rejection Damages Claim” means a Claim for damages alleged to arise
from the rejection of an Executory Contract or Unexpired Lease pursuant to section 365
or 1123 of the Bankruptcy Code.

       213. “Related Non-Debtor Entities” means the Entities listed on Exhibit H,
including non-debtor Affiliates of the Debtors that are directly or indirectly wholly
owned by, or subject to the control of, the BSA. For the avoidance of doubt, Related
Non-Debtor Entities do not include Local Councils or Chartered Organizations.

       214.    “Release Injunctions” means the injunctions described in Article X.L.

         215. “Released Parties” means, collectively, the following Persons, in each case
in its or their respective capacities as such: (a) the Debtors; (b) Reorganized BSA; (c) the
Related Non-Debtor Entities; (d) the Creditors’ Committee; (e) the members of the
Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee;


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(g) the members of the Tort Claimants’ Committee in their capacities as such; (h) the
Future Claimants’ Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance
Companies, including Hartford; (l) the Contributing Chartered Organizations, including
TCJC; (m) the Foundation, in its capacity as lender under the Foundation Loan
Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in
their capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of
such Persons’ Representatives; provided, however, that no Perpetrator is or shall be a
Released Party; provided further, that the definition of “Released Parties” shall in all
instances be subject to Article X.J.

       216.    “Releases” means the releases set forth in Article X.J.

        217. “Releasing Claim Holder” means, collectively, (a) all holders of Claims
that vote to accept the Plan and do not opt out of the releases set forth in Article X.J.4; (b)
all holders of Claims that are presumed to accept the Plan, except for holders of such
Claims that file a timely objection to the releases set forth in Article X.J.4; (c) all holders
of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
the releases set forth in Article X.J.4; and (d) all of such Persons’ predecessors,
successors and assigns, subsidiaries, affiliates, current and former officers, directors,
principals, shareholders, members, partners, employees, agents, advisory board members,
financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, management companies, and other professionals, and all such Persons’
respective heirs, executors, estates, servants and nominees, in their respective capacities
as such.

        218. “Reorganized BSA” means the BSA, as reorganized pursuant to and under
the Plan on or after the Effective Date.

        219. “Representatives” means, with respect to any Person, such Person’s
(a) predecessors, successors, assigns, subsidiaries, and Affiliates, (b) current and former
officers, directors, principals, equity holders, trustees, members, partners, managers,
officials, board members, advisory board members, employees, agents, volunteers,
attorneys, financial advisors, accountants, investment bankers, consultants,
representatives, and other professionals, and (c) respective heirs, executors, estates, and
nominees, in each case solely in its capacity as such.

        220. “Restated 2010 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory
note, security agreement, and all documentation executed and delivered in connection
therewith, in each case containing substantially the same terms as the 2010 Bond
Documents except that: (a) the amortization schedule attached to the 2010 Bond shall be
amended and restated such that (i) interest is payable in monthly installments (at the same
rates in the 2010 Bond Documents) beginning on the date that is one month after the
Effective Date (as to be specified in the Restated 2010 Bond Documents) and ending on
the Restated Maturity Date, and (ii) principal is payable in monthly installments (in the
same monthly amounts as the periodic amortization amounts in the 2010 Bond
Documents) beginning on the date that is two years after the Effective Date (as to be


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specified in the Restated 2010 Bond Documents) and ending on the Restated Maturity
Date; and (b) the Restated 2010 Bond Documents shall be guaranteed by Arrow. The
covenants in the Restated 2010 Bond Documents shall be in form and substance
acceptable to JPM and the BSA. The obligations under the Restated 2010 Bond
Documents shall be secured by the Restated Security Agreement. The then-current forms
of the Restated 2010 Bond Documents shall be filed with the Plan Supplement.

        221. “Restated 2012 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory
note, security agreement, and all documentation executed and delivered in connection
therewith, in each case containing substantially the same terms as the 2012 Bond
Documents except that: (a) the amortization schedule attached to the 2012 Bond shall be
amended and restated such that (i) interest is payable in monthly installments (at the same
rates in the 2012 Bond Documents) beginning on the date that is one month after the
Effective Date (as to be specified in the Restated 2012 Bond Documents) and ending on
the Restated Maturity Date, and (ii) principal is payable in monthly installments (in the
same monthly amounts as the periodic amortization amounts in the 2012 Bond
Documents) beginning on the date that is two years after the Effective Date (as to be
specified in the Restated 2012 Bond Documents) and ending on the Restated Maturity
Date; and (b) the Restated 2012 Bond Documents shall be guaranteed by Arrow. The
covenants in the Restated 2012 Bond Documents shall be in form and substance
acceptable to JPM and the BSA. The obligations under the Restated 2012 Bond
Documents shall be secured by the Restated Security Agreement. The then-current forms
of the Restated 2012 Bond Documents shall be filed with the Plan Supplement.

        222. “Restated Credit Facility Documents” means those certain restated credit
facility documents, which shall contain substantially the same terms as the 2010 Credit
Facility Documents and the 2019 RCF Documents, as applicable to the 2010 Credit
Facility Claims and the 2019 RCF Claims, except that: (a) the revolving credit facilities
provided under the 2010 Credit Facility Documents and the 2019 RCF Documents shall
be frozen and converted to term loans; (b) the Revolving Maturity Date and the Term
Loan Maturity Date (each as defined in the 2010 Credit Facility Documents) and the
Maturity Date (as defined in the 2019 RCF Documents) shall be extended to the Restated
Maturity Date; (c) interest is payable in quarterly installments (at the same rates in the
applicable Prepetition Debt and Security Documents) beginning on the date that is three
months after the Effective Date (as to be specified in the Restated Credit Facility
Documents) and ending on the Restated Maturity Date; (d) principal is payable in
quarterly installments (at 1/40th of the outstanding balance on the Effective Date)
beginning on the date that is two years after the Effective Date (as to be specified in the
Restated Credit Facility Documents) and ending on the Restated Maturity Date; and (e)
the Restated Credit Facility Documents shall be guaranteed by Arrow. The covenants in
the Restated Credit Facility Documents shall be in form and substance acceptable to JPM
and the BSA. The obligations under the Restated Credit Facility Documents shall be
secured by the Restated Security Agreement. The then-current forms of the Restated
Credit Facility Documents shall be filed with the Plan Supplement.




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        223. “Restated Debt and Security Documents” means, collectively, the Restated
2010 Bond Documents, the Restated 2012 Bond Documents, the Restated Credit Facility
Documents, and the Restated Security Agreement. The Restated Debt and Security
Documents shall be on terms acceptable to JPM and the BSA, and reasonably acceptable
to the Creditors’ Committee.

        224. “Restated Maturity Date” means the maturity date applicable to each of
the Restated Debt and Security Documents in accordance with the terms thereof, which
shall in each case be the date that is ten (10) years after the Effective Date.

        225. “Restated Security Agreement” means that certain restated security
agreement, pursuant to which Reorganized BSA and Arrow shall grant blanket first-
priority liens on and security interests in all of Reorganized BSA’s and Arrow’s assets,
including all collateral secured by the Prepetition Security Documents (2019), to JPM to
secure Reorganized BSA’s and Arrow’s obligations under the Restated 2010 Bond
Documents, the Restated 2012 Bond Documents and the Restated Credit Facility
Documents. The then-current form of the Restated Security Agreement shall be filed
with the Plan Supplement.

        226. “Restoration Plan” means the Boy Scouts of America Retirement Benefit
Restoration Plan, a non-qualified defined benefit retirement plan under section 457(f) of
the Internal Revenue Code, which provides supplemental retirement benefits to certain
current and former employees of the Debtors or Local Councils.

       227. “Schedules” means, with respect to each Debtor, the schedules of assets
and liabilities and the statement of financial affairs filed by such Debtor with the
Bankruptcy Court pursuant to sections 521 and 1106(a)(2) of the Bankruptcy Code and
Bankruptcy Rule 1007, as such schedules and statements may be amended or
supplemented from time to time prior to the Effective Date.

        228.   “Scouting Released Claims” has the meaning ascribed to such term in
Article X.J.

       229. “Scouting University” means that certain parcel of real property owned by
the BSA located at 1301 Solana Boulevard, Westlake, Texas 76262, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon, the sale of which
was approved pursuant to the Order, Pursuant to Section 363 of the Bankruptcy Code,
Authorizing the Sale of Certain Real Property Located in Westlake Texas, entered by the
Bankruptcy Court on June 14, 2021 at Docket No. 5326.

         230. “Secured” means, with respect to any Claim, the extent to which the Claim
is: (a) secured by a Lien on property of a Debtor’s Estate (i) as set forth in the Plan, (ii) as
agreed to by the holder of such Claim and the Debtors, or (iii) as determined by a Final
Order in accordance with section 506(a) of the Bankruptcy Code; or (b) subject to any
setoff right of the holder of such Claim under section 553 of the Bankruptcy Code, but,
with respect to both of the foregoing clauses (a) and (b), only to the extent of the value of



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the interest of such holder in the Estate’s interest in the property securing such Claim or
the amount subject to setoff, as applicable.

       231. “Settlement of Restricted and Core Asset Disputes” has the meaning
ascribed to such term in Article V.S.3.

        232.    “Settlement Trust” means the trust organized under the laws of the state
of Delaware and established under Article IV and the Settlement Trust Agreement for the
purposes set forth therein, including assuming liability for all Abuse Claims, holding,
preserving, maximizing, and administering the Settlement Trust Assets, and directing the
processing, liquidation and payment of all compensable Abuse Claims in accordance with
the Settlement Trust Documents.

        233. “Settlement Trust Advisory Committee” or “STAC” means the committee
serving in accordance with Article IV and the Settlement Trust Agreement, which shall
have the powers, duties and obligations set forth in the applicable Settlement Trust
Agreement. The initial members of the Settlement Trust Advisory Committee shall be
identified in the Plan Supplement.

        234. “Settlement Trust Agreement” means the Settlement Trust Agreement
dated as of the Effective Date, substantially in the form attached hereto as Exhibit B, as
the same may be amended or modified from time to time in accordance with the terms
thereof, which shall be in form and substance acceptable to (a) the Debtors, the Ad Hoc
Committee, the Coalition and the Future Claimants’ Representative and (b) the Creditors’
Committee with respect to the treatment of Non-Abuse Litigation Claims.

        235. “Settlement Trust Assets” means the following assets and any income,
profits and proceeds realized, received or derived from such assets subsequent to the
transfer of such assets to the Settlement Trust:

               a.     the BSA Settlement Trust Contribution;

               b.     the Local Council Settlement Contribution;

              c.      the Contributing Chartered Organization Settlement Contribution,
       including the TCJC Settlement Contribution;

               d.     the Participating Chartered Organization Settlement Contribution;
       and

              e.      any and all funds, proceeds or other consideration contributed to
       the Settlement Trust under the terms of any Insurance Settlement Agreement,
       including the Hartford Settlement Contribution.

       236.    “Settlement Trust Causes of Action” means any Estate Cause of Action
and any Cause of Action held by any Local Council or other Person that is or becomes a
Protected Party or a Limited Protected Party, which Estate Cause of Action or other such
Cause of Action, as applicable, is not otherwise expressly released under the Plan or the


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Plan Documents, in each case solely attributable to: (a) all defenses to any Abuse Claim,
including all defenses under section 502 of the Bankruptcy Code; (b) with respect to
Abuse Claims, all rights of setoff, recoupment, contribution, reimbursement, subrogation
or indemnity (as those terms are defined by the non-bankruptcy law of any relevant
jurisdiction) and any other indirect claim of any kind whatsoever, whenever and
wherever arising or asserted; (c) any other Causes of Action with respect to Abuse
Claims that either Debtor, any Related Non-Debtor Entity, any Local Council or any
other Protected Party or Limited Protected Party would have had under applicable law if
the Chapter 11 Cases had not occurred and the holder of such Abuse Claim had asserted
such Cause of Action by initiating civil litigation against either Debtor, any Related Non-
Debtor Entity, any Local Council or any other Protected Party or Limited Protected Party
(including any Causes of Action against co-defendants); and (d) any Cause of Action of
either Debtor, any Related Non-Debtor Entity, any Local Council or any other Protected
Party or Limited Protected Party, under the laws of any jurisdiction, for reimbursement,
indemnity, contribution, breach of contract, or otherwise arising from or relating to any
payments made by either Debtor, any Related Non-Debtor Entity, any Local Council or
any other Protected Party or Limited Protected Party on account of Abuse Claims on or
before the Effective Date.

        237. “Settlement Trust Documents” means, collectively, (a) the Settlement
Trust Agreement, (b) the Trust Distribution Procedures, (c) the Document Agreement,
(d) the Confirmation Order, and (e) any other agreements, instruments and documents
governing the establishment, administration and operation of the Settlement Trust, which
shall be substantially in the forms set forth as exhibits hereto or in the Plan Supplement,
as the same may be amended or modified from time to time in accordance with the terms
thereof.

        238. “Settlement Trust Expenses” means any liabilities, costs, or expenses of,
or imposed upon, or in respect of, the Settlement Trust once established (except for
payments to holders of Abuse Claims on account of such Claims). Settlement Trust
Expenses shall also expressly include: (a) any and all liabilities, costs, and expenses
incurred subsequent to the Effective Date in connection with the Settlement Trust Assets
(including the prosecution of any Settlement Trust Causes of Action and Insurance
Actions), in each case whether or not any such action results in a recovery for the
Settlement Trust; (b) the reasonable documented costs and expenses incurred by
Reorganized BSA, the Related Non-Debtor Entities, the Local Councils, the Ad Hoc
Committee, or the Contributing Chartered Organizations in taking any action on behalf of
or at the direction of the Settlement Trust, if any, following such Entities’ transfer to the
Settlement Trust of copies of all records and documents in their possession, custody or
control pertaining to Abuse Claims in accordance with the Document Agreement; and (c)
reasonable, documented and contractual professional or advisory fees incurred by the
Coalition for up to thirty (30) days after the Effective Date in connection with the initial
effectuation of the Plan and the Settlement Trust.

      239. “Settlement Trustee” means Eric D. Green or any successor trustee who
may subsequently be appointed pursuant to the terms of the Settlement Trust Agreement.



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        240. “Settling Insurance Company” means, solely with respect to Abuse
Insurance Policies that are the subject of an Insurance Settlement Agreement, any
Insurance Company that contributes funds, proceeds or other consideration to or for the
benefit of the Settlement Trust pursuant to an Insurance Settlement Agreement that is
approved by (a) an order of the Bankruptcy Court (including the Confirmation Order) and
is designated as a Settling Insurance Company in the Confirmation Order or the
Affirmation Order or (b) the Settlement Trust. Without limiting the foregoing, subject to
Confirmation of the Plan and approval of the Hartford Insurance Settlement Agreement
by an order of the Bankruptcy Court (including in the Confirmation Order), Hartford is a
Settling Insurance Company and shall be designated as such in the Confirmation Order
and the Affirmation Order.

       241. “Special Reviewer” means the individual approved by the Coalition for
the purposes set forth in the Settlement Trust Agreement. The name of the initial Special
Reviewer shall be identified in the Plan Supplement.

        242. “Specified Insurance Policy” means any BSA Insurance Policy with an
inception date of March 1, 2013 to the present, except for the excess liability policy
issued to the BSA by Navigators Specialty Insurance Company for the period from
March 1, 2013 to February 28, 2014.

       243. “Specified Primary Insurance Policy” means any Specified Insurance
Policy that is a primary Abuse Insurance Policy. Specified Primary Insurance Policies
include primary Abuse Insurance Policies issued by Old Republic Insurance Company
for the periods of coverage between March 1, 2013 and February 28, 2019, and by
Evanston Insurance Company for the period of coverage between March 1, 2019 and
February 28, 2020.

        244. “Specified Excess Insurance Policy” means any Specified Insurance
Policy that is an umbrella or excess Abuse Insurance Policy.

       245. “Summit Bechtel Reserve” means the parcels of real property that
comprise the Summit Bechtel Family National Scout Reserve, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon.

       246. “TCJC” means The Church of Jesus Christ of Latter-day Saints, a Utah
corporation sole, including any affiliates or personnel.

       247. “TCJC Settlement Contribution” shall mean the “Settlement Amount” as
defined in the TCJC Settlement Agreement, which is equal to Two Hundred Fifty Million
Dollars ($250,000,000).

         248.   “TCJC Settlement” has the meaning ascribed to such term in Article
V.S.5.

       249. “TCJC Settlement Agreement” means that certain settlement agreement,
which remains subject to definitive documentation, by and between TCJC, the Debtors,


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the Ad Hoc Committee, the Coalition, the Future Claimants’ Representative, and certain
state court counsel to holders of Direct Abuse Claims, as such agreement is described in
the term sheet appended to the Sixth Mediators’ Report [D.I. 6210] filed on September
14, 2021. Upon its execution by all of the parties thereto, the TCJC Settlement
Agreement shall be attached hereto as Exhibit J-1.

        250. “Tort Claimants’ Committee” means the official committee of tort
claimants, consisting of survivors of childhood sexual abuse, appointed by the United
States Trustee in the Chapter 11 Cases under section 1102(a) of the Bankruptcy Code.

       251. “Trust Distribution Procedures” means the Boy Scouts of America Trust
Distribution Procedures for Abuse Claims, substantially in the form attached hereto as
Exhibit A, as the same may be amended or modified from time to time in accordance
with the terms thereof, which shall be acceptable to (a) the Debtors, the Ad Hoc
Committee, the Coalition and the Future Claimants’ Representative and (b) the Creditors’
Committee with respect to the treatment of Non-Abuse Litigation Claims.

        252.    “Unexpired Lease” means a lease to which BSA is a party, including any
and all pre- and post-petition amendments thereto, that is subject to assumption or
rejection under section 365 of the Bankruptcy Code.

        253. “Unimpaired” means any Claim that is not Impaired, including any Claim
that is Reinstated.

       254. “United States Trustee” means the Office of the United States Trustee for
the District of Delaware.

        255. “Unrestricted Cash and Investments” means all Cash and balance sheet
investments owned by the Debtors as of the date that is immediately prior to the Effective
Date that are not subject to legally enforceable restrictions requiring the use or
disposition of such assets for a particular purpose.

        256. “Volunteer Screening Database” is the database established and
maintained by the BSA to, among other things, track and remove from Scouting
volunteer leaders suspected of having acted in an inappropriate sexual manner with youth
participants in Scouting.

        257. “Voting Deadline” means the date by which all Persons entitled to vote on
the Plan must vote to accept or reject the Plan.

       258. “Voting Procedures” means those certain procedures and supplemental
procedures approved by the Bankruptcy Court for soliciting and tabulating the votes to
accept or reject the Plan cast by holders of Claims against the Debtors entitled to vote on
the Plan. The Voting Procedures shall be in form and substance reasonably acceptable to
the Creditors’ Committee as they pertain to Convenience Claims, General Unsecured
Claims and Non-Abuse Litigation Claims.




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               259. “Warehouse and Distribution Center” means that certain parcel of real
       property owned by the BSA located at 2109 Westinghouse Boulevard, Charlotte, North
       Carolina 28269, together with the buildings, structures, fixtures, additions, enlargements,
       extensions, modifications, repairs, replacements and other improvements now or
       hereafter located thereon.

              260. “Workers’ Compensation Program” means the Debtors’ (a) written
       contracts, agreements, agreements of indemnity, in each case relating to workers’
       compensation, (b) self-insured workers’ compensation bonds, policies, programs, and
       plans for workers’ compensation and (c) workers’ compensation insurance issued to or
       entered into at any time by any of the Debtors.

               261. “Youth Member” means a youth member of the BSA registered as of
       December 31 of any applicable year in a core program (Cub Scouts, Scouts BSA (in each
       case under age 18), Sea Scouts, Venturing, or Exploring (in each case under age 21)),
       whose registration is current as of such date and who has paid the individual annual
       registration fee (which fee has not been refunded in whole or in part).

        B.       Interpretation; Application of Definitions and Rules of Construction. For
purposes of the Plan, unless otherwise provided herein: (1) whenever from the context it is
appropriate, each term, whether stated in the singular or the plural, will include both the singular
and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (2) unless otherwise provided in the Plan, any
reference in the Plan to a contract, instrument, release, or other agreement or document being in
a particular form or on particular terms and conditions means that such document will be
substantially in such form or substantially on such terms and conditions; provided, however, that
the rule of interpretation set forth in clause (2) shall not be imputed to any contract, lease,
instrument, release, or other agreement as to which JPM or the Creditors’ Committee have
consent rights pursuant to the JPM / Creditors’ Committee Term Sheet, and such consent rights
shall be as set forth in the JPM / Creditors’ Committee Term Sheet and incorporated herein
pursuant to Article I.D; (3) any reference in the Plan to an existing document, schedule or exhibit
filed or to be filed means such document, schedule or exhibit, as it may have been or may be
amended, modified, or supplemented pursuant to the Plan; (4) any reference to a Person as a
holder of a Claim or Interest includes that Person’s successors and assigns; (5) unless otherwise
stated, all references in the Plan to Articles are references to Articles of the Plan, as the same
may be amended or modified from time to time in accordance with the terms hereof; (6) the
words “herein,” “hereof,” “hereto,” “hereunder” and other words of similar import refer to the
Plan as a whole and not to any particular Article or clause contained in the Plan; (7) subject to
the provisions of any contract, certificate of incorporation, by-law, instrument, release, or other
agreement or document entered into in connection with the Plan, the rights and obligations
arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with
the applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (8) any term
used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy
Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy
Code or the Bankruptcy Rules, as the case may be; (9) any immaterial effectuating provisions
may be interpreted by Reorganized BSA in such a manner that is consistent with the overall
purpose and intent of the Plan all without further notice to or action, order, or approval of the


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Bankruptcy Court or any other Person; (10) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation
of the Plan; (11) the rules of construction set forth in section 102 of the Bankruptcy Code shall
apply; (12) any reference to a Person’s “subsidiaries” means its direct and indirect subsidiaries;
and (13) in computing any period of time prescribed or allowed by the Plan, unless otherwise
expressly provided herein, the provisions of Bankruptcy Rule 9006(a) shall apply.

        C.     Reference to Monetary Figures. All references in the Plan to monetary figures
shall refer to the legal tender of the United States of America unless otherwise expressly
provided.

        D.      Consent Rights. Notwithstanding anything herein to the contrary, the consent
rights of JPM and the Creditors’ Committee, respectively, as set forth in the JPM / Creditors’
Committee Term Sheet, with respect to the form and substance of the Plan, all exhibits and
schedules to the Plan, the Plan Supplement, and the other Plan Documents, including any
amendments, restatements, supplements, or other modifications to such documents, and any
consents, waivers, or other deviations under or from any such documents, to the extent they
pertain to the treatment of the 2010 Credit Facility Claims, the 2019 RCF Claims, the 2010 Bond
Claims, or the 2012 Bond Claims (in the case of JPM) or Convenience Claims, General
Unsecured Claims, or Non-Abuse Litigation Claims (in the case of the Creditors’ Committee),
shall be incorporated herein by this reference (including to the applicable definitions in Article
I.A) and fully enforceable as if stated in full herein. TCJC will have consent rights with respect
to any modifications to the Plan, the Settlement Trust Documents, the Confirmation Order, and
the Affirmation Order relating to the Channeling Injunction, releases by holders of Abuse
Claims, and related definitional terms including, for the avoidance of doubt, “Abuse,” “Abuse
Claim,” and “Protected Parties,” but only to the extent that such modifications would affect
TCJC.

       E.       Controlling Document. In the event of any conflict between the terms and
provisions in the Plan (without reference to the Plan Supplement), on the one hand, and the terms
and provisions in the Disclosure Statement, the Plan Supplement, any other instrument or
document created or executed pursuant to the Plan, or any order (other than the Confirmation
Order) referenced in the Plan (or any exhibits, schedules, appendices, supplements, or
amendments to any of the foregoing), on the other hand, the Plan (without reference to the Plan
Supplement) shall govern and control; provided, however, that in the event of a conflict between
Confirmation Order, on the one hand, and any of the other Plan Documents, on the other hand,
the Confirmation Order shall govern and control in all respects.

                                         ARTICLE II.

                ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS

       A.      Administrative Expense Claims.

              1.    Administrative Expense Claims Generally. Except to the extent that a
holder of an Allowed Administrative Expense Claim agrees to less favorable treatment with
respect to such Allowed Administrative Expense Claim, each holder of an Allowed


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Administrative Expense Claim (other than Professional Fee Claims, which are governed by
Article II.A.2) shall receive, on account of and in full and complete settlement, release and
discharge of, and in exchange for, such Claim, payment of Cash in an amount equal to the unpaid
portion of such Allowed Administrative Expense Claim, or such amounts and on other such
terms as may be agreed to by the holders of such Claims, on or as soon as reasonably practicable
after the later of: (a) the Effective Date; (b) the first Business Day after the date that is thirty (30)
calendar days after the date such Administrative Expense Claim becomes an Allowed
Administrative Expense Claim; (c) such other date(s) as such holder and the Debtors or
Reorganized BSA shall have agreed; or (d) such other date ordered by the Bankruptcy Court;
provided, however, that Allowed Administrative Expense Claims that arise in the ordinary
course of the Debtors’ non-profit operations during the Chapter 11 Cases may be paid by the
Debtors or Reorganized BSA in the ordinary course of operations and in accordance with the
terms and conditions of the particular agreements governing such obligations, course of dealing,
course of operations, or customary practice. Notwithstanding anything to the contrary herein or
in the Cash Collateral Order, no Claim on account of any diminution in the value of the
Prepetition Secured Parties’ interests in the Prepetition Collateral (including Cash Collateral) (as
each such capitalized term is defined in the Cash Collateral Order) from and after the Petition
Date shall be Allowed unless such Claim is Allowed by a Final Order of the Bankruptcy Court.
The Hartford Administrative Claim shall be an Allowed Administrative Expense Claim and shall
be paid in full in cash to Hartford on, or as soon as reasonably practicable after, the Effective
Date.

                2.      Professional Fee Claims.

                       a.      Final Fee Applications. All Professionals or other Persons
                requesting the final Allowance and payment of compensation and/or
                reimbursement of expenses pursuant to sections 328, 330, 331 and/or 503(b) or
                under Article V.T as described therein, for services rendered during the period
                from the Petition Date to and including the Effective Date shall file and serve
                final applications for Allowance and payment of Professional Fee Claims on
                counsel to the Debtors and the United States Trustee no later than the first
                Business Day that is forty-five (45) days after the Effective Date. Objections to
                any Professional Fee Claim must be filed and served on Reorganized BSA and the
                applicable Professional within twenty-one (21) calendar days after the filing of
                the final fee application that relates to the Professional Fee Claim (unless
                otherwise agreed by the Debtors or Reorganized BSA, as applicable, and the
                Professional requesting Allowance and payment of a Professional Fee Claim).
                The Fee Examiner shall continue to act in its appointed capacity unless and until
                all Professional Fee Claims have been approved by order of the Bankruptcy
                Court, and Reorganized BSA shall be responsible to pay the fees and expenses
                incurred by the Fee Examiner in rendering services after the Effective Date.

                        b.     Professional Fee Reserve. On the Effective Date, the Debtors shall
                establish and fund the Professional Fee Reserve with Cash in an amount equal to
                the Professional Fee Reserve Amount plus a reasonable cushion amount
                determined by the Debtors. Funds held in the Professional Fee Reserve shall not
                be considered property of the Debtors’ Estates, Reorganized BSA, the Settlement


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              Trust, or the Core Value Cash Pool. Professional Fees owing on account of
              Allowed Professional Fee Claims shall be paid in Cash from funds held in the
              Professional Fee Reserve as soon as reasonably practicable after such Professional
              Fee Claims are Allowed by a Final Order of the Bankruptcy Court or authorized
              to be paid under the Compensation Procedures Order; provided, however, that
              Reorganized BSA’s obligations with respect to Allowed Professional Fee Claims
              shall not be limited by or deemed limited to the balance of funds held in the
              Professional Fee Reserve. To the extent the funds held in the Professional Fee
              Reserve are insufficient to satisfy the Allowed Professional Fee Claims in full,
              each holder of an Allowed Professional Fee Claim shall have an Allowed
              Administrative Expense Claim for any deficiency, which shall be satisfied in
              accordance with Article II.A.1. No Liens, Claims, interests, charges, or other
              Encumbrances or liabilities of any kind shall encumber the Professional Fee
              Reserve in any way. When all Allowed Professional Fee Claims have been paid
              in full, amounts remaining in the Professional Fee Reserve, if any, shall be
              transferred to the Settlement Trust.

                      c.      Professional Fee Reserve Amount. To be eligible for payment for
              Accrued Professional Fees incurred up to and including the Effective Date,
              Professionals shall estimate their Accrued Professional Fees as of the Effective
              Date and deliver such estimate to the Debtors at least five (5) Business Days prior
              to the anticipated Effective Date, and Coalition Professionals shall provide the
              Debtors a reasonable estimate of total Coalition Restructuring Expenses in
              accordance with Article V.T. If a Professional or Coalition Professional does not
              provide such estimate, the Debtors may estimate the unbilled fees and expenses of
              such Professional or Coalition Professional. The total amount so estimated will
              constitute the Professional Fee Reserve Amount, provided that such estimate will
              not be considered an admission or limitation with respect to the fees and expenses
              of such Professional or Coalition Professional.

                      d.     Post-Effective Date Fees and Expenses. From and after the
              Effective Date, any requirement that Professionals comply with sections 327
              through 331 or 1103 of the Bankruptcy Code in seeking retention or
              compensation for services rendered after such date shall terminate, and
              Professionals may be employed and paid in the ordinary course of operations
              without any further notice to or action, order, or approval of the Bankruptcy
              Court. The reasonable and documented fees and expenses incurred by the
              Professionals to the Creditors’ Committee after the Effective Date until the
              complete dissolution of the Creditors’ Committee for all purposes in accordance
              with Article X.R will be paid by Reorganized BSA in the ordinary course of
              business (and not later than thirty (30) days after submission of invoices).

       B.      Priority Tax Claims. Except to the extent that a holder of an Allowed Priority Tax
Claim agrees to less favorable treatment, each holder of an Allowed Priority Tax Claim shall
receive on account of and in full and complete settlement, release and discharge of, and in
exchange for, such Allowed Priority Tax Claim, at the sole option of the Debtors or Reorganized
BSA, as applicable: (1) Cash in an amount equal to such Allowed Priority Tax Claim on or as


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soon as reasonably practicable after the later of (a) the Effective Date, to the extent such Claim is
an Allowed Priority Tax Claim on the Effective Date; (b) the first Business Day after the date
that is thirty (30) calendar days after the date such Priority Tax Claim becomes an Allowed
Priority Tax Claim; and (c) the date such Allowed Priority Tax Claim is due and payable in the
ordinary course as such obligation becomes due; provided, however, that the Debtors reserve the
right to prepay all or a portion of any such amounts at any time under this option without penalty
or premium; or (2) regular installment payments in Cash of a total value, as of the Effective Date
of the Plan, equal to the Allowed amount of such Claim over a period ending not later than five
years after the Petition Date.

                                          ARTICLE III.

         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

        A.      Classification of Claims and Interests.

                1.      Grouping of Debtors for Convenience. The Plan is being proposed as a
        joint plan of reorganization of the Debtors for administrative purposes only and
        constitutes a separate chapter 11 plan of reorganization for each Debtor. The Plan is not
        premised upon the substantive consolidation of the Debtors with respect to the Classes of
        Claims or Interests set forth in the Plan.

                2.     Classification in General. For purposes of organization, voting, and all
        matters related to Confirmation, and except as otherwise provided herein, all Claims
        (other than Administrative Expense Claims and Priority Tax Claims) against and Interests
        in the Debtors are classified as set forth in this Article III. In accordance with section
        1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax
        Claims described in Article II have not been classified and are excluded from the
        following Classes. A Claim or Interest is classified in a particular Class only to the
        extent that the Claim or Interest falls within the description of such Class, and is
        classified in another Class or Classes to the extent that any remainder of the Claim or
        Interest falls within the description of such other Class or Classes. Notwithstanding
        anything to the contrary contained in the Plan, no distribution shall be made on account
        of any Claim that is not Allowed for distribution purposes (if applicable) or any Claim
        that has been satisfied, released, or otherwise settled prior to the Effective Date.

               3.      Summary of Classification. The following table designates the Classes of
        Claims against and Interests in the Debtors and specifies which of those Classes are
        (a) Impaired or Unimpaired by the Plan; (b) entitled to vote to accept or reject the Plan in
        accordance with section 1126 of the Bankruptcy Code; or (c) presumed to accept or
        deemed to reject the Plan.

Class               Claim               Status                         Voting Rights
  1     Other Priority Claims         Unimpaired      Presumed to Accept; Not Entitled to Vote
  2     Other Secured Claims          Unimpaired      Presumed to Accept; Not Entitled to Vote
 3A     2010 Credit Facility Claims   Impaired        Entitled to Vote
 3B     2019 RCF Claims               Impaired        Entitled to Vote



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4A   2010 Bond Claims              Impaired        Entitled to Vote
4B   2012 Bond Claims              Impaired        Entitled to Vote
 5   Convenience Claims            Impaired        Entitled to Vote
 6   General Unsecured Claims      Impaired        Entitled to Vote
 7   Non-Abuse Litigation Claims   Impaired        Entitled to Vote
 8   Direct Abuse Claims           Impaired        Entitled to Vote
 9   Indirect Abuse Claims         Impaired        Entitled to Vote
10   Interests in Delaware BSA     Impaired        Deemed to Reject; Not Entitled to Vote

     B.     Treatment of Claims and Interests.

            1.      Class 1 – Other Priority Claims.

                    a.     Classification: Class 1 consists of all Other Priority Claims.

                     b.      Treatment: Except to the extent that a holder of an Allowed Other
            Priority Claim agrees to less favorable treatment of such Claim, in full and final
            satisfaction of such Allowed Other Priority Claim, at the sole option of
            Reorganized BSA: (i) each such holder shall receive payment in Cash in an
            amount equal to such Allowed Other Priority Claim, payable on or as soon as
            reasonably practicable after the last to occur of (x) the Effective Date, (y) the date
            on which such Other Priority Claim becomes an Allowed Other Priority Claim,
            and (z) the date on which the holder of such Allowed Other Priority Claim and the
            Debtors or Reorganized BSA, as applicable, shall otherwise agree in writing; or
            (ii) satisfaction of such Allowed Other Priority Claim in any other manner that
            renders the Allowed Other Priority Claim Unimpaired, including Reinstatement.

                    c.     Voting: Class 1 is Unimpaired, and each holder of an Other
            Priority Claim is conclusively presumed to have accepted the Plan pursuant to
            section 1126(f) of the Bankruptcy Code. Therefore, holders of Other Priority
            Claims are not entitled to vote to accept or reject the Plan, and the votes of such
            holders will not be solicited with respect to Other Priority Claims.

            2.      Class 2 – Other Secured Claims.

                    a.      Classification: Class 2 consists of all Other Secured Claims. To
            the extent that Other Secured Claims are Secured by different collateral or
            different interests in the same collateral, such Claims shall be treated as separate
            subclasses of Class 2 for purposes of voting to accept or reject the Plan and
            receiving Distributions under the Plan.

                    b.     Treatment: Except to the extent that a holder of an Allowed Other
            Secured Claim agrees to less favorable treatment of such Claim, in full and final
            satisfaction of such Allowed Other Secured Claim, each holder of an Allowed
            Other Secured Claim will receive, at the sole option of Reorganized BSA:
            (i) Cash in an amount equal to the Allowed amount of such Claim, including the
            payment of any interest required to be paid under section 506(b) of the
            Bankruptcy Code, payable on or as soon as reasonably practicable after the last to


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  occur of (x) the Effective Date, (y) the date on which such Other Secured Claim
  becomes an Allowed Other Secured Claim, and (z) the date on which the holder
  of such Allowed Other Secured Claim and the Debtors or Reorganized BSA, as
  applicable, shall otherwise agree in writing; (ii) satisfaction of such Other Secured
  Claim in any other manner that renders the Allowed Other Secured Claim
  Unimpaired, including Reinstatement; or (iii) return of the applicable collateral on
  the Effective Date or as soon as reasonably practicable thereafter in satisfaction of
  the Allowed amount of such Other Secured Claim.

          c.     Voting: Class 2 is Unimpaired, and each holder of an Other
  Secured Claim is conclusively presumed to have accepted the Plan pursuant to
  section 1126(f) of the Bankruptcy Code. Therefore, holders of Other Secured
  Claims are not entitled to vote to accept or reject the Plan, and the votes of such
  holders will not be solicited with respect to Other Secured Claims.

  3.     Class 3A – 2010 Credit Facility Claims.

         a.      Classification:   Class 3A consists of all 2010 Credit Facility
  Claims.

          b.     Allowance: On the Effective Date, all 2010 Credit Facility Claims
  shall be deemed fully Secured and Allowed pursuant to section 506(a) of the
  Bankruptcy Code, and not subject to any counterclaim, defense, offset, or
  reduction of any kind, in an aggregate amount not less than $80,762,060
  (including $44,299,743 of undrawn amounts under letters of credit issued under
  the 2010 Credit Facility Documents, provided such letters of credit are drawn on
  or before the Effective Date), plus any accrued but unpaid interest and reasonable
  fees and expenses as of the Effective Date to the extent not paid pursuant to the
  Cash Collateral Order. Because all 2010 Credit Facility Claims are deemed fully
  Secured, there are no unsecured 2010 Credit Facility Claims, and the holders of
  such Claims do not have or hold any Class 6 Claims against the Debtors on
  account of any 2010 Credit Facility Claims.

          c.      Treatment: Except to the extent that a holder of an Allowed 2010
  Credit Facility Claim agrees to less favorable treatment of such Claim, in full and
  final satisfaction, settlement, release, and discharge of, and in exchange for an
  Allowed 2010 Credit Facility Claim, each holder of an Allowed 2010 Credit
  Facility Claim shall receive a Claim under the Restated Credit Facility Documents
  in an amount equal to the amount of such holder’s Allowed 2010 Credit Facility
  Claim.

        d.      Voting: Class 3A is Impaired, and each holder of an Allowed
  2010 Credit Facility Claim is entitled to vote to accept or reject the Plan.

  4.     Class 3B – 2019 RCF Claims.

         a.      Classification: Class 3B consists of all 2019 RCF Claims.



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          b.     Allowance: On the Effective Date, all 2019 RCF Claims shall be
  deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
  Code, and not subject to any counterclaim, defense, offset, or reduction of any
  kind, in an aggregate amount not less than $61,542,720 (including $51,542,720 of
  undrawn amounts under letters of credit issued under the 2019 RCF Documents,
  provided such letters of credit are drawn on or before the Effective Date), plus
  any accrued but unpaid interest and reasonable fees and expenses as of the
  Effective Date to the extent not paid pursuant to the Cash Collateral Order.
  Because all 2019 RCF Claims are deemed fully Secured, there are no unsecured
  2019 RCF Claims, and the holders of such Claims do not have or hold any Class 6
  Claims against the Debtors on account of any 2019 RCF Claims.

          c.      Treatment: Except to the extent that a holder of an Allowed 2019
  RCF Claim agrees to less favorable treatment of such Claim, in full and final
  satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
  2019 RCF Claim, each holder of an Allowed 2019 RCF Claim shall receive a
  Claim under the Restated Credit Facility Documents in an amount equal to the
  amount of such holder’s Allowed 2019 RCF Claim.

        d.      Voting: Class 3B is Impaired, and each holder of an Allowed 2019
  RCF Claim is entitled to vote to accept or reject the Plan.

  5.     Class 4A – 2010 Bond Claims.

         a.      Classification: Class 4A consists of all 2010 Bond Claims.

          b.     Allowance: On the Effective Date, all 2010 Bond Claims shall be
  deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
  Code, and not subject to any counterclaim, defense, offset, or reduction of any
  kind, in an aggregate amount of not less than $40,137,274, plus any accrued but
  unpaid interest and reasonable fees and expenses as of the Effective Date to the
  extent not paid pursuant to the Cash Collateral Order. Because all 2010 Bond
  Claims are deemed fully Secured, there are no unsecured 2010 Bond Claims, and
  the holders of such Claims do not have or hold any Class 6 Claims against the
  Debtors on account of any 2010 Bond Claims.

          c.      Treatment: Except to the extent that a holder of an Allowed 2010
  Bond Claim agrees to less favorable treatment of such Claim, in full and final
  satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
  2010 Bond Claim, each holder of an Allowed 2010 Bond Claim shall receive a
  Claim under the Restated 2010 Bond Documents in an amount equal to the
  amount of such holder’s Allowed 2010 Bond Claim.

        d.     Voting: Class 4A is Impaired, and each holder of an Allowed
  2010 Bond Claim is entitled to vote to accept or reject the Plan.




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  6.     Class 4B – 2012 Bond Claims.

         a.      Classification: Class 4B consists of all 2012 Bond Claims.

          b.     Allowance: On the Effective Date, all 2012 Bond Claims shall be
  deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
  Code, and not subject to any counterclaim, defense, offset, or reduction of any
  kind, in an aggregate amount of not less than $145,662,101, plus any accrued but
  unpaid interest and reasonable fees and expenses as of the Effective Date to the
  extent not paid pursuant to the Cash Collateral Order. Because all 2012 Bond
  Claims are deemed fully Secured, there are no unsecured 2012 Bond Claims, and
  the holders of such Claims do not have or hold any Class 6 Claims against the
  Debtors on account of any 2012 Bond Claims.

          c.      Treatment: Except to the extent that a holder of an Allowed 2012
  Bond Claim agrees to less favorable treatment of such Claim, in full and final
  satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
  2012 Bond Claim, each holder of an Allowed 2012 Bond Claim shall receive a
  Claim under the Restated 2012 Bond Documents in an amount equal to the
  amount of such holder’s Allowed 2012 Bond Claim.

        d.      Voting: Class 4B is Impaired, and each holder of an Allowed 2012
  Bond Claim is entitled to vote to accept or reject the Plan.

  7.     Class 5 – Convenience Claims.

         a.      Classification: Class 5 consists of all Convenience Claims.

          b.     Treatment: In full and final satisfaction, settlement, release, and
  discharge of, and in exchange for, an Allowed Convenience Claim, each holder of
  an Allowed Convenience Claim shall receive, on the Effective Date or within
  thirty (30) days following the date that such Convenience Claim becomes
  Allowed (if such Claim becomes Allowed after the Effective Date), Cash in an
  amount equal to 100% of such holder’s Allowed Convenience Claim.

         c.       Voting: Class 5 is Impaired, and each holder of a Convenience
  Claim is entitled to vote to accept or reject the Plan.

  8.     Class 6 – General Unsecured Claims.

         a.      Classification: Class 6 consists of all General Unsecured Claims.

         b.     Treatment: Except to the extent that a holder of an Allowed
  General Unsecured Claim agrees to less favorable treatment of such Claim, in
  exchange for full and final satisfaction, settlement, release, and discharge of, and
  in exchange for, such Allowed General Unsecured Claim, each holder of an
  Allowed General Unsecured Claim shall receive, subject to the holder’s ability to
  elect Convenience Claim treatment on account of the Allowed General Unsecured


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  Claim, its Pro Rata Share of the Core Value Cash Pool up to the full amount of
  such Allowed General Unsecured Claim in the manner described in Article VII.

        c.     Voting: Class 6 is Impaired, and each holder of a General
  Unsecured Claim is entitled to vote to accept or reject the Plan.

  9.     Class 7 – Non-Abuse Litigation Claims.

         a.      Classification:   Class 7 consists of all Non-Abuse Litigation
  Claims.

          b.      Treatment: Except to the extent that a holder of an Allowed Non-
  Abuse Litigation Claim agrees to less favorable treatment of such Claim, in full
  and final satisfaction, settlement, release, and discharge of, and in exchange for,
  each Allowed Non-Abuse Litigation Claim, each holder thereof shall, subject to
  (i) the holder’s ability to elect Convenience Claim treatment as provided in the
  following sentence and (ii) the terms and conditions of Article IV.D.3 (as
  applicable), retain the right to recover up to the amount of such holder’s Allowed
  Non-Abuse Litigation Claim from (x) available insurance coverage or the
  proceeds of any Insurance Policy, including any Abuse Insurance Policy or Non-
  Abuse Insurance Policy, (y) applicable proceeds of any Insurance Settlement
  Agreements, and (z) co-liable non-debtors (if any) or their insurance coverage.
  Solely to the extent that the holder of an Allowed Non-Abuse Litigation Claim
  fails to recover in full from the foregoing sources on account of such Allowed
  Claim after exhausting its remedies in respect thereof, such holder may elect to
  have the unsatisfied portion of its Allowed Claim treated as an Allowed
  Convenience Claim and receive cash in an amount equal to the lesser of (a) the
  amount of the unsatisfied portion of the Allowed Non-Abuse Litigation Claim and
  (b) $50,000.

          c.     Voting: Class 7 is Impaired, and each holder of a Non-Abuse
  Litigation Claim is entitled to vote to accept or reject the Plan.

  10.    Class 8 – Direct Abuse Claims.

         a.      Classification: Class 8 consists of all Direct Abuse Claims.

         b.      Treatment:

                (i)     The Settlement Trust shall receive, for the benefit of
         holders of Abuse Claims, the BSA Settlement Trust Contribution, the
         Local Council Settlement Contribution, the Contributing Chartered
         Organization Settlement Contribution, the Participating Chartered
         Organization Settlement Contribution, the Hartford Settlement
         Contribution (subject to the terms and conditions set forth in the Hartford
         Insurance Settlement Agreement), and the proceeds of any other
         applicable Insurance Settlement Agreements. In addition, each holder of a
         properly completed non-duplicative proof of claim asserting a Direct


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        Abuse Claim who filed such Claim by the Bar Date or was permitted by a
        Final Order of the Bankruptcy Court to file a late claim may elect on his or
        her Ballot to receive an Expedited Distribution, subject to criteria set forth
        in the Trust Distribution Procedures, in exchange for providing a full and
        final release in favor of the Settlement Trust, the Protected Parties and the
        Chartered Organizations. The Settlement Trust shall make the Expedited
        Distributions on one or more dates occurring on or as soon as reasonably
        practicable after the latest to occur of (a) the Effective Date, (b) the date
        the applicable holders of Direct Abuse Claims who have elected to receive
        an Expedited Distribution have satisfied the criteria set forth in the Trust
        Distribution Procedures, and (c) the date upon which the Settlement Trust
        has sufficient Cash to fund the full amount of the Expedited Distributions
        while retaining sufficient Cash reserves to fund applicable Settlement
        Trust Expenses, as determined by the Settlement Trustee.

                (ii)     As of the Effective Date, the Protected Parties’ liability for
        all Direct Abuse Claims shall be assumed in full by the Settlement Trust
        without further act, deed, or court order and shall be satisfied solely from
        the Settlement Trust as set forth in the Settlement Trust Documents.
        Pursuant to the Channeling Injunction set forth in Article X.F, each holder
        of a Direct Abuse Claim shall have such holder’s Direct Abuse Claim
        against the Protected Parties (and each of them) permanently channeled to
        the Settlement Trust, and such Direct Abuse Claim shall thereafter be
        asserted exclusively against the Settlement Trust and processed,
        liquidated, and paid in accordance with the terms, provisions, and
        procedures of the Settlement Trust Documents. Holders of Direct Abuse
        Claims shall be enjoined from prosecuting any outstanding, or filing any
        future, litigation, Claims, or Causes of Action arising out of or related to
        such Direct Abuse Claims against any of the Protected Parties and may not
        proceed in any manner against any of the Protected Parties in any forum
        whatsoever, including any state, federal, or non-U.S. court or any
        administrative or arbitral forum, and are required to pursue such Direct
        Abuse Claims solely against the Settlement Trust as provided in the
        Settlement Trust Documents.

                 (iii) As of the Effective Date, the Limited Protected Parties’
        liability for all Post-1975 Chartered Organization Abuse Claims shall be
        assumed in full by the Settlement Trust without further act, deed, or court
        order and shall be satisfied solely from the Settlement Trust as set forth in
        the Settlement Trust Documents. Pursuant to the Channeling Injunction
        set forth in Article X.F, each holder of a Post-1975 Chartered
        Organization Abuse Claim shall have such holder’s Post-1975 Chartered
        Organization Abuse Claim against the Limited Protected Parties (and each
        of them) permanently channeled to the Settlement Trust, and such Post-
        1975 Chartered Organization Abuse Claim shall thereafter be asserted
        exclusively against the Settlement Trust and processed, liquidated, and
        paid in accordance with the terms, provisions, and procedures of the


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         Settlement Trust Documents. Holders of Post-1975 Chartered
         Organization Abuse Claims shall be enjoined from prosecuting any
         outstanding, or filing any future, litigation, Claims, or Causes of Action
         arising out of or related to such Post-1975 Chartered Organization Abuse
         Claim against any of the Limited Protected Parties and may not proceed in
         any manner against any of the Limited Protected Parties in any forum
         whatsoever, including any state, federal, or non-U.S. court or any
         administrative or arbitral forum, and are required to pursue such Post-1975
         Chartered Organization Abuse Claims solely against the Settlement Trust
         as provided in the Settlement Trust Documents.

                (iv)    For the avoidance of doubt, the Protected Parties shall
         include: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-
         Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered
         Organizations, including TCJC; (f) the Settling Insurance Companies,
         including Hartford; and (g) all of such Persons’ Representatives. The
         Limited Protected Parties shall include the Participating Chartered
         Organizations.

         c.       Voting: Class 8 is Impaired, and each holder of a Direct Abuse
  Claim is entitled to vote to accept or reject the Plan.

  11.    Class 9 – Indirect Abuse Claims.

         a.     Classification: Class 9 consists of all Indirect Abuse Claims.

         b.     Treatment:

                 (i)     As of the Effective Date, the Protected Parties’ liability for
         all Indirect Abuse Claims shall be assumed in full by the Settlement Trust
         without further act, deed, or court order and shall be satisfied solely from
         the Settlement Trust as set forth in the Settlement Trust Documents solely
         to the extent that an Indirect Abuse Claim has not been deemed withdrawn
         with prejudice, irrevocably waived, released and expunged in connection
         with the Local Council Settlement Contribution, the Contributing
         Chartered Organization Trust Contribution, the Participating Chartered
         Organization Trust Contribution, or the Hartford Insurance Settlement
         Agreement. Pursuant to the Channeling Injunction set forth in Article
         X.F, each holder of an Indirect Abuse Claim shall have such holder’s
         Indirect Abuse Claim against the Protected Parties (and each of them)
         permanently channeled to the Settlement Trust, and such Indirect Abuse
         Claim shall thereafter be asserted exclusively against the Settlement Trust
         and processed, liquidated, and paid in accordance with the terms,
         provisions, and procedures of the Settlement Trust Documents. Holders of
         Indirect Abuse Claims shall be enjoined from prosecuting any outstanding,
         or filing any future, litigation, Claims, or Causes of Action arising out of
         or related to such Abuse Claims against any of the Protected Parties and


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         may not proceed in any manner against any the Protected Parties in any
         forum whatsoever, including any state, federal, or non-U.S. court or any
         administrative or arbitral forum, and are required to pursue such Indirect
         Abuse Claims solely against the Settlement Trust as provided in the
         Settlement Trust Documents.

                  (ii)    As of the Effective Date, the Limited Protected Parties’
         liability for all Post-1975 Chartered Organization Abuse Claims shall be
         assumed in full by the Settlement Trust without further act, deed, or court
         order and shall be satisfied solely from the Settlement Trust as set forth in
         the Settlement Trust Documents. Pursuant to the Channeling Injunction
         set forth in Article X.F, each holder of a Post-1975 Chartered
         Organization Abuse Claim shall have such holder’s Post-1975 Chartered
         Organization Abuse Claim against the Limited Protected Parties (and each
         of them) permanently channeled to the Settlement Trust, and such Post-
         1975 Chartered Organization Abuse Claim shall thereafter be asserted
         exclusively against the Settlement Trust and processed, liquidated, and
         paid in accordance with the terms, provisions, and procedures of the
         Settlement Trust Documents.            Holders of Post-1975 Chartered
         Organization Abuse Claims shall be enjoined from prosecuting any
         outstanding, or filing any future, litigation, Claims, or Causes of Action
         arising out of or related to such Post-1975 Chartered Organization Abuse
         Claims against any of the Limited Protected Parties and may not proceed
         in any manner against any the Limited Protected Parties in any forum
         whatsoever, including any state, federal, or non-U.S. court or any
         administrative or arbitral forum, and are required to pursue such Post-1975
         Chartered Organization Abuse Claims solely against the Settlement Trust
         as provided in the Settlement Trust Documents.

                (iii) For the avoidance of doubt, the Protected Parties shall
         include: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-
         Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered
         Organizations, including TCJC; (f) the Settling Insurance Companies,
         including Hartford; and (g) all of such Persons’ Representatives. The
         Limited Protected Parties shall include the Participating Chartered
         Organizations.

         c.       Voting: Class 9 is Impaired, and each holder of an Indirect Abuse
  Claim is entitled to vote to accept or reject the Plan.

  12.    Class 10 – Interests in Delaware BSA.

         a.     Classification: Class 10 consists of all Interests in Delaware BSA.

        b.     Treatment: On the Effective Date, Interests in Delaware BSA shall
  be deemed cancelled without further action by or order of the Bankruptcy Court




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               and shall be of no further force or effect, whether surrendered for cancellation or
               otherwise.

                       c.     Voting: Class 10 is Impaired, and each holder of an Interest in
               Delaware BSA shall be conclusively deemed to have rejected the Plan pursuant to
               section 1126(g) of the Bankruptcy Code. Therefore, holders of Interests in
               Delaware BSA are not entitled to vote to accept or reject the Plan, and the votes
               of such holders will not be solicited with respect to Interests in Delaware BSA.

        C.     Elimination of Vacant Classes. Any Class of Claims against or Interests in the
Debtors that, as of the commencement of the Confirmation Hearing, does not have at least one
holder of a Claim or Interest that is Allowed in an amount greater than zero for voting purposes
shall be considered vacant, deemed eliminated from the Plan for purposes of voting to accept or
reject the Plan, and disregarded for purposes of determining whether the Plan satisfies section
1129(a)(8) of the Bankruptcy Code with respect to that Class.

        D.     Cramdown. If any Class is deemed to reject the Plan or is entitled to vote on the
Plan and does not vote to accept the Plan, the Debtors may (1) seek Confirmation of the Plan
under section 1129(b) of the Bankruptcy Code or (2) amend or modify the Plan in accordance
with the terms hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims
are, or any class of Claims is, impaired, the Bankruptcy Court shall, after notice and a hearing,
determine such controversy on or before the Confirmation Date.

                                         ARTICLE IV.

                                    SETTLEMENT TRUST

        A.      Establishment of the Settlement Trust. The Settlement Trust shall be established
on the Effective Date in accordance with the Plan Documents. The Settlement Trust shall be a
“qualified settlement fund” within the meaning of the Treasury Regulations issued under Section
468B of the Internal Revenue Code, with respect to which Reorganized BSA shall timely make
an election to treat the Settlement Trust as a “grantor trust” for U.S. federal income tax purposes
and, to the extent permitted under applicable law, for state and local income tax purposes.

       B.      Purposes of the Settlement Trust.

               1.      The purposes of the Settlement Trust shall be to assume liability for all
       Abuse Claims, to hold, preserve, maximize and administer the Settlement Trust Assets,
       and to direct the processing, liquidation and payment of all compensable Abuse Claims in
       accordance with the Settlement Trust Documents. The Settlement Trust shall resolve
       Abuse Claims in accordance with the Settlement Trust Documents in a fair, consistent,
       equitable manner, and on a pro rata basis, in compliance with the terms of the Settlement
       Trust Documents and to the extent of available Settlement Trust Assets.

               2.     In the event of any ambiguity or conflict between the terms of the
       Settlement Trust Agreement or any related document required or provided for under the
       Settlement Trust Documents (other than the Confirmation Order), on the one hand, and
       the terms of the Plan and the Confirmation Order, on the other hand, the terms of the Plan


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and the Confirmation Order shall control, notwithstanding that the Settlement Trust
Agreement and related documents required or provided for under the Settlement Trust
Documents may be incorporated in or annexed to the Plan or the Confirmation Order.

C.     Transfer of Claims to the Settlement Trust.

       1.       On the Effective Date or as otherwise provided herein, and without further
action of any Person, the Settlement Trust shall assume the liabilities, obligations, and
responsibilities, financial or otherwise, of (a) the Protected Parties for all Abuse Claims
and (b) the Limited Protected Parties for all Post-1975 Chartered Organization Abuse
Claims. These assumptions by the Settlement Trust shall not affect (i) the application of
the Discharge Injunction or the Channeling Injunction or (ii) any Non-Settling Insurance
Company’s obligation under any Abuse Insurance Policy or applicable law.

        2.      Except as otherwise expressly provided in the Plan, the Settlement Trust
Agreement, or the Trust Distribution Procedures, the Settlement Trust shall have control
over the Settlement Trust Causes of Action and the Insurance Actions, and the Settlement
Trust shall thereby become the estate representative pursuant to section 1123(b)(3)(B) of
the Bankruptcy Code with the exclusive right (except as otherwise provided in Article
IV.D.4) to enforce each of the Settlement Trust Causes of Action and the Insurance
Actions, and the proceeds of the recoveries on any of the Settlement Trust Causes of
Action or the Insurance Actions shall be deposited in and become the property of the
Settlement Trust, and the Settlement Trust shall have the right to enforce the Plan and any
of the other Plan Documents (including the Document Agreement) according to their
respective terms, including the right to receive the Settlement Trust Assets as provided in
the Plan; provided, however, that (a) the Settlement Trust shall have no other rights
against the Protected Parties except to enforce the Plan and any of the other Plan
Documents; (b) the Settlement Trust shall have no other rights against the Limited
Protected Parties with respect to Post-1975 Chartered Organization Abuse Claims; (c) the
Settlement Trust Causes of Action, the Insurance Actions, and the Participating Chartered
Organization Insurance Actions shall not include any Claims or Interests fully and finally
released, compromised, or settled pursuant to the Plan or any Plan Documents, or any
Claims against Hartford released, compromised and settled under the Hartford Insurance
Settlement Agreement; and (d) for the avoidance of doubt, the Settlement Trust Causes of
Action, the Insurance Actions, and the Participating Chartered Organization Insurance
Actions do not include any rights of the Protected Parties or the Limited Protected Parties
arising under the Channeling Injunction or any of the Injunctions, Releases, or
Discharges granted under the Plan and the Confirmation Order.

D.     Transfer of Settlement Trust Assets to the Settlement Trust.

        1.      Transfers on the Effective Date. On the Effective Date, subject to Article
IV.D.2, all right, title, and interest in and to the Settlement Trust Assets and any proceeds
thereof shall be automatically, and without further act or deed, transferred to, vested in,
and assumed by the Settlement Trust free and clear of all Encumbrances or Claims or
other interests of any Person, subject to the Channeling Injunction and other provisions of
the Plan. The Debtors and the Local Councils shall establish an appropriate escrow


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mechanism to ensure that the Cash to be paid to the Settlement Trust by Local Councils
on the Effective Date can be paid in a timely manner.

        2.      Transfers after the Effective Date. To the extent any of the Settlement
Trust Assets are not transferred to the Settlement Trust by operation of law on the
Effective Date pursuant to the Plan, then when such assets accrue or become transferable
subsequent to the Effective Date, they shall automatically and immediately transfer to the
Settlement Trust free and clear of all Encumbrances and Claims or other interests of any
Person, subject to the Channeling Injunction and other provisions of the Plan. To the
extent any Artwork is not physically transferred to the Settlement Trust on the Effective
Date, the Debtors or Reorganized BSA and the Settlement Trust shall mutually agree on
the terms of the storage and subsequent physical transfer thereof. For the avoidance of
doubt, title to the Artwork (and the risk of loss thereof) will transfer to the Settlement
Trust on the Effective Date. To the extent that any action of a Protected Party or Limited
Protected Party is required to effectuate such transfer, such Protected Party or Limited
Protected Party shall promptly transfer, assign, and contribute, such remaining Settlement
Trust Assets to the Settlement Trust. In the event a Protected Party or a Limited
Protected Party breaches any obligation contained in this section, the Settlement Trust
will have no adequate remedy at law and shall be entitled to preliminary and permanent
declaratory and injunctive relief. This Article IV.D.2 applies, without limitation, to
(a) that portion of the Local Council Settlement Contribution required to be contributed
to the Settlement Trust after the Effective Date and (b) the transfer to the Settlement
Trust of the Warehouse and Distribution Center, subject to the Leaseback Requirement.

       3.     Specified Insurance Policies and Non-Abuse Litigation Claims.

               a.      The Settlement Trust shall have consent over any post-Effective
       Date settlement of any Non-Abuse Litigation Claim (such consent not to be
       unreasonably withheld) that is entitled to a recovery from the proceeds of
       Specified Insurance Policies. A condition of payment of a Non-Abuse Litigation
       Claim by the Settlement Trust from a Specified Insurance Policy shall be a release
       by the holder of such Non-Abuse Litigation Claim of the Debtors, the Local
       Councils, and any other insureds under applicable Specified Insurance Policies.
       Before the Settlement Trust settles any Specified Insurance Policy(ies) under
       which the holder of a Non-Abuse Litigation Claim is seeking to recover, the
       holder of a Non-Abuse Litigation Claim may recover up to the full amount of
       such Claim in the first instance from any such available unsettled Specified
       Primary Insurance Policy(ies) or unsettled Specified Excess Insurance Policy(ies).
       If and when the Settlement Trust settles one or more Specified Insurance Policies
       under which the holder of a Non-Abuse Litigation Claim is seeking to recover:
       (a) the holder of such Non-Abuse Litigation Claim shall remain entitled to recover
       up to $1,000,000 of such Claim under any such Specified Primary Insurance
       Policy(ies); and (b) any amounts exceeding $1,000,000 shall be recoverable in the
       first instance from any such available unsettled Specified Excess Insurance
       Policies. Subject to a review of the details concerning a Non-Abuse Litigation
       Claim by the Settlement Trustee, to the extent that the holder of a Non-Abuse
       Litigation Claim cannot, as a result of the Settlement Trust’s release of such


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       Specified Insurance Policy(ies), recover the full amount of any judgment or
       settlement of such Claim consented to by the Settlement Trust (such consent not
       to be unreasonably withheld) from any Specified Insurance Policy(ies) under
       which the holder of a Non-Abuse Litigation Claim is seeking to recover, then any
       unpaid amounts (up to applicable policy limits) shall be submitted to the
       Settlement Trust, which shall pay such amounts out of the proceeds of the
       Specified Insurance Policies.

               b.      The Settlement Trustee shall have a duty to treat Direct Abuse
       Claims and Non-Abuse Litigation Claims that implicate the Specified Insurance
       Policies fairly and equally. In negotiating any settlements involving Specified
       Insurance Policies, the Settlement Trustee shall bear in mind the interests of both
       Direct Abuse Claims and Non-Abuse Litigation Claims in structuring any
       settlement and use best efforts to maximize recoveries for both constituencies.

               c.     Notwithstanding anything to the contrary in the Plan, with respect
       to any Non-Abuse Litigation Claim that has been asserted or could be asserted
       against any Local Council, notice of which is provided to the Debtors, the
       Coalition, the Tort Claimants’ Committee, and the Future Claimants’
       Representative prior to the Effective Date, the rights of the Local Council to
       recover for such Non-Abuse Litigation Claim under the Specified Insurance
       Policies up to the applicable coverage limits shall be preserved; provided,
       however, that if the holder of a Non-Abuse Litigation Claim provides a full and
       complete written release of any claims that such holder of a Non-Abuse Litigation
       Claim may have against the Local Council related to the Non-Abuse Litigation
       Claim, then the Local Council will be deemed to have waived any rights it may
       have against the Specified Insurance Policy with respect to such Non-Abuse
       Litigation Claim.

        4.     Settlement Trust Causes of Action. The transfer of the Settlement Trust
Causes of Action to the Settlement Trust, insofar as they relate to the ability to defend
against or reduce the amount of Abuse Claims, shall be considered the transfer of a non-
exclusive right enabling the Settlement Trust to defend itself against asserted Abuse
Claims, which transfer shall not impair, affect, alter, or modify the right of any Person,
including the Protected Parties, the Limited Protected Parties, an insurer or alleged
insurer, or co-obligor or alleged co-obligor, sued on account of an Abuse Claim or on
account of any asserted right relating to any Abuse Insurance Policy, to assert each and
every defense or basis for claim reduction such Person could have asserted had the
Settlement Trust Causes of Action not been assigned to the Settlement Trust (including
any defense or basis for claim reduction that any Insurance Company or other insurer or
alleged insurer could have asserted under section 502 of the Bankruptcy Code, applicable
non-bankruptcy law, or any Abuse Insurance Policy or other agreement with respect to
(a) any alleged liability of the BSA or any Local Council, Contributing Chartered
Organization, Participating Chartered Organization or any other insured Person for any
Abuse Claim or (b) any alleged liability of any Insurance Company or other insurer or
alleged insurer to provide indemnity or defense relating to any Abuse Claim or any



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       alleged extracontractual liability of any Insurance Company or other insurer or alleged
       insurer relating to any Abuse Claim).

         E.     Settlement Trustee. There shall be one Settlement Trustee, who shall be
appointed by the Bankruptcy Court in the Confirmation Order. The initial Settlement Trustee
shall be Eric D. Green. Any successor Settlement Trustee shall be appointed in accordance with
the terms of the Settlement Trust Agreement. For purposes performing his or her duties and
fulfilling his or her obligations under the Settlement Trust and the Plan, the Settlement Trustee
shall be deemed to be, and the Confirmation Order shall provide that he or she is, a “party in
interest” within the meaning of section 1109(b) of the Bankruptcy Code. The Settlement Trustee
shall be the “administrator” of the Settlement Trust as such term is used in Treas. Reg. Section
1.468B-2(k)(3).

       F.      Settlement Trust Advisory Committee.

              1.      The Settlement Trust Advisory Committee shall be established pursuant to
       the Settlement Trust Agreement. The initial STAC shall be composed of seven (7)
       members, five (5) of which shall be selected by the Coalition and two (2) of which shall
       be selected by the Tort Claimants’ Committee, subject to discussion between and the
       consent of the Coalition and the Tort Claimants’ Committee. The STAC members shall
       be reasonably acceptable to the Debtors and shall have the functions, duties, and rights
       provided in the Settlement Trust Agreement. Each STAC member shall serve in
       accordance with the terms and conditions of the Settlement Trust Agreement.

               2.     The commencement or continuation of a STAC Tort Election Claim (as
       defined in Article XII.B of the Trust Distribution Procedures) and the approval of any
       global settlement after the Effective Date that causes an Insurance Company or a
       Chartered Organization to become a Protected Party must be approved by the Settlement
       Trustee, the Future Claimants’ Representative and the majority of the STAC, provided,
       however, that the refusal of any of the foregoing to (a) authorize the commencement or
       continuation of a STAC Tort Election Claim or (b) approve a global settlement after the
       Effective Date that causes an Insurance Company or a Chartered Organization to become
       a Protected Party shall be subject to immediate review under the standard set forth in the
       Settlement Trust Agreement by the Special Reviewer if three (3) members of the STAC
       so require.

        G.     Future Claimants’ Representative. The Settlement Trust Agreement shall provide
for the continuation of the Future Claimants’ Representative to represent the interests of holders
of Future Abuse Claims. The initial Future Claimants’ Representative shall be James L. Patton,
Jr. so long as he is the Future Claimants’ Representative in the Chapter 11 Cases as of the
Effective Date.

        H.     Trust Distribution Procedures. On the Effective Date, the Settlement Trust shall
implement the Trust Distribution Procedures in accordance with the terms of the Settlement
Trust Agreement. From and after the Effective Date, the Settlement Trustee shall have the
authority to administer, amend, supplement, or modify the Trust Distribution Procedures solely
in accordance with the terms thereof and the Settlement Trust Agreement.


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I.     Post-Effective Date Contributing Chartered Organizations.

        1.     Notwithstanding any present exclusionary language in the Plan, after the
Effective Date, any Chartered Organization that is not a Contributing Chartered
Organization as of the Effective Date may become a Protected Party if the Bankruptcy
Court, after notice and an opportunity for parties in interest to be heard, approves a
settlement agreement between such Chartered Organization and the Settlement Trustee (a
“Post-Effective Date Chartered Organization Settlement”). After the Effective Date, the
Settlement Trustee shall have the exclusive authority to seek approval of a Post-Effective
Date Chartered Organization Settlement. Upon the Bankruptcy Court’s entry of a Final
Order approving a Post-Effective Date Chartered Organization Settlement, Exhibit C
shall be amended by the Settlement Trustee to include such Chartered Organization, and
such Chartered Organization (and any related Persons or Representatives, as applicable)
shall be deemed to be a Contributing Chartered Organization and a Protected Party for all
purposes hereunder. A list of Chartered Organizations that may potentially become
Contributing       Chartered        Organization        may      be      accessed       at
https://omniagentsolutions.com/bsa-SAballots.

        2.     Any Chartered Organization that becomes a Protected Party in accordance
with this Article IV.I shall have all of the rights, remedies and obligations of a Protected
Party under the Plan, including under the Channeling Injunction, notwithstanding that
such Chartered Organization was not a Protected Party under the Plan as of the Effective
Date.

J.     Post-Effective Date Participating Chartered Organizations.

         1.     Notwithstanding any present exclusionary language in the Plan, after the
Effective Date, any Chartered Organization that is not a Participating Chartered
Organization as of the Effective Date may become a Participating Chartered Organization
by agreement with the Settlement Trustee and without further order of the Bankruptcy
Court; provided, however, that the Settlement Trustee shall file a notice with the
Bankruptcy Court within thirty (30) days of entering into any agreement with a Chartered
Organization that deems such Chartered Organization to be a Limited Protected Party,
together with an amendment to Exhibit J removing such Chartered Organization from the
list of Chartered Organizations that are not Participating Chartered Organizations.

        2.     Any Chartered Organization that becomes a Limited Protected Party in
accordance with this Article IV.J shall have all of the rights, remedies and obligations of
a Limited Protected Party under the Plan, including under the Limited Channeling
Injunction, notwithstanding that such Chartered Organization was not a Limited
Protected Party under the Plan as of the Effective Date.

K.     Post-Effective Date Settling Insurance Companies.

        1.     Notwithstanding any present exclusionary language in the Plan, after the
Effective Date, any Insurance Company that is a Non-Settling Insurance Company may,
within twelve (12) months of the Effective Date (the “Insurance Settlement Period”),



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       enter into an Insurance Settlement Agreement with the Settlement Trustee (a “Post-
       Effective Date Insurance Settlement”); provided, however, that the Settlement Trustee
       shall file a notice with the Bankruptcy Court within thirty (30) days of entering into any
       such Post-Effective Date Insurance Settlement, together with an amendment to Exhibit I
       including such Post-Effective Date Insurance Settlement, and such Insurance Company
       (and any related Persons or Representatives, as applicable) shall be deemed to be a
       Settling Insurance Company and a Protected Party for all purposes hereunder. The Post-
       Effective Date Insurance Settlement and amendment shall be deemed binding and
       effective absent objection by any Person within fifteen (15) calendar days. The
       Settlement Trustee shall have the sole discretion, upon order of the Bankruptcy Court, to
       extend the Insurance Settlement Period.

               2.      Any Insurance Company that becomes a Protected Party in accordance
       with this Article IV.K shall have all of the rights, remedies and obligations of a Protected
       Party under the Plan, including under the Channeling Injunction, notwithstanding that
       such Insurance Company was not a Protected Party under the Plan as of the Effective
       Date.

        L.      Settlement Trust Expenses. The Settlement Trust shall pay all Settlement Trust
Expenses from the Settlement Trust Assets. The Settlement Trust shall bear sole responsibility
with respect to the payment of the Settlement Trust Expenses. Additionally, the Settlement Trust
shall promptly pay all reasonable and documented Settlement Trust Expenses incurred by any
Protected Party for any and all liabilities, costs or expenses as a result of taking action on behalf
of or at the direction of the Settlement Trust following the transfer to the Settlement Trust of
copies of all records and documents in such Persons’ possession, custody or control pertaining to
Abuse Claims in accordance with the Document Agreement. To the maximum extent permitted
by applicable law, the Settlement Trustee shall not have or incur any liability for actions taken or
omitted in his or her capacity as Settlement Trustee, or on behalf of the Settlement Trust, except
those acts found by Final Order to be arising out of his or her willful misconduct, bad faith, gross
negligence or fraud, and shall be entitled to indemnification and reimbursement for reasonable
fees and expenses in defending any and all of his or her actions or omissions in his or her
capacity as Settlement Trustee, or on behalf of the Settlement Trust, except for any actions or
omissions found by Final Order to be arising out of his or her willful misconduct, bad faith, gross
negligence or fraud. Any valid indemnification claim of the Settlement Trustee shall be satisfied
only from the Settlement Trust Assets.

         M.    Reimbursement by Settlement Trust. From and after the Effective Date, the
Settlement Trust shall reimburse, to the fullest extent permitted by applicable law, Reorganized
BSA and each of the Local Councils for any documented out-of-pocket, losses, costs, and
expenses (including judgments, attorneys’ fees, and expenses) incurred by Reorganized BSA or
any Local Council after the Effective Date attributable to the defense of a Direct Abuse Claim
that is channeled to the Settlement Trust if the holder of such Direct Abuse Claim seeks to hold
Reorganized BSA or such Local Council liable for such Direct Abuse Claim in violation of the
terms of the Confirmation Order; provided that the Settlement Trust’s reimbursement obligations
to Reorganized BSA and any Local Council for any Direct Abuse Claim shall be capped at and
shall not exceed the amount actually payable by the Settlement Trust to the holder of such Direct
Abuse Claim under the Trust Distribution Procedures (i.e., the amount paid based on the


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Settlement Trust payment percentage) and shall be deducted on a dollar-for-dollar basis against
such holder’s distribution from the Settlement Trust on account of such Direct Abuse Claim.
Reorganized BSA and any Local Council shall provide notice to the Settlement Trust within ten
(10) business days of the service of any claim or lawsuit filed by a holder of an Abuse Claim that
could result in any reimbursement obligations by the Settlement Trust under this provision. In
the event that any litigation asserting an Abuse Claim is filed naming Reorganized BSA or any
Local Council as a defendant in violation of the terms of the Confirmation Order, the Settlement
Trust shall, at the request of Reorganized BSA or such Local Council, promptly appear
(1) before the Bankruptcy Court to obtain entry of an order enforcing the Channeling Injunction
and (2) in such litigation and seek the dismissal of the case. Other than this limited
reimbursement obligation, the Settlement Trust shall not be required to reimburse or indemnify
any Protected Parties or Limited Protected Parties for any claims, liabilities, losses, actions, suits,
proceedings, third-party subpoenas, damages, costs and expenses, including any liabilities related
to, arising out of, or in connection with any Abuse Claim. Except for the right to seek
reimbursement or indemnity set forth in this Article IV.M, the Debtors, the Local Councils, the
Contributing Chartered Organizations, the Participating Chartered Organizations and any other
Person that is or becomes a Protected Party shall be forever barred from seeking compensation
from the Settlement Trust for or on account of any Claims arising prior to the Petition Date.

         N.      Trust Defense of TCJC Settlement. In the event that any litigation asserting an
Abuse Claim is filed naming TCJC as a defendant in violation of the terms of the Confirmation
Order, the Settlement Trust shall, at the request of TCJC, promptly appear (1) before the
Bankruptcy Court to obtain entry of an order enforcing the Channeling Injunction and (2) in such
litigation seek the dismissal of the case. Under no circumstances shall the Settlement Trust be
required to reimburse or indemnity TCJC for any claims, liabilities, losses, actions, suits,
proceedings, third-party subpoenas, damages, costs, and expenses, including any liabilities
related to, arising out of, or in connection with, any Abuse Claim.

       O.       Assignment of Claims and Defenses. Notwithstanding anything herein to the
contrary, on the Effective Date, the Debtors, the Local Councils and any other party that is or
becomes a Protected Party or a Limited Protected Party shall be deemed to assign any and all
Claims and defenses to the Settlement Trust that arise from or relate to Abuse Claims, including
any Claims and defenses against co-defendants; provided, however, that with respect to Limited
Protected Parties, the foregoing assignment shall be limited to Claims and defenses that arise
from or relate to Post-1975 Chartered Organization Abuse Claims.

       P.     Investment Guidelines. All monies held in the Settlement Trust shall be invested,
subject to the investment limitations and provisions enumerated in the Settlement Trust
Agreement.

       Q.     Excess Settlement Trust Assets. To the extent any Settlement Trust Assets
remain at such time as the Settlement Trust is dissolved under the terms of the Settlement Trust
Documents, any remaining Settlement Trust Assets shall be distributed to Reorganized BSA.

       R.      Document Agreement. Reorganized BSA, the Local Councils, the Contributing
Chartered Organizations and the Settlement Trust shall enter into the Document Agreement on
the Effective Date, substantially in the form contained in the Plan Supplement. The Document


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Agreement shall provide for copies of certain documents, books and records of Reorganized
BSA, the Local Councils, and any Contributing Chartered Organizations to be transferred to the
Settlement Trust. The parties to the Document Agreement shall be bound by the terms thereof.

        S.     Privileged Information. The transfer or assignment of any Privileged Information
to the Settlement Trustee shall not result in the destruction or waiver of any applicable privileges
pertaining thereto. Further, with respect to any privileges: (1) they are transferred to or
contributed for the purpose of enabling the Settlement Trustee to perform his or her duties to
administer the Settlement Trust; (2) they are vested solely in the Settlement Trustee and not in
the Settlement Trust, the STAC, the Future Claimants’ Representative, the Special Reviewer, the
SASAC (as defined in the Settlement Trust Agreement), any other Person, committee or
subcomponent of the Settlement Trust, or any other Person (including counsel and other
professionals) who has been engaged by, represents, or has represented any holder of an Abuse
Claim; and (3) the Settlement Trustee shall keep, handle and maintain such Privileged
Information in accordance with the terms of the Document Agreement. The Settlement Trustee
shall succeed to and hold all rights to and interest in and related to the Debtors’, Local Councils’
and Contributing Chartered Organizations’ privileges, including the attorney-client privilege, any
Common-Interest Communications with Insurers, and any protection granted by joint defense,
common interest, and/or confidentiality agreement, as to all documents, communications, and
other information, including any information transferred pursuant to the Document Agreement.
The Settlement Trustee shall be permitted to use Privileged Information for any purpose related
to the administration of the Settlement Trust and the settlement of Abuse Claims and shall be
permitted to share Privileged Information with any professional retained by the Settlement Trust;
provided, however, that the Settlement Trustee shall not share Privileged Information with the
STAC or any holder of an Abuse Claim except as required by law or as the Settlement Trustee
determines in good faith is required by law. Notwithstanding the foregoing, nothing herein shall
preclude the Settlement Trustee from providing Privileged Information to any Insurance
Company as necessary to preserve, secure, or obtain the benefit of any rights under any Abuse
Insurance Policy.

        T.      No Liability. The Protected Parties and the Limited Protected Parties shall neither
have nor incur any liability to, or be subject to any right of action by, any Person for any act,
omission, transaction, event, or other circumstance in connection with or related to the
Settlement Trust, the Settlement Trustee, or the Settlement Trust Documents, including the
administration of Abuse Claims and the distribution of Settlement Trust Assets by the Settlement
Trust, or any related agreement.

        U.     U.S. Federal Income Tax Treatment of the Settlement Trust. The Settlement
Trust shall be a “qualified settlement fund” within the meaning of the Treasury Regulations
issued under Section 468B of the Internal Revenue Code. Reorganized BSA shall make a
“grantor trust” election under Treasury Regulation section 1.468B-1(k) with respect to the
Settlement Trust for U.S. federal income tax purposes and, to the extent permitted under
applicable law, for state and local income tax purposes. All parties shall report consistently with
such grantor trust election. The Settlement Trust shall file (or cause to be filed) statements,
returns, or disclosures relating to the Settlement Trust that are required by any Governmental
Unit. The Settlement Trustee shall be responsible for the payment of any taxes imposed on the
Settlement Trust or the Settlement Trust Assets, including estimated and annual U.S. federal


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income taxes in accordance with the terms of the Settlement Trust Agreement. The Settlement
Trustee may request an expedited determination of taxes on the Settlement Trust under section
505(b) of the Bankruptcy Code for all returns filed for, or on behalf of, the Settlement Trust for
all taxable periods through the dissolution of the Settlement Trust.

         V.      Institution and Maintenance of Legal and Other Proceedings. As of the Effective
Date, the Settlement Trust shall be empowered to initiate, prosecute, defend, settle, maintain,
administer, preserve, pursue, and resolve all legal actions and other proceedings related to any
asset, liability, or responsibility of the Settlement Trust, including the Insurance Actions, Abuse
Claims, and the Settlement Trust Causes of Action. Without limiting the foregoing, on and after
the Effective Date, the Settlement Trust shall be empowered to initiate, prosecute, defend, settle,
maintain, administer, preserve, pursue, and resolve all such actions, in the name of the Debtors or
Reorganized BSA, if deemed necessary or appropriate by the Settlement Trust. The Settlement
Trust shall be responsible for the payment of all damages, awards, judgments, settlements,
expenses, costs, fees, and other charges incurred on or after the Effective Date arising from,
relating to, or associated with any legal action or other proceeding which is the subject of this
Article IV.V and shall pay Indirect Abuse Claims, in accordance with the Trust Distribution
Procedures, that may arise from deductibles, self-insured retentions, retrospective premium
adjustments, or other charges. Furthermore, without limiting the foregoing, the Settlement Trust
shall be empowered to maintain, administer, preserve, or pursue the Insurance Actions and the
Insurance Action Recoveries.

       W.      Notation on Claims Register Regarding Abuse Claims. On the Effective Date, all
Abuse Claims filed against the Debtors in the Chapter 11 Cases shall be marked on the Claims
Register as “Channeled to the Settlement Trust” and resolved exclusively in accordance with the
Trust Distribution Procedures.

                                           ARTICLE V.

                     MEANS FOR IMPLEMENTATION OF THE PLAN

       A.      General. On and after the Confirmation Date, the Debtors shall be empowered
and authorized to take or cause to be taken, prior to the Effective Date, all actions consistent with
the Plan as may be necessary or appropriate to enable them to implement the provisions of the
Plan before, on, or after the Effective Date, including the creation of the Settlement Trust and the
preparations for the transfer of the Settlement Trust Assets to the Settlement Trust.

       B.      Operations of the Debtors between Confirmation and the Effective Date. The
Debtors shall continue to operate as debtors and debtors in possession during the period from the
Confirmation Date to the Effective Date.

       C.      BSA Governance Documents. From and after the Effective Date, Reorganized
BSA shall be governed pursuant to the BSA Charter and the Amended BSA Bylaws. The
Amended BSA Bylaws shall contain such provisions as are necessary to satisfy the provisions of
the Plan, subject to further amendment thereof after the Effective Date as permitted by applicable
law. Under the BSA Charter, the BSA has no power to issue certificates of stock, its object and




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purpose being solely of a charitable character and not for pecuniary profit; accordingly, the
requirement of section 1123(a)(6) does not apply to the BSA.

       D.      Continued Legal Existence of BSA. The BSA shall continue to exist on and after
the Effective Date, with all of the powers it is entitled to exercise under applicable law and
pursuant to the BSA Charter and the Amended BSA Bylaws, subject to further amendment of the
Amended BSA Bylaws after the Effective Date, as permitted by applicable law.

       E.    Reorganized BSA’s Directors and Senior Management. Pursuant to section
1129(a)(5) of the Bankruptcy Code, to the extent that there are anticipated changes in
Reorganized BSA’s directors and officers, the Debtors will identify any such changes in the Plan
Supplement. On and after the Effective Date, the Amended BSA Bylaws, as such may be
amended thereafter from time to time, shall govern the designation and election of directors of
Reorganized BSA.

        F.      Dissolution of Delaware BSA. On the Effective Date, Delaware BSA’s members,
directors, officers and employees shall be deemed to have resigned, and Delaware BSA shall be
deemed to have dissolved for all purposes and be of no further legal existence under any
applicable state or federal law, without the need for any further action or the filing of any plan of
dissolution, notice, or application with the Secretary of State of the State of Delaware or any
other state or government authority, and without the need to pay any franchise or similar taxes to
effectuate such dissolution. Any Allowed Claims against Delaware BSA will be treated as set
forth in Article III.B.

        G.      Due Authorization. As of the Effective Date, all actions contemplated by the Plan
that require corporate action of the Debtors, or either of them, including actions requiring a vote
of the National Executive Board or the National Executive Committee of the BSA or the sole
member of Delaware BSA, and execution of all documentation incident to the Plan, shall be
deemed to have been authorized, approved, and, to the extent taken prior to the Effective Date,
ratified in all respects without any requirement of further action by the Bankruptcy Court,
members, officers, or directors of the Debtors, Reorganized BSA, or any other Person.

        H.      Cancellation of Interests. As of the Effective Date, in accordance with Article
III.B.12, Interests in Delaware BSA shall be deemed cancelled without further action by or order
of the Bankruptcy Court and shall be of no further force or effect.

       I.      Restatement of Indebtedness.

               1.     Except as otherwise provided in the Plan, or in any contract, instrument,
       release or other agreement or document entered into or delivered in connection with the
       Plan, and subject to the treatment afforded to holders of Allowed Claims in Class 3A, 3B,
       4A, or 4B under Article III, on the Effective Date, all Prepetition Debt and Security
       Documents, including all agreements, instruments, and other documents evidencing or
       issued pursuant to the 2010 Credit Facility Documents, the 2019 RCF Documents, the
       2010 Bond Documents, the 2012 Bond Documents, or any indebtedness or other
       obligations thereunder, and any rights of any holder in respect thereof, shall be deemed




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       amended and restated in the form of the Restated Debt and Security Documents on the
       terms set forth herein.

              2.      Any provision in any document, instrument, lease, or other agreement that
       causes or effectuates, or purports to cause or effectuate, a default, termination, waiver, or
       other forfeiture of, or by, the Debtors as a result of the satisfactions, Injunctions,
       Releases, Discharges and other transactions provided for in the Plan shall be deemed null
       and void and shall be of no force or effect. Nothing contained herein shall be deemed to
       cancel, terminate, release, or discharge the obligation of the Debtors or any of their
       counterparties under any Executory Contract or Unexpired Lease to the extent such
       Executory Contract or Unexpired Lease has been assumed by the Debtors pursuant to a
       Final Order of the Bankruptcy Court, including the Confirmation Order.

       J.      Cancellation of Liens. Except as otherwise provided in the Plan, on the Effective
Date, any Lien securing any Allowed Secured Claim (other than a Lien securing any Allowed
Secured Claim that is Reinstated pursuant to the Plan, including, for avoidance of doubt, the liens
securing the Restated Debt and Security Documents) shall be deemed released and the holder of
such Allowed Secured Claim shall be authorized and directed to release any collateral or other
property of any Debtor (including any cash collateral) held by such holder and to take such
actions as may be requested by the Debtors (or Reorganized BSA, as the case may be) to
evidence the release of such Lien, including the execution, delivery, and filing or recording of
such releases as may be requested by the Debtors (or Reorganized BSA, as the case may be).

        K.     Effectuating Documents and Further Transactions. The Chief Executive Officer
and President, the Chief Financial Officer, and the General Counsel of the BSA are authorized to
execute, deliver, file or record such contracts, instruments, releases, indentures, and other
agreements or documents and take or direct such actions as may be necessary or appropriate to
effectuate and further evidence the terms and conditions of the Plan in the name of and on behalf
of Reorganized BSA, without the need for any approvals, authorizations, actions, or consents
except for those expressly required pursuant to the Plan.

       L.     Sources of Consideration for Distributions. Distributions under the Plan shall be
funded from the following sources:

             1.     the Debtors shall fund Distributions on account of and satisfy Allowed
       General Unsecured Claims exclusively from the Core Value Cash Pool;

               2.      the Settlement Trust shall fund distributions on account of and satisfy
       compensable Abuse Claims in accordance with the Trust Distribution Procedures from
       (a) the BSA Settlement Trust Contribution, (b) the Local Council Settlement
       Contribution, (c) the Contributing Chartered Organization Settlement Contribution,
       (d) the Participating Chartered Organization Settlement Contribution, (e) the Hartford
       Settlement Contribution, and (f) any and all funds, proceeds or other consideration
       contributed to the Settlement Trust under the terms of any Insurance Settlement
       Agreement;




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               3.    the Debtors shall satisfy 2010 Credit Facility Claims, 2019 RCF Claims,
       2010 Bond Claims, and 2012 Bond Claims in accordance with the terms of the Restated
       2010 Bond Documents, the Restated 2012 Bond Documents and the Restated Credit
       Facility Documents, as applicable; and

               4.     the Debtors shall fund Distributions on account of and satisfy all other
       Allowed Claims with Unrestricted Cash and Investments on hand on or after the
       Effective Date in accordance with the terms of the Plan and the Confirmation Order.

        M.     Calculation of Minimum Unrestricted Cash and Investments. The minimum
amount of Unrestricted Cash and Investments to be retained by Reorganized BSA on the
Effective Date shall be:

               1.     $25,000,000 if the Effective Date occurs on or before September 30, 2021;

              2.    $37,000,000 if the Effective Date occurs on or after October 1, 2021 but
       before November 1, 2021;

              3.    $36,000,000 if the Effective Date occurs on or after November 1, 2021 but
       before December 1, 2021;

               4.    $40,000,000 if the Effective Date occurs on or after December 1, 2021 but
       before January 1, 2022;

              5.     $57,000,000 if the Effective Date occurs on or after January 1, 2022 but
       before February 1, 2022;

              6.     $41,000,000 if the Effective Date occurs on or after February 1, 2022 but
       before March 1, 2022;

              7.     $55,000,000 if the if the Effective Date occurs on or after March 1, 2022
       but before April 1, 2022; and

               8.     $54,000,000 if the Effective Date occurs on or after April 1, 2022.

Without limiting the foregoing, in accordance with the Hartford Insurance Settlement Agreement
and the Allowance of the Hartford Administrative Expense Claim under the Plan, the Net
Unrestricted Cash and Investments shall be reduced on a dollar-for-dollar basis equal to fifty
percent (50%) of the Allowed Hartford Administrative Expense Claim, or $1,000,000.

        N.     Resolution of Abuse Claims. All Abuse Claims shall be channeled to and
resolved by the Settlement Trust in accordance with the Trust Distribution Procedures; provided,
that any Non-Settling Insurance Company may, subject to Article X.M, raise any valid Insurance
Coverage Defense in response to a demand by the Settlement Trust, including any right of such
Non-Settling Insurance Company to assert any defense that could, but for the Settlement Trust’s
assumption of the liabilities, obligations, and responsibilities of the Protected Parties for Abuse
Claims, have been raised by the Debtors or other applicable Protected Party with respect to such
Claim.


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        O.     Funding by the Settlement Trust. The Settlement Trust shall have no obligation to
fund costs or expenses other than those set forth in the Plan or the Settlement Trust Documents,
as applicable.

        P.      Core Value Cash Pool. Reorganized BSA shall deposit Cash into the Core Value
Cash Pool by making four semi-annual installment payments equal to $6,250,000. Reorganized
BSA shall make the first deposit six (6) months after the Effective Date; the second installment
on the first anniversary after the Effective Date; the third installment eighteen (18) months after
the Effective Date; and the fourth installment on the second anniversary of the Effective Date.

        Q.      Creditor Representative; Disbursing Agent. The Creditor Representative shall be
appointed as of the Effective Date. The Creditor Representative shall be responsible for assisting
Reorganized BSA and its professionals in their efforts to efficiently reconcile Convenience
Claims, General Unsecured Claims, and Non-Abuse Litigation Claims. The identity of the
Creditor Representative shall be determined by the Creditors’ Committee, with the consent of the
Debtors (such consent not to be unreasonably withheld). The Debtors or Reorganized BSA, as
applicable, will use commercially reasonable efforts to assist the Creditor Representative in
reconciling Convenience Claims, General Unsecured Claims, and Non-Abuse Litigation Claims
on or before the applicable Claims Objection Deadline. The reasonable fees and actual and
necessary costs and expenses of the Creditor Representative shall be paid by Reorganized BSA
up to the Creditor Representative Fee Cap, and Reorganized BSA shall have no obligation to
compensate or reimburse the costs or expenses of the Creditor Representative beyond the amount
of the Creditor Representative Fee Cap. The Disbursing Agent shall have the rights, powers and
responsibilities provided in Article VII. The reasonable fees and actual and necessary costs and
expenses of the Disbursing Agent, if any, shall be paid by Reorganized BSA.

        R.      Residual Cash in Core Value Cash Pool. To the extent any Cash remains in the
Core Value Cash Pool after all Allowed General Unsecured Claims have been satisfied in full,
such remaining Cash shall: (1) first, on account of any Allowed Non-Abuse Litigation Claims
that shall not have elected to be treated as an Allowed Convenience Claim under Article III.B.9
to satisfy any deficiency in payments of such Allowed Claims (a) from available insurance
coverage, including Abuse Insurance Policies and Non-Abuse Insurance Policies, (b) from
applicable proceeds of any Insurance Settlement Agreements, and (c) from co-liable non-debtors
(if any) or their insurance coverage; (2) second, to pay interest to holders of Allowed General
Unsecured Claims in accordance with Article VII.L; and (3) third irrevocably re-vest in
Reorganized BSA.

        S.      Compromise and Settlement of Claims, Interests and Controversies. Pursuant to
section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration
for the distributions and other benefits provided under the Plan and the Plan Documents, as of
the Effective Date, the provisions of the Plan, including the Abuse Claims Settlement, the
Hartford Insurance Settlement, the JPM / Creditors’ Committee Settlement, the TCJC
Settlement, and the Settlement of Restricted and Core Asset Disputes set forth in this Article
V.S, shall constitute good-faith compromises and settlements of Claims, Interests, and
controversies among the parties thereto relating to the contractual, legal, equitable and
subordination rights that holders of Claims or Interests may have with respect to any Claim or
Interest under the Plan or any Distribution to be made on account of an Allowed Claim. The


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Plan shall be deemed a motion, proposed by the Debtors and joined by the parties to the Abuse
Claims Settlement, the Hartford Insurance Settlement Agreement, the JPM / Creditors’
Committee Settlement, the TCJC Settlement, and the Settlement of Restricted and Core Asset
Disputes, respectively, and the entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the compromise and settlement of all such Claims, Interests, and
controversies among the parties thereto, as well as a finding by the Bankruptcy Court that such
compromise or settlement is in the best interests of the Debtors, their Estates, and holders of such
Claims and Interests, and is fair, equitable and reasonable.

               1.     Abuse Claims Settlement. The treatment provided for Abuse Claims,
including Post-1975 Chartered Organization Abuse Claims, under the Plan incorporates and
reflects a proposed compromise and settlement of all Scouting Released Claims, including all
Abuse Claims against the Protected Parties and all Post-1975 Chartered Organization Abuse
Claims against the Limited Protected Parties (the “Abuse Claims Settlement”), and the Plan
constitutes a request for the Bankruptcy Court to authorize and approve the Abuse Claims
Settlement. The following constitute the provisions and conditions of the Abuse Claims
Settlement:

                       a.      Local Council Settlement Contribution. The Local Councils shall
               make, cause to be made, or be deemed to have made, as applicable, the Local
               Council Settlement Contribution. If a Local Council is unable to transfer its
               rights, titles, privileges, interests, claims, demands or entitlements, as of the
               Effective Date, to any proceeds, payments, benefits, Causes of Action, choses in
               action, defense, or indemnity, now existing or hereafter arising, accrued or
               unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
               undisputed, fixed or contingent, arising under or attributable to (i) the Abuse
               Insurance Policies, the Insurance Settlement Agreements, and claims thereunder
               and proceeds thereof; (ii) Insurance Actions, and (iii) the Insurance Action
               Recoveries (the “Local Council Insurance Rights”), then the Local Council shall,
               at the sole cost and expense of the Settlement Trust: (a) take such actions
               reasonably requested by the Settlement Trustee to pursue any of the Local
               Council Insurance Rights for the benefit of the Settlement Trust; and (b) promptly
               transfer to the Settlement Trust any amounts recovered under or on account of any
               of the Local Council Insurance Rights; provided, however, that while any such
               amounts are held by or under the control of any Local Council, such amounts
               shall be held for the benefit of the Settlement Trust.

                       b.       Contributing Chartered Organization Settlement Contribution. The
               Contributing Chartered Organizations, including TCJC, shall make, cause to be
               made, or be deemed to have made, as applicable, the Contributing Chartered
               Organization Settlement Contribution, including the TCJC Settlement
               Contribution. If a Contributing Chartered Organization is unable to transfer its
               rights, titles, privileges, interests, claims, demands or entitlements, if any, as of
               the Effective Date, to any proceeds, payments, benefits, Causes of Action, choses
               in action, defense, or indemnity, now existing or hereafter arising, accrued or
               unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
               undisputed, fixed or contingent, arising under or attributable to (i) the Abuse


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  Insurance Policies, the Insurance Settlement Agreements, and claims thereunder
  and proceeds thereof, (ii) the Insurance Actions, and (iii) the Insurance Action
  Recoveries (the “Contributing Chartered Organization Insurance Rights”), then
  the Contributing Chartered Organization shall, at the sole cost and expense of the
  Settlement Trust: (a) take such actions reasonably requested by the Settlement
  Trustee to pursue any of the Contributing Chartered Organization Insurance
  Rights for the benefit of the Settlement Trust; and (b) promptly transfer to the
  Settlement Trust any amounts recovered under or on account of any of the
  Contributing Chartered Organization Insurance Rights; provided, however, that
  while any such amounts are held by or under the control of any Contributing
  Chartered Organization, such amounts shall be held for the benefit of the
  Settlement Trust.

          c.      Participating Chartered Organization Settlement Contribution. The
  Participating Chartered Organizations shall make, cause to be made, or be deemed
  to have made, as applicable, the Participating Chartered Organization Settlement
  Contribution. In addition, to the extent that the Settlement Trust’s allowance of a
  particular Abuse Claim results in an Allowed Claim Amount (as defined in the
  Trust Distribution Procedures) for such Claim that exceeds the available limits of
  the Abuse Insurance Policies potentially applicable to such Claim, then, with
  respect to Post-1975 Chartered Organization Abuse Claims, the Settlement Trust
  shall have the right to assert a claim against applicable Participating Chartered
  Organizations solely to the extent and availability of such Participating Chartered
  Organizations’ own liability insurance (or, if permitted by applicable law, directly
  against such liability insurance), in all cases without recourse to any non-
  insurance assets of such Participating Chartered Organizations. If a Participating
  Chartered Organization is unable to transfer its rights, titles, privileges, interests,
  claims, demands or entitlements, if any, as of the Effective Date, to any proceeds,
  payments, benefits, Causes of Action, choses in action, defense, or indemnity,
  now existing or hereafter arising, accrued or unaccrued, liquidated or
  unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent,
  arising under or attributable to (i) the Abuse Insurance Policies (excluding the
  Chartered Organization Reserved Policies), the Insurance Settlement Agreements,
  and claims thereunder and proceeds thereof, (ii) the Insurance Actions, and (iii)
  the Insurance Action Recoveries (the “Participating Chartered Organization
  Insurance Rights”), then the Participating Chartered Organization shall, at the sole
  cost and expense of the Settlement Trust: (a) take such actions reasonably
  requested by the Settlement Trustee to pursue any of the Participating Chartered
  Organization Insurance Rights for the benefit of the Settlement Trust; and (b)
  promptly transfer to the Settlement Trust any amounts recovered under or on
  account of any of the Participating Chartered Organization Insurance Rights;
  provided, however, that while any such amounts are held by or under the control
  of any Participating Chartered Organization, such amounts shall be held for the
  benefit of the Settlement Trust.

        d.      Claims Deemed Withdrawn with Prejudice. On the Effective Date,
  any and all Claims that have been asserted in the Chapter 11 Cases by or on


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  behalf of any Local Council, Participating Chartered Organization, Contributing
  Chartered Organization, or Settling Insurance Company shall be deemed
  withdrawn with prejudice and irrevocably waived, released and expunged from
  the Claims Register without any further notice to or action, order, or approval of
  the Bankruptcy Court, except that any withdrawal, waiver, release or
  expungement of any Claims asserted by Hartford or TCJC shall be governed by
  the terms and conditions of the Hartford Insurance Settlement Agreement and the
  TCJC Settlement Agreement, respectively.          Further, no Local Council,
  Participating Chartered Organization, Contributing Chartered Organization, or
  Settling Insurance Company shall file or assert any Claim or Claims against the
  Debtors or Reorganized BSA arising from any act or omission of the Debtors
  prior to the Confirmation Date, except as provided otherwise in the Hartford
  Insurance Settlement Agreement (including with respect to the Hartford
  Additional Administrative Expense Claim, if applicable).

          e.      Entitlement to Become a Protected Party. Notwithstanding
  anything to the contrary set forth in the Plan or any other document filed with the
  Bankruptcy Court: (i) no Local Council shall be treated as a Protected Party under
  the Plan if any part of the Cash or Property Contribution (as defined on Exhibit F)
  components of the Local Council Settlement Contribution is not contributed to the
  Settlement Trust on the Effective Date as described on Exhibit F, it being
  understood that the Property contribution shall be deemed to have been
  contributed on the Effective Date for Purposes of this provision when all
  individual Local Councils that are to make a Property Contribution have provided
  a notice of intent to contribute property to the Settlement Trust in accordance with
  the terms of the Property Contribution set forth on Exhibit F; (ii) no Contributing
  Chartered Organization shall be treated as a Protected Party under the Plan until
  its Contributing Chartered Organization Settlement Contribution shall have been
  made; (iii) no Settling Insurance Company shall be treated as a Protected Party
  under the Plan until such Settling Insurance Company shall have made its
  contribution to the Settlement Trust pursuant to an Insurance Settlement
  Agreement, except that Hartford shall be treated as a Settling Insurance Company
  and Protected Party upon the payment of the Initial Payment to the Settlement
  Trust and the payment of the Additional Payment into the Escrow Account (as
  such capitalized terms are defined in the Hartford Insurance Settlement
  Agreement); and (iv) no Participating Chartered Organization shall be treated as a
  Protected Party solely based on the Participating Chartered Organization
  Insurance Assignment.

          f.      Entitlement to Become a Limited Protected Party.
  Notwithstanding anything to the contrary set forth in the Plan or any other
  document filed with the Bankruptcy Court, no Chartered Organization shall be
  treated as a Limited Protected Party under the Plan if it objects to Confirmation of
  the Plan or informs Debtors’ counsel in writing on or before the deadline to object
  to Confirmation of the Plan that it does not wish to make the Chartered
  Organization Insurance Assignment.          Notwithstanding the foregoing, no
  Chartered Organization that is a debtor in bankruptcy as of the Confirmation Date


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                 (including the Archbishop of Agaña, a Corporation Sole) shall be treated as a
                 Participating Chartered Organization unless it advises Debtors’ counsel in writing
                 that it wishes to make the Chartered Organization Insurance Assignment.

               2.      JPM / Creditors’ Committee Settlement. The treatment provided for under
        the Plan for Allowed 2010 Credit Facility Claims, Allowed 2019 RCF Claims, Allowed
        2010 Bond Claims, Allowed 2012 Bond Claims, Allowed Convenience Claims, Allowed
        General Unsecured Claims, and Allowed Non-Abuse Litigation Claims, together with the
        terms and conditions of the JPM / Creditors’ Committee Term Sheet, reflects a proposed
        compromise and settlement by and among the Debtors, the Creditors’ Committee and
        JPM (the “JPM / Creditors’ Committee Settlement”).2 The following constitutes the
        provisions and conditions of the JPM / Creditors’ Committee Settlement:

                         a.     Allowance and Treatment of 2010 Credit Facility Claims, 2019
                 RCF Claims, 2010 Bond Claims and 2012 Bond Claims. The 2010 Credit
                 Facility Claims, the 2019 RCF Claims, the 2010 Bond Claims and the 2012 Bond
                 Claims shall be Allowed in the amounts set forth in Article III.B and receive the
                 treatment afforded to such Claims thereunder. The Debtors acknowledge and
                 agree that the Claims held by JPM (the 2010 Credit Facility Claims, the 2019
                 RCF Claims, the 2010 Bond Claims and the 2012 Bond Claims), are core to the
                 Debtors’ charitable mission and were incurred in furtherance of the Debtors’
                 charitable mission.

                        b.      Treatment of Convenience Claims, General Unsecured Claims, and
                 Non-Abuse Litigation Claims. Convenience Claims, General Unsecured Claims,
                 and Non-Abuse Litigation Claims shall receive the treatment afforded to such
                 Claims under Article III.B. The Debtors acknowledge and agree that General
                 Unsecured Claims, Convenience Claims, and Non-Abuse Litigation Claims are
                 held by creditors who are core to the Debtors’ charitable mission or creditors
                 whose Claims in such Classes, if Allowed, were incurred in furtherance of the
                 Debtors’ charitable mission; accordingly, payments by Reorganized BSA under
                 the Plan on account of such Allowed Claims, if applicable, will be made from
                 Cash relating to Reorganized BSA’s core assets.

                        c.      Challenge Period. As of the Effective Date, (i) the Challenge
                 Period (as defined in the Cash Collateral Order) shall be deemed to have expired
                 with respect to the Creditors’ Committee; (ii) the Stipulations (as defined in the
                 Cash Collateral Order) and other admissions, agreements and releases set forth in
                 the Cash Collateral Order shall be final and binding on the Creditors’ Committee.
                 The ability of any other party to bring a Challenge Proceeding (as defined in the
                 Cash Collateral Order) shall be governed by the terms and conditions of the Cash
                 Collateral Order.




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    In the event of a conflict between the terms and conditions of the Plan, on the one hand, and the terms and
    conditions of the JPM / Creditors’ Committee Term Sheet, on the other hand, the terms of the Plan shall control.


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                3.     Settlement of Restricted and Core Asset Disputes. As a proposed
compromise and settlement of any and all disputes concerning the Debtors’ restricted and/or core
assets, including the claims asserted in the complaint filed by the Tort Claimants’ Committee in
the adversary proceeding entitled Official Tort Claimants’ Committee of Boy Scouts of America
and Delaware BSA, LLC v. Boy Scouts of America and Delaware BSA, LLC, Adv. Pro. No. 21-
50032 (LSS) (the “Settlement of Restricted and Core Asset Disputes”), the Debtors shall: (a)
reduce the minimum amount of Unrestricted Cash and Investments to be retained by
Reorganized BSA on the Effective Date from $75,000,000 to $25,000,000 (subject to potential
variance as set forth in Article V.M); and (b) issue the BSA Settlement Trust Note to the
Settlement Trust as of the Effective Date in accordance with Article V.X. As further
consideration in connection with the Settlement of Restricted and Core Asset Disputes, the
Debtors have agreed under the Plan to: (i) fund the Core Value Cash Pool, in the amount of
$25,000,000; and (ii) make the BSA Settlement Trust Contribution, including all of the Net
Unrestricted Cash and Investments. The proceeds of the Foundation Loan, in the amount of
$42,800,000 (which Reorganized BSA will use exclusively for working capital and general
corporate purposes), will permit the Debtors to contribute to the Settlement Trust a substantial
amount of core value consideration in Cash on the Effective Date.

                4.     Hartford Insurance Settlement. The Plan incorporates the Hartford
Insurance Settlement Agreement, which is attached hereto as Exhibit I-1, and the Plan shall
constitute a motion by the Debtors for the Bankruptcy Court to approve the proposed
compromises and settlements and sale of the Hartford Policies set forth in the Hartford Insurance
Settlement Agreement (the “Hartford Insurance Settlement”), pursuant to sections 363, 503(b),
507(a)(2), 1123 and 1141 of the Bankruptcy Code and Bankruptcy Rule 9019, including
approval of (i) the Hartford Insurance Settlement Agreement, (ii) the sale by the Debtors and the
Estates, and the purchase by Hartford, of the Hartford Policies, free and clear of all Interests of
any Person or Entity (as such terms are defined in the Hartford Insurance Settlement Agreement;
for the avoidance of doubt, the term “Interests” as used in this Article V.S.4 shall have the
meaning given to the term “‘Interests” in the Hartford Insurance Settlement Agreement, rather
than as such term is defined in Article I of this Plan), provided that the Interests, if any, of
Chartered Organizations under the Hartford Policies shall, to the extent such Chartered
Organizations are not beneficiaries of the Channeling Injunction, attach to the proceeds of the
sale of the Hartford Policies, (iii) the settlement, compromise and release of the Hartford
Released Claims (as defined in the Hartford Insurance Settlement Agreement) as provided in the
Hartford Insurance Settlement Agreement, and (iv) the Allowance of the Hartford Administrative
Expense Claim. The Confirmation Order shall constitute the Bankruptcy Court’s approval of
such motion pursuant to sections 363, 503(b), 507(a)(2), 1123 and 1141 of the Bankruptcy Code
and Bankruptcy Rule 9019 and Allowance of the Hartford Administrative Expense Claim and
shall include findings of fact and conclusions of law pertaining to such approval, in form and
substance acceptable to Hartford, including findings and conclusions designating Hartford as a
good-faith purchaser of the Hartford Policies.

               5.     TCJC Settlement. The Plan incorporates the TCJC Settlement Agreement,
which is attached hereto as Exhibit J-1, and the Plan shall constitute a motion by the Debtors for
the Bankruptcy Court to approve the proposed compromises and settlements set forth in the
TCJC Settlement Agreement (the “TCJC Settlement”) pursuant to section 1123 of the
Bankruptcy Code and Bankruptcy Rule 9019, including, as provided in the TCJC Settlement


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Agreement, payment of the TCJC Settlement Contribution to the Settlement Trust as a
compromise and settlement of all TCJC Abuse Claims, TCJC Claims, and disputes relating to the
Plan, including the TCJC Insurance Rights (as such terms are defined in the TCJC Settlement
Agreement). The Confirmation Order shall constitute the Bankruptcy Court’s approval of such
motion pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and shall
include findings of fact and conclusions of law pertaining to such approval, in form and
substance acceptable to TCJC.

        T.      Payment of Coalition Restructuring Expenses. On or as soon as reasonably
practicable after the Effective Date, Reorganized BSA shall reimburse state court counsel for
amounts they have paid to the Coalition Professionals for, and/or pay the Coalition Professionals
for amounts payable by state court counsel but not yet paid to Coalition Professionals for,
reasonable, documented, and contractual professional advisory fees and expenses incurred by the
Coalition Professionals (the “Coalition Restructuring Expenses”) from the Coalition’s inception
up to and including the Effective Date, up to a maximum amount equal to (a) $950,000 per
month for the period from August 16, 2021 up to and including the Effective Date (pro-rated for
any partial month), plus (b) $10,500,000; provided, however, that, without limiting the
foregoing, under no circumstance shall the Debtors or Reorganized BSA have any obligation to
(i) pay or reimburse the Coalition, any of its members, or any Persons affiliated with the
Coalition for any costs, fees or expenses other than the Coalition Restructuring Expenses or
(ii) pay or reimburse any Coalition Restructuring Expenses that constitute transaction, success or
similar contingent fees. The Coalition shall provide the Debtors a reasonable estimate of the
total Coalition Restructuring Expenses as of the Effective Date no later than the date that is five
(5) Business Days before the anticipated Effective Date. Notwithstanding anything to the
contrary in the Plan, the Coalition Restructuring Expenses shall be subject to the terms of Article
II.A.2, with the following modifications: (x) Coalition Professionals shall comply with the
procedures and processes set forth in Article II.A.2 by filing final fee application(s), which, for
attorneys or law firms who are Coalition Professionals, shall include time entry detail, which
may be redacted for privilege; and (y) payment or reimbursement of Coalition Restructuring
Expenses shall be subject to the review and procedure of the Fee Examiner. For the avoidance of
doubt, the Coalition Professionals shall not be considered retained professionals of the Debtors,
the Creditors’ Committee, the Tort Claimants’ Committee, or the Future Claimants’
Representative, and the retention of the Coalition Professionals shall not have been required to
satisfy the standards for retention set forth in sections 327, 328 or 1103 of the Bankruptcy Code.

        U.      Good-Faith Compromise and Settlement. The Plan (including its incorporation of
the Abuse Claims Settlement, the Hartford Insurance Settlement, the JPM / Creditors’
Committee Settlement, the TCJC Settlement, and the Settlement of Restricted and Core Asset
Disputes), the Plan Documents, and the Confirmation Order constitute a good-faith compromise
and settlement of Claims, Interests and controversies based upon the unique circumstances of
these Chapter 11 Cases, and none of the foregoing documents, the Disclosure Statement, or any
other papers filed in furtherance of Confirmation, nor any drafts of such documents, may be
offered into evidence or deemed as an admission in any context whatsoever beyond the purposes
of the Plan, in any other litigation or proceeding, except as necessary, and as admissible in such
context, to enforce their terms before the Bankruptcy Court or any other court of competent
jurisdiction. The Plan, the Abuse Claims Settlement, the Hartford Insurance Settlement, the JPM
/ Creditors’ Committee Settlement, the TCJC Settlement, the Settlement of Restricted and Core


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Asset Disputes, the Plan Documents, and the Confirmation Order will be binding as to the
matters and issues described therein, but will not be binding with respect to similar matters or
issues that might arise in any other litigation or proceeding in which none of the Debtors,
Reorganized BSA, the Protected Parties, or the Settlement Trust is a party.

       V.     Restated Debt and Security Documents.

               1.      On the Effective Date, the Prepetition Debt and Security Documents shall
       be amended and restated in the form of the Restated Debt and Security Documents, and
       Reorganized BSA, JPM and Arrow shall, and shall be authorized, to execute, deliver and
       enter into the Restated Debt and Security Documents as of such date, in principal
       amounts equal to the Allowed amounts set forth in Article III.B.3, Article III.B.4, Article
       III.B.5, and Article III.B.6 without the need for any further corporate action or any
       further notice to or order of the Bankruptcy Court. The Debtors or Reorganized BSA, as
       applicable, JPM, and Arrow shall take all actions necessary to continue the Debtors’
       obligations under the Prepetition Debt and Security Documents, as amended and restated
       by the Restated Debt and Security Documents and to give effect to the Restated Debt and
       Security Documents, including surrendering any debt instruments or securities that are no
       longer applicable under the Restated Debt and Security Documents to the Debtors or
       Reorganized BSA. Entry of the Confirmation Order shall be deemed approval of the
       JPM Exit Fee, and Reorganized BSA is authorized and directed to pay the JPM Exit Fee
       to JPM on the Effective Date.

               2.      Except as otherwise modified by the Restated Debt and Security
       Documents, all Liens, mortgages and security interests securing the obligations arising
       under the Restated Debt and Security Documents that were collateral securing the
       Debtors’ obligations under the Prepetition Debt and Security Documents as of the
       Petition Date are unaltered by the Plan, and all such Liens, mortgages and security
       interests are reaffirmed and perfected with respect to the Restated Debt and Security
       Documents to the same extent, in the same manner and on the same terms and priorities
       as they were under the Prepetition Debt and Security Documents, except as the foregoing
       may be modified pursuant to the Restated Debt and Security Documents. All Liens and
       security interests granted and continuing pursuant to the Restated Debt and Security
       Documents shall be (a) valid, binding, perfected, and enforceable Liens and security
       interests in the personal and real property described in and subject to such documents,
       with the priorities established in respect thereof under applicable non-bankruptcy law; (b)
       granted in good faith and deemed not to constitute a fraudulent conveyance or fraudulent
       transfer; and (c) not otherwise subject to avoidance, recharacterization, or subordination
       (whether equitable, contractual or otherwise) under any applicable law. The Debtors,
       Reorganized BSA, Arrow, and JPM are authorized to make, and to the extent required by
       the Restated Debt and Security Documents, the Debtors, Reorganized BSA, Arrow will
       make, all filings and recordings, and obtain all governmental approvals and consents
       necessary (but otherwise consistent with the consents and approvals obtained in
       connection with the Prepetition Debt and Security Documents) to establish, attach and
       perfect such Liens and security interests under any applicable law (it being understood
       that perfection shall occur automatically by virtue of the entry of the Confirmation Order
       and any such filings, recordings, approvals, and consents shall not be required), and will


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thereafter cooperate to make all other filings and recordings that otherwise would be
necessary under applicable law to give notice of such Liens and security interests to third
parties. For purposes of all mortgages and deposit account control agreements that
secured the obligations arising under the Prepetition Debt and Security Documents, the
Restated Debt and Security Documents are deemed an amendment and restatement of the
Prepetition Debt and Security Documents, and such mortgages and control agreements
shall survive the Effective Date, shall not be cancelled, and shall continue to secure
Reorganized BSA’s obligations under the Restated Debt and Security Documents, except
as expressly set forth therein.

        3.     The definitive terms of the Restated Debt and Security Documents shall be
(x) acceptable to JPM and the BSA, (y) reasonably acceptable to the Creditors’
Committee, and (z) substantially the same as the Prepetition Debt and Security
Documents, except that, as to be specified in the Restated Debt and Security Documents:

               a.     the maturity dates under the Restated 2010 Bond Documents, the
       Restated 2012 Bond Documents, and the Restated Credit Facility Documents will
       be the Restated Maturity Date;

              b.     principal under the Restated 2010 Bond Documents and the
       Restated 2012 Bond Documents shall be payable in monthly installments, in the
       same monthly amounts as the prepetition periodic amortization amounts,
       beginning on the date that is two (2) years after the Effective Date and ending on
       the Restated Maturity Date; provided, that the scheduled principal amounts
       payable under the Restated 2010 Bond Documents and the Restated 2012 Bond
       Documents shall be reduced, on a pro rata basis, by an amount equal to the Excess
       Cash and Investments, if any, that are remitted to JPM under the Excess Cash
       Sweep;

              c.     interest under the Restated 2010 Bond Documents and the Restated
       2012 Bond Documents shall be payable in monthly installments, at the currently
       applicable existing rates in the 2010 Bond Documents and the 2012 Bond
       Documents, beginning on the date that is one month after the Effective Date and
       ending on the Restated Maturity Date;

               d.      principal under the Restated Credit Facility Documents shall be
       payable in quarterly installments, set at 1/40th of the outstanding balance on the
       Effective Date, beginning on the date that is two (2) years after the Effective Date
       and ending on the Restated Maturity Date; provided, that the principal amounts
       payable under the Restated Credit Facility Documents shall be reduced, on a pro
       rata basis, by an amount equal to the Excess Cash and Investments, if any, that are
       remitted to JPM under the Excess Cash Sweep;

               e.     interest under the Restated Credit Facility Documents shall be
       payable in quarterly installments at the applicable existing rates in the Prepetition
       Debt and Security Documents, beginning on the date that is three (3) months after
       the Effective Date and ending on the Restated Maturity Date;


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               f.       all of the obligations of Reorganized BSA under the Restated Debt
       and Security Documents shall be secured by first-priority liens on and security
       interests in all of the assets of Reorganized BSA;

              g.     all of the obligations of Reorganized BSA under the Restated Debt
       and Security Documents shall be guaranteed by Arrow; and

               h.      beginning on December 31 of the calendar year that is two (2)
       years after the Effective Date and continuing on December 31 of each successive
       calendar year until December 31 of the calendar year that is immediately prior to
       the calendar year of the Restated Maturity Date, Reorganized BSA shall remit to
       JPM, as soon as reasonably practicable but in no case later than thirty (30) days of
       such date, twenty-five percent (25%) of the Excess Cash and Investments in
       excess of $75,000,000, if any, as of such date, measured on a pro forma basis after
       having given effect to the principal payment, if any, due on February 15 of the
       following year under the BSA Settlement Trust Note, if applicable (the “Excess
       Cash Sweep”), and JPM shall apply any such amounts on a pro rata basis to the
       unpaid principal balances under the Restated Debt and Security Documents. For
       the avoidance of doubt, no payments shall be made on account of the Excess Cash
       Sweep until the last Distribution is made on account of Allowed General
       Unsecured Claims.

         4.      Except as provided for in an Insurance Settlement Agreement, neither any
provision of the Plan nor the occurrence of the Effective Date shall alter, amend, or
otherwise impair the rights and obligations of the Debtors, Reorganized BSA, JPM, or
any applicable Insurance Company holding one or more letters of credit issued by JPM to
secure obligations arising under one or more BSA Insurance Policies. Without limiting
the foregoing, nothing in the Plan or the Confirmation Order shall preclude any such
Insurance Company from exercising any applicable rights on any such letter of credit
issued, or other security provided, for the benefit of the Insurance Company in
accordance with the terms and conditions of the documents governing such letter of
credit or other security, or applying amounts therefrom to any Claim secured by such
letter of credit or other security, and the Debtors, Reorganized BSA, JPM reserve any and
all rights with respect to such Insurance Company’s exercise of any applicable rights.

W.     Foundation Loan.

        1.      On the Effective Date, the Foundation Loan Agreement and any
applicable collateral and other loan documents governing the Foundation Loan shall be
executed and delivered, and Reorganized BSA shall be authorized to execute, deliver and
enter into, the Foundation Loan Agreement and related documentation governing the
Foundation Loan without the need for any further corporate action or any further notice
to or order of the Bankruptcy Court.

       2.     As of the Effective Date, upon the granting of Liens in accordance with
the Foundation Loan Agreement and any applicable collateral and other loan documents
governing the Foundation Loan, all of the Liens and security interests granted thereunder


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       (a) shall be deemed to have been granted, (b) shall be legal, binding, automatically
       perfected, non-avoidable, and enforceable Liens on, and security interests in, the
       applicable collateral as of the Effective Date in accordance with the respective terms of
       the Foundation Loan Agreement and related documentation, subject to the Liens and
       security interests set forth in the Restated Debt and Security Documents, as permitted
       under the Foundation Loan Agreement and related documentation. All Liens and
       security interests granted pursuant to the Foundation Loan Agreement and related
       documentation shall be (i) valid, binding, perfected, and enforceable Liens and security
       interests in the personal and property described in and subject to such documents, with
       the priorities established in respect thereof under applicable non-bankruptcy law;
       (ii) granted in good faith and deemed not to constitute a fraudulent conveyance or
       fraudulent transfer; and (c) not otherwise subject to avoidance, recharacterization, or
       subordination (whether equitable, contractual or otherwise) under any applicable law.
       The Debtors, Reorganized BSA, Arrow, and the Foundation are authorized to make, and
       to the extent contemplated by the Foundation Loan Agreement and related
       documentation, the Debtors, Reorganized BSA, Arrow will make, all filings and
       recordings, and obtain all governmental approvals and consents necessary to establish,
       attach and perfect such Liens and security interests under any applicable law (it being
       understood that perfection shall occur automatically by virtue of the entry of the
       Confirmation Order and any such filings, recordings, approvals, and consents shall not be
       required), and will thereafter cooperate to make all other filings and recordings that
       otherwise would be necessary under applicable law to give notice of such Liens and
       security interest to third parties.

        X.      BSA Settlement Trust Note. On the Effective Date, Reorganized BSA shall
execute, issue and deliver the BSA Settlement Trust Note to the Settlement Trust and execute
and deliver any related documentation governing the BSA Settlement Trust Note, including any
related security agreement, without the need for any further corporate action or any further notice
to or order of the Bankruptcy Court. The BSA Settlement Trust Note will commence on the
Effective Date and will be due ninety-one (91) days after the date that is ten (10) years after the
Effective Date and shall bear interest at a rate of 5.5% per annum, payable semi-annually, subject
to a payment-in-kind election for the eighteen (18) months immediately following the Effective
Date. The obligations of Reorganized BSA under the BSA Settlement Trust Note shall be
secured by second-priority liens on and security interests in inventory, accounts receivable
(except the Arrow Intercompany Note), Cash and the Headquarters. Principal under the BSA
Settlement Trust Note shall be payable in annual installments due on February 15 of each year
during the term of the BSA Settlement Trust Note, commencing on February 15 of the second
year following the Effective Date. Such annual principal payments shall be equal to the sum of
the following calculation: (a) $4,500,000; plus (b) $3.50 multiplied by the aggregate number of
Youth Members as of December 31 of the preceding year up to the forecasted number of Youth
Members for such year as set forth in the Debtors’ five-year business plan; plus (c) $50
multiplied by the aggregate number of High Adventure Base Participants during the preceding
calendar year; plus (d) $50 multiplied by the aggregate number of Youth Members in excess of
the forecasted number of Youth Members for such year, excluding the portion of the excess that
is comprised of members under the ScoutReach program, as set forth in the Debtors’ five-year
business plan; plus (e) $150 multiplied by the aggregate number of High Adventure Base
Participants, excluding those attending events with a registration fee of less than $300 (e.g., for


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non-typical High Adventure Base activities), in excess of the forecasted number of High
Adventure Base Participants for such year as set forth in the Debtors’ five-year business plan.
The forecasted numbers of Youth Members and High Adventure Base Participants referenced in
clauses (b), (d) and (e) of the foregoing sentence are included in the Financial Projections
attached to the Disclosure Statement. The forecast for years after 2025 shall be deemed to be the
forecast for calendar year 2025. The BSA Settlement Trust Note may be prepaid at any time
without penalty.

       Y.       DST. The DST shall be established on the Effective Date in accordance with the
DST Agreement. The purposes of the DST shall be to: (1) issue the DST Note to the Settlement
Trust as of the Effective Date; (2) collect, manage and invest Cash contributed by Local Councils
on a monthly basis to an account (and any replacement thereof) owned by the DST in accordance
with the DST Note Mechanics; and (3) make annual payments (a) to the Pension Plan or (b)
toward principal and interest on the DST Note, as determined in accordance with the DST Note
Mechanics and the DST Agreement. In the event of a conflict between the terms or provisions of
the Plan and the DST Agreement, the terms of the Plan shall control.

        Z.     Pension Plan. No provision contained in the Plan, Confirmation Order, the
Bankruptcy Code (including section 1141 of the Bankruptcy Code), or any other document filed
or order entered in the Chapter 11 Cases shall be construed to exculpate, discharge, release or
relieve the Debtors, the Local Councils, or any other party, in any capacity, from any liability or
responsibility to any Person with respect to the Pension Plan under any law, governmental
policy, or regulatory provision. The Pension Plan shall not be enjoined or precluded from
enforcing any such liability or responsibility as a result of any of the provisions of the Plan
(including those provisions providing for exculpation, satisfaction, release and discharge of
Claims against the Debtors), the Confirmation Order, the Bankruptcy Code (including section
1141 of the Bankruptcy Code), or any other document filed or order entered in the Chapter 11
Cases. The Settlement Trust shall not have any liability to any Person on account of the Pension
Plan, including liability as a member of a “Controlled Group” as defined in 29 U.S.C.
§ 1301(a)(14)(A) or on any other basis whatsoever.

As of the Effective Date, Reorganized BSA shall assume and continue the Pension Plan to the
extent of its obligations under the Pension Plan and applicable law, including, as applicable,
(1) satisfaction of the minimum funding requirements under 26 U.S.C. §§ 412 and 430 and 29
U.S.C. §§ 1082 and 1083, (2) payment of all required Pension Benefit Guaranty Corporation
premiums in accordance with 29 U.S.C. §§ 1306 and 1307, and (3) administration of the Pension
Plan in all material respects in accordance with the applicable provisions of the Employee
Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§ 1301 et seq., and the
Internal Revenue Code. Notwithstanding the foregoing, Reorganized BSA reserves all of its
rights under the Pension Plan. All Proofs of Claim filed by the Pension Benefit Guaranty
Corporation with respect to the Pension Plan shall be deemed withdrawn on the Effective Date.

        AA. Single Satisfaction of Allowed General Unsecured Claims. In no event shall any
holder of an Allowed General Unsecured Claim recover more than the full amount of its
Allowed General Unsecured Claim from the Core Value Cash Pool (plus interest from the Core
Value Cash Pool at the federal judgment rate to the extent applicable under the terms hereof),
and to the extent that the holder of an Allowed General Unsecured Claim has received, or in the


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future receives, payment on account of such Allowed General Unsecured Claim from a party that
is not a Debtor or Reorganized BSA, such holder shall repay, return, or deliver to the Core Value
Cash Pool any Distribution held by or transferred to such holder to the extent the holder’s total
recovery on account of its Allowed General Unsecured Claim from the third party and from the
Core Value Cash Pool exceeds the amount of such holder’s Allowed General Unsecured Claim
(plus interest from the Core Value Cash Pool at the federal judgment rate to the extent applicable
under the terms hereof).

        BB. Exemption from Certain Transfer Taxes and Recording Fees. To the maximum
extent permitted pursuant to section 1146(a) of the Bankruptcy Code and applicable law, any
transfers of property pursuant to the Plan, including any transfers to the Settlement Trust by the
Debtors, the Local Councils, the Contributing Chartered Organizations, and the Settling
Insurance Companies, and payments by Reorganized BSA to or from the Core Value Cash Pool,
shall not be taxed under any law imposing a stamp tax or similar tax.

       CC. Non-Monetary Commitments. The Debtors shall take the following actions to
promote healing and reconciliation and to continue the Debtors’ efforts to prevent Abuse from
occurring in Scouting in the future:

               1.     The Debtors shall form a committee (the “Child Protection Committee”)
       of members from the BSA, Local Councils, the Tort Claimants’ Committee, and the
       Coalition (including survivors). The functions of the Child Protection Committee include
       the following:

                      a.      No later than six months after the Effective Date, the BSA will
               present to the Committee on the BSA’s current Youth Protection Program (the
               “Youth Protection Program”). The BSA will report to the Child Protection
               Committee regarding the Youth Protection Program and any changes thereto on
               an annual basis for a period of three years following the Effective Date.

                      b.      Following that presentation, the BSA and Child Protection
               Committee will work with an entity engaged by the BSA that is selected with the
               consultation of the Child Protection Committee that is not currently affiliated with
               the BSA to evaluate the Youth Protection Program (the “Evaluating Entity”). The
               Evaluating Entity will have expertise in the prevention of youth sexual abuse.

                              (i)    Any evaluation will be comprehensive in nature and
                      include input from current BSA volunteers and professionals, survivors of
                      sexual abuse while involved with Scouting, the members of the Child
                      Protection Committee, and the Evaluating Entity.

                              (ii)  The Evaluating Entity will report to the Child Protection
                      Committee assessing the current Youth Protection Program and make
                      specific recommendations for reasonable improvements to the Youth
                      Protection Program that may include mechanisms for the elimination of
                      abuse and accurate and annual reporting regarding the results of the Youth




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              Protection Program, including confirmed instances of sexual abuse that is
              made available to the public (the “Prospective Reporting”).

                     (iii) The BSA will engage with the Evaluating Entity, and the
              Child Protection Committee, and will take appropriate steps as necessary
              to improve the Program. Changes to the Youth Protection Program will be
              reported on the BSA’s Youth Protection Program website and training will
              be reasonably adjusted to reflect changes.

                c.     The BSA will propose and the Child Protection Committee will
       consider a protocol for the review and publication of information in the Volunteer
       Screening Database and the Prospective Reporting, which will take into account
       factors including: (i) the desire to make public credibly identified perpetrators of
       sexual abuse in Scouting; (ii) adequate protections for survivor identities;
       (iii) consideration regarding the protection of third parties, including survivor
       family members and volunteers; (iv) a notification process regarding any
       publication; (v) issues related to privacy and liability related to publication; and
       (vi) the potential appointment or retention of an appropriate neutral party to
       supervise the evaluation and review of the Volunteer Screening Database (the
       “Neutral Supervisor”). If the BSA and Child Protection Committee are unable to
       reach an agreement on the above protocol, the Neutral Supervisor shall mediate
       the dispute to resolution. In accordance with the process outlined above,
       information from the Volunteer Screening Database and Prospective Reporting
       shall be published annually after agreement among the parties or determination by
       the Neutral Supervisor.

               d.     After consultation and recommendations from the Evaluating
       Entity, the Child Protection Committee may propose and the BSA will in good
       faith consider other issues relating to child protection, including: (i) special BSA
       Scouting programs for survivors; and (ii) participation and leadership in a
       comprehensive reporting program to include other youth-serving organizations.

                e.      The BSA will engage with the Child Protection Committee and
       consider all appropriate measures proposed by the Child Protection Committee to
       improve transparency and accountability with respect to any future instances of
       sexual abuse, including the dissemination of information relating to abuse
       statistics, consistent with practices of other youth-serving organizations, including
       what information may be publically available on the BSA’s website.

                                 ARTICLE VI.

        EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.     Assumption and Rejection of Executory Contracts and Unexpired Leases.

       1.     On the Effective Date, except as otherwise provided herein, all Executory
Contracts and Unexpired Leases shall be deemed assumed by Reorganized BSA without



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       the need for any further notice to or action, order, or approval of the Bankruptcy Court
       under sections 365 or 1123 of the Bankruptcy Code, except for Executory Contracts or
       Unexpired Leases: (a) that are identified on the Rejected Contracts and Unexpired Leases
       Schedule; (b) that previously expired or terminated pursuant to their terms; (c) that the
       Debtors have previously assumed or rejected pursuant to a Final Order of the Bankruptcy
       Court; (d) that are the subject of a motion to reject that remains pending as of the
       Effective Date; (e) as to which the effective date of rejection will occur (or is requested
       by the Debtors to occur) after the Effective Date; or (f) as to which the Debtors or
       Reorganized BSA, as applicable, determine, in the exercise of their reasonable business
       judgment, that the Cure Amount, as determined by a Final Order or as otherwise finally
       resolved, would render assumption of such Executory Contract or Unexpired Lease
       unfavorable to Debtors or Reorganized BSA; provided that the Debtors reserve the right
       to seek enforcement of an assumed or assumed and assigned Executory Contract or
       Unexpired Lease following the Confirmation Date, including seeking an order of the
       Bankruptcy Court rejecting such Executory Contract or Unexpired Lease for cause.

               2.      Entry of the Confirmation Order shall constitute an order of the
       Bankruptcy Court approving the assumption or rejection, as applicable, of Executory
       Contracts or Unexpired Leases pursuant to the Plan, pursuant to sections 365 and 1123 of
       the Bankruptcy Code. Except as otherwise set forth herein, the assumption or rejection of
       an Executory Contract or Unexpired Lease pursuant to the Plan shall be effective as of
       the Effective Date; provided that the rejection of an Unexpired Lease shall be effective as
       of the later of: (a) the Effective Date; and (b) the date on which the leased premises are
       unconditionally surrendered to the non-Debtor counterparty to the rejected Unexpired
       Lease. Reorganized BSA is authorized to abandon any De Minimis Assets at or on the
       premises subject to an Unexpired Lease that is rejected pursuant to the Plan, and the non-
       Debtor counterparty to such Unexpired Lease may dispose of any such De Minimis
       Assets remaining at or on the leased premises on the applicable lease rejection date.

               3.     Each Executory Contract or Unexpired Lease assumed pursuant to the
       Plan or a Final Order of the Bankruptcy Court shall re-vest in and be fully enforceable by
       Reorganized BSA in accordance with its terms, except as such terms may have been
       modified by the provisions of the Plan, the Confirmation Order, or any Final Order of the
       Bankruptcy Court authorizing and providing for its assumption. Any motions to assume
       Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject
       to approval by a Final Order on or after the Effective Date but may be withdrawn, settled,
       or otherwise prosecuted by Reorganized BSA.

        B.      Rejection Damages Claims. Unless otherwise provided by a Final Order of the
Bankruptcy Court, all Proofs of Claim for Rejection Damages Claims, if any, shall be filed
within thirty (30) days after the latest to occur of: (1) the date of entry of an order of the
Bankruptcy Court (including the Confirmation Order) approving such rejection; (2) the effective
date of the rejection of such Executory Contract or Unexpired Lease; or (3) the Effective Date
(as applicable, the “Rejection Damages Bar Date”). Claims arising from the rejection of an
Executory Contract or an Unexpired Lease shall be classified as General Unsecured Claims and
subject to the provisions of Article VII and the applicable provisions of the Bankruptcy Code and
the Bankruptcy Rules. Any holder of a Rejection Damages Claim that is required to file a


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Proof of Claim in accordance with this Article VI.B but fails to do so on or before the
Rejection Damages Bar Date shall not be treated as a creditor with respect to such Claim
for the purposes of voting or Distributions, and such Rejection Damages Claim shall be
automatically Disallowed, forever barred from assertion, and unenforceable against the
Debtors, their Estates, Reorganized BSA, or its or their respective property, whether by
setoff, recoupment, or otherwise, without the need for any objection by the Debtors or
Reorganized BSA or further notice to, or action, order, or approval of the Bankruptcy
Court, and such Rejection Damages Claim shall be deemed fully satisfied, released, and
discharged.

      C.     Cure of Defaults under Executory Contracts and Unexpired Leases.

              1.      Any monetary defaults under each Executory Contract and Unexpired
      Lease to be assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1)
      of the Bankruptcy Code, by payment of the Cure Amount in Cash on the Effective Date
      or in the ordinary course of the Debtors’ or Reorganized BSA’s non-profit operations,
      subject to the limitation described below.

              2.      Except as otherwise provided in the Plan, the Debtors shall, on or before
      the date of filing of the Plan Supplement, cause the Cure and Assumption Notices to be
      served on counterparties to Executory Contracts and Unexpired Leases to be assumed
      pursuant to the Plan. Any objection by a non-Debtor counterparty to an Executory
      Contract or Unexpired Lease to the assumption, assumption and assignment, the related
      Cure Amount, or adequate assurance, must be filed, served, and actually received by the
      Debtors on or prior to the deadline for filing objections to the Plan (or such later date as
      may be provided in the applicable Cure and Assumption Notice); provided that each
      counterparty to an Executory Contract or Unexpired Lease (a) that the Debtors later
      determine to assume or (b) as to which the Debtors modify the applicable Cure Amount,
      must object to the assumption or Cure Amount, as applicable, by the earlier of: (i)
      fourteen (14) days after the Debtors serve such counterparty with a corresponding Cure
      and Assumption Notice; and (ii) the Confirmation Hearing. Any counterparty to an
      Executory Contract or Unexpired Lease that fails to timely object to the proposed
      assumption of any Executory Contract or Unexpired Lease shall be forever barred,
      estopped, and enjoined from contesting the Debtors’ assumption of the applicable
      Executory Contract or Unexpired Lease and from requesting payment of a Cure
      Amount that differs from the amounts paid or proposed to be paid by the Debtors
      or Reorganized BSA, in each case without the need for any objection by the Debtors
      or Reorganized BSA or any further notice to or action, order, or approval of the
      Bankruptcy Court. Reorganized BSA may settle any dispute regarding a Cure
      Amount without any further notice to or action, order, or approval of the
      Bankruptcy Court.

              3.      To the maximum extent permitted by law, to the extent any provision in
      any Executory Contract or Unexpired Lease assumed, or assumed and assigned, pursuant
      to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or would
      be deemed breached by, the assumption or assumption and assignment of such Executory
      Contract or Unexpired Lease (including any change of control or similar provision), then


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       such provision shall be deemed preempted and modified such that neither the Debtors’
       assumption or assumption and assignment of the Executory Contract or Unexpired Lease
       nor any of the transactions contemplated by the Plan shall entitle the non-debtor
       counterparty to terminate or modify such Executory Contract or Unexpired Lease or to
       exercise any other purported default-related rights thereunder.

               4.     The Debtors’ assumption or assumption and assignment of any
       Executory Contract or Unexpired Lease pursuant to the Plan or otherwise, and
       payment of any applicable Cure Amount in accordance with the procedures set
       forth in this Article VI.C, shall result in the full release and satisfaction of any
       Claims or defaults, whether monetary or nonmonetary, including defaults of
       provisions restricting the change in control or ownership interest composition or
       other bankruptcy-related defaults, arising under any assumed, or assumed and
       assigned, Executory Contract or Unexpired Lease at any time prior to the effective
       date of assumption. Any and all Proofs of Claim based upon Executory Contracts
       or Unexpired Leases that have been assumed in the Chapter 11 Cases, including
       pursuant to the Confirmation Order, shall be deemed Disallowed and expunged as
       of the later of: (a) the date of entry of an order of the Bankruptcy Court (including
       the Confirmation Order) approving such assumption; (b) the effective date of such
       assumption; or (c) the Effective Date, in each case without the need for any
       objection by the Debtors or Reorganized BSA or any further notice to or action,
       order, or approval of the Bankruptcy Court.

        D.      Dispute Resolution. In the event of a timely filed objection regarding: (1) a Cure
Amount; (2) the ability of Reorganized BSA or any assignee to provide adequate assurance of
future performance within the meaning of section 365 of the Bankruptcy Code under the
Executory Contract or Unexpired Lease to be assumed; or (3) any other matter pertaining to
assumption or the requirements of section 365(b)(1) of the Bankruptcy Code, such dispute shall
be resolved by a Final Order of the Bankruptcy Court (which may be the Confirmation Order) or
as may be agreed upon by the Debtors or Reorganized BSA, as applicable, and the counterparty
to the Executory Contract or Unexpired Lease. The Debtors or Reorganized BSA, applicable,
shall pay the applicable Cure Amount as soon as reasonably practicable after entry of a Final
Order resolving such dispute and approving such assumption, or as may otherwise be agreed
upon by the Debtors or Reorganized BSA, as applicable, and the counterparty to the Executory
Contract or Unexpired Lease. To the extent that a dispute regarding the applicable Cure Amount
is resolved or determined unfavorably to the Debtors, the Debtors may, in their discretion, reject
the applicable Executory Contract or Unexpired Lease after such determination, which rejection
shall supersede, nullify, and render of no force or effect any earlier assumption or assumption
and assignment. Under no circumstances shall the status of payment of a Cure Amount required
by section 365(b)(1) of the Bankruptcy Code following the entry of a Final Order resolving the
dispute and approving the assumption prevent or delay implementation of the Plan or the
occurrence of the Effective Date.

       E.     Contracts and Leases Entered into After the Petition Date. Contracts and leases
entered into after the Petition Date by the BSA, including any Executory Contracts and
Unexpired Leases assumed by BSA, will be performed by the BSA or Reorganized BSA in the
ordinary course of its charitable non-profit operations. Accordingly, such contracts and leases


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(including any assumed Executory Contract and Unexpired Leases) shall survive and remain
unaffected by entry of the Confirmation Order.

       F.     Insurance Policies.

               1.      Notwithstanding anything to the contrary herein, all Insurance Policies
       issued or entered into prior to the Petition Date shall not be considered Executory
       Contracts and shall neither be assumed nor rejected by the Debtors; provided, however,
       that to the extent any Insurance Policy is determined to be an Executory Contract, then,
       subject to Article IV.V, and notwithstanding anything contained in the Plan to the
       contrary, the Plan will constitute a motion to assume such Insurance Policy and pay all
       future obligations, if any, in respect thereof and, subject to the occurrence of the Effective
       Date, the entry of the Confirmation Order will constitute approval of such assumption
       pursuant to section 365(a) of the Bankruptcy Code and a finding by the Bankruptcy Court
       that each such assumption is in the best interests of the Debtors, their respective Estates
       and all parties in interest. Unless otherwise determined by the Bankruptcy Court
       pursuant to a Final Order or agreed by the parties thereto prior to the Effective Date, no
       payments are required to cure any defaults of any Debtor existing as of the Confirmation
       Date with respect to any Insurance Policy; and prior payments for premiums or other
       charges made prior to the Petition Date under or with respect to any Insurance Policy
       shall be indefeasible. Moreover, as of the Effective Date, all payments of premiums or
       other charges made by the Debtors on or after the Petition Date under or with respect to
       any Insurance Policy shall be deemed to have been authorized, approved, and ratified in
       all respects without any requirement of further action by the Bankruptcy Court.
       Notwithstanding anything to the contrary contained herein, Confirmation shall not
       discharge, impair or otherwise modify any obligations assumed by the foregoing
       assumption, and each such obligation shall be deemed and treated as an Executory
       Contract that has been assumed by the Debtors under the Plan as to which no Proof of
       Claim need be filed.

               2.     Notwithstanding anything to the contrary contained in the Plan, entry of
       the Confirmation Order shall not discharge, impair, or otherwise modify any indemnity
       obligations assumed as a result of the foregoing assumption of the Insurance Policies that
       are D&O Liability Insurance Policies (and related documents), and each such indemnity
       obligations will be deemed and treated as an Executory Contract that has been assumed
       by the Reorganized Debtors under the Plan as to which no Proof of Claim need be filed.

              3.      Other than the permissibility of the Insurance Assignment, or as otherwise
       provided in the Bankruptcy Code, applicable law, the findings made by the Bankruptcy
       Court in the Confirmation Order or the findings made by the District Court in the
       Affirmation Order, the rights and obligations of the parties under the Insurance Policies,
       including the question of whether any breach has occurred, shall be determined under
       applicable law.

       G.     Compensation and Benefits Programs. Other than those Compensation and
Benefits Programs assumed by the Debtors prior to entry of the Confirmation Order, if any, all of
the Compensation and Benefits Programs entered into before the Petition Date and not since


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terminated shall be deemed to be, and shall be treated as though they are, Executory Contracts
under the Plan. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
of Reorganized BSA’s assumption and continued maintenance and sponsorship of each of such
Compensation and Benefits Plan under sections 365 and 1123 of the Bankruptcy Code, and the
Debtors’ and Reorganized BSA’s obligations under the Compensation and Benefits Programs
shall survive and remain unaffected by entry of the Confirmation Order and be fulfilled in the
ordinary course of the Debtors’ and Reorganized BSA’s non-profit operations. Compensation
and Benefits Programs assumed by the Debtors prior to entry of the Confirmation Order shall
continue to be fulfilled in the ordinary course of the Debtors’ non-profit operations from and
after the date of any order of the Bankruptcy Court authorizing the assumption of such
Compensation and Benefits Program. All Claims filed on account of an amounts asserted to be
owed under Compensation and Benefits Programs shall be deemed satisfied and expunged from
the Claims Register as of the Effective Date without any further notice to or action, order, or
approval of the Bankruptcy Court.

       H.      Restoration Plan and Deferred Compensation Plan. On the Effective Date the
Restoration Plan and the Deferred Compensation Plan shall be terminated and, to the extent
applicable, shall be deemed rejected by Reorganized BSA pursuant to section 365 of the
Bankruptcy Code and this Article VI. Claims arising from the Debtors’ rejection of the
Restoration Plan and the Deferred Compensation Plan shall be treated as General Unsecured
Claims hereunder. Holders of Allowed Claims arising from such rejection shall be entitled to a
recovery from the Core Value Cash Pool in accordance with the applicable terms of the Plan.

        I.     Workers’ Compensation Program. As of the Effective Date, the Debtors and
Reorganized BSA shall continue to honor their obligations under: (a) all applicable workers’
compensation laws in all applicable states; and (b) the Workers’ Compensation Program. All
Proofs of Claims on account of workers’ compensation, including the Workers’ Compensation
Program, shall be deemed withdrawn automatically and without any further notice to or action,
order, or approval of the Bankruptcy Court; provided, however, that nothing in the Plan shall
limit, diminish, or otherwise alter the Debtors’ or Reorganized BSA’s defenses, Causes of
Action, or other rights under applicable non-bankruptcy law with respect to the Workers’
Compensation Programs; provided further, however, that nothing herein shall be deemed to
impose any obligations on the Debtors or their insurers in addition to what is provided for under
the terms of the Workers’ Compensation Programs and applicable state law.

       J.     Indemnification Obligations.

               1.     Notwithstanding anything in the Plan to the contrary, each Indemnification
       Obligation shall be assumed by Reorganized BSA effective as of the Effective Date,
       pursuant to sections 365 and 1123 of the Bankruptcy Code or otherwise, except for any
       Indemnification Obligation that is or is asserted to be owed to or for the benefit of any
       Perpetrator. Subject to the foregoing sentence, each Indemnification Obligation shall
       remain in full force and effect, shall not be modified, reduced, discharged, impaired, or
       otherwise affected in any way, and shall survive Unimpaired and unaffected, irrespective
       of when such obligation arose. For the avoidance of doubt, this Article VI.J affects only
       the obligations of the Debtors and Reorganized BSA with respect to any Indemnification
       Obligations owed to or for the benefit of past and present directors, officers, employees,


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       attorneys, accountants, investment bankers, and other professionals and agents of the
       Debtors, and shall have no effect on nor in any way discharge or reduce, in whole or in
       part, any obligation of any other Person owed to or for the benefit of such directors,
       officers, employees, attorneys, accountants, investment bankers, and other professionals
       and agents of the Debtors.

               2.     All Proofs of Claim filed on account of an Indemnification Obligation to a
       current or former director, officer, or employee shall be deemed satisfied and expunged
       from the Claims Register as of the Effective Date to the extent such Indemnification
       Obligation is assumed (or honored or reaffirmed, as the case may be) pursuant to the
       Plan, without any further notice to or action, order, or approval of the Bankruptcy Court.

        K.     Gift Annuity Agreements and Life-Income Agreements. The Gift Annuity
Agreements and Life-Income Agreements shall be deemed to be, and shall be treated as though
they are, Executory Contracts under the Plan, and entry of the Confirmation Order will constitute
the Bankruptcy Court’s approval of the Debtors’ assumption of each of such Executory Contract.

        L.       Modifications, Amendments, Supplements, Restatements, or Other Agreements.
Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is
assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and
Executory Contracts and Unexpired Leases related thereto, if any, including easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests,
unless the Debtors reject or repudiate any of the foregoing agreements. Modifications,
amendments, and supplements to, or restatements of, prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority, or amount of any Claims that may arise in connection therewith.

        M.     Reservation of Rights. Neither the inclusion of any Executory Contract or
Unexpired Lease on the Schedules, a Cure and Assumption Notice, or the Rejected Executory
contracts and Unexpired Leases Schedule, nor anything contained in any Plan Document, shall
constitute an admission by the Debtors that a contract or lease is in fact an Executory Contract or
Unexpired Lease or that Reorganized BSA has any liability thereunder. If there is a dispute as of
the Confirmation Date regarding whether a contract or lease is or was executory or unexpired at
the time of assumption, the Debtors, or, after the Effective Date, Reorganized BSA, shall have
thirty (30) days following entry of a Final Order resolving such dispute to alter their treatment of
such contract or lease, including by rejecting such contract or lease nunc pro tunc to the
Confirmation Date.

        N.      Nonoccurrence of Effective Date; Bankruptcy Code Section 365(d)(4). If the
Effective Date fails to occur, the Bankruptcy Court shall retain jurisdiction with respect to any
request to further extend the deadline for assuming or rejecting Unexpired Leases under section
365(d)(4) of the Bankruptcy Code.




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                                        ARTICLE VII.

                      PROVISIONS GOVERNING DISTRIBUTIONS

       A.     Applicability. None of the terms or provision of this Article VII shall apply to
Abuse Claims, which shall be exclusively processed, liquidated and paid by the Settlement Trust
in accordance with the Settlement Trust Documents.

       B.      Distributions Generally. The Disbursing Agent shall make all Distributions to
appropriate holders of Allowed Claims in accordance with the terms of the Plan.

       C.     Distributions on Account of Certain Claims Allowed as of the Effective Date.
Except as otherwise provided in the Plan, on or as soon as practicable after the Effective Date,
the Disbursing Agent shall make Distributions in Cash in amounts equal to all Allowed
Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Other Priority Claims,
Allowed Other Secured Claims, and Allowed Convenience Claims.

       D.     Distributions on Account of Allowed General Unsecured Claims. On each
Distribution Date, the Disbursing Agent shall Distribute to each holder of an Allowed General
Unsecured Claim an amount equal to such holder’s Pro Rata Share of (1) the total balance of the
Core Value Cash Pool as of such date, less (2) the balance of the Disputed Claims Reserve.

        E.     Distributions on Account of Disputed Claims Allowed After the Effective Date.
Distributions on account of any Disputed Claim shall be made to the extent such Claim is
Allowed in accordance with the provisions of Article VIII. Except as otherwise provided in the
Plan, the Confirmation Order, another order of the Bankruptcy Court, or as agreed to by the
relevant parties, Distributions under the Plan on account of Disputed Claims that become
Allowed after the Effective Date shall be made as soon as practicable after the Disputed Claim
becomes an Allowed Claim.

       F.     Rights and Powers of Disbursing Agent.

                1.    The Disbursing Agent shall make all Distributions to the appropriate
       holders of Allowed Claims in accordance with the terms of the Plan, including this
       Article VII. Except as otherwise ordered by the Bankruptcy Court, the Disbursing Agent
       shall not be required to give any bond or surety or other security for the performance of
       its duties.

               2.      The Disbursing Agent shall be empowered to: (a) effect all actions and
       execute all agreements, instruments, and other documents necessary to perform its duties
       under the Plan; (b) make all Distributions contemplated hereby; (c) employ professionals
       to represent it with respect to its responsibilities; and (d) exercise such other powers as
       may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the
       Plan, or as deemed by the Disbursing Agent to be necessary and proper to implement the
       provisions hereof. The Disbursing Agent may request an expedited determination of
       taxes under section 505(b) of the Bankruptcy Code for all returns for all taxable periods
       through the date on which final Distributions are made.



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       G.      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

               1.      Claims Record Date. As of the close of business on the Claims Record
       Date, the various transfer registers for each of the Classes of Claims as maintained by the
       Debtors or their agents shall be deemed closed for purposes of determining whether a
       holder of such a Claim is a record holder entitled to a Distribution under the Plan, and
       there shall be no further changes in the record holders or the permitted designees with
       respect to such Claims. The Debtors or Reorganized BSA, as applicable, shall have no
       obligation to recognize any transfer or designation of such Claims occurring after the
       close of business on the Claims Record Date. With respect to payment of any Cure
       Amounts or assumption disputes, neither the Debtors nor Reorganized BSA shall have
       any obligation to recognize or deal with any party other than the non-Debtor party to the
       applicable Executory Contract or Unexpired Lease as of the close of business on the
       Claims Record Date, even if such non-Debtor party has sold, assigned, or otherwise
       transferred its Claim for a Cure Amount.

              2.      Delivery of Distributions. If a Person holds more than one Claim in any
       one Class, in the Disbursing Agent’s sole discretion, all such Claims will be aggregated
       into one Claim and one Distribution will be made with respect to the aggregated Claim.

               3.      Special Rules for Distributions to Holders of Disputed Claims. Except as
       otherwise provided in the Plan or agreed to by the relevant parties: (a) no partial
       payments and no partial Distributions shall be made with respect to a Disputed Claim
       until all such disputes in connection with such Disputed Claim have been resolved by
       settlement or Final Order; and (b) any Person that holds both an Allowed Claim and a
       Disputed Claim shall not receive any Distribution on account of the Allowed Claim
       unless and until all objections to the Disputed Claim have been resolved by settlement or
       Final Order or the Disputed Claims have been Allowed or expunged. Any Distributions
       arising from property Distributed to holders of Allowed Claims in a Class and paid to
       such holders under the Plan shall also be paid, in the applicable amounts, to any holder of
       a Disputed Claim in such Class that becomes an Allowed Claim after the date or dates
       that such Distributions were earlier paid to holders of Allowed Claims in such Class.

       H.      Undeliverable and Non-Negotiated Distributions.

               1.      Undeliverable Distributions. If any Distribution to a holder of an Allowed
Claim is returned to Reorganized BSA as undeliverable, no further Distributions shall be made to
such holder unless and until Reorganized BSA is notified in writing of such holder’s then-current
address or other necessary information for delivery, at which time such previously undeliverable
Distribution shall be made to such holder within ninety (90) days of receipt of such holder’s
then-current address or other necessary information; provided, however, that any such
undeliverable Distribution shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of 180 days after the date of the initial attempted Distribution.
After such date, all unclaimed property or interests in property shall revert to Reorganized BSA
automatically and without the need for any notice to or further order of the Bankruptcy Court
(notwithstanding any applicable non-bankruptcy escheatment, abandoned, or unclaimed property
laws to the contrary), and the right, title, and interest of any holder to such property or interest in


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property shall be discharged and forever barred; provided that Distributions made from the Core
Value Cash Pool and returned as undeliverable shall revert to the Core Value Cash Pool.

                2.      Non-Negotiated Distributions. If any Distribution to a holder of an
Allowed Claim is not negotiated for a period of 180 days after the Distribution, then such
Distribution shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code
and re-vest in Reorganized BSA or re-vest in the Core Value Cash Pool if such Distribution was
made from the Core Value Cash Pool. After such date, all non-negotiated property or interests in
property shall revert to Reorganized BSA automatically and without the need for any notice to or
further order of the Bankruptcy Court (notwithstanding any applicable non-bankruptcy
escheatment, abandoned, or unclaimed property laws to the contrary), and the right, title, and
interest of any holder to such property or interest in property shall be discharged and forever
barred.

        I.     Manner of Payment under the Plan. Except as otherwise specifically provided in
the Plan, at the option of Reorganized BSA, any Cash payment to be made hereunder may be
made by a check or wire transfer or as otherwise required or provided in applicable agreements
or customary practices of Reorganized BSA.

        J.       Satisfaction of Claims. Except as otherwise specifically provided in the Plan, any
Distributions to be made on account of Allowed Claims under the Plan shall be in complete and
final satisfaction, settlement, and discharge of and exchange for such Allowed Claims.

       K.      Minimum Cash Distributions. Reorganized BSA shall not be required to make
any Distribution of Cash less than twenty dollars ($20) to any holder of an Allowed Claim;
provided, however, that if any Distribution is not made pursuant to this Article VII.K, such
Distribution shall be added to any subsequent Distribution to be made on behalf of the holder’s
Allowed Claim.

        L.      Postpetition Interest. Except as provided in the Cash Collateral Order or in the
following sentence, interest shall not accrue on Impaired Claims; no holder of an Impaired Claim
shall be entitled to interest accruing on or after the Petition Date on any such Impaired Claim,
and interest shall not accrue or be paid on any Disputed Claim in respect of the period from the
Petition Date to the date a Distribution is made thereon if and after such Disputed Claim
becomes an Allowed Claim. Notwithstanding the foregoing, each holder of an Allowed General
Unsecured Claim shall accrue interest on the Allowed amount of such Claim at the federal
judgment rate applicable on the Effective Date; provided, that such interest shall be payable to
each such holder only from the Core Value Cash Pool and only to the extent that the Core Value
Cash Pool shall have been sufficient: (1) first, to satisfy the full amount of all Allowed General
Unsecured Claims; and (2) second, on account of any Allowed Non-Abuse Litigation Claims that
shall not have elected to be treated as an Allowed Convenience Claim under Article III.B.9, to
satisfy any deficiency in payments of such Allowed Claims (a) from available insurance
coverage, including Abuse Insurance Policies and Non-Abuse Insurance Policies, (b) from
applicable proceeds of any Insurance Settlement Agreements, and (c) from co-liable non-debtors
(if any) or their insurance coverage. Neither the Debtors nor Reorganized BSA shall have any
independent obligation to pay interest for or on account of any Allowed General Unsecured



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Claims other than from the Core Value Cash Pool in accordance with the terms of this Article
VII.L.

        M.     Setoffs. The Debtors and Reorganized BSA may, pursuant to the applicable
provisions of the Bankruptcy Code, or applicable non-bankruptcy law, set off against any
applicable Allowed Claim (before any Distribution is made on account of such Claim) any and
all claims, rights, Causes of Action, debts or liabilities of any nature that the Debtors or
Reorganized BSA may hold against the holder of such Allowed Claim; provided, however, that
the failure to effect such a setoff shall not constitute a waiver or release of any such claims,
rights, Causes of Action, debts or liabilities.

       N.      Claims Paid or Payable by Third Parties.

                1.      Claims Paid by Third Parties. A Claim shall be reduced in full, and such
Claim shall be Disallowed without an objection to such Claim having to be filed and without any
further notice to or action, order, or approval of the Bankruptcy Court, to the extent that the
holder of such Claim receives payment in full on account of such Claim from a party that is not a
Debtor or Reorganized BSA. To the extent a holder of a Claim receives a Distribution on
account of such Claim and receives payment from a party that is not a Debtor or Reorganized
BSA on account of such Claim, such holder shall repay, return, or deliver any Distribution held
by or transferred to such holder to Reorganized BSA to the extent the holder’s total recovery on
account of such Claim from the third party and under the Plan exceeds the amount of such Claim
as of the date of any such Distribution under the Plan.

                2.      Non-Abuse Litigation Claims Payable from Insurance. Subject to Article
IV.D.3, no Distributions under the Plan shall be made on account of any Allowed Non-Abuse
Litigation Claim that is payable pursuant to an Insurance Policy until the holder of such Allowed
Non-Abuse Litigation Claim has exhausted all remedies with respect to such insurance policy,
including pursuing such insurance through litigation and obtaining entry of a final, non-
appealable order. To the extent that one or more of the Insurance Companies satisfies in full or
in part an Allowed Non-Abuse Litigation Claim, then immediately upon such satisfaction, the
portion of the Claim so satisfied may be expunged from the Claims Register by the Notice and
Claims Agent without an objection to such Claim having to be filed and without any further
notice to or action, order, or approval of the Bankruptcy Court.

       O.      Compliance with Tax Requirements and Allocations.

                1.     In connection with the Plan and all Distributions hereunder, the
Disbursing Agent shall comply with all tax withholding and reporting requirements imposed on
them by any federal, state or local taxing authority, and all Distributions pursuant to the Plan
shall be subject to such withholding and reporting requirements. Notwithstanding any provision
in the Plan to the contrary, the Disbursing Agent shall be authorized to take all actions necessary
or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the Distribution to be made under the Plan to generate sufficient funds to
pay applicable withholding taxes, withholding Distributions pending receipt of information
necessary to facilitate such Distributions including tax certification forms, or establishing any
other mechanisms it believes are reasonable and appropriate.


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               2.      For tax purposes, Distributions in full or partial satisfaction of Allowed
Claims shall be allocated first to the principal amount of Allowed Claims, with any excess
allocated to unpaid interest that accrued on such Claim.

                                        ARTICLE VIII.

         PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED,
                        AND DISPUTED CLAIMS

       A.     Applicability. All Disputed Claims against the Debtors, other than Administrative
Expense Claims, shall be subject to the provisions of this Article VIII. All Administrative
Expense Claims shall be determined and, if Allowed, paid in accordance with Article II. None
of the terms or provision of this Article VIII shall apply to Abuse Claims, which shall be
exclusively processed, liquidated and paid by the Settlement Trust in accordance with the
Settlement Trust Documents.

        B.     Allowance of Claims. After the Effective Date, Reorganized BSA shall have and
retain any and all rights and defenses that the Debtors, or either of them, had with respect to any
Claim immediately before the Effective Date. Except as expressly provided in the Plan or in any
order entered in the Chapter 11 Cases before the Effective Date (including the Confirmation
Order), no Claim shall become an Allowed Claim unless and until such Claim becomes Allowed
by Final Order of the Bankruptcy Court or by agreement between the Debtors or Reorganized
BSA, on the one hand, and the holder of such Claim, on the other.

       C.      Claims Administration Responsibilities.

               1.     Except as otherwise expressly provided in the Plan, from and after the
       Effective Date, Reorganized BSA shall have the authority (a) to file, withdraw, or litigate
       to judgment objections to Claims; (b) to settle or compromise any Disputed Claim
       without any further notice to or action, order, or approval by the Bankruptcy Court; and
       (c) to administer and adjust the Claims Register to reflect any such settlements or
       compromises without any further notice to or action, order, or approval by the
       Bankruptcy Court.

              2.     Reorganized BSA shall consult with the Creditor Representative in
       connection with the reconciliation, settlement and administration of Convenience Claims,
       General Unsecured Claims and Non-Abuse Litigation Claims and shall use commercially
       reasonable efforts to resolve such Claims before the applicable Claims Objection
       Deadline.

        D.     Estimation of Claims. The Debtors (before the Effective Date) or Reorganized
BSA (on and after the Effective Date) may at any time request that the Bankruptcy Court
estimate any Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of
whether an objection was previously filed with the Bankruptcy Court with respect to such Claim
or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court
shall retain jurisdiction to estimate any Claim at any time during litigation concerning any
objection to such Claim, including during the pendency of any appeal relating to any such



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objection. In the event that the Bankruptcy Court estimates any Disputed Claim, that estimated
amount will constitute either the Allowed amount of such Claim or a maximum limitation on
such Claim against any Person. If the estimated amount of a Claim constitutes a maximum
limitation on such Claim, the Debtors (before the Effective Date) or Reorganized BSA (on and
after the Effective Date) may elect to pursue any supplemental proceedings to object to any
ultimate Distribution on such Claim. All of the objection, estimation, settlement, and resolution
procedures set forth in the Plan are cumulative and not necessarily exclusive of one another.
Claims may be estimated and subsequently compromised, objected to, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court.

        E.     No Distributions Pending Allowance. No Distributions or other consideration
shall be paid with respect to any Claim that is a Disputed Claim unless and until all objections to
such Disputed Claim are resolved and such Disputed Claim becomes an Allowed Claim by Final
Order of the Bankruptcy Court or agreement between the Debtors or Reorganized BSA, on the
one hand, and the holder of such Claim, on the other.

        F.    Distributions after Allowance. To the extent that a Disputed Claim (or a portion
thereof) becomes an Allowed Claim, Distributions (if any) shall be made to the holder of such
Allowed Claim in accordance with the provisions of the Plan.

        G.     Disputed Claims Reserve. The provisions of this Article VIII.G apply only to the
extent that any General Unsecured Claims remain Disputed as of any Distribution Date.

               1.      If any General Unsecured Claims remain Disputed as of any Distribution
       Date, the undistributed portion of the Core Value Cash Pool shall be held in a segregated
       account. Subject to definitive guidance from the IRS or a court of competent jurisdiction
       to the contrary, or the receipt of a determination from the IRS, the Disbursing Agent shall
       treat the Disputed Claims Reserve as a “disputed ownership fund” governed by Treasury
       Regulation section 1.468B-9 and, to the extent permitted by applicable law, report
       consistently with the foregoing for state and local income tax purposes. All parties
       (including the Debtors, Reorganized BSA, the Disbursing Agent, and holders of General
       Unsecured Claims) shall be required to report for tax purposes in a manner consistent
       with the foregoing. The Disputed Claims Reserve shall be responsible for payment, out
       of the assets of the Disputed Claims Reserve, of any taxes imposed on the Disputed
       Claims Reserve or its assets.

              2.      The Debtors or Reorganized BSA, as applicable, with the consent of the
       Creditor Representative, shall determine the amount of the Disputed Claims Reserve, if
       applicable, as of the initial Distribution Date, based on the least of: (a) the asserted
       amount of the Disputed General Unsecured Claims in the applicable Proofs of Claim; (b)
       the amount, if any, estimated by the Bankruptcy Court pursuant to (i) section 502(c) of
       the Bankruptcy Code or (ii) Article VIII.D if, after the Effective Date, a motion is filed
       by Reorganized BSA to estimate such Claim; (c) the amount otherwise agreed to by the
       Debtors (or Reorganized BSA, if after the Effective Date) and the holders of such
       Disputed General Unsecured Claims; or (d) any amount otherwise approved by the
       Bankruptcy Court. Upon each Distribution Date, Reorganized BSA shall deposit into the
       Disputed Claims Reserve an amount of Cash equal to the amount sufficient to make the


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       Distributions to which holders of Disputed General Unsecured Claims would be entitled
       under the Plan as of the applicable Distribution Date if the Disputed General Unsecured
       Claims were Allowed Claims as of such date.

                3.      If a Disputed General Unsecured Claim becomes an Allowed Claim after
       the first Distribution Date, the Disbursing Agent shall, on the next Distribution Date after
       the Disputed General Unsecured Claim becomes an Allowed Claim (or, if the Disputed
       General Unsecured Claim becomes an Allowed Claim after the final Distribution Date, as
       soon as practicable after Allowance), Distribute to the holder of such Claim, exclusively
       from the Disputed Claims Reserve, the amount of Cash that such holder would have
       received in that Distribution and all prior Distributions (if any) if such holder’s General
       Unsecured Claim had been Allowed as of the Effective Date, net of any allocable taxes
       imposed thereon or otherwise payable by the Disputed Claims Reserve.

              4.      If a Disputed Claim is Disallowed, in whole or in part, then on the
       Distribution Date next following the date of Disallowance, Cash shall be released from
       the Disputed Claims Reserve and placed in the Core Value Cash Pool, which Cash shall
       then be unreserved and unrestricted, and which shall be available for Distribution to
       holders of Allowed General Unsecured Claims.

              5.       If any assets remain in the Disputed Claims Reserve after all Disputed
       General Unsecured Claims have been resolved, such assets shall be placed in the Core
       Value Cash Pool and distributed Pro Rata to all holders of Allowed General Unsecured
       Claims on the next Distribution Date (or, if all Disputed General Unsecured Claims are
       resolved after the final Distribution Date, as soon as practicable thereafter).

        H.     Adjustment to Claims Register without Objection. Any duplicate Proof of Claim
that has been paid or satisfied, or any Proof of Claim that is clearly marked as amended or
superseded by a subsequently filed Proof of Claim that remains on the Claims Register, may be
adjusted or expunged on the Claims Register by the Notice and Claims Agent at the direction of
Reorganized BSA upon stipulation between the parties in interest without an objection having to
be filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

        I.     Time to File Objections to Claims. Any objections to Claims must be filed on or
before the applicable Claims Objection Deadline, as such deadline may be extended from time to
time. The expiration of the Claims Objection Deadline shall not limit or affect the Debtors’ or
Reorganized BSA’s rights to dispute Claims asserted in the ordinary course of the Debtors or
Reorganized BSA’s non-profit operations other than through a Proof of Claim.

        J.      Treatment of Untimely Claims. Except as provided herein or otherwise agreed,
any and all creditors that have filed Proofs of Claim after the applicable Bar Date shall not be
treated as a creditor with respect to such Claim for the purposes of voting and distribution.




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                                                 ARTICLE IX.

      CONDITIONS PRECEDENT TO CONFIRMATION AND EFFECTIVE DATE

        A.       Conditions Precedent to Confirmation of the Plan.

       Confirmation of the Plan shall not occur unless each of the following conditions
precedent has been satisfied or waived in accordance with Article IX.C.

                1.     The Bankruptcy Court shall have entered the Disclosure Statement Order,
        in form and substance reasonably acceptable to the Debtors, the Ad Hoc Committee, the
        Coalition, the Future Claimants’ Representative, Hartford, the Creditors’ Committee and
        JPM.

               2.     The Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’
        Representative and Hartford shall have approved of or accepted the Confirmation Order,
        and the Creditors’ Committee and JPM shall have approved of or accepted the
        Confirmation Order in accordance with their respective consent rights under the JPM /
        Creditors’ Committee Term Sheet incorporated by reference in Article I.D;

                3.     The Bankruptcy Court shall have made such findings and determinations
        regarding the Plan as shall enable the entry of the Confirmation Order and any other
        order in conjunction therewith, in form and substance acceptable to the Debtors, in
        accordance with the requirements of the JPM / Creditors’ Committee Term Sheet.3 These
        findings and determinations are designed, among other things, to ensure that the
        Injunctions, Releases and Discharges set forth in Article X shall be effective, binding and
        enforceable and shall, among other things, provide that:

                        a.      the Plan complies with all applicable provisions of the Bankruptcy
                 Code, including that the Plan be proposed in good faith and that the Confirmation
                 Order not be procured by fraud;

                         b.     the Channeling Injunction and the Insurance Entity Injunction are
                 to be implemented in connection with the Settlement Trust and shall be in full
                 force and effect on the Effective Date;

                          c.      upon the Effective Date, the Settlement Trust shall assume the
                 liabilities of the Protected Parties with respect to Abuse Claims and the liabilities

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    The findings and determinations set forth in Article IX.A.3.j, Article IX.A.3.p, Article IX.A.3.r, Article
    IX.A.3.s and Article IX.A.3.t shall not be binding on Hartford to the extent that Hartford is a Settling Insurance
    Company and the transactions contemplated in the Hartford Insurance Settlement Agreement, including the
    release of the Hartford Settlement Contribution to the Settlement Trust, are fully consummated. Hartford’s
    agreement in the Hartford Insurance Settlement Agreement not to object to entry of such findings and
    determinations in the Confirmation Order does not indicate Hartford’s support for such findings and
    determinations, and no party shall argue that Hartford agreed to or acquiesced in such findings and
    determinations in any proceeding. Rather, Hartford is designated as a Settling Insurance Company and
    Protected Party under the Plan, and as a result, Hartford takes no position on such findings and determinations
    or on the Trust Distribution Procedures.


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   of the Limited Protected Parties with respect to Post-1975 Chartered Organization
   Abuse Claims and have exclusive authority as of the Effective Date to satisfy or
   defend such Abuse Claims;

             d.   the Settlement Trust will be funded with the Settlement Trust
   Assets;

         e.      the Settlement Trust will use the Settlement Trust Assets to resolve
   Abuse Claims;

          f.      the terms of the Discharge Injunction, the Channeling Injunction,
   the Release Injunctions, and the Insurance Entity Injunction, including any
   provisions barring actions against third parties, are set out in conspicuous
   language in the Plan and in the Disclosure Statement;

           g.     the Future Claimants’ Representative was appointed by the
   Bankruptcy Court as part of the proceedings leading to the issuance of the
   Channeling Injunction and the Insurance Entity Injunction for the purpose of,
   among other things, protecting the rights of persons who might subsequently
   assert Abuse Claims of the kind that are addressed in the Channeling Injunction
   and the Insurance Entity Injunction, which will be transferred to and assumed by
   the Settlement Trust;

           h.     the Plan complies with section 105(a) of the Bankruptcy Code to
   the extent applicable;

          i.      the Injunctions are essential to the Plan and the Debtors’
   reorganization efforts;

            j.      the Insurance Assignment is authorized as provided in the Plan,
   notwithstanding any terms of any policies or provisions of non-bankruptcy law
   that is argued to prohibit the delegation, assignment, or other transfer of such
   rights, and the Settlement Trust (i) is a proper defendant for Abuse Claims to
   assert the liability of the Protected Parties to trigger such insurance rights and
   (ii) is a proper defendant for Post-1975 Chartered Organization Abuse Claims to
   assert the liability of the Limited Protected Parties to trigger such insurance rights;

          k.     the Insurance Settlement Agreements are approved, and any
   Insurance Company that has contributed funds, proceeds or other consideration to
   or for the benefit of the Settlement Trust pursuant to an Insurance Settlement
   Agreement is designated as a Settling Insurance Company;

           l.    the Abuse Claims Settlement represents a sound exercise of the
   Debtors’ business judgment, is in the best interest of the Debtors’ Estates,
   complies with section 1123 of the Bankruptcy Code, and is approved pursuant to
   section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019;




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           m.     the JPM / Creditors’ Committee Settlement represents a sound
   exercise of the Debtors’ business judgment, is in the best interest of the Debtors’
   Estates, complies with section 1123 of the Bankruptcy Code, and is approved
   pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019;

          n.     the Settlement of Restricted and Core Asset Disputes represents a
   sound exercise of the Debtors’ business judgment, is in the best interest of the
   Debtors’ estates, complies with section 1123 of the Bankruptcy Code, and is
   approved pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule
   9019;

          o.      the Hartford Insurance Settlement, including the sale of the
   Hartford Policies free and clear of all Interests of any Person or Entity (as such
   terms are defined in the Hartford Insurance Settlement Agreement) and the
   Allowance of the Hartford Administrative Expense Claim is approved in
   accordance with sections 363, 503(b), 507(a)(2), 1123 and 1141 of the
   Bankruptcy Code, Bankruptcy Rule 9019, and the findings of fact and
   conclusions of law made by the Bankruptcy Court pursuant to Article V.S.4;

           p.     the TCJC Settlement is approved in accordance with the findings
   of fact and conclusions of law made by the Bankruptcy Court pursuant to Article
   V.S.5.

          q.      the Plan, the Plan Documents, and the Confirmation Order shall be
   binding on all parties in interest;

           r.     (i) the procedures included in the Trust Distribution Procedures
   pertaining to the allowance of Abuse Claims and (ii) the criteria included in the
   Trust Distribution Procedures pertaining to the calculation of the Allowed Claim
   Amounts, including the Trust Distribution Procedures’ Claims Matrix, Base
   Matrix Values, Maximum Matrix Values, and Scaling Factors (each as defined in
   the Trust Distribution Procedures), are fair and reasonable based on the
   evidentiary record offered to the Bankruptcy Court;

           s.     the right to payment that the holder of an Abuse Claim has against
   the Debtors or another Protected Party or a Limited Protected Party is the allowed
   value of such Abuse Claim as liquidated in accordance with the Trust Distribution
   Procedures and is not (i) the initial or supplemental payment percentages
   established under the Trust Distribution Procedures to make distributions to
   holders of allowed Abuse Claims or (ii) the contributions made by the Debtors or
   any Protected Party to the Settlement Trust; and

          t.     the Plan and the Trust Distribution Procedures were proposed in
   good faith and are sufficient to satisfy the requirements of section 1129(a)(3) of
   the Bankruptcy Code.




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       B.      Conditions Precedent to the Effective Date.

       Notwithstanding any other provision of the Plan or the Confirmation Order, the Effective
Date shall occur on the first Business Day on which each of the following conditions precedent
has been satisfied or waived pursuant to Article IX.C:

               1.      (a) the Confirmation Order shall have been submitted to the District Court
       for affirmation; (b) the District Court shall have entered the Affirmation Order in form
       and substance acceptable to (i) the Debtors, the Ad Hoc Committee, the Coalition, the
       Future Claimants’ Representative and Hartford and (ii) the Creditors’ Committee and
       JPM, consistent with the JPM / Creditors’ Committee Term Sheet; (c) at least fifteen (15)
       days shall have passed following entry of the Confirmation Order and the Affirmation
       Order; (d) no court shall have entered an order staying the occurrence of the Effective
       Date pending an appeal of the Confirmation Order or the Affirmation Order; and (e) no
       request for a stay of the occurrence of the Effective Date shall be pending;

              2.     the Settlement Trust Assets shall, simultaneously with the occurrence of
       the Effective Date or as otherwise provided herein, be transferred to, vested in, and
       assumed by the Settlement Trust in accordance with Article IV and Article V;

               3.      the Settlement Trust Documents and other applicable Plan Documents
       necessary or appropriate to implement the Plan shall have been executed, delivered and,
       if applicable, filed with the appropriate governmental authorities in compliance with the
       JPM / Creditors’ Committee Term Sheet;

               4.     the Restated Debt and Security Documents shall have been duly executed
       and delivered by all of the Entities that are parties thereto and all conditions precedent
       (other than any conditions related to the occurrence of the Effective Date) to the
       effectiveness thereof shall have been satisfied or duly waived in writing in accordance
       with the terms of the Restated Debt and Security Documents, the closing shall have
       occurred thereunder, and Reorganized BSA shall have paid the JPM Exit Fee to JPM;

               5.     the Foundation Loan Agreement and any applicable collateral and other
       loan documents governing the Foundation Loan shall have been duly executed and
       delivered by all of the Entities that are parties thereto and all conditions precedent (other
       than any conditions related to the occurrence of the Effective Date) to the effectiveness
       thereof shall have been satisfied or duly waived in writing in accordance with the terms
       of the Foundation Loan Agreement and related documentation, and the closing shall have
       occurred thereunder;

              6.      the Debtors shall have adequately funded the Professional Fee Reserve so
       as to permit the Debtors to make Distributions on account of Allowed Professional Fee
       Claims in accordance with Article II;

               7.      the Debtors shall have obtained all authorizations, consents, certifications,
       approvals, rulings, opinions or other documents that are necessary to implement and
       effectuate the Plan;



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              8.      all payments required to be made pursuant to the terms of the Cash
       Collateral Order shall have been paid;

               9.      all actions, documents, and agreements necessary to implement and
       effectuate the Plan shall have been effected or executed;

               10.    the transactions to be implemented on the Effective Date shall be
       materially consistent with the Plan Documents and the JPM / Creditors’ Committee Term
       Sheet; and

               11.    the Debtors shall have filed a notice of occurrence of the Effective Date.

        C.       Waiver of Conditions Precedent. To the fullest extent permitted by law, each of
the conditions precedent in this Article IX may be waived or modified, in whole or in part, in the
sole discretion of the Debtors; provided, however, that (1) the Creditors’ Committee’s consent
(not to be unreasonably withheld) is required to the extent any such waiver or modification by
the Debtors impacts the treatment of General Unsecured Claims, Non-Abuse Litigation Claims,
or Convenience Claims; (2) the conditions precedent set forth in Article IX.B.4 and Article
IX.B.8 may be waived or modified by the Debtors only with the prior written consent of JPM;
(3) the condition precedent set forth in Article IX.A.3.o may be waived or modified by the
Debtors only with the prior written consent of Hartford; (4) the condition precedent set forth in
Article IX.A.3.p may be waived or modified by the Debtors only with the prior written consent
of TCJC; (5) for Article IX.A.3.j, Article IX.A.3.p, Article IX.A.3.r, Article IX.A.3.s, Article
IX.A.3.t, and any waiver or modification that impacts the treatment of Abuse Claims, the prior
written consent of the Coalition and the Future Claimants’ Representative shall be required as a
condition to waiver or modification by the Debtors; and (6) the conditions precedent in Article
IX.B.1 and Article IX.B.6 may be waived or modified by the Debtors only with the prior written
consent of the Ad Hoc Committee, the Coalition and the Future Claimants’ Representative. Any
waiver or modification of a condition precedent under this Article IX may be effectuated at any
time, without notice, without leave or order of the Bankruptcy Court or the District Court, and
without any other formal action other than proceedings to Confirm or consummate the Plan. The
failure to satisfy or waive any condition precedent to the Effective Date may be asserted by the
Ad Hoc Committee, the Coalition, the Future Claimants’ Representative, Hartford, the Creditors’
Committee or JPM regardless of the circumstances giving rise to the failure of such condition to
be satisfied or waived.

      D.     Substantial Consummation of the Plan. On the Effective Date, the Plan shall be
deemed to be substantially consummated under sections 1101 and 1127(b) of the Bankruptcy
Code.

        E.      Vacatur of Confirmation Order; Non-Occurrence of Effective Date. If the
Confirmation Order is vacated or the Effective Date does not occur within 180 days after entry of
the Confirmation Order (subject to extension by the Debtors in their sole discretion), the Plan
shall be null and void in all respects, and nothing contained in the Plan or the Disclosure
Statement shall (1) constitute a waiver or release of any Causes of Action by or Claims against or
Interests in the Debtors or any Person; (2) prejudice in any manner the rights of the Debtors, any
holders of a Claim or Interest or any other Person; (3) constitute an admission, acknowledgment,


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offer, or undertaking by the Debtors, any holders of a Claim or Interest, or any other Person in
any respect; or (4) be used by the Debtors or any other Person as evidence (or in any other way)
in any litigation, including with respect to the strengths and weaknesses of positions, arguments
or claims of any of the parties to such litigation.

                                          ARTICLE X.

                            EFFECT OF PLAN CONFIRMATION

        A.      Vesting of Assets in Reorganized BSA. Except as otherwise expressly provided
in the Plan (including with respect to the Core Value Cash Pool and the Restated Debt and
Security Documents), on the Effective Date, pursuant to sections 1141(b) and 1141(c) of the
Bankruptcy Code, all property comprising the Estates shall vest in Reorganized BSA free and
clear of all Liens, Claims, interests, charges, other Encumbrances and liabilities of any kind. On
and after the Effective Date, Reorganized BSA may continue its operations and may use,
acquire, or dispose of property, and compromise or settle any Claims, Interests, or Causes of
Action without supervision or approval of the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or the Bankruptcy Rules.

        B.      Retention of Certain Causes of Action. In accordance with section 1123(b)(3) of
the Bankruptcy Code, subject to the transfer of the Debtors’ Settlement Trust Causes of Action to
the Settlement Trust under Article IV.D and the Debtors’ and their Estates’ release of certain
Estate Causes of Action under Article X.J, all Causes of Action that a Debtor may hold against
any Person shall vest in Reorganized BSA on the Effective Date. Thereafter, subject to Article
IV.D and Article X.J, Reorganized BSA shall have the exclusive right, authority, and discretion
to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
withdraw, or litigate to judgment any such Causes of Action, whether arising before or after the
Petition Date, and to decline to do any of the foregoing without the consent or approval of any
third party or further notice to or action, order, or approval of the Bankruptcy Court. No Person
may rely on the absence of a specific reference in the Plan or the Disclosure Statement to any
specific Cause of Action as any indication that the Debtors or Reorganized BSA, as applicable,
will not pursue any and all available Causes of Action. The Debtors or Reorganized BSA, as
applicable, expressly reserve all rights to prosecute any and all Causes of Action against any
Person, except as otherwise expressly provided in the Plan, and, therefore, no preclusion
doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable or otherwise) or laches, shall apply to any Cause of
Action upon, after, or as a consequence of Confirmation or the occurrence of the Effective Date.

        C.     Binding Effect. As of the Effective Date, all provisions of the Plan, including all
agreements, instruments and other documents entered into in connection with the Plan by the
Debtors or Reorganized BSA, the Settlement Trust, or the Protected Parties, shall be binding
upon the Debtors, the Estates, Reorganized BSA, all holders of Claims against and Interests in
the Debtors, each such holder’s respective successors and assigns, and all other Persons that are
affected in any manner by the Plan, regardless of whether the Claim or Interest of such holder is
Impaired under the Plan or whether such holder has accepted the Plan. Except as otherwise
expressly provided in the Plan, all agreements, instruments and other documents filed in
connection with the Plan shall be given full force and effect and shall bind all Persons referred to


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therein on and after the Effective Date, whether or not such agreements are actually issued,
delivered or recorded on or after the Effective Date and whether or not such Persons have
actually executed such agreement.

        D.      Pre-Confirmation Injunctions and Stays. All injunctions and stays arising under
or entered during the Chapter 11 Cases, whether under sections 105 or 362 of the Bankruptcy
Code or otherwise, and in existence on the Confirmation Date, shall remain in full force and
effect until the later of the Effective Date and the date indicated in the order providing for such
injunction or stay, if any. The injunctions and stays referenced in this Article X.D includes the
preliminary injunction imposed by the Consent Order Pursuant to 11 U.S.C. §§ 105(a) and 362
Granting the BSA’s Motion for a Preliminary Injunction entered by the Bankruptcy Court on
March 30, 2020 (Adv. Pro. No. 20-50527, Docket No. 54), as extended by the Bankruptcy Court
from time to time.

       E.      Discharge.

               1.       Discharge of the Debtors. Except as expressly provided in the Plan or the
       Confirmation Order, the treatment of Claims under the Plan shall be in exchange for, and
       in complete satisfaction, settlement, discharge, termination and release of, all Claims and
       Interests of any nature whatsoever against or in the Debtors or any of their assets or
       properties based upon any act, omission, transaction, occurrence, or other activity of any
       nature that occurred prior to the Effective Date, and, as of the Effective Date, each of the
       Debtors shall be deemed discharged and released, and each holder of a Claim or Interest
       and any successor, assign, and affiliate of such holder shall be deemed to have forever
       waived, discharged and released each of the Debtors, to the fullest extent permitted by
       section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests, rights
       and liabilities, and all debts of the kind specified in section 502 of the Bankruptcy Code,
       based upon any act, omission, transaction, occurrence, or other activity of any nature that
       occurred prior to the Effective Date, in each case whether or not (a) a Proof of Claim
       based upon such debt is filed or deemed filed under section 501 of the Bankruptcy Code,
       (b) a Claim based upon such debt is Allowed under section 502 of the Bankruptcy Code,
       (c) a Claim based upon such debt is or has been Disallowed by order of the Bankruptcy
       Court, or (d) the holder of a Claim based upon such debt is deemed to have accepted the
       Plan. Notwithstanding the foregoing, nothing in this Article X.E shall be construed to
       modify, reduce, impair or otherwise affect the ability of any holder of an Allowed Non-
       Abuse Litigation Claim to recover on account of such Allowed Claim in accordance with
       Article III.B.9 and Article IV.D.3.

               2.     Discharge Injunction. From and after the Effective Date, except as
       expressly provided in the Plan or the Confirmation Order, all holders of Claims or
       Interests of any nature whatsoever against or in the Debtors or any of their assets or
       properties based upon any act, omission, transaction, occurrence, or other activity of any
       nature that occurred prior to the Effective Date that are discharged pursuant to the terms
       of the Plan shall be precluded and permanently enjoined from taking any of the following
       actions on account of, or on the basis of, such discharged Claims and Interests:
       (a) commencing or continuing any action or other proceeding of any kind against the
       Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property;


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(b) enforcing, attaching, collecting, or recovering by any manner or means of judgment,
award, decree or other against the Debtors, Reorganized BSA, the Settlement Trust, or its
or their respective property; (c) creating, perfecting or enforcing any Lien or
Encumbrance of any kind against the Debtors, Reorganized BSA, the Settlement Trust, or
its or their respective property; or (d) commencing or continuing any judicial or
administrative proceeding, in any forum and in any place in the world, that does not
comply with or is inconsistent with the provisions of the Plan or the Confirmation Order.
The foregoing injunction shall extend to the successors and assigns of the Debtors
(including Reorganized BSA) and its and their respective properties and interests in
property. In accordance with the foregoing, except as expressly provided in the Plan or
the Confirmation Order, the Confirmation Order shall be a judicial determination of
discharge or termination of all Claims, Interests and other debts and liabilities against or
in the Debtors pursuant to sections 105, 524 and 1141 of the Bankruptcy Code, and such
discharge shall void any judgment obtained against the Debtors at any time to the extent
such judgment relates to a discharged Claim or Interest.

F.      Channeling Injunction.

        1.     Terms. To preserve and promote the settlements contemplated by
and provided for in the Plan, including the Abuse Claims Settlement, the Hartford
Insurance Settlement, and the TCJC Settlement, and to supplement, where
necessary, the injunctive effect of the Discharge as provided in sections 1141 and 524
of the Bankruptcy Code and as described in this Article X, pursuant to the exercise
of the equitable jurisdiction and power of the Bankruptcy Court and the District
Court under section 105(a) of the Bankruptcy Code, (a) the sole recourse of any
holder of an Abuse Claim against a Protected Party on account of such Abuse Claim
shall be to and against the Settlement Trust pursuant to the Settlement Trust
Documents, and such holder shall have no right whatsoever at any time to assert
such Abuse Claim against any Protected Party or any property or interest in
property of any Protected Party, and (b) the sole recourse of any holder of a Post-
1975 Chartered Organization Abuse Claim against a Limited Protected Party on
account of such Post-1975 Chartered Organization Abuse Claim shall be to and
against the Settlement Trust pursuant to the Settlement Trust Documents, and such
holder shall have no right whatsoever at any time to assert such Post-1975
Chartered Organization Abuse Claim against any Limited Protected Party or any
property or interest in property of any Limited Protected Party. On and after the
Effective Date, all Persons that have held or asserted, currently hold or assert, or
that may in the future hold or assert, any Abuse Claim against the Protected
Parties, or any of them, or any Post-1975 Chartered Organization Abuse Claim
against the Limited Protected Parties, or any of them, shall be permanently and
forever stayed, restrained and enjoined from taking any action for the purpose of
directly, indirectly, or derivatively collecting, recovering, or receiving payment,
satisfaction, or recovery from any Protected Party with respect to any such Abuse
Claim or from any Limited Protected Party with respect to any such Post-1975
Chartered Organization Abuse Claim, other than from the Settlement Trust
pursuant to the Settlement Trust Documents, including:



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             a.      commencing, conducting, or continuing, in any manner,
      whether directly, indirectly, or derivatively, any suit, action, or other
      proceeding of any kind (including a judicial, arbitration, administrative, or
      other proceeding) in any forum in any jurisdiction around the world against
      or affecting any Protected Party or Limited Protected Party or any property
      or interest in property of any Protected Party or Limited Protected Party;

             b.      enforcing, levying, attaching (including any prejudgment
      attachment), collecting or otherwise recovering, by any manner or means,
      either directly or indirectly, any judgment, award, decree, or order against
      or affecting any Protected Party or Limited Protected Party or any property
      or interest in property of any Protected Party or Limited Protected Party;

             c.     creating, perfecting, or otherwise enforcing in any manner,
      whether directly or indirectly, any Encumbrance of any kind against any
      Protected Party or Limited Protected Party or any property or interest in
      property of any Protected Party or Limited Protected Party;

             d.     asserting, implementing or effectuating any setoff, right of
      reimbursement, subrogation, indemnity, contribution, reimbursement, or
      recoupment of any kind, in any manner, directly or indirectly, against any
      obligation due to any Protected Party or Limited Protected Party or any
      property or interest in property of any Protected Party or Limited Protected
      Party; or

              e.     taking any act in any manner, and in any place whatsoever,
      that does not conform to, or comply with, the provisions of the Plan
      Documents or the Settlement Trust Documents or with regard to any matter
      that is within the scope of the matters designated by the Plan to be subject to
      resolution by the Settlement Trust, except in conformity and compliance with
      the Settlement Trust Documents with respect to any such Abuse Claim or
      Post-1975 Chartered Organization Abuse Claim.

       2.      Reservations. Notwithstanding anything to the contrary in this
Article X.F, the Channeling Injunction shall not enjoin:

             a.     the rights of holders of Abuse Claims or Post-1975 Chartered
      Organization Abuse Claims to assert such Abuse Claims solely against the
      Settlement Trust in accordance with the Trust Distribution Procedures,
      including the ability to pursue the Settlement Trust in the tort system as
      described in Article XII of the Trust Distribution Procedures;

            b.     the rights of holders of Abuse Claims to assert such Abuse
      Claims against anyone other than a Protected Party or, in the case of Post-
      1975 Chartered Organization Abuse Claims, against anyone other than a
      Limited Protected Party;




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              c.     prior to the date that an Entity (other than an Insurance
        Company) becomes a Protected Party under Article IV.I, the right of holders
        of Abuse Claims to assert such Abuse Claims against such Entity;

              d.     prior to the date that a Chartered Organization becomes a
        Limited Protected Party under Article IV.J, the right of holders of Post-1975
        Chartered Organization Abuse Claims to assert such Abuse Claims against
        such Entity;

               e.    the rights of holders of Abuse Claims that are not Post-1975
        Chartered Organization Abuse Claims to assert such Abuse Claims against
        any Limited Protected Party (unless such Limited Protected Party becomes a
        Protected Party under Article IV.I);

                f.    the right of any Person to assert any Claim, debt, obligation or
        liability for payment of Settlement Trust Expenses solely against the
        Settlement Trust in accordance with the Settlement Trust Documents;

               g.     the Settlement Trust from enforcing its rights under the Plan
        and the Settlement Trust Documents; or

               h.    the rights of the Settlement Trust to prosecute any action
        against any Non-Settling Insurance Company based on or arising from
        Abuse Insurance Policies that are not the subject of an Insurance Settlement
        Agreement, subject to any Insurance Coverage Defenses.

G.      Provisions Relating to Channeling Injunction.

       1.      Modifications. Subject to post-Effective Date settlements between the
Settlement Trustee and Chartered Organizations or Insurance Companies under the
applicable provisions of Article IV, there can be no modification, dissolution, or
termination of the Channeling Injunction, which shall be a permanent injunction.

        2.      Non-Limitation. Nothing in the Plan or the Settlement Trust Documents
shall or shall be construed in any way to limit the scope, enforceability, or effectiveness
of the Channeling Injunction or the Settlement Trust’s assumption of all liability with
respect to Abuse Claims.

       3.      Bankruptcy Rule 3016 Compliance. The Debtors’ compliance with the
requirements of Bankruptcy Rule 3016 shall not constitute or be deemed to constitute an
admission that the Plan provides for an injunction against conduct not otherwise enjoined
under the Bankruptcy Code.

        4.     Enforcement. Any Protected Party or Limited Protected Party may
enforce the Channeling Injunction as a defense to any Claim brought against such
Protected Party or Limited Protected Party that is enjoined under the Plan as to such
Protected Party or Limited Protected Party and may seek to enforce such injunction in a
court of competent jurisdiction.


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        5.      Contribution Claims. If a Non-Settling Insurance Company asserts that it
has rights, whether legal, equitable, contractual, or otherwise, of contribution, indemnity,
reimbursement, subrogation or other similar claims directly or indirectly arising out of or
in any way relating to such Non-Settling Insurance Company’s payment of loss on behalf
of one or more of the Debtors in connection with any Abuse Claim against a Settling
Insurance Company (collectively, “Contribution Claims”), (a) such Contribution Claims
may be asserted as a defense or counterclaim against the Settlement Trust in any
Insurance Action involving such Non-Settling Insurance Company, and the Settlement
Trust may assert the legal or equitable rights (if any) of the Settling Insurance Company,
and (b) to the extent such Contribution Claims are determined to be valid, the liability (if
any) of such Non-Settling Insurance Company to the Settlement Trust shall be reduced
by the amount of such Contribution Claims.

       6.      No Duplicative Recovery. In no event shall any holder of an Abuse Claim
or a Post-1975 Chartered Organization Abuse Claim be entitled to receive any duplicative
payment, reimbursement, or restitution from any Protected Party or Limited Protected
Party under any theory of liability for the same loss, damage, or other Claim that is
reimbursed by the Settlement Trust or is otherwise based on the same events, facts,
matters, or circumstances that gave rise to the applicable Abuse Claim or Post-1975
Chartered Organization Abuse Claim.

       7.       District Court Approval. The Debtors shall seek entry of the Affirmation
Order, which shall approve (a) the Channeling Injunction and the Settlement Trust’s
assumption of all liability with respect to Abuse Claims and (b) the releases by holders of
Abuse Claims for the benefit of the Protected Parties and the Limited Protected Parties,
each as set forth in this Article X.

H.      Insurance Entity Injunction.

        1.    Purpose.    To facilitate the Insurance Assignment, protect the
Settlement Trust, and preserve the Settlement Trust Assets, pursuant to the
equitable jurisdiction and power of the Bankruptcy Court and the District Court
under section 105(a) of the Bankruptcy Code, the Bankruptcy Court shall issue the
injunction set forth in this Article X.H (the “Insurance Entity Injunction”);
provided, however, that the Insurance Entity Injunction is not issued for the benefit
of any Insurance Company, and no Insurance Company is a third-party beneficiary
of the Insurance Entity Injunction, except as otherwise specifically provided in any
Insurance Settlement Agreement.

       2.     Terms Regarding Claims against Insurance Companies. Subject to
the terms of Article X.E and Article X.F, and except for any Chartered
Organization that is not a Participating Chartered Organization or a Contributing
Chartered Organization, all Persons that have held or asserted, that hold or assert,
or that may in the future hold or assert any claim or cause of action (including any
Abuse Claim or any claim for or respecting any Settlement Trust Expense) against
any Insurance Company based upon, attributable to, arising out of, or in any way
connected with any Abuse Insurance Policy, whenever and wherever arising or


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       asserted, whether in the United States of America or anywhere else in the world,
       whether sounding in tort, contract, warranty, or any other theory of law, equity, or
       admiralty, shall be stayed, restrained, and enjoined from taking any action for the
       purpose of directly or indirectly collecting, recovering, or receiving payments,
       satisfaction, or recovery with respect to any such claim or cause of action, including:

                     a.     commencing, conducting, or continuing, in any manner,
              directly or indirectly, any suit, action, or other proceeding of any kind
              (including a judicial, arbitration, administrative, or other proceeding) in any
              forum with respect to any such claim, demand, or cause of action against any
              Insurance Company, or against the property of any Insurance Company,
              with respect to any such claim, demand, or cause of action (including, for the
              avoidance of doubt, directly pursuing any suit, action or other proceeding
              with respect to any such claim, demand, or cause of action against any
              Insurance Company);

                     b.     enforcing, levying, attaching, collecting, or otherwise
              recovering, by any means or in any manner, whether directly or indirectly,
              any judgment, award, decree, or other order against any Insurance
              Company, or against the property of any Insurance Company, with respect
              to any such claim or cause of action;

                      c.     creating, perfecting, or enforcing in any manner, directly or
              indirectly, any Lien or Encumbrance against any Insurance Company, or the
              property of any Insurance Company, with respect to any such claim or cause
              of action; and

                     d.     except as otherwise specifically provided in the Plan, asserting
              or accomplishing any setoff, right of subrogation, indemnity, contribution, or
              recoupment of any kind, directly or indirectly, against any obligation of any
              Insurance Company, or against the property of any Insurance Company,
              with respect to any such claim or cause of action;

provided, however, that: (i) the injunction set forth in this Article X.H shall not impair in
any way any (a) actions brought by the Settlement Trust against any Non-Settling
Insurance Company, (b) actions brought by Local Councils in connection with any Local
Council Reserved Rights, (c) actions brought by holders of Non-Abuse Litigation Claims
consistent with Article IV.D.3, (d) the rights, if any, of any Chartered Organization that is
not a Participating Chartered Organization under any Chartered Organization Reserved
Policy, or (e) the rights of any co-insured of the Debtors (x) under any Non-Abuse
Insurance Policy and (y) as specified under any Final Order of the Bankruptcy Court
approving an Insurance Settlement Agreement; and (ii) the Settlement Trust shall have the
sole and exclusive authority at any time to terminate, or reduce or limit the scope of, the
injunction set forth in this Article X.H with respect to any Non-Settling Insurance
Company, in accordance with the Settlement Trust Documents, upon express written
notice to such Non-Settling Insurance Company, except that the Settlement Trust shall not
have any authority to terminate, reduce or limit the scope of the injunction herein with


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respect to any Settling Insurance Company so long as, but only to the extent that, such
Settling Insurance Company complies fully with its obligations under any applicable
Insurance Settlement Agreement.

             3.     Reservations. Notwithstanding anything to the contrary in this
      Article X.H, the Insurance Entity Injunction shall not enjoin:

                      a.    the rights of any Person to the treatment accorded them under
              the Plan, as applicable, including the rights of holders of Abuse Claims to
              assert such Claims, as applicable, in accordance with the Trust Distribution
              Procedures, and the rights of holders of Non-Abuse Litigation Claims to
              assert such Claims, as applicable in accordance with Article IV.D.3;

                     b.     the rights of any Person to assert any claim, debt, obligation,
              cause of action or liability for payment of Settlement Trust Expenses against
              the Settlement Trust;

                     c.      the rights of the Settlement Trust to prosecute any action based
              on or arising from Abuse Insurance Policies;

                    d.     the rights of any Person to assert or prosecute (i) an Abuse
              Claim against any Entity other than a Protected Party, or (ii) a Post-1975
              Chartered Organization Abuse Claim against any Entity other than a
              Limited Protected Party;

                     e.     the rights of the Settlement Trust to assert any claim, debt,
              obligation, cause of action or liability for payment against an Insurance
              Company based on or arising from the Abuse Insurance Policies; or

                     f.     the rights of any Insurance Company to assert any claim, debt,
              obligation, cause of action or liability for payment against any Non-Settling
              Insurance Company.

       I.      Injunction against Interference with Plan. Upon entry of the Confirmation
Order, all holders of Claims and Interests shall be precluded and enjoined from taking any
actions to interfere with the implementation and consummation of the Plan.

      J.      Releases.

              1.     Releases by the Debtors and the Estates.

                     a.     Releases by the Debtors and the Estates of the Released
              Parties. As of the Effective Date, except for the rights that remain in effect
              from and after the Effective Date to enforce the Plan and the Confirmation
              Order, pursuant to section 1123(b) of the Bankruptcy Code, for good and
              valuable consideration, the adequacy of which is hereby confirmed, including
              the service of the Released Parties to facilitate and implement the
              reorganization of the Debtors and the settlements embodied in the Plan,


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   including the Abuse Claims Settlement, the JPM / Creditors’ Committee
   Settlement, the Hartford Insurance Settlement, and the TCJC Settlement, as
   an integral component of the Plan, the Debtors, Reorganized BSA, and the
   Estates shall, and shall be deemed to, expressly, conclusively, absolutely,
   unconditionally, irrevocably, and forever release and discharge each and all
   of the Released Parties of and from any and all Estate Causes of Action that
   do not constitute Settlement Trust Causes of Action, any and all other
   Claims, Interests, obligations, rights, demands, suits, judgments, damages,
   debts, remedies, losses and liabilities of any nature whatsoever (including any
   derivative claims or Causes of Action asserted or that may be asserted on
   behalf of the Debtors, Reorganized BSA, or the Estates), whether liquidated
   or unliquidated, fixed or contingent, matured or unmatured, known or
   unknown, foreseen or unforeseen, existing or hereinafter arising, in law,
   equity, contract, tort or otherwise, based on or relating to, or in any manner
   arising from, in whole or in part, any act, omission, transaction, event, or
   other circumstance taking place or existing on or before the Effective Date
   (including before the Petition Date) in connection with or related to the
   Debtors, the Estates, their respective assets and properties, the Chapter 11
   Cases, the subject matter of, or the transactions or events giving rise to, any
   Claim or Interest that is treated by the Plan, the business or contractual
   arrangements between one or both of the Debtors and any Released Party,
   the restructuring of any Claim or Interest that is treated by the Plan before
   or during the Chapter 11 Cases, any of the Plan Documents, the JPM /
   Creditors’ Committee Settlement, the Hartford Insurance Settlement, the
   TCJC Settlement, or any related agreements, instruments, and other
   documents created or entered into before or during the Chapter 11 Cases or
   the negotiation, formulation, preparation or implementation thereof, the
   pursuit of Confirmation, the administration and implementation of the Plan,
   the solicitation of votes with respect to the Plan, the Distribution of property
   under the Plan, or any other act or omission, transaction, agreement, event,
   or other occurrence taking place on or before the Effective Date related or
   relating to the foregoing. Notwithstanding anything to the contrary in the
   foregoing, the releases set forth in this Article X.J.1 shall not, and shall not be
   construed to: (a) release any Released Party from Causes of Action arising
   out of, or related to, any act or omission of a Released Party that is a criminal
   act or that constitutes fraud, gross negligence or willful misconduct; or
   (b) release any post-Effective Date obligations of any Person under the Plan
   Documents or any document, instrument, or agreement executed to
   implement the Plan.

           b.    Releases by the Debtors and the Estates of Certain Avoidance
   Actions. As of the Effective Date, for good and valuable consideration, the
   adequacy of which is hereby confirmed, including the service of Creditors’
   Committee and its members in their respective capacities as such in
   facilitating and implementing the reorganization of the Debtors, as an
   integral component of the Plan, the Debtors, Reorganized BSA, and the
   Estates shall, and shall be deemed to, expressly, conclusively, absolutely,


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       unconditionally, irrevocably, and forever release and discharge each and all
       holders of General Unsecured Claims, Non-Abuse Litigation Claims, and
       Convenience Claims of and from any and all Avoidance Actions.

        2.      Releases by the Debtors and the Estates of the Local Councils, the
Contributing Chartered Organizations, and the Participating Chartered
Organizations. In furtherance of the Abuse Claims Settlement, on the Effective
Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, the Debtors, on their own behalf and as representatives of their
respective Estates, and Reorganized BSA, are deemed to irrevocably and
unconditionally, fully, finally, and forever waive, release, acquit, and discharge each
and all of the Local Councils, the Contributing Chartered Organizations and the
Participating Chartered Organizations of and from any and all claims, causes of
action, suits, costs, debts, liabilities, obligations, dues, sums of money, accounts,
reckonings, bonds, bills, covenants, contracts, controversies, agreements, promises,
damages, judgments, executions and demands whatsoever, of whatever kind or
nature (including those arising under the Bankruptcy Code), whether known or
unknown, suspected or unsuspected, in law or in equity, which the Debtors, their
Estates, or Reorganized BSA have, had, may have, or may claim to have: (a) against
any of the Local Councils and Contributing Chartered Organizations with respect
to any Abuse Claims and (b) against any of the Participating Chartered
Organizations with respect to any Post-1975 Chartered Organization Abuse Claims
(collectively, the “Scouting Released Claims”).

        3.     Releases by Holders of Abuse Claims. As of the Effective Date, except
for the rights that remain in effect from and after the Effective Date to enforce the
Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy
Code, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Protected Parties and the Limited Protected
Parties to facilitate and implement the reorganization of the Debtors, including the
settlements embodied in the Plan, including the Abuse Claims Settlement, as an
integral component of the Plan, and except as otherwise expressly provided in the
Plan or the Confirmation Order, to the maximum extent permitted under applicable
law, as such law may be extended subsequent to the Effective Date, all holders of
Abuse Claims shall, and shall be deemed to, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever discharge and release: (a) each and all of
the Protected Parties and their respective property and successors and assigns of
and from all Abuse Claims and any and all Claims and Causes of Action
whatsoever, whether known or unknown, asserted or unasserted, derivative or
direct, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, whether for tort, fraud, contract, veil piercing or alter-ego theories of
liability, successor liability, contribution, indemnification, joint liability, or
otherwise, arising from or related in any way to such Abuse Claims; and (b) each
and all of the Limited Protected Parties and their respective property and
successors and assigns of and from all Post-1975 Chartered Organization Abuse
Claims and any and all Claims and Causes of Action whatsoever, whether known or
unknown, asserted or unasserted, derivative or direct, foreseen or unforeseen,


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existing or hereinafter arising, in law, equity, or otherwise, whether for tort, fraud,
contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in
any way to such Post-1975 Chartered Organization Abuse Claims; provided,
however, that the releases set forth in this Article X.J.3 shall not, and shall not be
construed to: (i) release any Protected Party or Limited Protected Party from
Causes of Action arising out of, or related to, any act or omission of a Released
Party that is a criminal act or that constitutes fraud, gross negligence or willful
misconduct; (ii) release any post-Effective Date obligations of any Person under the
Plan Documents or any document, instrument, or agreement executed to implement
the Plan; or (iii) modify, reduce, impair or otherwise affect the ability of any holder
of an Abuse Claim to recover on account of such Claim in accordance with Article
III.B.10 or Article III.B.11, as applicable.

       4.      Releases by Holders of Claims. As of the Effective Date, except for
the rights that remain in effect from and after the Effective Date to enforce the Plan
and the Confirmation Order, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Released Parties to facilitate
and implement the reorganization of the Debtors and the settlements embodied in
the Plan, including the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation
Order, to the maximum extent permitted under applicable law, as such law may be
extended subsequent to the Effective Date, all Releasing Claim Holders shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever release and discharge each and all of the Released Parties of and from
any and all Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever (including
any derivative claims or Causes of Action asserted or that may be asserted on behalf
of the Debtors, Reorganized BSA, or the Estates), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract, tort
or otherwise, based on or relating to, or in any manner arising from, in whole or in
part, any act, omission, transaction, event, or other circumstance taking place or
existing on or before the Effective Date (including before the Petition Date) in
connection with or related to the Debtors, the Estates, their respective assets and
properties, the Chapter 11 Cases, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated by the Plan, the business or
contractual arrangements between one or both of the Debtors and any Released
Party, the restructuring of any Claim or Interest that is treated by the Plan before
or during the Chapter 11 Cases, any of the Plan Documents, the JPM / Creditors’
Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement, or
any related agreements, instruments, and other documents created or entered into
before or during the Chapter 11 Cases or the negotiation, formulation, preparation
or implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the
Distribution of property under the Plan, or any other act or omission, transaction,


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agreement, event, or other occurrence taking place on or before the Effective Date
related or relating to the foregoing; provided, however, that the releases set forth in
this Article X.J.4 shall not, and shall not be construed to: (a) release any Released
Party from Causes of Action arising out of, or related to, any act or omission of a
Released Party that is a criminal act or that constitutes fraud, gross negligence or
willful misconduct; (b) release any post-Effective Date obligations of any Person
under the Plan Documents or any document, instrument, or agreement executed to
implement the Plan; or (c) modify, reduce, impair or otherwise affect the ability of
any holder of an Allowed Non-Abuse Litigation Claim to recover on account of such
Allowed Claim in accordance with Article III.B.9. Notwithstanding the foregoing or
anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or
the release set forth in Article X.J.4 shall, or shall be construed to, release any
claims or Causes of Action against any Local Council, Chartered Organization, or
Non-Settling Insurance Company (subject to Article IV.D.3) and (ii) nothing in the
Plan or the release set forth in Article X.J.4 shall, or shall be construed to, release
any claims or Causes of Action asserted by Century Indemnity Company against
Sidley Austin LLP (“Sidley”) related to Sidley’s representation of the Debtors prior
to the Petition Date.

       5.     Releases Relating to Contributing Chartered Organizations.

              a.      In furtherance of the Abuse Claims Settlement, as of the date
       that the Confirmation Order and Affirmation Order become Final Orders,
       except for the rights that remain in effect from and after the Effective Date to
       enforce the Plan, the Confirmation Order, and the terms of the TCJC
       Settlement Agreement, for good and valuable consideration, the adequacy of
       which is hereby confirmed, each of the Contributing Chartered
       Organizations, including TCJC, shall, and shall be deemed to, expressly,
       conclusively, absolutely, unconditionally, irrevocably, and forever release
       and discharge the Debtors, Reorganized BSA, the Related Non-Debtor
       Entities, the Local Councils, the other Protected Parties, the Limited
       Protected Parties, the Settling Insurance Companies, including Hartford, the
       Future Claimants’ Representative, the Coalition, the Settlement Trust, and
       each of its and their respective Representatives (collectively, the “Settlement
       Parties”), of and from any and all Claims, Interests, obligations, rights,
       demands, suits, judgments, damages, debts, remedies, losses and liabilities of
       any nature whatsoever (including any derivative claims or Causes of Action
       asserted or that may be asserted on behalf of the Debtors, Reorganized BSA,
       or the Estates), whether liquidated or unliquidated, fixed or contingent,
       matured or unmatured, known or unknown, foreseen or unforeseen, existing
       or hereinafter arising, in law, equity, contract, tort or otherwise, based on or
       relating to, or in any manner arising from, in whole or in part, any act,
       omission, transaction, event, or other circumstance taking place or existing
       on or before the date that the Confirmation Order and Affirmation Order
       become Final Orders (including before the Petition Date) in connection with
       or related to (i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or (iv)


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              any Claims that were or could have been asserted by the Contributing
              Chartered Organizations against the Settlement Parties or any of them.

                       b.    In furtherance of the Abuse Claims Settlement, as of the date
              that the Confirmation Order and Affirmation Order become Final Orders,
              except for the rights that remain in effect from and after the Effective Date to
              enforce the Plan, the Confirmation Order, and the terms of the TCJC
              Settlement Agreement, for good and valuable consideration, the adequacy of
              which is hereby confirmed, each of the Settlement Parties shall, and shall be
              deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably,
              and forever release and discharge each of the Contributing Chartered
              Organizations, including TCJC, of and from any and all Claims, Interests,
              obligations, rights, demands, suits, judgments, damages, debts, remedies,
              losses and liabilities of any nature whatsoever, whether liquidated or
              unliquidated, fixed or contingent, matured or unmatured, known or
              unknown, foreseen or unforeseen, existing or hereinafter arising, in law,
              equity, contract, tort or otherwise, based on or relating to, or in any manner
              arising from, in whole or in part, any act, omission, transaction, event, or
              other circumstance taking place or existing on or before the date that the
              Confirmation Order and Affirmation Order become Final Orders (including
              before the Petition Date) in connection with or related to (i) Abuse Claims,
              (ii) the Chapter 11 Cases, (iii) the Plan, or (iv) any Claims that were or could
              have been asserted by the Settlement Parties against the Contributing
              Chartered Organizations or any of them.

       K.     Exculpation. From and after the Effective Date, none of the Exculpated
Parties shall have or incur any liability to, or be subject to any right of action by, any
Person for any act, omission, transaction, event, or other circumstance occurring on or
before the Effective Date in connection with, relating to or arising out of the Chapter 11
Cases, the negotiation of the Plan Documents, the JPM / Creditors’ Committee Settlement,
the Hartford Insurance Settlement Agreement, the TCJC Settlement Agreement, the
Releases and Injunctions, the pursuit of Confirmation of the Plan, the administration,
consummation and implementation of the Plan or the property to be Distributed under the
Plan, or the management or operation of the Debtors (except for any liability that results
primarily from such Exculpated Party’s gross negligence, bad faith or willful misconduct).
In all respects, each and all such Exculpated Parties shall be entitled to rely upon the
advice of counsel with respect to their duties and responsibilities under, or in connection
with, the matters referenced in the preceding sentence. Notwithstanding the foregoing or
any provision of the Plan to the contrary, Sidley shall not be an Exculpated Party with
respect to any claims that Century Indemnity Company asserts against Sidley related to
Sidley’s representation of the Debtors prior to the Petition Date.

      L.      Injunctions Related to Releases and Exculpation.

             1.     Injunction Related to Releases. As of the Effective Date, all holders of
      Claims that are the subject of Article X.J are, and shall be, expressly, conclusively,
      absolutely, unconditionally, irrevocably, and forever stayed, restrained, prohibited,


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barred and enjoined from taking any of the following actions against any Released
Party or its property or successors or assigns on account of or based on the subject
matter of such Claims, whether directly or indirectly, derivatively or otherwise:
(a) commencing, conducting or continuing in any manner, directly or indirectly, any
suit, action or other proceeding (including any judicial, arbitral, administrative or
other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any Lien or Encumbrance; and/or (d)
setting off, seeking reimbursement or contributions from, or subrogation against, or
otherwise recouping in any manner, directly or indirectly, any amount against any
liability or obligation that is discharged under Article X.E or released under Article
X.J; provided, however, that the injunctions set forth in this Article X.L.1 shall not,
and shall not be construed to, enjoin any holder of a Claim that is the subject of
Article X.J from taking any action arising out of, or related to, any act or omission
of a Released Party that is a criminal act or that constitutes fraud, gross negligence
or willful misconduct.

       2.     Injunction Related to Exculpation. As of the Effective Date, all
holders of Claims that are the subject of Article X.K are, and shall be, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever stayed,
restrained, prohibited, barred and enjoined from taking any of the following actions
against any Exculpated Party on account of or based on the subject matter of such
Claims, whether directly or indirectly, derivatively or otherwise: (a) commencing,
conducting or continuing in any manner, directly or indirectly, any suit, action or
other proceeding (including any judicial, arbitral, administrative or other
proceeding) in any forum; (b) enforcing, attaching (including any prejudgment
attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any
matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off,
seeking reimbursement or contributions from, or subrogation against, or otherwise
recouping in any manner, directly or indirectly, any amount against any liability or
obligation that is discharged under Article X.E or released under Article X.J;
provided, however, that the injunctions set forth in this Article X.L.2 shall not, and
shall not be construed to, enjoin any Person that is the subject of Article X.K from
taking any action arising out of, or related to, any act or omission of a Exculpated
Party that is a criminal act or that constitutes fraud, gross negligence or willful
misconduct.

M.      Insurance Provisions.

       1.      Except for the Insurance Assignment, or as otherwise provided in the
Bankruptcy Code, applicable law, the findings made by the Bankruptcy Court in the
Confirmation Order, or the findings made by the District Court in the Affirmation Order,
nothing in the Plan shall modify, amend, or supplement, or be interpreted as modifying,
amending, or supplementing, the terms of any Insurance Policy or rights or obligations
under an Insurance Policy to the extent such rights and obligations are otherwise


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available under applicable law, and the rights and obligations, if any, of any Non-Settling
Insurance Company relating to or arising out of the Plan Documents, including the Plan,
the Confirmation Order, and the Affirmation Order, or any provision thereof, shall be
determined pursuant to the terms and provisions of the Insurance Policies and applicable
law.

        2.     No provision of the Plan, other than those provisions contained in the
applicable Injunctions contained in Article X of the Plan, shall be interpreted to affect or
limit the protections afforded to any Settling Insurance Company by the Channeling
Injunction.

        3.     Nothing in this Article X.M is intended or shall be construed to preclude
otherwise applicable principles of res judicata or collateral estoppel from being applied
against any Person.

N.      Judgment Reduction.

        1.     Without limiting the Discharges, Releases and Injunctions set forth above,
if any Person, including a holder of an Abuse Claim (“Plaintiff”), asserts a Cause of
Action against any other Person arising from or relating to Abuse that is the subject of a
proof of claim filed against the Debtors in the Chapter 11 Cases, regardless of whether
such Cause of Action may be asserted pursuant to the Bankruptcy Code or is in the nature
of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever
(each such Cause of Action, an “Abuse Cause of Action”), and such Abuse Cause of
Action results in a determination by the court or tribunal hearing the Abuse Cause of
Action (including by a jury empaneled by such court or tribunal) that any Person who is
not a Protected Party or a Limited Protected Party (each, a “Specified Person”) is liable in
damages to Plaintiff, then, prior to final entry of any judgment, order or arbitration award
(“Judgment”) in such Abuse Cause of Action, Plaintiff shall provide notice and a copy of
Confirmation Order to the Trial Court. Such court or tribunal shall determine whether
the Abuse Cause of Action gives rise to any Cause of Action on which any Protected
Party or Limited Protected Party would have been liable to the Specified Person in the
absence of the Plan and Confirmation Order. The court or tribunal shall reduce any
Judgment against a Specified Person by an amount equal to the “Judgment Reduction
Amount,” which shall equal the greatest amount such Specified Person would be entitled,
under applicable non-bankruptcy law, to set off or credit against the Judgment if such
Specified Person were not entitled to the benefits of the Discharges, Releases, or
Injunctions set forth herein. For the avoidance of doubt, a Limited Protected Party may
be a Specified Person entitled to the judgment reduction provided for in this Article X.N
with respect to an Abuse Cause of Action arising from or relating to Abuse that is not the
subject of a Post-1975 Chartered Organization Abuse Claim.

       2.     Nothing herein shall prejudice or operate to preclude the right of any
Specified Person to (a) provide notice of the Confirmation Order to any court or tribunal
hearing an Abuse Cause of Action, (b) raise any issues, claims or defenses regarding the
Judgment Reduction Amount, including the contractual liability and/or relative or
comparative fault of any Person, including any Protected Party or Limited Protected


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       Party, in any court or tribunal hearing any Abuse Cause of Action in accordance with
       applicable law or procedure, or (c) take discovery of Protected Parties or Limited
       Protected Parties in accordance with applicable law or procedure; provided, however, that
       nothing herein shall in any way modify or affect the Discharges, Releases or Injunctions.
       For the avoidance of doubt, nothing herein shall (i) be deemed to entitle a Plaintiff to
       more than a single satisfaction with respect to any Abuse Cause of Action or
       (ii) prejudice or operate to preclude the rights of any Specified Person to assert any
       claims or causes of action that have not been discharged, released, or enjoined under the
       Plan or Confirmation Order.

               3.     Each Plaintiff is hereby enjoined and restrained from seeking relief or
       collecting judgments against any Specified Person in a manner that fails to conform to the
       terms of this Article X.N.

               4.     If any Plaintiff enters into a settlement with any Person with respect to one
       or more causes of action based upon, arising from, or related to the Abuse Causes of
       Action, then such Plaintiff shall cause to be included, and in all events, the settlement
       shall be deemed to include, a dismissal, release and waiver of any Abuse Cause of Action
       with respect to such settlement.

        O.     Reservation of Rights. Notwithstanding any other provision of the Plan to the
contrary, no provision of this Article X shall be deemed or construed to satisfy, discharge,
release or enjoin claims by the Settlement Trust, Reorganized BSA, or any other Person, as the
case may be, against (1) the Settlement Trust for payment of Abuse Claims in accordance with
the Trust Distribution Procedures, (2) the Settlement Trust for the payment of Settlement Trust
Expenses, or (3) any Insurance Company that has not performed under an Insurance Policy or an
Insurance Settlement Agreement.

       P.      Disallowed Claims. On and after the Effective Date, the Debtors and
Reorganized BSA shall be fully and finally discharged of any and all liability or obligation on
any and all Disallowed Claims, and any order Disallowing a Claim that is not a Final Order as of
the Effective Date solely because of a Person’s right to move for reconsideration of such order
pursuant to section 502 of the Bankruptcy Code or Bankruptcy Rule 3008 shall nevertheless
become and be deemed to be a Final Order on the Effective Date.

        Q.      No Successor Liability. Except as otherwise expressly provided in the Plan,
Reorganized BSA does not, pursuant to the Plan or otherwise, assume, agree to perform, pay or
indemnify any Person, or otherwise have any responsibility for any liabilities or obligations of
the Debtors relating to or arising out of the operations of or assets of the Debtors, whether arising
prior to, on or after the Effective Date. Neither the Debtors, Reorganized BSA, nor the
Settlement Trust is, or shall be deemed to be, a successor to any of the Debtors by reason of any
theory of law or equity (except as otherwise provided in Article IV.C), and none shall have any
successor or transferee liability of any kind or character; provided, however, that Reorganized
BSA and the Settlement Trust shall assume and remain liable for their respective obligations
specified in the Plan and the Confirmation Order.




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       R.      Indemnities.

               1.      Prepetition Indemnification and Reimbursement Obligations.               The
       respective obligations of the Debtors to indemnify and reimburse Persons who are or
       were directors, officers or employees of the Debtors on the Petition Date or at any time
       thereafter up to and including the Effective Date, against and for any obligations pursuant
       to the bylaws, applicable state or non-bankruptcy law, or specific agreement or any
       combination of the foregoing, shall, except with respect to any Perpetrator: (a) survive
       Confirmation of the Plan and remain unaffected thereby; (b) be assumed by Reorganized
       BSA as of the Effective Date; and (c) not be discharged under section 1141 of the
       Bankruptcy Code, irrespective of whether indemnification or reimbursement is owed in
       connection with any event occurring before, on or after the Petition Date. In furtherance
       of, and to implement the foregoing, as of the Effective Date, Reorganized BSA shall
       obtain and maintain in full force insurance for the benefit of each and all of the above-
       indemnified directors, officers and employees, at levels no less favorable than those
       existing as of the date of entry of the Confirmation Order, and for a period of no less than
       three (3) years following the Effective Date.

               2.     Plan Indemnity. In addition to the matters set forth above and not by way
       of limitation thereof, Reorganized BSA shall indemnify and hold harmless all Persons
       who are or were officers or directors of the Debtors on the Petition Date or at any time
       thereafter up to and including the Effective Date on account of and with respect to any
       claim, cause of action, liability, judgment, settlement, cost or expense (including
       attorneys’ fees) on account of claims or Causes of Action threatened or asserted by any
       third party against such officers or directors that seek contribution, indemnity, equitable
       indemnity, or any similar claim, based upon or as the result of the assertion of primary
       claims against such third party by any representative of the Debtors’ Estates.

               3.      Limitation on Indemnification. Notwithstanding anything to the contrary
       set forth in the Plan or elsewhere, neither the Debtors, Reorganized BSA, the Local
       Councils, nor the Contributing Chartered Organizations, as applicable, shall be obligated
       to indemnify or hold harmless any Person for any claim, cause of action, liability,
       judgment, settlement, cost or expense that results primarily from (i) such Person’s bad
       faith, gross negligence or willful misconduct or (ii) an Abuse Claim.

        S.     The Official Committees and the Future Claimants’ Representative. Except as
otherwise described in the Settlement Trust Documents with respect to the Future Claimants’
Representative, the Official Committees and the Future Claimants’ Representative shall continue
in existence until the Effective Date, and after the Effective Date for the limited purposes of
prosecuting requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Effective Date. The Debtors shall pay the
reasonable fees and actual and necessary expenses incurred by the Official Committees and the
Future Claimants’ Representative up to the Effective Date, and after the Effective Date solely for
the purposes set forth in the preceding sentence, in accordance with the Compensation
Procedures Order, the Fee Examiner Order, and the terms of the Plan, including Article II. As of
the Effective Date, the members of the Creditors’ Committee shall be released and discharged
from all further authority, duties, responsibilities, liabilities, and obligations involving the


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Chapter 11 Cases. Upon the closing of the Chapter 11 Cases, the Official Committees shall be
dissolved. Neither the Debtors nor Reorganized BSA have any obligation to pay fees or
expenses of any Professional retained by the Official Committees or the Future Claimants’
Representative that are earned or incurred before the Effective Date to the extent such fees or
expenses (or any portion thereof) qualify as Settlement Trust Expenses, in which case such fees
and expenses (or the applicable portion thereof) shall be paid by the Settlement Trust in
accordance with the Settlement Trust Documents.

                                         ARTICLE XI.

                             RETENTION OF JURISDICTION

        A.      Jurisdiction. Until the Chapter 11 Cases are closed, the Bankruptcy Court shall
retain the fullest and most extensive jurisdiction that is permissible, including the jurisdiction
necessary to ensure that the purposes and intent of the Plan are carried out. Except as otherwise
provided in the Plan or the Settlement Trust Agreement, the Bankruptcy Court shall retain
jurisdiction to hear and determine all Claims against and Interests in the Debtors, and to
adjudicate and enforce the Insurance Actions, the Settlement Trust Causes of Action, and all
other Causes of Action which may exist on behalf of the Debtors. Nothing contained herein
shall prevent Reorganized BSA or the Settlement Trust, as applicable, from taking such action as
may be necessary in the enforcement of any Estate Cause of Action, Insurance Action,
Settlement Trust Cause of Action, or other Cause of Action which the Debtors have or may have
and which may not have been enforced or prosecuted by the Debtors, which actions or other
Causes of Action shall survive Confirmation of the Plan and shall not be affected thereby except
as specifically provided herein. Nothing contained herein concerning the retention of
jurisdiction by the Bankruptcy Court shall be deemed to be a finding or conclusion that (1) the
Bankruptcy Court in fact has jurisdiction with respect to any Insurance Action, (2) any such
jurisdiction is exclusive with respect to any Insurance Action, or (3) abstention or dismissal of
any Insurance Action pending in the Bankruptcy Court or the District Court as an adversary
proceeding is or is not advisable or warranted, so that another court can hear and determine such
Insurance Action(s). Any court other than the Bankruptcy Court that has jurisdiction over an
Insurance Action shall have the right to exercise such jurisdiction.

        B.      General Retention. Following Confirmation of the Plan, the administration of the
Chapter 11 Cases will continue until the Chapter 11 Cases are closed by a Final Order of the
Bankruptcy Court. The Bankruptcy Court shall also retain jurisdiction for the purpose of
classification of any Claims and the re-examination of Claims which have been Allowed for
purposes of voting, and the determination of such objections as may be filed with the Bankruptcy
Court with respect to any Claims. The failure by the Debtors or Reorganized BSA to object to,
or examine, any Claim for the purposes of voting, shall not be deemed a waiver of the rights of
the Debtors, Reorganized BSA, or the Settlement Trust, as the case may be, to object to or
reexamine such Claim in whole or part.




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        C.     Specific Purposes. In addition to the foregoing, the Bankruptcy Court shall retain
jurisdiction over all matters arising out of, or relating to, the Chapter 11 Cases and the Plan,
including jurisdiction to:

             1.     modify the Plan after Confirmation pursuant to the provisions of the
Bankruptcy Code and the Bankruptcy Rules;
               2.     correct any defect, cure any omission, reconcile any inconsistency or make
any other necessary changes or modifications in or to the Plan, the Trust Documents or the
Confirmation Order as may be necessary to carry out the purposes and intent of the Plan,
including the adjustment of the date(s) of performance in the Plan in the event the Effective Date
does not occur as provided herein so that the intended effect of the Plan may be substantially
realized thereby;
                3.     assure performance by the Settlement Trust and the Disbursing Agent of
their respective obligations to make distributions under the Plan;
             4.      enforce and interpret the terms and conditions of the Plan, the Plan
Documents, the Settlement Trust Documents, the DST Agreement, and any Insurance Settlement
Agreements;
                5.     enter such orders or judgments, including injunctions (a) as are necessary
to enforce the title, rights and powers of Reorganized BSA and the Settlement Trust, (b) to
execute, implement, or consummate the provisions of the Plan, the Confirmation Order, and all
contracts, instruments, releases and other agreements or documents created in connection with
the Plan or the Confirmation Order, and (c) as are necessary to enable holders of Claims to
pursue their rights against any Person that may be liable therefor pursuant to applicable law or
otherwise;
               6.      hear and determine any and all motions, adversary proceedings, contested
or litigated matters, and any other matters and grant or deny any applications involving the
Debtors that may be pending on the Effective Date (which jurisdiction shall be non-exclusive as
to any such non-core matters);
               7.      hear and determine any motions or contested matters involving taxes, tax
refunds, tax attributes, tax benefits and similar or related matters, including contested matters
arising on account of transactions contemplated by the Plan, or relating to the period of
administration of the Chapter 11 Cases;
             8.      hear and determine all applications for compensation of Professionals and
reimbursement of expenses under sections 328, 330, 331, or 503(b) of the Bankruptcy Code;
                9.     hear and determine any Causes of Action arising during the period from
the Petition Date to the Effective Date, or in any way related to the Plan or the transactions
contemplated hereby, against the Debtors, Reorganized BSA, the Settlement Trust, the DST, and
their respective Representatives;
                10.  hear and determine any and all motions for the rejection, assumption or
assignment of Executory Contracts or Unexpired Leases and the Allowance of any Claims
resulting therefrom;


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               11.    hear and determine such other matters and for such other purposes as may
be provided in the Confirmation Order;
              12.     hear and determine the Allowance and/or Disallowance of any Claims,
including Administrative Expense Claims, against or Interests in the Debtors or their Estates,
including any objections to any such Claims or Interests, and the compromise and settlement of
any Claim, including Administrative Expense Claims, against or Interest in the Debtors or their
Estates;
               13.     hear and resolve disputes concerning any reserves under the Plan or the
administration thereof;
               14.     hear and determine all questions and disputes regarding title to the assets
of the Debtors, their Estates or the Settlement Trust;
               15.     enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked or
vacated, or if distributions pursuant to the Plan or under the Settlement Trust Documents are
enjoined or stayed;
              16.    hear and determine all questions and disputes regarding, and to enforce,
the Abuse Claims Settlement;
               17.     hear and determine the Insurance Actions, any Settlement Trust Cause of
Action and any similar claims, Causes of Action or rights of the Settlement Trust to construe and
take any action to enforce any Abuse Insurance Policy, and to issue such orders as may be
necessary for the execution, consummation and implementation of any Abuse Insurance Policy,
and to determine all questions and issues arising thereunder; provided, that such retention of
jurisdiction shall not constitute a waiver of any right of a Non-Settling Insurance Company to
seek to remove or withdraw the reference of any Insurance Action filed after the Effective Date;
             18.     hear and determine any other matters related hereto, including the
implementation and enforcement of all orders entered by the Bankruptcy Court in the Chapter 11
Cases;
               19.      resolve any disputes concerning whether a Person had sufficient notice of
the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in connection with
the Chapter 11 Cases, the Bar Date established in the Chapter 11 Cases, or any deadline for
responding or objecting to a Cure Amount, in each case, for the purpose of determining whether
a Claim or Interest is discharged hereunder or for any other purpose;
               20.     enter in aid of implementation of the Plan such orders as are necessary,
including the implementation and enforcement of the Injunctions, Releases, and Discharges
described herein, including the Channeling Injunction;
                21.     hearing a petition for relief by a Specified Person or any other party in
interest in the event that a court or tribunal hearing an Abuse Cause of Action fails to apply the
judgment reduction provisions of Article X.N;




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              22.   approve any Post-Effective Date Chartered Organization Settlement and
determine the adequacy of notice of a motion by the Settlement Trustee to approve such a
settlement;
               23.    approve any extension of the Insurance Settlement Period, approve any
Post-Effective Date Insurance Settlement and determine the adequacy of notice of a Post-
Effective Date Insurance Settlement provided by the Settlement Trustee;
               24.     hear and determine any questions and disputes pertaining to, and to
enforce, the Abuse Claims Settlement, including the Local Council Settlement Contribution, the
Contributing Chartered Organization Settlement Contribution, including the TCJC Settlement
Contribution, the Participating Chartered Organization Settlement Contribution, and the Hartford
Settlement Contribution;
               25.    hear and determine any questions and disputes pertaining to, and to
enforce, the JPM / Creditors’ Committee Settlement;
               26.     hear and determine any questions and disputes pertaining to, and to
enforce, the Hartford Insurance Settlement;
               27.    hear and determine any questions and disputes pertaining to, and to
enforce, the TCJC Settlement;
             28.    hear and determine all questions and disputes regarding matters pertaining
to the DST Agreement;
               29.     enter a Final Order or decree concluding or closing the Chapter 11 Cases;
and
                30.    to enter and implement such orders as may be necessary or appropriate if
any aspect of the Plan, the Settlement Trust, or the Confirmation Order is, for any reason or in
any respect, determined by a court to be inconsistent with, to violate, or insufficient to satisfy
any of the terms, conditions, or other duties associated with any Abuse Insurance Policies;
provided, however, that (a) such orders shall not impair the Insurance Coverage Defenses or the
rights, claims, or defenses, if any, of any Insurance Company that are set forth or provided for in
the Plan, the Plan Documents, the Confirmation Order, or any other Final Orders entered in the
Debtors’ Chapter 11 Cases, (b) this provision does not, in and of itself, grant this Court
jurisdiction to hear and decide disputes arising out of or relating to the Abuse Insurance Policies,
and (c) all interested parties, including any Insurance Company, reserve the right to oppose or
object to any such motion or order seeking such relief.
        As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the
Restated Debt and Security Documents and any documents related thereto shall be governed by
the jurisdictional provisions thereof and the Bankruptcy Court shall not retain jurisdiction with
respect thereto.
       D.     Courts of Competent Jurisdiction. To the extent that the Bankruptcy Court is not
permitted under applicable law to preside over any of the foregoing matters, the reference to the
“Bankruptcy Court” in this Article XI shall be deemed to be replaced by the “District Court.” If
the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is


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otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or
failure of jurisdiction shall have no effect upon and shall not control, prohibit, or limit the
exercise of jurisdiction by any other court having competent jurisdiction with respect to such
matter.

                                         ARTICLE XII.

                              MISCELLANEOUS PROVISIONS

       A.     Closing of Chapter 11 Cases. After each Chapter 11 Case has been fully
administered, Reorganized BSA shall file with the Bankruptcy Court all documents required by
Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close such Chapter
11 Case.

       B.      Amendment or Modification of the Plan.

               1.      Plan Modifications. Subject to the terms of the JPM / Creditors’
       Committee Term Sheet, the Debtors reserve the right, in accordance with the Bankruptcy
       Code and the Bankruptcy Rules, to amend or modify the Plan prior to the entry of the
       Confirmation Order, including amendments or modifications to satisfy section 1129(b) of
       the Bankruptcy Code, and after entry of the Confirmation Order, the Debtors may, upon
       order of the Bankruptcy Court, amend, modify or supplement the Plan in the manner
       provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by law, in
       each case without additional disclosure pursuant to section 1125 of the Bankruptcy Code
       unless section 1127 of the Bankruptcy Code requires additional disclosure. In addition,
       after the Confirmation Date, so long as such action does not materially and adversely
       affect the treatment of holders of Allowed Claims pursuant to the Plan, the Debtors may
       remedy any defect or omission or reconcile any inconsistencies in the Plan or the
       Confirmation Order with respect to such matters as may be necessary to carry out the
       purposes or effects of the Plan, and any holder of a Claim that has accepted the Plan shall
       be deemed to have accepted the Plan as amended, modified, or supplemented. All
       amendments to the Plan (a) must be reasonably acceptable to JPM and the Creditors’
       Committee to the extent they pertain to the treatment of the 2010 Credit Facility Claims,
       the 2019 RCF Claims, the 2010 Bond Claims, or the 2012 Bond Claims (in the case of
       JPM) or Convenience Claims, General Unsecured Claims, or Non-Abuse Litigation
       Claims (in the case of the Creditors’ Committee), (b) shall not be inconsistent with the
       terms of the Hartford Insurance Settlement Agreement, and (c) shall not be inconsistent
       with the terms of the TCJC Settlement Agreement. The designation of Chartered
       Organizations as Contributing Chartered Organizations or Participating Chartered
       Organizations and the designation of Non-Settling Insurance Companies as Settling
       Insurance Companies after the Effective Date in accordance with Article IV.I, Article
       IV.J, or Article IV.K shall not be a modification or amendment to the Plan and instead is
       an act that may be done to effectuate the terms of the Plan.

              2.     Other Amendments. Before the Effective Date, the Debtors may make
       appropriate technical adjustments and modifications to the Plan and the documents



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       contained in the Plan Supplement without further order or approval of the Bankruptcy
       Court.

         C.      Revocation or Withdrawal of Plan. The Debtors reserve the right to revoke or
withdraw the Plan prior to the Effective Date. If the Plan has been revoked or withdrawn prior to
the Effective Date, or if Confirmation of the Plan or the occurrence of the Effective Date does
not occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or
compromise embodied in the Plan (including the fixing or limiting to an amount any Claim or
Interest or Class of Claims or Interests), assumption of executory contracts or unexpired leases
affected by the Plan, and any document or agreement executed pursuant to the Plan, including
the Settlement Trust Documents, shall be deemed null and void (except that the Hartford
Insurance Settlement Agreement shall remain in full force and effect to the extent provided in
such agreement in accordance with its terms); and (3) nothing contained in the Plan shall
(i) constitute a waiver or release of any Claim against, or any Interest in, the Debtors or any other
Person; (ii) prejudice in any manner the rights of the Debtors or any other Person; or
(iii) constitute an admission of any sort by the Debtors or any other Person.

       D.      Request for Expedited Determination of Taxes. The Debtors and Reorganized
BSA, as applicable, shall have the right to request an expedited determination under section
505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all
taxable periods ending after the Petition Date to and including the Effective Date.

        E.      Non-Severability of Plan Provisions. If, before the entry of the Confirmation
Order, any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable, the Bankruptcy Court, at the request of the Debtors, shall have the power to alter
and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired or invalidated by such holding, alteration, or interpretation. The Confirmation Order
shall constitute a judicial determination and shall provide that each term and provision of the
Plan, as it may have been altered or interpreted in accordance with the foregoing, is (1) valid and
enforceable pursuant to its terms, (2) integral to the Plan and may not be deleted or modified
without the consent of the Debtors or Reorganized BSA (as the case may be), and (3)
nonseverable and mutually dependent.

       F.     Notices. All notices, requests, and demands to or upon the Debtors or
Reorganized BSA to be effective shall be in writing (including by email transmission) and,
unless otherwise expressly provided herein, shall be deemed to have been duly given or made
when actually delivered, addressed as follows:

                       Boy Scouts of America
                       1325 W. Walnut Hill Lane
                       Irving, Texas 75015
                       Attn: Steven McGowan, General Counsel
                       Email: Steve.McGowan@scouting.org


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                      with copies to:

                      White & Case LLP
                      1221 Avenue of the Americas
                      New York, New York 10020
                      Attn: Jessica C. Lauria
                      Email: jessica.lauria@whitecase.com

                      – and –

                      White & Case LLP
                      111 South Wacker Drive, Suite 5100
                      Chicago, Illinois 60606
                      Attn: Michael C. Andolina
                            Matthew E. Linder
                      Email: mandolina@whitecase.com
                             mlinder@whitecase.com

                      – and –

                      Morris, Nichols, Arsht & Tunnell LLP
                      1201 North Market Street, 16th Floor
                      P.O. Box 1347
                      Wilmington, Delaware 19899-1347
                      Attn: Derek C. Abbott
                      Email: dabbott@morrisnichols.com

       G.     Notices to Other Persons. After the occurrence of the Effective Date,
Reorganized BSA has authority to send a notice to any Person providing that to continue to
receive documents pursuant to Bankruptcy Rule 2002, such Person must file a renewed request
to receive documents pursuant to Bankruptcy Rule 2002; provided, however, that the U.S.
Trustee need not file such a renewed request and shall continue to receive documents without
any further action being necessary. After the occurrence of the Effective Date, Reorganized
BSA is authorized to limit the list of Persons receiving documents pursuant to Bankruptcy Rule
2002 to the U.S. Trustee and those Persons that have filed such renewed requests:

        H.      Governing Law. Except to the extent that the Bankruptcy Code or other federal
law is applicable, or to the extent an exhibit hereto or a schedule in the Plan Supplement or any
other Plan Document provides otherwise, the rights, duties, and obligations arising under the
Plan shall be governed by, and construed and enforced in accordance with, the laws of the State
of Delaware, without giving effect to the principles of conflict of laws thereof; provided,
however, that governance matters relating to Reorganized BSA shall be governed by the laws of
the District of Columbia.

       I.     Immediate Binding Effect. Notwithstanding Bankruptcy Rules 3020(e), 6004(h),
7062, or otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including
the Plan Supplement) shall be immediately effective and enforceable and deemed binding upon



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and inure to the benefit of any Person named or referred to in the Plan and the successors and
assigns of such Person.

        J.     Timing of Distributions or Actions. In the event that any payment, Distribution,
act or deadline under the Plan is required to be made or performed or occurs on a day that is not
a Business Day, then such payment, Distribution, act or deadline shall be deemed to occur on the
next succeeding Business Day, but if so made, performed or completed by such next succeeding
Business Day, shall be deemed to have been completed or to have occurred as of the required
date.

        K.      Deemed Acts. Whenever an act or event is expressed under the Plan to have been
deemed done or to have occurred, it shall be deemed to have been done or to have occurred by
virtue of the Plan or the Confirmation Order without any further act by any Person.

       L.      Entire Agreement. The Plan Documents set forth the entire agreement and
undertakings relating to the subject matter thereof and supersede all prior discussions,
negotiations, understandings and documents. No Person shall be bound by any terms,
conditions, definitions, warranties, understandings, or representations with respect to the subject
matter hereof, other than as expressly provided for in the Plan or the other Plan Documents or as
may hereafter be agreed to by the affected parties in writing.

         M.     Plan Supplement. Any and all exhibits, lists, or schedules referred to herein but
not filed with the Plan shall be contained in the Plan Supplement to be filed with the Clerk of the
Bankruptcy Court prior to the Confirmation Hearing on the Plan, and such Plan Supplement is
incorporated into and is part of the Plan as if set forth in full herein. The Plan Supplement will
be available for inspection in the office of the Clerk of the Bankruptcy Court during normal court
hours,     at    the   website      maintained     by     the     Notice   and    Claims    Agent
(https://cases.omniagentsolutions.com/BSA), and at the Bankruptcy Court’s website
(ecf.deb.uscourts.gov).

        N.      Withholding of Taxes. The Disbursing Agent, the Settlement Trust or any other
applicable withholding agent, as applicable, shall withhold from any assets or property
distributed under the Plan any assets or property which must be withheld for foreign, federal,
state and local taxes payable with respect thereto or payable by the Person entitled to such assets
to the extent required by applicable law.

        O.      Payment of Quarterly Fees. All Quarterly Fees due and payable prior to the
Effective Date shall be paid on or before the Effective Date. The Reorganized Debtors shall pay
all such fees that arise after the Effective Date, but before the closing of the Chapter 11 Cases,
and shall comply with all applicable statutory reporting requirements.

        P.      Effective Date Actions Simultaneous. Unless the Plan or the Confirmation Order
provides otherwise, actions required to be taken on the Effective Date shall take place and be
deemed to have occurred simultaneously, and no such action shall be deemed to have occurred
prior to the taking of any other such action.




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        Q.     Consent to Jurisdiction. Upon default under the Plan, Reorganized BSA, the
Settlement Trust, the Settlement Trustee, the Official Committees, the Future Claimants’
Representative, and the Protected Parties, or any successor thereto, respectively, consent to the
jurisdiction of the Bankruptcy Court, and agree that it shall be the preferred forum for all
proceedings relating to any such default.




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Dated: September 15, 2021           Boy Scouts of America
                                    Delaware BSA, LLC

                                    /s/ Roger C. Mosby
                                    Roger C. Mosby
                                    Chief Executive Officer and President
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                        EXHIBIT A

           TRUST DISTRIBUTION PROCEDURES
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                                 BOY SCOUTS OF AMERICA

             TRUST DISTRIBUTION PROCEDURES FOR ABUSE CLAIMS

                                    ARTICLE I
                         PURPOSE AND GENERAL GUIDELINES

         A.      Purpose. The purpose of the Settlement Trust is to, among other things, assume
liability for all Abuse Claims, to hold, preserve, maximize and administer the Settlement Trust
Assets, and to employ procedures to allow valid Abuse Claims against the Debtors and other
Protected Parties in accordance with section 502 of the Bankruptcy Code and/or applicable law
(each, an “Allowed Abuse Claim”), determine an allowed liability amount for each Allowed
Abuse claim (the “Allowed Claim Amount”), determine payment methodology and direct
payment of all Allowed Abuse Claims, and obtain insurance coverage for the Allowed Claim
Amount of such Allowed Abuse Claims that are Insured Abuse Claims (as defined below). These
Trust Distribution Procedures (the “TDP”) are adopted pursuant to the Settlement Trust
Agreement and have been approved as reasonable by the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”). These TDP are designed to provide fair,
equitable, and substantially similar treatment for Allowed Abuse Claims. These TDP provide the
means for resolving all Abuse Claims for which the Protected Parties have or are alleged to have
legal responsibility as provided in and required by the Plan, the Confirmation Order, and the
Settlement Trust Agreement. The Settlement Trustee shall implement and administer these TDP
in consultation with the Claims Administrator, Future Claimants’ Representative, and Trust
Professionals with the goals of securing the just, speedy, and cost-efficient determination of every
Abuse Claim, providing substantially similar treatment to holders of similar, legally valid and
supported Allowed Abuse Claims in accordance with the procedures set forth herein, and obtaining
and maximizing the benefits of the Settlement Trust Assets.

        B.     General Principles. To achieve maximum fairness and efficiency, and recoveries
for holders of Allowed Abuse Claims, these TDP are founded on the following principles:

               1.      objective Claim eligibility criteria;

               2.      clear and reliable proof requirements;

               3.      administrative transparency;

               4.      a rigorous review and evidentiary process that requires the Settlement
                       Trustee to determine Allowed Claim Amounts in accordance with
                       applicable law;

               5.      prevention and detection of any fraud; and

               6.      independence of the Settlement Trust and Settlement Trustee.

       C.      Payment of Allowed Abuse Claims and Insurance Recoveries. Pursuant to the
terms of the Plan, the Settlement Trust has assumed the Debtors’ legal liability for, and obligation
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to pay, Allowed Abuse Claims. The Settlement Trust Assets, including the proceeds of the
assigned insurance rights, shall be used to fund distributions to Abuse Claimants under these TDP.
The amounts that Abuse Claimants will ultimately be paid on account of their Allowed Abuse
Claims will depend on, among other things, the Settlement Trust’s ability to liquidate and recover
the proceeds of the assigned insurance rights. The amount of any installment payments, initial
payments, or payment percentages established under these TDP or the Settlement Trust Agreement
are not the equivalent of (i) any Abuse Claimant’s Allowed Claim Amount or (ii) the right to
payment that the holder of an Allowed Abuse Claim has against the Debtors and/or Protected
Parties, as assumed by the Settlement Trust.

        D.      Sole and Exclusive Method. These TDP and any procedures designated in these
TDP shall be the sole and exclusive methods by which an Abuse Claimant may seek allowance
and distribution on an Abuse Claim with respect to the Protected Parties.

        E.     Interpretation. The terms of the Plan and Confirmation Order shall prevail if there
is any discrepancy between the terms of the Plan or Confirmation Order and the terms of these
TDP.

        F.       Confidentiality. All submissions to the Settlement Trust by an Abuse Claimant
shall be treated as confidential and shall be protected by all applicable state and federal privileges,
including those directly applicable to settlement discussions. The Settlement Trust will preserve
the confidentiality of such submissions, and shall disclose the contents thereof only to such persons
as authorized by the Abuse Claimant, or in response to a valid subpoena of such materials issued
by the Bankruptcy Court, a Delaware state court, the United States District Court for the District
of Delaware or any other court of competent jurisdiction. Notwithstanding anything in the
foregoing to the contrary, the Settlement Trust may disclose information, documents, or other
materials reasonably necessary in the Settlement Trust’s judgment to preserve, obtain, litigate,
resolve, or settle insurance coverage, or to comply with an applicable obligation under an Insurance
Policy, indemnity, or settlement agreement. Nothing in these TDP shall be construed to authorize
the Settlement Trustee to waive privilege or disseminate documents to any Abuse Claimants or
their respective counsel, except as provided for in the Document Agreement.

                                   ARTICLE II
                    DEFINITIONS AND RULES OF INTERPRETATION

         A.     Incorporation of Plan Definitions. Capitalized terms used but not defined in these
TDP have the meanings ascribed to them in the Plan or the Settlement Trust Agreement and such
definitions are incorporated in these TDP by reference. To the extent that a term is defined in these
TDP and the Plan and/or the Settlement Trust Agreement, the definition contained in these TDP
controls.

       B.      Definitions. The following terms have the respective meanings set forth below:

              1.     “Abuse Claims” shall mean Direct Abuse Claims, Indirect Abuse Claims,
       and Future Abuse Claims.


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        2.     “Abuse Claimants” shall mean the holder of a Direct Abuse Claim, an
Indirect Abuse Claim, or a Future Abuse Claim.

        3.     “Base Matrix Value” shall mean the base case value for each tier of Abuse
Type (labeled as such in the Claims Matrix and more specifically defined and described in
Article VIII.C) to be used to value Abuse Claims and that may be identified in connection
with the description of the Scaling Factors in Article VIII.C.

        4.     “Claims Matrix” shall mean (as specifically defined and described in
Article VIII.B) a table scheduling the six tiers of Abuse Types, and identifying the Base
Matrix Value, and Maximum Matrix Value for each tier.

       5.     “CPI-U” shall mean the Consumer Price Index For All Urban Consumers:
All Items Less Food & Energy, published by the United States Department of Labor,
Bureau of Labor Statistics.

      6.     “Direct Abuse Claimant” or “Survivor” shall mean the holder of a Direct
Abuse Claim or a Future Abuse Claim.

         7.    “Indirect Abuse Claimant” shall mean the holder of an Indirect Abuse
Claim.

        8.       “Exigent Health Claim” shall mean a Direct Abuse Claim for which the
Direct Abuse Claimant has provided a declaration under penalty of perjury from a
physician who has examined the Direct Abuse Claimant within one hundred and twenty
(120) days of the declaration in which the physician states that there is substantial medical
doubt that the Direct Abuse Claimant will survive beyond six (6) months from the date of
the declaration.

        9.     “FIFO” shall mean “first-in-first-out” and refers to the impartial basis for
establishing a sequence pursuant to which Abuse Claims shall be determined and paid by
the Settlement Trust.

       10.    “FIFO Processing Queue” shall mean the FIFO line-up on which the
Settlement Trust reviews Trust Claims Submissions.

        11.    “Maximum Matrix Value” shall mean the value for each tier of Abuse
Type (labeled as such in the Claims Matrix and more specifically defined and described in
Article VIII.B) that represents the maximum Allowed Claim Amount achievable through
the matrix calculation for an Allowed Abuse Claim assigned to a given tier after application
of the Scaling Factors described in Article VIII.C.

       12.     “Non-BSA Sourced Assets” shall mean Settlement Trust Assets that
represent assets received as a result of or in connection with a global settlement between
the Debtors or the Settlement Trust, on the one hand, and a Chartered Organization that is
or becomes a Protected Party, on the other hand. For the avoidance of doubt, Non-BSA

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       Sourced Assets shall not include any assets received from the Debtors, the Local Councils,
       or any Settling Insurance Companies.

               13.      “Scaling Factors” shall mean (as specifically defined and described in
       Article VIII.C) the factors identified to consider with respect to each Abuse Claim and to
       apply to the Base Matrix Value for the applicable tier of Abuse Type for such Abuse Claim
       to arrive at its Proposed Allowed Claim Amount.

        C.      Interpretation; Application of Definitions and Rules of Construction. For
purposes of these TDP, unless otherwise provided herein: (1) whenever from the context it is
appropriate, each term, whether stated in the singular or the plural, will include both the singular
and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (2) any reference to a person as a holder of a Claim
includes that person’s successors and assigns; (3) the words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to these TDP as a whole and not to any
particular article, section, subsection, or clause; (4) the words “include” and “including,” and
variations thereof, shall not be deemed to be terms of limitation and shall be deemed to be followed
by the words “without limitation;” (5) any effectuating provisions of these TDP may be reasonably
interpreted by the Settlement Trustee in such a manner that is consistent with the overall purpose
and intent of these TDP without further notice to or action, order, or approval of the Bankruptcy
Court; (6) the headings in these TDP are for convenience of reference only and shall not limit or
otherwise affect the provisions hereof; (7) in computing any period of time prescribed or allowed
by these TDP, unless otherwise expressly provided herein, the provisions of Bankruptcy Rule
9006(a) shall apply; and (8) all provisions requiring the consent of a person shall be deemed to
mean that such consent shall not be unreasonably withheld.

                                        ARTICLE III
                                   TDP ADMINISTRATION

        A.     Administration. Pursuant to the Plan and the Settlement Trust Agreement, the
Settlement Trust and these TDP shall be administered by the Settlement Trustee in consultation
with the STAC and the Future Claimants’ Representative, which represents the interests of holders
of present Abuse Claims in the administration of the Settlement Trust, and the Future Claimants’
Representative, who represents the interests of holders of Future Abuse Claims. The Claims
Administrator shall assist the Settlement Trustee in the resolution of Abuse Claims in accordance
with these TDP and provide information necessary for the Settlement Trustee to implement these
TDP.

        B.      Powers and Obligations. The powers and obligations of the Settlement Trustee,
the STAC, the Future Claimants’ Representative, and the Claims Administrator are set forth in the
Settlement Trust Agreement. The STAC and the Future Claimants’ Representative shall have no
authority or ability to modify, reject, or influence any claim allowance or Allowed Claim Amount
determination under these TDP.

       C.    Consent Procedures. The Settlement Trustee shall obtain the consent of the STAC
and the Future Claimants’ Representative on any amendments to these TDP pursuant to
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Article XIII.B below, and on such matters as are otherwise required below and in Article 1.6 of
the Settlement Trust Agreement. Such consent shall not be unreasonably withheld.

                                      ARTICLE IV
                                 CLAIMANT ELIGIBILITY

       A.     Direct Abuse Claims. To be eligible to potentially receive compensation from the
Settlement Trust on account of a Direct Abuse Claim, a Direct Abuse Claimant must:

               (1)    have a Direct Abuse Claim;

               (2)    have timely submitted an Abuse Claim Proof of Claim or Trust Claim
                      Submission to the Settlement Trust as provided below; and

               (3)    submit supporting documentation and evidence to the Settlement Trust as
                      provided below.

       Direct Abuse Claims can only be timely submitted as follows:

        (i)    a Direct Abuse Claim for which a Proof of Claim was filed in the Chapter 11 Cases
before the Bar Date or if determined timely by the Bankruptcy Court (each a “Chapter 11 POC”)
shall, without any further action by the Abuse Claimant, be deemed a timely submitted Abuse
Proof of Claim to the Settlement Trust;

       (ii)    a Direct Abuse Claim alleging abuse against a Local Council (alleged to be
connected to Scouting related to or sponsored by the BSA) (a) for which, as of the time the Claim
is submitted to the Settlement Trust in accordance with the Settlement Trustee’s designated
procedures, a pending state court action had been timely filed under state law naming the Local
Council as a defendant or (b) which is submitted to the Settlement Trust at a time when the Claim
would be timely under applicable state law if a state court action were filed against the Local
Council on the date on which the Direct Abuse Claim is submitted to the Settlement Trust, shall
be deemed a timely submitted Abuse Proof of Claim to the Settlement Trust; or

        (iii)   a Direct Abuse Claim alleging abuse against any Protected Party other than a Local
Council (alleged to be connected to Scouting related to or sponsored by the BSA) (a) for which,
as of the time the Claim is submitted to the Settlement Trust in accordance with the Settlement
Trustee’s designated procedures, a pending state court action had been timely filed under state law
naming the Protected Party as a defendant or (b) which is submitted to the Settlement Trust at a
time when the Claim and would be (x) timely under applicable state law if a state court action were
filed against the Protected Party on the date on which the Direct Abuse Claim is submitted to the
Settlement Trust and (y) meets any applicable deadline that may be set by the Bankruptcy Court
in connection with such Protected Party becoming a Protected Party in accordance with the Plan
and Confirmation Order, shall be deemed a timely submitted Abuse Proof of Claim to the
Settlement Trust.



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      Any Direct Abuse Claim that is not timely submitted based on the foregoing shall be
deemed untimely and Disallowed.

       B.     Indirect Abuse Claims. 1 To be eligible to receive compensation from the
Settlement Trust, an Indirect Abuse Claimant:

                 (1)      must have an Indirect Abuse Claim that satisfies the requirements of the Bar
                          Date Order;

                 (2)      must establish to the satisfaction of the Settlement Trustee that the claim is
                          not of a nature that it would be otherwise subject to disallowance under
                          section 502 of the Bankruptcy Code, including subsection (e) thereof
                          (subject to the right of the holder of the Indirect Abuse Claim to seek
                          reconsideration by the Settlement Trustee under section 502(j) of the
                          Bankruptcy Code), or subordination under sections 509(c) or 510 of the
                          Bankruptcy Code; and

                 (3)      must establish to the satisfaction of the Settlement Trustee that:

                          (a)     such Indirect Abuse Claimant has paid in full the liability and/or
                                  obligation of the Settlement Trust to a Direct Abuse Claimant to
                                  whom the Settlement Trust would otherwise have had a liability or
                                  obligation under these TDP (and which has not been paid by the
                                  Settlement Trust);

                          (b)     the Indirect Abuse Claimant and the person(s) to whose claim(s) the
                                  Indirect Abuse Claim relates, have forever and fully released the
                                  Settlement Trust and the Protected Parties from all liability for or
                                  related to the subject Direct Abuse Claim (other than the Indirect
                                  Abuse Claimant’s assertion of its Indirect Abuse Claim);

                          (c)     the Indirect Abuse Claim is not otherwise barred by a statute of
                                  limitations or repose or by other applicable law; and

                          (d)     the Indirect Abuse Claimant does not owe the Debtors, Reorganized
                                  Debtors, or the Settlement Trust an obligation to indemnify the
                                  liability so satisfied.

In no event shall any Indirect Abuse Claimant have any rights against the Settlement Trust superior
to the rights that the Direct Abuse Claimant to whose claim the Indirect Abuse Claim relates,
would have against the Settlement Trust, including any rights with respect to timing, amount,
percentage, priority, or manner of payment. In addition, no Indirect Abuse Claim may be
liquidated and paid in an amount that exceeds what the Indirect Abuse Claimant has paid to the

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 For the avoidance of doubt, Indirect Abuse Claims may include claims for the payment of defense costs,
deductibles, or indemnification obligations.
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related Direct Claimant in respect of such claim for which the Settlement Trust would have
liability. Further, in no event shall any Indirect Abuse Claim exceed the Allowed Claim Amount
of the related Direct Abuse Claim.

        C.     Future Abuse Claims. To be eligible to potentially receive compensation from
the Settlement Trust on account of a Future Abuse Claim, a Future Abuse Claimant must:

               (1)    have a Direct Abuse Claim that arises from Abuse that occurred prior to the
                      Petition Date;

               (2)    as of the date immediately preceding the Petition Date, had not attained
                      eighteen (18) years of age or was not aware of such Direct Abuse Claim as
                      a result of “repressed memory,” to the extent the concept of repressed
                      memory is recognized by the highest appellate court of the state or territory
                      where the claim arose;

               (3)    submit the Future Abuse Claim to the Settlement Trust in accordance with
                      these TDP, (i) at a time when the Claim would be timely under applicable
                      state law if a state court action were filed on the date on which the Future
                      Abuse Claim is submitted to the Settlement Trust, or (ii), if the Future Abuse
                      Claim is not timely under (i) above, it will be eliminated or decreased in
                      accordance with Article VIII.E(iii) below; and

               (4)    have not filed a Chapter 11 POC.

Future Abuse Claims that meet the foregoing eligibility criteria shall be treated as Direct Abuse
Claims hereunder.

                                     ARTICLE V
                             GENERAL TRUST PROCEDURES

       A.     Document Agreement. As more fully described in the Document Agreement, the
Settlement Trustee may require other parties to the Document Agreement to provide the Settlement
Trust with documents, witnesses, or other information as provided therein (the “Document
Obligations”).

         B.     Document Access. The Settlement Trust shall afford access for Direct Abuse
Claimants to relevant, otherwise discoverable non-privileged documents obtained by the
Settlement Trust pursuant to the Document Agreement to facilitate their submissions with respect
to their Direct Abuse Claims, including access to IV files (the Volunteer Screening Database) and
to all Troop Rosters in the possession, custody or control of the Debtors, each Protected Party or
the Settlement Trust. A court of competent jurisdiction shall be able to determine whether
allegedly privileged documents should be required to be produced by the Settlement Trust. The
Settlement Trust also may perform any and all obligations necessary to recover assigned proceeds
under the assigned insurance rights in connection with the administration of these TDP.


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        C.      Assignment of Insurance Rights. The Bankruptcy Court has authorized the
Insurance Assignment pursuant to the Plan and the Confirmation Order, and the Settlement Trust
has received the assignment and transfer of the Insurance Actions, the Insurance Action
Recoveries, the Insurance Settlement Agreements (if applicable), the Insurance Coverage, and all
other rights or obligations under or with respect to the Insurance Policies (but not the policies
themselves) in accordance with the Bankruptcy Code. Nothing in these TDP shall modify, amend,
or supplement, or be interpreted as modifying, amending, or supplementing, the terms of any
Insurance Policy or rights and obligations under an Insurance Policy assigned to the Settlement
Trust to the extent such rights and obligations are otherwise available under applicable law and
subject to the Plan and Confirmation Order. The rights and obligations, if any, of any Non-Settling
Insurance Company relating to or arising out of these TDP, or any provision hereof, shall be
determined pursuant to the terms and provisions of the Insurance Policies and applicable law.

        D.    Deceased Abuse Survivor. The Settlement Trustee shall consider, and if an
Allowed Claim Amount is determined, pay under these TDP, the claim of a deceased Direct Abuse
Claimant without regard to the Direct Abuse Claimant’s death, except that the Settlement Trustee
may require evidence that the person submitting the claim on behalf of the decedent is authorized
to do so.

        E.     Statute of Limitations or Repose. The statute of limitations, statute of repose,
and the choice of law determination applicable to an Abuse Claim against the Settlement Trust
shall be determined by reference to the tort system where such Abuse Claim was pending on the
Petition Date (so long as the Protected Party was subject to personal jurisdiction in that location),
or where such Abuse Claim could have been timely and properly filed as asserted by the Abuse
Claimant under applicable law.

                                       ARTICLE VI
                                EXPEDITED DISTRIBUTIONS

         A.     Minimum Payment Criteria. A Direct Abuse Claimant who meets the following
criteria may elect to resolve his or her Direct Abuse Claim for an expedited distribution of $3,500
(the “Expedited Distribution”): (i) the Direct Abuse Claimant has timely submitted to the
Settlement Trust a properly and substantially completed, non-duplicative Abuse Claim Proof of
Claim or Future Abuse Claim; and (ii) the Direct Abuse Claimant has personally signed his or her
Proof of Claim or Future Abuse Claim attesting to the truth of its contents under penalty of perjury,
or supplements his or her Abuse Claim Proof of Claim to so provide such verification. Direct
Abuse Claimants that elect to receive the Expedited Distribution will not have to submit any
additional information to the Settlement Trust to receive payment of the Expedited Distribution
from the Settlement Trust.

        B.     Process and Payment of Expedited Distributions. Direct Abuse Claimants who
have properly elected to receive the Expedited Distribution in accordance with the Plan and
Confirmation Order (the “Expedited Distribution Election”) and who met the criteria set forth in
Article VI.A above, shall be entitled to receive their Expedited Payment upon executing an
appropriate release, which shall include a release of the Settlement Trust, the Protected Parties,
and all Chartered Organizations. The form of release agreement that a Direct Abuse Claimant who
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takes the Expedited Distribution Election must execute is attached as Exhibit A. A Direct Abuse
Claimant who does not elect to receive the Expedited Distribution in accordance with the Plan and
Confirmation Order and a Future Abuse Claimant who does not elect to receive the Expedited
Distribution in accordance with the deadlines and procedures established by the Settlement Trust
may not later elect to receive the Expedited Distribution. A Direct Abuse Claimant who elects to
receive the Expedited Distribution shall have no other remedies with respect to his or her Direct
Abuse Claim against the Settlement Trust, Protected Parties, Chartered Organizations, or any Non-
Settling Insurance Company. Direct Abuse Claimants that elect to receive an Expedited
Distribution will not be eligible to receive any further distribution on account of their Direct Abuse
Claim pursuant to these TDP.

                                      ARTICLE VII
                              CLAIMS ALLOWANCE PROCESS

        A.      Trust Claim Submissions. Each Abuse Claimant that does not make the
Expedited Distribution Election and instead elects to pursue recovery from the Settlement Trust
pursuant to these TDP must submit his or her Abuse Claim for allowance and potential valuation
and determination of insurance status by the Settlement Trustee pursuant to the requirements set
forth herein (each, a “Trust Claim Submission”). In order to properly make a Trust Claim
Submission, each submitting Abuse Claimant must (i) complete under oath a questionnaire to be
developed by the Settlement Trustee and submitted to the STAC and the Future Claimants’
Representative for approval; (ii) produce all records and documents in his or her possession,
custody or control related to the Abuse Claim, including all documents pertaining to all
settlements, awards, or contributions already received or that are expected to be received from a
Protected Party or other sources; and (iii) execute an agreement to be provided or made available
by the Settlement Trust with the questionnaire (1) to produce any further records and documents
in his or her possession, custody or control related to the Abuse Claim reasonably requested by the
Settlement Trustee, (2) consent to and agree to cooperate in any examinations requested by the
Settlement Trustee (including by healthcare professionals selected by the Settlement Trustee) (a
“Trustee Interview”); and (3) consent to and agree to cooperate in a written and/or oral
examination under oath if requested to do so by the Settlement Trustee. The date on which an
Abuse Claimant submits (i), (ii) and (iii) above to the Settlement Trust shall be the “Trust Claim
Submission Date”. The Abuse Claimant’s breach or failure to comply with the terms of his or
her agreement made in connection with his or her Trust Claim Submission shall be grounds for
disallowance or significant reduction of his or her Abuse Claim. To complete the evaluation of
each Abuse Claim submitted through a Trust Claim Submission (each a “Submitted Abuse
Claim”), the Settlement Trustee also may, but is not required to, obtain additional evidence from
the Abuse Claimant or from other parties pursuant to the Document Obligations and shall consider
supplemental information timely provided by the Abuse Claimant, including information obtained
pursuant to the Document Obligations. Non-material changes to the claims questionnaire may be
made by the Settlement Trustee with the consent of the STAC and the Future Claimants’
Representative.

       B.     Claims Evaluation. The Settlement Trustee shall evaluate each Trust Claim
Submission individually and will follow the uniform procedures and guidelines set forth below to
determine, based on the evidence obtained by the Settlement Trust, whether or not a Submitted
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Abuse Claim should be allowed. After a review of the documentation provided by the Abuse
Claimant in his or her Proof of Claim, Trust Claim Submission, materials received pursuant to the
Document Obligations, and any follow-up materials or examinations (including, without
limitation, any Trustee Interview), the Settlement Trustee will either find the Abuse Claim to be
legally valid and an Allowed Abuse Claim, or legally invalid and a Disallowed Claim.

       C.     Settlement Trustee Review Procedures. The Settlement Trustee must evaluate
each Submitted Abuse Claim, including the underlying Proof of Claim, the Trust Claim
Submission and/or the Trustee Interview or any other follow-up, and documents obtained through
the Document Obligations, and determine whether such Claim is a legally valid Allowed Abuse
Claim, based on the following criteria:

              1.      Initial Evaluation Criteria. The Settlement Trustee shall perform an
                      initial evaluation (the “Initial Evaluation”) of a Submitted Abuse Claim to
                      determine whether:

                      (a)    the Abuse Claimant’s Proof of Claim or Trust Claim Submission is
                             substantially and substantively completed and signed under penalty
                             of perjury;

                      (b)    the Direct Abuse Claim was timely submitted to the Settlement
                             Trust under Article IV.A; and

                      (c)    the Submitted Abuse Claim had not previously been resolved by
                             litigation and/or settlement involving a Protected Party.

                      If any of these criteria are not met, then the Submitted Abuse Claim shall
                      be a Disallowed Claim.

              2.      General Criteria for Evaluating Submitted Abuse Claims. To the extent
                      a Submitted Abuse Claim is not disallowed based on the Initial Evaluation,
                      then the Settlement Trustee will evaluate the following factors to determine
                      if the evidence related to the Submitted Abuse Claim is credible and
                      demonstrates, by a preponderance of the evidence, that the Submitted Abuse
                      Claim is entitled to a recovery and should be allowed (the “General
                      Criteria”):

                      (a)    Alleged Abuse. The Abuse Claimant has identified alleged acts of
                             Abuse that he or she suffered;

                      (b)    Alleged Abuser Identification. The Abuse Claimant has either
                             (i) identified an alleged abuser (e.g., by the full name or last name)
                             or (ii) provided specific information (e.g., a physical description of
                             an alleged abuser combined with the name or location of the Abuse
                             Claimant’s troop) about the alleged abuser such that the Settlement
                             Trustee can make a reasonable determination that the alleged abuser

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               was an employee, agent or volunteer of a Protected Party, the alleged
               abuser was a registered Scout, or the alleged abuser participated in
               Scouting or a Scouting activity and the Abuse was directly related
               to Scouting activities;

        (c)    Connection to Scouting. The Abuse Claimant has provided
               information showing (or the Settlement Trustee otherwise
               determines) that the Abuse Claimant was abused during a Scouting
               activity or that the Abuse resulted from involvement in Scouting
               activities;

        (d)    Date and Age. The Abuse Claimant has either: (i) identified the
               date of the alleged abuse and/or his or her age at the time of the
               alleged Abuse, or (ii) provided additional facts (e.g., the
               approximate date and/or age at the time of alleged Abuse coupled
               with the names of additional scouts or leaders in the troop) sufficient
               for the Settlement Trustee to determine the date of the alleged Abuse
               and age of the Abuse Claimant at the time of such alleged Abuse;
               and

        (e)    Location of Abuse. The Abuse Claimant has identified the venue or
               location of the alleged Abuse.

   3.   Submitted Abuse Claims That Satisfy the General Criteria. To the
        extent that a Submitted Abuse Claim meets the evidentiary standard set
        forth in the General Criteria and the Settlement Trustee has verified such
        information and determined that no materials submitted or information
        received in connection with the Submitted Abuse Claim are deceptive or
        fraudulent, the Submitted Abuse Claim will be, and will be deemed to be,
        an Allowed Abuse Claim.

   4.   Submitted Abuse Claims That Do Not Satisfy the General Criteria. If
        the Settlement Trustee determines that any Submitted Abuse Claim
        materials provided by an Abuse Claimant include fraudulent and/or
        deceptive information, the Submitted Abuse Claim will be, and will be
        deemed to be, a Disallowed Claim. To the extent that a Submitted Abuse
        Claim – after an opportunity for the Abuse Claimant to discover information
        from the Settlement Trust as provided in these TDP – does not meet the
        evidentiary standard set forth in the General Criteria, the Settlement Trustee
        can disallow such Claim, or request further information from the Abuse
        Claimant in question necessary to satisfy the General Criteria requirements.
        If the Settlement Trustee finds that any of the factors set forth in
        Article VII.C.2(a)-(c) with respect to any Submitted Abuse Claim are not
        satisfied, the Claim will be per se disallowed and will be, and will be
        deemed to be, a Disallowed Claim.

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        D.      Disallowed Claims. If the Settlement Trustee finds that a Submitted Abuse Claim
is a Disallowed Claim, the Settlement Trustee shall provide written notice of its determination to
the relevant Abuse Claimant (a “Disallowed Claim Notice”). If the Settlement Trustee finds that
a Submitted Abuse Claim is a Disallowed Claim, the Settlement Trustee will not perform the
Allowed Abuse Claim valuation analysis described below in Article VIII. Abuse Claimants shall
have the ability to seek reconsideration of the Settlement Trustee’s determination set forth in the
Disallowed Claim Notice as described in Article VII.G below.

       E.      Allowed Abuse Claims. If the Settlement Trustee finds that a Submitted Abuse
Claim is an Allowed Abuse Claim, the Settlement Trustee shall utilize the procedures described
below in Article VIII to determine the proposed Claims Matrix tier and Scaling Factors for such
Abuse Claim (the “Proposed Allowed Claim Amount”), and provide written notice of allowance
and the Proposed Allowed Claim Amount to the Abuse Claimant (an “Allowed Claim Notice”
and together with the Disallowed Claim Notice, a “Claim Notice”) as set forth in Article VII.F
below.

         F.     Claims Determination. If the Abuse Claimant accepts the Proposed Allowed
Claim Amount in the Allowed Claim Notice or the reconsideration process set forth below in
Article VII.G has been exhausted (and no further action has been taken by the Abuse Claimant in
the tort system pursuant to Article XII below), the Proposed Allowed Claim Amount shall become
the Allowed Claim Amount for such Claim (a “Final Determination”), and the holder of such
Allowed Abuse Claim shall receive payment in accordance with Article IX, subject to the Abuse
Claimant executing the form of release set forth in Article IX.D.

        G.      Reconsideration of Settlement Trustee’s Determination. An Abuse Claimant
may make a request for reconsideration of (i) the disallowance of his or her Submitted Abuse
Claim, or (ii) the Proposed Allowed Claim Amount (a “Reconsideration Request”) within thirty
(30) days of receiving a Disallowed Claim Notice or an Allowed Claim Notice
(the “Reconsideration Deadline”). Any Abuse Claimant who fails to submit a Reconsideration
Request to the Settlement Trust by the Reconsideration Deadline shall be deemed to accept the
disallowance of the Abuse Claim or the Proposed Allowed Claim Amount. Each Reconsideration
Request must be accompanied by a check or money order for $1,000 as an administrative fee for
reconsideration. The Abuse Claimant may submit further evidence in support of the Submitted
Abuse Claim with the Reconsideration Request. The Settlement Trustee will have sole discretion
whether to grant the Reconsideration Request. The decision to grant the Reconsideration Request
does not guarantee that the Settlement Trustee will reach a different result after reconsideration.

        If the Reconsideration Request is denied, the administrative fee will not be returned, and
the Settlement Trustee will notify the Abuse Claimant within thirty (30) days of receiving the
request that it will not reconsider the Abuse Claimant’s Submitted Abuse Claim. The Abuse
Claimant shall retain the ability to pursue the Settlement Trust in the tort system as described in
Article XII below.

       If the Reconsideration Request is granted, the Settlement Trustee will provide the Abuse
Claimant written notice within thirty (30) days of receiving the Reconsideration Request that it is
reconsidering the Abuse Claimant’s Submitted Abuse Claim. The Settlement Trustee will then
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reconsider the Submitted Abuse Claim—including all new information provided by the Abuse
Claimant in the Reconsideration Request and any additional Trustee Interview—and will have the
discretion to maintain the prior determination or find that the Submitted Abuse Claim in question
is an Allowed Abuse Claim or should receive a new Proposed Allowed Claim Amount.

         If the Settlement Trustee determines upon reconsideration that a Submitted Abuse Claim
is an Allowed Abuse Claim and/or should receive a new Proposed Allowed Claim Amount, the
Settlement Trustee will deliver an Allowed Claim Notice and return the administrative fee to the
relevant Abuse Claimant. If the Settlement Trustee determines upon reconsideration that the
totality of the evidence submitted by the Abuse Claimant does not support changing the earlier
finding that the Submitted Abuse Claim is a Disallowed Claim, or that the Claim in question is not
deserving of a new Proposed Allowed Claim Amount, the Settlement Trustee’s earlier allowance
determination and/or Proposed Allowed Claim Amount shall stand and the Settlement Trustee will
provide a Claim Notice to the Abuse Claimant of either result within ninety (90) days of the
Settlement Trust having sent notice that it was reconsidering the Abuse Claimant’s Submitted
Abuse Claim. Thereafter, the Abuse Claimant shall retain the ability to pursue the Settlement
Trust in the tort system as described below in Article XII.

         H.    Claim Determination Deferral. For a period of up to twelve (12) months from
the Effective Date, and by an election exercised at the time of the Trust Claim Submission, Direct
Abuse Claimants whose Direct Abuse Claims may be substantially reduced by the Scaling Factor
described below in Article VIII.E.(iii) (statute of limitations defense) may elect to defer the
determination of their Proposed Allowed Claim Amounts to see if statute of limitations revival
legislation occurs, provided, however, that this claim determination deferral window shall close
for all Direct Abuse Claims twelve (12) months from the Effective Date at which time such
Submitted Abuse Claims shall be determined based on then applicable Scaling Factors.

        I.      Prevention and Detection of Fraud. The Settlement Trustee shall work with the
Claims Administrator to institute auditing and other procedures to detect and prevent the allowance
of Abuse Claims based on fraudulent Trust Claim Submissions. Among other things, such
procedures will permit the Settlement Trustee or Claims Auditor to conduct random audits to
verify supporting documentation submitted in randomly selected Trust Claim Submissions, as well
as targeted audits of individual Trust Claim Submissions or groups of Trust Claim Submissions ,
any of which may include Trustee Interviews. Trust Claim Submissions must be signed under the
pains and penalties of perjury and to the extent of applicable law, the submission of a fraudulent
Trust Claim Submission may violate the criminal laws of the United States, including the criminal
provisions applicable to Bankruptcy Crimes, 18 U.S.C. § 152, and may subject those responsible
to criminal prosecution in the Federal Courts.

                                 ARTICLE VIII
                       CLAIMS MATRIX AND SCALING FACTORS

        A.    Claims Matrix and Scaling Factors. These TDP establish certain criteria for
unliquidated claims seeking compensation from the Settlement Trust, a claims matrix below
(the “Claims Matrix”) that schedules six types of Abuse (the “Abuse Types”) and designates for
each Abuse Type a Base Matrix Value, and Maximum Matrix Value, and certain scaling factors
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(the “Scaling Factors”) identified below to apply to the Base Matrix Values to determine the
liquidated values for certain unliquidated Abuse Claims. The Abuse Types, Scaling Factors, Base
Matrix Values, and Maximum Matrix Values that are set forth in the Claims Matrix have all been
selected and derived with the intention of achieving a fair and reasonable Abuse Claim valuation
range in light of the best available information, considering the settlement, verdict and/or
judgments that Abuse Claimants would receive in the tort system against the Protected Parties
absent the bankruptcy. The Settlement Trustee shall utilize the Claims Matrix and Scaling Factors
as the basis to determine a Proposed Allowed Claim Amount for each Allowed Abuse Claim that
does not receive an Expedited Distribution or become a STAC Tort Election Claim. The Proposed
Allowed Claim Amount agreed to by the Direct Abuse Claimant as the Allowed Claim Amount
for an Allowed Abuse Claim shall be deemed to be the Protected Parties’ liability for such Direct
Abuse Claim (i.e., the claimant’s right to payment for his or her Direct Abuse Claim), irrespective
of how much the holder of such Abuse Claim actually receives from the Settlement Trust pursuant
to the payment provisions set forth in Article IX. In no circumstance shall the amount of a
Protected Party’s legal obligation to pay any Direct Abuse Claim be determined to be any payment
percentages hereunder or under the Settlement Trust Agreement (rather than the liquidated value
of such Direct Abuse Claim as determined under the TDP).

         B.      Claims Matrix. The Claims Matrix establishes six tiers of Abuse Types, and
provides the range of potential Allowed Claim Amounts assignable to an Allowed Abuse Claim
in each tier. The first two columns of the Claims Matrix delineate the six possible tiers to which
an Allowed Abuse Claim can be assigned based on the nature of the abuse. The Base Matrix value
column for each tier represents the default Allowed Claim Amount for an Allowed Abuse Claim
assigned to a given tier, in each case based on historical abuse settlements and litigation outcomes
which included release for all BSA-related parties, including the BSA and all other putative
Protected Parties to such actions, prior to application of the Scaling Factors described in Article
VIII.D (the “Base Matrix Value”). The maximum Claims Matrix value column for each tier
represents the maximum Allowed Claim Amount for an Allowed Abuse Claim assigned to a given
tier after Claims Matrix review and application of the Scaling Factors described in Article VIII.C
(the “Maximum Matrix Value”). The ultimate distribution(s) to the holder of an Allowed Abuse
Claim that has received a Final Determination may vary upward (in the case of a larger-than-
expected Settlement Trust corpus) or downward (in the case of a smaller-than-expected Settlement
Trust corpus) from the holder’s Allowed Claim Amount based on the payment percentages
determined by the Settlement Trustee. If an Allowed Abuse Claim would fall into more than one
tier, it will be placed in the highest applicable tier. An Abuse Claimant cannot have multiple
Allowed Abuse Claims assigned to different tiers. Commencing on the second anniversary of the
Effective Date, the Settlement Trust shall adjust the valuation amounts for yearly inflation based
on the CPI-U. The CPI-U adjustment may not exceed 3% annually, and the first adjustment shall
not be cumulative.

 Tier     Type of Abuse                                        Base         Maximum       Matrix
                                                               Matrix       Value
                                                               Value
 1        Anal or Vaginal Penetration by Adult                 $600,000     $2,700,000
          Perpetrator—includes anal or vaginal sexual
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          intercourse, anal or vaginal digital penetration,
          or anal or vaginal penetration with a foreign,
          inanimate object.
 2        Oral Contact by Adult Perpetrator—includes          $450,000     $2,025,000
          oral sexual intercourse, which means contact
          between the mouth and penis, the mouth and
          anus, or the mouth and vulva or vagina.
          Anal or Vaginal Penetration by a Youth
          Perpetrator—includes anal or vaginal sexual
          intercourse, anal or vaginal digital penetration,
          or anal or vaginal penetration with a foreign,
          inanimate object.

 3        Masturbation by Adult Perpetrator—includes $300,000              $1,350,000
          touching of the male or female genitals that
          involves masturbation of the abuser or claimant.
          Oral Contact by a Youth Perpetrator—includes
          oral sexual intercourse, which means contact
          between the mouth and penis, the mouth and
          anus, or the mouth and vulva or vagina.
 4        Masturbation by Youth Perpetrator—includes $150,000              $675,000
          touching of the male or female genitals that
          involves masturbation of the abuser or claimant.
          Touching of the Sexual or Other Intimate Parts
          (unclothed) by Adult Perpetrator.
 5        Touching of the Sexual or Other Intimate Parts      $75,000      $337,500
          (unclothed) by a Youth Perpetrator.
          Touching of the Sexual or Other Intimate Parts
          (clothed), regardless of who is touching whom
          and not including masturbation.
          Exploitation for child pornography.
 6        Sexual Abuse-No Touching.                           $3,500       $8,500
          Adult Abuse Claims.


       C.      Scaling Factors. After the Settlement Trustee has assigned an Allowed Abuse
Claim to one of the six tiers in the Claims Matrix, the Settlement Trustee will utilize the Scaling
Factors described below to determine the Proposed Allowed Claim Amount for each Allowed
Abuse Claim. The Scaling Factors are based on evidence regarding the BSA’s and other putative
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Protected Parties’ historical abuse settlements, litigation outcomes, and other evidence supporting
the Scaling Factors. Each Allowed Abuse Claim will be evaluated for each factor by the
Settlement Trustee through his or her review of the evidence obtained through the relevant Proof
of Claim, Trust Claim Submission and any related or follow-up materials, interviews or
examinations, as well as materials obtained by the Settlement Trust through the Document
Obligations. These scaling factors can increase or decrease the Proposed Allowed Claim Amount
for an Allowed Abuse Claim depending on the severity of the facts underlying the Claim. By
default, the value of each scaling factor is one (1), meaning that in the absence of the application
of the scaling factor, the Base Matrix Value assigned to a Claim is not affected by that factor. In
contrast, if the Settlement Trustee determines that a particular scaling factor as applied to a given
Allowed Abuse Claim is 1.5, the Proposed Allowed Claim Amount for the Allowed Abuse Claim
will be increased by 50%, the result of multiplying the Base Matrix Value of the Allowed Abuse
Claim by 1.5. The combined effect of all scaling factors is determined by multiplying the scaling
factors together then multiplying the result by the Base Matrix Value of the Allowed Abuse Claim.
See Article VIII.F for illustrative example.

       D.      Aggravating Scaling Factors. The Settlement Trustee may assign upward Scaling
Factors to each Allowed Abuse Claim based on the following categories:

       (i)       Nature of Abuse and Circumstances. To account for particularly severe Abuse
                 or aggravating circumstances, the Settlement Trustee may assign an upward
                 Scaling Factor of up to 1.5 to each Allowed Abuse Claim. The hypothetical base
                 case scenario for this scaling factor would involve a single incident of Abuse with
                 a single perpetrator with such perpetrator having accessed the victim as an
                 employee or volunteer within BSA-sponsored scouting. The hypothetical base case
                 is incorporated into the Base Matrix Value in the Claims Matrix’ tiers and would
                 not receive an increase on account of this factor. By way of example, aggravating
                 factors that can give rise to a higher scaling factor include the following factors:

                 a.     Extended duration and/or frequency of the Abuse;

                 b.     Exploitation of the Abuse Claimant for child pornography;

                 c.     Coercion or threat or use of force or violence, stalking; and

                 d.     Multiple perpetrators involved in sexual misconduct.

       (ii)      Abuser Profile. To account for the alleged abuser’s profile, the Settlement Trustee
                 may assign an upward Scaling Factor of up to 2.0 to an Allowed Abuse Claim. This
                 factor is to be evaluated relative to a hypothetical base case scenario involving a
                 perpetrator as to whom there is no other known allegations of Abuse. The
                 hypothetical base case is incorporated into the Base Matrix Value in the Claims
                 Matrix’ tiers and would not receive an increase on account of this factor. An
                 upward Scaling Factor may be applied for this category as follows (the Settlement
                 Trustee may only apply the scaling factor of the single highest applicable category
                 listed below):
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           a.     1.25 if the abuser was accused by at least one (1) other alleged victim of
                  Abuse;

           b.     1.5 if the abuser was accused by five (5) or more other alleged victims of
                  Abuse;

           c.     2.0 if the abuser was accused by ten (10) or more other alleged victims of
                  Abuse; and

           d.     1.25 to 2.0 if there is evidence of negligence of a Protected Party (e.g., the
                  inclusion of the perpetrator in the IV files (Volunteer Screening Database)
                  for abuse reasons).

(iii)      Impact of the Abuse. To account for the impact of the alleged Abuse on the Abuse
           Claimant’s mental health, physical health, inter-personal relationships, vocational
           capacity or success, academic capacity or success, and whether the alleged Abuse
           at issue resulted in legal difficulties for the Abuse Claimant, the Settlement Trustee
           may assign an upward Scaling Factor of up to 1.5. This factor is to be evaluated
           relative to a hypothetical base case scenario of a victim of Abuse who suffered the
           typical level of Abuse-related distress within the tier to which the Allowed Abuse
           Claim was assigned. The hypothetical base case is incorporated into the Base
           Matrix Values in the Claims Matrix’ tiers and would not receive an increase on
           account of this factor. The Settlement Trustee will consider, along with any and all
           other relevant factors, whether the Abuse at issue manifested or otherwise led the
           Abuse Claimant to experience or engage in behaviors resulting from:

           a.     Mental Health Issues: This includes anxiety, depression, post-traumatic
                  stress disorder, substance abuse, addiction, embarrassment, fear,
                  flashbacks, nightmares, sleep issues, sleep disturbances, exaggerated startle
                  response, boundary issues, self-destructive behaviors, guilt, grief,
                  homophobia, hostility, humiliation, anger, isolation, hollowness, regret,
                  shame, isolation, sexual addiction, sexual problems, sexual identity
                  confusion, low self-esteem or self-image, bitterness, suicidal ideation,
                  suicide attempts, and hospitalization or receipt of treatment for any of the
                  foregoing.

           b.     Physical Health Issues: This includes physical manifestations of emotional
                  distress, gastrointestinal issues, headaches, high blood pressure, physical
                  manifestations of anxiety, erectile dysfunction, heart palpitations, sexually-
                  transmitted diseases, physical damage caused by acts of Abuse,
                  reproductive damage, self-cutting, other self-injurious behavior, and
                  hospitalization or receipt of treatment for any of the foregoing.

           c.     Interpersonal Relationships: This includes problems with authority figures,
                  hypervigilance, sexual problems, marital difficulties, problems with
                  intimacy, lack of trust, isolation, betrayal, impaired relations, secrecy, social
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                       discreditation and isolation, damage to family relationships, and fear of
                       children or parenting.

                d.     Vocational Capacity: This includes under- and un-employment, difficulty
                       with authority figures, difficulty changing and maintaining employment,
                       feelings of unworthiness, or guilt related to financial success.

                e.     Academic Capacity: This includes school behavior problems.

                f.     Legal Difficulties:    This includes criminal difficulties, bankruptcy, and
                       fraud.

         E.      Mitigating Scaling Factors. The Settlement Trustee may assign a mitigating
Scaling Factor in the range of 0 to 1.0 except as specifically provided below to each Allowed
Abuse Claim to eliminate or decrease the Proposed Allowed Claim Amount for such Claim. Each
mitigating factor is to be evaluated relative to a hypothetical base case scenario of a timely asserted
Abuse Claim with supporting evidence that demonstrates, by a preponderance of the evidence,
Abuse by a perpetrator that accessed the victim as an employee, agent or volunteer of a Protected
Party, as a registered Scout or as a participant in Scouting within BSA-sponsored Scouting. If
statute of limitations revival legislation occurs in a particular jurisdiction, the Settlement Trustee
may modify the applicable Scaling Factor (as described below) relevant thereto on a go-forward
basis and determine Proposed Allowed Claim Amounts for Abuse Claims in such jurisdiction
thereafter based on such modified Scaling Factor. Included in the hypothetical base case scenario
is that the applicable period under a statute of limitations or repose for timely asserting such Abuse
Claim against any potentially responsible party will not have passed. The hypothetical base case
is incorporated into the Base Matrix Values in the Claims Matrix tiers and would not receive a
decrease on account of these factors. Such factors may include the following:

       (i)      Absence of Protected Party Relationship or Presence of a Responsible Party
                that Is Not a Protected Party.

                a.     Familial Relationship. A Protected Party’s responsibility for a perpetrator
                       may be factually or legally attenuated or mitigated where the perpetrator
                       also had a familial relationship with the Abuse Claimant. Familial Abuse—
                       even if the perpetrator was an employee, agent or volunteer of a Protected
                       Party, and the Abuse occurred in connection with BSA-related Scouting—
                       should result in a significant reduction of the Proposed Allowed Claim
                       Amount.

                b.     Other Non-Scouting Relationship. A Protected Party’s responsibility for a
                       perpetrator may be factually or legally attenuated or mitigated where the
                       perpetrator also maintained a non-familial relationship with the Abuse
                       Claimant through a separate affiliation, such as a school, or a religious
                       organization, even if the perpetrator was an employee, agent or volunteer of
                       a Protected Party, or the Abuse occurred in settings where a Protected Party
                       did not have the ability or responsibility to exercise control. Factors to
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                 consider include how close the relationship was between the perpetrator and
                 the victim outside of their Scouting-related relationship, whether Abuse
                 occurred and the extent of such Abuse outside of their Scouting relationship ,
                 and applicable law related to apportionment of liability. In such event, the
                 Settlement Trustee shall determine and apply a mitigating Scaling Factor
                 that accounts for such other relationship and the related Abuse. By way of
                 example, if the Settlement Trustee determines after evaluation of an
                 Allowed Abuse Claim and application of all of the other Scaling Factors
                 that the perpetrator, who was an employee, agent or volunteer of a Protected
                 Party for BSA-related Scouting, also was the primary teacher (at a non-
                 Protected Party entity or institution) of the Abuse Claimant outside of BSA-
                 related Scouting, and if numerous incidents of Abuse occurred outside of
                 Scouting before one incident of BSA-related Scouting Abuse occurred, the
                 Settlement Trustee shall apply a mitigating Scaling Factor as a material
                 reduction of the Proposed Allowed Claim Amount.

          c.     Other Responsible Non-Protected Party. The Abuse Claimant may have a
                 cause of action under applicable law for a portion of his or her Direct Abuse
                 Claim against a responsible entity, such as a Chartered Organization, that is
                 not a Protected Party. By way of example, if the Settlement Trustee
                 determines after evaluation of a Submitted Abuse Claim that (i) a Chartered
                 Organization that is not a Protected Party is responsible under applicable
                 law for a portion of the liability and (ii) a Protected Party(ies) are not also
                 liable for the same portion of the liability) (taking into account the relevant
                 jurisdiction’s prevailing law on apportionment of damages), the Settlement
                 Trustee shall apply a final Scaling Factor to account for such non-Protected
                 Party’s portion of the liability.

(ii)      Other Settlements, Awards, Contributions, or Limitations. The Settlement
          Trustee may consider any further limitations on the Abuse Claimant’s recovery in
          the tort system. The Settlement Trustee also should consider the amounts of any
          settlements or awards already received by the Abuse Claimant from other, non-
          Protected Party sources as well as agreed and reasonably likely to be received
          contributions from other, non-Protected Party sources that are related to the Abuse.
          By way of example, the Settlement Trustee should assign an appropriate Scaling
          Factor to Allowed Abuse Claims capped by charitable immunity under the laws of
          the jurisdiction where the Abuse occurred. Notwithstanding the foregoing, where
          an Abuse Claimant has obtained a recovery based on the independent liability of a
          third party for separate instances of Abuse that occurred without connection to
          Scouting activities, no mitigating factor or reduction in value will be applied based
          on that recovery.

(iii)     Statute of Limitations or Repose. If the evidence provided by the Abuse Claimant
          or otherwise obtained by the Settlement Trustee results in the Settlement Trustee
          concluding that the subject Direct Abuse Claim could be dismissed or denied in the
          tort system as to all Protected Parties against whom the Direct Abuse Claim was
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               timely submitted (as set forth in Articles IV.A) due to the passage of a statute of
               limitations or a statute of repose, the Settlement Trustee shall apply an appropriate
               Scaling Factor based on the ranges set forth in Schedule 1 hereof; provided,
               however, the Settlement Trustee will weigh the strength of any relevant evidence
               submitted by the Abuse Claimant to determine whether the statute of limitations
               could be tolled under applicable law, and may apply a higher Scaling Factor if such
               evidence demonstrates to the Settlement Trustee that tolling would be appropriate
               under applicable state law.

       (iv)    Absence of a Putative Defendant. If the Direct Abuse Claim could be diminished
               because such claim was not timely submitted against BSA or another Protected
               Party (as set forth in Articles IV.A) (a “Missing Party”), such that in a suit in the
               tort system, such Direct Abuse Claim would be burdened by an “empty chair”
               defense due to the absence of a Missing Party(ies), the Settlement Trustee shall
               apply a mitigating Scaling Factor to account for a Missing Party’s absence. By way
               of example, where a timely submitted Direct Abuse Claim was not timely submitted
               against BSA (i.e., the Abuse Claimant failed to timely file a Chapter 11 POC) but
               was only timely submitted against the Local Council and/or another Protected Party
               (as set forth in Articles IV.A(ii) and (iii)), such absence of the BSA due to BSA’s
               discharge would be the basis for such a substantial reduction. Any Direct Abuse
               Claim that is reduced due to the absence of the BSA under this mitigating Scaling
               Factor shall only be payable, as reduced, from Settlement Trust Assets contributed
               by the applicable Local Council or Chartered Organization, pro rata with all other
               Direct Abuse entitled to share in the Settlement Trust Assets contributed by such
               Local Council or Chartered Organization.

        F.      Allowed Abuse Claim Calculus. After the Settlement Trustee assigns an Allowed
Abuse Claim to a Claims Matrix tier and determines the appropriate Scaling Factors that apply to
the Claim, the Proposed Allowed Claim Amount for the Allowed Abuse Claim is the product of
the Base Matrix Value of the Claim and the Scaling Factors applied to the Claim. In no event can
an Allowed Abuse Claim’s Proposed Allowed Claim Amount (or Allowed Claim Amount) exceed
the Maximum Matrix Value for the Claim’s assigned Claims Matrix tier. By way of example, if
an Allowed Abuse Claim is determined by the Settlement Trustee to be a tier 1 claim (Base Matrix
Value of $600,000) with a Scaling Factor of 1.5 for the nature and circumstances of the abuse, and
a mitigating Scaling Factor of 0.75, and no other Scaling Factors, the Proposed Allowed Claim
Amount for the Allowed Abuse Claim would be $675,000, calculated as $600,000 x 1.5 x 0.75 =
$675,000. As a further example, if, in addition to the above Scaling Factors, the same Allowed
Abuse Claim had an additional aggravating Scaling Factor of 2.0 on account of the abuser’s profile,
the Proposed Allowed Claim Amount for the Allowed Abuse Claim would be $1,350,000
(calculated as $600,000 x 1.5 x .75 x 2.0).

         G.      Optional Chartered Organization Release. To have the opportunity to
exclusively share in any settlement proceeds received from a Chartered Organization that becomes
a Protected Party as provided below in Article IX.F, a Direct Abuse Claimant must execute either
(i) the conditional release of the Charitable Organization(s) against whom the Abuse Claimant has
an Abuse Claim, that will become effective as to that Abuse Claimant if the Charitable
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Organization(s) against whom the Abuse Claimant conditionally released becomes a Protected
Party(ies), in the form attached as Exhibit B (the “Settling Chartered Organizations Release”),
or (ii) the non-conditional release of all Chartered Organizations in the form attached as Exhibit C
(the “Voluntary Chartered Organization Release”).

                              ARTICLE IX
         PAYMENT OF FINAL DETERMINATION ALLOWED ABUSE CLAIM

        A.      Payment Upon Final Determination. Only after the Settlement Trustee has
established an Initial Payment Percentage in accordance with Section 4.1 of the Settlement Trust
Agreement, then once there is a Final Determination of an Abuse Claim pursuant to Article VII.F,
the Claimant will receive a payment of such Final Determination based on the Payment Percentage
then in effect as described in Article IX.B and IX.C. For the purpose of payment by the Settlement
Trust, a Final Judicial Determination (as defined in Article XII.H hereof) shall constitute a Final
Determination.

        B.     Initial Payment Percentage. After the Claimant accepts the Proposed Allowed
Claim Amount and there is a Final Determination of the Abuse Claim, the Settlement Trust shall
pay an initial distribution (“Initial Distribution”) based on the Initial Payment Percentage
established by the Settlement Trustee in accordance with the Settlement Trust Agreement.

         C.      Supplemental Payment Percentage. When the Settlement Trustee determines
that the then-current estimates of the Settlement Trust’s assets and its liabilities, as well as then-
estimated value of then-pending Abuse Claims, warrant additional distributions on account of the
Final Determinations, the Settlement Trustee shall set a Supplemental Payment Percentage in
accordance with the Settlement Trust Agreement. Such Supplemental Payment Percentages shall
be applied to all Final Determinations that became final prior to the establishment of such
Supplemental Payment Percentage. Claimants whose Abuse Claim becomes a Final
Determination after a Supplemental Payment Percentage is set shall receive an Initial Distribution
equal to the then existing payment percentage. For the avoidance of doubt, the Allowed Claim
Amount of each Allowed Abuse Claim after Final Determination shall be deemed to be the
Protected Parties’ liability for such Allowed Abuse Claim irrespective of how much the holder of
such Abuse Claim actually receives from the Settlement Trust pursuant to the payment provisions
set forth in this Article IX. For example if the Allowed Claim Amount for an Allowed Abuse
Claim that has received a Final Determination is $1,350,000, even if the Settlement Trust
distributes less than $1,350,000 to the Abuse Claimant on account of such Allowed Abuse Claim
based on application of the Initial Payment Percentage and any Subsequent Payment Percentage(s),
the Allowed Claim Amount for the Abuse Claim is still $1,350,000.

        D.      Release. In order for an Allowed Abuse Claim to receive a Final Determination
and for the relevant Abuse Claimant to receive any payment from the Settlement Trust, the Abuse
Claimant must submit an executed form of release to be developed, in each case, by the Coalition
and the Future Claimants’ Representative, in consultation with BSA. The form of release
agreement that a Direct Abuse Claimant who takes the Expedited Distribution Election must
execute is attached as Exhibit A hereto. The form of the Settling Chartered Organization Release
applicable to an Abuse Claimant who has elected to provide a conditional release to certain
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Chartered Organizations shall be substantially in the form of Exhibit B hereto. The form of the
Voluntary Chartered Organization Release applicable to an Abuse Claimant who has selected a
Final Determination based on the Proposed Allowed Claim Amount shall be substantially in the
form of Exhibit C hereto. The form of the release applicable to an Abuse Claimant who has
selected a Final Determination based on the Proposed Allowed Claim Amount but who does not
elect to execute the Voluntary Chartered Organization Release shall be substantially in the form
of Exhibit D hereto.

         E.     FIFO Claims Process Queuing and Exigent Health Claims. The Settlement
Trust shall review all Trust Claim Submissions for processing purposes on a FIFO basis as set
forth below, except as otherwise provided herein with respect to Expedited Distributions, Exigent
Health Claims, or Submitted Abuse Claims electing to defer determination of their Allowed Claim
Amounts for up to twelve (12) months from the Effective Date pursuant to Article VII.H above.
An Abuse Claimant’s position in the FIFO Processing Queue shall be determined as of the Abuse
Claimant’s Trust Claim Submission Date. If any Trust Claim Submissions are filed on the same
date, an Abuse Claimant’s position in the applicable FIFO Processing Queue vis-à-vis such other
same-day claims shall be determined by the claimant’s date of birth, with older Abuse Claimants
given priority over younger Abuse Claimants. An Abuse Claimant that seeks recovery on account
of an Exigent Health Claim based on an Allowed Claim Amount determined through the matrix
shall be moved in front of the FIFO Processing Queue no matter what the order of processing
otherwise would have been under these TDP. Following receipt of a Final Determination on
account of an Exigent Health Claim, the holder of an Exigent Health Claim shall receive an Initial
Distribution from the Settlement Trust (subject to the payment percentages then in effect), within
thirty (30) days of executing the release as set forth in Article IX.D above.

        F.      Source Affected Weighting. Notwithstanding the Initial Payment Percentage and
the Supplemental Payment Percentages applied hereunder, a portion of Non-BSA Sourced Assets
shall be allocated (after deducting an estimated pro rata share of Settlement Trust expenses and
direct expenses related to the collection of Non-BSA Sourced Assets) only among the Allowed
Abuse Claims that (1) could have been satisfied from that source absent the Plan’s Discharge and
Channeling Injunction and (2) are held by Direct Abuse Claimants that execute a conditional
release, the form of which is attached as Exhibit B, releasing all claims against all Chartered
Organizations if the Settlement Trust enters into a global settlement making such Chartered
Organization a Protected Party. The Settlement Trustee shall establish separate payment
percentages in accordance with the Settlement Trust Agreement to effectuate the distribution of
the indicated portion of any Non-BSA Sourced Assets. For the avoidance of doubt, irrespective
of the establishment of any increased payment percentage under this Article IX.F and the
Settlement Trust Agreement that allocates Non-BSA Sourced Assets to holders of certain eligible
Allowed Abuse Claims, the maximum payment that an Abuse Claimant can recover from the
Settlement Trust before all other Allowed Abuse Claims are paid in full is the Final Determination
Allowed Abuse Claim Amount for his or her Claim.




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                                  ARTICLE X
                         RIGHTS OF SETTLEMENT TRUST
                  AGAINST NON-SETTLING INSURANCE COMPANIES

        Pursuant to the Plan, the Settlement Trust has taken an assignment of BSA’s and any other
Protected Party’s (to the extent provided for in the Plan) rights and obligations under the Insurance
Policies. For any Abuse Claim that the Settlement Trustee determines is an Allowed Abuse Claim
pursuant to Article VII above, the Settlement Trustee will determine, based on the relevant Trust
Claim Submission and any other information submitted in connection with that submission and in
the materials obtained through the Document Obligations, whether any Non-Settling Insurance
Company issued coverage that is available to respond to such Claim (an “Insured Abuse Claim”).
The Settlement Trustee may determine that multiple Non-Settling Insurance Companies have
responsibility for an Insured Abuse Claim. The Settlement Trustee shall seek reimbursement for
each Insured Abuse Claim that is an Insured Abuse Claim, including the Proposed Allowed Claim
Amount, from the applicable Non-Settling Insurance Company(ies) pursuant to the Insurance
Policies and applicable law. The Settlement Trustee shall have the ability to exercise all of the
rights and interests in the Insurance Policies assigned to the Settlement Trust as set forth in the
Plan, including the right to resolve any disputes with a Non-Settling Insurance Company regarding
their obligation to pay some or all of an Insured Abuse Claim. The Settlement Trustee will exercise
those rights consistent with their duty to preserve and maximize the assets of the Settlement Trust.
The Settlement Trustee will have the ability to request further information from Abuse Claimants
in connection with seeking reimbursement for Insured Abuse Claims.

                                       ARTICLE XI
                                 INDIRECT ABUSE CLAIMS

       A.      Indirect Abuse Claims. To be eligible to receive compensation from the
Settlement Trust, the holder of an Indirect Abuse Claim must satisfy Article IV.B hereof. Indirect
Abuse Claims that become Allowed Indirect Abuse Claims shall receive distributions in
accordance with Article IX hereof and shall be subject to the same liquidation and payment
procedures as the Settlement Trust would have afforded the holders of the underlying valid Direct
Abuse Claims pursuant to Articles VIII and IX hereof.

       B.       Offset. The liquidated value of any Indirect Abuse Claim paid by the Settlement
Trust shall be treated as an offset to or reduction of the full liquidated value of any related Direct
Abuse Claim that might be subsequently asserted against the Settlement Trust as being against any
Protected Party(ies) whose liability was paid by the Indirect Abuse Claimant.

                                      ARTICLE XII
                               TORT SYSTEM ALTERNATIVE

       A.       Remedies after Disallowance or Exhaustion of Claims Allowance Procedures.
Within thirty (30) days after a Direct Abuse Claimant receives an Allowed Claim Notice or Claim
Notice following a Reconsideration Request in accordance with Article VII.G (the “Tort Election
Deadline”), a Direct Abuse Claimant may notify the Settlement Trust of his or her intention to
seek a de novo determination of its Direct Abuse Claim by a court of competent jurisdiction (a
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“TDP Tort Election Claim”), subject to the limitations set forth in this Article XII. Such
notification shall be made by submitting a written notice to the Settlement Trustee (a “Judicial
Election Notice”) by the Tort Election Deadline. Unless the Settlement Trustee agrees to extend
the Tort Election Deadline, Abuse Claimants who fail to so submit and/or file a Judicial Election
Notice by the Tort Election Deadline shall be deemed to accept the disallowance of their Abuse
Claims or the Proposed Abuse Claim Amounts (as applicable) and shall have no right to seek any
further review of their Abuse Claims. An Abuse Claimant that asserts a TDP Tort Election Claim
may not seek costs or expenses against the Settlement Trust in the lawsuit filed and the Settlement
Trust may not seek costs or expenses against the Abuse Claimant. Any recoveries for a TDP Tort
Election Claim from outside the Settlement Trust in respect of a Protected Party’s liability are
payable to the Settlement Trust and the Abuse Claimant shall be paid in accordance with Articles
XII.G and IX hereof.

        B.      Supporting Evidence for TDP Tort Election Claims. TDP Tort Election Claims
in the federal courts shall be governed by the rights and obligations imposed upon parties to a
contested matter under the Federal Rules of Bankruptcy Procedure, provided, however, that an
Abuse Claimant that prosecutes in any court a TDP Tort Election Claim after seeking
reconsideration from the Settlement Trust shall not have the right to introduce into evidence to the
applicable court any information or documents that (i) were requested by the Settlement Trustee
and (ii) were in the possession, custody or control of the Abuse Claimant at the time of a request
by the Settlement Trust, but which the Abuse Claimant failed to or refused to provide to the
Settlement Trust in connection with the claims evaluation process in these TDP. The Abuse
Claimant’s responses to requests by the Settlement Trustee for documents or information shall be
subject to Rule 37 of the Federal Rules of Civil Procedure, as applicable under the Federal Rules
of Bankruptcy Procedure, and/or any comparable State Rule of Civil Procedure. An Abuse
Claimant shall not have the right to disclose any Proposed Abuse Claim Amount received from
the Settlement Trust to any court in connection with a Tort Election Claim. Subject to the terms
of any protective order entered by a court, the Settlement Trustee shall be permitted to introduce
as evidence before a court all information and documents submitted to the Settlement Trust under
these TDP, and the Abuse Claimant may introduce any and all information and documents that he
or she submitted to the Settlement Trust under these TDP.

        C.     Authorization of Settlement Trustee and Settlement Trust Advisory
Committee. The Settlement Trustee may authorize the commencement or continuation of a
lawsuit by a Direct Abuse Claimant in any court of competent jurisdiction against the Settlement
Trust to obtain the Allowed Claim Amount of a Direct Abuse Claim (a “STAC Tort Election
Claim” and together with a TDP Tort Election Claim, “Tort Election Claims”). STAC Tort
Election Claims shall not be required to exhaust any remedies under these TDP before
commencing or continuing such lawsuit. No Abuse Claimant may pursue a STAC Tort Election
Claim without the prior written approval of the Settlement Trustee in accordance with the
Settlement Trust Agreement. Fifty percent (50%) (or less if determined by the Settlement Trustee)
of any amounts paid with respect to a judgment for, or a settlement of, a STAC Tort Election Claim
by a Non-Settling Insurance Company, as to a policy as to which a Protected Party has assigned
relevant insurance rights to the Settlement Trust, shall be paid over to the Settlement Trust.


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        D.     Tender to Non-Settling Insurance Company. If an Abuse Claimant is authorized
to file suit against the Settlement Trust as provided in Article XII.A and XII.C herein, the
Settlement Trustee shall determine, based on the Trust Claim Submission and any other
information obtained in connection with that submission and materials received in connection with
the Document Obligations, whether any Non-Settling Insurance Company issued coverage that is
available to respond to the lawsuit (an “Insured Lawsuit”). The Settlement Trustee may
determine that there are multiple Non-Settling Insurance Companies that have responsibility to
defend an Insured Lawsuit. The Settlement Trustee shall provide notice, and if applicable, seek
defense, of any Insured Lawsuit to each Non-Settling Insurance Company from whom the
Settlement Trustee determines insurance coverage may be available in accordance with the terms
of each applicable Insurance Policy.

        E.      Parties to Lawsuit. Any lawsuit commenced under Article XII of these TDP must
be filed by the Abuse Claimant in his or her own right and name and not as a member or
representative of a class, and no such lawsuit may be consolidated with any other lawsuit. The
Abuse Claimant may assert its Abuse Claim against the Settlement Trust as if the Abuse Claimant
were asserting such claim against either the Debtors or another Protected Party and the discharge
and injunctions in the Plan had not been issued. The Abuse Claimant may name any person or
entity that is not a Protected Party, including Non-Settling Insurance Companies to the extent
permitted by applicable law. Abuse Claimants may pursue in any manner or take any action
otherwise permitted by law against persons or entities that are not Protected Parties so long as they
are not an additional insured or an Insurance Company as to an Insurance Policy issues to the BSA.

        F.     Defenses. All defenses (including, with respect to the Settlement Trust, all defenses
that could have been asserted by the Debtors or Protected Parties, except as otherwise provided in
the Plan) shall be available to both sides (which may include any Non-Settling Insurance
Company) at trial.

        G.      Settlement Trust Liability for Tort Election Claims. An Abuse Claimant who
pursues a Tort Election Claim shall have an Allowed Claim Amount equal to zero if the litigation
is dismissed or claim denied. If the matter is litigated, the Allowed Claim Amount shall be equal
to the settlement or final judgment amount obtained in the tort system less any payments actually
received and retained by the Abuse Claimant, provided that, exclusive of amounts payable
pursuant to Article XII.C (in the event such amounts exceed the Maximum Matrix Value in the
applicable tier set forth in the Claims Matrix), any amount of such Allowed Claim Amount for a
Tort Election Claim in excess of the Maximum Matrix Value in the applicable tier set forth in the
Claims Matrix shall be subordinate and junior in right for distribution from the Settlement Trust
to the prior payment by the Settlement Trust in full of all Direct Abuse Claims that are Allowed
Abuse Claims as liquidated under these TDP (excluding this Article XII). By way of example,
presume (1) there is an Abuse Claimant asserting tier one abuse that achieves a $5 million verdict
for his or her STAC Tort Election Claim against the Settlement Trust, and (2) a Non-Settling
Insurance Company pays $750,000 in coverage under a policy providing primary coverage,
$375,000 of which is paid directly to the Abuse Claimant and $375,000 of which is paid over to
the Settlement Trust pursuant to Article XII.C. Although the unpaid amount of such Allowed
Abuse Claim would be $4,625,000, the maximum total payment that the Abuse Claimant can
recover from the Settlement Trust (before the non-subordinated portion of all other Direct Abuse
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Claims that are Allowed Abuse Claims are paid in full) is $2,700,000 (the Maximum Matrix Value
in tier one), or an additional $2,325,000, paid pursuant to the terms of Article IX hereof. For the
avoidance of doubt, the limit on the Settlement Trust liability under this Article XII.G shall not
apply or inure to the benefit of any Non-Settling Insurance Company, and the Settlement Trust
shall be able to obtain coverage, subject to Article X hereof, for the full Allowed Claim Amount
obtained by the Abuse Claimant through a Tort Election Claim.

        H.      Settlement or Final Judgment. If the Settlement Trust reaches a global settlement
making a Protected Party of a Non-Settling Insurance Company or other person or entity involved
in a Tort Election Claim or obtains a final judgment in a suit against such person or entity
terminating liability for such person or entity to the Abuse Claimant, the Abuse Claimant shall be
entitled to proceed with the Tort Election Claim for any reason (e.g., if there are persons or entities
that are not Protected Parties to collect from). Alternatively, the Abuse Claimant can elect to
terminate the Tort Election Claim without prejudice and have its Abuse Claim determined through
these TDP (i.e., as if no STAC Tort Election Claim had been made), in which event the Abuse
Claimant may submit relevant evidence from the Tort Election Claim that the Settlement Trustee
shall take into account in evaluating the Abuse Claim under these TDP. Such Abuse Claimant
may be provided other alternatives by the Settlement Trust if it had been pursuing a STAC Tort
Election Claim.

        I.        Payment of Judgments by the Settlement Trust. Subject to Article XII.G hereof,
if and when an Abuse Claimant obtains a final judgment or settlement against the Settlement Trust
in the tort system (a “Final Judicial Determination”), such judgment or settlement amount shall
be treated for purposes of distribution under these TDP as the Abuse Claimant’s Final
Determination, and such Allowed Claim Amount shall also constitute the applicable Protected
Parties’ liability for such Abuse Claim. Within thirty (30) days of executing the release as set forth
in Article IX.D above, the Abuse Claimant shall receive an Initial Distribution from the Settlement
Trust (assuming an Initial Payment Percentage has been established by the Settlement Trust at that
time). Thereafter, the Abuse Claimant shall receive any subsequent distributions based on any
applicable Payment Percentage as determined by the Settlement Trust.

        J.      Litigation Results and Other Abuse Claims. To the extent that a Final Judicial
Determination of an Abuse Claim or changes in applicable law implicate the appropriateness of
the Scaling Factors or General Criteria, the Settlement Trustee, subject to the terms of these TDP
and the Settlement Trust Agreement and the approval of the Bankruptcy Court or District Court,
after appropriate notice and opportunity to object, may appropriately modify the Scaling Factors
or General Criteria on a go-forward basis for use in evaluation of Future Abuse Claims and other
Abuse Claims as to which no Allowed Claim Amount Final Determination had previously been
made.

         K.     Tolling of Limitations Period. The running of the relevant statute of limitation
shall be tolled as to each Abuse Claimant’s Abuse Claim against each Protected Party from the
earliest of (A) the actual filing of the claim against the Protected Party prior to the Petition Date,
whether in the tort system or by submission of the claim to the Protected Party pursuant to an
administrative settlement agreement; (B) the tolling of the claim against a Debtor prior to the
Petition Date by an agreement or otherwise, provided such tolling is still in effect on the Petition
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Date; or (C) the Petition Date, and shall continue until one (1) year following release of the Abuse
Claim into the tort system hereunder.

                                           ARTICLE XIII
                                     MISCELLANEOUS PROVISIONS

        A.     Non-Binding Effect of Settlement Trust and/or Litigation Outcome.
Notwithstanding any other provision of these TDP, the outcome of litigation against the Debtors
by the holder of an Indirect Abuse Claim shall not be used in, be admissible as evidence in, binding
in or have any other preclusive effect in connection with the Settlement Trust’s resolution or
valuation of an Indirect Abuse Claim.

        B.      Amendments. Except as otherwise provided herein, the Settlement Trustee may
not amend, modify, delete, or add to any provisions of these TDP without the written consent of
the STAC and the Future Claimants’ Representative, as provided in the Settlement Trust
Agreement, including amendments to modify the system for Tort Election Claims. Nothing herein
is intended to preclude the STAC and/or the Future Claimants’ Representative from proposing to
the Settlement Trustee, in writing, amendments to these TDP. Notwithstanding the foregoing,
absent Bankruptcy Court or District Court approval after appropriate notice and opportunity to
object, neither the Settlement Trustee nor the STAC or Future Claimants’ Representative may
amend these TDP in a material manner, including (i) to provide for materially different treatment
for Abuse Claims, (ii) to materially change the system for Tort Election Claimants, or (iii) in a
manner that is otherwise inconsistent with the Confirmation Order or Plan. Notwithstanding the
foregoing, neither the Settlement Trustee nor the STAC or the Future Claimants’ Representative
may amend any of the forms of release set forth in Article IX.D without the consent of Reorganized
BSA, or remove the requirement of a release in connection with an Expedited Determination.

        C.     Severability. Should any provision contained in these TDP be determined to be
unenforceable, such determination shall in no way limit or affect the enforceability and operative
effect of any and all other provisions of these TDP.

         D.      Offsets. The Settlement Trust shall have the right to offset or reduce the Allowed
Claim Amount of any Allowed Abuse Claim, without duplication as to the mitigating factors
(e.g., as to other responsible parties) on a dollar for dollar basis based on any amounts paid, agreed,
or reasonably likely to be paid to the holder of such Claim on account of such Claim as against a
Protected Party (or that reduces the liability thereof under applicable law) from any source other
than the Settlement Trust.

        E.      Governing Law. These TDP shall be interpreted in accordance with the laws of
the State of Delaware. Notwithstanding the foregoing, the evaluation of Abuse Claims under these
TDP and the law governing litigation in the tort system shall be the law of the jurisdiction in which
the Abuse Claimant files the lawsuit as described in Article XII or the jurisdiction where such
Abuse Claim could have been filed under applicable law.

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                        EXHIBIT B

            SETTLEMENT TRUST AGREEMENT
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          BSA SETTLEMENT TRUST AGREEMENT


                    DATED AS OF [●], 2021


  PURSUANT TO THE [●] AMENDED CHAPTER 11 PLAN OF

    REORGANIZATION FOR BOY SCOUTS OF AMERICA

                AND DELAWARE BSA, LLC
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                               BSA SETTLEMENT TRUST AGREEMENT

        This BSA Settlement Trust Agreement (this “Trust Agreement”), dated as of [●], 2021,
and effective as of the Effective Date, is entered in accordance with the [●] Amended Chapter 11
Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC, dated as of [●], 2021
                                                                  1
(as it may be amended, modified, or supplemented, the “Plan”), by Boy Scouts of America (the
“Settlor,” the “BSA” or, after the Effective Date (as defined in the Plan) “Reorganized BSA”);
the Future Claimants’ Representative for the Trust identified in Section 7.1 hereof (together with
any successor serving in such capacity, the “FCR”); Eric D. Green, as trustee (together with any
successor serving in such capacity, the “Trustee”); [●] as the Delaware Trustee (together with any
successor serving in such capacity, the “Delaware Trustee”); and the members of the Settlement
Trust Advisory Committee who are the individuals further identified on the signature pages here
(together with any successors serving in such capacity, the “STAC”).2

                                                       RECITALS


       (A)    The BSA and its affilate, Delaware BSA, LLC (together, the “Debtors”) have, or
contemporaneously with the execution of this Trust Agreement will have, reorganized under the
provisions of chapter 11 of the Bankruptcy Code in a case filed in the Bankruptcy Court,
administered and known as In re Boy Scouts of America and Delaware BSA, LLC, Case No. 20-
10343 (Bankr. D. Del. 2020) (LSS) (collectively, the “Chapter 11 Cases”).

       (B)     BSA is executing this Trust Agreement in its capacity as Settlor to implement the
Plan and to create the BSA Settlement Trust (the “Trust”) for the benefit of the holders of Class
8 Direct Abuse Claims and Class 9 Indirect Abuse Claims (together, the “Abuse Claims”).

        (C)    The Confirmation Order has been entered by the Bankruptcy Court and is in full
force and effect.

       (D)     The Plan and Confirmation Order provide, among other things, for the creation of
the Trust to satisfy all Abuse Claims in accordance with this Trust Agreement, the Plan and the
Confirmation Order.

       (E)    The Bankruptcy Court held in the Confirmation Order that all the prerequisites for
the Channeling Injunction have been satisfied, and such Channeling Injunction is fully effective
and enforceable as provided in the Plan and Confirmation Order with respect to the channeled
Abuse Claims, as provided therein (the “Channeled Claims”).

1
    All capitalized terms used but not otherwise defined herein shall have their respective meanings as set forth in the Plan or in
    the Confirmation Order, as applicable.
2
    The STAC shall initially consist of (a) five (5) individuals selected by the Coalition of Abused Scouts for Justice (the
    “Coalition” and such individuals, the “Coalition Appointees”) and (b) two (2) individuals selected by the Official
    Committee of Tort Claimants (the “TCC” and such individuals, the “Committee Appointees”), subject to the reasonable
    consent of the Coalition. The initial STAC members shall be [●].
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        (F)      The Plan and Confirmation Order provide that, on the Effective Date and
continuing thereafter until fully funded by the Debtors in accordance with the Plan, the Aggregate
Settlement Consideration (as defined in Section 1.3), as described in Exhibit 1 shall be transferred
to and vested in the Trust free and clear of all liens, encumbrances, charges, claims, interests or
other liabilities of any kind of the Debtors or their affiliates, any creditor or any other entity, other
than as provided in the Channeling Injunction with respect to the Channeled Claims.

        NOW, THEREFORE, it is hereby agreed as follows:

                                        ARTICLE 1.
                                    AGREEMENT OF TRUST

Section 1.1 Creation and Name. BSA as Settlor hereby creates a trust known as the “BSA
Settlement Trust” which is the Trust provided for and referred to in the Plan. The Trustee may
transact the business and affairs of the Trust in the name of the BSA Settlement Trust Fund and
references herein to the Trust shall include the Trustee acting on behalf of the Trust. It is the
intention of the parties hereto that the Trust created hereby constitutes a statutory trust under
Chapter 38 of title 12 of the Delaware Code, 12 Del. C. §§ 3801 et seq. (the “Act”) and that the
Confirmation Order, the Plan and this Trust Agreement, including the Exhibits hereto (the
Confirmation Order, the Plan and this Trust Agreement, including all Exhibits hereto, which
includes the TDP as defined in Section 1.2 below, collectively, the “Trust Documents”),
constitute the governing instruments of the Trust. The Trustee and the Delaware Trustee are hereby
authorized and directed to execute and file a Certificate of Trust with the Delaware Secretary of
State in the form attached hereto as Exhibit 2.

Section 1.2 Purposes. The purposes of the Trust are to (i) assume all liability for the Channeled
Claims, (ii) administer the Channeled Claims and (iii) make distributions to holders of
compensable Abuse Claims, in each case in accordance with the Trust Distributions Procedures
for Abuse Claims attached hereto as Exhibit 3 (the “TDP”). In connection therewith, the Trust
shall hold, manage, protect and monetize the Trust Assets (as defined in Section 1.3 below) in
accordance with the terms of the Trust Documents for the benefit of the Beneficiaries (as defined
in Section 1.6(a) below). For the avoidance of doubt, all Abuse Claims asserted against the Debtors
in the Chapter 11 Cases shall be resolved exclusively in accordance with the TDP.

Section 1.3 Transfer of Assets. Pursuant to the Plan, on the Effective Date, the Trust will receive
and hold all right, title and interest in and to the consideration described in Article IV.D of the Plan
and set forth on Exhibit 1 hereto (the “Aggregate Settlement Consideration” and together with
any income or gain earned thereon and proceeds derived therefrom, collectively, the “Trust
Assets”). The Aggregate Settlement Consideration shall be transferred to the Trust free and clear
of any liens, encumbrances, charges, claims, interests or other liabilities of any kind of the Debtors
or their affiliates, any creditor or any other person or entity, other than as provided in the
Channeling Injunction with respect to Channeled Claims. The Debtors or Reorganized BSA shall
execute and deliver such documents to the Trust as the Trustee reasonably requests to transfer and




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assign any assets comprising all or a portion of the Aggregate Settlement Consideration to the
Trust.

Section 1.4 Acceptance of Assets. In furtherance of the purposes of the Trust, the Trustee, on
behalf of the Trust, hereby expressly accepts the transfer to the Trust of the Aggregate Settlement
Consideration, subject to the terms of the Trust Documents. The Trust shall succeed to all of the
Debtors’ respective right, title, and interest, including all legal privileges, in the Aggregate
Settlement Consideration and neither the Debtors nor any other person or entity transferring such
Aggregate Settlement Consideration will have any further equitable or legal interest in, or with
respect to, the Trust Assets, including the Aggregate Settlement Consideration, or the Trust.

               (b)     Except as otherwise provided in the Plan, Confirmation Order or Trust
Documents, the Trust shall have all defenses, cross-claims, offsets, and recoupments, as well as
rights of indemnification, contribution, subrogation, and similar rights, regarding such claims that
the Debtors or the Reorganized BSA have or would have had under applicable law.

              (c)     No provision herein or in the TDP shall be construed or implemented in a
manner that would cause the Trust to fail to qualify as a “qualified settlement fund” under the QSF
Regulations (as defined in Section 8.4(a) below).

              (d)      Nothing in this Trust Agreement shall be construed in any way to limit the
scope, enforceability, or effectiveness of the Channeling Injunction or other terms of the Plan or
Confirmation Order.

               (e)     In this Trust Agreement and the TDP, the words “must,” “will,” and “shall”
are intended to have the same mandatory force and effect, while the word “may” is intended to be
permissive rather than mandatory.

Section 1.5    Receipt of Proceeds.

       The proceeds of any recoveries from any litigation or claims of the Trust (including the
Actions) will be deposited in the Trust’s accounts and become the property of the Trust.

Section 1.6    Beneficiaries.

               (a)    The beneficial owners (within the meaning of the Act) of the Trust shall be
the holders of Abuse Claims (the “Beneficiaries”).

            (b)      The Beneficiaries shall be subject to the terms of this Trust Agreement and
Trust Documents, including without limitation, the TDP.




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Section 1.7 Jurisdiction. The Bankruptcy Court shall have continuing jurisdiction with respect
to the Trust; provided however, the courts of the State of Delaware, including any federal court
located therein, shall also have jurisdiction over the Trust.

Section 1.8      Privileged and confidential information.

        The transfer or assignment of any Privileged Information to the Trustee pursuant to the
Document Agreement (as defined in the Plan) shall not result in the destruction or waiver of any
applicable privileges pertaining thereto. Further, with respect to any such privileges: (a) they are
transferred to or contributed for the purpose of enabling the Trustee to perform his or her duties to
administer the Trust; (b) they are vested solely in the Trustee and not in the Trust, the STAC, the
FCR, the Special Reviewer (as defined in Section 2.1(d)(xi) below), the SASAC (as defined in
Section 2.8(a) below), or any other person, committee or subcomponent of the Trust, or any other
person (including counsel and other professionals) who has been engaged by, represents, or has
represented any holder of an Abuse Claim; and (c) the Trustee shall keep, handle and maintain
such Privileged Information in accordance with the terms of the Document Agreement.3
Notwithstanding the foregoing, nothing shall preclude the Trustee from providing Privileged
Information to any Insurance Company as necessary to preserve, secure, or obtain the benefit of
any rights under any Insurance Policy.

Section 1.9      Relation-back election.

        Pursuant to the Document Agreement, if applicable, the Trustee and the Debtor shall fully
cooperate in filing a relation-back election under Treasury Regulation Section 1.468B-1(j)(2), to
treat the Settlement Trust as coming into existence as a settlement fund as of the earliest possible
date.

Section 1.10 Employer identification number.

      Upon establishment of the Trust, the Trustee shall apply for an employer identification
number for the Trust in accordance with Treasury Regulation Section 1.468B-2(k)(4).

Section 1.11 Relationship to Plan.

        The principal purpose of this Trust Agreement is to aid in the implementation of the Plan
and the Confirmation Order and therefore, this Trust Agreement incorporates the provisions of the
Plan and the Confirmation Order (which may amend or supplement the Plan). To the extent that
there is conflict between the provisions of this Trust Agreement, the TDP, the provisions of the
Plan or the Confirmation Order, each document shall have controlling effect in the following order:
(1) the Confirmation Order; (2) the Plan; (3) this Trust Agreement; and (4) the TDP.




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    The Document Agreement will be filed with the Plan Supplement.



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                                    ARTICLE 2.
                         POWERS AND TRUST ADMINISTRATION

Section 2.1    Powers.

               (a)     The Trustee is empowered to take all actions, including such actions as may
be consistent with those expressly set forth above, as the Trustee deems necessary to reasonably
ensure that the Trust is treated as a “qualified settlement fund” under Section 468B of the Tax
Code and the regulations promulgated pursuant thereto. Further, the Trustee may, unilaterally and
without court order, amend, either in whole or in part, any administrative provision of this Trust
Agreement which causes unanticipated tax consequences or liabilities inconsistent with the
foregoing.

                (b)     The Trustee is and shall act as the fiduciary to the Trust in accordance with
the provisions of this Trust Agreement. The Trustee shall administer the Trust, the Trust Assets,
and any other amounts to be received under the terms of the Trust Documents in accordance with
the purposes set forth in Section 1.2 above and in the manner prescribed by the Trust Documents.
Subject to the limitations set forth in the Trust Documents, the Trustee shall have the power to take
any and all actions that in the judgment of the Trustee are necessary or advisable to fulfill the
purposes of the Trust, including, without limitation, each power expressly granted in this Section
2.1, any power reasonably incidental thereto and any trust power now or hereafter permitted under
the laws of the State of Delaware. Nothing in the Trust Documents or any related document shall
require the Trustee to take any action if the Trustee reasonably believes that such action is contrary
to law. In addition to all powers enumerated in the Trust Documents, including, but not limited to,
the Trustee’s powers and authority in respect of the interpretation, application of definitions and
rules of construction set forth in Article I of the Plan to the fullest extent set forth therein, from
and after the Effective Date, the Trust shall succeed to all of the rights and standing of the Debtors
with respect to the Aggregate Settlement Consideration in its capacity as a trust administering
assets for the benefit of the Beneficiaries.

              (c)    Except as required by applicable law or the Trust Documents, the Trustee
need not obtain the order or approval of any court in the exercise of any power or discretion
conferred hereunder.

                (d)     Without limiting the generality of Sections 2.1(a) and (b) above, and except
as limited in the Trust Documents and by applicable law, the Trustee shall have the power to:

                     (i)   supervise and administer the Trust in accordance with the Trust
Documents, including the TDP;

                    (ii)  adopt procedures to allow valid Abuse Claims (“Allowed Abuse
Claims”), and determine an allowed liability amount for each Allowed Abuse Claim (the
“Allowed Claim Amount”) in accordance with the TDP;

                     (iii) establish an initial payment percentage (the “Initial Payment
Percentage”) with respect to Allowed Abuse Claims and adjust the Initial Payment Percentage
and any subsequent Payment Percentage as set forth in Section 4.2 below;



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                       (iv)     receive and hold the Trust Assets, and exercise all rights with respect
thereto including the right to vote and sell any securities that are included in such funds;

                          (v)       invest the monies held from time to time by the Trust in accordance
with Section 3.2;

                     (vi)   sell, transfer or exchange any or all of the Trust Assets at such prices
and upon such terms as the Trustee may determine proper and consistent with the other terms of
the Trust Documents;

                      (vii) enter into leasing, financing or other agreements with third parties,
as determined by the Trustee, in his or her discretion, to be useful in carrying out the purposes of
the Trust;

                       (viii) determine and pay liabilities and pay all fees and expenses incurred
in administering the Trust, managing the Trust Assets and making distributions in accordance with
the Trust Documents (the “Trust Operating Expenses”);

                      (ix) establish accounts and reasonable reserves within the Trust, as
determined by the Trustee, in his or her discretion, to be necessary, prudent or useful in
administering the Trust;

                        (x)     sue, be sued and participate, as a party or otherwise, in any judicial,
administrative, arbitrative or other proceeding;

                       (xi)    appoint such officers and retain such employees, consultants,
advisors, independent contractors, experts and agents and engage in such legal, financial,
administrative, accounting, investment, auditing and alternative dispute resolution services and
activities as the Trust requires, including without limitation the special reviewer and successor
thereto (the “Special Reviewer”),4 and delegate to such persons such powers and authorities as
this Trust Agreement provides or the fiduciary duties of the Trustee permits and as the Trustee, in
his or her discretion, deems advisable or necessary in order to carry out the terms of this Trust
Agreement;

                        (xii) pay reasonable compensation and reimbursement of expenses to any
of the Trust’s employees, consultants, advisors, independent contractors, experts and agents for
legal, financial, administrative, accounting, investment, auditing and alternative dispute resolution
services and activities as the Trust requires;

                      (xiii) compensate the Trustee, Delaware Trustee, the FCR and their
employees, consultants, advisors, independent contractors, experts and agents, and reimburse the
Trustee, the Delaware Trustee, the STAC members, and the FCR for all reasonable out-of-pocket
costs and expenses incurred by such persons in connection with the performance of their duties
hereunder;


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    The initial Special Reviewer shall be subject to the approval of the Coalition and the TCC and identified in the Plan
    Supplement.



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                        (xiv) compensate professionals for services, costs and expenses incurred
prior to the Effective Date in accordance with the terms of the Plan and Confirmation Order;

                      (xv) execute and deliver such instruments as the Trustee considers
advisable or necessary in administering the Trust;

                       (xvi) timely file such income tax and other tax returns and statements
required to be filed and timely pay all taxes, if any, required to be paid from the Settlement Trust
Assets and comply with all applicable tax reporting and withholding obligations;

                       (xvii) require, in respect of any distribution of Settlement Trust Assets, the
timely receipt of properly executed documentation (including, without limitation, IRS Form W-9)
as the Trustee determines in his or her discretion necessary or appropriate to comply with
applicable tax laws;

                       (xviii) [resolve all applicable lien resolution matters;]

                       (xix) register as a responsible reporting entity (“RRE”) and timely submit
all reports under the reporting provisions of section 111 of the Medicare, Medicaid, and SCHIP
Extension Act of 2007 (Pub. L. 110-173) (“MMSEA”) as required under Section 4.4 below;

                     (xx) determine the form(s) of release required to be executed by a
Beneficiary in connection with a distribution on account of an Abuse Claim in accordance with
the TDP;

                       (xxi) enter into such other arrangements with third parties as are deemed
by the Trustee to be useful in carrying out the purposes of the Trust, provided such arrangements
do not conflict with any other provision of the Trust Documents;

                      (xxii) in accordance with Section 5.9 below, defend, indemnify, and hold
harmless (and purchase insurance indemnifying) the Trust Indemnified Parties (as defined in
Section 5.7(a) below) solely from the Trust Assets and to the fullest extent permitted by law;

                       (xxiii) delegate any or all of the authority herein conferred with respect to
the investment of all or any portion of the Trust Assets to any one or more reputable investment
advisors or investment managers without liability for any action taken or omission made because
of any such delegation;

                       (xxiv) delegate any or all of the authority conferred with respect to the
protection, preservation, and monetization of the non-cash Trust Assets;

                       (xxv) initiate, prosecute, defend, settle, maintain, administer, preserve,
pursue, and resolve, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, all legal actions
and other proceedings related to any asset, liability, or responsibility of the Trust, including the
Actions (as defined in the Plan);

                      (xxvi) enter into structured settlements and other similar arrangements with
any Beneficiary (including a minor or other person in need of special consideration) upon such


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terms as the Trustee and such Beneficiary (or such Beneficiary’s counsel or other authorized
person) agree, in all cases in accordance with the TDP;

                      (xxvii) contract for the establishment and continuing maintenance of a
website (the “Trust Website”) to aid in communicating information to the Beneficiaries and their
counsel or other authorized persons;

                       (xxviii) take any and all actions appropriate or necessary in order to carry
out the terms of the Trust Documents; and

                       (xxix) except as otherwise expressly provided in the Trust Documents,
exercise any other powers now or hereafter conferred upon or permitted to be exercised by a trustee
under the laws of the State of Delaware.

                (e)    The Trustee shall have the power to (i) authorize the commencement or
continuation of a lawsuit by a Direct Abuse Claimants against the Trust to obtain the Allowed
Claim Amount of a Direct Abuse Claim in accordance with the provisions of Article XII.B of the
TDP (a “STAC Tort Election Claim”), and (ii) enter into any global settlement that causes an
Insurance Company or a Chartered Organization to become a Protected Party within the meaning
of the Plan (a “Global Settlement”), provided however, the powers set forth in this Section 2.1(e)
shall in each case be subject to the provisions of Sections 5.13 and 5.14 below.

                (f)    The Trustee shall take all actions necessary or advisable for the enforcement
of the non-monetary commitments of Reorganized BSA with respect to Child Protection as set
forth in the Plan and Confirmation Order.

                (g)    The Trustee shall consult with the STAC and the FCR on the matters set
forth in Section 5.13 below. The Trustee shall obtain the consent of the STAC and the FCR prior
to taking action with respect to the matters set forth in Section 5.14 below, as and to the extent set
forth therein, and subject to the provisions of Section 6.4 below.

Section 2.2    Limitations on the Trustee.

       Notwithstanding anything in the Trust Documents to the contrary, the Trustee shall not do
or undertake any of the following:

               (a)     guaranty any debt;

               (b)     make or enter into any loan of Trust Assets;

              (c)   make any transfer or distribution of Trust Assets other than those authorized
by the Trust Documents;

               (d)    engage in any trade or business with respect to the Trust Assets or proceeds
therefrom, other than managing such assets;

               (e)    engage in any investment of the Trust Assets, other than as explicitly
authorized by this Trust Agreement; and


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                (f)    engage in any activities inconsistent with the treatment of the Trust as a
“qualified settlement fund” within the meaning of Treasury Regulations issued under Section 468B
of the Tax Code.

Section 2.3 General Administration. The Trustee shall act in accordance with the Trust
Documents. The Trustee shall establish the location of the principal office of the Trust and may
change the location of the principal office or establish other offices at other locations in his or her
discretion.

Section 2.4 Accounting. The fiscal year of the Trust shall begin on January 1 and shall end on
December 31 of each calendar year. The Trustee shall maintain the books and records relating to
the Trust Assets and income and the payment of Trust Operating Expenses and other liabilities of
the Trust. The detail of these books and records and the duration of time during which the Trustee
shall keep such books and records shall be such as to allow the Trustee to make a full and accurate
accounting of all Trust Assets, as well as to comply with applicable provisions of law and standard
accounting practices necessary or appropriate to produce an annual report containing special-
purpose financial statements of the Trust, including, without limitation, the assets and liabilities of
the Trust as of the end of such fiscal year and the additions, deductions and cash flows for such
fiscal year (the “Annual Report”); provided however, that the Trustee shall maintain such books
and records until the wind-up of the Trust’s affairs and satisfaction of all of Trust liabilities.

Section 2.5    Financial Reporting.

                (a)     The Trustee shall engage a firm of independent certified public accountants
(the “Independent Auditors”) selected by the Trustee, to audit the Annual Report. Within one
hundred twenty (120) days following the end of each calendar year, the Trustee shall file with the
Bankruptcy Court the Annual Report audited by the Independent Auditors and accompanied by an
opinion of such firm as to the fairness in all material respects of the special-purpose financial
statements. The Trustee shall publish a copy of such Annual Report on the Trust Website when
such report is filed with the Bankruptcy Court.

                (b)   All materials filed with the Bankruptcy Court pursuant to this Section 2.4
need not be served on any parties in the Chapter 11 Cases but shall be available for inspection by
the public in accordance with procedures established by the Bankruptcy Court.

Section 2.6 Claims Reporting. Within one hundred twenty (120) days following the end of each
calendar year, the Trustee shall cause to be prepared and filed with the Bankruptcy Court an annual
report containing a summary regarding the number and type of Abuse Claims disposed of during
the period covered by the financial statements (the “Annual Claims Report”). The Trustee shall
post a copy of the Annual Claims Report on the Trust Website when such report is filed with the
Bankruptcy Court.

               (b)     Within forty-five (45) days following the end of each calendar quarter, the
Trustee shall cause to be prepared a quarterly claims report containing a summary regarding the
number and type of Abuse Claims disposed of during the quarter (the “Quarterly Claims
Report”). The financial information set forth in the Quarterly Claims Report shall be unaudited.




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The Trustee shall post a copy of the Quarterly Claims Report on the Trust Website; the Quarterly
Claims Report need not be filed with the Bankruptcy Court.

Section 2.7      Names and addresses.

        The Trustee shall keep a register (the “Register”) in which the Trustee shall at all times
maintain the names and addresses of the Beneficiaries and the awards made to the Beneficiaries
pursuant to the Trust Documents. The Trustee may rely upon this Register for the purposes of
delivering distributions or notices. In preparing and maintaining this Register, the Trustee may rely
on the name and address of each Abuse Claim holder as set forth in a proof of claim filed by such
holder, or proper notice of a name or address change, which has been delivered by such Beneficiary
to the Trustee. The Trustee may deliver distributions and notices to counsel for any Beneficiary
identified in such Beneficiary’s proof of claim or proper notice of a name or address change.

Section 2.8      Sexual Abuse Survivors Advisory Committee.

                (a)     There shall be a Sexual Abuse Survivors Advisory Committee which shall
consist of five (5) individual abuse survivors (such individuals, together with their successors, the
“SASAC”).5

               (b)     The SASAC may attend and participate in such meetings as shall be called
by the Trustee and/or the STAC (“SASAC Meetings”) from time to time as determined by the
Trustee and/or STAC respectively in their discretion, and the Trustee and STAC shall provide
periodic reporting to the SASAC. There shall be not less than one (1) SASAC Meetings in each
calendar year. The Trustee and/or the STAC shall propose to consult with the SASAC at least
quarterly, and shall use their reasonable best efforts to keep the SASAC advised of any material
matters of the Trust, as determined by the Trustee and/or STAC in their reasonable judgment.

               (c)     The SASAC may have reasonable access to the Trust’s consultants and
other advisors retained by the Trust and its staff (if any), which access may be made available as
determined by the Trustee.

               (d)     The members of the SASAC shall not be entitled to compensation for their
services; the members of the SASAC shall be reimbursed promptly for all reasonable and
documented out-of-pocket costs and expenses incurred in connection with their attendance at all
SASAC Meetings set forth in Section 2.8(b). [The Trust shall include a description of the amounts
paid under this Section 2.8 in the Annual Report to be posted on the Trust’s Website.]

Section 2.9      Transfers of the Trust Corpus.

        To the fullest extent permitted by law, neither the principal nor income of the Trust, in
whole or part, shall be subject to any legal or equitable claims of creditors of any Beneficiary or
others, nor to legal process, nor be voluntarily or involuntarily transferred, assigned, anticipated,



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    The initial members of the SASAC shall consist of two (2) individuals selected by the Coalition and three (3) individuals
    selected by the TCC, subject to the approval of the Coalition.



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pledged or otherwise alienated or encumbered except as may be ordered by the Bankruptcy Court
or other competent court of jurisdiction.

                                        ARTICLE 3.
                             ACCOUNTS, INVESTMENTS, EXPENSES

Section 3.1    Accounts.

                (a)     The Trustee shall maintain one or more accounts (“Trust Accounts”) on
behalf of the Trust with one or more financial depository institutions (each a “Financial
Institution”). Candidates for the positions of Financial Institution shall fully disclose to the
Trustee any interest in or relationship with Reorganized BSA or their affiliated persons or [others].
Any such interest or relationship shall not be an automatic disqualification for the position, but the
Trustee shall take any such interest or relationship into account in selecting a Financial Institution.

                (b)     The Trustee may replace any retained Financial Institution with a successor
Financial Institution at any time, and such successor shall be subject to the considerations set forth
in Section 3.1(a).

                (c)     The Trustee may maintain a segregated account to hold any assets thereof
for the benefit of the holders of Future Abuse Claims (the “Future Abuse Claims Reserve”) to
the extent required to implement the TDP. Trust Operating Expenses directly allocable to the
administration of Future Abuse Claims and the Future Abuse Claims Reserve shall be charged
against the Future Abuse Claims Reserve, as reasonably determined by the Trustee.

                       (i)      [Reserved for the administration of the Future Abuse Claims
Reserve.]

                (d)     The Trustee may maintain segregated accounts to hold any assets received
as a result of or in connection with a Global Settlement between the Debtors or the Trust, on the
one hand, and a Chartered Organization that is or becomes a Protected Party, on the other hand
(the “Chartered Organization Abuse Claims Reserve”) to the extent required to implement the
TDP. The Trust shall hold the assets thereof for the benefit of holders of Allowed Abuse Claims
that (i) could have been satisfied from that source absent the Plan’s Discharge and Channeling
Injunction and (ii) are held by Direct Abuse Claimants that execute a conditional release releasing
all claims against all Chartered Organizations pursuant to the terms of the TDP (“Chartered
Organization Abuse Claims”). Trust Operating Expenses directly allocable to the administration
of Chartered Organization Abuse Claims and the Chartered Organization Abuse Claims Reserve
shall be charged against the Chartered Organization Abuse Claims Reserve, as reasonably
determined by the Trustee.

                    (i)         [Reserved for the administration of the Chartered Organization
Abuse Claims Reserve.]

               (e)    The Trustee may, from time to time, create such accounts and reasonable
reserves within the Trust Accounts as authorized in this Section 3.1 and as he or she may deem
necessary, prudent or useful in order to provide for distributions to the Beneficiaries and the
payment of Trust Operating Expenses and may, with respect to any such account or reserve, restrict


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the use of money therein for a specified purpose (the “Trust Subaccounts”). [Any such Trust
Subaccounts established by the Trustee shall be held as Trust Assets and are not intended to be
subject to separate entity tax treatment as a “disputed claims reserve” or a “disputed ownership
fund” within the meaning of the Internal Revenue Code (“IRC”) or Treasury Regulations.]

Section 3.2    Investment Guidelines.

               (a)    The Trustee may invest the Trust Assets in accordance with the Investment
Guidelines, attached hereto as Exhibit 4 (the “Investment Guidelines”).

               (b)     Pursuant to the Plan, the Trust shall hold certain non-liquid assets. The
Trustee shall own, protect, oversee, insure and monetize such non-liquid assets in accordance with
the Trust Documents. This Section 3.2(b) is intended to modify the application to the Trust of the
“prudent person” rule, “prudent investor” rule and any other rule of law that would require the
Trustee to diversify the Trust Assets.

               (c)    Cash proceeds received by the Trust in connection with its monetization of
the non-liquid Trust Assets shall be invested in accordance with the Investment Guidelines until
needed for the purposes of the Trust as set forth in Section 1.2 above.

Section 3.3 Payment of Trust Operating Expenses. All Trust Operating Expenses shall be
payable out of the Trust Assets. None of the Trustee, Delaware Trustee, the STAC, the FCR, the
Beneficiaries nor any of their officers, agents, advisors, professionals or employees shall be
personally liable for the payment of any Trust Operating Expense or any other liability of the Trust.

                                  ARTICLE 4.
                   CLAIMS ADMINISTRATION AND DISTRIBUTIONS

Section 4.1 Claims Administration and Distributions. The Trust shall fairly and reasonably
compensate Allowed Abuse Claims and shall pay up to the full value of such claims, solely in
accordance with the Trust Documents, including the TDP (and, for the avoidance of doubt,
including without limitation the provisions of Article XI and Article XII.C. and G of the TDP).
The TDP shall be subject to amendment or modification only to the extent expressly set forth in
the TDP.

Section 4.2    Applicability and Review of Payment Percentage.

                 (a)    Because there is uncertainty in the prediction of both the total amount of the
Trust’s liabilities and the amount of the Trust Assets, no guarantee can be made as to the total
payment the Trust will be able to pay for any Allowed Abuse Claim. The Trustee shall determine
from time to time the percentage of value that holders of present and future Abuse Claims are
likely to receive from the Trust Assets available for distribution on account of compensable Abuse
Claims. As soon as practicable after the Effective Date, the Trustee shall establish an Initial
Payment Percentage.

               (b)     The Initial Payment Percentage shall apply to all Allowed Abuse Claims to
be paid by the Trust until the Trustee, with the consent of the STAC and the FCR, determines that
the Initial Payment Percentage should be changed to assure that the Trust shall be in a financial


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position to pay present and future holders of similar Allowed Abuse Claims in substantially the
same manner (the Initial Payment Percentage, as it may be changed from time to time pursuant to
this Section 4.2, the “Payment Percentage”).

                (c)    No less frequently than once every twelve (12) months, commencing on the
first anniversary of the Effective Date, the Trustee shall compare the Abuse Claims distribution
forecasts for the Trust on which the then-existing Payment Percentage was based with the actual
Abuse Claims filings and distributions of the Trust to date. If the results of the comparison suggest
the potential for shortfalls in Trust Assets for continued Abuse Claims distributions at the then
applicable Payment Percentage, the Trustee shall undertake a reconsideration of the Payment
Percentage. The Trustee may reconsider the Payment Percentage at shorter intervals if the Trustee
deems such reconsideration is appropriate or if requested to do so by the STAC or the FCR. The
provisions of this Section 4.2(d) may be modified by the Trustee with the consent of the STAC
and the FCR.

               (d)     The Trustee shall base the determination of any Payment Percentage on
current estimates of the number, types, and values of present and future Abuse Claims, the current
Trust Assets, all anticipated Trust Operating Expenses, and any other material matters that are
reasonably likely to affect the sufficiency of Trust Assets available to pay the present and future
holders of Abuse Claims.

Section 4.3    Supplemental Payments.

               (a)    If the Trustee, with the consent of the STAC and the FCR, increases the
Payment Percentage, the Trust shall make supplemental payments to all Beneficiaries who
previously liquidated their Abuse Claims and received payments based on a lower Payment
Percentage (with adjustments, if any, as set forth in the TDP). The amount of any such
supplemental payment to a Beneficiary shall be the liquidated value of the Abuse Claim in question
times the applicable newly adjusted Payment Percentage, less all amounts previously paid by the
Trust to the Beneficiary (with adjustments, if any, as set forth in the TDP) with respect to the
Abuse Claim.

               (b)     The Trustee’s obligation to make a supplemental payment to a Beneficiary
shall be suspended in the event the payment in question would be less than $250 after application
of the Payment Percentage at that time. The amount of a suspended payment to the holder of any
Abuse Claim shall be added to the amount of any prior supplemental payment(s) that was/were
also suspended because it/they collectively would have been less than $250, and the Trustee’s
obligation shall resume to pay any such aggregate supplemental payments due the Beneficiary at
such time that the cumulative aggregate amount exceeds $250.

               (c)   Notwithstanding anything herein or in the TDP, the Trustee reserves all
powers expressly granted to him or her by the Plan and the Confirmation Order with respect to the
administration of Abuse Claims.




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Section 4.4 Manner of Payment. Distributions from the Trust to the Beneficiaries may be made
by the Trustee on behalf of the Trust or by a disbursing agent retained by the Trust to make
distributions on behalf of the Trust.

Section 4.5    Delivery of Distributions.

                 (a)   Distributions shall be payable to the Beneficiary (or to counsel for the
Beneficiary) on the date approved for distribution by the Trustee (the “Distribution Date”) in
accordance with the terms of the Trust Documents, including the TDP. With respect to each
compensable Abuse Claim approved for payment, distributions shall be made only after the
Trustee has determined that all obligations of the Trust with respect to each such Abuse Claim
have been satisfied. In the event that any distribution to a Beneficiary is returned as undeliverable,
no further distribution to such Beneficiary shall be made unless and until the Trustee has been
notified of the then current address of such Beneficiary, at which time such distribution shall be
made to such Beneficiary without interest; provided however, that all distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six (6)
months from the applicable Distribution Date. After such date, (i) all unclaimed property or
interests in property shall revert to the Trust (notwithstanding any applicable federal or state
escheat, abandoned or unclaimed property laws to the contrary), (ii) the Abuse Claim of such
Beneficiary shall be released, settled, compromised and forever barred as against the Trust, and
(iii) all unclaimed property interests shall be distributed to other Beneficiaries in accordance with
the Trust Documents, as if the Abuse Claim of such Beneficiary had been disallowed as of the date
the undeliverable distribution was first made. The Trustee shall take reasonable efforts to obtain a
current address for any Beneficiary with respect to which any distribution is returned as
undeliverable.

                (b)     In the event the Trust holds cash after paying all Trust Operating Expenses
and making all distributions contemplated under the Trust Documents, such remaining cash shall
be distributed to a national recognized charitable organization of the Trustee’s choice to the extent
economically feasible, which charitable organization shall be independent of the Trustee, the
STAC and the FCR and, to the extent possible, shall have a charitable purpose consistent with the
protection of children from sexual abuse or its ramifications. No Trust Asset or any unclaimed
property shall escheat to any federal, state, or local government or any other entity.

                (c)    Notwithstanding any provision in the Trust Documents to the contrary, no
payment shall be made to any Beneficiary on account of any Abuse Claim if the Trustee determines
that the costs of making such distribution is greater than the amount of the distribution to be made.

Section 4.6    Medicare Reimbursement and Reporting Obligations.

           (a)         The Trust shall register as an RRE under the reporting provisions of section
111 of MMSEA.

                (b)    The Trust shall, at its sole expense, timely submit all reports that are
required under MMSEA on account of any claims settled, resolved, paid, or otherwise liquidated
by the Trust or with respect to contributions to the Trust. The Trust, in its capacity as an RRE,
shall follow all applicable guidance published by the Centers for Medicare & Medicaid Services



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of the United States Department of Health and Human Services and/or any other agency or
successor entity charged with responsibility for monitoring, assessing, or receiving reports made
under MMSEA (collectively, “CMS”) to determine whether or not, and, if so, how, to report to
CMS pursuant to MMSEA.

               (c)     Before remitting funds to claimants’ counsel, or to the claimant if such
claimant is acting pro se, in respect of any Abuse Claim, the Trustee shall obtain a certification
that said claimant (or such claimant’s authorized representative) has provided or will provide for
the payment and/or resolution of any obligations owing or potentially owing under 42 U.S.C. §
1395y(b), or any related rules, regulations, or guidance, in connection with, or relating to, such
Abuse Claim.

                                       ARTICLE 5.
                              TRUSTEE; DELAWARE TRUSTEE

Section 5.1 Number of Trustees. In addition to the Delaware Trustee appointed pursuant to
Section 5.11 hereof, there shall be one (1) Trustee. The initial Trustee shall be Eric D. Green. For
the avoidance of doubt, there shall be at least one (1) Trustee serving at all times (in addition to
the Delaware Trustee).

Section 5.2    Term of Service, Successor Trustee.

                (a)     The Trustee shall serve from the Effective Date until the earliest of (i) his
or her death, (ii) his or her resignation pursuant to Section 5.2(b) below, (iii) his or her removal
pursuant to Section 5.2(c) below, and (iv) the termination of the Trust pursuant to Section 8.2
below.

               (b)      The Trustee may resign at any time upon written notice to the STAC and
FCR with such notice filed with the Bankruptcy Court. Such notice shall specify a date when such
resignation shall take effect, which shall not be less than ninety (90) days after the date such notice
is given, where practicable.

               (c)      The Trustee may be removed by consent of (i) at least two/thirds (2/3)
majority of the STAC and (ii) the FCR, in the event that the Trustee becomes unable to discharge
his or her duties hereunder due to accident, physical deterioration, mental incompetence or for
other good cause, provided the Trustee has received reasonable notice and an opportunity to be
heard. Other good cause shall mean fraud, self-dealing, intentional misrepresentation, willful
misconduct, indictment for or conviction of a felony in each case whether or not connected to the
Trust, any substantial failure to comply with the administration of the Trust or a consistent pattern
of neglect and failure to perform or participate in performing the duties of Trustee hereunder. For
the avoidance of doubt, any removal of a Trustee pursuant to this Section 5.2(c) shall require the
approval of the Bankruptcy Court and shall take effect at such time as the Bankruptcy Court shall
determine.

Section 5.3    Appointment of Successor Trustee.

                (a)    In the event of the death, resignation or removal of Eric D. Green as Trustee
(the “Initial Trustee”), such vacancy shall immediately be filled by [●], who shall thereafter serve


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as Trustee pursuant to the terms of the Trust Documents, provided that if [●] is unable to serve as
the successor Trustee, the successor Trustee shall be appointed in accordance with the terms of the
following sentence. In the event of any vacancy in the office of the Trustee, including the death,
resignation or removal of any successor Trustee, such vacancy shall be filled by the STAC and the
FCR as set forth herein. The STAC will nominate an individual to serve as successor Trustee. If
the majority of the STAC then in office and the FCR agree upon a successor Trustee, then, subject
to the approval of the Bankruptcy Court, such individual shall become the Trustee. In the event
that a majority of the STAC and the FCR cannot agree on a successor Trustee, the matter will be
resolved pursuant to Section 8.16 below.

                (b)    Immediately upon the appointment of any successor Trustee pursuant to
Section 5.3(a) above, all rights, titles, duties, powers and authority of the predecessor Trustee
hereunder shall be vested in and undertaken by the successor Trustee without any further act. No
successor Trustee shall be liable personally for any act or omission of his or her predecessor
Trustee. No predecessor Trustee shall be liable personally for any act or omission of his or her
successor Trustee. No successor Trustee shall have any duty to investigate the acts or omissions
of his or her predecessor Trustee.

                (c)     Each successor Trustee shall serve until the earliest of (i) his or her death,
(ii) his or her resignation pursuant to Section 5.2(b) above, (iii) his or her removal pursuant to
Section 5.2(c) above, and (iv) the termination of the Trust pursuant to Section 8.2 below.

Section 5.4    Trustee Meetings.

               (a)    Regular Meeting. The Trustee shall hold regular meetings with the STAC
and the FCR not less than quarterly, which may be held at such times and at such places as may
be determined from time to time by the Trustee. For the avoidance of doubt, the Delaware Trustee
shall not be required or permitted to attend any meetings of the Trustee contemplated by this
Section 5.4.

                 (b)    Special Meetings. Special meetings of the Trustee with the STAC, the
SASAC and/or the FCR, either jointly or separately, may be called by the Trustee by giving written
notice to the STAC, the SASAC and/or the FCR not less than one (1) business day prior to the date
of the meeting. Any such notice shall include the time, place and purpose of the meeting, given by
overnight courier, personal delivery, facsimile, electronic mail or other similar means of
communication. Notice shall be addressed or delivered to the address as shown upon the records
of the Trust or as may have been given to the Trustee for purposes of notice. Notice by overnight
courier shall be deemed to have been given one (1) business day after the time that written notice
is provided to such overnight courier. Any other written notice shall be deemed to have been given
at the time it is personally delivered to the recipient or actually transmitted by the person giving
the notice by electronic means to the recipient.

                (c)    Participation in Meetings by Telephone Conference. The Trustee may
convene, and persons may participate in, a meeting by conference telephone or similar
communications equipment (which shall include virtual meetings via video conferencing
software), as long as all persons participating in such meeting can hear one another. Participation
in a meeting pursuant to this Section 5.4(c) shall constitute presence in person at such meeting.


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               (d)     Waiver of Notice. Notice of a meeting need not be given to any person who
signs a waiver of notice, whether before or after the meeting. All such waivers shall be filed with
the Trust records or made a part of the minutes of the meeting. Attendance at a meeting shall
constitute a waiver of notice of such meeting. Neither the business to be transacted at, nor the
purpose of, any Trustee meeting need be specified in any waiver of notice.

                (e)     Adjournment. A meeting may be adjourned by the Trustee to another time
and place.

Section 5.5 Compensation and Expenses of Trustee. The Trustee shall receive compensation
from the Trust for his or her services as Trustee. The initial amount of the Trustee’s compensation
shall be [●] and shall be adjusted annually thereafter as reasonably determined by the majority of
the STAC and FCR. The Trust shall also, upon receipt of appropriate documentation, reimburse
all reasonable out-of-pocket costs and expenses incurred by the Trustee in the course of carrying
out his or her duties as Trustee in accordance with reasonable policies and procedures as may be
adopted from time to time, including in connection with attending meetings of the Trustee. The
amounts paid to the Trustee for compensation and expenses shall be disclosed in the Annual
Report.

Section 5.6     Trustee’s Independence.

                (a)    The Trustee shall not, during his or her service, hold a financial interest in,
act as attorney or agent for or serve as any other professional for Reorganized BSA, their affiliated
persons, or [others]. No Trustee shall act as an attorney for, or otherwise represent, any Person
who holds a claim in the Chapter 11 Cases. For the avoidance of doubt, this provision shall not
apply to the Delaware Trustee.

               (b)     The Trustee, and the Delaware Trustee, shall be indemnified by the Trust in
acting upon any resolution, certificate, statement, instrument, opinion, report, notice, request,
consent, order or other paper or document believed by them to be genuine and to have been signed
or presented by the proper party or parties.

                (c)      Persons dealing with the Trust, the Trustee, and the Delaware Trustee with
respect to the affairs of the Trust, shall have recourse only to the Trust Assets to satisfy any liability
incurred by the Trust, the Trustee or the Delaware Trustee to such Person in carrying out the terms
of this Trust Agreement, and neither the Trustee, the Delaware Trustee, the Beneficiaries, nor any
of their professionals, advisors, officers, agents, consultants or lawyers shall have any personal
obligation to satisfy any such liability.

Section 5.7     Standard of Care; Exculpation.

                (a)    As used herein, the term “Trust Indemnified Party” shall mean the
Trustee, the Delaware Trustee, the members of the STAC, the FCR, the SASAC and each of their
respective members, officers, employees, agents, consultants, lawyers, advisors or professionals
(collectively, the “Trust Indemnified Parties”).

              (b)     No Trust Indemnified Party shall be liable to the Trust, any other Trust
Indemnified Party, any Beneficiary or any other Person for any damages arising out of the creation,


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operation, administration, enforcement or termination of the Trust, except in the case of such Trust
Indemnified Party’s willful misconduct, bad faith, or fraud as finally judicially determined by a
court of competent jurisdiction. To the fullest extent permitted by applicable law, the Trust
Indemnified Parties shall have no liability for any action in performance of their duties under this
Trust Agreement taken in good faith with or without the advice of counsel, accountants, appraisers
and other professionals retained by the Trust Indemnified Parties. None of the provisions of this
Trust Agreement shall require the Trust Indemnified Parties to expend or risk their own funds or
otherwise incur personal financial liability in the performance of any of their duties hereunder or
in the exercise of any of their respective rights and powers. Any Trust Indemnified Party may rely,
without inquiry, upon writings delivered to it under any of the Trust Documents, which the Trust
Indemnified Party reasonably believes to be genuine and to have been given by a proper person.
Notwithstanding the foregoing, nothing in this Section 5.7 shall relieve the Trust Indemnified
Parties from any liability for any actions or omissions arising out of the willful misconduct, bad
faith, or fraud as finally judicially determined by a court of competent jurisdiction; provided that
in no event will any such person be liable for punitive, exemplary, consequential or special
damages under any circumstances. Any action taken or omitted by the Trust Indemnified Parties
with the approval of the Bankruptcy Court, or any other court of competent jurisdiction, will
conclusively be deemed not to constitute willful misconduct, bad faith, or fraud.

                (c)    The Trust Indemnified Parties shall not be subject to any personal liability
whatsoever, whether in tort, contract or otherwise, to any Person in connection with the affairs of
the Trust or for any liabilities or obligations of the Trust except for those acts that are finally
judicially determined by a court of competent jurisdiction to have arisen out of their own willful
misconduct, bad faith, or fraud, and all Persons claiming against the Trust Indemnified Parties, or
otherwise asserting claims of any nature in connection with affairs of the Trust, shall look solely
to the Trust Assets for satisfaction of any such claims.

                 (d)     To the extent that, at law or in equity, the Trust Indemnified Parties have
duties (including fiduciary duties) or liability related thereto, to the Trust or the Beneficiaries, it is
hereby understood and agreed by the parties hereto and the Beneficiaries that such duties and
liabilities are eliminated to the fullest extent permitted by applicable law, [including Section 3806
of the Act,] and replaced by the duties and liabilities expressly set forth in this Trust Agreement
with respect to the Trust Indemnified Parties, provided however, that the duties of care and loyalty
are not eliminated but are limited and subject to the terms of this Trust Agreement, including but
not limited to this Section 5.7 and its subparts.

                 (e)    The Trust Indemnified Parties shall be indemnified to the fullest extent
permitted by law by the Trust against all liabilities arising out of the creation, operation,
administration, enforcement or termination of the Trust, including actions taken or omitted in
fulfillment of their duties with respect to the Trust, except for those acts that are finally judicially
determined by a court of competent jurisdiction to have arisen out of their own willful misconduct,
bad faith, or fraud.

                (f)   The Trust will maintain appropriate insurance coverage for the protection
of the Trust Indemnified Parties, as determined by the Trustee in his or her discretion.




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Section 5.8    Protective Provisions.

                  (a)     Every provision of this Trust Agreement relating to the conduct or affecting
the liability of or affording protection to Trust Indemnified Parties shall be subject to the provisions
of this Section 5.8.

               (b)     In the event the Trustee retains counsel (including at the expense of the
Trust), the Trustee shall be afforded the benefit of the attorney-client privilege with respect to all
communications with such counsel, and in no event shall the Trustee be deemed to have waived
any right or privilege including, without limitation, the attorney-client privilege even if the
communications with counsel had the effect of guiding the Trustee in the performance of duties
hereunder. A successor to any Trustee shall succeed to and hold the same respective rights and
benefits of the predecessor for purposes of privilege, including the attorney-client privilege. No
Beneficiary or other party may raise any exception to the attorney-client privilege discussed herein
as any such exceptions are hereby waived by all parties.

                (c)     To the extent that, at law or in equity, the Trustee has duties (including
fiduciary duties) and liabilities relating hereto, to the Trust or to the Beneficiaries, it is hereby
understood and agreed by the Parties and the Beneficiaries that such duties and liabilities are
eliminated to the fullest extent permitted by applicable law, including Section 3806 of the Act, and
replaced by the duties and liabilities expressly set forth in this Trust Agreement with respect to the
Trustee, provided however, that the duties of care and loyalty are not eliminated but are limited
and subject to the terms of this Trust Agreement, including but not limited to Section 5.7 herein.

              (d)     No Trust Indemnified Party shall be personally liable under any
circumstances, except for their own willful misconduct, bad faith, or fraud as finally judicially
determined by a court of competent jurisdiction.

               (e)     No provision of this Trust Agreement shall require the Trust Indemnified
Parties to expend or risk their own personal funds or otherwise incur financial liability in the
performance of their rights, duties, and powers hereunder.

                (f)    In the exercise or administration of the Trust hereunder, the Trust
Indemnified Parties (i) may act directly or through their respective agents or attorneys pursuant to
agreements entered into with any of them, and the Trust Indemnified Parties shall not be liable for
the default or misconduct of such agents or attorneys if such agents or attorneys have been selected
by the Trust Indemnified Parties in good faith and with due care, and (ii) may consult with counsel,
accountants and other professionals to be selected by them in good faith and with due care and
employed by them, and shall not be liable for anything done, suffered or omitted in good faith by
them in accordance with the advice or opinion of any such counsel, accountants or other
professionals.

Section 5.9    Indemnification.

               (a)     Without the need for further court approval, the Trust hereby indemnifies,
holds harmless, and defends the Trust Indemnified Parties in the performance of their duties
hereunder to the fullest extent that a trust, including a statutory trust organized under the laws of
the State of Delaware, is entitled to indemnify, hold harmless and defend such persons against any


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and all liabilities, expenses, claims, damages or losses (including attorneys’ fees and costs)
incurred by them in the performance of their duties hereunder or in connection with activities
undertaken by them prior to or after the Effective Date in connection with the formation,
establishment, funding or operations of the Trust except for those acts that are finally judicially
determined by a court of competent jurisdiction to have arisen out of their own willful misconduct,
bad faith, or fraud.

               (b)    Reasonable expenses, costs and fees (including attorneys’ fees and costs)
incurred by or on behalf of the Trust Indemnified Parties in connection with any action, suit or
proceeding, whether civil, administrative or arbitrative, from which they are indemnified by the
Trust shall be paid by the Trust in advance of the final disposition thereof upon receipt of an
undertaking, by or on behalf of the Trust Indemnified Parties, to repay such amount in the event
that it shall be determined ultimately by final order of the Bankruptcy Court that the Trust
Indemnified Parties or any other potential indemnitee are not entitled to be indemnified by the
Trust.

                (c)     The Trustee shall purchase and maintain appropriate amounts and types of
insurance on behalf of the Trust Indemnified Parties, as determined by the Trustee, which may
include liability asserted against or incurred by such individual in that capacity or arising from his
or her status as a Trust Indemnified Party, and/or as an employee, agent, lawyer, advisor or
consultant of any such person.

               (d)    The indemnification provisions of this Trust Agreement with respect to any
Trust Indemnified Party shall survive the termination of such Trust Indemnified Party from the
capacity for which such Trust Indemnified Party is indemnified. Termination or modification of
this Trust Agreement shall not affect any indemnification rights or obligations in existence at such
time. In making a determination with respect to entitlement to indemnification of any Trust
Indemnified Party hereunder, the person, persons or entity making such determination shall
presume that such Trust Indemnified Party is entitled to indemnification under this Trust
Agreement, and any person seeking to overcome such presumption shall have the burden of proof
to overcome the presumption.

               (e)     The rights to indemnification hereunder are not exclusive of other rights
which any Trust Indemnified Party may otherwise have at law or in equity, including common law
rights to indemnification or contribution.

Section 5.10 Bond. The Trustee and the Delaware Trustee shall not be required to post any bond
or other form of surety or security unless otherwise ordered by the Bankruptcy Court.

Section 5.11 Delaware Trustee.

                 (a)     There shall at all times be a Delaware Trustee. The Delaware Trustee shall
either be (i) a natural person who is at least twenty-one (21) years of age and a resident of the State
of Delaware, or (ii) a legal entity that has its principal place of business in the State of Delaware,
otherwise meets the requirements of applicable Delaware law to be eligible to serve as the
Delaware Trustee and shall act through one or more persons authorized to bind such entity. If at
any time the Delaware Trustee shall cease to be eligible in accordance with the provisions of this



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Section 5.11, it shall resign immediately in the manner and with the effect hereinafter specified in
Section 5.11(c) below. For the avoidance of doubt, the Delaware Trustee will only have such
rights, duties and obligations as expressly provided by reference to the Delaware Trustee
hereunder. The Trustee shall have no liability for the acts or omissions of any Delaware Trustee.

                 (b)    The Delaware Trustee shall not be entitled to exercise any powers, nor shall
the Delaware Trustee have any of the duties and responsibilities of the Trustee set forth herein.
The Delaware Trustee shall be a trustee of the Trust for the sole and limited purpose of fulfilling
the requirements of Section 3807(a) of the Act and for taking such actions as are required to be
taken by a Delaware Trustee under the Act. The duties (including fiduciary duties), liabilities and
obligations of the Delaware Trustee shall be limited to accepting legal process served on the Trust
in the State of Delaware and the execution of any certificates required to be filed with the Secretary
of State of the State of Delaware that the Delaware Trustee is required to execute under Section
3811 of the Act. There shall be no other duties (including fiduciary duties) or obligations, express
or implied, at law or in equity, of the Delaware Trustee. To the extent that, at law or in equity, the
Delaware Trustee has duties (including fiduciary duties) and liabilities relating to the Trust or the
Beneficiaries, such duties and liabilities are replaced by the duties and liabilities of the Delaware
Trustee expressly set forth in this Trust Agreement. The Delaware Trustee shall have no liability
for the acts or omissions of the Trustee. Any permissive rights of the Delaware Trustee to do things
enumerated in this Trust Agreement shall not be construed as a duty and, with respect to any such
permissive rights, the Delaware Trustee shall not be answerable for other than its willful
misconduct, bad faith or fraud. The Delaware Trustee shall be under no obligation to exercise any
of the rights or powers vested in it by this Trust Agreement at the request or direction of the Trustee
or any other person pursuant to the provisions of this Trust Agreement unless the Trustee or such
other person shall have offered to the Delaware Trustee security or indemnity (satisfactory to the
Delaware Trustee in its discretion) against the costs, expenses and liabilities that may be incurred
by it in compliance with such request or direction. The Delaware Trustee shall be entitled to request
and receive written instructions from the Trustee and shall have no responsibility or liability for
any losses or damages of any nature that may arise from any action taken or not taken by the
Delaware Trustee in accordance with the written direction of the Trustee. The Delaware Trustee
may, at the expense of the Trust, request, rely on and act in accordance with officer’s certificates
and/or opinions of counsel, and shall incur no liability and shall be fully protected in acting or
refraining from acting in accordance with such officer’s certificates and opinions of counsel.

                (c)    The Delaware Trustee shall serve until such time as the Trustee removes the
Delaware Trustee or the Delaware Trustee resigns and a successor Delaware Trustee is appointed
by the Trustee in accordance with the terms of Section 5.11(d) below. The Delaware Trustee may
resign at any time upon the giving of at least sixty (60) days’ advance written notice to the Trustee,
provided that such resignation shall not become effective unless and until a successor Delaware
Trustee shall have been appointed by the Trustee in accordance with Section 5.11(d) below,
provided further, that if any amounts due and owing to the Delaware Trustee hereunder remain
unpaid for more than ninety (90) days, the Delaware Trustee shall be entitled to resign immediately
by giving written notice to the Trustee. If the Trustee does not act within such sixty (60) day period,
the Delaware Trustee, at the expense of the Trust, may apply to the Court of Chancery of the State
of Delaware or any other court of competent jurisdiction for the appointment of a successor
Delaware Trustee.



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                (d)     Upon the resignation or removal of the Delaware Trustee, the Trustee shall
appoint a successor Delaware Trustee by delivering a written instrument to the outgoing Delaware
Trustee. Any successor Delaware Trustee must satisfy the requirements of Section 3807 of the
Act. Any resignation or removal of the Delaware Trustee and appointment of a successor Delaware
Trustee shall not become effective until a written acceptance of appointment is delivered by the
successor Delaware Trustee to the outgoing Delaware Trustee and the Trustee, and any fees and
expenses due to the outgoing Delaware Trustee are paid. Following compliance with the preceding
sentence, the successor Delaware Trustee shall become fully vested with all of the rights, powers,
duties and obligations of the outgoing Delaware Trustee under this Trust Agreement, with like
effect as if originally named as Delaware Trustee, and the outgoing Delaware Trustee shall be
discharged of his or her duties and obligations under this Trust Agreement. The successor
Delaware Trustee shall make any related filings required under the Act, including filing a
Certificate of Amendment to the Certificate of Trust in accordance with Section 3810 of the Act.

                (e)     Notwithstanding anything herein to the contrary, any business entity into
which the Delaware Trustee may be merged or converted or with which it may be consolidated or
any entity resulting from any merger, conversion or consolidation to which the Delaware Trustee
shall be a party, or any entity succeeding to all or substantially all of the corporate trust business
of the Delaware Trustee, shall be the successor of the Delaware Trustee hereunder, without the
execution or filing of any paper or any further act on the part of any of the parties hereto.

               (f)    The Delaware Trustee shall be entitled to compensation for its services as
agreed pursuant to a separate fee agreement between the Trust and the Delaware Trustee, which
compensation shall be paid by the Trust. Such compensation is intended for the Delaware Trustee’s
services as contemplated by this Trust Agreement. The terms of this paragraph shall survive
termination of this Trust Agreement and/or the earlier resignation or removal of the Delaware
Trustee.

                (g)     The Delaware Trustee shall neither be responsible for, nor chargeable with,
knowledge of the terms and conditions of any other agreement, instrument or document, other than
this Trust Agreement, whether or not, an original or a copy of such agreement has been provided
to the Delaware Trustee. The Delaware Trustee shall have no duty to know or inquire as to the
performance or nonperformance of any provision of any other agreement, instrument or document,
other than this Trust Agreement. Neither the Delaware Trustee nor any of its directors, officers,
employees, agents or affiliates shall be responsible for nor have any duty to monitor the
performance or any action of the Trust, the Trustee or any other person, or any of their directors,
members, officers, agents, affiliates or employee, nor shall it have any liability in connection with
the malfeasance or nonfeasance by such party. The Delaware Trustee may assume performance by
all such persons of their respective obligations. The Delaware Trustee shall have no enforcement
or notification obligations relating to breaches of representations or warranties of any other person.
The Delaware Trustee shall have no responsibilities (except as expressly set forth herein) as to the
validity, sufficiency, value, genuineness, ownership or transferability of any Trust Asset, written
instructions, or any other documents in connection therewith, and will not, be regarded as making
nor be required to make, any representations thereto.

               (h)    The Delaware Trustee shall not be responsible or liable for any failure or
delay in the performance of its obligations under this Trust Agreement arising out of, or caused,


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directly or indirectly, by circumstances beyond its control, including without limitation, any act or
provision of any present or future law or regulation or governmental authority; acts of God;
earthquakes; fires; floods; wars; terrorism; civil or military disturbances; sabotage; epidemics;
riots; interruptions, loss or malfunctions of utilities, computer (hardware or software) or
communications service; accidents; labor disputes; acts of civil or military authority or
governmental actions; or the unavailability of the Federal Reserve Bank wire or telex or other wire
or communication facility.

Section 5.12 Meeting Minutes.

        The minutes of proceedings of the Trustee shall be kept in written form (which may be
electronic) at such place or places designated by the Trustee, or, in the absence of such designation,
at the principal office of the Trust.

Section 5.13 Matters Requiring Consultation with STAC and FCR.

                       The Trustee shall consult with the STAC and the FCR on each of the
following:

                 (a)   The selection and/or replacement of the claims processor;

                 (b)   The form(s) of release to be executed by a Beneficiary;

                 (c)   An annual estimate of the budget for the Trust Operating Expenses; and

               (d)    The administration, investment of assets of, and expenses to be charged
against the Future Abuse Claims Reserve;

Section 5.14 Matters Requiring Consent of STAC and FCR.

                       The Trustee shall obtain the consent of the STAC and the FCR for each of
the following:

               (a)   The determination of the Initial Payment Percentage and any subsequent
adjustment to the Payment Percentage;

                 (b)   Any proposed modification to the indemnification provisions of the Trust
Agreement;

               (c)    Any proposed sale, transfer or exchange of Trust Assets above $[●] (any
proposed sale of Trust Assets below such amount shall not require STAC and FCR consent);

              (d)     Any appointment or retention of the Special Reviewer or any successor
Special Reviewer in the event of a vacancy in such position for any reason;

               (e)    Any proposed material modifications to the Trust Agreement and/or the
TDP, if and as required by the consent provisions set forth therein;




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               (f)     Any proposed increase or decrease in the size of the Future Abuse Claims
Reserve; and

              (g)     The (i) commencement or continuation of a lawsuit by Direct Abuse
Claimants against the Trust pursuant to a STAC Tort Election Claim, as set forth in Article XII.C
of the TDP subject to the terms of Section 6.4(a) below, and (ii) approval and execution of any
Global Settlement, subject to the terms of Section 6.4(b) below.

                                  ARTICLE 6.
                     SETTLEMENT TRUST ADVISORY COMMITTEE

Section 6.1 Members; Action by Members. The STAC shall consist of seven (7) members
selected to represent the interests of holders of current Abuse Claims. Five (5) members of the
STAC shall be “Coalition Appointees” and two (2) members of the STAC shall be “Committee
Appointees.” Except as otherwise set forth in this ARTICLE 6, the STAC shall act by majority
vote of STAC members then serving, provided however, the STAC may continue to act in the
event of one or more vacancies on the STAC, in which case majority vote of the STAC members
then serving shall be required for action by the STAC.

Section 6.2 Duties. The members of the STAC (and their designees) shall serve in a fiduciary
capacity representing current holders of Abuse Claims. The STAC shall not have any fiduciary
duties or responsibilities to any party other than holders of current Abuse Claims. Except for the
duties and obligations expressed in this Trust Agreement and the TDP, there shall be no other
duties (including fiduciary duties) or obligations, express or implied, at law or in equity, of the
STAC. To the extent that, at law or in equity, the STAC has duties (including fiduciary duties) and
liabilities relating thereto to the Trust, the other parties hereto, or any Beneficiary, such duties and
liabilities are replaced by the duties and liabilities of the STAC expressly set forth in this Trust
Agreement and the TDP.

Section 6.3    STAC Information Rights.

        The STAC shall have reasonable access to the Trust’s consultants and other advisors
retained by the Trust and its staff (if any), and information available to the Trustee, which access
shall be made available as determined by the Trustee in his or her discretion.

Section 6.4    Additional Provisions regarding Certain STAC Consent Rights.

                (a)     Notwithstanding Section 5.14(g) above, any consent of the STAC and the
FCR with respect to any request to the Trustee to authorize the commencement or continuation of
a lawsuit by a Direct Abuse Claimant against the Trustee pursuant to a STAC Tort Election Claim,
as set forth in Article XII.C of the TDP, shall be subject to the following provisions:

                      In the event the Trustee determines, or would be required based on the
consent provisions above, not to authorize the commencement or continuation of a lawsuit by a
Direct Abuse Claimant with respect to a STAC Tort Election Claim, then any three (3) members
of the STAC may request a special review by providing such a request to the Trustee in writing
(the date on which such request is received by the Trustee, the “Tort Election Request Date”), in
which case the matter shall be referred to the Special Reviewer for further consideration. The


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Special Reviewer shall consider the matter and shall solicit or receive such information from the
Trustee, the FCR and any STAC members as any of them deems appropriate or necessary. The
Special Reviewer shall evaluate the matter pursuant to the following standard: whether the
determination not to authorize the commencement or continuation of a lawsuit by a Direct Abuse
Claimant with respect to a STAC Tort Election Claim, was, under all the relevant circumstances,
unreasonable. The Special Reviewer shall require that the burden of proof be on the three (3)
objecting STAC members to show by a preponderance of the evidence that the Trustee’s
determination not to authorize the commencement or continuation of a such lawsuit was, under all
the relevant circumstances, unreasonable. The Special Reviewer shall deliver a written
determination of such matter within ten (10) business days from the Tort Election Request Date,
unless the Trustee reasonably requests an expedited determination. [The determination of the
Special Reviewer shall be final and shall be binding on all parties.]

                        (b) Notwithstanding Section 5.14(g) above, with respect to the authorization
of the Trustee to enter into a Global Settlement, the following provisions shall apply:

                        In the event the Trustee determines to proceed with the Global Settlement,
then notwithstanding the majority vote of the STAC approving the Trustee’s determination to
proceed with the Global Settlement, any three (3) members of the STAC may request a special
review by providing such a request to the Trustee in writing (the date on which such request is
received by the Trustee, the “Global Settlement Request Date”), in which case the matter shall
be referred to the Special Reviewer for further consideration. The Special Reviewer shall consider
the matter and shall solicit or receive such information from the Trustee, the FCR and any STAC
members as any of them deems appropriate or necessary. The Special Reviewer shall evaluate the
matter pursuant to the following standard: whether the Trustee’s determination to approve a Global
Settlement that causes an Insurance Company or a Chartered Organization to become a Protected
Party within the meaning of the Plan was, under all the relevant circumstances, unreasonable. The
Special Reviewer shall require that the burden of proof be on the three (3) objecting STAC
members to show by a preponderance of the evidence that the Trustee’s determination to approve
such Global Settlement was, under all the relevant circumstances, unreasonable. The Special
Reviewer shall deliver a written determination of such matter within ten (10) business days from
the Global Settlement Request Date, unless the Trustee reasonably requests an expedited
determination. [The determination of the Special Reviewer shall be final and shall be binding on
all parties.]

Section 6.5    Term of Office.

                 (a)     Each Member of the STAC shall serve until the earliest of (i) his or her
death, (ii) his or her resignation pursuant to Section 6.5(b) below, (iii) his or her removal pursuant
to Section 6.5(c) below, and (iv) the termination of the Trust pursuant to Section 8.2 below.

                (b)    A member of the STAC may resign at any time by written notice to the other
members of the STAC and the Trustee. Such notice shall specify a date when such resignation
shall take effect, which shall not be less than thirty (30) days after the date such notice is given,
where practicable.




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                 (c)    A member of the STAC may be removed in the event that he or she becomes
unable to discharge his or her duties hereunder due to accident, physical deterioration, mental
incompetence, or for other good cause, provided the member of the STAC has received reasonable
notice and an opportunity to be heard. Other good cause shall mean fraud, self-dealing, intentional
misrepresentation, willful misconduct, indictment for or conviction of a felony in each case
whether or not connected to the Trust or a consistent pattern of neglect and failure to perform or
to participate in performing the duties of such member hereunder, such as repeated non-attendance
at scheduled meetings. Such removal shall require the majority vote of the other members of the
STAC and such removal shall take effect only upon the approval of the Bankruptcy Court.

Section 6.6    Appointment of Successor.

                 (a)    In the event of a STAC member vacancy, (i) if the vacancy has occurred
with respect to a Coalition Member, the remaining Coalition Members shall nominate a successor
STAC Member, provided however, that if there are no remaining Coalition Members, then the
Trustee shall select the successor Coalition Members, and (ii) if the vacancy has occurred with
respect to a Committee Member, the remaining Committee Member shall nominate a successor
STAC Member who shall be reasonably acceptable to the majority of the Coalition Members,
provided however that in the event there are no remaining Committee Members, then the Special
Reviewer shall nominate two individuals to serve as Committee Members, who shall be reasonably
acceptable to the majority of the Coalition Members. The Special Reviewer may consult with the
SASAC regarding the nomination of such individuals. In the event of a dispute or deadlock with
respect to filling any vacancy with respect to any STAC Member as set forth in this Section 6.6,
the dispute resolution provisions of Section 8.16 below shall apply.

                (b)     Each successor member of the STAC shall serve until the earliest of (i) his
or her death, (ii) his or her resignation pursuant to Section 6.5(b) above, (iii) his or her removal
pursuant to Section 6.5(c) above, and (iv) the termination of the Trust pursuant to Section 8.2
below.

               (c)    No successor STAC member shall be liable personally for any act or
omission of his or her predecessor STAC member. No successor STAC member shall have any
duty to investigate the acts or omissions of his or her predecessor STAC member. No STAC
member shall be required to post any bond or other form of surety or security unless otherwise
ordered by the Bankruptcy Court.

Section 6.7 Compensation and Expenses of the STAC. The members of the STAC (or their
designees, as applicable) shall not be entitled to compensation for their services but shall be
reimbursed promptly for all reasonable and documented ordinary and customary out-of-pocket
costs and expenses incurred in connection with the performance of their duties hereunder, subject
to the limitation of Section 8.16 below. The Trust shall include a description of the amounts paid
under this Section 6.7 in the Annual Report to be posted on the Trust’s Website.

Section 6.8    Procedures for Consultation with and Obtaining the Consent of the STAC.

               (a)     Consultation Process.




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                        (i)     In the event the Trustee is required to consult with the STAC
pursuant to Section 5.13 above, the Trustee shall provide the STAC with written advance notice
of the matter under consideration, to the extent practicable, and with all relevant information and
documents concerning the matter as is reasonably practicable under the circumstances. The Trustee
shall also provide the STAC with such reasonable access to the consultants and other advisors
retained by the Trust and its staff (if any) as the STAC may reasonably request during the time that
the Trustee is considering such matter, and shall also provide the STAC the opportunity, at
reasonable times and for reasonable periods of time, to discuss and comment on such matter with
the Trustee, to the extent practicable.

                        (ii)    In determining when to take definitive action on any matter subject
to the consultation procedures set forth in this Section 6.8(a), the Trustee shall take into
consideration the time required for the STAC to meet and consult as to such matter. In any event,
the Trustee shall not take definitive action on any such matter until at least [●] business days after
providing the STAC with the initial written notice that such matter is under consideration by the
Trustee, unless such time period is waived in writing by the STAC or at a meeting where the STAC
and Trustee are present, or the Trustee determines in his reasonable discretion that definitive action
is required earlier.

              (b)    Consent Process. Subject to the provisions of Section 5.14 above, the
following consent process shall apply.

                        (i)     In the event the Trustee is required to obtain the consent of the
STAC pursuant to Section 5.14 above, the Trustee shall provide the STAC with a written notice
stating that its consent is being sought, describing in detail the nature and scope of the action the
Trustee proposes to take, and explaining in detail the reasons why the Trustee desires to take such
action. The Trustee shall provide the STAC as much relevant additional information concerning
the proposed action as is requested by the STAC and as is reasonably practicable under the
circumstances. The Trustee shall also provide the STAC with such reasonable access to the Trust
consultants and other advisors retained by the Trust and its staff (if any) as the STAC may
reasonably request during the time that the Trustee is considering such action, and shall also
provide the STAC the opportunity, at reasonable times and for reasonable periods of time, to
discuss and comment on such action with the Trustee.

                       (ii)    The STAC must consider in good faith and in a timely fashion any
request for its consent by the Trustee, and must in any event advise the Trustee, in writing, of its
consent or its objection to the proposed action within [●] business days of receiving the original
request for consent from the Trustee, unless the Trustee extends the time for such response. The
STAC may not withhold its consent unreasonably. If the STAC decides to withhold its consent, it
must explain in detail its objections to the proposed action. If the STAC does not advise the
Trustee, in writing, of its consent or its objections to the action within [●] business days of
receiving notice regarding such request (or within such additional time as may be granted by the
Trustee in his or her discretion), the STAC’s consent to the proposed actions shall be deemed to
have been affirmatively granted.

                     (iii) If, after following the procedures specified in this Section 6.8(b), the
STAC continues to object to the proposed action and to withhold its consent to the proposed action,


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the Trustee and/or the STAC shall resolve their dispute pursuant to Section 8.16 below, provided
however in that event the STAC shall have the burden of proof to show the validity of the STAC’s
objection. For the avoidance of doubt, the matters described in Section 5.14(g) above shall be
determined solely in accordance with the terms of that Section 5.14(g).

                                           ARTICLE 7.
                                            THE FCR

Section 7.1 Duties. There shall be one FCR for the Trust. The initial FCR is James L. Patton,
Jr. The FCR shall serve in a fiduciary capacity on behalf of the holders of Future Abuse Claims,
representing the interests of holders of Future Abuse Claims against the Debtors for the purpose
of protecting the rights of such persons. The FCR shall not have any fiduciary duties or
responsibilities to any party other than the holders of Future Abuse Claims. Except for the duties
and obligations expressed in the Trust Documents, there shall be no other duties (including
fiduciary duties) or obligations, express or implied, at law or in equity, of the FCR. To the extent
that, at law or in equity, the FCR has duties (including fiduciary duties) and liabilities relating
thereto to the Trust, the other parties hereto, or to any Beneficiary, such duties and liabilities are
replaced by the duties and liabilities of the FCR expressly set forth in the Trust Documents.

Section 7.2    FCR Information Rights.

       The FCR shall have reasonable access to the Trust’s consultants and other advisors retained
by the Trust and its staff (if any), and information available to the Trustee, which access shall be
made available as determined by the Trustee.

Section 7.3    Term of Office.

               (a)     The FCR shall serve until the earliest of (i) his or her death, (ii) his or her
resignation pursuant to Section 7.3(b) below, (iii) his or her removal pursuant to Section 7.3(c)
below, and (iv) the termination of the Trust pursuant to Section 8.2 below.

               (b)      The FCR may resign at any time by written notice to the Trustee. Such
notice shall specify a date when such resignation shall take effect, which shall not be less than
ninety (90) days after the date such notice is given, where practicable.

                (c)    At the request of the Trustee, the FCR may be removed by the Bankruptcy
Court in the event he or she becomes unable to discharge his or her duties hereunder due to
accident, physical deterioration, mental incompetence, or for other good cause, provided the FCR
has received notice and an opportunity to be heard. Other good cause shall mean fraud, self-
dealing, intentional misrepresentation, willful misconduct, indictment for or conviction of a felony
in each case whether or not connected to the Trust or a consistent pattern of neglect and failure to
perform or to participate in performing the duties hereunder, such as a pattern of repeated non-
attendance at scheduled meetings.

Section 7.4 Appointment of Successor. In the event of the death, resignation or removal of
James L. Patton, Jr. as the initial FCR, such vacancy shall immediately be filled by a successor to
be appointed pursuant to the terms and conditions of this agreement, who shall thereafter serve as
FCR pursuant to the terms of the Trust Documents. In the event of the death, resignation, or


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removal of any successor FCR, such vacancy shall be filled with an individual nominated by the
Trustee, with the consent of the STAC. In the event the STAC does not consent to the individual
nominated by the Trustee, then the successor FCR shall be appointed by the Bankruptcy Court.
Immediately upon any successor FCR filing a vacancy as provided in this Section 7.4, all rights,
titles, duties, powers and authority of the predecessor FCR hereunder shall be vested in and
undertaken by the successor FCR without any further act. No successor FCR shall be liable
personally for any act or omission of any predecessor FCR. No predecessor FCR shall be liable
personally for any act or omission of any successor FCR. No FCR shall be required to post any
bond or other form of surety of security unless otherwise ordered by the Bankruptcy Court.

Section 7.5 FCR’s Employment of Professionals. The FCR may, but is not required to, retain
and/or consult legal counsel, accountants, appraisers, auditors, forecasters, experts, financial and
investment advisors and such other parties deemed by the FCR to be qualified as experts on matters
submitted to the FCR (the “FCR Professionals”), provided however that no FCR Professionals
may be retained to act on behalf of any individual holder of an Abuse Claim.

               (b)     The fees and expenses of the FCR Professionals shall be paid from the
Future Abuse Reserve Fund and a description of the amounts paid under this Section 7.5 (in the
aggregate with the amounts paid under Section 7.6 below) shall be described in the Annual Report
to be posted on the Trust Website.

Section 7.6    Compensation and Expenses of the FCR.

               (a)    The FCR shall receive compensation from the Trust in the form of payment
at the FCR’s normal hourly rate, as such rate may be adjusted by the FCR from time to time, for
services performed, subject to the approval of the Trustee. The Trust will promptly reimburse the
FCR for all reasonable and documented out-of-pocket costs and expenses incurred by the FCR in
connection with the performance of his or her duties hereunder.

               (b)    The compensation, out-of-pocket costs and expenses of the FCR shall be
paid from the Future Abuse Reserve Fund and a description of the amounts paid under this Section
7.6 (in the aggregate with the amounts paid under Section 7.5 above) shall be described in the
Annual Report to be posted on the Trust Website.

Section 7.7    Procedures for Consultation with and Obtaining the Consent of the FCR.

               (a)     Consultation Process.

                        (i)    In the event the Trustee is required to consult with the FCR pursuant
to Section 5.13 above, the Trustee shall provide the FCR with written advance notice of the matter
under consideration, and with all relevant information and documents concerning the matter as is
reasonably practicable under the circumstances, to the extent practicable. The Trustee shall also
provide the FCR with such reasonable access to the Trust’s consultants and other advisors retained
by the Trust and its staff (if any) as the FCR may reasonably request during the time that the
Trustee is considering such matter, and shall also provide the FCR the opportunity, at reasonable
times and for reasonable periods of time, to discuss and comment on such matter with the Trustee,
to the extent practicable.



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                       (ii)    In determining when to take definitive action on any matter subject
to the consultation process set forth in this Section 7.7(a), the Trustee shall take into consideration
the time required for the FCR, if he or she so wishes, to engage and consult with his or her own
independent advisors as to such matter. In any event, the Trustee shall not take definitive action
on any such matter until at least [●] business days after providing the FCR with the initial written
notice that such matter is under consideration by the Trustee, unless such period is waived in
writing by the FCR or at a meeting where the FCR and Trustee are present or the Trustee
determines in his reasonable discretion that definitive action is required earlier.

               (b)     Consent Process.

                        (i)    In the event the Trustee is required to obtain the consent of the FCR
pursuant to Section 5.14 above, the Trustee shall provide the FCR with a written notice stating that
his or her consent is being sought, describing in detail the nature and scope of the action the Trustee
proposes to take, and explaining in detail the reasons why the Trustee desires to take such action,
to the extent practicable. The Trustee shall provide the FCR as much relevant additional
information concerning the proposed action as is requested by the FCR and as is reasonably
practicable under the circumstances. The Trustee shall also provide the FCR with such reasonable
access to the Trust’s consultants and other advisors retained by the Trust and its staff (if any) as
the FCR may reasonably request during the time that the Trustee is considering such action, and
shall also provide the FCR the opportunity, at reasonable times and for reasonable periods of time,
to discuss and comment on such action with the Trustee, to the extent practicable.

                        (ii)    The FCR must consider in good faith and in a timely fashion any
request for his or her consent by the Trustee, and must in any event advise the Trustee, in writing,
of his or her consent or objection to the proposed action within [●] business days of receiving the
original request for consent from the Trustee, unless the Trustee extends the time for such response.
The FCR may not withhold his or her consent unreasonably. If the FCR decides to withhold
consent, he or she must explain in detail his or her objections to the proposed action. If the FCR
does not advise the Trustee, in writing, of his or her consent or objection to the proposed action
within [●] business days of receiving the notice from the Trustee regarding such request (or within
such additional time as may be granted by the Trustee in his or her discretion), the FCR’s consent
shall be deemed to have been affirmatively granted.

                        (iii) If, after following, the procedures specified in this Section 7.7(b),
the FCR continues to object to the proposed action and to withhold his or her consent to the
proposed action, the Trustee and/or the FCR shall resolve their dispute pursuant to Section 8.16
below, provided however in that event the FCR shall have the burden of proof to show the validity
of the FCR’s objection. For the avoidance of doubt, notwithstanding the foregoing provisions of
this Section 7.7(b), in the event any matter has been referred to the Special Reviewer pursuant to
Sections 6.4(a) or (b) above, then the final decision of the Special Reviewer shall be final and
binding on all parties, without regard to any consent of the FCR or lack thereof.




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                                        ARTICLE 8.
                                    GENERAL PROVISIONS

Section 8.1 Irrevocability. To the fullest extent permitted by applicable law, the Trust is
irrevocable. The Settlor shall not (i) retain any ownership or residual interest whatsoever with
respect to any Trust Assets, including, but not limited to, the funds transferred to fund the Trust,
and (ii) have any rights or role with respect to the management or operation of the Trust, or the
Trustee’s administration of the Trust.

Section 8.2    Term; Termination.

                (a)      The term for which the Trust is to exist shall commence on the date of the
filing of the Certificate of Trust and shall terminate pursuant to the following provisions.

               (b)     The Trust shall automatically dissolve as soon as practicable but no later
than ninety (90) days after the date on which the Bankruptcy Court approves the dissolution of the
Trust because (i) all reasonably expected assets have been collected by the Trust, (ii) all
distributions have been made to the extent set forth in the TDP, (iii) necessary arrangements and
reserves have been made to discharge all anticipated remaining Trust obligations and Trust
Operating Expenses in a manner consistent with the Trust Documents, and (iv) a final accounting
has been filed and approved by the Bankruptcy Court (the “Dissolution Date”).

                (c)    Following the dissolution and distribution of the Trust Assets, the Trust
shall terminate, and the Trustee and the Delaware Trustee (acting solely at the written direction of
the Trustee) shall execute and cause a Certificate of Cancellation of the Certificate of Trust to be
filed in accordance with the Act. Notwithstanding anything to the contrary contained in this Trust
Agreement, the existence of the Trust as a separate legal entity shall continue until the filing of
such Certificate of Cancellation.

               (d)      After termination of the Trust and solely for the purpose of liquidating and
winding up its affairs, the Trustee shall continue to act as Trustee until its duties hereunder have
been fully performed. The Trustee shall retain the books, records, documents and files that shall
have been delivered to or created by the Trustee until distribution of all the Trust Assets. For
purposes of this provision, Trust Assets will be deemed distributed when the total amount
remaining in the Trust is less than $50,000 and no further actions are pending or have yet to be
brought. At the Trustee’s discretion, all of such books, records, documents and files may be
destroyed at any time following the later of: (i) the first anniversary of the final distribution of the
Trust Assets, and (ii) the date until which the Trustee is required by applicable law to retain such
books, records, documents and files; provided however, that, notwithstanding the foregoing, the
Trustee shall not destroy or discard any books, records, documents or files relating to the Trust
without giving Reorganized BSA the opportunity to take control of such books, records,
documents and/or files.

               (e)     Upon termination of the Trust and accomplishment of all activities
described in this agreement, the Trustee and its professionals shall be discharged and exculpated
from liability (except for acts or omissions resulting from the recklessness, gross negligence,
willful misconduct, knowing and material violation of law or fraud of the Trustee or his agents or



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representatives). The Trustee may, at the expense of the Trust, seek an Order of the Bankruptcy
Court confirming the discharges, exculpations and exoneration referenced in the preceding
sentence.

Section 8.3     Outgoing Trustee Obligations.

         In the event of the resignation or removal of the Trustee, the resigning or removed Trustee
shall:

               (a)     execute and deliver by the effective date of resignation or removal such
documents, instruments, records and other writings as may be reasonably requested by the
successor Trustee to effect such resignation or removal and the conveyance of the Trust Assets
then held by the resigning or removed Trustee to the successor Trustee;

               (b)     deliver to the successor Trustee all documents, instruments, records and
other writings relating to the Trust Assets as may be in the possession or under the control of the
resigning or removed Trustee;

             (c)     otherwise assist and cooperate in effecting the assumption of the resigning
or removed Trustee’s obligations and functions by the successor Trustee; and

               (d)     irrevocably appoint the successor Trustee (and any interim trustee) as its
attorney-in-fact and agent with full power of substitution for it and its name, place and stead to do
any and all acts that such resigning or removed Trustee is obligated to perform under this Trust
Agreement. Such appointment shall not be affected by the subsequent disability or incompetence
of the Trustee making such appointment. The Bankruptcy Court also may enter such orders as are
necessary to effect the termination of the appointment of the Trustee and the appointment of the
successor Trustee.

Section 8.4     Taxes.

                (a)    The Trust is intended to qualify as a “qualified settlement fund” within the
meaning of Section 1.468B-1 et seq. of the Treasury Regulations promulgated under Section 468B
of the IRC, as amended (the “QSF Regulations”), with respect to which Reorganized BSA shall
timely make an election to treat the Trust as a “grantor trust” for U.S. federal income tax purposes
and, to the extent permitted under applicable law, for state and local income tax purposes.

                (b)      The Trustee shall be the “administrator” of the Trust within the meaning of
Section 1.468B-2(k)(3) of the Treasury Regulations and, in such capacity, such administrator shall
(i) prepare and timely file, or cause to be prepared and timely filed, such income tax and other tax
returns and statements required to be filed and shall timely pay all taxes required to be paid by the
Trust out of the Trust Assets, which assets may be sold by the Trustee to the extent necessary to
satisfy tax liabilities of the Trust, (ii) comply with all applicable tax reporting and withholding
obligations, (iii) satisfy all requirements necessary to qualify and maintain qualification of Trust
as a qualified settlement fund and a grantor trust, within the meaning of the QSF Regulations, and
(iv) take no action that could cause the Trust to fail to qualify as a qualified settlement fund and a
grantor trust within the meaning of the QSF Regulations. The Trustee may request an expedited



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determination under section 505(b) of the Bankruptcy Code for all tax returns filed by or on behalf
of the Trust for all taxable periods through the Dissolution Date.

                (c)    As soon as reasonably practicable after the Effective Date, but in no event
later than one hundred twenty (120) days thereafter, the Trust shall make a good faith valuation of
the Aggregate Settlement Consideration and such valuation shall be used consistently by all parties
for all U.S. federal income tax purposes. In connection with the preparation of the valuation
contemplated hereby, the Trust shall be entitled to retain such professionals and advisors as the
Trustee shall determine to be appropriate or necessary, and the Trustee shall take such other actions
in connection therewith as he or she determines to be appropriate or necessary.

                 (d)     The Trustee may withhold and pay to the appropriate tax authority all
amounts required to be withheld pursuant to the IRC or any provision of any foreign, state or local
tax law with respect to any payment or distribution. All such amounts withheld and paid to the
appropriate tax authority (or placed in escrow pending resolution of the need to withhold) shall be
treated as amounts distributed or paid for all purposes of this Trust Agreement. The Trustee shall
be authorized to collect such tax information (including tax identification numbers) as in his or her
sole discretion is deemed necessary to effectuate the Plan, the Confirmation Order and this Trust
Agreement. In order to receive distributions, all Beneficiaries shall be required to provide tax
information to the Trustee to the extent the Trustee deems appropriate in the manner and in
accordance with the procedures from time to time established by the Trustee for these purposes.
The Trustee may refuse to make a payment or distribution unless or until such information is
delivered; provided however, that, upon the delivery of such information, the Trustee shall make
such delayed payment or distribution, without interest. Notwithstanding the foregoing, if a person
fails to furnish any tax information reasonably requested by the Trustee before the date that is three
hundred sixty-five (365) calendar days after the request is made, the amount of such distribution
shall irrevocably revert to the Trust. In no event shall any escheat to any federal, state or local
government or any other entity.

                (e)     The Trust agrees to indemnify, defend and hold Reorganized BSA and its
affiliates harmless on an after-tax basis from and against: (i) all taxes, losses, claims and expenses
imposed on, asserted against or attributable to the properties, income or operations of Reorganized
BSA or its affiliates or any Taxes for which Reorganized BSA or its affiliates are otherwise liable,
in each case resulting from, arising out of, or incurred with respect to, any claims that may be
asserted by any party based on, attributable to, or resulting from the election to treat the Trust as a
“grantor trust” within the meaning of the QSF Regulations pursuant to Section 8.4(a).

Section 8.5    Modification.

                (a)    Material modifications to this Trust Agreement, including Exhibits hereto,
may be made only with the consent of the Trustee, the majority of the STAC, and the FCR (which
consent in each case shall not be unreasonably withheld, conditioned or delayed) and subject to
the approval of the Bankruptcy Court; provided however, that the Trustee may amend this Trust
Agreement from time to time without the consent, approval or other authorization of, but with
notice to, the Bankruptcy Court, to make minor corrective or clarifying amendments necessary to
enable the Trustee to effectuate the provisions of this Trust Agreement, provided such minor
corrective or clarifying amendments shall not take effect until ten (10) days after notice to the


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Bankruptcy Court. Except as permitted pursuant to the preceding sentence, the Trustee shall not
modify this Trust Agreement in any manner that is inconsistent with the Plan or the Confirmation
Order without the approval of the Bankruptcy Court. The Trustee shall file notice of any
modification of this Trust Agreement with the Bankruptcy Court and post such notice on the Trust
Website.

               (b)    Notwithstanding anything set forth in this Trust Agreement to the contrary,
none of this Trust Agreement, nor any document related thereto shall be modified or amended in
any way that could jeopardize or impair (i) the applicability of section 105 of the Bankruptcy Code
to the Plan and the Confirmation Order, (ii) the efficacy or enforceability of the Channeling
Injunction or any other injunction or release issued or granted in connection with the Plan and
Confirmation Order, (iii) the Trust’s qualified settlement fund status and grantor trust status under
the QSF Regulations, or (iv) the rights, duties, liabilities and obligations of the Delaware Trustee
without the written consent of the Delaware Trustee.

Section 8.6 Communications. The Trustee shall establish and maintain the Trust Website and
post on the Trust Website the information required by this Trust Agreement, and such other
information as the Trustee determines.

Section 8.7 Severability. If any provision of this Trust Agreement or application thereof to any
person or circumstance shall be finally determined by a court of competent jurisdiction to be
invalid or unenforceable to any extent, the remainder of this Trust Agreement, or the application
of such provisions to persons or circumstances other than those as to which it is held invalid or
unenforceable, shall not be affected thereby, and such provision of this Trust Agreement shall be
valid and enforced to the fullest extent permitted by law.

Section 8.8 Notices. Any notices or other communications required or permitted hereunder to
the following parties shall be in writing and delivered at the addresses designated below, or sent
by email or facsimile pursuant to the instructions listed below, or mailed by overnight courier,
addressed as follows, or to such other address or addresses as may hereafter be furnished in writing
to each of the other parties listed below in compliance with the terms hereof.

       To the Trustee:

       with a copy (which shall not constitute notice) to:



       To the Delaware Trustee:

       with a copy (which shall not constitute notice) to:



       To the FCR:

       with a copy (which shall not constitute notice) to:



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       To the STAC:

       with a copy (which shall not constitute notice) to:



       To Reorganized BSA:

       with a copy (which shall not constitute notice) to:

        All such notices and communications, if mailed, shall be effective when physically
delivered at the designated addresses, or if electronically transmitted, shall be effective upon
transmission.

Section 8.9 Successors and Assigns. The provisions of this Trust Agreement shall be binding
upon and inure to the benefit of the Trust, the Trustee, the STAC, the FCR, the Delaware Trustee
and their respective successors and assigns, except that none of such persons may assign or
otherwise transfer any of its, or their, rights or obligations under this Trust Agreement except, in
the case of the Trust and the Trustee, as contemplated by Section 2.1 and Section 5.2 above, and
in the case of the Delaware Trustee, as contemplated by Section 5.11 above.

Section 8.10 Limitation on Transferability; Beneficiaries’ Interests. The Beneficiaries’ interests
in the Trust shall not (a) be assigned, conveyed, hypothecated, pledged or otherwise transferred,
voluntarily or involuntarily, directly or indirectly and any purported assignment, conveyance,
pledge or transfer shall be null and void ab initio; (b) be evidenced by a certificate or other
instrument; (c) possess any voting rights; (d) give rise to any right or rights to participate in the
management or administration of the Trust or the Trust Assets; (e) entitle the holders thereof to
seek the removal or replacement of any Trustee, whether by petition to the Bankruptcy Court or
any other court or otherwise; (f) entitle the holders thereof to receive any interest on distributions;
and (g) give rise to any rights to seek a partition or division of the Trust Assets. In accordance with
the Act, the Beneficiaries shall have no interest of any kind in any of the Trust Assets; rather, the
Beneficiaries shall have an undivided beneficial interest only in cash assets of but only to the extent
such cash assets are declared by the Trustee to be distributable as distributions in accordance with
the Trust Documents. For the avoidance of doubt, the Beneficiaries shall have only such rights as
expressly set forth in the Trust Documents.

Section 8.11 Exemption from Registration.

        The Parties hereto intend that the rights of the Beneficiaries arising under this Trust
Agreement shall not be “securities” under applicable laws, but none of the Parties hereto represent
or warrant that such rights shall not be securities or shall be entitled to exemption from registration
under applicable securities laws. If it should be determined that any such interests constitute
“securities,” the Parties hereto intend that the exemption provisions of section 1145 of the
Bankruptcy Code will be satisfied and the offer and sale under the Plan of the beneficial interests
in the Trust will be exempt from registration under the Securities Act, all rules and regulations
promulgated thereunder, and all applicable state and local securities laws and regulations.


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Section 8.12 Entire Agreement; No Waiver.

        The entire agreement of the parties relating to the subject matter of this Trust Agreement
is contained herein and in the documents referred to herein, and this Trust Agreement and such
documents supersede any prior oral or written agreements concerning the subject matter hereof.
No failure to exercise or delay in exercising any right, power or privilege hereunder shall operate
as a waiver thereof, nor shall any single or partial exercise of any right, power or privilege
hereunder preclude any further exercise thereof or of any other right, power or privilege. The rights
and remedies herein provided are cumulative and are not exclusive of rights under law or in equity.

Section 8.13 Headings. The headings used in this Trust Agreement are inserted for convenience
only and do not constitute a portion of this Trust Agreement, nor in any manner affect the
construction of the provisions of this Trust Agreement.

Section 8.14 Governing Law.

         This Trust Agreement shall be governed by, and construed in accordance with, the laws of
the State of Delaware, without regard to the conflicts of law provisions thereof which would
purport to apply the law of any other jurisdiction. For the avoidance of doubt, none of the following
provisions of Delaware law shall apply to the extent inconsistent with the terms of the Trust
Documents: (a) the filing with any court or governmental body or agency of trustee accounts or
schedules of trustee fees and charges, (b) affirmative requirements to post bonds for trustees,
officers, agents or employees of a trust, (c) the necessity for obtaining court or other governmental
approval concerning the acquisition, holding or disposition of property, (d) fees or other sums
payable to trustees, officers, agents or employees of a trust, (e) the allocation of receipts and
expenditures to income or principal, (f) restrictions or limitations on the permissible nature,
amount or concentration of trust investments or requirements relating to the titling, storage or other
manner of holding of trust assets, (g) the existence of rights or interests (beneficial or otherwise)
in trust assets, (h) the ability of beneficial owners or other persons to terminate or dissolve a trust,
and (i) the establishment of fiduciary or other standards or responsibilities or limitations on the
acts or powers of trustees or beneficial owners that are inconsistent with the limitations on liability
or authorities and powers of the Trustee, the Delaware Trustee, the STAC, or the FCR set forth or
referenced in this Trust Agreement. 12 Del. C. § 3540 shall not apply to the Trust.

Section 8.15 Settlor’s Representative.

        Pursuant to the Document Agreement (as defined in the Plan), Reorganized BSA is hereby
irrevocably designated as the “Settlor’s Representative” and is hereby authorized to take any
action consistent with Reorganized BSA’s obligations under the Document Agreement that is
reasonably requested of the Settlor by the Trustee. Pursuant to the Document Agreement, the
Settlor’s Representative shall cooperate with the Trustee and the Trust’s officers, employees and
professionals in connection with the Trust’s administration of the Aggregate Settlement
Consideration, including, but not limited to, providing the Trustee or his or her officers, employees
and professionals, upon written request (including e-mail), reasonable access to information
related to the Aggregate Settlement Consideration, including, without limitation, delivery of
documents in the possession of, or witnesses under the control of, Reorganized BSA [and others]




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to the extent that the Trustee could obtain the same by subpoena, notice of deposition or other
permissible discovery request, without the need for a formal discovery request.

Section 8.16 Dispute Resolution.

               (a)     Unless otherwise expressly provided for herein, the dispute resolution
procedures of this Section 8.16 shall be the exclusive mechanism to resolve any dispute between
or among the parties hereto, and the Beneficiaries hereof, arising under or with respect to this Trust
Agreement.

                 (b)    Informal Dispute Resolution. Any dispute under this Trust Agreement
shall first be the subject of informal negotiations. The dispute shall be considered to have arisen
when a disputing party sends to the counterparty or counterparties a written notice of dispute
(“Notice of Dispute”). Such Notice of Dispute shall state clearly the matter in dispute. The period
of informal negotiations shall not exceed thirty (30) days from the date the Notice of Dispute is
received by the counterparty or counterparties, unless that period is modified by written agreement
of the disputing party and counterparty or counterparties. If the disputing party and the
counterparty or counterparties cannot resolve the dispute by informal negotiations, then the
disputing party may invoke the formal dispute resolution procedures as set forth below.

                (c)     Formal Dispute Resolution. The disputing party shall invoke formal
dispute resolution procedures, within the time period provided in the preceding subparagraph, by
serving on the counterparty or counterparties a written statement of position regarding the matter
in dispute (“Statement of Position”). The Statement of Position shall include, but need not be
limited to, any factual data, analysis or opinion supporting the disputing party’s position and any
supporting documentation and legal authorities relied upon by the disputing party. Each
counterparty shall serve its Statement of Position within thirty (30) days of receipt of the disputing
party’s Statement of Position, which shall also include, but need not be limited to, any factual data,
analysis or opinion supporting the counterparty’s position and any supporting documentation and
legal authorities relied upon by the counterparty. If the disputing party and the counterparty or
counterparties are unable to consensually resolve the dispute within thirty (30) days after the last
of all counterparties have served its Statement of Position on the disputing party, the disputing
party may file with the Bankruptcy Court a motion for judicial review of the dispute in accordance
with Section 8.16(d) below. In the case of any dispute pursuant to this Section 8.16(c), if the
dispute arose pursuant to the consent provision set forth in Section 5.14, the burden of proof shall
be on the party or parties who withheld consent to show by a preponderance of the evidence that
consent was not unreasonably withheld.

                (d)     Judicial Review. The disputing party may seek judicial review of the
dispute by filing with the Bankruptcy Court (or, if the Bankruptcy Court shall not have jurisdiction
over any dispute, such court as has jurisdiction under Section 1.7 above) and serving on the
counterparty or counterparties and the Trustee, a motion requesting judicial resolution of the
dispute. The motion must be filed within forty-five (45) days of receipt of the last counterparty’s
Statement of Position pursuant to the preceding subparagraph. The motion shall contain a written
statement of the disputing party’s position on the matter in dispute, including any supporting
factual data, analysis, opinion, documentation and legal authorities, and shall set forth the relief
requested and any schedule within which the dispute must be resolved for orderly administration


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of the Trust. Each counterparty shall respond to the motion within the time period allowed by the
rules the court, and the disputing party may file a reply memorandum, to the extent permitted by
the rules of the court. In the case of any dispute pursuant to this Section 8.16(d), if the dispute
arose pursuant to the consent provision set forth in Section 5.14, the burden of proof shall be on
the party or parties who withheld consent to show by a preponderance of the evidence that consent
was not unreasonably withheld. Each party shall bear its own costs and expenses of any judicial
review under this Section 8.16(d), except that the Trust shall bear the reasonable costs and
expenses of the STAC and the FCR in connection with any dispute described in the immediately
preceding sentence.

Section 8.17 Independent Legal and Tax Counsel.

       All parties to this Trust Agreement have been represented by counsel and advisors of their
own selection in this matter. Consequently, the parties agree that the language in all parts of this
Trust Agreement shall in all cases be construed as a whole according to its fair meaning and shall
not be construed either strictly for or against any party. It is specifically acknowledged and
understood that this Trust Agreement has not been submitted to, nor reviewed or approved by, the
IRS or the taxing authorities of any state or territory of the United States of America.

Section 8.18 Waiver of Jury Trial.

        Each party hereto and each Beneficiary hereof hereby irrevocably waives, to the fullest
extent permitted by applicable law, any and all right to a trial by jury in any legal proceeding
arising out of or relating to this Trust Agreement.

Section 8.19 Effectiveness.

        This Trust Agreement shall not become effective until it has been executed and delivered
by all the parties hereto.

Section 8.20 Counterpart Signatures.

        This Trust Agreement may be executed in any number of counterparts, each of which shall
constitute an original, but such counterparts shall together constitute but one and the same
instrument. A signed copy of this Trust Agreement or any amendment hereto delivered by
facsimile, email or other means of Electronic Transmission, shall be treated in all manner and
respects as an original agreement or instrument and shall be considered to have the same binding
legal effect as if it were the original signed version thereof delivered in person.

                              [SIGNATURE PAGES TO FOLLOW]




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        IN WITNESS WHEREOF, the parties have executed this Trust Agreement as of the
date first set forth above to be effective as of the Effective Date.

                                                                           [SETTLOR]


                                                                           [TRUSTEE]


                                                             [DELAWARE TRUSTEE]


                                                                   [STAC MEMBERS]


                                                                                 [FCR]




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                    EXHIBIT 1
       AGGREGATE SETTLEMENT CONSIDERATION
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                          EXHIBIT 2
                    CERTIFICATE OF TRUST
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                     EXHIBIT 3
 TRUST DISTRIBUTION PROCEDURES FOR ABUSE CLAIMS
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                      EXHIBIT 4
                INVESTMENT GUIDELINES
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                        EXHIBIT C

      CONTRIBUTING CHARTERED ORGANIZATION
            SETTLEMENT CONTRIBUTION
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The Contributing Chartered Organization Settlement Contribution is comprised of the following
monetary contributions, which shall be contributed to the Settlement Trust on the terms set forth
in the applicable settlement agreements attached to the Plan as Exhibit J.


TCJC                                              $250,000,000
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                        EXHIBIT D

      CONTRIBUTING CHARTERED ORGANIZATIONS
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1.   The Church of Jesus Christ of Latter-day Saints, a Utah corporation sole, including any
     affiliates or personnel.
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                        EXHIBIT E

            FOUNDATION LOAN TERM SHEET
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            National Boy Scouts of America Foundation Loan to Boy Scouts of America
                               Summary of Terms and Conditions

Lender                  National Boy Scouts of America Foundation (the “Lender”)

Borrower                Boy Scouts of America (the “Borrower”)

Guarantor               Arrow WV, Inc. (the “Guarantor”)

Facility                $42.8 million term loan (the “Loan”), which shall be borrowed in a single
                        draw on the effective date of the Plan (the “Effective Date”).
                        As used herein, the “Plan” means the Chapter 11 Plan of Reorganization for
                        Boy Scouts of America and Delaware BSA, LLC [Dkt. No. 20], as may be
                        amended on terms acceptable to Lender.

Term                    10 years commencing on the Effective Date.

Interest Rate &         6.5%, subject to default interest of 2.0% on overdue amounts.
Interest Payments
                        Interest shall be payable on a quarterly basis, with the first payment due at
                        the end of the first fiscal quarter ended after the Effective Date. All
                        outstanding interest shall be due and payable at maturity of the Loan.

Principal Payments      Principal payments shall be based on 10% per annum amortization. Such
                        payments shall be made in equal quarterly installments for the duration of the
                        Loan with the first payment due at the end of the first fiscal quarter ended
                        after the Effective Date. All outstanding principal shall be due and payable
                        at maturity of the Loan.

Prepayments             Voluntary prepayments permitted without penalty.

Security                Second lien pledge of the Arrow Intercompany Note and proceeds received
                        in respect thereof.
                        As used herein, the “Arrow Intercompany Note” means that certain
                        Amended and Restated Promissory Note dated as of March 21, 2019 in the
                        original principal amount of $350,000,000, executed by the Guarantor and
                        payable to the Borrower.

Use of Proceeds         To fund working capital and general corporate purposes of the Borrower;
                        provided that, for the avoidance of doubt, proceeds of the Loan shall not be
                        used for Unauthorized Purposes.
                        As used herein, “Unauthorized Purposes” includes, without limitation,
                        payments to any creditors’ trust pursuant to the terms of the confirmed Plan,
                        any direct or indirect payments to tort claimants, and any payments or
                        transactions that would be considered “self-dealing” under the Internal
                        Revenue Code or could otherwise give rise to excise tax.

Representations and     Usual and customary for loans of this type.
Warranties
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Affirmative and        Usual and customary for loans of this type, including, without limitation,
Negative Covenants     (a) prohibitions on actions that could be construed as self-dealing, and
                       (b) extension of the maturity of the Arrow Intercompany Note from March
                       31, 2029 to a date that is later than the maturity date of the Loan.

Financial Covenants    Usual and customary for loans of this type with customary cushions.

Reporting              Usual and customary for loans of this type.
Requirements

Events of Default      Usual and customary for loans of this type, including cross-acceleration
                       solely to the JPMorgan Bank, N.A. credit facilities in existence on the
                       Effective Date that are senior by way of contract to the Loan, as such credit
                       facilities may be amended from time to time.

Remedies               Usual and customary for loans of this type.

Assignment             The Borrower cannot assign the Loan without the consent of the Lender.
                       The Lender can assign the Loan at any time with the Borrower’s consent,
                       provided that if the Borrower is in payment or bankruptcy default under the
                       Loan, then the Lender can assign the Loan without the consent of the
                       Borrower.

Conditions Precedent   Usual and customary for loans of this type, including, without limitation:
to the Loan
                       (a) the execution and delivery of loan documentation reasonably satisfactory
                       to the Borrower and the Lender and consistent with this Summary of Terms
                       and Conditions, containing conditions to borrowing, repayment terms,
                       representations, warranties, covenants, and events of default usual and
                       customary for this type of loan;
                       (b) the execution and delivery of an intercreditor and subordination
                       agreement reasonably satisfactory to the Lender, between the Borrower, the
                       Lender, and JPMorgan Chase Bank, N.A.;
                       (c) JPMorgan Chase Bank, N.A. shall have consented to the Borrower’s
                       pledge to Lender of a second lien security interest in the Arrow Intercompany
                       Note and proceeds received in respect thereof;
                       (d) the satisfactory completion of the Lender’s reasonable due diligence and
                       the obtaining of any approvals or consents deemed necessary or appropriate
                       upon the advice of counsel to the Lender;
                       (e) entry of a confirmation order on terms reasonably acceptable to the
                       Lender; and
                       (f) the effectiveness of the Plan containing terms acceptable to the Borrower
                       and the Lender.


Expenses and           Usual and customary for loans of this type, including, without limitation,
Indemnification        indemnification by the Borrower of the Lender of any losses suffered by the



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                      Lender in the event that it is ultimately determined that the Borrower used the
                      loan proceeds for Unauthorized Purposes.

Governing Law         Texas.

Release               The release by the Borrower of the Lender with respect to any and all claims,
                      and inclusion of the Lender within all Plan releases, including as a “Released
                      Party” and “Protected Party” under the Plan.

Payment of Fees and   The Borrower will pay the fees and expenses, including reasonable attorneys’
Expenses              fees, of the Lender associated with the preparation, execution, administration,
                      and enforcement of the Loan and any subsequent amendment or waiver with
                      respect thereto. The Lender shall not be required to file an application for
                      payment of fees and expenses with the bankruptcy court.




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                        EXHIBIT F

      LOCAL COUNCIL SETTLEMENT CONTRIBUTION
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 I.   Local Council Settlement Contribution – General

In addition to the other components of the Local Council Settlement Contribution specified in the
Plan,1 the Local Councils shall contribute the following to the Settlement Trust on the Effective
Date:

         (1)      at least $300 million of Cash to be paid on the Effective Date (the “Cash
                  Contribution”);

         (2)      Unrestricted properties2 with a combined Appraised Value (as defined below) of
                  $200 million (the “Property Contribution”), which shall be reduced on a dollar-
                  for-dollar basis by any Cash Contribution in excess of $300 million, provided that
                  the methodology and procedures related to property selection and acceptance are
                  provided for below; and

         (3)      the DST Note, in the principal amount of $100 million, issued by the DST on or
                  as soon as practicable after the Effective Date.3 The principal terms of the DST
                  Note are set forth in the DST Note Mechanics described below.

A listing of each Local Council’s total expected contribution is included in the Disclosure
Statement, including a specific break-down between the (i) Cash Contribution and (ii) Property
Contribution. Any actual or anticipated changes in contributions for any Local Council will be
set forth in the Plan Supplement. Notwithstanding any change in the Cash Contribution or
Property Contribution for any Local Council, the aggregate amount of the Cash Contribution and
the Property Contribution shall not be less than $500 million in any circumstance (and the Cash
Contribution shall not be less than $300 million in any circumstance).

II.   Property Contribution

The Property Contribution shall be structured as follows: The relevant Local Council shall agree
to (a) retain title to the property (and pay insurance, property taxes, other associated ownership
costs and any yet unremoved debt, all on a current basis), subject to, at the election, cost, and
expense of the Settlement Trust, a mortgage in favor of the Settlement Trust, (b) post (and keep
continuously posted unless otherwise agreed by the Settlement Trust) the property for sale within
thirty days following the Effective Date with a qualified real estate broker that will use standard
and customary marketing practices, (c) present any written sale offer to the Settlement Trust for
approval, (d) present to the Settlement Trust for its review and approval all final proposed terms
of any sale and purchase offers (including price, timing and other terms) (“Proposed Final

1
  All terms that are capitalized but not otherwise defined on this Exhibit F have the meanings ascribed to such terms
in the Plan.
2
  “Unrestricted” properties are defined as those properties not included in the BSA-defined Restriction Tiers 1 – 2
(Tier 1: Property limited to Boy Scout use only – any conveyance causes reversion or transfer of property to 3rd
party. Tier 2: Property limited to Boy Scout use only – no reversionary clause).
3
  The DST may be any other type of entity that ensures the DST Note is balance-sheet neutral as to the BSA and
Local Councils, as determined by the BSA in consultation with the Ad Hoc Committee, and, in such event, each
reference in the Plan, including this Exhibit F, to DST shall be deemed a reference to the actual entity that issues the
DST Note.
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Terms”); provided that if any Proposed Final Terms would impose additional costs on the Local
Council and the Settlement Trust accepts such Proposed Final Terms, at the Local Council’s
option any such additional costs shall be deducted from the proceeds or paid by the Settlement
Trust, and not by the Local Council,4 (e) remit the proceeds of the sale to the Settlement Trust at
closing net of posting/listing/marketing fees, escrow fees, sales commissions, and other typical
costs of sale.5 The Settlement Trust may review the marketing and sales efforts undertaken by
the Local Council and request that the Local Council make changes to such marketing and sales
efforts as are appropriate and lawful; provided that any costs associated with such changes will
be paid, at the option of the Local Council, by the Settlement Trust or out of the proceeds of any
sale. If the Settlement Trust is unsatisfied with the sales and marketing effort, the Settlement
Trust shall have the right to require the Local Council to promptly transfer the property to the
Settlement Trust by quitclaim deed. If there is a shortfall or surplus of net proceeds as compared
to Appraised Value, the Settlement Trust shall bear the risk of the shortfall and keep the surplus.
If the property is not sold on or before the third anniversary of the Effective Date, the Local
Council and the Settlement Trust each shall have the right to require the prompt transfer of the
property to the Settlement Trust by quitclaim deed. If the Local Council receives a cash offer for
the property the value of which is at least equal to its Appraised Value, the Settlement Trust shall
accept the offer if no superior offer is made within thirty days (or, if a lesser time is specified in
an offer received, then such lesser time) or accept a quitclaim deed for the property.

The “Appraised Value” shall be determined as follows:

         (A)      In the case of the contribution of an entire Camp, Service Center, Scout Shop or
                  other property that does not have a restriction in Restriction Tiers 3-56 (“Lower
                  Tier Restriction”), as reasonably determined by the Debtors’ property review
                  counsel and specified on Exhibit 2 to Exhibit B to the Disclosure Statement,
                  which summarizes the restricted appraisal reports or broker opinions of value
                  conducted by JLL Valuation & Advisory Services, LLC (“JLL”), CBRE, Inc.
                  (“CBRE”) or Keen-Summit Capital Partners LLC in connection the BSA’s
                  chapter 11 case prior to June 10, 2021 (the “Specified Appraisals”): (1) the
                  appraised amount set forth in any such Specified Appraisal (using the average of
                  high and low values of such Specified Appraisal, if applicable) or (2) if the
                  applicable Local Council elects a Qualified On-Site Appraisal, the amount
                  established by the average of (1) and the appraised amount in such Qualified On-
                  Site Appraisal (using, for the Qualified On-Site Appraisal, the average of high and
                  low values, if applicable);


4
   By way of non-exclusive example, if the Proposed Final Terms requires the Local Council to retrofit a water
system and the Settlement Trust accepts the Proposed Final Terms, the costs of the retrofit will, at the Local
Council’s option be paid (or reimbursed) out of the sale proceeds or paid by the Settlement Trust.
5
  For the avoidance of doubt, the proceeds of the sale shall be first applied to any debt or liens remaining on the
property, which debt shall have already been reflected in the Appraised Value of the property as described below.
6
  A Tier 3-5 Restriction shall mean any of the following: (1) Tier 3: property limited to Boy Scout or similar use or
recreational area; (2) Tier 4: Property subject to conservation easement or other grantor or donor restrictions on
development; (3) Tier 5: Property subject to leases to 3rd party (e.g., office space, cell tower, oil and gas), zoning
restrictions, easements or other similar encumbrances.


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       (B)      In the case of the contribution of an entire Camp, Service Center, Scout Shop or
                other property that has a Lower Tier Restriction: (a) the appraised amount set
                forth in a Specified Appraisal if such Specified Appraisal accounts for such
                Lower Tier Restriction or (b) if the Specified Appraisal does not account for such
                Lower Tier Restriction, the amount established by a Qualified On-Site Appraisal
                (using the average of high and low values, if applicable) of the property taking
                into account the Lower Tier Restriction.

       (C)      In the case of a contribution of only a portion of a particular Camp, Service
                Center, Scout Shop or other property to the Settlement Trust, whether or not
                subject to a Lower Tier Restriction, the amount established by a Qualified On-Site
                Appraisal (using the average of high and low values, if applicable) of the specific
                parcel and acreage proposed to be contributed, taking into account any Lower
                Tier Restriction;

                provided, that, in the case of (A), (B), or (C) the Appraised Value shall be net of
                any debt encumbering the property and that no new debts shall be placed on any
                property subject to the Property Contribution except any mortgages in favor of the
                Settlement Trust.

                The applicable Local Councils and the BSA shall engage in reasonable good faith
                efforts to ensure all properties subject to the Property Contribution accurately
                reflect all restrictions that are known to (or should be reasonably known to) exist
                in any appraisal that is used to determine a property’s Appraised Value.

                In the event a restriction that was not considered by any appraisal used to
                determine Appraised Value is subsequently determined to exist, such appraisal
                shall not be eligible to determine Appraised Value, and, to the extent necessary,
                within a reasonable period of time, new appraisals shall be conducted and/or the
                relevant Local Council shall contribute additional unrestricted properties or cash
                to the Settlement Trust to the extent necessary to ensure the total Appraised Value
                of all property or properties contributed by such Local Council is equal to or
                exceeds the Appraised Value of property that such Local Council had originally
                agreed to contribute.

A “Qualified On-Site Appraisal” shall mean an appraisal conducted by a licensed real property
appraiser from the geographic region where the property is located and conducted in compliance
with the Uniform Standards of Professional Appraisal Practice; provided that the Coalition (or, if
the appraisal is commenced after the Effective Date, the Settlement Trust) shall have five (5)
business days to object to any licensed real property appraiser selected by the Local Council if
such appraiser is either affiliated with the Local Council or is not qualified to conduct such an
appraisal by the applicable licensing authority in the geographic region where the property is
located. The costs associated with any Qualified On-Site Appraisals will be borne by the Local
Council. If the applicable Local Council has not commissioned a Qualified On-Site Appraisal as
of the date that the Plan is filed, it will do so as soon as possible.




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III.   DST Note Mechanics

 On the Effective Date, at the request of the Ad Hoc Committee, solely to facilitate payments
 from the LC Reserve Account, the DST shall be established, and the DST shall issue the DST
 Note in favor of the Settlement Trust in the principal amount of $100 million. Local Councils
 shall make monthly contributions into an account (and any replacement thereof) owned by the
 DST (the “LC Reserve Account”) in an amount equal to the Required Percentage of the Local
 Councils’ respective payrolls. Until the DST Note is extinguished, the LC Reserve Account
 shall be used only to fund contributions to the Pension Plan in accordance with the next sentence
 and, to the extent of any excess, to pay any Payment Amounts due under the DST Note. If at any
 time (including the end of any Plan Year) (a) the present value of the accumulated benefits for
 the Pension Plan, as determined in accordance with the requirements set forth in the definition of
 “Excess Balance” below for the most recently ended Plan Year, exceeds (b) the market value of
 the assets of the Pension Plan (clause (a) minus clause (b) being the “Shortfall Amount”), funds
 in the LC Reserve Account will be deposited into the Pension Plan up to the lesser of the Local
 Councils’ collective pro rata share of the Shortfall Amount or the balance in the LC Reserve
 Account.

 The DST Note shall be: (i) interest bearing at a rate of 1.5% per annum and without recourse
 except as to the LC Reserve Account; (ii) secured by a lien on the LC Reserve Account; (iii)
 payable on each Payment Date in an amount equal to the applicable Payment Amount; and
 (iv) prepayable in whole or in part at any time without premium or penalty. The unpaid balance
 of the DST Note (if any) remaining on the Payment Date that is the fifteenth anniversary of the
 First Payment Date (the “DST Note Maturity Date”) shall be automatically extinguished and
 shall be considered forgiven and satisfied after giving effect to any required payment on such
 date. Other than the lien on the LC Reserve Account, the Settlement Trust shall have no other
 recourse for payment under the DST Note.

 “Cushion Amount” means: (i) from the Effective Date until the first June 1 that is at least one
 year after the Effective Date (the “First Cushion Date”), $134.86 million; (ii) from the day
 following the First Cushion Date until June 1 of the following year (the “Second Cushion Date”),
 $124.86 million; (iii) from the day following the Second Cushion Date until June 1 of the
 following year (the “Third Cushion Date”), $114.86 million; (iv) from the day following the
 Third Cushion Date until June 1 of the following year (the “Fourth Cushion Date”), $104.86
 million; and (v) from the day following the Fourth Cushion Date until June 1 of the following
 year (the “Fifth Cushion Date”), $100 million; and (vi) from the day following the Fifth Cushion
 Date to and including the DST Note Maturity Date, $100 million.

 “Excess Balance” means the amount in excess of the applicable Cushion Amount, if any, by
 which (a) the sum of (i) the market value of the assets of the Pension Plan as set forth in the
 actuarial report for the Pension Plan for the most recently ended Plan Year plus (ii) the balance
 of the LC Reserve Account as of the month-end preceding the applicable Payment Date exceeds
 (b) the present value of the accumulated benefits for the Pension Plan as set forth in the actuarial
 report for the Pension Plan for the most recently ended Plan Year calculated using a 6.5% annual
 interest rate, net of expenses, so long as the Pension Plan continues to be a Cooperative and
 Small Employer Charity (CSEC) plan. The actuarial report shall be prepared in accordance with
 actuarial standards, past practice, and applicable law.


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The Debtors have conducted a current experience study by the Pension Plan actuary with respect
to the demographic assumptions for the Pension Plan (e.g., rates of retirement, termination,
spousal age difference, commencement age and forms of payment) (the “2021 Experience
Study”). After implementing changes based on the 2021 Experience Study, demographic
assumption changes, with the exception of annual updates to mortality improvement projection
scales, will not be made without a subsequent experience study, and economic assumption
changes will not be made without an asset liability management study. Reorganized BSA will
not commission any such studies until five (5) years after the Effective Date of the Amended
Plan unless there are material changes to Internal Revenue Code § 433 (governing CSEC plans).
In the event of such a material change, Reorganized BSA shall commission any such studies only
if it reasonably believes, in consultation with the Pension Plan actuary, that such study is
required. During the term of the DST Note, on an annual basis, Reorganized BSA will provide
advance notice to the Settlement Trustee of any proposed material changes that the Pension Plan
actuary intends to make to its actuarial assumptions and methodologies that increase the present
value of accumulated benefits under the Pension Plan by more than 1.0%. Reorganized BSA
will confer in good faith with the Settlement Trustee regarding any such proposed changes. In
addition, if the Pension Plan is amended in any regard which increases the present value of
benefits under the Pension Plan, such amendments will be disregarded in the calculation of the
present value of accumulated benefits for the purposes of the DST Note.

“Payment Amount” means an amount, if any, on each Payment Date, payable solely from the LC
Reserve Account, equal to the least of: (x) the Excess Balance on such Payment Date, (y) the
remainder of the balance of $100 million accumulated at 1.5% annual interest, as amortized by
any amounts previously paid; and (z) the amount in the LC Reserve Account.

“Payment Date” means, unless the DST Note is prepaid in full, May 31 of each year starting on
the first May 31 after the Effective Date (or starting on the first business day that is at least thirty
(30) days after the Effective Date if the Effective Date occurs between May 1 and May 31) (the
“First Payment Date”) until the fifteenth anniversary of the First Payment Date.

“Plan Year” means the period from February 1 to and including January 31 of the following
year.

“Required Percentage” means an amount equal to 12% of a Local Council’s payroll, less any
pension plan related expenses which are estimated to be approximately 0.50% of such payroll,
less the Local Council employer contribution match for employee contributions to the section
403(b) defined contribution benefit plan, which percentage will not exceed 4.5% of participating
employee payroll until at least $50 million of the DST Note principal has been paid, at which
point the employer contribution match percentage will not exceed 6% until the DST Note has
been paid in full (principal and interest).




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                        EXHIBIT G

                    LOCAL COUNCILS
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Abraham Lincoln                            Choctaw Area
Alabama-Florida                            Cimarron
Alamo Area                                 Circle Ten
Allegheny Highlands                        Coastal Carolina
Aloha                                      Coastal Georgia
Andrew Jackson                             Colonial Virginia
Anthony Wayne Area                         Columbia-Montour
Arbuckle Area                              Connecticut Rivers
Atlanta Area                               Connecticut Yankee
Baden-Powell                               Conquistador
Baltimore Area                             Cornhusker
Bay Area                                   Coronado Area
Bay-Lakes                                  Cradle of Liberty
Black Hills Area                           Crater Lake
Black Swamp Area                           Crossroads of America
Black Warrior                              Crossroads of the West
Blackhawk Area                             Dan Beard
Blue Grass                                 Daniel Boone
Blue Mountain                              Daniel Webster
Blue Ridge                                 De Soto Area
Blue Ridge Mountains                       Del-Mar-Va
Buckeye                                    Denver Area
Buckskin                                   East Carolina
Bucktail                                   East Texas Area
Buffalo Trace                              Erie Shores
Buffalo Trail                              Evangeline Area
Caddo Area                                 Far East
Calcasieu Area                             Five Rivers
California Inland Empire                   Flint River
Cape Cod and Islands                       French Creek
Cape Fear                                  Gamehaven
Capitol Area                               Garden State
Cascade Pacific                            Gateway Area
Catalina                                   Georgia-Carolina
Central Florida                            Glacier's Edge
Central Georgia                            Golden Empire
Central Minnesota                          Golden Gate Area
Central North Carolina                     Golden Spread
Chattahoochee                              Grand Canyon
Cherokee Area (469)                        Grand Columbia
Cherokee Area (556)                        Grand Teton
Chester County                             Great Alaska
Chickasaw                                  Great Rivers
Chief Cornplanter                          Great Salt Lake
Chief Seattle                              Great Smoky Mountain
Chippewa Valley                            Great Southwest
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Great Trail                                   Mayflower
Greater Alabama                               Mecklenburg County
Greater Hudson Valley                         Miami Valley
Greater Los Angeles Area                      Michigan Crossroads
Greater New York                              Mid-America
Greater Niagara Frontier                      Middle Tennessee
Greater St. Louis Area                        Mid-Iowa
Greater Tampa Bay Area                        Midnight Sun
Greater Wyoming                               Minsi Trails
Greater Yosemite                              Mississippi Valley
Green Mountain                                Mobile Area
Greenwich                                     Monmouth
Gulf Coast                                    Montana
Gulf Stream                                   Moraine Trails
Hawk Mountain                                 Mount Baker
Hawkeye Area                                  Mount Diablo Silverado
Heart of America                              Mountain West
Heart of New England                          Mountaineer Area
Heart of Virginia                             Muskingum Valley
Hoosier Trails                                Narragansett
Housatonic                                    National Capital Area
Illowa                                        Nevada Area
Indian Nations                                New Birth of Freedom
Indian Waters                                 North Florida
Inland Northwest                              Northeast Georgia
Iroquois Trail                                Northeast Illinois
Istrouma Area                                 Northeast Iowa
Jayhawk Area                                  Northeastern Pennsylvania
Jersey Shore                                  Northern Lights
Juniata Valley                                Northern New Jersey
Katahdin Area                                 Northern Star
Lake Erie                                     Northwest Georgia
Las Vegas Area                                Northwest Texas
LaSalle                                       Norwela
Last Frontier                                 Occoneechee
Laurel Highlands                              Ohio River Valley
Leatherstocking                               Old Hickory
Lincoln Heritage                              Old North State
Long Beach Area                               Orange County
Longhorn                                      Oregon Trail
Longhouse                                     Ore-Ida
Longs Peak                                    Overland Trails
Los Padres                                    Ozark Trails
Louisiana Purchase                            Pacific Harbors
Marin                                         Pacific Skyline
Mason-Dixon                                   Palmetto



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Pathway to Adventure                           South Plains
Patriots’ Path                                 South Texas
Pee Dee Area                                   Southeast Louisiana
Pennsylvania Dutch                             Southern Sierra
Piedmont                                       Southwest Florida
Piedmont                                       Spirit of Adventure
Pikes Peak                                     Suffolk County
Pine Burr Area                                 Susquehanna
Pine Tree                                      Suwannee River Area
Pony Express                                   Tecumseh
Potawatomi Area                                Texas Southwest
Prairielands                                   Texas Trails
Puerto Rico                                    Theodore Roosevelt
Pushmataha Area                                Three Fires
Quapaw Area                                    Three Harbors
Quivira                                        Three Rivers
Rainbow                                        Tidewater
Redwood Empire                                 Transatlantic
Rio Grande                                     Trapper Trails
Rip Van Winkle                                 Tukabatchee Area
Rocky Mountain                                 Tuscarora
Sagamore                                       Twin Rivers
Sam Houston Area                               Twin Valley
Samoset                                        Ventura County
San Diego-Imperial                             Verdugo Hills
San Francisco Bay Area                         Virginia Headwaters
Santa Fe Trail                                 Voyageurs Area
Seneca Waterways                               W.D. Boyce
Sequoia                                        Washington Crossing
Sequoyah                                       West Tennessee Area
Shenandoah Area                                Westark Area
Silicon Valley Monterey Bay                    Western Los Angeles County
Simon Kenton                                   Western Massachusetts
Sioux                                          Westmoreland-Fayette
Snake River                                    Winnebago
South Florida                                  Yocona Area
South Georgia                                  Yucca




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                        EXHIBIT H

            RELATED NON-DEBTOR ENTITIES
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Arrow WV, Inc.
Atikaki Youth Ventures Inc.
Atikokan Youth Ventures Inc.
BSA Asset Management, LLC
BSA Endowment Master Trust
Learning for Life
National Boy Scouts of America Foundation
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                             EXHIBIT I-1

    HARTFORD INSURANCE SETTLEMENT AGREEMENT

 (to be supplemented; refer to D.I. 6210-1 for the Hartford Term Sheet)
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                            EXHIBIT J-1

               TCJC SETTLEMENT AGREEMENT

  (to be supplemented; refer to D.I. 6210-2 for the TCJC Term Sheet)
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                         EXHIBIT K

   NON-PARTICIPATING CHARTERED ORGANIZATIONS

                    (SUBJECT TO CHANGE)
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1.   Archbishop of Agaña, a Corporation Sole, Chapter 11 Debtor in Possession, District Court
     of Guam, Territory of Guam, Bankruptcy Division, Case 19-00010.

2.   The Diocese of Buffalo, N.Y., Chapter 11 Debtor in Possession, United States Bankruptcy
     Court for the Western District of New York, Case No. 20-10322.

3.   The Diocese of Rochester, Chapter 11 Debtor in Possession, United States Bankruptcy
     Court for the Western District of New York, Case No. 19-20905.

4.   The Roman Catholic Diocese of Syracuse, New York, Chapter 11 Debtor in Possession,
     United States Bankruptcy Court for the Northern District of New York, Case No. 20-
     30663.

5.   The Roman Catholic Diocese of Rockville Centre, New York, Chapter 11 Debtor in
     Possession, United States Bankruptcy Court for the Southern District of New York, Case
     No. 20-12345.
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                       SCHEDULE 1

                        ARTWORK
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                                                             ARTWORK

OBJECT ID       TITLE                                 CREATOR                                  DATE      IMAGE            MEDIUM
                                                                                                         SIZE

2011.064.167    Where Brook and River Meet            A. Boulard after a painting by B. W.     n. d.     17 5/8" x 27     Hand colored etching
                                                      Leader                                             1/8" with
                                                                                                         margins
2011.064.306    Portrait of Abraham Lincoln           After George Henry Hall by an            n. d.     33 1/8" x 24     Oil on relined canvas
                                                      Unknown artist (Contemporary)                      1/2"
2011.064.242    Dr. James E. West                     Albert A. Rose (Contemporary)            n. d.     40" x 30"        Oil on canvas
2011.064.241    Portrait of Gale F. Johnson           Albert A. Rose (Contemporary)            n. d.     30" x 25"        Oil on canvas
2011.064.204    Native American Village               Andy Jansen (Contemporary)               n. d.     10" x 13"        Ink on paper
2011.064.315    Triumph and Tragedy                   Angelini                                 2008                       Oil on Canvas

2012.051        Big Doing's When King Richard Had a   Beard, Daniel Carter                     n.d.
                Rodeo
Johnston gift   Fight Scene                           Beard, Daniel Carter                     n.d.                       Ink on Paper
2011.064.181    Lord Baden Powell                     Benjamin Eggleston (Contemporary)        n. d.     51 1/2" x 43"
2011.064.159    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.160    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.161    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.162    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.163    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.217    Old Ironside                          Betty Mahony (Contemporary)              n. d.     18" x 24"        Oil on canvas

Unknown         A Century of Values                   Bill Manilow                             n.d.                       Acrylic?
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OBJECT ID      TITLE                                        CREATOR                                    DATE      IMAGE           MEDIUM
                                                                                                                 SIZE

2011.064.164   Boyscout Membership                          C. K. Berryman (Contemporary)              1940      12 1/2" x 14    Ink on paper
                                                                                                                 1/8"
2011.064.243   The Mountaineer                              Carl Clemens Moritz Rungius (1869-         n. d.     50" x 60"       Oil on canvas
                                                            1959)
Unknown        Scout's Signaling Friendship                 Caserta                                    1945

2011.064.170   In a Welch Valley                            Charles Chauvel after a painting by B.     n. d.     18 1/2" x 28    Hand colored etching
                                                            W. Leader                                            1/2" with
                                                                                                                 margins
2011.064.171   Surrey's Pleasant Hills                      Charles Chauvel after a painting by B.     n. d.     21 1/2" x 17"   Hand colored etching
                                                            W. Leader                                            with margins
2016.019       Scouts at Campfire Singing                   Charles Towne                              1930s                     Oil on unstretched
                                                                                                                                 canvas
Unknown        New Jersey State Trooper and Scout           Dave ?                                     n.d.

2011.064.225   Greenhead Alert                              David Moss (Contemporary)                  n. d.     16 1/4" x 24    Color off-set lithograph
                                                                                                                 7/8" with
                                                                                                                 margins
2011.064.226   Pheasants in the Snow                        David Moss (Contemporary)                  n. d.     16 3/8" x 24    Color off-set lithograph
                                                                                                                 7/8" with
                                                                                                                 margins
2011.064.227   Wild Wings                                   David Moss (Contemporary)                  1985      16 1/2" x 24    Color off-set lithograph
                                                                                                                 7/8" with
                                                                                                                 margins
2011.064.176   Lincoln Memorial                             Dean Cornwell ( 1892- 1960)                n. d.     38" x 35"       Oil on canvas
2011.064.175   Uncle Sam's Air Force; "Boy Scout and        Dean Cornwell ( 1892- 1960)                1952      38 1/8" x 35    Oil on canvas
               Pilot"                                                                                            1/2"
2011.064.177   Wright Brothers                              Dean Cornwell ( 1892- 1960)                n. d.     38" x 35"       Oil on canvas
2011.064.174   Boy Scout and Father at Nathan Hale Statue   Dean Cornwell (1892- 1960)                 n. d.     40" x 36 1/4"   Oil on relined canvas
2011.064.215   America's Strength                           Don Lupo (Contemporary)                    n. d.     26" x 19 1/2"   Watercolour over off-
                                                                                                                                 set lithograph
Unknown        Your Career in Scouting                      Don Lupo (Contemporary)                    n.d.
OA             Brotherhood Barn                             E. Urner Goodman                           n.d.                      Oil on Canvas
2011.064.316   Treasure Island                              E. Urner Goodman                                                     Oil on Canvas

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OBJECT ID      TITLE                                   CREATOR                                DATE      IMAGE           MEDIUM
                                                                                                        SIZE

2011.064.187   Liberty Bell                            Earnest Henry (Contemporary)           n. d.     25" x 26"       Oil on canvas
2011.064.231   Forward on Liberty's Team               Earnest Pascoe (1922- 1996)            1954      33" x 23"       Oil on canvas
2011.064.211   The Measure of a Man                    Edward D. Kuekes (Born 1901)           1957      20" x 16"       Ink on paper
2011.064.222   Ellsworth H. Augustus                   Eugene A. Montgomery                   n. d.     40" x 30"       Oil on canvas
                                                       (Contemporary)
2011.064.223   Portrait of Alden G. Barber             Eugene A. Montgomery                   n. d.     42" x 32"       Oil on canvas
                                                       (Contemporary)
2011.064.224   Portrait of Irving Feist                Eugene A. Montgomery                   n. d.     42" x 32"       Oil on canvas
                                                       (Contemporary)
Unknown        Eagle in Flight                         F.P. Smith                             n.d.
2011.064.182   General Omar Bradley                    Frank Eliscu (Born 1912)               1990      16 1/2" high    Cast bronze sculpture
                                                                                                        without base    with brown patina
2011.064.220   Coke, "Boy Scouts Come to a Halt"       Fredric Kimball Mizen (1888- 1965)     n. d.     32 1/2" x 37    Oil on canvas which has
                                                                                                        1/2"            been relined
2011.064.119   Scout Bugler, Swimming Call             Harold N. Anderson (Contemporary)      n.d.      28" x 21 1/2"   Oil on Canvas
2011.064.120   Sea Scout at Ship's Wheel               Harold N. Anderson (Contemporary)      n.d.      30" x 20"       Oil on Canvas
2011.064.244   They See a Vision That Once Was Yours   Harold van Schmidt (Contemporary)      1951      29" x 37"       Oil on canvas
2011.064.168   Boy's Life Cover                        Harrison Cady (1877- 1970)             1938      17 5/8" x 27    Ink and watercolour on
                                                                                                        1/8"            paper
2011.064.191   A Scout is Brave                        Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.192   A Scout is Cheerful                     Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.193   A Scout is Clean                        Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.194   A Scout is Courteous                    Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.195   A Scout is Friendly                     Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.196   A Scout is Helpful                      Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.197   A Scout is Kind                         Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.198   A Scout is Loyal                        Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)

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OBJECT ID      TITLE                                      CREATOR                                DATE    IMAGE              MEDIUM
                                                                                                         SIZE

2011.064.199   A Scout is Obedient                        Henry "Hy" Hintermeister (1902-        n. d.   15" x 10"          Gouache on paper
                                                          1972)
2011.064.200   A Scout is Reverent                        Henry "Hy" Hintermeister (1902-        n. d.   15" x 10"          Gouache on paper
                                                          1972)
2011.064.201   A Scout is Thrifty                         Henry "Hy" Hintermeister (1902-        n. d.   15" x 10"          Gouache on paper
                                                          1972)
2011.064.202   A Scout is Trustworthy                     Henry "Hy" Hintermeister (1902-        n. d.   15" x 10"          Gouache on paper
                                                          1972)
2011.064.189   Achievement                                Henry "Hy" Hintermeister (1902-        n. d.   24" x 18"          Oil on canvas
                                                          1972)
2011.064.190   Adventure                                  Henry "Hy" Hintermeister (1902-        n. d.   24" x 18"          Oil on canvas
                                                          1972)
2011.064.228   Johnston Historical Museum                 Herbert Mott (Contemporary)            n. d.   10 1/2" x 22       Gouache and pencil on
                                                                                                         1/2"               paper
2011.064.230   Portrait of Baden-Powell                   Hjordis Nyberg (Contemporary)          n. d.   40" x 30"          Oil on canvas
2011.064.188   Tait McKenzie Statue                       Homer Hill (Contemporary)              n. d.   24" x 18"          Gouache on paper and
                                                                                                                            collage
2011.064.172   Boy Scout                                  Howard Chandler Christy (1873- 1952)   1936    60" x 40"          Oil on canvas
2011.064.312   Portrait of Norton Clapp                   J. Anthony Wills (Contemporary)        n. d.   43" x 34"          Oil on masonite
2011.064.165   Giant Eagle, Planes, and Scout             James Bingham (Contemporary)           n. d.   34 1/2" x 30       Oil on relined canvas
                                                                                                         1/4"
2011.064.130   "Common Puffin": "Tufted Puffin"; and      James Carter Beard (1837- 1913)        1904    6 3/4" x 5 1/16"   Ink and watercolour on
               "Rhinoceros Auklet"                                                                                          paper mounted to
                                                                                                                            cardboard
2011.064.140   "Hudson Bay Lemming"; "Field Mouse";       James Carter Beard (1837- 1913)        1904    12" x 11"          Ink and watercolour on
               "Red Backed Mouse"; and "Northwest                                                                           paper mounted to
               Vole"                                                                                                        cardboard
2011.064.150   "Sunfish"; "Calico Bass"; Yellow Perch";   James Carter Beard (1837- 1913)        1904    9 1/2" x 12 7/8"   Ink and watercolour on
               and "Small Mounted Black Bass"                                                                               paper mounted to
                                                                                                                            cardboard
2011.064.121   American Spotted Chimera                   James Carter Beard (1837- 1913)        1904    6" x 11"           Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.123   Australian Lung Fish                       James Carter Beard (1837- 1913)        1904    6 3/4" x 12 3/4"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard


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OBJECT ID      TITLE                                       CREATOR                             DATE      IMAGE              MEDIUM
                                                                                                         SIZE

2011.064.124   Black Footed Albatross                      James Carter Beard (1837- 1913)     1904      9 1/8" x 10 1/4"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.125   Bluefish                                    James Carter Beard (1837- 1913)     1904      4 5/8" x 7"        Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.126   Bullhead Catfish                            James Carter Beard (1837- 1913)     1904      6" x 7 3/4"        Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.127   California Grey Whales Attacked by Killer   James Carter Beard (1837- 1913)     1904      10 3/8" x 15       Ink and watercolour on
               Whales                                                                                    1/2"               paper mounted to
                                                                                                                            cardboard
2011.064.128   Canadian Lynx                               James Carter Beard (1837- 1913)     1904      8 1/2" x 10 3/4"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.129   Common Dolphins                             James Carter Beard (1837- 1913)     1904      10 1/2" x 15       Ink and watercolour on
                                                                                                         5/8"               paper mounted to
                                                                                                                            cardboard
2011.064.131   Congo Snake                                 James Carter Beard (1837- 1913)     1904      13 1/4" x 18       Ink and watercolour on
                                                                                                         1/4"               paper mounted to
                                                                                                                            cardboard
2011.064.132   Devil Fish                                  James Carter Beard (1837- 1913)     1904      9 1/4" x 14 3/8"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.133   Elaine Eel                                  James Carter Beard (1837- 1913)     1904      5 7/8" x 10 7/8"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.134   Florida Wood Rat                            James Carter Beard (1837- 1913)     1904      9 1/8" x 11"       Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.135   Flying Fish                                 James Carter Beard (1837- 1913)     1904      5 5/8" x 9 1/2"    Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.136   Flying Foxes (Bats)                         James Carter Beard (1837- 1913)     1904      17" x 12 1/4"      Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard



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OBJECT ID      TITLE                                CREATOR                             DATE      IMAGE              MEDIUM
                                                                                                  SIZE

2011.064.137   Glacier Bear                         James Carter Beard (1837- 1913)     1904      9 7/8" x 11 3/8"   Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.138   Grey Squirrel                        James Carter Beard (1837- 1913)     1904      9 1/4" x 14 1/2"   Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.139   Hell Bender                          James Carter Beard (1837- 1913)     1904      12" x 16 1/2"      Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.141   Jumping Mouse                        James Carter Beard (1837- 1913)     1904      8 1/2" x 7"        Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.142   Loon and Murres                      James Carter Beard (1837- 1913)     1904      6 7/8" x 8 1/2"    Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.143   Manatee                              James Carter Beard (1837- 1913)     1904      14" x 8 7/8"       Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.144   Menobranchas                         James Carter Beard (1837- 1913)     1904      13" x 18"          Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.145   Pocket Gophers                       James Carter Beard (1837- 1913)     1904      6" x 11"           Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.146   Ribbon Seals                         James Carter Beard (1837- 1913)     1904      12 3/8" x 15       Ink and watercolour on
                                                                                                  1/2"               paper mounted to
                                                                                                                     cardboard
2011.064.148   Spider Monkeys                       James Carter Beard (1837- 1913)     1904      13 7/8" x 9 1/8"   Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.149   Squirrel                             James Carter Beard (1837- 1913)     1904      10 1/2" x 15       Ink and watercolour on
                                                                                                  1/2"               paper mounted to
                                                                                                                     cardboard
2011.064.151   Stellar's Sea Lions                  James Carter Beard (1837- 1913)     1904      9 1/4" x 13 7/8"   Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard



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OBJECT ID        TITLE                                   CREATOR                              DATE      IMAGE              MEDIUM
                                                                                                        SIZE

2011.064.152     Stormy Petrel                           James Carter Beard (1837- 1913)      1904      8 1/4" x 8 1/8"    Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.153     Tarpon                                  James Carter Beard (1837- 1913)      1904      5 1/4" x 9 1/16"   Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.122     The Angler                              James Carter Beard (1837- 1913)      1904      5 7/8" x 10 3/4"   Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.147     The Spanish Mackerel                    James Carter Beard (1837- 1913)      1904      5" x 5 1/2"        Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.154     Two Spined Stickleback                  James Carter Beard (1837- 1913)      1904      3 1/2" x 11 1/2"   Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.155     Typical Pocket-Mouse and Kangaroo Rat   James Carter Beard (1837- 1913)      1904      10 3/4" x 10       Ink and watercolour on
                                                                                                        7/8"               paper mounted to
                                                                                                                           cardboard
2011.064.156     Unicorn Whales                          James Carter Beard (1837- 1913)      1904      10 1/2" x 16       Ink and watercolour on
                                                                                                        1/2"               paper mounted to
                                                                                                                           cardboard
2011.064.157     Woodchuck                               James Carter Beard (1837- 1913)      1904      8 1/8" x 10"       Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.158     Daniel Carter Beard                     James Henry Beard (1812- 1893)       1888      12" x 19 3/8"      Oil on board
2011.064.212     Saturday Evening Post Cover             James Lewicki (Born 1917)            1960      23 1/2" x 21       Ink and watercolour on
                                                                                                        1/2"               board
2011.064.309 /   Santa Claus and Scout                   Jay Vance (Contemporary)             n. d.     13 1/2" x 10       Gouache on paper
1998.111                                                                                                1/4"
None             Scout Crossing-Jamboree                 Jeff Segler                          2017

None             Scouting's Tribute to Law Enforcement   Jeff Segler                          2018
2011.064.278     Untitled Scout                          Jeff Segler (Contemporary)           n. d.     36" x 28"          Oil on canvas
2011.064.166     Mustangs                                John Gutson (La Mothe) Borglum       1904      20 3/4" x 32" x    Cast bronze multiple
                                                         (1867- 1941)                                   16"                sculpture with green-
                                                                                                                           brown patina


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OBJECT ID      TITLE                                     CREATOR                                 DATE       IMAGE              MEDIUM
                                                                                                            SIZE

Unknown        Eagle and Eagle Scout Medal               John Steven Wilson                      n.d.

2011.064.214   "Weapons for Liberty"; March 2 Saturday   Joseph Christain Leyendecker (1874-     1918       40" x 27 1/4"      Oil on canvas
               Evening Post Cover                        1951)
2011.064.213   Saturday Evening Post Cover/ Scouts       Joseph Christain Leyendecker (1874-     1911       30 1/4" x 21       Oil on canvas
               Signaling                                 1951)                                              1/4"
None           100th Anniversary of the Order of the     Joseph Csatari                          2012
               Arrow
2003.111       Portrait of Chope Phillips                Joseph Csatari                          1971                          Oil on masonite


Unknown        "100th Anniversary of World Scouting"     Joseph Csatari                          2007       32" x 26"          Oil on Canvas
Unknown        100th Anniversary of Eagle Scouts         Joseph Csatari                          2012                          Oil on Canvas
Unknown        90th Anniversary of Boys Life             Joseph Csatari                          2001                          Oil on Canvas
Unknown        A Scout is Reverent, Study                Joseph Csatari                          n.d.
Unknown        Reading Partners                          Joseph Csatari                          2002       30" x 24"          Oil on Canvas
Unknown        Scouting Hero's                           Joseph Csatari                          2007       32" x 26"          Oil on Canvas
Unknown        Scouting Salutes Community Organizatons   Joseph Csatari                          2009       32" x 25"          Oil on Canvas
Unknown        Scouting through the Years                Joseph Csatari                          1978                          Oil on Canvas
Unknown        Scoutmaster and Scout, study              Joseph Csatari                          n.d.                          Pencil on paper

Unknown        Sketch, "To Rich"                         Joseph Csatari                          n.d.                          sketch

None           Walter Scott, Jr.                         Joseph Csatari                          2012
Unknown        Year of the Volunteer                     Joseph Csatari                          2008       32" x 25"          Oil on Canvas
2011.064.088   "Prepared To Do a Good Turn" or "9/11"    Joseph Csatari (Contemporary)           2002       40" x 31"          oil on canvas
2011.064.118   100th Anniversary Salute to Scouting      Joseph Csatari (Contemporary)           2009                          Oil on Canvas
2011.064.066   1976 Handbook Cover                       Joseph Csatari (Contemporary)           1975       27 1/2" x 38"      oil on board
2011.064.082   A Good Turn                               Joseph Csatari (Contemporary)           1992       40" x 32"          oil on canvas
2011.064.110   A Good Turn, study                        Joseph Csatari (Contemporary)           n. d.      10" x 8"           pencil on paper
2011.064.092   A Scout is Reverent                       Joseph Csatari (Contemporary)           ca. 1994   20" x 16"          oil on board

2011.064.116   A Winner, study                           Joseph Csatari (Contemporary)           n. d.      10 1/4" x 7 3/4"   pencil on paper
                                                                          8
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OBJECT ID      TITLE                                           CREATOR                             DATE       IMAGE              MEDIUM
                                                                                                              SIZE

2011.064.070   After Hours                                     Joseph Csatari (Contemporary)       1980       30" x 24"          oil on canvas
2011.064.107   After Hours, study                              Joseph Csatari (Contemporary)       n. d.      9 1/2" x 7 1/2"    pencil on paper
2011.064.109   Building a Fire, study                          Joseph Csatari (Contemporary)       1987       14" x 10"          pencil on paper
2011.064.083   Character Counts                                Joseph Csatari (Contemporary)       1994       36" x 30"          oil on canvas
2011.064.091   Charles L. Sommers, High Adventure Base         Joseph Csatari (Contemporary)       ca. 1999   36" x 30"          oil on canvas

2011.064.093   Come On, Join Us                                Joseph Csatari (Contemporary)       n. d.      24" x 19"          acrylic on canvas
2011.064.090   Cub Scout 75th Anniversary "Cub Scout           Joseph Csatari (Contemporary)       2004       34" x 27"          oil on canvas
               75th Anniversary" or "A Winner"
2011.064.089   Dreams Become a Reality in Venturing            Joseph Csatari (Contemporary)       2003       34" x 27"          oil on canvas
2011.064.114   Duty to God and Country, study                  Joseph Csatari (Contemporary)       n. d.      13 1/2" x 10       pencil on paper
                                                                                                              1/2"
2011.064.105   Eagle Court of Honor                            Joseph Csatari (Contemporary)       n. d.      31" x 23"          oil on canvas
2011.064.106   Eagle Court of Honor, study                     Joseph Csatari (Contemporary)       n. d.      30" x 22"          pencil on paper
2011.064.068   Eagle Service Project                           Joseph Csatari (Contemporary)       1978       38" x 29"          oil on canvas
2011.064.072   Family Camping                                  Joseph Csatari (Contemporary)       1982       32 1/2" x 25"      oil on canvas
2011.064.081   Florida Sea Base                                Joseph Csatari (Contemporary)       1991       41" x 32"          oil on canvas
2011.064.115   Florida Sea Base, study                         Joseph Csatari (Contemporary)       n. d.      20" x 15 1/2"      pencil on paper
2011.064.065   Gift of a Lifetime                              Joseph Csatari (Contemporary)       1968       20 1/4" x 16       oil on canvas
                                                                                                              1/4"
2011.064.062   Higher Vision                                   Joseph Csatari (Contemporary)       1964       22 5/16" x 18      oil on canvas
                                                                                                              5/16"
2011.064.075   It's a Boy's Life                               Joseph Csatari (Contemporary)       1985       32" x 24"          oil on canvas
2011.064.087   National Jamboree Fort A. P. Hill, Virginia     Joseph Csatari (Contemporary)       2001       30" x 24"          oil on canvas
2011.064.314   National Scouting Museum Founders               Joseph Csatari (Contemporary)       2013       35.75" x 24.50"    Oil on Canvas
                                                                                                              with margin

2011.064.111   Official Call, study                            Joseph Csatari (Contemporary)       n. d.      11 1/2" x 8 1/2"   pencil on paper
2011.064.084   Out of the Past Into the Future (Pass it On?)   Joseph Csatari (Contemporary)       1996       34" x 27"          oil on canvas
2011.064.104   Pass It On                                      Joseph Csatari (Contemporary)       n. d.      36" x 28"          oil on canvas
2011.064.098   Portrait of Arch Munson, Jr.                    Joseph Csatari (Contemporary)       n. d.      40" x 30 1/4"      oil on canvas
2011.064.095   Portrait of Ben H. Love                         Joseph Csatari (Contemporary)       n. d.      36" x 30"          oil on canvas
2011.064.099   Portrait of Charles M. Pigott                   Joseph Csatari (Contemporary)       n. d.      36" x 30"          oil on canvas

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OBJECT ID      TITLE                                  CREATOR                                  DATE      IMAGE              MEDIUM
                                                                                                         SIZE

2011.064.096   Portrait of Dr. Thomas C. MacAvoy      Joseph Csatari (Contemporary)            n. d.     36" x 30"          oil on canvas
2011.064.094   Portrait of Edward Joullian III        Joseph Csatari (Contemporary)            n. d.     36" x 30"          oil on canvas
2011.064.100   Portrait of Harvey L. Price            Joseph Csatari (Contemporary)            n. d.     31" x 25"          oil on canvas
2011.064.103   Portrait of J. L. Tarr                 Joseph Csatari (Contemporary)            n. d.     36" x 30"          oil on canvas
2011.064.101   Portrait of Jere B. Ratcliff           Joseph Csatari (Contemporary)            n. d.     36" x 30"          oil on canvas
2011.064.102   Portrait of Robert W. Reneker          Joseph Csatari (Contemporary)            n. d.     40" x 30 3/8"      oil on canvas
2011.064.097   Portrait of Sanford N. McDonnell       Joseph Csatari (Contemporary)            n. d.     40" x 30"          oil on canvas
2011.064.080   Scouting for all Seasons               Joseph Csatari (Contemporary)            1990      40" x 34"          oil on canvas
2011.064.117   Scouting For All Seasons, study        Joseph Csatari (Contemporary)            n. d.     15 3/4" x 15"      pencil on paper
2011.064.085   Scouting Values                        Joseph Csatari (Contemporary)            1996      36" x 28"          oil on canvas
2011.064.113   Scoutmaster, study                     Joseph Csatari (Contemporary)            n. d.     13 1/2" x 10       pencil on paper
                                                                                                         1/2"
2011.064.108   Scouts Are Patriotic, study            Joseph Csatari (Contemporary)            n. d.     13" x 9 1/2"       pencil on paper
2011.064.112   Scouts Hiking, study                   Joseph Csatari (Contemporary)            n. d.     14" x 12"          pencil on paper
2011.064.074   Spirit Lives On                        Joseph Csatari (Contemporary)            1985      34" x 26"          oil on canvas
2011.064.067   The New Spirit                         Joseph Csatari (Contemporary)            1976      33" x 25"          oil on canvas
2011.064.064   The Ordeal                             Joseph Csatari (Contemporary)            1967      22" x 18"          oil on canvas
2011.064.071   The Patrol Leader                      Joseph Csatari (Contemporary)            1981      26" x 21"          oil on canvas
2011.064.069   The Reunion                            Joseph Csatari (Contemporary)            1979      32" x 24"          oil on canvas
2011.064.079   The Scoutmaster                        Joseph Csatari (Contemporary)            1989      44" x 36"          oil on canvas
2011.064.073   The Strength of Scouting Through       Joseph Csatari (Contemporary)            1983      30" x 24"          oil on canvas
               Volunteers OR Thank You, Scout
               Volunteers
2011.064.063   Thomas J. Watson, Jr.                  Joseph Csatari (Contemporary)            1965      28" x 22"          oil on canvas
2011.064.086   Urban Good Turn                        Joseph Csatari (Contemporary)            1997      30" x 25"          oil on canvas
2011.064.076   Values That Last a Lifetime            Joseph Csatari (Contemporary)            1986      36" x 28"          oil on canvas
2011.064.077   Winter Camping Scene                   Joseph Csatari (Contemporary)            1987      40" x 30"          oil on canvas
2011.064.078   You Can Do It                          Joseph Csatari (Contemporary)            1988      30" x 24"          oil on canvas
2011.064.317   Happy 90th Birthday BSA                Joseph Csatari (Contemporary) Artist     2000                         Oil on Canvas
2011.064.318   The Summit or Summit Bechtel Reserve   Joseph Csatari (Contemporary) Artist     2013                         Oil on Canvas
None           Live Scouting's Adventures             Josh Hunt                                n.d.
2011.064.206   Brown and Bigelow Calendar             Keely (Contemporary)                     1970      33" x 11"          Oil on board
2011.064.310   Man to Man                             L. D. Warren (Born 1906)                 1956      10 1/2" x 8 7/8"   Ink on paper

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OBJECT ID        TITLE                                    CREATOR                                DATE      IMAGE             MEDIUM
                                                                                                           SIZE

2011.064.186     The Spirit Lives On                      Larry Frost (Contemporary)             n. d.     44" x 36"         Oil on masonite
2011.064.311     Boy Scout Saluting                       Lawrence Wilbur (1897- 1988)           n. d.     16 1/2" x 13      Oil on unstretched
                                                                                                           1/2"              canvas
2012.056         Lady with Scarf                          Leyendecker, J.C.                      n.d.                        Oil Study
2011.064.216     Portrait of George H. Fisher             Lurtos (Contemporary)                  n. d.     26" x 19 1/2"     Oil on board
2011.064.205     Miriam Lumpkin Rand Johnston             Marion D. Johnson (1892- 1966)         n. d.     23 1/2" x 19      Pastel on paper
                                                                                                           1/2"
2011.064.282     Scouting in the World                    Martha Jane Starr (Contemporary)       n. d.     49" x 19"         25 petit points on three
                                                                                                                             panels
2011.064.283     Scouting in the World                    Martha Jane Starr (Contemporary)       n. d.     49" x 19"         25 petit points on three
                                                                                                                             panels
2011.064.281     Scouting in the World                    Martha Jane Starr (Contemporary)       n. d.     49" x 19"         25 petit points on three
                                                                                                                             panels
2011.064.284     Trail to Eagle                           Martha Jane Starr (Contemporary)       n. d.     24 3/8" x 19      8 petit points on three
                                                                                                           3/8"              panels
2011.064.221     Portrait of Elbert Fretwell in a Scout   Martin Mockford (Contemporary)         1954      20" x 16"         Oil on canvas
                 Uniform
2011.064.238 /   Eagle in Flight / "The Eagle"            Maynard Reece (Born 1920)              1980      16" x 24"         Oil on canvas
1999.050
Unknown          Portrait of Baden-Powell                 McKean                                 1967
2011.064.169     Fort A. P. Hill                          Milton Arthur Candiff ( Born 1907)     1981      14" x 10 1/4"     Ink and pencil on paper
                                                                                                                             and collage
Unknown          1939 World's Fair                        Monte Crews                            n.d.                        Oil on Canvas

2011.064.239     Onward...For God and My Country          Paul Remmey (Contemporary)             n. d.     18 1/4" x 37"     Oil on canvas
2011.064.286     Portrait of Dr. Arthur Schuck            Paul Trebilcock (1902- 1981)           n. d.     44" x 34"         Oil on canvas
2011.064.300     America's Boypower, Project SOAR         Paul Troth (Contemporary)              1971      9" x 7 1/4"       Ink on paper
2011.064.184     "Trail to Manhood"                       Peter M. Fillerup (Contemporary)       1984      84" high          Cast bronze sculpture
                                                                                                                             with brown patina
2011.064.183     Maquette for "Trail to Manhood"          Peter M. Fillerup (Contemporary)       1991      16 1/4" without   Cast bronze sculpture
                                                                                                           base              with brown patina
2011.064.279     Scouting Family                          R. Skemp (Contemporary) R.S. Kemp      n. d.     18" x 14 1/2"     Oil on board
                                                          or R. Skemp
Unknown          Citizenship: BSA                         Remington Schuyler (1884- 1955)        1925      30" x 21 1/2"     Oil on Canvas

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OBJECT ID        TITLE                                      CREATOR                             DATE      IMAGE              MEDIUM
                                                                                                          SIZE

2011.064.245     Cub Scouts Running an Indoor Course        Remington Schuyler (1884- 1955)     n. d.     6 1/2" x 22 1/2"   Ink on paper
2011.064.246     Indian and Travois                         Remington Schuyler (1884- 1955)     1920      10" x 30"          Oil on canvas
2011.064.247 /   Indian in Canoe (triptych)                 Remington Schuyler (1884- 1955)     1922      20" x 11"; 20" x   Oil on canvas
1988.045                                                                                                  33"; and 20" x
                                                                                                          11"
2011.064.249     Scout Sign Up                              Remington Schuyler (1884- 1955)     n. d.     13 1/2" x 12       Ink on paper
                                                                                                          5/8"
2011.064.250     Scout with Binoculars                      Remington Schuyler (1884- 1955)     n. d.     4 1/2" x 6 1/2"    Ink on paper
2011.064.251     Scout with Native American                 Remington Schuyler (1884- 1955)     n. d.     7 5/8" x 7 5/8"    Ink on paper
2011.064.252     Scouts and Important Holidays              Remington Schuyler (1884- 1955)     n. d.     9 1/4" x 27"       Ink and coloured pencil
                                                                                                                             on paper
2011.064.253     Scouts Around a Campfire                   Remington Schuyler (1884- 1955)     n. d.     8 1/2" x 7 3/4"    Ink on paper
2011.064.254     Scouts at Doorway to Sky Patrol Building   Remington Schuyler (1884- 1955)     n. d.     8 3/4" x 8 1/2"    Ink on paper
2011.064.255     Scouts Building a Log Structure            Remington Schuyler (1884- 1955)     n. d.     7 3/4" x 6 1/2"    Ink on paper
2011.064.256     Scouts Cooking at Camp                     Remington Schuyler (1884- 1955)     n. d.     5 7/8" x 6 7/8"    Ink on paper
2011.064.257     Scouts Hiking Near Totem Pole              Remington Schuyler (1884- 1955)     n. d.     9" x 7 1/2"        Ink on paper
2011.064.261     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     31" x 27"          Charcoal on paper
                 series)
2011.064.262     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     36" x 26 1/2"      Charcoal on paper
                 series)
2011.064.263     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     32" x 27"          Charcoal on paper
                 series)
2011.064.264     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     31" x 27"          Charcoal on paper
                 series)
2011.064.265     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     30" x 27"          Charcoal on paper
                 series)
2011.064.258     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     27 1/2" x 27"      Charcoal on paper
                 series)
2011.064.259     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     28 1/2" x 27"      Charcoal on paper
                 series)
2011.064.260     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     29 1/2" x 27"      Charcoal on paper
                 series)
2011.064.266     Scouts on a Hike                           Remington Schuyler (1884- 1955)     n. d.     16" x 14"          Ink on paper
2011.064.267     Scouts on Hike Near Seashore               Remington Schuyler (1884- 1955)     n. d.     7 3/4" x 7"        Ink on paper


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OBJECT ID            TITLE                                        CREATOR                                DATE      IMAGE              MEDIUM
                                                                                                                   SIZE

Unknown              Scouts on Lookout (with binoculars)(         Remington Schuyler (1884- 1955)        n.d.                         Oil on Canvas

2011.064.268         Scouts Resting Along a Trail                 Remington Schuyler (1884- 1955)        n. d.     22 1/2" x 19       Charcoal on paper
                                                                                                                   1/4"
2011.064.269         Scouts Setting Up Camp Near a Lake           Remington Schuyler (1884- 1955)        n. d.     6" x 6 7/8"        Ink on paper
2011.064.270         Scouts Sitting in Front of a Teepee          Remington Schuyler (1884- 1955)        n. d.     8" x 8"            Ink on paper
2011.064.271         Scouts Swimming and Diving                   Remington Schuyler (1884- 1955)        n. d.     7 1/2" x 7 1/2"    Ink on paper
2011.064.272         Scouts Washing Up at Camp                    Remington Schuyler (1884- 1955)        n. d.     9 3/8" x 8 1/4"    Ink on paper
2011.064.273         Scouts Welcoming a New Member                Remington Schuyler (1884- 1955)        n. d.     9 1/2" x 7"        Ink on paper
2011.064.248         Sitting Scouts Dressed as Native Americans   Remington Schuyler (1884- 1955)        n. d.     7 3/4" x 7 3/4"    Ink on paper
2011.064.274         The Second Class Requirements                Remington Schuyler (1884- 1955)        n. d.     11 1/2" x 6 5/8"   Ink on paper
2011.064.275         The Tenderfoot Requirements                  Remington Schuyler (1884- 1955)        n. d.     11 1/4" x 6 5/8"   Ink on paper
2011.064.276         Tippy                                        Remington Schuyler (1884- 1955)        n. d.     12" x 15 5/8"      Ink on jointed irregular
                                                                                                                                      paper
2011.064.277         Two Scouts at Picketburg Sign Post           Remington Schuyler (1884- 1955)        n. d.     15" x 14"          Ink on paper
2011.064.207         Portrait of Gale F. Johnson (Johnston?)      Robert "Bob" Kovacs (Contemporary)     1966      24" x 20"          Oil on canvas
2011.064.208         Portrait of J. F. Kennedy in Scout Uniform   Robert "Bob" Kovacs (Contemporary)     1966      34" x 29 1/2"      Acrylic on rawhide
2011.064.209         Portrait of Joseph A. Burton, Jr.            Robert "Bob" Kovacs (Contemporary)     1967      30" x 24"          Oil on canvas
2011.064.210         Portrait of Lady Baden-Powell                Robert "Bob" Kovacs (Contemporary)     1967      24" x 20"          Oil on canvas
2011.064.219         The Boy Scout                                Robert Tait McKenzie (1867- 1938)      1937      73" high           Cast bronze sculpture
                                                                                                                                      with brown patina
1992.060.001 -.004   "Four Season" portfolio                      Rockwell, Norman (1894-1978)           1976      13 1/2" x 13       Lithograph
                                                                                                                   1/4"
2011.064.001         A Daily Good Turn                            Rockwell, Norman (1894-1978)           1918      30.25 x 22.25"     Oil on canvas
2011.064.036         A Good Sign All Over the World               Rockwell, Norman (1894-1978)           1961      29" x 25"          Oil on relined canvas
2011.064.005         A Good Turn                                  Rockwell, Norman (1894-1978)           1924      32.125 x           Oil on relined canvas
                                                                                                                   27.125"
2011.064.038         A Great Moment                               Rockwell, Norman (1894-1978)           1963      43 1/4" x 35 x     Oil on canvas
                                                                                                                   1/4"
2011.064.017         A Guiding Hand                               Rockwell, Norman (1894-1978)           1944      38 x 29.125"       Oil on canvas
2011.064.013         A Scout is Friendly                          Rockwell, Norman (1894-1978)           1941      33 x 22"           Oil on relined canvas
2011.064.006         A Scout is Loyal                             Rockwell, Norman (1894-1978)           1930      44 x 34"           Oil on relined canvas
2011.064.024         A Scout is Reverent                          Rockwell, Norman (1894-1978)           1952      28 x 22"           Oil on canvas
2011.064.016         All Together                                 Rockwell, Norman (1894-1978)           1945      30 x 24"           Oil on canvas
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OBJECT ID      TITLE                                 CREATOR                          DATE      IMAGE            MEDIUM
                                                                                                SIZE

2011.064.011   America Builds for Tomorrow           Rockwell, Norman (1894-1978)     1936      34 x 25"         Oil on relined canvas
2011.064.045   America's Manpower Begins with        Rockwell, Norman (1894-1978)     1969      34" x 26"        Oil on canvas
               Boypower
2011.064.042   Beyond the Easel                      Rockwell, Norman (1894-1978)     1967      29 1/4" x 27"    Oil on canvas
2011.064.029   Boy and Dogs, New Puppies             Rockwell, Norman (1894-1978)     1956      27 1/4" x 25     Oil on canvas
                                                                                                1/4"
2011.064.031   Boy Scout Hiking                      Rockwell, Norman (1894-1978)     1957      35 1/4" x 21"    Oil on canvas
2011.064.051   Boy Scouts Pledging 60th Boy's Life   Rockwell, Norman (1894-1978)     c. 1968   13" x 12"        oil on canvas
2011.064.052   Boypower, Manpower                    Rockwell, Norman (1894-1978)     1970      24" x 24"        charcoal on paper
2011.064.040   Breakthrough for Freedom              Rockwell, Norman (1894-1978)     1965      23 x 18"         Oil on canvas
2011.064.035   Can't Wait                            Rockwell, Norman (1894-1978)     1970      39" x 29"        Oil on canvas
2011.064.057   Can't Wait                            Rockwell, Norman (1894-1978)     1960      23 1/2" x 18     colour lithograph
                                                                                                3/4" with
                                                                                                margins
2011.064.007   Carry On                              Rockwell, Norman (1894-1978)     1932      45 x 31 1/2"     Oil on relined canvas
2011.064.043   Come and Get It                       Rockwell, Norman (1894-1978)     1968      37 1/4" x 31     Oil on canvas
                                                                                                1/4"
2011.064.032   Ever Onward                           Rockwell, Norman (1894-1978)     1958      37" x 29 1/8"    Oil on relined canvas
2011.064.021   Forward America                       Rockwell, Norman (1894-1978)     1949      46.5 x 36.125"   Oil on canvas
2011.064.019   Friend in Need                        Rockwell, Norman (1894-1978)     1947      38 x 19.125"     Oil on canvas
2011.064.046   From Concord to Tranquility           Rockwell, Norman (1894-1978)     1971      26 1/2" x 21     Oil on canvas
                                                                                                1/4"
2011.064.039   Growth of a Leader                    Rockwell, Norman (1894-1978)     1964      30 1/4" x 23     Oil on relined canvas
                                                                                                1/4"
2011.064.027   High Adventure at Philmont            Rockwell, Norman (1894-1978)     1955      52 1/2' x 44     Oil on relined canvas
                                                                                                1/4"
2011.064.033   Homecoming                            Rockwell, Norman (1894-1978)     1959      44" x 33"        Oil on relined canvas
2011.064.015   I Will Do My Best                     Rockwell, Norman (1894-1978)     1943      39 x 28"         Oil on canvas
2011.064.044   Irving Feist                          Rockwell, Norman (1894-1978)     1969      20" x 16"        Oil on masonite
2011.064.018   Men of Tomorrow                       Rockwell, Norman (1894-1978)     1946      37 x 29"         Oil on canvas
2011.064.028   Mighty Proud                          Rockwell, Norman (1894-1978)     1956      30 1/4" x 25"    Oil on canvas
2011.064.023   On My Honor                           Rockwell, Norman (1894-1978)     1951      46 x 34"         Oil on canvas
2011.064.008   On to Washington                      Rockwell, Norman (1894-1978)     c. 1933   30.125 x         Oil on relined canvas
                                                                                                24.125"


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OBJECT ID      TITLE                                   CREATOR                          DATE      IMAGE           MEDIUM
                                                                                                  SIZE

2011.064.020   Our Heritage                            Rockwell, Norman (1894-1978)     1948      42.125 x        Oil on canvas
                                                                                                  32.125"

2011.064.034   Pointing the Way                        Rockwell, Norman (1894-1978)     1960      37 1/2" x 28    Oil on relined canvas
                                                                                                  3/4"

2011.064.002   Red Cross Man in the Making (A Good     Rockwell, Norman (1894-1978)     1916      30 x 22"        Oil on canvas
               Scout) (A Scout is Kind)
2011.064.041   Scouting is Outing                      Rockwell, Norman (1894-1978)     1966      26 1/8" x 21"   Oil on canvas
2011.064.003   Scouting Makes Real Men Out of Boys     Rockwell, Norman (1894-1978)     1916      30.125 x        Oil on canvas
               (Some Day This May Save An Army)                                                   22.125"
2011.064.010   Scouts of Many Trails                   Rockwell, Norman (1894-1978)     1936      40.5 x 28.5"    Oil on relined canvas
2011.064.004   Straight Talks from the Scoutmaster     Rockwell, Norman (1894-1978)     1923      30.125 x        Oil on relined canvas
                                                                                                  22.125"
1993.049.001   Study for "The Scoutmaster"             Rockwell, Norman (1894-1978)     1956      12 1/4" x 10"   Oil on posterboard with
                                                                                                                  inscription on mat
2011.064.056   Study for Grandma's Recipe              Rockwell, Norman (1894-1978)     n. d.     11" x 9 1/2     oil on paper
2011.064.048   Study for Spirit of America             Rockwell, Norman (1894-1978)     c. 1928   17" x 10 7/8"   pencil on paper
2011.064.050   Study for The Spirit of 1976            Rockwell, Norman (1894-1978)     1974      14" x 10 1/2"   oil on paper
2011.064.049   Study for Washington or International   Rockwell, Norman (1894-1978)     c. 1933   13" x 10"       oil on paper
               Scouting
2011.064.053   Study for We Thank Thee, O'Lord         Rockwell, Norman (1894-1978)     1972      1 1/2" x 9"     oil on canvas mounted
                                                                                                                  to board with reverse oil
                                                                                                                  on glass
2011.064.055   Study for Weapons for Liberty           Rockwell, Norman (1894-1978)     n. d.     11" x 8"        oil on paper
2011.064.022   The Adventure Trail                     Rockwell, Norman (1894-1978)     1950      36 x 27.25"     Oil on canvas
2011.064.009   The Campfire Story                      Rockwell, Norman (1894-1978)     1934      32.125 x        Oil on canvas
                                                                                                  24.125"
2011.064.025   The Right Way                           Rockwell, Norman (1894-1978)     1953      36 x 30"        Oil on canvas
2011.064.012   The Scouting Trail                      Rockwell, Norman (1894-1978)     1937      26 x 20"        Oil on relined canvas
2011.064.026   The Scoutmaster                         Rockwell, Norman (1894-1978)     1954      45x36"          Oil on canvas
2011.064.037   To Keep Myself Physically Strong        Rockwell, Norman (1894-1978)     1962      35 1/4" x 29    Oil on relined canvas
                                                                                                  1/4"
2011.064.030   Tomorrow's Leader                       Rockwell, Norman (1894-1978)     1957      40" x 34 1/8"   Oil on relined canvas


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OBJECT ID        TITLE                                          CREATOR                                DATE      IMAGE             MEDIUM
                                                                                                                 SIZE

2011.064.047     We Thank Thee, O'Lord                          Rockwell, Norman (1894-1978)           1972      34 1/2" x 27      Oil on canvas mounted
                                                                                                                 1/2"              to board
2011.064.054     We Thank Thee, O'Lord, study                   Rockwell, Norman (1894-1978)           1972      30 3/4" x 24      charcoal on paper
                                                                                                                 3/4"
2011.064.014     We, Too, Have A Job To Do                      Rockwell, Norman (1894-1978)           1942      32 x 21"          Oil on relined canvas
2011.064.233     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     25 1/2" x 40"     Pastel on paper
                 Aid" series
2011.064.235     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     25 1/2" x 30      Pastel on paper
                 Aid" series                                                                                     1/2"
2011.064.236     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     28 1/2" x 31"     Pastel on paper
                 Aid" series
2011.064.237     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     25 1/2" x 32"     Pastel on paper
                 Aid" series
2011.064.232     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     24 1/2" x 21      Pastel on paper
                 Aid" series                                                                                     1/2"
2011.064.234     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     19 1/2" x 24      Pastel on paper
                 Aid" series                                                                                     1/2"
Unknown          Scouts                                         S. Johnson                             n.d.                        Color Pencil on Paper
2011.064.313     James West                                     S. Posie Wood (Contemporary)           n. d.     7 7/8" x 5 7/8"   Mono- toned etching
                                                                                                                 with margin
2011.064.185     Monk and Jester                                Salvatore Frangiamore (1853- 1915)     1885      28" x 18"         Watercolour on paper
2011.064.218     Public Attention                               Shaw McCutcheon (Contemporary)         1969      18" x 14 1/2"     Ink on paper
2011.064.285 /   Trail to Eagle                                 Ted Summers (Contemporary)             1950s     24" x 50"
1998.118
2011.064.294     Boy Scouts of America, Region Eight            Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.297     Boy Scouts of America, Region Eleven           Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.291     Boy Scouts of America, Region Five             Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.290     Boy Scouts of America, Region Four             Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.295     Boy Scouts of America, Region Nine             Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.287     Boy Scouts of America, Region One              Tricomi (Contemporary)                 1972      20" x 16"         Oil on canvas
2011.064.293     Boy Scouts of America, Region Seven            Tricomi (Contemporary)                 1972      20" x 16"         Oil on canvas
2011.064.292     Boy Scouts of America, Region Six              Tricomi (Contemporary)                 1972      20" x 16"         Oil on canvas
2011.064.296     Boy Scouts of America, Region Ten              Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.289     Boy Scouts of America, Region Three            Tricomi (Contemporary)                 1972      20" x 16"         Oil on canvas
2011.064.298     Boy Scouts of America, Region Twelve           Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas

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OBJECT ID      TITLE                                       CREATOR                           DATE      IMAGE              MEDIUM
                                                                                                       SIZE

2011.064.288   Boy Scouts of America, Region Two           Tricomi (Contemporary)            1972      20" x 16"          Oil on canvas
2011.064.299   National Conference, Order of the Arrow     Tricomi (Contemporary)            1971      20" x 24"          Oil on canvas
Unknown        Boy Scouts                                  Unknown                           n.d.                         Goache on Paper
Unknown        Boy Scouts, Camping and Cooking             Unknown                           n.d.                         Oil on Paper
Unknown        BSA National Museum in Kentucky             Unknown                           n.d.
Unknown        Character Counts with #50 Race Car          unknown                           n.d.
Unknown        Cub Scout                                   unknown                           n.d.                         Oil on Canvas
Unknown        Cub Scout with Rocket and Bike              Unknown                           n.d.
Unknown        Cub Scouts at a Picnic                      Unknown                           n.d.                         Oil on Paper
Unknown        Elbert Fretwell Portrait                    unknown                           n.d.
Unknown        Portrait of Glen                            Unknown                           n.d.
Unknown        Scout and Scoutmaster with People Looking   Unknown                           n.d.
               On
None           Steady at the Helm                          Unknown                           n.d.
None           Stephen D. Bechtel, Jr.                     Unknown                           2011

2011.064.304   Lord Baden Powell                           Unknown (19th- 20th century)      c. 1900   26" x 14"          Pastel on paper
2011.064.305   Perry R. Bass                               Unknown (19th- 20th century)      1984      19" high with      Cast bronze sculpture
                                                                                                       base               with brown patina
2011.064.301   Edward C. Joullian III                      Unknown (Contemporary)            1985      19 3/4" high       Cast bronze sculpture
                                                                                                       with base          with brown patina
2011.064.302   Ellsworth H. Augustus                       Unknown (Contemporary)            1985      19 1/4" high       Cast bronze sculpture
                                                                                                       with base          with brown patina
2011.064.303   George W. Pirtle                            Unknown (Contemporary)            1984      18 3/4" high       Cast bronze sculpture
                                                                                                       with base          with brown patina
2011.064.307   Public Relations                            Unknown (Contemporary)            n. d.     11 7/8" x 8 7/8"   Ink on paper
2011.064.308   Sanford N. McDonnel                         Unknown (Contemporary)            1985      21" high with      Cast bronze sculpture
                                                                                                       base               with brown patina
Unknown        Portrait of Unknown Man                     W. Scott                          n.d.

2011.064.178   Dr. Fretwell, Donald, and Mickey            Walt Disney ( 1901- 1966)         1944      26" x 26"          Pencil on paper (print?)
2011.064.179   Good Scouts                                 Walt Disney ( 1901- 1966)         n. d.     15 3/8" x 13       Ink wash on paper
                                                                                                       1/8"

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OBJECT ID        TITLE                                     CREATOR                                DATE      IMAGE          MEDIUM
                                                                                                            SIZE

2011.064.180 /   Sea Scouts                                Walt Disney ( 1901- 1966)              n. d.     15 3/8" x 13   Gouache on celluloid
1999.057                                                                                                    1/8"
2011.064.203     Boy Scouts of America, 25th Anniversary   Walter Beach Humphrey (1892- 1966)     1935      30 1/4" x 26   Oil on relined canvas
                                                                                                            1/4"
2011.064.280     National Archives                         William Arthur Smith (1918- 1989)      n. d.     38" x 35"      Oil on canvas
Unknown          Portrait of Mortimer Schiff               Wilson                                 n.d.                     Oil on Canvas

2011.064.229     Scout with English Sailor                 Z. P. Nikolaki (Contemporary)          n. d.     30" x 23"      Mixed media on
                                                                                                                           unstretched canvas




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                       SCHEDULE 2

                BSA INSURANCE POLICIES
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                                     BSA INSURANCE POLICIES

                   Carrier Name                   Policy Number          Start       End
Insurance Company of North America                Unknown                 1/1/1935   1/1/1936
Insurance Company of North America                Unknown                 1/1/1936   1/1/1937
Insurance Company of North America                Unknown                 1/1/1937   1/1/1938
Insurance Company of North America                Unknown                 1/1/1938   1/1/1939
Insurance Company of North America                Unknown                 1/1/1939   1/1/1940
Insurance Company of North America                Unknown                 1/1/1940   1/1/1941
Insurance Company of North America                Unknown                 1/1/1941   1/1/1942
Insurance Company of North America                Unknown                 1/1/1942   1/1/1943
Insurance Company of North America                Unknown                 1/1/1943   1/1/1944
Insurance Company of North America                Unknown                 1/1/1944   1/1/1945
Insurance Company of North America                Unknown                 1/1/1945   1/1/1946
Insurance Company of North America                Unknown                 1/1/1946   1/1/1947
Insurance Company of North America                Unknown                 1/1/1947   1/1/1948
Insurance Company of North America                Unknown                 1/1/1948   1/1/1949
Insurance Company of North America                Unknown                 1/1/1949   1/1/1950
Insurance Company of North America                Unknown                 1/1/1950   1/1/1951
Insurance Company of North America                CGL23729                1/1/1951   1/1/1952
Insurance Company of North America                Unknown                 1/1/1952   1/1/1953
Insurance Company of North America                Unknown                 1/1/1953   1/1/1954
Insurance Company of North America                9CGL41300               1/1/1954   1/1/1955
Insurance Company of North America                Unknown                 1/1/1955   1/1/1956
Insurance Company of North America                9CGL 41300              1/1/1956   1/1/1957
Insurance Company of North America                Unknown                 1/1/1957   1/1/1958
Insurance Company of North America                CGL97448                1/1/1958   1/1/1959
Insurance Company of North America                9CGL 114 960            1/1/1959   1/1/1960
Insurance Company of North America                CGL 122620              1/1/1960   1/1/1961
Insurance Company of North America                CGL 121944              1/1/1960   1/1/1961
Insurance Company of North America                CGL175782               1/1/1961   2/1/1961
Insurance Company of North America                CGL175782               2/1/1961   1/1/1962
Insurance Company of North America                CGL 19 18 36            1/1/1962   1/1/1963
Insurance Company of North America                CGL 20 46 80            1/1/1963   1/1/1964
Insurance Company of North America                CGL 21 29 22            1/1/1964   1/1/1965
Insurance Company of North America                CGL 23 24 70            1/1/1965   1/1/1966
Insurance Company of North America                CGL 24 88 96            1/1/1966   1/1/1967
Insurance Company of North America                GLP11200                1/1/1967   1/1/1968
Insurance Company of North America                GLP15 12 11             1/1/1968   1/1/1969
Insurance Company of North America                GLP 16 09 81            1/1/1969   1/1/1970
Insurance Company of North America                XBC43198               3/26/1969   1/1/1970
Insurance Company of North America                BLB 51323               1/1/1970   1/1/1971
Insurance Company of North America                XBC 77302               1/1/1970   1/1/1971
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                    Carrier Name                          Policy Number            Start       End
Insurance Company of North America                        BLB 51323                 1/1/1971    1/1/1972
Insurance Company of North America                        XBC85370                  1/1/1971    5/3/1971
Hartford Accident and Indemnity Company                   10 HUA 43300              5/1/1971    5/1/1972
Hartford Accident and Indemnity Company                   10CA43315                9/21/1971    1/1/1972
Hartford Accident and Indemnity Company                   10CA43304                 1/1/1972    1/1/1973
Hartford Accident and Indemnity Company                   10CA43303                 1/1/1972    1/1/1973
Hartford Accident and Indemnity Company                   10HUA43302                1/1/1972    1/1/1973
Hartford Accident and Indemnity Company                   10HUA43303                5/1/1972    5/1/1973
Argonaut Insurance Company                                UL71286000088             5/1/1972    5/1/1973
Hartford Accident and Indemnity Company                   10CA43304                 1/1/1973    1/1/1974
Hartford Accident and Indemnity Company                   10CA43303                 1/1/1973    1/1/1974
Hartford Accident and Indemnity Company                   10HUA43302                1/1/1973    1/1/1974
Hartford Accident and Indemnity Company                   10HUA43303                5/1/1973    5/1/1974
Argonaut Insurance Company                                UL 71-298-000088          5/1/1973    5/1/1974
Hartford Accident and Indemnity Company                   10CA43329                 1/1/1974    1/1/1975
Hartford Accident and Indemnity Company                   10CA43324                 1/1/1974    1/1/1975
Hartford Accident and Indemnity Company                   10HUA43331                1/1/1974    1/1/1975
Hartford Accident and Indemnity Company                   10HUA43335                5/1/1974    1/1/1975
Argonaut Insurance Company                                UL 71-298-000088          5/1/1974    1/1/1975
Hartford Accident and Indemnity Company                   10CA43342E                1/1/1975    1/1/1976
National Union Fire Insurance Company of Pittsburgh, PA   BE1140592                 1/1/1975    1/1/1976
Hartford Accident and Indemnity Company                   10CA43349E                1/1/1976    1/1/1977
National Union Fire Insurance Company of Pittsburgh, PA   BE 115 15 59              1/1/1976    1/1/1977
American Re-Insurance Company                             M-1027493                 1/1/1976    1/1/1977
London Market                                             76-10-08-02              9/17/1976   9/17/1979
Hartford Accident and Indemnity Company                   10CA43359E                1/1/1977    1/1/1978
Hartford Accident and Indemnity Company                   10JPA43360E               1/1/1977    1/1/1978
National Union Fire Insurance Company of Pittsburgh, PA   BE 121 82 55              1/1/1977    1/1/1978
American Re-Insurance Company                             M-1027493                 1/1/1977    1/1/1978
Insurance Company of North America                        GLP 70 64 52              1/1/1978    1/1/1979
National Union Fire Insurance Company of Pittsburgh, PA   CE 115 77 77              1/1/1978    1/1/1979
First State Insurance Company                             908954                    1/1/1978    1/1/1979
Insurance Company of North America                        GLP 70 64 52              1/1/1979    1/1/1980
Insurance Company of North America                        XBC 151748                1/1/1979    1/1/1980
Aetna Casualty and Surety Company                         01 XN 2046 WCA            1/1/1979    1/1/1980
First State Insurance Company                             927616                    1/1/1979    1/1/1980
Insurance Company of North America                        GLP 70 64 52              1/1/1980    1/1/1981
Allianz Insurance Company                                 UMB 599346                1/1/1980    1/1/1981
Aetna Casualty and Surety Company                         01 XN 2438 WCA            1/1/1980    1/1/1981
Insurance Company of North America                        ISL1353                   1/1/1981    1/1/1982
Transit Casualty Company                                  UMB964076                 1/1/1981    1/1/1982
First State Insurance Company                             931255                    1/1/1981    1/1/1982


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                    Carrier Name                          Policy Number             Start          End
London Market                                             931255A                    1/1/1981      1/1/1982
First State Insurance Company                             931257                     1/1/1981      1/1/1982
London Market                                             931257A                    1/1/1981      1/1/1982
Insurance Company of North America                        ISL1364                    1/1/1982      1/1/1983
Twin City Fire Insurance Company                          TXU 100325                 1/1/1982      1/1/1983
First State Insurance Company                             931255                     1/1/1982      1/1/1983
London Market                                             931255A                    1/1/1982      1/1/1983
First State Insurance Company                             931257                     1/1/1982      1/1/1983
London Market                                             931257A                    1/1/1982      1/1/1983
Insurance Company of North America                        XCP 144961               11/17/1982      1/1/1984
Insurance Company of North America                        ISL G0 28 34 57-1          1/1/1983      1/1/1984
Insurance Company of North America                        XCP144965                  1/1/1983      1/1/1984
Insurance Company of North America                        XCP 144966                 1/1/1983      1/1/1984
National Surety Corporation                               XLX-148 43 09              1/1/1983      1/1/1984
Insurance Company of North America                        ISL G0 29 31 72 2          1/1/1984      1/1/1985
Mission National Insurance Company                        MN 02 79 69                1/1/1984      1/1/1985
Insurance Company of North America                        XCP 145365                 1/1/1984      1/1/1985
National Surety Corporation                               XLX1484392                 1/1/1984      1/1/1985
Insurance Company of North America                        XCP 145366                 1/1/1984      1/1/1985
Insurance Company of North America                        ISL G0 29 31 72 2        12/31/1984   12/31/1985
Mission National Insurance Company                        MN 045730                  1/1/1985      1/1/1986
Landmark Insurance Company                                FE4002136                  1/1/1985      1/1/1986
Columbia Casualty Company                                 RDX 917 64 99              1/1/1985      3/1/1986
Insurance Company of North America                        XCP 144232                 1/1/1985      1/1/1986
Highlands Insurance Company                               SR 51238                   1/1/1985      1/1/1986
Federal Insurance Company                                 (86) 7928-83-37            1/1/1985      3/1/1986
International Insurance Company                           522 048501                 1/1/1985      3/1/1986
Royal Indemnity Company                                   ED 103126                  1/1/1985      3/1/1986
Insurance Company of North America                        ISL G0 29 31 72 2        12/31/1985      3/1/1986
Insurance Company of North America                        ISG GO 293149-7            1/1/1986      3/1/1986
Landmark Insurance Company                                FE4002136                  1/1/1986      3/1/1986
Insurance Company of North America                        XCP 144232                 1/1/1986      3/1/1986
Highlands Insurance Company                               SR 51497                   1/1/1986      3/1/1986
Unknown                                                   Unknown                    1/1/1986      3/1/1986
Insurance Company of North America                        ISL G0 293184-9            3/1/1986      3/1/1987
U.S. Fire Insurance Company                               523 425440 7               3/1/1986      3/1/1987
Utica Mutual Ins. Company                                 10272                      3/1/1986      3/1/1987
National Union Fire Insurance Company of Pittsburgh, PA   9607508                    3/1/1986      3/1/1987
Pacific Employers Ins. Company                            XCC 001154                 4/1/1986      3/1/1987
Harbor Insurance Company                                  HI 218373                 5/20/1986      3/1/1987
St. Paul Surplus Lines Insurance Company                  LCO 55 17312              5/28/1986      3/1/1987
Chubb Custom Insurance Company                            7931-00-02                 6/3/1986      3/1/1987


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                    Carrier Name                          Policy Number             Start       End
National Union Fire Insurance Company of Pittsburgh, PA   9601862                    6/3/1986   3/1/1987
Insurance Company of North America                        ISL G0 997957 8            3/1/1987   3/1/1988
Insurance Company of North America                        ISG GO 81 65 36-1          3/1/1987   3/1/1988
U.S. Fire Insurance Company                               522 065060 1               3/1/1987   3/1/1988
St. Paul Surplus Lines Insurance Company                  LCO 55 18254               3/1/1987   3/1/1988
National Union Fire Insurance Company of Pittsburgh, PA   9601888                    3/1/1987   3/1/1988
Lexington Insurance Company                               5529760                    3/1/1987   3/1/1988
Insurance Company of North America                        XCP-GO-816538-5            3/1/1987   3/1/1988
Insurance Company of North America                        HDO-G1-136741-0            3/1/1988   3/1/1989
Insurance Company of North America                        CAO G1 135164-5            3/1/1988   3/1/1989
U.S. Fire Insurance Company                               531-200-352-6              3/1/1988   3/1/1989
St. Paul Surplus Lines Insurance Company                  LCO 55 19006               3/1/1988   3/1/1989
Planet Ins. Company                                       NV 1253834                 3/1/1988   3/1/1989
Lexington Insurance Company                               556-6184                   3/1/1988   3/1/1989
Insurance Company of North America                        XCPG1-135165-7             3/1/1988   3/1/1989
First State Insurance Company                             EU 006921                  3/1/1988   3/1/1989
Federal Insurance Company                                 (89) 7907-8617             3/1/1988   3/1/1989
Insurance Company of North America                        HDO-G1-136741-0            3/1/1989   3/1/1990
Insurance Company of North America                        CAO G1 135164-5            3/1/1989   3/1/1990
U.S. Fire Insurance Company                               531-201-602-7              3/1/1989   3/1/1990
National Union Fire Insurance Company of Pittsburgh, PA   960-75-95                  3/1/1989   3/1/1990
St. Paul Surplus Lines Insurance Company                  LCO5519547                 3/1/1989   3/1/1990
Royal Indemnity Company                                   RHA000409                  3/1/1989   3/1/1990
Lexington Insurance Company                               556-7563                   3/1/1989   3/1/1990
American Zurich Insurance Company                         CEO 6371780-00             3/1/1989   3/1/1990
Planet Ins. Company                                       NUA 149419100              3/1/1989   3/1/1990
Federal Insurance Company                                 (90)7907 86 17             3/1/1989   3/1/1990
Insurance Company of North America                        HDO-G1-075409-4            3/1/1990   3/1/1991
Insurance Company of North America                        CAO G1 075410-0            3/1/1990   3/1/1991
International Insurance Company                           531-202912-2               3/1/1990   3/1/1991
General Star Indemnity Company                            NEX036306                  3/1/1990   3/1/1991
Industrial Insurance Company of Hawaii                    JE 910 7188                3/1/1990   3/1/1991
Royal Indemnity Company                                   RHA4001621                 3/1/1990   3/1/1991
Lexington Insurance Company                               556-9527                   3/1/1990   3/1/1991
Insurance Company of the State of Pennsylvania (The)      4290-2158                  3/1/1990   3/1/1991
Planet Ins. Company                                       NUA 149419101              3/1/1990   3/1/1991
Federal Insurance Company                                 (91)7907 86 17             3/1/1990   3/1/1991
Niagara Fire Insurance Company                            ERX-000 387              10/19/1990   3/1/1991
Federal Insurance Company                                 (91)7929-52-34           10/19/1990   3/1/1991
Gulf Insurance Company                                    GFE-536 22 31            10/19/1990   3/1/1991
National Surety Corporation                               XXK-211 24 33            10/19/1990   3/1/1991
Insurance Company of North America                        HDO G1 07 54 47-1          3/1/1991   3/1/1992


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                   Carrier Name                       Policy Number          Start       End
Insurance Company of North America                    CAO G1 075448-3         3/1/1991   3/1/1992
International Insurance Company                       531-204182-1            3/1/1991   3/1/1992
Industrial Indemnity                                  JE9108935               3/1/1991   3/1/1992
Lexington Insurance Company                           8653405                 3/1/1991   3/1/1992
Niagara Fire Insurance Company                        HXU 001040              3/1/1991   3/1/1992
Planet Ins. Company                                   NUA 149419102           3/1/1991   3/1/1992
Federal Insurance Company                             (92) 7907 86 17         3/1/1991   3/1/1992
Gulf Insurance Company                                GFE 536 23 96           3/1/1991   3/1/1992
National Surety Corporation                           XXK-217 83 02           3/1/1991   3/1/1992
Insurance Company of North America                    HDO G1 549654-A         3/1/1992   3/1/1993
Insurance Company of North America                    CAO-G1-549655-1         3/1/1992   3/1/1993
International Insurance Company                       531-205301-7            3/1/1992   3/1/1993
General Star Indemnity Company                        IXG-307138              3/1/1992   3/1/1993
Lexington Insurance Company                           8654653                 3/1/1992   3/1/1993
Niagara Fire Insurance Company                        HXU-001209              3/1/1992   3/1/1993
California Union Insurance Company                    ZCX 02 00 25            3/1/1992   3/1/1993
Federal Insurance Company                             (93) 7907-86-17         3/1/1992   3/1/1993
Gulf Insurance Company                                GFE-5450026             3/1/1992   3/1/1993
National Surety Corporation                           XXK-217 50 18           3/1/1992   3/1/1993
Insurance Company of North America                    HDO G1 549727-0         3/1/1993   3/1/1994
Insurance Company of North America                    CAO-G1-5497701          3/1/1993   3/1/1994
St. Paul Surplus Lines Insurance Company              LCO 55 2117             3/1/1993   3/1/1994
General Star Indemnity Company                        IXG-307138A             3/1/1993   3/1/1994
Lexington Insurance Company                           866-7104                3/1/1993   3/1/1994
Niagara Fire Insurance Company                        HXU 001262              3/1/1993   3/1/1994
Agricultural Insurance Company                        EXC-794-74-14-00        3/1/1993   3/1/1994
Federal Insurance Company                             (94) 7907-86-17         3/1/1993   3/1/1994
National Surety Corporation                           XXK-000-1462-6451       3/1/1993   3/1/1994
Insurance Company of North America                    HDO G1 549769-5         3/1/1994   3/1/1995
Insurance Company of North America                    CAO G1 549770-1         3/1/1994   3/1/1995
St. Paul Surplus Lines Insurance Company              LCO 55 21644            3/1/1994   3/1/1996
General Star Indemnity Company                        IXG-307138B             3/1/1994   3/1/1995
St. Paul Surplus Lines Insurance Company              LCO 55 21645            3/1/1994   3/1/1995
Niagara Fire Insurance Company                        HXU 001319              3/1/1994   3/1/1995
Agricultural Insurance Company                        EXC-7636343             3/1/1994   3/1/1995
Texas Pacific Indemnity Company                       (95) 7907-86-17         3/1/1994   3/1/1995
National Surety Corporation                           XXK00065650605          3/1/1994   3/1/1995
Indemnity Insurance Company of North America          HDO G1 54 98 13 4       3/1/1995   3/1/1996
Indemnity Insurance Company of North America          CAO G1 549814 6         3/1/1995   3/1/1996
General Star Indemnity Company                        IXG-307138C             3/1/1995   3/1/1996
St. Paul Surplus Lines Insurance Company              LCO 55 23054            3/1/1995   3/1/1996
Niagara Fire Insurance Company                        HXU 001363              3/1/1995   3/1/1996


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                    Carrier Name                          Policy Number          Start       End
Agricultural Insurance Company                            EXC 878-39-32-00        3/1/1995   3/1/1996
Texas Pacific Indemnity Company                           (96) 7907-86-17         3/1/1995   3/1/1996
National Surety Corporation                               XXK-000-9534-9775       3/1/1995   3/1/1996
Liberty Mutual Insurance Company                          TB1-191-409751-126      3/1/1996   3/1/1997
Liberty Mutual Insurance Company                          TH1-191-409751-116      3/1/1996   3/1/1997
St. Paul Surplus Lines Insurance Company                  LC0 55 24186            3/1/1996   3/1/1997
American Zurich Insurance Company                         AUO-3657270-00          3/1/1996   3/1/1997
National Surety Corporation                               CSR-283-95-07           3/1/1996   3/1/1997
St. Paul Surplus Lines Insurance Company                  LC0 55 24187            3/1/1996   3/1/1997
Continental Insurance Company                             157334179               3/1/1996   3/1/1997
Agricultural Insurance Company                            EXC-878-0969            3/1/1996   3/1/1997
Texas Pacific Indemnity Company                           (97) 7907-86-17 RMG     3/1/1996   3/1/1997
Texas Pacific Indemnity Company                           (97) 7907-86-17 CAS     3/1/1996   3/1/1997
National Surety Corporation                               XXK-000-9551-6738       3/1/1996   3/1/1997
American Excess Insurance Association                     HR000105096             3/1/1996   3/1/1997
Liberty Mutual Insurance Company                          TB1-191-409751-127      3/1/1997   3/1/1998
Liberty Mutual Insurance Company                          TH1-191-409751-117      3/1/1997   3/1/1998
St. Paul Surplus Lines Insurance Company                  LC0 55 24948            3/1/1997   3/1/1998
American Zurich Insurance Company                         AUO 3657270-01          3/1/1997   3/1/1998
Texas Pacific Indemnity Company                           (98) 7907-86-17 CAS     3/1/1997   3/1/1998
National Union Fire Insurance Company of Pittsburgh, PA   310 27 29               3/1/1997   3/1/1998
XL Insurance (Bermuda) Limited                            XLUMB-02391             3/1/1997   3/1/1998
Liberty Mutual Insurance Company                          TB1-191-409751-128      3/1/1998   3/1/1999
Liberty Mutual Insurance Company                          TH1-191-409751-118      3/1/1998   3/1/1999
St. Paul Surplus Lines Insurance Company                  LC0 55 25809            3/1/1998   3/1/2000
American Zurich Insurance Company                         EUO 3657270-02          3/1/1998   3/1/1999
Texas Pacific Indemnity Company                           (99) 7907-86-17         3/1/1998   3/1/1999
National Union Fire Insurance Company of Pittsburgh, PA   BE 3463902              3/1/1998   3/1/1999
Gulf Insurance Company                                    GA 6097623              3/1/1998   3/1/1999
Liberty Mutual Insurance Company                          TB1-191-409751-129      3/1/1999   3/1/2001
Liberty Mutual Insurance Company                          TH1-191-409751-119      3/1/1999   3/1/2001
American Zurich Insurance Company                         EUO 3657270-03          3/1/1999   3/1/2000
Texas Pacific Indemnity Company                           7907-86-17              3/1/1999   3/1/2000
National Union Fire Insurance Company of Pittsburgh, PA   BE 3463968              3/1/1999   3/1/2000
Gulf Insurance Company                                    GA0283547               3/1/1999   3/1/2000
Agricultural Excess & Surplus Insurance Company           ELD3211225              3/1/2000   3/1/2001
American Zurich Insurance Company                         EUO 3657270-03          3/1/2000   3/1/2001
Texas Pacific Indemnity Company                           7907-86-17              3/1/2000   3/1/2001
National Union Fire Insurance Company of Pittsburgh, PA   BE 3463968              3/1/2000   3/1/2001
Gulf Insurance Company                                    GA0483924               3/1/2000   3/1/2001
Liberty Mutual Insurance Company                          TB1-191-409751-121      3/1/2001   3/1/2002
Liberty Mutual Insurance Company                          TH1-191-409751-111      3/1/2001   3/1/2002


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                    Carrier Name                           Policy Number          Start       End
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2001   3/1/2002
American Guarantee and Liability Insurance Company         AEC 3657270-04          3/1/2001   3/1/2002
St. Paul Surplus Lines Insurance Company                   QY05501051              3/1/2001   3/1/2002
Federal Insurance Company                                  7907-86-17              3/1/2001   3/1/2002
Interstate Fire & Casualty Company                         XUO-1102139             3/1/2001   3/1/2002
Westchester Fire Insurance Company                         HXS-648016              3/1/2001   3/1/2002
Lumbermens Mutual Casualty Company                         9SR131379-00            3/1/2001   3/1/2002
American Guarantee and Liability Insurance Company         AEC 9278457 00          3/1/2001   3/1/2002
Gulf Insurance Company                                     GA0720986               3/1/2001   3/1/2002
Liberty Mutual Insurance Company                           TB1-191-409751-122      3/1/2002   3/1/2003
Liberty Mutual Insurance Company                           TH1-191-409751-112      3/1/2002   3/1/2003
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2002   3/1/2003
American Guarantee and Liability Insurance Company         AEC 3657270 05          3/1/2002   3/1/2003
Insurance Company of the State of Pennsylvania (The)       4602-2491               3/1/2002   3/1/2003
Westchester Fire Insurance Company                         MES-676215              3/1/2002   3/1/2003
Federal Insurance Company                                  7907-86-17 DAL          3/1/2002   3/1/2003
Allied World Assurance Company, Ltd                        C000112                 3/1/2002   3/1/2003
Interstate Fire & Casualty Company                         XUO1102274              3/1/2002   3/1/2003
Westchester Fire Insurance Company                         HXS-648125              3/1/2002   3/1/2003
Lumbermens Mutual Casualty Company                         9SX 131379-01           3/1/2002   3/1/2003
American Guarantee and Liability Insurance Company         AEC 9278457 01          3/1/2002   3/1/2003
Gulf Insurance Company                                     GA2857739               3/1/2002   3/1/2003
Liberty Mutual Insurance Company                           TB1-191-409751-123      3/1/2003   3/1/2004
Liberty Mutual Insurance Company                           TH1-191-409751-113      3/1/2003   3/1/2004
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2003   3/1/2004
Insurance Company of the State of Pennsylvania (The)       4603-3681               3/1/2003   3/1/2004
Lexington Insurance Company                                3583189                 3/1/2003   3/1/2004
American Guarantee and Liability Insurance Company         AEC 3657270 06          3/1/2003   3/1/2004
Clarendon America Insurance Company                        XLX 39306224            3/1/2003   3/1/2004
Insurance Company of the State of Pennsylvania (The)       4603-3682               3/1/2003   3/1/2004
Lexington Insurance Company                                3583190                 3/1/2003   3/1/2004
St. Paul Surplus Lines Insurance Company                   QY05501227              3/1/2003   3/1/2004
Westchester Fire Insurance Company                         HXS-744263              3/1/2003   3/1/2004
Interstate Fire & Casualty Company                         XSO 1014504             3/1/2003   3/1/2004
American Guarantee and Liability Insurance Company         AEC 9278457 02          3/1/2003   3/1/2004
Gulf Insurance Company                                     GA1327247               3/1/2003   3/1/2004
Liberty Mutual Insurance Company                           TB1-191-409751-124      3/1/2004   3/1/2005
Liberty Mutual Insurance Company                           TH1-191-409751-114      3/1/2004   3/1/2005
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2004   3/1/2005
Clarendon America Insurance Company                        XLX 00310351            3/1/2004   3/1/2005
Insurance Company of the State of Pennsylvania (The)       4604-4698               3/1/2004   3/1/2005
American Guarantee and Liability Insurance Company         AEC 3657270 07          3/1/2004   3/1/2005


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                    Carrier Name                           Policy Number          Start       End
Lexington Insurance Company                                3583264                 3/1/2004   3/1/2005
St. Paul Surplus Lines Insurance Company                   QY06815029              3/1/2004   3/1/2005
Westchester Fire Insurance Company                         HXW-776138              3/1/2004   3/1/2005
Lexington Insurance Company                                3583265                 3/1/2004   3/1/2005
American Guarantee and Liability Insurance Company         AEC 9278457 03          3/1/2004   3/1/2005
XL Insurance (Dublin) Ltd.                                 XLEOCC-0488-04          3/1/2004   3/1/2005
Liberty Mutual Insurance Company                           TB1-191-409751-125      3/1/2005   3/1/2006
Liberty Mutual Insurance Company                           TH1-191-409751-115      3/1/2005   3/1/2006
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2005   3/1/2006
Clarendon America Insurance Company                        XLX00311014             3/1/2005   3/1/2006
Insurance Company of the State of Pennsylvania (The)       4605-1591               3/1/2005   3/1/2006
American Guarantee and Liability Insurance Company         AEC 3657270 08          3/1/2005   3/1/2006
Allied World Assurance Company, Ltd                        AW2154834               3/1/2005   3/1/2006
Axis Speciality Insurance Company                          AAU720252/01/2005       3/1/2005   3/1/2006
Lexington Insurance Company                                8851123                 3/1/2005   3/1/2006
St. Paul Surplus Lines Insurance Company                   QY06825006              3/1/2005   3/1/2006
Lexington Insurance Company                                8851124                 3/1/2005   3/1/2006
XL Europe Limited                                          IE00012302LI05A         3/1/2005   3/1/2006
Liberty Mutual Insurance Company                           TB1-191-409751-126      3/1/2006   3/1/2007
Liberty Mutual Insurance Company                           TH1-191-409751-116      3/1/2006   3/1/2007
Traders and Pacific Insurance Company                      ELD 100000951           3/1/2006   3/1/2007
Insurance Company of the State of Pennsylvania (The)       4606-2795               3/1/2006   3/1/2007
Lexington Insurance Company                                6679155                 3/1/2006   3/1/2007
Steadfast Insurance Company                                AEC 3657270 09          3/1/2006   3/1/2007
Allied World Assurance Company, Ltd                        AW1907934               3/1/2006   3/1/2007
Axis Insurance Company                                     EAU720252/01/2006       3/1/2006   3/1/2007
Lexington Insurance Company                                6679156                 3/1/2006   3/1/2007
St. Paul Surplus Lines Insurance Company                   QY01225190              3/1/2006   3/1/2007
Endurance American Specialty Insurance Company             ELD 100000952           3/1/2006   3/1/2007
XL Europe Limited                                          IE00013105L106A         3/1/2006   3/1/2007
Liberty Mutual Insurance Company                           TB1-191-409751-127      3/1/2007   3/1/2008
Old Republic Insurance Company                             MWZX 26633              3/1/2007   3/1/2008
Endurance American Specialty Insurance Company             ELD10000334501          3/1/2007   3/1/2008
Insurance Company of the State of Pennsylvania (The)       4890463                 3/1/2007   3/1/2008
Lexington Insurance Company                                51134                   3/1/2007   3/1/2008
Axis Surplus Insurance Company                             EAU720252/01/2007       3/1/2007   3/1/2008
Interstate Fire & Casualty Company                         HFX 1002516             3/1/2007   3/1/2008
Allied World Assurance Company, Ltd                        C006822002              3/1/2007   3/1/2008
Everest National Insurance Company                         71G600050-071           3/1/2007   3/1/2008
Lexington Insurance Company                                501135                  3/1/2007   3/1/2008
Endurance American Specialty Insurance Company             ELD 100003346 01        3/1/2007   3/1/2008
XL Europe Limited                                          IE00013396L107A         3/1/2007   3/1/2008


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                    Carrier Name                           Policy Number          Start       End
Old Republic Insurance Company                             MWZY 57807              3/1/2008   3/1/2009
Old Republic Insurance Company                             MWZX 26642              3/1/2008   3/1/2009
Endurance American Specialty Insurance Company             ELD10000334502          3/1/2008   3/1/2009
Insurance Company of the State of Pennsylvania (The)       4890599                 3/1/2008   3/1/2009
Lexington Insurance Company                                1172858                 3/1/2008   3/1/2009
Axis Insurance Company                                     EAU720252012008         3/1/2008   3/1/2009
Interstate Fire & Casualty Company                         HFX1002550              3/1/2008   3/1/2009
Allied World Assurance Company, Ltd                        C009030003              3/1/2008   3/1/2009
Everest National Insurance Company                         71G600050081            3/1/2008   3/1/2009
Lexington Insurance Company                                1172859                 3/1/2008   3/1/2009
Endurance American Specialty Insurance Company             ELD10000334602          3/1/2008   3/1/2009
Axis Insurance Company                                     EAU737684012008         3/1/2008   3/1/2009
Lexington Insurance Company                                1172861                 3/1/2008   3/1/2009
Arch Reinsurance Ltd.                                      UXP0025030              3/1/2008   3/1/2009
Interstate Fire & Casualty Company                         HFX1002552              3/1/2008   3/1/2009
Ohio Casualty Insurance Company (The)                      EC00953709960           3/1/2008   3/1/2009
Old Republic Insurance Company                             MWZY 58122              3/1/2009   3/1/2010
Old Republic Insurance Company                             MWZX 26652              3/1/2009   3/1/2010
Endurance American Specialty Insurance Company             ELD10000334503          3/1/2009   3/1/2010
Catlin Underwriting Agencies Limited                       XSC942550310            3/1/2009   3/1/2010
Everest National Insurance Company                         71G000200091            3/1/2009   3/1/2010
Axis Insurance Company                                     EAU720252/01/2009       3/1/2009   3/1/2010
Interstate Fire & Casualty Company                         HFX00079995585          3/1/2009   3/1/2010
Allied World Assurance Company, Ltd                        C009030/004             3/1/2009   3/1/2010
Everest National Insurance Company                         71G6000200-091          3/1/2009   3/1/2010
Endurance American Specialty Insurance Company             ELD10001240600          3/1/2009   3/1/2010
Arch Reinsurance Ltd.                                      UXP0025030-01           3/1/2009   3/1/2010
Axis Insurance Company                                     EAU737684/01/2009       3/1/2009   3/1/2010
Interstate Fire & Casualty Company                         HFX00082075581          3/1/2009   3/1/2010
Ohio Casualty Insurance Company (The)                      ECO(10)53709*960        3/1/2009   3/1/2010
Old Republic Insurance Company                             MWZY 58666              3/1/2010   3/1/2011
Old Republic Insurance Company                             MWZX 26667              3/1/2010   3/1/2011
Endurance American Specialty Insurance Company             ELD10000334504          3/1/2010   3/1/2011
Catlin Underwriting Agencies Limited                       XSC942550311            3/1/2010   3/1/2011
Everest National Insurance Company                         71G6000050101           3/1/2010   3/1/2011
Allied World Assurance Company, Ltd                        0305-3351               3/1/2010   3/1/2011
Axis Insurance Company                                     EAU720252/01/2010       3/1/2010   3/1/2011
Endurance American Specialty Insurance Company             ELD1000019337           3/1/2010   3/1/2011
Arch Reinsurance Ltd.                                      UXP0025030-02           3/1/2010   3/1/2011
Ohio Casualty Insurance Company (The)                      ECO 11 53 70 9960       3/1/2010   3/1/2011
Westchester Fire Insurance Company                         G24114673001            3/1/2010   3/1/2011
Old Republic Insurance Company                             MWZY 59097              3/1/2011   3/1/2012


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                   Carrier Name                        Policy Number           Start       End
Old Republic Insurance Company                         MWZX 26702               3/1/2011   3/1/2012
Endurance American Specialty Insurance Company         ELD10000334505           3/1/2011   3/1/2012
Catlin Underwriting Agencies Limited                   XSC-94255-0312           3/1/2011   3/1/2012
Axis Insurance Company                                 EAU720252/01/2011        3/1/2011   3/1/2012
Allied World Assurance Company, Ltd                    0305-3351                3/1/2011   3/1/2012
Axis Insurance Company                                 EAU758049012011          3/1/2011   3/1/2012
Endurance American Specialty Insurance Company         ELD10003026000           3/1/2011   3/1/2012
Arch Reinsurance Ltd.                                  UXP0042842               3/1/2011   3/1/2012
Ohio Casualty Insurance Company (The)                  ECO (12) 54 67 21 20     3/1/2011   3/1/2012
Westchester Fire Insurance Company                     G24114673002             3/1/2011   3/1/2012
Liberty Insurance Underwriters, Inc.                   EXCDA1205871             3/1/2011   3/1/2012
Old Republic Insurance Company                         MWZY 59555               3/1/2012   3/1/2013
Old Republic Insurance Company                         MWZX 26709               3/1/2012   3/1/2013
Endurance American Specialty Insurance Company         ELD100003345 06          3/1/2012   3/1/2013
Catlin Underwriting Agencies Limited                   XSC-94255-0313           3/1/2012   3/1/2013
Axis Insurance Company                                 EAU720252/01/2012        3/1/2012   3/1/2013
Allied World Assurance Company, Ltd                    0305-3351                3/1/2012   3/1/2013
Axis Insurance Company                                 EAU758049/01/2012        3/1/2012   3/1/2013
Alterra Excess & Surplus Insurance Company             MAX3EC30000062           3/1/2012   3/1/2013
Endurance American Specialty Insurance Company         ELD10003553700           3/1/2012   3/1/2013
Arch Reinsurance Ltd.                                  UXP0042842-01            3/1/2012   3/1/2013
Ohio Casualty Insurance Company (The)                  ECO 13 54672120          3/1/2012   3/1/2013
Westchester Fire Insurance Company                     G24114673003             3/1/2012   3/1/2013
Navigators Insurance Company                           CH12EXC7470341C          3/1/2012   3/1/2013
Old Republic Insurance Company                         MWZY 59997               3/1/2013   3/1/2014
Old Republic Insurance Company                         MWZX 26713               3/1/2013   3/1/2014
Gemini Insurance Company                               CEX09600051-00           3/1/2013   3/1/2014
First Specialty Insurance Corporation                  IRE 2000295 00           3/1/2013   3/1/2014
Catlin Underwriting Agencies Limited                   XSC-94255-0314           3/1/2013   3/1/2014
Allied World Assurance Company, Ltd                    0305-3351                3/1/2013   3/1/2014
Gemini Insurance Company                               CEX09600052-00           3/1/2013   3/1/2014
Alterra Excess & Surplus Insurance Company             MAX3EC30000192           3/1/2013   3/1/2014
Gemini Insurance Company                               CEX09600166-00           3/1/2013   3/1/2014
Liberty Surplus Insurance Corporation                  1000038829-01            3/1/2013   3/1/2014
Ohio Casualty Insurance Company (The)                  ECO (14) 54 67 21 20     3/1/2013   3/1/2014
Westchester Fire Insurance Company                     G24114673004             3/1/2013   3/1/2014
Navigators Specialty Insurance Company                 CH13EXC747034IC          3/1/2013   3/1/2014
Old Republic Insurance Company                         MWZY 301262              3/1/2014   3/1/2015
Old Republic Insurance Company                         MWZX 300758              3/1/2014   3/1/2015
Gemini Insurance Company                               CEX0960051-01            3/1/2014   3/1/2015
First Specialty Insurance Corporation                  IRE 2000295 01           3/1/2014   3/1/2015
Catlin Underwriting Agencies Limited                   XSC-94255-0315           3/1/2014   3/1/2015


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                   Carrier Name                        Policy Number           Start       End
Gemini Insurance Company                               CEX09600052-01           3/1/2014   3/1/2015
Allied World Assurance Company, Ltd                    0305-3351                3/1/2014   3/1/2015
Lexington Insurance Company                            15375964                 3/1/2014   3/1/2015
Alterra Excess & Surplus Insurance Company             MAX3EC30000296           3/1/2014   3/1/2015
Gemini Insurance Company                               CEX09600166-01           3/1/2014   3/1/2015
Westchester Fire Insurance Company                     G24114673 005            3/1/2014   3/1/2015
Endurance American Specialty Insurance Company         EXC10004584700           3/1/2014   3/1/2015
Ohio Casualty Insurance Company (The)                  ECO (15) 55 94 28 39     3/1/2014   3/1/2015
Old Republic Insurance Company                         MWZY 303431              3/1/2015   3/1/2016
Old Republic Insurance Company                         MWZX 303430              3/1/2015   3/1/2016
Gemini Insurance Company                               CEX09600051-02           3/1/2015   3/1/2016
First Specialty Insurance Corporation                  IRE 2000295 02           3/1/2015   3/1/2016
Catlin Underwriting Agencies Limited                   XSC-94255-0316           3/1/2015   3/1/2016
Gemini Insurance Company                               CEX09600052-02           3/1/2015   3/1/2016
Allied World Assurance Company, Ltd                    0305-3351                3/1/2015   3/1/2016
Lexington Insurance Company                            15375964                 3/1/2015   3/1/2016
Alterra Excess & Surplus Insurance Company             MAX3EC30000468           3/1/2015   3/1/2016
Gemini Insurance Company                               CEX09600166-02           3/1/2015   3/1/2016
Lexington Insurance Company                            15375234                 3/1/2015   3/1/2016
Endurance American Specialty Insurance Company         EXC10004584701           3/1/2015   3/1/2016
Ohio Casualty Insurance Company (The)                  ECO (16) 55 94 28 39     3/1/2015   3/1/2016
Old Republic Insurance Company                         MWZY 306938              3/1/2016   3/1/2017
Old Republic Insurance Company                         MWZX 306937              3/1/2016   3/1/2017
Gemini Insurance Company                               CEX09600051-03           3/1/2016   3/1/2017
First Specialty Insurance Corporation                  IRE 2000295 03           3/1/2016   3/1/2017
Aspen                                                  CX0043416                3/1/2016   3/1/2017
Gemini Insurance Company                               CEX09600052-03           3/1/2016   3/1/2017
Allied World Assurance Company, Ltd                    0305-3351                3/1/2016   3/1/2017
Lexington Insurance Company                            15375964                 3/1/2016   3/1/2017
Aspen                                                  CX0044G16                3/1/2016   3/1/2017
Evanston Insurance Company                             MKLV40LE106420           3/1/2016   3/1/2017
Gemini Insurance Company                               CEX09600166-03           3/1/2016   3/1/2017
Lexington Insurance Company                            15375234                 3/1/2016   3/1/2017
Endurance American Specialty Insurance Company         EXC10004584702           3/1/2016   3/1/2017
Ohio Casualty Insurance Company (The)                  ECO (17) 55 94 28 39     3/1/2016   3/1/2017
Old Republic Insurance Company                         MWZY 309927              3/1/2017   3/1/2018
Old Republic Insurance Company                         MWZX 309926              3/1/2017   3/1/2018
Gemini Insurance Company                               CEX09600051-04           3/1/2017   3/1/2018
First Specialty Insurance Corporation                  IRE 2000295 04           3/1/2017   3/1/2018
Aspen                                                  CX0043417                3/1/2017   3/1/2018
Gemini Insurance Company                               CEX09600052-04           3/1/2017   3/1/2018
Allied World Assurance Company, Ltd                    0305-3351                3/1/2017   3/1/2018


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                   Carrier Name                        Policy Number           Start       End
Colony Insurance Company                               AR3461897                3/1/2017   3/1/2018
Aspen                                                  CX0044G17                3/1/2017   3/1/2018
Evanston Insurance Company                             MKLV4EUE10037            3/1/2017   3/1/2018
Gemini Insurance Company                               CEX09600166-04           3/1/2017   3/1/2018
Indian Harbor Insurance Company                        SCS0049368               3/1/2017   3/1/2018
Endurance American Specialty Insurance Company         EXC1004584703            3/1/2017   3/1/2018
Ohio Casualty Insurance Company (The)                  ECO (18) 55 94 28 39     3/1/2017   3/1/2018
Old Republic Insurance Company                         MWZY 312833              3/1/2018   3/1/2019
Old Republic Insurance Company                         MWZX 312832              3/1/2018   3/1/2019
Gemini Insurance Company                               CEX0960051-05            3/1/2018   3/1/2019
First Specialty Insurance Corporation                  IRE 2000295 05           3/1/2018   3/1/2019
Aspen                                                  CX0043418                3/1/2018   3/1/2019
Gemini Insurance Company                               CEX0960052-05            3/1/2018   3/1/2019
Allied World Assurance Company, Ltd                    0305-3351                3/1/2018   3/1/2019
Colony Insurance Company                               AR4460619                3/1/2018   3/1/2019
Aspen                                                  CX0044G17                3/1/2018   3/1/2019
Evanston Insurance Company                             MKLV4EUE100128           3/1/2018   3/1/2019
Gemini Insurance Company                               CEX09600166-05           3/1/2018   3/1/2019
XL Catlin                                              SXS004936801             3/1/2018   3/1/2019
Endurance American Insurance Company                   EXC10004584704           3/1/2018   3/1/2019
Ohio Casualty Insurance Company (The)                  ECO (19) 5594 2839       3/1/2018   3/1/2019
Evanston Insurance Company                             MKLV4PBC000310           3/1/2019   3/1/2020
Evanston Insurance Company                             MKLV4EUL102026           3/1/2019   3/1/2020
Gemini Insurance Company                               BXS0960355800            3/1/2019   3/1/2020
Gemini Insurance Company                               CEX096005106             3/1/2019   3/1/2020
Lexington Insurance Company                            O23627630                3/1/2019   3/1/2020
XL Catlin                                              SXS004936802             3/1/2019   3/1/2020
Gemini Insurance Company                               CEX0960005206            3/1/2019   3/1/2020
Arch Reinsurance Ltd.                                  UXP102797700             3/1/2019   3/1/2020
Westchester Surplus Lines Insurance Company            G71497094001             3/1/2019   3/1/2020
Allied World Assurance Company (U.S.), Inc.            3053351                  3/1/2019   3/1/2020
Ategrity Specialty Insurance Company                   01BXLP000012300          3/1/2019   3/1/2020
Colony Insurance Company                               AR4460619                3/1/2019   3/1/2020
Endurance American Insurance Company                   EXC10004584705           3/1/2019   3/1/2020
Evanston Insurance Company                             MKLV4EUE100212           3/1/2019   3/1/2020
Gemini Insurance Company                               CEX0960016606            3/1/2019   3/1/2020
Liberty Insurance Underwriters, Inc.                   1.00032E+11              3/1/2019   3/1/2020




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                       SCHEDULE 3

         LOCAL COUNCIL INSURANCE POLICIES
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                                                            LOCAL COUNCIL INSURANCE POLICIES
                                                                                                                                                                 Council       Council
                  Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                Start Date1   End Date
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1967    6/1/1968      6/1/1967     6/1/1968
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1968    6/1/1969      6/1/1968     6/1/1969
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1969    6/1/1970      6/1/1969     6/1/1970
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1970    6/1/1971      6/1/1970     6/1/1971
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1971    6/1/1972      6/1/1971     6/1/1972
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
    Abraham Lincoln (144): Abraham Lincoln (144)            New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Abraham Lincoln (144): Abraham Lincoln (144)            New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Abraham Lincoln (144): Abraham Lincoln (144)            New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Abraham Lincoln (144): Abraham Lincoln (144)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Abraham Lincoln (144): Abraham Lincoln (144)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Abraham Lincoln (144): Abraham Lincoln (144)            St. Paul Insurance Company of Illinois                    550TA8039          1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Abraham Lincoln (144): Abraham Lincoln (144)            New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Abraham Lincoln (144): Abraham Lincoln (144)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219972         1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Abraham Lincoln (144): Abraham Lincoln (144)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Insurance Company of North America                        SBL 48811         2/23/1970   2/23/1971    2/23/1970     2/23/1971
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Insurance Company of North America                        SBL 52409         2/23/1971   2/23/1972    2/23/1971     2/23/1972
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    2/28/1972      1/1/1973
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/28/1972      1/1/1973
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alabama-Florida (003): Alabama-Florida 1963- (003)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alabama-Florida (003): Alabama-Florida 1963- (003)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 09        1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alabama-Florida (003): Alabama-Florida 1963- (003)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219859         1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Alabama-Florida (003): Alabama-Florida 1963- (003)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Alamo Area (583): Alamo Area (583)                      Maryland Casualty Company                                 05-829567          1/1/1968    1/1/1969      1/1/1968     1/1/1969
    Alamo Area (583): Alamo Area (583)                      St. Paul Fire and Marine Insurance Company                542AG6620          2/1/1968    2/1/1969      2/1/1968     2/1/1969
    Alamo Area (583): Alamo Area (583)                      St. Paul Fire and Marine Insurance Company                542AG6865         7/29/1968   7/29/1969    7/29/1968     7/29/1969
    Alamo Area (583): Alamo Area (583)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Alamo Area (583): Alamo Area (583)                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alamo Area (583): Alamo Area (583)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 87        1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alamo Area (583): Alamo Area (583)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alamo Area (583): Alamo Area (583)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220218         1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Alamo Area (583): Alamo Area (583)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978



1       “Council Start Date” and “Council End Date” are the dates on which a Local Council was added to, or removed from, an existing Local Council Insurance Policy as a named
        insured.
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                                                                                                                                                                  Council       Council
              Current Council: Predecessor Council                                    Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                 Start Date1   End Date
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 56        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220009         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL xxx71          3/1/1965    3/1/1966      3/1/1965     3/1/1966
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL xxx71          3/1/1966    3/1/1967      3/1/1966     3/1/1967
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL xxx71          3/1/1967    3/1/1968      3/1/1967     3/1/1968
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL 46909          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL 46909          3/1/1969    3/1/1970      3/1/1969     3/1/1970
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL 46909          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        Unknown            3/1/1971    3/1/1972      3/1/1971     3/1/1972
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Allegheny Highlands (382): Seneca 1929-1975 (750)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 30916          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 30916          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Aloha (104): Aloha 1957- (104)                               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Aloha (104): Aloha 1957- (104)                               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Aloha 1957- (104)                               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Aloha 1957- (104)                               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 00        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 30916          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Aloha 1957- (104)                               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219947         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 49459          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Aloha 1957- (104)                               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 49459          1/1/1978    1/1/1979      1/1/1978     1/1/1979
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 49459          1/1/1979    1/1/1980      1/1/1979     1/1/1980
Aloha (104): Chamorro 1970-1973 (649)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/16/1972      1/1/1973
Aloha (104): Chamorro 1970-1973 (649)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/16/1972      1/1/1973
Aloha (104): Chamorro 1970-1973 (649)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Kilauea 1922-1972 (103)                         Insurance Company of North America                        Unknown            3/1/1969    3/1/1970      3/1/1969     3/1/1970
Aloha (104): Kilauea 1922-1972 (103)                         Insurance Company of North America                        SBL 46929          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Aloha (104): Kilauea 1922-1972 (103)                         Insurance Company of North America                        SBL 51410          3/1/1971    3/1/1972      3/1/1971     3/1/1972
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 23 85       3/23/1965   3/23/1966    3/23/1965     3/23/1966
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 23 85       3/23/1966   3/23/1967    3/23/1966     3/23/1967
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 23 85       3/23/1967   3/23/1968    3/23/1967     3/23/1968
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 69 28       3/23/1968   3/23/1969    3/23/1968     3/23/1969
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 69 28       3/23/1969   3/23/1970    3/23/1969     3/23/1970
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 69 28       3/23/1970   3/23/1971    3/23/1970     3/23/1971
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 51515         3/23/1971   3/23/1972    3/23/1971     3/23/1972
Aloha (104): Maui County 1915-2019 (102)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/23/1972      1/1/1973




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                                                                                                                                                          Council       Council
             Current Council: Predecessor Council                             Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                         Start Date1   End Date
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/23/1972      1/1/1973
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Aloha (104): Maui County 1915-2019 (102)             First Insurance Company of Hawaii, Ltd.                   FGA 36020          3/5/1975    3/5/1976      3/5/1975     3/5/1976
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Maui County 1915-2019 (102)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Maui County 1915-2019 (102)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 01        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Maui County 1915-2019 (102)             First Insurance Company of Hawaii, Ltd.                   FGA 45292          3/5/1976    3/5/1977      3/5/1976     3/5/1977
Aloha (104): Maui County 1915-2019 (102)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219948         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Maui County 1915-2019 (102)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Maui County 1915-2019 (102)             First Insurance Company of Hawaii, Ltd.                   Unknown            3/5/1977    3/5/1978      3/5/1977     3/5/1978
Andrew Jackson (303): Andrew Jackson (303)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Andrew Jackson (303): Andrew Jackson (303)           Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Andrew Jackson (303): Andrew Jackson (303)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974    3/12/1973      1/1/1974
Andrew Jackson (303): Andrew Jackson (303)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974    3/12/1973      1/1/1974
Andrew Jackson (303): Andrew Jackson (303)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Andrew Jackson (303): Andrew Jackson (303)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 08        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Andrew Jackson (303): Andrew Jackson (303)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Andrew Jackson (303): Andrew Jackson (303)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Andrew Jackson (303): Andrew Jackson (303)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Andrew Jackson (303): Andrew Jackson (303)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220158         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1965    9/9/1966      9/9/1965     9/9/1966
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1966    9/9/1967      9/9/1966     9/9/1967
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1967    9/8/1968      9/9/1967     9/8/1968
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1968    9/9/1969      9/9/1968     9/9/1969
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1969    9/9/1970      9/9/1969     9/9/1970
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        Unknown            9/9/1970    9/9/1971      9/9/1970     9/9/1971
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        Unknown            9/9/1971    9/9/1972      9/9/1971     9/9/1972
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 89871          9/9/1972    9/9/1973      9/9/1972     9/9/1973
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 89871          9/9/1973    9/9/1974      9/9/1973     9/9/1974
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 89871          9/9/1974    9/9/1975      9/9/1974     9/9/1975
Anthony Wayne Area (157): Anthony Wayne Area (157)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 116559         9/9/1975    9/9/1976      9/9/1975     9/9/1976
Anthony Wayne Area (157): Anthony Wayne Area (157)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Anthony Wayne Area (157): Anthony Wayne Area (157)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Anthony Wayne Area (157): Anthony Wayne Area (157)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 31        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 116559         9/9/1976    9/9/1977      9/9/1976     9/9/1977
Anthony Wayne Area (157): Anthony Wayne Area (157)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Anthony Wayne Area (157): Anthony Wayne Area (157)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219977         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 116559         9/9/1977    1/1/1978      9/9/1977     1/1/1978
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 4 29 53        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 4 29 53        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 4 29 53        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 46911          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 46911          3/1/1969    3/1/1970      3/1/1969     3/1/1970
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 46911          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 5 14 15        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 5 14 00       3/11/1971   3/11/1972    3/11/1971     3/11/1972
Arbuckle Area (468): Arbuckle Area (468)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973




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Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Arbuckle Area (468): Arbuckle Area (468)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Arbuckle Area (468): Arbuckle Area (468)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 17        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Arbuckle Area (468): Arbuckle Area (468)                    New Hampshire Insurance Company                           SLP 27 56 11      3/25/1976   3/25/1977    3/25/1976     3/25/1977
Arbuckle Area (468): Arbuckle Area (468)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220070         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Arbuckle Area (468): Arbuckle Area (468)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Arbuckle Area (468): Arbuckle Area (468)                    New Hampshire Insurance Company                           Unknown           3/25/1977   3/25/1978    3/25/1977     3/25/1978
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Atlanta Area (092): Atlanta Area (092)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Atlanta Area (092): Atlanta Area (092)                      Transamerica Insurance Company                            Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Atlanta Area (092): Atlanta Area (092)                      Transamerica Insurance Company                            Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Atlanta Area (092): Atlanta Area (092)                      Transamerica Insurance Company                            (T6) 8785457       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Atlanta Area (092): Atlanta Area (092)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Atlanta Area (092): Atlanta Area (092)                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Atlanta Area (092): Atlanta Area (092)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 89        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Atlanta Area (092): Atlanta Area (092)                      Transamerica Insurance Company                            Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Atlanta Area (092): Atlanta Area (092)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219937         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Atlanta Area (092): Atlanta Area (092)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Baden-Powell 1975-1998 (381)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baden-Powell (368): Baden-Powell 1975-1998 (381)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Baden-Powell 1975-1998 (381)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Baden-Powell 1975-1998 (381)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 70        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Baden-Powell 1975-1998 (381)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220007         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Baden-Powell 1975-1998 (381)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Louis Agassiz Fuertes 1929-1975 (381)   General Accident Insurance Company of America             Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Baden-Powell (368): Louis Agassiz Fuertes 1929-1975 (381)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      5/5/1973     1/1/1974
Baden-Powell (368): Louis Agassiz Fuertes 1929-1975 (381)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      5/5/1973     1/1/1974
Baden-Powell (368): Louis Agassiz Fuertes 1929-1975 (381)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        9CGL 86259        3/19/1958   3/19/1959    3/19/1958     3/19/1959
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        9-CGL-86604       3/19/1959   3/19/1960    3/19/1959     3/19/1960
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1960   3/19/1961    3/19/1960     3/19/1961
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1961   3/19/1962    3/19/1961     3/19/1962
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1962   3/19/1963    3/19/1962     3/19/1963
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1963   3/19/1964    3/19/1963     3/19/1964
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1964   3/19/1965    3/19/1964     3/19/1965
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1965   3/19/1966    3/19/1965     3/19/1966
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1966   3/19/1967    3/19/1966     3/19/1967
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        AGP 57 03         3/19/1966   3/19/1967    3/19/1966     3/19/1967
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        AGP 57 03         3/19/1967   3/19/1968    3/19/1967     3/19/1968
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1967   3/19/1968    3/19/1967     3/19/1968
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1968   3/19/1969    3/19/1968     3/19/1969




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Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        AGP 57 03         3/19/1968   3/19/1969    3/19/1968     3/19/1969
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1969   3/19/1970    3/19/1969     3/19/1970
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1970   3/19/1971    3/19/1970     3/19/1971
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1971   3/19/1972    3/19/1971     3/19/1972
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1972   3/19/1973    3/19/1972     3/19/1973
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1973   3/19/1974    3/19/1973     3/19/1974
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1974    1/1/1975    3/19/1974      1/1/1975
Baden-Powell (368): Susquenango 1925-1998 (368)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baden-Powell (368): Susquenango 1925-1998 (368)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Susquenango 1925-1998 (368)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 52        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Susquenango 1925-1998 (368)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Susquenango 1925-1998 (368)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220004         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Susquenango 1925-1998 (368)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Insurance Company of North America                        X OT 3 14 17       1/1/1975   5/14/1975      1/1/1975    5/14/1975
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Insurance Company of North America                        GLP 37 99 52       1/1/1975   5/14/1975      1/1/1975    5/14/1975
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 104757      1/1/1970    1/1/1971      1/1/1970     1/1/1971
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 108939      1/1/1971    1/1/1972      1/1/1971     1/1/1972
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 108939      1/1/1972    1/1/1973      1/1/1972     1/1/1973
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 108939      1/1/1973    5/1/1973      1/1/1973     5/1/1973
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 108939      5/1/1973    1/1/1974      5/1/1973     1/1/1974
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115631      1/1/1974    1/1/1975      1/1/1974     1/1/1975
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115631      1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baltimore Area (220): Baltimore Area (220)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115631      1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baltimore Area (220): Baltimore Area (220)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baltimore Area (220): Baltimore Area (220)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 65        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baltimore Area (220): Baltimore Area (220)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115827      1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baltimore Area (220): Baltimore Area (220)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220113         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baltimore Area (220): Baltimore Area (220)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115827      1/1/1978    1/1/1979      1/1/1978     1/1/1979
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115827      1/1/1979    1/1/1980      1/1/1979     1/1/1980
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bay Area (574): Bay Area (574)                        New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bay Area (574): Bay Area (574)                        New Hampshire Insurance Company                           GLA 21 02 76       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay Area (574): Bay Area (574)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay Area (574): Bay Area (574)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 79        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay Area (574): Bay Area (574)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220210         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay Area (574): Bay Area (574)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay Area (574): Bay Area (574)                        New Hampshire Insurance Company                           GLA 33 23 36       1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Bay-Lakes (635): Badger 1926-1973 (622)                Insurance Company of North America                        SBL 4 69 47       6/24/1968   6/24/1969    6/24/1968     6/24/1969
Bay-Lakes (635): Badger 1926-1973 (622)                Insurance Company of North America                        SBL 4 69 47       6/24/1969   6/24/1970    6/24/1969     6/24/1970
Bay-Lakes (635): Badger 1926-1973 (622)                Insurance Company of North America                        SBL 4 69 47       6/24/1970   6/24/1971    6/24/1970     6/24/1971
Bay-Lakes (635): Badger 1926-1973 (622)                Insurance Company of North America                        SBL 51563         6/24/1971   6/24/1972    6/24/1971     6/24/1972
Bay-Lakes (635): Badger 1926-1973 (622)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/24/1972      1/1/1973
Bay-Lakes (635): Badger 1926-1973 (622)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/24/1972      1/1/1973
Bay-Lakes (635): Badger 1926-1973 (622)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Badger 1926-1973 (622)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Bay-Lakes (635)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      7/1/1973     1/1/1974
Bay-Lakes (635): Bay-Lakes (635)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      7/1/1973     1/1/1974
Bay-Lakes (635): Bay-Lakes (635)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bay-Lakes (635): Bay-Lakes (635)                       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Bay-Lakes (635)                       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Bay-Lakes (635)                       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Bay-Lakes (635)                       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 45        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Bay-Lakes (635)                       New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Bay-Lakes (635)                       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Bay-Lakes (635)                       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220261         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 4 53 79       2/10/1966   2/10/1967    2/10/1966     2/10/1967
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL-4-15-27       2/10/1967   2/10/1968    2/10/1967     2/10/1968
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 4 13 34       2/10/1968   2/10/1969    2/10/1968     2/10/1969
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 4 15 46       2/10/1969   2/10/1970    2/10/1969     2/10/1970
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 41553         2/10/1970   2/10/1971    2/10/1970     2/10/1971
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 4 15 61       2/10/1971   2/10/1972    2/10/1971     2/10/1972
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 94        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220144         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 45395          1/1/1967    1/1/1968      1/1/1967     1/1/1968
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 45395          1/1/1968    1/1/1969      1/1/1968     1/1/1969
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 45395          1/1/1969    1/1/1970      1/1/1969     1/1/1970
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 51311          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 51311          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 51311          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL-4-15-18        7/1/1964    7/1/1965      7/1/1964     7/1/1965
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL-4-15-18        7/1/1965    7/1/1966      7/1/1965     7/1/1966
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL-4-15-18        7/1/1966    7/1/1967      7/1/1966     7/1/1967
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL-4-15-29        7/1/1967    7/1/1968      7/1/1967     7/1/1968
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL 4 15 41        7/1/1968    7/1/1969      7/1/1968     7/1/1969
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL 4 15 48        7/1/1969    7/1/1970      7/1/1969     7/1/1970




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             Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                            Start Date1   End Date
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL 4 15 55        7/1/1970     7/1/1971      7/1/1970     7/1/1971
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL 41567          7/1/1971     7/1/1972      7/1/1971     7/1/1972
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      7/1/1972     1/1/1973
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      7/1/1972     1/1/1973
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Twin Lakes 1935-1973 (630)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Twin Lakes 1935-1973 (630)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Twin Lakes 1935-1973 (630)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Twin Lakes 1935-1973 (630)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Valley 1925-1973 (635)                Insurance Company of North America                        SBL 4 69 05       2/15/1970    2/15/1971    2/15/1970     2/15/1971
Bay-Lakes (635): Valley 1925-1973 (635)                Insurance Company of North America                        SBL 5 13 97       2/15/1971    2/15/1972    2/15/1971     2/15/1972
Bay-Lakes (635): Valley 1925-1973 (635)                Insurance Company of North America                        SBL 5 13 97       2/15/1972    2/15/1973    2/15/1972     2/15/1973
Bay-Lakes (635): Valley 1925-1973 (635)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Valley 1925-1973 (635)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974    2/15/1973      1/1/1974
Bay-Lakes (635): Valley 1925-1973 (635)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Valley 1925-1973 (635)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Insurance Company of North America                        SBL 5 04 23       5/25/1968    5/25/1969    5/25/1968     5/25/1969
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Insurance Company of North America                        SBL 5 04 23       5/25/1969    5/25/1970    5/25/1969     5/25/1970
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Insurance Company of North America                        SBL 5 04 23       5/25/1970    5/25/1971    5/25/1970     5/25/1971
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Insurance Company of North America                        SBL 5 15 42       5/25/1971    5/25/1972    5/25/1971     5/25/1972
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Black Hills Area (695): Black Hills Area (695)         Indemnity Insurance Company of North America              730859            9/15/1960    9/15/1961    9/15/1960     9/15/1961
Black Hills Area (695): Black Hills Area (695)         Indemnity Insurance Company of North America              730859            9/15/1961    9/15/1962    9/15/1961     9/15/1962
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        758883            9/15/1962    9/15/1963    9/15/1962     9/15/1963
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        758883            9/15/1963    9/15/1964    9/15/1963     9/15/1964
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        758883            9/15/1964   10/15/1964    9/15/1964    10/15/1964
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        37010            10/15/1964   10/15/1965   10/15/1964    10/15/1965
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        37010            10/15/1965     4/1/1966   10/15/1965      4/1/1966
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 37016         10/1/1966    10/1/1967    10/1/1966     10/1/1967
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 44622         10/1/1967    10/1/1968    10/1/1967     10/1/1968
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 44640         10/1/1968    10/1/1969    10/1/1968     10/1/1969
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 44656         10/1/1969    10/1/1970    10/1/1969     10/1/1970
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 44675         10/1/1970    10/1/1971    10/1/1970     10/1/1971
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        12019             10/1/1970    10/1/1971    10/1/1970     10/1/1971
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        118045            10/1/1971    10/1/1972    10/1/1971     10/1/1972
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        GAL 136151        10/1/1972    10/1/1973    10/1/1972     10/1/1973
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        XBC 9 75 72       10/1/1972    10/1/1973    10/1/1972     10/1/1973
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        XBC 9 75 72       10/1/1973    10/1/1974    10/1/1973     10/1/1974
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        GAL 21 17 76      10/1/1973    10/1/1974    10/1/1973     10/1/1974
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        XBC 9 75 72       10/1/1974    10/1/1975    10/1/1974     10/1/1975
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        GAL214564         10/1/1974    10/1/1975    10/1/1974     10/1/1975
Black Hills Area (695): Black Hills Area (695)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        XBC 9 75 72       10/1/1975    10/1/1976    10/1/1975     10/1/1976
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        GAL214564         10/1/1975    10/1/1976    10/1/1975     10/1/1976
Black Hills Area (695): Black Hills Area (695)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Black Hills Area (695): Black Hills Area (695)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 62        1/1/1976     1/1/1977      1/1/1976     1/1/1977




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              Current Council: Predecessor Council                                   Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                Start Date1   End Date
Black Hills Area (695): Black Hills Area (695)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Black Hills Area (695): Black Hills Area (695)              Insurance Company of North America                        Unknown           10/1/1976   10/1/1977    10/1/1976     10/1/1977
Black Hills Area (695): Black Hills Area (695)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220284         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Black Hills Area (695): Black Hills Area (695)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Black Hills Area (695): Black Hills Area (695)              Insurance Company of North America                        Unknown           10/1/1977   10/1/1978    10/1/1977     10/1/1978
                                                                                                                      650-198J177-A-
Black Hills Area (695): Black Hills Area (695)              Travelers Insurance Company                               IND-88            2/15/1988   2/15/1989    2/15/1988    2/15/1989
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   45 CBP 130782     3/26/1975   3/26/1976    3/26/1975    3/26/1976
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 01        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   45 CBP 130782     3/26/1976   3/26/1977    3/26/1976    3/26/1977
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220054         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   45 CBP 130782     3/26/1977   3/26/1978    3/26/1977    3/26/1978
Black Swamp Area (449): Shawnee 1926-1992 (452)             General Accident Insurance Company of America             375514            7/20/1961   7/20/1962    7/20/1961    7/20/1962
Black Swamp Area (449): Shawnee 1926-1992 (452)             General Accident Insurance Company of America             375514            7/20/1962   7/20/1963    7/20/1962    7/20/1963
Black Swamp Area (449): Shawnee 1926-1992 (452)             General Accident Insurance Company of America             375514            7/20/1963   7/20/1964    7/20/1963    7/20/1964
Black Swamp Area (449): Shawnee 1926-1992 (452)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Black Swamp Area (449): Shawnee 1926-1992 (452)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 02        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Shawnee 1926-1992 (452)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Shawnee 1926-1992 (452)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Shawnee 1926-1992 (452)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Swamp Area (449): Shawnee 1926-1992 (452)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220055         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 45386          6/1/1966    6/1/1967     6/1/1966     6/1/1967
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 45386          6/1/1967    6/1/1968     6/1/1967     6/1/1968
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 45386          6/1/1968    6/1/1969     6/1/1968     6/1/1969
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 51185          6/1/1969    6/1/1970     6/1/1969     6/1/1970
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 51185          6/1/1970    6/1/1971     6/1/1970     6/1/1971
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 51185          6/1/1971    6/1/1972     6/1/1971     6/1/1972
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973     6/1/1972     1/1/1973
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973     6/1/1972     1/1/1973
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Black Warrior (006): Black Warrior (006)                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Warrior (006): Black Warrior (006)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 14        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Warrior (006): Black Warrior (006)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Warrior (006): Black Warrior (006)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219863         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Warrior (006): Black Warrior (006)                    New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Warrior (006): Black Warrior (006)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        SBL 25062         3/13/1967   3/13/1968    3/13/1967    3/13/1968
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        SBL 48 903        3/13/1968   3/13/1969    3/13/1968    3/13/1969
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        SBL 48907         3/13/1969   3/13/1970    3/13/1969    3/13/1970
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        SBL 48909         3/13/1970   3/13/1971    3/13/1970    3/13/1971
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        Unknown           3/13/1971    7/1/1971    3/13/1971     7/1/1971
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        Unknown            7/1/1971    7/1/1972     7/1/1971     7/1/1972
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        XBC 66384         3/13/1972   3/13/1973    3/13/1972    3/13/1973




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                                                                                                                                                           Council       Council
             Current Council: Predecessor Council                              Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                          Start Date1   End Date
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 6 63 84       3/13/1972   3/13/1973    3/13/1972     3/13/1973
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1972    7/1/1973      7/1/1972     7/1/1973
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 6 63 84       3/13/1973   3/13/1974    3/13/1973     3/13/1974
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 66384         3/13/1973   3/13/1974    3/13/1973     3/13/1974
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1973   3/13/1974      7/1/1973    3/13/1974
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 66384         3/13/1974   3/13/1975    3/13/1974     3/13/1975
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 6 63 84       3/13/1974   3/13/1975    3/13/1974     3/13/1975
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        GAL 21 xx xx      3/13/1974   3/13/1975    3/13/1974     3/13/1975
Blackhawk Area (660): Blackhawk Area 1971- (660)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 11 31 12      3/13/1975   3/13/1976    3/13/1975     3/13/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        GAL 21 10 26      3/13/1975   3/13/1976    3/13/1975     3/13/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 113112        3/13/1975   3/13/1976    3/13/1975     3/13/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1975    7/1/1976      7/1/1975     7/1/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 24        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        GAL 21 10 48      3/13/1976   3/13/1977    3/13/1976     3/13/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 113112        3/13/1976   3/13/1977    3/13/1976     3/13/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1976    7/1/1977      7/1/1976     7/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1976    7/1/1977      7/1/1976     7/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      National Union Fire Insurance Company of Pittsburgh, PA   CE 115 53 39       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219970         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        GAL 21 09 06      3/13/1977    1/1/1978    3/13/1977      1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 113112        3/13/1977   3/13/1978    3/13/1977     3/13/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1977    7/1/1978      7/1/1977     7/1/1978
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/16/1972      1/1/1973
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/16/1972      1/1/1973
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Blue Grass 1963- (204)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Blue Grass 1963- (204)              New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Blue Grass 1963- (204)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 51        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Blue Grass 1963- (204)              New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blue Grass (204): Blue Grass 1963- (204)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219999         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blue Grass (204): Blue Grass 1963- (204)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Blue Grass (204): Lonesome Pine 1934-1979 (203)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Lonesome Pine 1934-1979 (203)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 55        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Lonesome Pine 1934-1979 (203)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blue Grass (204): Lonesome Pine 1934-1979 (203)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220103         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Blue Mountain (604): Blue Mountain (604)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Blue Mountain (604): Blue Mountain (604)                       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Mountain (604): Blue Mountain (604)                       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 27        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Mountain (604): Blue Mountain (604)                       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Mountain (604): Blue Mountain (604)                       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Mountain (604): Blue Mountain (604)                       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220246         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge (551): Blue Ridge (551)                             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Blue Ridge (551): Blue Ridge (551)                             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge (551): Blue Ridge (551)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 59        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge (551): Blue Ridge (551)                             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge (551): Blue Ridge (551)                             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge (551): Blue Ridge (551)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220281         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Royal Globe Insurance Company                             Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Royal Globe Insurance Company                             Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Royal Insurance Co. of America                            Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 13        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220234         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Royal Insurance Co. of America                            Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 1 72 22        4/1/1966     4/1/1967      4/1/1966     4/1/1967
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 1 72 22        4/1/1967     4/1/1968      4/1/1967     4/1/1968
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 1 72 22        4/1/1968     4/1/1969      4/1/1968     4/1/1969
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 2 21 33        4/1/1969     4/1/1970      4/1/1969     4/1/1970
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 2 21 33        4/1/1970     4/1/1971      4/1/1970     4/1/1971
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 2 21 33        4/1/1971     4/1/1972      4/1/1971     4/1/1972
Buckeye (436): Buckeye 1958- (436)                             American States Insurance Company                         CL841-350        12/15/1973   12/15/1974   12/15/1973    12/15/1974
Buckeye (436): Buckeye 1958- (436)                             American States Insurance Company                         SU 11399         12/15/1973   12/15/1974   12/15/1973    12/15/1974
Buckeye (436): Buckeye 1958- (436)                             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Buckeye (436): Buckeye 1958- (436)                             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Buckeye 1958- (436)                             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Buckeye 1958- (436)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 95        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Buckeye 1958- (436)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220048         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Buckeye (436): Buckeye 1958- (436)                             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Buckeye (436): Columbiana 1953-1991 (455)                      Insurance Company of North America                        SBL 50425         6/11/1968    6/11/1969    6/11/1968     6/11/1969
Buckeye (436): Columbiana 1953-1991 (455)                      Insurance Company of North America                        SBL 50425         6/11/1969    6/11/1970    6/11/1969     6/11/1970
Buckeye (436): Columbiana 1953-1991 (455)                      Insurance Company of North America                        SBL 50425         6/11/1970    6/11/1971    6/11/1970     6/11/1971
Buckeye (436): Columbiana 1953-1991 (455)                      Insurance Company of North America                        SBL 51560         6/11/1971    6/11/1972    6/11/1971     6/11/1972
Buckeye (436): Columbiana 1953-1991 (455)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Buckeye (436): Columbiana 1953-1991 (455)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Columbiana 1953-1991 (455)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 03        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Columbiana 1953-1991 (455)                      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Columbiana 1953-1991 (455)                      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Buckeye (436): Columbiana 1953-1991 (455)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220056         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Appalachian 1946-1956 (673)                    Insurance Company of North America                        SBL 5 04 29       7/23/1968    7/23/1969    7/23/1968     7/23/1969
Buckskin (617): Appalachian 1946-1956 (673)                    Insurance Company of North America                        SBL 5 04 29       7/23/1969    7/23/1970    7/23/1969     7/23/1970
Buckskin (617): Appalachian 1946-1956 (673)                    Insurance Company of North America                        SBL 5 04 29       7/23/1970    7/23/1971    7/23/1970     7/23/1971
Buckskin (617): Appalachian 1946-1956 (673)                    Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Buckskin (617): Appalachian 1946-1956 (673)                    Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Buckskin (617): Appalachian 1956-1986 (707)                    Insurance Company of North America                        SBL 51578         7/23/1971    12/4/1971    7/23/1971     12/4/1971




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Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buckskin (617): Appalachian 1956-1986 (707)             New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Appalachian 1956-1986 (707)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Appalachian 1956-1986 (707)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220249         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Appalachian 1956-1986 (707)             New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Appalachian 1956-1986 (707)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Appalachian 1986-1991 (707)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Appalachian 1986-1991 (707)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Appalachian 1986-1991 (707)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Appalachian 1986-1991 (707)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 22636         4/10/1966   4/10/1967    4/10/1966     4/10/1967
Buckskin (617): Buckskin 1949- (617)                    Aetna Casualty and Surety Company                         29AL010580        4/10/1966   4/10/1967    4/10/1966     4/10/1967
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 22636         4/10/1967   4/10/1968    4/10/1967     4/10/1968
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 22636         4/10/1968   4/10/1969    4/10/1968     4/10/1969
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 2 29 75       4/10/1969   4/10/1970    4/10/1969     4/10/1970
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 2 29 75       4/10/1970   4/10/1971    4/10/1970     4/10/1971
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 2 29 75       4/10/1971   4/10/1972    4/10/1971     4/10/1972
Buckskin (617): Buckskin 1949- (617)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Buckskin 1949- (617)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Buckskin 1949- (617)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Buckskin 1949- (617)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Buckskin 1949- (617)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 33        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Buckskin 1949- (617)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220250         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/25/1972      1/1/1973
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/25/1972      1/1/1973
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buckskin (617): Central West Virginia 1941-1990 (616)   Insurance Company of North America                        GLP 61 92 32       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 34        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   Insurance Company of North America                        GLP 65 21 69       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Central West Virginia 1941-1990 (616)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Central West Virginia 1941-1990 (616)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220251         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Insurance Company of North America                        SBL 4 32 79       5/29/1970   5/29/1971    5/29/1970     5/29/1971
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Insurance Company of North America                        Unknown           5/29/1971   5/29/1972    5/29/1971     5/29/1972
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/29/1972      1/1/1973
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/29/1972      1/1/1973
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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Buckskin (617): Chief Cornstalk 1954-1990 (756)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Chief Cornstalk 1954-1990 (756)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 38        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Chief Cornstalk 1954-1990 (756)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220254         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Chief Cornstalk 1954-1990 (756)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 4 29 97        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 4 29 97        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 4 29 97        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 5 04 05        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 5 04 05        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 5 04 05        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 5 15 75        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buckskin (617): Kootaga Area 1933-1991 (618)            New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Kootaga Area 1933-1991 (618)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Kootaga Area 1933-1991 (618)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 39        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Kootaga Area 1933-1991 (618)            New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Kootaga Area 1933-1991 (618)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220255         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Kootaga Area 1933-1991 (618)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        SBL 4 29 77        4/1/1967    4/1/1968      4/1/1967     4/1/1968
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        SBL 4 69 50        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        Unknown            4/1/1969    4/1/1970      4/1/1969     4/1/1970
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        Unknown            4/1/1970    4/1/1971      4/1/1970     4/1/1971
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        Unknown            4/1/1971    4/1/1972      4/1/1971     4/1/1972
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buckskin (617): Tri-State Area 1935-2014 (672)          New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Tri-State Area 1935-2014 (672)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Tri-State Area 1935-2014 (672)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 37        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Tri-State Area 1935-2014 (672)          New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Tri-State Area 1935-2014 (672)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220253         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Tri-State Area 1935-2014 (672)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bucktail (509): Bucktail (509)                          Insurance Company of North America                        SBL 43267         10/1/1968   10/1/1969    10/1/1968     10/1/1969
Bucktail (509): Bucktail (509)                          Insurance Company of North America                        SBL 43267         10/1/1969   10/1/1970    10/1/1969     10/1/1970
Bucktail (509): Bucktail (509)                          Insurance Company of North America                        SBL 43267         10/1/1970   10/1/1971    10/1/1970     10/1/1971
Bucktail (509): Bucktail (509)                          Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Bucktail (509): Bucktail (509)                          Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Bucktail (509): Bucktail (509)                          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Bucktail (509): Bucktail (509)                          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973




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Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bucktail (509): Bucktail (509)                              National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 34        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bucktail (509): Bucktail (509)                              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bucktail (509): Bucktail (509)                              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220089         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bucktail (509): Bucktail (509)                              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trace (156): Buffalo Trace 1955- (156)              Aetna Casualty and Surety Company                         Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Buffalo Trace (156): Buffalo Trace 1955- (156)              Aetna Casualty and Surety Company                         Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Buffalo Trace (156): Buffalo Trace 1955- (156)              Aetna Casualty and Surety Company                         Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buffalo Trace (156): Buffalo Trace 1955- (156)              Aetna Casualty and Surety Company                         Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buffalo Trace (156): Buffalo Trace 1955- (156)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buffalo Trace (156): Buffalo Trace 1955- (156)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 30        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trace (156): Buffalo Trace 1955- (156)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trace (156): Buffalo Trace 1955- (156)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trace (156): Buffalo Trace 1955- (156)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trace (156): Buffalo Trace 1955- (156)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219976         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trail (567): Buffalo Trail (567)                    Insurance Company of North America                        SBL 45419         7/13/1968   7/13/1969    7/13/1968     7/13/1969
Buffalo Trail (567): Buffalo Trail (567)                    Insurance Company of North America                        SBL 45422         7/13/1969   7/13/1970    7/13/1969     7/13/1970
Buffalo Trail (567): Buffalo Trail (567)                    Insurance Company of North America                        Unknown           7/13/1970   7/13/1971    7/13/1970     7/13/1971
Buffalo Trail (567): Buffalo Trail (567)                    Insurance Company of North America                        Unknown           7/13/1971   7/13/1972    7/13/1971     7/13/1972
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    7/13/1972      1/1/1973
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    7/13/1972      1/1/1973
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trail (567): Buffalo Trail (567)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trail (567): Buffalo Trail (567)                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trail (567): Buffalo Trail (567)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 83        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trail (567): Buffalo Trail (567)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220214         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trail (567): Buffalo Trail (567)                    St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trail (567): Buffalo Trail (567)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Caddo Area (584): Caddo Area (584)                          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 89        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Caddo Area (584): Caddo Area (584)                          New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Caddo Area (584): Caddo Area (584)                          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Caddo Area (584): Caddo Area (584)                          New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Caddo Area (584): Caddo Area (584)                          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220220         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Caddo Area (584): Caddo Area (584)                          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Calcasieu Area (209): Calcasieu Area (209)                             Insurance Company of North America                        SBL 51302        11/26/1969   11/26/1970   11/26/1969    11/26/1970
Calcasieu Area (209): Calcasieu Area (209)                             Insurance Company of North America                        SBL 51302        11/26/1970   11/26/1971   11/26/1970    11/26/1971
Calcasieu Area (209): Calcasieu Area (209)                             Insurance Company of North America                        SBL 51302        11/26/1971   11/26/1972   11/26/1971    11/26/1972
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973   11/26/1972      1/1/1973
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973   11/26/1972      1/1/1973
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Calcasieu Area (209): Calcasieu Area (209)                             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Calcasieu Area (209): Calcasieu Area (209)                             New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Calcasieu Area (209): Calcasieu Area (209)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 59        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Calcasieu Area (209): Calcasieu Area (209)                             New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Calcasieu Area (209): Calcasieu Area (209)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220107         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Calcasieu Area (209): Calcasieu Area (209)                             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 2 28 54       5/17/1965    5/17/1966    5/17/1965     5/17/1966
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 2 28 54       5/17/1966    5/17/1967    5/17/1966     5/17/1967
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 2 28 54       5/17/1967    5/17/1968    5/17/1967     5/17/1968
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 4 59 02       5/17/1968    5/17/1969    5/17/1968     5/17/1969
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 4 59 02       5/17/1969    5/17/1970    5/17/1969     5/17/1970
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 4 59 02       5/17/1970    5/17/1971    5/17/1970     5/17/1971
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        Unknown           5/17/1971    5/17/1972    5/17/1971     5/17/1972
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/17/1972      1/1/1973
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/17/1972      1/1/1973
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      2/1/1974     1/1/1975
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
California Inland Empire (045): California Inland Empire 1972- (045)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
California Inland Empire (045): California Inland Empire 1972- (045)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
California Inland Empire (045): California Inland Empire 1972- (045)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 46        1/1/1976     1/1/1977      1/1/1976     1/1/1977
California Inland Empire (045): California Inland Empire 1972- (045)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): California Inland Empire 1972- (045)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219894         1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): California Inland Empire 1972- (045)   Ambassador Insurance Company                              Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): California Inland Empire 1972- (045)   New Hampshire Insurance Company                           GLA 332382         1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): California Inland Empire 1972- (045)   New Hampshire Insurance Company                           GLA 332383         1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 4 53 77       1/10/1966    1/10/1967    1/10/1966     1/10/1967
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 4 53 77       1/10/1967    1/10/1968    1/10/1967     1/10/1968
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 4 53 77       1/10/1968     1/9/1969    1/10/1968      1/9/1969
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 50438         1/10/1969    1/10/1970    1/10/1969     1/10/1970
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 50438         1/10/1970    1/10/1971    1/10/1970     1/10/1971
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 50438         1/10/1971    1/10/1972    1/10/1971     1/10/1972
California Inland Empire (045): Grayback 1952-1974 (024)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    1/10/1972      1/1/1973
California Inland Empire (045): Grayback 1952-1974 (024)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    1/10/1972      1/1/1973
California Inland Empire (045): Grayback 1952-1974 (024)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): Grayback 1952-1974 (024)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974




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California Inland Empire (045): Grayback 1952-1974 (024)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
California Inland Empire (045): Grayback 1952-1974 (024)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Insurance Company of North America                        Unknown          10/21/1970   10/21/1971   10/21/1970    10/21/1971
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Insurance Company of North America                        Unknown          10/21/1971     6/3/1972   10/21/1971      6/3/1972
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      6/3/1972     1/1/1973
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      6/3/1972     1/1/1973
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 75        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220125         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1966     1/1/1967      1/1/1966     1/1/1967
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1967     1/1/1968      1/1/1967     1/1/1968
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1968     1/1/1969      1/1/1968     1/1/1969
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1969     1/1/1970      1/1/1969     1/1/1970
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1970     1/1/1971      1/1/1970     1/1/1971
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1971     1/1/1972      1/1/1971     1/1/1972
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1973     1/1/1974      1/1/1973     1/1/1974
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Fear (425): Cape Fear Area 1930-1989 (425)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 90        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Fear (425): Cape Fear Area 1930-1989 (425)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Fear (425): Cape Fear Area 1930-1989 (425)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cape Fear (425): Cape Fear Area 1930-1989 (425)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220044         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Capitol Area (564): Capitol Area (564)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 72        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Capitol Area (564): Capitol Area (564)                     New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Capitol Area (564): Capitol Area (564)                     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Capitol Area (564): Capitol Area (564)                     New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Capitol Area (564): Capitol Area (564)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Capitol Area (564): Capitol Area (564)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220203         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cascade Pacific (492): Cascade Area 1926-1993 (493)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cascade Pacific (492): Cascade Area 1926-1993 (493)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 30        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Cascade Area 1926-1993 (493)        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Cascade Area 1926-1993 (493)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Cascade Area 1926-1993 (493)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220084         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cascade Pacific (492): Cascade Area 1926-1993 (493)        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   General Insurance Company of America                      CP 209181        11/15/1968   11/15/1969   11/15/1968    11/15/1969
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   General Insurance Company of America                      CP 209181        11/15/1969   11/15/1970   11/15/1969    11/15/1970
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   General Insurance Company of America                      CP 209181        11/15/1970   11/15/1971   11/15/1970    11/15/1971
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 36307295           7/1/1975     7/1/1976      7/1/1975     7/1/1976
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 3830-72-95         7/1/1975     7/1/1976      7/1/1975     7/1/1976
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 29        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 3830-72-95         7/1/1976     7/1/1977      7/1/1976     7/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 36307295           7/1/1976     7/1/1977      7/1/1976     7/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220083         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 36307295           7/1/1977     1/1/1978      7/1/1977     1/1/1978
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 3830-72-95         7/1/1977     7/1/1978      7/1/1977     7/1/1978
Cascade Pacific (492): Portland Area 1925-1966 (492)      American Employers' Insurance Company                     CL 562971         4/16/1945    4/16/1946    4/16/1945     4/16/1946
Cascade Pacific (492): Portland Area 1925-1966 (492)      American Employers' Insurance Company                     CL 562971         4/16/1946    4/16/1947    4/16/1946     4/16/1947
Cascade Pacific (492): Portland Area 1925-1966 (492)      American Employers' Insurance Company                     CL 562971         4/16/1947   11/15/1947    4/16/1947    11/15/1947
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 38642        11/15/1947   11/15/1948   11/15/1947    11/15/1948
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 38642        11/15/1948   11/15/1949   11/15/1948    11/15/1949
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 38642        11/15/1949   11/15/1950   11/15/1949    11/15/1950
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 67048        11/15/1950   11/15/1951   11/15/1950    11/15/1951
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 67048        11/15/1951   11/15/1952   11/15/1951    11/15/1952
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 67048        11/15/1952   11/15/1953   11/15/1952    11/15/1953
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 24550        11/15/1953   11/15/1954   11/15/1953    11/15/1954
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 24550        11/15/1954   11/15/1955   11/15/1954    11/15/1955
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 24550        11/15/1955   11/15/1956   11/15/1955    11/15/1956
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       Unknown          11/15/1956   11/15/1957   11/15/1956    11/15/1957
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown           11/1/1957    11/1/1958    11/1/1957     11/1/1958
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1958   11/15/1959   11/15/1958    11/15/1959
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1959   11/15/1960   11/15/1959    11/15/1960
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1960   11/15/1961   11/15/1960    11/15/1961
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1961   11/15/1962   11/15/1961    11/15/1962
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1962   11/15/1963   11/15/1962    11/15/1963
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1963   11/15/1964   11/15/1963    11/15/1964
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1964   11/15/1965   11/15/1964    11/15/1965
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      BLP 264175       11/15/1965   11/15/1966   11/15/1965    11/15/1966
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      BLP 264175       11/15/1966   11/15/1967   11/15/1966    11/15/1967
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      BLP 264175       11/15/1967   11/15/1968   11/15/1967    11/15/1968
Catalina (011): Catalina 1963- (011)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Catalina (011): Catalina 1963- (011)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Catalina (011): Catalina 1963- (011)                      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Catalina (011): Catalina 1963- (011)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 21        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           Unknown            1/1/1977     5/8/1977      1/1/1977     5/8/1977
Catalina (011): Catalina 1963- (011)                      Ambassador Insurance Company                              Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Catalina (011): Catalina 1963- (011)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219870         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Catalina (011): Catalina 1963- (011)                      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           GLA 282527         5/8/1977     5/8/1978      5/8/1977     5/8/1978
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           GLA 282526         5/8/1977     5/8/1978      5/8/1977     5/8/1978
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           GLA 282523         5/8/1977     5/1/1978      5/8/1977     5/1/1978
Catalina (011): Catalina 1963- (011)                      Ambassador Insurance Company                              Unknown            5/8/1977     5/8/1978      5/8/1977     5/8/1978




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Central Florida (083): Central Florida (083)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Central Florida (083): Central Florida (083)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Florida (083): Central Florida (083)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 80        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Florida (083): Central Florida (083)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Florida (083): Central Florida (083)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219928         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Florida (083): Central Florida (083)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Central Georgia (096): Central Georgia (096)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 93        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Georgia (096): Central Georgia (096)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Georgia (096): Central Georgia (096)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Georgia (096): Central Georgia (096)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219941         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Minnesota (296): Central Minnesota (296)             Insurance Company of North America                        SBL 5 04 26        8/5/1968    8/5/1969      8/5/1968     8/5/1969
Central Minnesota (296): Central Minnesota (296)             Insurance Company of North America                        SBL 5 04 26        8/5/1969    8/5/1970      8/5/1969     8/5/1970
Central Minnesota (296): Central Minnesota (296)             Insurance Company of North America                        SBL 5 04 26        8/5/1970    8/5/1971      8/5/1970     8/5/1971
Central Minnesota (296): Central Minnesota (296)             Insurance Company of North America                        Unknown            8/5/1971    8/5/1972      8/5/1971     8/5/1972
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      8/5/1972     1/1/1973
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      8/5/1972     1/1/1973
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Central Minnesota (296): Central Minnesota (296)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Minnesota (296): Central Minnesota (296)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 03        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Minnesota (296): Central Minnesota (296)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Minnesota (296): Central Minnesota (296)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220153         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central North Carolina (416): Central North Carolina (416)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Central North Carolina (416): Central North Carolina (416)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central North Carolina (416): Central North Carolina (416)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 81        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central North Carolina (416): Central North Carolina (416)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central North Carolina (416): Central North Carolina (416)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central North Carolina (416): Central North Carolina (416)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220034         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chattahoochee (091): Chattahoochee 1964- (091)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 91        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): Chattahoochee 1964- (091)               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): Chattahoochee 1964- (091)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): Chattahoochee 1964- (091)               New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Chattahoochee (091): Chattahoochee 1964- (091)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chattahoochee (091): Chattahoochee 1964- (091)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219939         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chattahoochee (091): George H. Lanier 1950-1989 (094)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chattahoochee (091): George H. Lanier 1950-1989 (094)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): George H. Lanier 1950-1989 (094)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 99        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): George H. Lanier 1950-1989 (094)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): George H. Lanier 1950-1989 (094)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chattahoochee (091): George H. Lanier 1950-1989 (094)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219946         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cherokee Area (469): Cherokee Area (469)                Insurance Company of North America                        SBL 51195          7/5/1969    7/5/1970      7/5/1969     7/5/1970
Cherokee Area (469): Cherokee Area (469)                Insurance Company of North America                        SBL 51195          7/5/1970    7/5/1971      7/5/1970     7/5/1971
Cherokee Area (469): Cherokee Area (469)                Insurance Company of North America                        SBL 51195          7/5/1971    7/5/1972      7/5/1971     7/5/1972
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/5/1972     1/1/1973
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/5/1972     1/1/1973
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cherokee Area (469): Cherokee Area (469)                American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (469): Cherokee Area (469)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 18        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (469): Cherokee Area (469)                American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        SBL 45397         3/17/1967   3/17/1968    3/17/1967     3/17/1968
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        SBL 45397         3/17/1968   3/17/1969    3/17/1968     3/17/1969
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        SBL 45397         3/17/1969   3/17/1970    3/17/1969     3/17/1970
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        Unknown           3/17/1970   3/17/1971    3/17/1970     3/17/1971
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        Unknown           3/17/1971   3/17/1972    3/17/1971     3/17/1972
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/18/1972      1/1/1973
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/18/1972      1/1/1973
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        Unknown           3/17/1972   3/18/1972    3/17/1972     3/18/1972
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cherokee Area (556): Cherokee Area (556)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 64        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (556): Cherokee Area (556)                American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (556): Cherokee Area (556)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1220286         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cherokee Area (556): Cherokee Area (556)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1220072         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cherokee Area (556): Cherokee Area (556)                American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Chester County (539): Chester County (539)              Insurance Company of North America                        SBL 44296         3/11/1969   3/11/1970    3/11/1969     3/11/1970
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1970   3/11/1970      1/1/1970    3/11/1970
Chester County (539): Chester County (539)              Insurance Company of North America                        SBL 53213         3/11/1970   3/11/1971    3/11/1970     3/11/1971
Chester County (539): Chester County (539)              Insurance Company of North America                        SBL 5 32 52       3/11/1971   3/11/1972    3/11/1971     3/11/1972
Chester County (539): Chester County (539)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/11/1972      1/1/1973




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Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/11/1972      1/1/1973
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chester County (539): Chester County (539)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 50        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chester County (539): Chester County (539)               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chester County (539): Chester County (539)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chester County (539): Chester County (539)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chester County (539): Chester County (539)               New Hampshire Insurance Company                           GLA 332358         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chester County (539): Chester County (539)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220272         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chester County (539): Chester County (539)               American Universal Insurance Company                      AXTPL 5318         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chickasaw (558): Chickasaw 1916- (558)                   Maryland Casualty Company                                 96-224611          1/1/1963    1/1/1964      1/1/1963     1/1/1964
Chickasaw (558): Chickasaw 1916- (558)                   Maryland Casualty Company                                 Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Chickasaw (558): Chickasaw 1916- (558)                   Maryland Casualty Company                                 Unknown            1/1/1965    8/1/1965      1/1/1965     8/1/1965
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 4 53 64        8/1/1965    8/1/1966      8/1/1965     8/1/1966
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 4 53 64        8/1/1966    8/1/1967      8/1/1966     8/1/1967
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 4 53 64        8/1/1967    8/1/1968      8/1/1967     8/1/1968
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 5 04 15        8/1/1968    8/1/1969      8/1/1968     8/1/1969
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 5 04 15        8/1/1969    8/1/1970      8/1/1969     8/1/1970
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 5 04 15        8/1/1970    8/1/1971      8/1/1970     8/1/1971
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 52766          8/1/1971    8/1/1972      8/1/1971     8/1/1972
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      8/1/1972     1/1/1973
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      8/1/1972     1/1/1973
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chickasaw (558): Chickasaw 1916- (558)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 68        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chickasaw (558): Chickasaw 1916- (558)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220290         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chickasaw (558): Delta Area 1924-1993 (300)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chickasaw (558): Delta Area 1924-1993 (300)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chickasaw (558): Delta Area 1924-1993 (300)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chickasaw (558): Delta Area 1924-1993 (300)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 05        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chickasaw (558): Delta Area 1924-1993 (300)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chickasaw (558): Delta Area 1924-1993 (300)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220155         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/1/1972      1/1/1973
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    12/1/1972      1/1/1973
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   New Hampshire Insurance Company                           SLP 29-02-40       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   New Hampshire Insurance Company                           SLP 29-02-40       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 49        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   New Hampshire Insurance Company                           SLP 29-02-40       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Chief Cornplanter (538): Chief Cornplanter 1952- (538)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220271         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Chief Seattle (609): Chief Seattle 1954- (609)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1976   12/31/1976      1/1/1976   12/31/1976
Chief Seattle (609): Chief Seattle 1954- (609)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chief Seattle (609): Chief Seattle 1954- (609)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 24        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chief Seattle (609): Chief Seattle 1954- (609)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                584JB6378        12/31/1976   12/31/1977   12/31/1976    12/31/1977
Chief Seattle (609): Chief Seattle 1954- (609)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Chief Seattle (609): Chief Seattle 1954- (609)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220243         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown          12/31/1977   12/31/1978   12/31/1977    12/31/1978
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      9/1/1972     1/1/1973
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/25/1972      1/1/1973
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/25/1972      1/1/1973
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Chippewa Valley (637): Chippewa Valley (637)             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chippewa Valley (637): Chippewa Valley (637)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 42        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chippewa Valley (637): Chippewa Valley (637)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220258         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Chippewa Valley (637): Chippewa Valley (637)             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 29 67       3/15/1965    3/15/1966    3/15/1965     3/15/1966
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 29 67       3/15/1966    3/15/1967    3/15/1966     3/15/1967
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 29 67       3/15/1967    3/15/1968    3/15/1967     3/15/1968
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 69 17       3/15/1968    3/15/1969    3/15/1968     3/15/1969
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 69 17       3/15/1969    3/15/1970    3/15/1969     3/15/1970
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 69 17       3/15/1970    3/15/1971    3/15/1970     3/15/1971
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        Unknown           3/15/1971    3/15/1972    3/15/1971     3/15/1972
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Choctaw Area (302): Choctaw Area (302)                   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Choctaw Area (302): Choctaw Area (302)                   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Choctaw Area (302): Choctaw Area (302)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 09        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Choctaw Area (302): Choctaw Area (302)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220159         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Choctaw Area (302): Choctaw Area (302)                   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Choctaw Area (302): Choctaw Area (302)                   Jefferson Insurance Company of New York                   JE 66157           3/1/1977     3/1/1978      3/1/1977     3/1/1978
Choctaw Area (302): Choctaw Area (302)                   New Hampshire Insurance Company                           GLA 282465         3/1/1977     3/1/1978      3/1/1977     3/1/1978




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              Current Council: Predecessor Council                                Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                             Start Date1   End Date
Choctaw Area (302): Choctaw Area (302)                   Ambassador Insurance Company                              Unknown            3/1/1977    3/1/1978      3/1/1977     3/1/1978
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cimarron (474): Great Salt Plains 1927-2000 (474)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Great Salt Plains 1927-2000 (474)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 20        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Great Salt Plains 1927-2000 (474)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220073         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cimarron (474): Great Salt Plains 1927-2000 (474)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973   12/16/1972      1/1/1973
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973   12/16/1972      1/1/1973
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Will Rogers 1948-2000 (473)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 24        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Will Rogers 1948-2000 (473)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Will Rogers 1948-2000 (473)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220077         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cimarron (474): Will Rogers 1948-2000 (473)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Circle Ten 1913- (571)                 Insurance Company of North America                        Unknown            7/1/1970    7/1/1971      7/1/1970     7/1/1971
Circle Ten (571): Circle Ten 1913- (571)                 Insurance Company of North America                        SBL 4 54 34        7/1/1971    7/1/1972      7/1/1971     7/1/1972
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            7/1/1972    7/1/1973      7/1/1972     7/1/1973
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            7/1/1973    1/1/1974      7/1/1973     1/1/1974
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): Circle Ten 1913- (571)                 New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Circle Ten 1913- (571)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Circle Ten 1913- (571)                 American General Fire & Casualty Company                  Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Circle Ten 1913- (571)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Circle Ten 1913- (571)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Circle Ten 1913- (571)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 76        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Circle Ten 1913- (571)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Circle Ten 1913- (571)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220207         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Circle Ten 1913- (571)                 Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/19/1972      1/1/1973
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/19/1972      1/1/1973
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): NeTseO Trails 1955-2017 (580)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): NeTseO Trails 1955-2017 (580)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 85        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): NeTseO Trails 1955-2017 (580)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220216         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): NeTseO Trails 1955-2017 (580)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                                Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                             Start Date1   End Date
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Texoma Valley 1966-1993 (566)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Texoma Valley 1966-1993 (566)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 88        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Texoma Valley 1966-1993 (566)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220219         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Texoma Valley 1966-1993 (566)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Carolina (550): Coastal Carolina (550)           Insurance Company of North America                        SBL 5 02 31        6/7/1968    6/7/1969      6/7/1968     6/7/1969
Coastal Carolina (550): Coastal Carolina (550)           Insurance Company of North America                        SBL 5 10 71        6/7/1969    6/7/1970      6/7/1969     6/7/1970
Coastal Carolina (550): Coastal Carolina (550)           Insurance Company of North America                        SBL 5 26 62        6/7/1970    6/7/1971      6/7/1970     6/7/1971
Coastal Carolina (550): Coastal Carolina (550)           Insurance Company of North America                        SBL 5 36 40        6/7/1971    6/7/1972      6/7/1971     6/7/1972
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Carolina (550): Coastal Carolina (550)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 56        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Carolina (550): Coastal Carolina (550)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Carolina (550): Coastal Carolina (550)           Continental Insurance Company                             CCP 3012802        7/9/1976    7/9/1977      7/9/1976     7/9/1977
Coastal Carolina (550): Coastal Carolina (550)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Carolina (550): Coastal Carolina (550)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220278         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Coastal Georgia (099): Coastal Empire -2014 (099)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 95        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Coastal Empire -2014 (099)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Coastal Empire -2014 (099)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Coastal Empire -2014 (099)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219943         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Fire Insurance Company                           20 SBM US2073      1/1/2007    1/1/2008      1/1/2007     1/1/2008
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Fire Insurance Company                           20 SBM US2073      1/1/2007    1/1/2008      1/1/2007     1/1/2008
Coastal Georgia (099): Coastal Georgia 2014- (099)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/31/1972      1/1/1973
Coastal Georgia (099): Coastal Georgia 2014- (099)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/31/1972      1/1/1973
Coastal Georgia (099): Coastal Georgia 2014- (099)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Coastal Georgia 2014- (099)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Insurance Company of North America                        SBL 51393          7/1/1970    7/1/1971      7/1/1970     7/1/1971
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Insurance Company of North America                        SBL 51393          7/1/1971    7/1/1972      7/1/1971     7/1/1972
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 98        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219945         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Insurance Company of North America                        LAB 2 21 79       1/23/1970   1/23/1971    1/23/1970     1/23/1971
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Insurance Company of North America                        LAB 2 21 79       1/23/1971   1/23/1972    1/23/1971     1/23/1972
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/23/1972      1/1/1973
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/23/1972      1/1/1973
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 15        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Crum & Forster                                            Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220236         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Colonial Virginia (595): Peninsula 1929-1992 (595)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Peninsula 1929-1992 (595)              New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Peninsula 1929-1992 (595)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 09        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Peninsula 1929-1992 (595)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Peninsula 1929-1992 (595)              New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Peninsula 1929-1992 (595)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220231         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Columbia-Montour (504): Columbia-Montour (504)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Columbia-Montour (504): Columbia-Montour (504)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Columbia-Montour (504): Columbia-Montour (504)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 31        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Columbia-Montour (504): Columbia-Montour (504)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Columbia-Montour (504): Columbia-Montour (504)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220086         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Columbia-Montour (504): Columbia-Montour (504)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 29 80       4/15/1965   4/15/1966    4/15/1965     4/15/1966
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 29 80       4/15/1966   4/15/1967    4/15/1966     4/15/1967
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 29 80       4/15/1967   4/15/1968    4/15/1967     4/15/1968
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 69 37       4/15/1968   4/15/1969    4/15/1968     4/15/1969
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 69 37       4/15/1969   4/15/1970    4/15/1969     4/15/1970
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 69 37       4/15/1970   4/15/1971    4/15/1970     4/15/1971
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 5 14 99       4/15/1971   4/15/1972    4/15/1971     4/15/1972
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Insurance Company of North America                        SBL 5 14 99       10/1/1971   4/15/1972    10/1/1971     4/15/1972
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/15/1972      1/1/1973
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/15/1972      1/1/1973
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 72        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219920         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 70        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219918         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Aetna Insurance Company                                   CG 67 34 60      12/15/1982   12/15/1983   12/15/1982    12/15/1983
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             L 1 07 95 74      1/23/1987    1/23/1988    1/23/1987     1/23/1988
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             CLP 5045040       1/23/1988    1/23/1989    1/23/1988     1/23/1989
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             CLP 5045040       1/23/1989    1/23/1990    1/23/1989     1/23/1990
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             CLP 5045040       1/23/1990    1/23/1991    1/23/1990     1/23/1991
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             CLP 5045040       1/23/1991    1/23/1992    1/23/1991     1/23/1992
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 4 29 78       3/20/1965    3/20/1966    3/20/1965     3/20/1966
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 4 29 78       3/20/1966    3/20/1967    3/20/1966     3/20/1967
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 4 29 78       3/20/1967    3/20/1968    3/20/1967     3/20/1968
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 46918         3/20/1968    3/20/1969    3/20/1968     3/20/1969
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 46918         3/20/1969    3/20/1970    3/20/1969     3/20/1970
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 46918         3/20/1970    3/20/1971    3/20/1970     3/20/1971
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 51411         3/20/1971    3/20/1972    3/20/1971     3/20/1972
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    3/20/1972      1/1/1973
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    3/20/1972      1/1/1973
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Rivers (066): Pequot 1935-1971 (077)                Insurance Company of North America                        SBL 5 04 09        5/1/1968     5/1/1969      5/1/1968     5/1/1969
Connecticut Rivers (066): Pequot 1935-1971 (077)                Insurance Company of North America                        SBL 5 04 09        5/1/1969     5/1/1970      5/1/1969     5/1/1970
Connecticut Rivers (066): Pequot 1935-1971 (077)                Insurance Company of North America                        SBL 5 04 09        5/1/1970     5/1/1971      5/1/1970     5/1/1971
Connecticut Rivers (066): Pequot 1935-1971 (077)                Insurance Company of North America                        SBL 5 15 38        5/1/1971    10/1/1971      5/1/1971    10/1/1971
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Insurance Company of North America                        SBL 51586         6/28/1971    6/28/1972    6/28/1971     6/28/1972
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/29/1972      1/1/1973
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/29/1972      1/1/1973
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Insurance Company of North America                        SBL 46908          3/5/1968     3/5/1969      3/5/1968     3/5/1969
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Insurance Company of North America                        SBL 46908          3/5/1969     3/5/1970      3/5/1969     3/5/1970
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Insurance Company of North America                        SBL 46908          3/5/1970     3/5/1971      3/5/1970     3/5/1971
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Insurance Company of North America                        SBL 5 13 98        3/5/1971     3/5/1972      3/5/1971     3/5/1972
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      3/5/1972     1/1/1973
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      3/5/1972     1/1/1973
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        SBL 5 04 10       5/14/1968    5/14/1969    5/14/1968     5/14/1969
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        SBL 5 04 10       5/14/1969    5/14/1970    5/14/1969     5/14/1970




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Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        SBL 5 04 10         5/14/1970   5/14/1971    5/14/1970     5/14/1971
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        SBL 51549           5/14/1971   5/14/1972    5/14/1971     5/14/1972
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10HUA43302           1/1/1972    1/1/1973    5/14/1972      1/1/1973
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43303            1/1/1972    1/1/1973    5/14/1972      1/1/1973
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43303            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10HUA43302           1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43329            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10HUA43331           1/1/1974    1/1/1975      1/1/1974     1/1/1975
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43342E           1/1/1975    1/1/1976      1/1/1975     1/1/1976
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        GLP 59 87 52        2/13/1975   2/13/1976    2/13/1975     2/13/1976
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        XBC 11 73 80         7/1/1975   2/13/1976      7/1/1975    2/13/1976
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   American Re-Insurance Company                             M-1027493            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 71          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43349E           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        GLP 63 06 26        2/13/1976   2/13/1977    2/13/1976     2/13/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        XBC 11 73 80        2/13/1976   2/13/1977    2/13/1976     2/13/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219919           1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   American Re-Insurance Company                             M-1027493            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        GLP 66 59 57        2/13/1977   2/13/1978    2/13/1977     2/13/1978
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        XBC 11 75 11        2/13/1977   2/13/1978    2/13/1977     2/13/1978
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10CA43303            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10HUA43302           1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10CA43329            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10HUA43331           1/1/1974    1/1/1975      1/1/1974     1/1/1975
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10CA43342E           1/1/1975    1/1/1976      1/1/1975     1/1/1976
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 73          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10CA43349E           1/1/1976    1/1/1977      1/1/1976     1/1/1977
                                                                                                                          08-2484-SLP-063-
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      New Hampshire Insurance Company                           47-79                1/1/1976    1/1/1977     1/1/1976     1/1/1977
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      American Re-Insurance Company                             M-1027493            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219921           1/1/1977    1/1/1978     1/1/1977     1/1/1978
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      American Re-Insurance Company                             M-1027493            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Connecticut Yankee (072): Mauwehu 1952-1972 (075)               Hartford Accident and Indemnity Company                   10HUA43302           1/1/1972    1/1/1973    5/20/1972     1/1/1973
Connecticut Yankee (072): Mauwehu 1952-1972 (075)               Hartford Accident and Indemnity Company                   10CA43303            1/1/1972    1/1/1973    5/20/1972     1/1/1973
Connecticut Yankee (072): Mauwehu 1952-1972 (075)               Hartford Accident and Indemnity Company                   10CA43303            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Connecticut Yankee (072): Mauwehu 1952-1972 (075)               Hartford Accident and Indemnity Company                   10HUA43302           1/1/1973    1/1/1974     1/1/1973     1/1/1974
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        AGP-1-69-76          1/7/1970    1/7/1971     1/7/1970     1/7/1971
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        SBL 4 77 79          2/1/1970    2/1/1971     2/1/1970     2/1/1971
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        AGP-1-69-76          1/7/1971    1/7/1972     1/7/1971     1/7/1972
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        SBL 5 29 23          2/1/1971    2/1/1972     2/1/1971     2/1/1972
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10HUA43302           1/1/1972    1/1/1973     2/1/1972     1/1/1973
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43303            1/1/1972    1/1/1973     2/1/1972     1/1/1973
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        AGP-1-69-76          1/7/1972    1/7/1973     1/7/1972     1/7/1973
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43303            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10HUA43302           1/1/1973    1/1/1974     1/1/1973     1/1/1974
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        AGP-1-69-76          1/7/1973    6/1/1973     1/7/1973     6/1/1973
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43329            1/1/1974    1/1/1975     1/1/1974     1/1/1975
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10HUA43331           1/1/1974    1/1/1975     1/1/1974     1/1/1975
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43342E           1/1/1975    1/1/1976     1/1/1975     1/1/1976
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43349E           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 69          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            American Re-Insurance Company                             M-1027493            1/1/1976    1/1/1977     1/1/1976     1/1/1977




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Connecticut Yankee (072): Quinnipiac 1935-1998 (074)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219917         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)     New Hampshire Insurance Company                           SLP 634924         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Conquistador (413): Conquistador 1953- (413)             Fireman’s Fund Insurance Company                          MXP 1537195       1/12/1969   1/12/1970    1/12/1969     1/12/1970
Conquistador (413): Conquistador 1953- (413)             Fireman’s Fund Insurance Company                          MXP 1537195       1/12/1970   1/12/1971    1/12/1970     1/12/1971
Conquistador (413): Conquistador 1953- (413)             Fireman’s Fund Insurance Company                          MXP 1537195       1/12/1971   1/12/1972    1/12/1971     1/12/1972
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Conquistador (413): Conquistador 1953- (413)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Conquistador (413): Conquistador 1953- (413)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 47        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Conquistador (413): Conquistador 1953- (413)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Conquistador (413): Conquistador 1953- (413)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220199         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Conquistador (413): Conquistador 1953- (413)             Insurance Company of North America                        GK-12042           1/1/1987    1/1/1988      1/1/1987     1/1/1988
Conquistador (413): Eastern New Mexico 1925-1953 (413)   Anchor Casualty Company                                   442398            6/29/1955   6/29/1956    6/29/1955     6/29/1956
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cornhusker (324): Cornhusker (324)                       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cornhusker (324): Cornhusker (324)                       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 19        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cornhusker (324): Cornhusker (324)                       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220170         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cornhusker (324): Cornhusker (324)                       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 CGL 235298        6/28/1961   6/28/1962    6/28/1961     6/28/1962
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 Unknown           6/28/1962   6/28/1963    6/28/1962     6/28/1963
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 Unknown           6/28/1963   6/28/1964    6/28/1963     6/28/1964
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 Unknown           6/28/1964   6/28/1965    6/28/1964     6/28/1965
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 6GA 324983        6/28/1965   6/28/1966    6/28/1965     6/28/1966
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 28074          3/1/1966    3/1/1967      3/1/1966     3/1/1967
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 28082          3/1/1967    3/1/1968      3/1/1967     3/1/1968
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 28088          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 5 11 88        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 5 08 57        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 5 08 57        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 5 08 57        3/1/1972    1/1/1973      3/1/1972     1/1/1973
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Coronado Area (192): Coronado Area (192)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 48        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coronado Area (192): Coronado Area (192)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coronado Area (192): Coronado Area (192)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coronado Area (192): Coronado Area (192)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219996         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 34 21        2/1/1965    2/1/1966      2/1/1965     2/1/1966
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 34 21        2/1/1966    2/1/1967      2/1/1966     2/1/1967
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 34 21        2/1/1967    2/1/1968      2/1/1967     2/1/1968
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 41 51        2/1/1968    2/1/1969      2/1/1968     2/1/1969
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        AGP-93-25         3/16/1968   3/16/1969    3/16/1968     3/16/1969
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 5 11 77        2/1/1969    2/1/1970      2/1/1969     2/1/1970
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 41 51        2/1/1969    2/1/1970      2/1/1969     2/1/1970
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 5 11 77        2/1/1970    2/1/1971      2/1/1970     2/1/1971
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 41 51        2/1/1970    2/1/1971      2/1/1970     2/1/1971
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 5 11 77        2/1/1971    2/1/1972      2/1/1971     2/1/1972
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 42        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220097         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        SBL-4-34-60       3/14/1967   3/14/1968    3/14/1967     3/14/1968
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        SBL-44-1-85       3/14/1968   3/14/1969    3/14/1968     3/14/1969
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        Unknown           3/14/1969   3/14/1970    3/14/1969     3/14/1970
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        Unknown           3/14/1970   3/14/1971    3/14/1970     3/14/1971
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        Unknown           3/14/1971    1/1/1972    3/14/1971      1/1/1972
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 48        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220270         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crater Lake (491): Crater Lake 1993- (491)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crater Lake (491): Crater Lake 1993- (491)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crater Lake (491): Crater Lake 1993- (491)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crater Lake (491): Crater Lake 1993- (491)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crater Lake (491): Crater Lake 1993- (491)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 28        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crater Lake (491): Crater Lake 1993- (491)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220080         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crater Lake (491): Modoc Area 1936-1993 (494)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crater Lake (491): Modoc Area 1936-1993 (494)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 27        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crater Lake (491): Modoc Area 1936-1993 (494)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crater Lake (491): Modoc Area 1936-1993 (494)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crater Lake (491): Modoc Area 1936-1993 (494)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220082         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crater Lake (491): Modoc Area 1936-1993 (494)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Crossroads of America (160): Crossroads of America 1972- (160)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of America (160): Crossroads of America 1972- (160)    Insurance Company of North America                        XCP 10769          6/1/1975    6/1/1976      6/1/1975     6/1/1976
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           UL07-96-54         6/1/1975    6/1/1976      6/1/1975     6/1/1976
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           GLA908991          6/1/1975    6/1/1976      6/1/1975     6/1/1976
Crossroads of America (160): Crossroads of America 1972- (160)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           GLA908991          6/1/1976    6/1/1977      6/1/1976     6/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    Insurance Company of North America                        XCP 10769          6/1/1976    6/1/1977      6/1/1976     6/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           UL07-96-54         6/1/1976    6/1/1977      6/1/1976     6/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219978         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of America (160): Crossroads of America 1972- (160)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           UL07-96-54         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Crossroads of America (160): Crossroads of America 1972- (160)    Insurance Company of North America                        XCP 10769          6/1/1977    6/1/1978      6/1/1977     6/1/1978
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           GLA908991          6/1/1977    6/1/1978      6/1/1977     6/1/1978
Crossroads of America (160): Delaware County 1924-1972 (679)      Insurance Company of North America                        SBL 5 15 56        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Crossroads of America (160): Delaware County 1924-1972 (679)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Crossroads of America (160): Delaware County 1924-1972 (679)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Crossroads of America (160): Delaware County 1924-1972 (679)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of America (160): Delaware County 1924-1972 (679)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of America (160): Kikthawenund Area 1935-1972 (149)    Insurance Company of North America                        SBL-4-67-60        6/9/1968    6/9/1969      6/9/1968     6/9/1969
Crossroads of America (160): Kikthawenund Area 1935-1972 (149)    Insurance Company of North America                        SBL 46771          6/9/1969    6/9/1970      6/9/1969     6/9/1970
Crossroads of America (160): Kikthawenund Area 1935-1972 (149)    Insurance Company of North America                        SBL 46782          6/9/1970    6/9/1971      6/9/1970     6/9/1971
Crossroads of America (160): Kikthawenund Area 1935-1972 (149)    Insurance Company of North America                        Unknown            6/9/1971    6/9/1972      6/9/1971     6/9/1972
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        SBL 46772         4/11/1969   4/11/1970    4/11/1969     4/11/1970
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        SBL 46772         4/11/1970   4/11/1971    4/11/1970     4/11/1971
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        SBL 46798         4/11/1971   4/11/1972    4/11/1971     4/11/1972
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        ALB 54057         4/11/1972   4/11/1973    4/11/1972     4/11/1973
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        GLP 42 18 47      4/11/1973   4/11/1974    4/11/1973     4/11/1974
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        GLP 428340        4/11/1974   4/11/1975    4/11/1974     4/11/1975
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        GLP 59 24 34      4/11/1975   12/2/1975    4/11/1975     12/2/1975
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        GLP 59 24 34      12/2/1975   4/11/1976    12/2/1975     4/11/1976
Crossroads of America (160): Wabash Valley 1931-2002 (166)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Wabash Valley 1931-2002 (166)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Wabash Valley 1931-2002 (166)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 37        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Wabash Valley 1931-2002 (166)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of America (160): Wabash Valley 1931-2002 (166)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219983         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL 4 10 99        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL 4 67 34        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL-4-67-59        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL 46781          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL 46781          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        Unknown            6/1/1971    6/1/1972      6/1/1971     6/1/1972
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Insurance Company of North America                        SBL 51307          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Insurance Company of North America                        SBL 51307          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Insurance Company of North America                        SBL 51307          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975




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              Current Council: Predecessor Council                                           Carrier                           Policy Number   Start Date   End Date
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Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 01        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220225         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220228         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Insurance Company of North America                        SBL 5 15 47        5/1/1971    5/1/1972      5/1/1971     5/1/1972
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 50        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220267         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       SAFECO Ins. Co. of America                                Unknown            7/1/1970    7/1/1971      7/1/1970     7/1/1971
                                                                                                                              650-217A646-3-
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Charter Oak Fire Insurance Company                        COF-74             9/1/1974    9/1/1975     9/1/1974     9/1/1975
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
                                                                                                                              650-217A646-3-
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Charter Oak Fire Insurance Company                        COF-74             9/1/1975    1/1/1976     9/1/1975     1/1/1976
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 04        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220226         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
                                                                                                                              650-217A646-3-
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Charter Oak Fire Insurance Company                        COF-77            7/13/1977   7/13/1978    7/13/1977    7/13/1978
                                                                                                                              650-217A646-3-
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Charter Oak Fire Insurance Company                        COF-77            7/13/1978    9/1/1978    7/13/1978     9/1/1978
Crossroads of the West (590): Salt Lake City Area 1926-1951 (590)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 06        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Crossroads of the West (590): Utah National Parks -2020 (591)       Insurance Company of North America                        SBL 5 04 27       7/11/1968   7/11/1969    7/11/1968    7/11/1969
Crossroads of the West (590): Utah National Parks -2020 (591)       Insurance Company of North America                        SBL 5 04 27       7/11/1969   7/11/1970    7/11/1969    7/11/1970
Crossroads of the West (590): Utah National Parks -2020 (591)       Insurance Company of North America                        SBL 5 04 27       7/11/1970   7/11/1971    7/11/1970    7/11/1971
Crossroads of the West (590): Utah National Parks -2020 (591)       Insurance Company of North America                        SBL 5 15 80       7/11/1971   7/11/1972    7/11/1971    7/11/1972
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    7/11/1972     1/1/1973
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    7/11/1972     1/1/1973
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Crossroads of the West (590): Utah National Parks -2020 (591)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 05        1/1/1976    1/1/1977     1/1/1976     1/1/1977




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Crossroads of the West (590): Utah National Parks -2020 (591)   Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Utah National Parks -2020 (591)   American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Utah National Parks -2020 (591)   American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Utah National Parks -2020 (591)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220227            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        SBL 4 53 74           1/1/1966     1/1/1967      1/1/1966     1/1/1967
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        SBL 4 53 74           1/1/1967     1/1/1968      1/1/1967     1/1/1968
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        SBL 4 53 74           1/1/1968     1/1/1969      1/1/1968     1/1/1969
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        Unknown               1/1/1969     1/1/1970      1/1/1969     1/1/1970
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        Unknown               1/1/1970     1/1/1971      1/1/1970     1/1/1971
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        Unknown               1/1/1971     1/1/1972      1/1/1971     1/1/1972
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10CA43303             1/1/1972     1/1/1973      1/1/1972     1/1/1973
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10HUA43302            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP 54W935          12/15/1972   12/15/1973   12/15/1972    12/15/1973
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        XBC 86865           12/15/1972   12/15/1973   12/15/1972    12/15/1973
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973     1/1/1974      1/1/1973     1/1/1974
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        XBC 11 36 16        12/15/1973   12/15/1974   12/15/1973    12/15/1974
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP 54W935          12/15/1973   12/15/1974   12/15/1973    12/15/1974
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10CA43329             1/1/1974     1/1/1975      1/1/1974     1/1/1975
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP 54W935          12/15/1974   12/15/1975   12/15/1974    12/15/1975
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        XBC 11 37 84        12/15/1974   12/15/1975   12/15/1974    12/15/1975
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP 54W935          12/15/1975   12/15/1976   12/15/1975    12/15/1976
Dan Beard (438): Dan Beard 1956- (438)                          American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Dan Beard 1956- (438)                          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 97           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP D0 00 83 93 8    12/1/1976    12/1/1977    12/1/1976     12/1/1977
Dan Beard (438): Dan Beard 1956- (438)                          American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Dan Beard (438): Dan Beard 1956- (438)                          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220050            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP D0 00 83 93 8    12/1/1977    12/1/1978    12/1/1977     12/1/1978
Dan Beard (438): Mound Builders Area 1932-1985 (454)            Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Dan Beard (438): Mound Builders Area 1932-1985 (454)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 06           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Mound Builders Area 1932-1985 (454)            American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Mound Builders Area 1932-1985 (454)            Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Mound Builders Area 1932-1985 (454)            American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Dan Beard (438): Mound Builders Area 1932-1985 (454)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220059            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Daniel Boone (414): Daniel Boone (414)                          Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Daniel Boone (414): Daniel Boone (414)                          Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Boone (414): Daniel Boone (414)                          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 82           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Boone (414): Daniel Boone (414)                          American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Boone (414): Daniel Boone (414)                          American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Daniel Boone (414): Daniel Boone (414)                          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220035            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Daniel Webster (330): Daniel Webster (330)                      St. Paul Fire and Marine Insurance Company                Unknown               1/1/1973     1/1/1974      1/1/1973     1/1/1974
Daniel Webster (330): Daniel Webster (330)                      St. Paul Fire and Marine Insurance Company                Unknown               1/1/1974     1/1/1975      1/1/1974     1/1/1975
Daniel Webster (330): Daniel Webster (330)                      St. Paul Fire and Marine Insurance Company                Unknown               1/1/1975     1/1/1976      1/1/1975     1/1/1976
Daniel Webster (330): Daniel Webster (330)                      Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Daniel Webster (330): Daniel Webster (330)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 24           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Webster (330): Daniel Webster (330)                      Commercial Union Assurance Company                        Unknown               1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Webster (330): Daniel Webster (330)                      American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Webster (330): Daniel Webster (330)                      Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Webster (330): Daniel Webster (330)                      American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Daniel Webster (330): Daniel Webster (330)                      Commercial Union Assurance Company                        AB D74-50-09          1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Daniel Webster (330): Daniel Webster (330)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220176         1/1/1977    1/1/1978      1/1/1977     1/1/1978
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
De Soto Area (013): De Soto Area (013)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
De Soto Area (013): De Soto Area (013)                 New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
De Soto Area (013): De Soto Area (013)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 22        1/1/1976    1/1/1977      1/1/1976     1/1/1977
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
De Soto Area (013): De Soto Area (013)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219871         1/1/1977    1/1/1978      1/1/1977     1/1/1978
De Soto Area (013): De Soto Area (013)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
De Soto Area (013): De Soto Area (013)                 Ambassador Insurance Company                              25830              1/1/1977    1/1/1978      1/1/1977     1/1/1978
De Soto Area (013): De Soto Area (013)                 New Hampshire Insurance Company                           GLA 332363         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Del-Mar-Va (081): Del-Mar-Va (081)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Del-Mar-Va (081): Del-Mar-Va (081)                     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Del-Mar-Va (081): Del-Mar-Va (081)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 74        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Del-Mar-Va (081): Del-Mar-Va (081)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Del-Mar-Va (081): Del-Mar-Va (081)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219922         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Del-Mar-Va (081): Del-Mar-Va (081)                     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Denver Area (061): Denver Area 1926- (061)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Denver Area (061): Denver Area 1926- (061)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Denver Area 1926- (061)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 63        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Denver Area 1926- (061)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Denver Area 1926- (061)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Denver Area (061): Denver Area 1926- (061)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219911         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 4 29 75        3/5/1965    3/5/1966      3/5/1965     3/5/1966
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 4 29 75        3/5/1966    3/5/1967      3/5/1966     3/5/1967
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 4 29 75        3/5/1967    3/5/1968      3/5/1967     3/5/1968
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 46921          3/5/1968    3/5/1969      3/5/1968     3/5/1969
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 46921          3/5/1969    3/5/1970      3/5/1969     3/5/1970
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 46921          3/5/1970    3/5/1971      3/5/1970     3/5/1971
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 51399          3/5/1971    3/5/1972      3/5/1971     3/5/1972
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        Unknown            3/5/1971    3/2/1972      3/5/1971     3/2/1972
Denver Area (061): Western Colorado 1942-2019 (064)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      3/2/1973     1/1/1974
Denver Area (061): Western Colorado 1942-2019 (064)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      3/2/1973     1/1/1974
Denver Area (061): Western Colorado 1942-2019 (064)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Denver Area (061): Western Colorado 1942-2019 (064)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Western Colorado 1942-2019 (064)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Western Colorado 1942-2019 (064)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 64        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Western Colorado 1942-2019 (064)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219912         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Denver Area (061): Western Colorado 1942-2019 (064)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Direct Service (800): Canal Zone 1933-1979 (801)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Direct Service (800): Canal Zone 1933-1979 (801)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 61        1/1/1976    1/1/1977      1/1/1976     1/1/1977




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              Current Council: Predecessor Council                                Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                             Start Date1   End Date
Direct Service (800): Canal Zone 1933-1979 (801)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Direct Service (800): Canal Zone 1933-1979 (801)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Direct Service (800): Canal Zone 1933-1979 (801)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Direct Service (800): Canal Zone 1933-1979 (801)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219909         1/1/1977    1/1/1978      1/1/1977     1/1/1978
East Carolina (426): East Carolina (426)                 North River Insurance Company                             Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
East Carolina (426): East Carolina (426)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
East Carolina (426): East Carolina (426)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Carolina (426): East Carolina (426)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 91        1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Carolina (426): East Carolina (426)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Carolina (426): East Carolina (426)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
East Carolina (426): East Carolina (426)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220042         1/1/1977    1/1/1978      1/1/1977     1/1/1978
East Texas Area (585): East Texas Area (585)             U.S. Fire Insurance Company                               GA-41-44-74       5/15/1970   5/15/1971    5/15/1970     5/15/1971
East Texas Area (585): East Texas Area (585)             U.S. Fire Insurance Company                               GA-41-44-74       5/15/1971   5/15/1972    5/15/1971     5/15/1972
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
East Texas Area (585): East Texas Area (585)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Texas Area (585): East Texas Area (585)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 90        1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Texas Area (585): East Texas Area (585)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
East Texas Area (585): East Texas Area (585)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220221         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Erie Shores (460): Toledo Area 1929-1999 (460)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Erie Shores (460): Toledo Area 1929-1999 (460)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 13        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Erie Shores (460): Toledo Area 1929-1999 (460)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Erie Shores (460): Toledo Area 1929-1999 (460)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Erie Shores (460): Toledo Area 1929-1999 (460)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Erie Shores (460): Toledo Area 1929-1999 (460)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220066         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        SBL 4 53 75        2/1/1966    2/1/1967      2/1/1966     2/1/1967
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        SBL 4 53 75        2/1/1967    2/1/1968      2/1/1967     2/1/1968
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        SBL 4 53 75        2/1/1968    2/1/1969      2/1/1968     2/1/1969
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        Unknown            2/1/1969    2/1/1970      2/1/1969     2/1/1970
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        Unknown            2/1/1970    2/1/1971      2/1/1970     2/1/1971
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        Unknown            2/1/1971    2/1/1972      2/1/1971     2/1/1972
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Evangeline Area (212): Evangeline Area (212)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977




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              Current Council: Predecessor Council                                Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                             Start Date1   End Date
Evangeline Area (212): Evangeline Area (212)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 58        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Evangeline Area (212): Evangeline Area (212)             New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Evangeline Area (212): Evangeline Area (212)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220106         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Evangeline Area (212): Evangeline Area (212)             New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Evangeline Area (212): Evangeline Area (212)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Far East (803): Far East (803)                           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Far East (803): Far East (803)                           New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Far East (803): Far East (803)                           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 76        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Far East (803): Far East (803)                           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Far East (803): Far East (803)                           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219924         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Far East (803): Far East (803)                           New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): General Sullivan 1927-1992 (779)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974   11/20/1973      1/1/1974
Five Rivers (375): General Sullivan 1927-1992 (779)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974   11/20/1973      1/1/1974
Five Rivers (375): General Sullivan 1927-1992 (779)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Five Rivers (375): General Sullivan 1927-1992 (779)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): General Sullivan 1927-1992 (779)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 47        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): General Sullivan 1927-1992 (779)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): General Sullivan 1927-1992 (779)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): General Sullivan 1927-1992 (779)      New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): General Sullivan 1927-1992 (779)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): General Sullivan 1927-1992 (779)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220269         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Five Rivers (375): Steuben Area 1931-1991 (402)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 51        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          Insurance Company of North America                        AGP 15 39 33      4/19/1976   4/19/1977    4/19/1976     4/19/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          Fireman’s Fund Insurance Company                          Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Steuben Area 1931-1991 (402)          Fireman's Insurance Company of Newark, NJ                 L6263105           1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Steuben Area 1931-1991 (402)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Steuben Area 1931-1991 (402)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220003         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Travelers Indemnity Company                               Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Travelers Indemnity Company                               Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Travelers Indemnity Company                               Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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                                                                                                                                                             Council       Council
             Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                            Start Date1   End Date
Five Rivers (375): Sullivan Trail 1947-1991 (375)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Sullivan Trail 1947-1991 (375)      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Sullivan Trail 1947-1991 (375)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 55        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Sullivan Trail 1947-1991 (375)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220008         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Sullivan Trail 1947-1991 (375)      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Sullivan Trail 1947-1991 (375)      Hartford Fire Insurance Company                           01 UEC FN2321    10/28/1991    11/8/1992   10/28/1991     11/8/1992
Flint River (095): Flint River (095)                   Insurance Company of North America                        SBL 48843          7/6/1971     7/5/1972      7/6/1971     7/5/1972
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    7/18/1972      1/1/1973
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    7/18/1972      1/1/1973
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Flint River (095): Flint River (095)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 92        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Flint River (095): Flint River (095)                   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Flint River (095): Flint River (095)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219940         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Flint River (095): Flint River (095)                   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
French Creek (532): Colonel Drake 1942-1972 (537)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
French Creek (532): Colonel Drake 1942-1972 (537)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     5/1/1972
French Creek (532): Colonel Drake 1942-1972 (537)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
French Creek (532): Custaloga 1969-1972 (531)          Insurance Company of North America                        SBL 50421        11/29/1968   11/29/1969   11/29/1968    11/29/1969
French Creek (532): Custaloga 1969-1972 (531)          Insurance Company of North America                        SBL 50421        11/29/1969   11/29/1970   11/29/1969    11/29/1970
French Creek (532): Custaloga 1969-1972 (531)          Insurance Company of North America                        SBL 50421        11/29/1970   11/29/1971   11/29/1970    11/29/1971
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     5/1/1972
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      5/1/1972     1/1/1973
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      5/1/1972     1/1/1973
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
French Creek (532): French Creek 1972- (532)           Erie Family Life Insurance Company                        Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
French Creek (532): French Creek 1972- (532)           Erie Insurance Exchange                                   Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
French Creek (532): French Creek 1972- (532)           Erie Insurance Exchange                                   Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
French Creek (532): French Creek 1972- (532)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 35        1/1/1976     1/1/1977      1/1/1976     1/1/1977
French Creek (532): French Creek 1972- (532)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
French Creek (532): French Creek 1972- (532)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
French Creek (532): French Creek 1972- (532)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220090         1/1/1977     1/1/1978      1/1/1977     1/1/1978
French Creek (532): French Creek 1972- (532)           Erie Insurance Exchange                                   Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 4 53 73      11/29/1965   11/29/1966   11/29/1965    11/29/1966
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 4 53 73      11/29/1966   11/29/1967   11/29/1966    11/29/1967
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 4 53 73      11/29/1967   11/29/1968   11/29/1967    11/29/1968
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 50421        11/29/1968   11/29/1969   11/29/1968    11/29/1969
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 50421        11/29/1969   11/29/1970   11/29/1969    11/29/1970
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 50421        11/29/1970   11/29/1971   11/29/1970    11/29/1971




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French Creek (532): Washington Trail 1944-1972 (511)    Insurance Company of North America                        SBL-4-32-87       6/25/1969   1/15/1970    6/25/1969     1/15/1970
French Creek (532): Washington Trail 1944-1972 (511)    Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
French Creek (532): Washington Trail 1944-1972 (511)    Insurance Company of North America                        SBL 4 32 98       1/15/1970   1/15/1971    1/15/1970     1/15/1971
French Creek (532): Washington Trail 1944-1972 (511)    Insurance Company of North America                        SBL 4 32 98       1/15/1971   1/15/1972    1/15/1971     1/15/1972
French Creek (532): Washington Trail 1944-1972 (511)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/16/1972      5/1/1972
French Creek (532): Washington Trail 1944-1972 (511)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/16/1972      1/1/1973
French Creek (532): Washington Trail 1944-1972 (511)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL 3-70-22        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL-4-46-14        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL-4-46-35        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL 4 46 49        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL 44671          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL 44689          6/1/1971    6/1/1972      6/1/1971     6/1/1972
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Gamehaven (299): Gamehaven (299)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 02        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Gamehaven (299): Gamehaven (299)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Gamehaven (299): Gamehaven (299)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220152         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Gamehaven (299): Gamehaven (299)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Burlington County 1925-2013 (690)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Burlington County 1925-2013 (690)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Burlington County 1925-2013 (690)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 45        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Burlington County 1925-2013 (690)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Garden State (690): Burlington County 1925-2013 (690)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220197         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Garden State (690): Burlington County 1925-2013 (690)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        EP 4004433        12/7/1970   12/7/1971    12/7/1970     12/7/1971
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        EP 4004433        12/7/1971   12/7/1972    12/7/1971     12/7/1972
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        EP 4004433        12/7/1972   12/7/1973    12/7/1972     12/7/1973
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        W18-36-37         12/7/1973   12/7/1974    12/7/1973     12/7/1974
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        CP-2067-64         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        CLCP-D12-86-       6/5/1974    6/5/1975      6/5/1974     6/5/1975
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        W18-36-37         12/7/1974   12/7/1975    12/7/1974     12/7/1975
Garden State (690): Camden County 1921-1998 (335)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        CLCPD74-56-39      6/5/1975    6/5/1976      6/5/1975     6/5/1976
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        W18-36-37         12/7/1975   12/7/1976    12/7/1975     12/7/1976
Garden State (690): Camden County 1921-1998 (335)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Camden County 1921-1998 (335)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Camden County 1921-1998 (335)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 44        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        CPD73 47 42        6/5/1976    6/5/1977      6/5/1976     6/5/1977
Garden State (690): Camden County 1921-1998 (335)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220196         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Garden State (690): Camden County 1921-1998 (335)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Garden State (690): Camden County 1921-1998 (335)         Commercial Union Insurance Company                        CP D92 80 56       6/5/1977     6/5/1978      6/5/1977     6/5/1978
Garden State (690): Garden State 2013- (690)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Garden State (690): Garden State 2013- (690)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 29 99        4/1/1965     4/1/1966      4/1/1965     4/1/1966
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 29 99        4/1/1966     4/1/1967      4/1/1966     4/1/1967
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 29 99        4/1/1967     4/1/1968      4/1/1967     4/1/1968
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 69 40        4/1/1968     4/1/1969      4/1/1968     4/1/1969
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 69 40        4/1/1969     4/1/1970      4/1/1969     4/1/1970
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 69 40        4/1/1970     4/1/1971      4/1/1970     4/1/1971
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 5 15 14        4/1/1971     4/1/1972      4/1/1971     4/1/1972
Garden State (690): Southern New Jersey 1967-1990 (334)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Garden State (690): Southern New Jersey 1967-1990 (334)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Garden State (690): Southern New Jersey 1967-1990 (334)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Garden State (690): Southern New Jersey 1967-1990 (334)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Garden State (690): Southern New Jersey 1967-1990 (334)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 41        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Garden State (690): Southern New Jersey 1967-1990 (334)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Garden State (690): Southern New Jersey 1967-1990 (334)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220193         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Garden State (690): Southern New Jersey 1967-1990 (334)   New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      4/1/1972     1/1/1973
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      4/1/1972     1/1/1973
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   715173           12/15/1962   12/15/1963   12/15/1962    12/15/1963
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   715173           12/15/1962   12/15/1963   12/15/1962    12/15/1963
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   716126           12/15/1963   12/15/1964   12/15/1963    12/15/1964
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   717220           12/15/1964   12/15/1965   12/15/1964    12/15/1965
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C718423        12/15/1965   12/15/1966   12/15/1965    12/15/1966
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C718423        12/15/1966   12/15/1967   12/15/1966    12/15/1967
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C718423        12/15/1967   12/15/1968   12/15/1967    12/15/1968
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C807701        12/15/1968   12/15/1969   12/15/1968    12/15/1969
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C807701        12/15/1969   12/15/1970   12/15/1969    12/15/1970
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C807701        12/15/1970   12/15/1971   12/15/1970    12/15/1971
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      3/1/1972     1/1/1973
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      3/1/1972     1/1/1973
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         SU-15069           1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 43        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gateway Area (624): Gateway Area (624)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220259         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gateway Area (624): Gateway Area (624)                    American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                                 Carrier                           Policy Number   Start Date   End Date
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Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        SBL 4 88 14       5/30/1968    5/30/1969    5/30/1968     5/30/1969
Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        SBL 48824         5/30/1969    5/30/1970    5/30/1969     5/30/1970
Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        Unknown           5/30/1970    5/30/1971    5/30/1970     5/30/1971
Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        Unknown           5/30/1971    5/30/1972    5/30/1971     5/30/1972
Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        Unknown           5/30/1972     1/1/1973    5/30/1972      1/1/1973
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Georgia-Carolina (093): Georgia-Carolina (093)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Georgia-Carolina (093): Georgia-Carolina (093)            New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Georgia-Carolina (093): Georgia-Carolina (093)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 90        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Georgia-Carolina (093): Georgia-Carolina (093)            New Hampshire Insurance Company                           GLA 332323         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Georgia-Carolina (093): Georgia-Carolina (093)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Georgia-Carolina (093): Georgia-Carolina (093)            New Hampshire Insurance Company                           SLP 275540         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Georgia-Carolina (093): Georgia-Carolina (093)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219938         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Insurance Company of North America                        SBL 4 15 49       7/10/1969    7/10/1970    7/10/1969     7/10/1970
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Insurance Company of North America                        SBL 4 15 56       7/10/1970    7/10/1971    7/10/1970     7/10/1971
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Insurance Company of North America                        Unknown           7/10/1971    7/10/1972    7/10/1971     7/10/1972
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973   11/16/1972      1/1/1973
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973   11/16/1972      1/1/1973
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Insurance Company of North America                        Unknown           7/10/1972   11/16/1972    7/10/1972    11/16/1972
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Glacier's Edge (620): Four Lakes 1928-2005 (628)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Four Lakes 1928-2005 (628)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 44        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Four Lakes 1928-2005 (628)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220260         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Glacier's Edge (620): Four Lakes 1928-2005 (628)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Glacier's Edge (620): Glacier's Edge 2005- (620)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Glacier's Edge (620): Glacier's Edge 2005- (620)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 45383         4/28/1966    4/28/1967    4/28/1966     4/28/1967
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 45383         4/28/1967    4/28/1968    4/28/1967     4/28/1968
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 45383         4/28/1968    4/28/1969    4/28/1968     4/28/1969
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 50448         4/28/1969    4/28/1970    4/28/1969     4/28/1970
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 50448         4/28/1970    4/28/1971    4/28/1970     4/28/1971
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 50448         4/28/1971    4/28/1972    4/28/1971     4/28/1972
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    4/28/1972      1/1/1973
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    4/28/1972      1/1/1973
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 41        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978




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             Current Council: Predecessor Council                                 Carrier                           Policy Number   Start Date   End Date
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Glacier's Edge (620): Sinnissippi 1966-2005 (626)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220257         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Glacier's Edge (620): Sinnissippi 1966-2005 (626)        New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Buttes Area 1924-1992 (647)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Golden Empire (047): Buttes Area 1924-1992 (647)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 39        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         New Hampshire Insurance Company                           GLA 332361       12/20/1976   12/20/1977   12/20/1976    12/20/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         New Hampshire Insurance Company                           SLP 290281       12/20/1976   12/20/1977   12/20/1976    12/20/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Buttes Area 1924-1992 (647)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219887         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   54 C 990478        7/1/1972     7/1/1973      7/1/1972     7/1/1973
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   54 C 990478        7/1/1973     7/1/1974      7/1/1973     7/1/1974
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   54 C 990478        7/1/1974     7/1/1975      7/1/1974     7/1/1975
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Golden Empire (047): Golden Empire 1937- (047)           New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Golden Empire 1937- (047)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Golden Empire 1937- (047)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 47        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Golden Empire 1937- (047)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219895         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Golden Empire 1937- (047)           New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Golden Empire 1937- (047)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 30        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   New Hampshire Insurance Company                           Unknown            1/1/1977   10/20/1977      1/1/1977   10/20/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219879         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Alameda -2020 (022)              Insurance Company of North America                        SBL 5 11 80        3/2/1969     3/2/1970      3/2/1969     3/2/1970
Golden Gate Area (023): Alameda -2020 (022)              Insurance Company of North America                        SBL 5 11 80        3/2/1970     3/2/1971      3/2/1970     3/2/1971
Golden Gate Area (023): Alameda -2020 (022)              Insurance Company of North America                        SBL 5 11 80        3/2/1971     3/1/1972      3/2/1971     3/1/1972
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      3/2/1972     1/1/1973
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      3/2/1972     1/1/1973
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Alameda -2020 (022)              New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Alameda -2020 (022)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 27        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Alameda -2020 (022)              American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Alameda -2020 (022)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219876         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Alameda -2020 (022)              New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Alameda -2020 (022)              American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           Unknown            6/1/1967     6/1/1968      6/1/1967     6/1/1968
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           Unknown            6/1/1968     6/1/1969      6/1/1968     6/1/1969
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           Unknown            6/1/1969     6/1/1970      6/1/1969     6/1/1970
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           SLP 29 01 82       6/1/1970     6/1/1971      6/1/1970     6/1/1971
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           SLP 29 01 82       6/1/1971     6/1/1972      6/1/1971     6/1/1972
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           SLP 29 01 82       6/1/1972     6/1/1973      6/1/1972     6/1/1973




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Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           UL 53-41-82        1/1/1973    1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           SLP 29-02-40       6/1/1973    6/1/1974      6/1/1973     6/1/1974
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           UL 78-86-53        1/1/1974    1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           SLP 29-02-40       6/1/1974    6/1/1975      6/1/1974     6/1/1975
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           UL 05-09-92        1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           SLP 29-02-40       6/1/1975    6/1/1976      6/1/1975     6/1/1976
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 60        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           SLP 27-56-38       6/1/1976    6/1/1977      6/1/1976     6/1/1977
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219908         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Ambassador Insurance Company                              26094              6/1/1977    5/1/1978      6/1/1977     5/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Jefferson Insurance Company of New York                   GLA 303461         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Jefferson Insurance Company of New York                   GLA 303463         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           GLA 282525         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Golden Gate Area (023): Mount Diablo Silverado 1992-2020 (023)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Mount Diablo Silverado 1992-2020 (023)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo Silverado 1992-2020 (023)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo Silverado 1992-2020 (023)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 41        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219889         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 29 83       4/28/1965   4/28/1966    4/28/1965     4/28/1966
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 29 83       4/28/1966   4/28/1967    4/28/1966     4/28/1967
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 29 83       4/28/1967   4/28/1968    4/28/1967     4/28/1968
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 69 32       4/28/1968   4/28/1969    4/28/1968     4/28/1969
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 69 32       4/28/1969   4/28/1970    4/28/1969     4/28/1970
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 69 32       4/28/1970   4/28/1971    4/28/1970     4/28/1971
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        Unknown           4/28/1971   4/28/1972    4/28/1971     4/28/1972
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/28/1972      1/1/1973
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/28/1972      1/1/1973
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Silverado Area 1928-1992 (038)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 57        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Silverado Area 1928-1992 (038)           New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Silverado Area 1928-1992 (038)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Silverado Area 1928-1992 (038)           New Hampshire Insurance Company                           GLA 332356         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Silverado Area 1928-1992 (038)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219905         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Silverado Area 1928-1992 (038)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Spread (562): Adobe Walls Area 1934-1986 (569)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Spread (562): Adobe Walls Area 1934-1986 (569)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Golden Spread (562): Adobe Walls Area 1934-1986 (569)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 84        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Adobe Walls Area 1934-1986 (569)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Adobe Walls Area 1934-1986 (569)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220215         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Spread (562): Adobe Walls Area 1934-1986 (569)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Spread (562): Llano Estacado 1939-1986 (562)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Spread (562): Llano Estacado 1939-1986 (562)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Llano Estacado 1939-1986 (562)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Llano Estacado 1939-1986 (562)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 71        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Llano Estacado 1939-1986 (562)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Spread (562): Llano Estacado 1939-1986 (562)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220202         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Copper 1962-1977 (009)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974    5/15/1973      1/1/1974
Grand Canyon (010): Copper 1962-1977 (009)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974    5/15/1973      1/1/1974
Grand Canyon (010): Copper 1962-1977 (009)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Canyon (010): Copper 1962-1977 (009)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Copper 1962-1977 (009)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 20        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Copper 1962-1977 (009)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Copper 1962-1977 (009)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Copper 1962-1977 (009)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219869         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 29 93        4/1/1965    4/1/1966      4/1/1965     4/1/1966
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 29 93        4/1/1966    4/1/1967      4/1/1966     4/1/1967
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 29 93        4/1/1967    4/1/1968      4/1/1967     4/1/1968
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 69 31        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 69 31        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 69 31        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        Unknown            4/1/1971    4/1/1972      4/1/1971     4/1/1972
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Grand Canyon 1944-1993 (012)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Grand Canyon 1944-1993 (012)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Grand Canyon 1944-1993 (012)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 18        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Grand Canyon 1944-1993 (012)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Grand Canyon 1944-1993 (012)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219867         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Grand Canyon 1944-1993 (012)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 19        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219868         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   Ambassador Insurance Company                              GLA 282436        2/15/1977   2/15/1978    2/15/1977     2/15/1978
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   New Hampshire Insurance Company                           GLA 282441        2/15/1977   2/15/1978    2/15/1977     2/15/1978
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)   Insurance Company of North America                        SBL 5 15 52        5/7/1971    5/7/1972      5/7/1971     5/7/1972
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/7/1972     1/1/1973
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 31        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220248         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Columbia (614): North Central Washington 1924-1992 (613)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 30        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): North Central Washington 1924-1992 (613)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): North Central Washington 1924-1992 (613)   St. Paul Fire and Marine Insurance Company                584JB6952          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Columbia (614): North Central Washington 1924-1992 (613)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Columbia (614): North Central Washington 1924-1992 (613)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220247         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 29 90        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 29 90        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 29 90        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 69 48        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 69 48        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 69 48        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 51558          6/1/1971    6/1/1972      6/1/1971     6/1/1972
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Tendoy Area 1934-1993 (109)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 06        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Tendoy Area 1934-1993 (109)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Tendoy Area 1934-1993 (109)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Tendoy Area 1934-1993 (109)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219953         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 45400         12/1/1965   12/1/1966    12/1/1965     12/1/1966
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 45400         12/1/1966   12/1/1967    12/1/1966     12/1/1967
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 45400         12/1/1967   12/1/1968    12/1/1967     12/1/1968
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 50432         12/1/1968   12/1/1969    12/1/1968     12/1/1969
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 50432         12/1/1969   12/1/1970    12/1/1969     12/1/1970
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 50432         12/1/1970   12/1/1971    12/1/1970     12/1/1971
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Teton Peaks 1925-1993 (107)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 04        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Teton Peaks 1925-1993 (107)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Teton Peaks 1925-1993 (107)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219951         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Teton Peaks 1925-1993 (107)          Western Casualty & Surety Company                         Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Teton Peaks 1925-1993 (107)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Alaska 1934-1954 (610)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Great Alaska (610): Alaska 1934-1954 (610)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Great Alaska 2006- (610)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Alaska (610): Great Alaska 2006- (610)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Southeast Alaska 1955-2006 (608)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Southeast Alaska 1955-2006 (608)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 17        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Southeast Alaska 1955-2006 (608)    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Southeast Alaska 1955-2006 (608)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219866         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Southeast Alaska 1955-2006 (608)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Southeast Alaska 1955-2006 (608)    New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Alaska (610): Western Alaska 1954-2005 (610)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 15        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Western Alaska 1954-2005 (610)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Western Alaska 1954-2005 (610)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Western Alaska 1954-2005 (610)      New Hampshire Insurance Company                           GLA 282428         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Western Alaska 1954-2005 (610)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219864         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Western Alaska 1954-2005 (610)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Lakes FSC (784): Great Lakes FSC (784)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Lakes FSC (784): Great Lakes FSC (784)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Lakes FSC (784): Great Lakes FSC (784)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Lakes FSC (784): Great Lakes FSC (784)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Rivers (653): Great Rivers 1951- (653)            Insurance Company of North America                        SBL 5 13 03      11/26/1969    1/1/1970   11/26/1969      1/1/1970
Great Rivers (653): Great Rivers 1951- (653)            Columbia Insurance Company                                Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Great Rivers (653): Great Rivers 1951- (653)            Columbia Insurance Company                                Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Great Rivers (653): Great Rivers 1951- (653)            Columbia Insurance Company                                Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Rivers (653): Great Rivers 1951- (653)            St. Paul Fire and Marine Insurance Company                Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Rivers (653): Great Rivers 1951- (653)            St. Paul Fire and Marine Insurance Company                Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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              Current Council: Predecessor Council                                     Carrier                           Policy Number   Start Date   End Date
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Great Rivers (653): Great Rivers 1951- (653)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Rivers (653): Great Rivers 1951- (653)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Rivers (653): Great Rivers 1951- (653)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 12        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Rivers (653): Great Rivers 1951- (653)                  St. Paul Fire and Marine Insurance Company                Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Rivers (653): Great Rivers 1951- (653)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220162         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Rivers (653): Great Rivers 1951- (653)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Rivers (653): Great Rivers 1951- (653)                  St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Smoky Mountain (557): Great Smoky Mountain (557)        Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Great Smoky Mountain (557): Great Smoky Mountain (557)        Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Great Smoky Mountain (557): Great Smoky Mountain (557)        Insurance Company of North America                        Unknown            1/1/1972    4/1/1972      1/1/1972     4/1/1972
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Smoky Mountain (557): Great Smoky Mountain (557)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Smoky Mountain (557): Great Smoky Mountain (557)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 67        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Smoky Mountain (557): Great Smoky Mountain (557)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220289         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Smoky Mountain (557): Great Smoky Mountain (557)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Southwest (412): Great Southwest Area 1976-1982 (412)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Southwest (412): Great Southwest Area 1976-1982 (412)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Southwest (412): Great Southwest Area 1976-1982 (412)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220198         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Southwest (412): Great Southwest Area 1976-1982 (412)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Southwest (412): Kit Carson 1955-1976 (412)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Southwest (412): Kit Carson 1955-1976 (412)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Southwest (412): Kit Carson 1955-1976 (412)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Southwest (412): Kit Carson 1955-1976 (412)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 46        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Trail (433): Great Trail 1971- (433)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 71        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 94        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Great Trail 1971- (433)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220047         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Great Trail 1971- (433)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220121         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        Unknown           3/12/1964   3/12/1965    3/12/1964     3/12/1965
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        Unknown           3/12/1965   3/12/1966    3/12/1965     3/12/1966
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        Unknown           3/12/1966   3/11/1967    3/12/1966     3/11/1967
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        SBL 4 29 61       3/11/1967   3/11/1968    3/11/1967     3/11/1968
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        SBL 4 69 16       3/11/1968   3/11/1969    3/11/1968     3/11/1969
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        SBL 4 69 16       3/11/1969   3/11/1970    3/11/1969     3/11/1970
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        SBL 4 69 16       3/11/1970   3/11/1971    3/11/1970     3/11/1971
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        Unknown           3/11/1971   3/11/1972    3/11/1971     3/11/1972
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/11/1972      1/1/1973
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/11/1972      1/1/1973
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975




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             Current Council: Predecessor Council                                 Carrier                           Policy Number   Start Date   End Date
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Great Trail (433): Mahoning Valley 1927-1993 (466)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Great Trail (433): Mahoning Valley 1927-1993 (466)       Buckeye Union Insurance Company                           Unknown           4/30/1975    4/30/1976    4/30/1975     4/30/1976
Great Trail (433): Mahoning Valley 1927-1993 (466)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Mahoning Valley 1927-1993 (466)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Mahoning Valley 1927-1993 (466)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 15        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Mahoning Valley 1927-1993 (466)       Buckeye Union Insurance Company                           Unknown           4/30/1976    4/30/1977    4/30/1976     4/30/1977
Great Trail (433): Mahoning Valley 1927-1993 (466)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220068         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Mahoning Valley 1927-1993 (466)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Mahoning Valley 1927-1993 (466)       Buckeye Union Insurance Company                           Unknown           4/30/1977    4/30/1978    4/30/1977     4/30/1978
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Northeast Ohio 1929-1993 (463)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 08        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Northeast Ohio 1929-1993 (463)        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Northeast Ohio 1929-1993 (463)        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Northeast Ohio 1929-1993 (463)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220061         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   45 CBP 132079      8/1/1981     8/1/1982      8/1/1981     8/1/1982
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   45 CBP 132079      8/1/1982     8/1/1983      8/1/1982     8/1/1983
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   45 CBP 132079      8/1/1983     8/1/1984      8/1/1983     8/1/1984
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Great Trail (433): Western Reserve 1948-1993 (461)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 14        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Western Reserve 1948-1993 (461)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Western Reserve 1948-1993 (461)       New Hampshire Insurance Company                           Unknown            1/1/1977   11/16/1977      1/1/1977   11/16/1977
Great Trail (433): Western Reserve 1948-1993 (461)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Western Reserve 1948-1993 (461)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220067         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        Unknown            8/1/1966     8/1/1967      8/1/1966     8/1/1967
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        SBL 48816          8/4/1968     8/4/1969      8/4/1968     8/4/1969
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        SBL 2 42 03        8/4/1969     8/4/1970      8/4/1969     8/4/1970
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        Unknown            8/4/1970     8/4/1971      8/4/1970     8/4/1971
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        Unknown            8/4/1971     8/4/1972      8/4/1971     8/4/1972
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    9/16/1972      1/1/1973
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    9/16/1972      1/1/1973
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        Unknown            8/4/1972    9/16/1972      8/4/1972    9/16/1972
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Alabama (001): Birmingham Area 1915-1996 (002)   New Hampshire Insurance Company                           Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Alabama (001): Birmingham Area 1915-1996 (002)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Birmingham Area 1915-1996 (002)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 07        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Birmingham Area 1915-1996 (002)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Birmingham Area 1915-1996 (002)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219858         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Birmingham Area 1915-1996 (002)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Ambassador Insurance Company                              Unknown           1/14/1977    1/14/1978    1/14/1977     1/14/1978




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Greater Alabama (001): Birmingham Area 1915-1996 (002)             New Hampshire Insurance Company                           Unknown           1/14/1977    1/14/1978    1/14/1977     1/14/1978
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1966     1/1/1967      1/1/1966     1/1/1967
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1967     1/1/1968      1/1/1967     1/1/1968
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1968     1/1/1969      1/1/1968     1/1/1969
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1969     1/1/1970      1/1/1969     1/1/1970
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1970     1/1/1971      1/1/1970     1/1/1971
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1971     1/1/1972      1/1/1971     1/1/1972
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Choccolocco 1921-1998 (001)                 American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Choccolocco 1921-1998 (001)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121696           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Choccolocco 1921-1998 (001)                 American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Choccolocco 1921-1998 (001)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219857         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 3 96 65       3/25/1966    3/25/1967    3/25/1966     3/25/1967
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 3 96 65       3/25/1967    3/25/1968    3/25/1967     3/25/1968
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 3 96 65       3/25/1968    3/25/1969    3/25/1968     3/25/1969
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 4 88 22       3/25/1969    3/25/1970    3/25/1969     3/25/1970
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 4 88 22       3/25/1970    3/25/1971    3/25/1970     3/25/1971
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 4 88 22       3/25/1971    3/25/1972    3/25/1971     3/25/1972
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      4/1/1972     1/1/1973
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      4/1/1972     1/1/1973
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 10        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            New Hampshire Insurance Company                           GLA 301317         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219860         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1964    6/11/1965    6/11/1964     6/11/1965
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1964    6/11/1965    6/11/1964     6/11/1965
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1965    6/11/1966    6/11/1965     6/11/1966
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1965    6/11/1966    6/11/1965     6/11/1966
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1966    6/11/1967    6/11/1966     6/11/1967
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1966    6/11/1967    6/11/1966     6/11/1967
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 E 60198          11/19/1969   11/19/1970   11/19/1969    11/19/1970
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1969   11/19/1970   11/19/1969    11/19/1970
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1970   11/19/1971   11/19/1970    11/19/1971
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1970   11/19/1971   11/19/1970    11/19/1971
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1971   11/19/1972   11/19/1971    11/19/1972
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1971   11/19/1972   11/19/1971    11/19/1972
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1972   11/19/1973   11/19/1972    11/19/1973
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1972   11/19/1973   11/19/1972    11/19/1973
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1973   11/19/1974   11/19/1973    11/19/1974
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1973   11/19/1974   11/19/1973    11/19/1974
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1974     1/1/1975   11/19/1974      1/1/1975
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1974     1/1/1975   11/19/1974      1/1/1975
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976




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Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 38        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     New Hampshire Insurance Company                           SLP 27 56 32       4/1/1976    4/1/1977      4/1/1976     4/1/1977
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219886         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     New Hampshire Insurance Company                           Unknown            4/1/1977    1/1/1978      4/1/1977     1/1/1978
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 31        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219880         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            New Hampshire Insurance Company                           GLA 282588         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 43        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219891         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater New York (640): Greater New York 1936-1967 (719)             Indemnity Insurance Company of North America              Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater New York (640): Greater New York 1967- (640)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater New York (640): Greater New York 1967- (640)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater New York (640): Greater New York 1967- (640)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 68        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater New York (640): Greater New York 1967- (640)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater New York (640): Greater New York 1967- (640)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater New York (640): Greater New York 1967- (640)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220021         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater New York, Bronx Borough (641): Greater New York, Bronx
Borough (641)                                                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Bronx Borough (641): Greater New York, Bronx
Borough (641)                                                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Bronx Borough (641): Greater New York, Bronx
Borough (641)                                                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Bronx Borough (641): Greater New York, Bronx
Borough (641)                                                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater New York, Brooklyn Borough (642): Brooklyn 1911-1967
(369)                                                                Insurance Company of North America                        GLP 15 57 72      7/16/1966   7/16/1967    7/16/1966    7/16/1967



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Greater New York, Brooklyn Borough (642): Brooklyn 1911-1967
(369)                                                                  Insurance Company of North America                        GLP 15 57 72      7/16/1967   7/16/1968    7/16/1967    7/16/1968
Greater New York, Brooklyn Borough (642): Brooklyn 1911-1967
(369)                                                                  Insurance Company of North America                        GLP 15 57 72      7/16/1968   7/16/1969    7/16/1968    7/16/1969
Greater New York, Brooklyn Borough (642): Greater New York,
Brooklyn Borough (642)                                                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Brooklyn Borough (642): Greater New York,
Brooklyn Borough (642)                                                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Brooklyn Borough (642): Greater New York,
Brooklyn Borough (642)                                                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Brooklyn Borough (642): Greater New York,
Brooklyn Borough (642)                                                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater New York, Manhattan Borough (643): Greater New York,
Manhattan Borough (643)                                                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Manhattan Borough (643): Greater New York,
Manhattan Borough (643)                                                American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Manhattan Borough (643): Greater New York,
Manhattan Borough (643)                                                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Manhattan Borough (643): Greater New York,
Manhattan Borough (643)                                                American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater New York, Queens Borough (644): Greater New York, Queens
Borough (644)                                                          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Queens Borough (644): Greater New York, Queens
Borough (644)                                                          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Queens Borough (644): Greater New York, Queens
Borough (644)                                                          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Queens Borough (644): Greater New York, Queens
Borough (644)                                                          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater New York, Staten Island Borough (645): Greater New York,
Staten Island Borough (645)                                            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Staten Island Borough (645): Greater New York,
Staten Island Borough (645)                                            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Staten Island Borough (645): Greater New York,
Staten Island Borough (645)                                            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Staten Island Borough (645): Greater New York,
Staten Island Borough (645)                                            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater Niagara Frontier (380): Buffalo Area 1949-1967 (380)           Liberty Mutual Insurance Company                          Unknown            1/1/1958    1/1/1959     1/1/1958     1/1/1959
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Globe Insurance Company                             Unknown            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   CNA                                                       59822227           2/7/1975    2/7/1976     2/7/1975     2/7/1976
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 53        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   CNA                                                       Unknown           2/19/1976   2/19/1977    2/19/1976    2/19/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Globe Insurance Company                             Unknown            4/1/1976    4/1/1977     4/1/1976     4/1/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220005         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Globe Insurance Company                             Unknown            4/1/1977    4/1/1978     4/1/1977     4/1/1978
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Insurance Co. of America                            Unknown            1/1/1981    1/1/1982     1/1/1981     1/1/1982
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Globe Insurance Company                             Unknown            1/1/1982    1/1/1983     1/1/1982     1/1/1983
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)            Insurance Company of North America                        SBL 45390          7/1/1966    7/1/1967     7/1/1966     7/1/1967
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)            Insurance Company of North America                        SBL 45390          7/1/1967    7/1/1968     7/1/1967     7/1/1968
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)            Insurance Company of North America                        SBL 45390          7/1/1968    4/1/1969     7/1/1968     4/1/1969




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Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Insurance Company of North America                        Unknown            4/1/1969    4/1/1970      4/1/1969     4/1/1970
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Insurance Company of North America                        Unknown            4/1/1970    4/1/1971      4/1/1970     4/1/1971
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Insurance Company of North America                        Unknown            4/1/1971    4/1/1972      4/1/1971     4/1/1972
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 17        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219963         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 18        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219964         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   Travelers Indemnity Company                               Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 14        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219960         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   Cincinnati Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 23 73        4/1/1965    4/1/1966      4/1/1965     4/1/1966
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 23 73        4/1/1966    4/1/1967      4/1/1966     4/1/1967
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 23 73        4/1/1967    4/1/1968      4/1/1967     4/1/1968
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 69 33        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 69 33        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 69 33        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 5 15 16        4/1/1971    4/1/1972      4/1/1971     4/1/1972
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        XBC 118599         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      INA Insurance Company of Illinois                         GLP 770115         1/1/1975   10/1/1975      1/1/1975    10/1/1975
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 09        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219956         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 28        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219974         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)      Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)      Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971




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Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Insurance Company of North America                        GLP 429908         4/1/1974    4/1/1975      4/1/1974     4/1/1975
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Insurance Company of North America                        GLP 43 02 89       4/1/1975    4/1/1976      4/1/1975     4/1/1976
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 15        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220166         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Insurance Company of North America                        SBL 51306          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Insurance Company of North America                        SBL 51306          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Insurance Company of North America                        SBL 51306          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 11        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220161         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Insurance Company of North America                        SBL 46156         7/10/1969   7/10/1970    7/10/1969     7/10/1970
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Insurance Company of North America                        SBL 46177         7/10/1970   7/10/1971    7/10/1970     7/10/1971
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Insurance Company of North America                        Unknown           7/10/1971    7/1/1972    7/10/1971      7/1/1972
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 85        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               New Hampshire Insurance Company                           GLA 332345         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219933         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219931         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Insurance Company of North America                        SBL 5 11 90        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Insurance Company of North America                        SBL 5 11 90        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Insurance Company of North America                        SBL 5 11 90        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Hartford Accident and Indemnity Company                   21 CBP 158051      1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Hartford Accident and Indemnity Company                   21 CBP 158051      1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 83        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   New Hampshire Insurance Company                           GLA 282407         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 29 91        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 29 91        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 29 91        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 22        3/1/1968    3/1/1969      3/1/1968     3/1/1969
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 02        3/1/1968    3/1/1969      3/1/1968     3/1/1969
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 22        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 02        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 22        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 02        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 5 15 17        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 49        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220266         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        United States Fidelity and Guaranty Company               1CCA35720          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Wyoming (638): Greater Wyoming 2016- (638)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 56        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219904         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Insurance Company of North America                        SBL 50441         1/25/1969   1/25/1970    1/25/1969     1/25/1970
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Insurance Company of North America                        SBL 50441         1/25/1970   1/25/1971    1/25/1970     1/25/1971
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Insurance Company of North America                        SBL 50441         1/25/1971   1/25/1972    1/25/1971     1/25/1972
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/25/1972      1/1/1973
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/25/1972      1/1/1973
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Greater Yosemite (059): Yosemite Area 1922-1998 (059)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 40        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219888         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   New Hampshire Insurance Company                           GLA 301313         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   New Hampshire Insurance Company                           GLA 332339         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   American Fidelity Company                                 Unknown           6/30/1961    6/30/1962    6/30/1961     6/30/1962
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   American Fidelity & Casualty                              Unknown            1/1/1963     1/1/1964      1/1/1963     1/1/1964
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   New Hampshire Insurance Company                           BSA 600214         5/1/1963    11/1/1963      5/1/1963    11/1/1963
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   New Hampshire Insurance Company                           BSA 600215         5/1/1964    11/1/1964      5/1/1964    11/1/1964
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   American Fidelity Company                                 Unknown           11/1/1964    11/1/1965    11/1/1964     11/1/1965
Green Mountain (592): Green Mountain 1929-1965 (593)    Globe Indemnity Company                                   GLH 955316       11/14/1955   11/14/1956   11/14/1955    11/14/1956
Green Mountain (592): Green Mountain 1929-1965 (593)    Allstate Insurance Company                                19 527 058         1/1/1956     1/1/1957      1/1/1956     1/1/1957
Green Mountain (592): Green Mountain 1929-1965 (593)    New England Insurance Company                             SMC 70 89 26       5/2/1957     5/2/1958      5/2/1957     5/2/1958
Green Mountain (592): Green Mountain 1929-1965 (593)    New England Insurance Company                             SOLT 73 72 50     5/28/1957    5/28/1958    5/28/1957     5/28/1958
Green Mountain (592): Green Mountain 1929-1965 (593)    Globe Indemnity Company                                   GLH 129332       11/14/1957   11/14/1958   11/14/1957    11/14/1958
Green Mountain (592): Green Mountain 1929-1965 (593)    New England Insurance Company                             SMC 800871         5/2/1958     5/2/1959      5/2/1958     5/2/1959
Green Mountain (592): Green Mountain 1929-1965 (593)    New England Insurance Company                             SOLT 803705       5/28/1958    5/28/1959    5/28/1958     5/28/1959
Green Mountain (592): Green Mountain 1929-1965 (593)    Royal Indemnity Company                                   RLH308743         5/28/1959    5/28/1960    5/28/1959     5/28/1960
Green Mountain (592): Green Mountain 1929-1965 (593)    Royal Indemnity Company                                   RLH 313670        5/28/1960    5/28/1961    5/28/1960     5/28/1961
Green Mountain (592): Green Mountain 1929-1965 (593)    Royal Indemnity Company                                   RLH319122         5/28/1961    5/28/1962    5/28/1961     5/28/1962
Green Mountain (592): Green Mountain 1929-1965 (593)    American Fidelity & Casualty                              Unknown            4/1/1962     4/1/1963      4/1/1962     4/1/1963
Green Mountain (592): Green Mountain 1972- (592)        New Hampshire Insurance Company                           Unknown            5/1/1974     5/1/1975      5/1/1974     5/1/1975
Green Mountain (592): Green Mountain 1972- (592)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Green Mountain (592): Green Mountain 1972- (592)        New Hampshire Insurance Company                           Unknown            5/1/1975     5/1/1976      5/1/1975     5/1/1976
Green Mountain (592): Green Mountain 1972- (592)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Green Mountain (592): Green Mountain 1972- (592)        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Green Mountain (592): Green Mountain 1972- (592)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 07        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Green Mountain (592): Green Mountain 1972- (592)        New Hampshire Insurance Company                           Unknown            5/1/1976     5/1/1977      5/1/1976     5/1/1977
Green Mountain (592): Green Mountain 1972- (592)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220229         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Green Mountain (592): Green Mountain 1972- (592)        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Green Mountain (592): Green Mountain 1972- (592)        New Hampshire Insurance Company                           Unknown            5/1/1977     1/1/1978      5/1/1977     1/1/1978
Green Mountain (592): Green Mountain 1972- (592)        General Accident                                          Unknown            1/1/1978     1/1/1979      1/1/1978     1/1/1979
Green Mountain (592): Green Mountain 1972- (592)        General Accident                                          Unknown            1/1/1979     1/1/1980      1/1/1979     1/1/1980
Green Mountain (592): Long Trail 1933-1972 (592)        Aetna Casualty and Surety Company                         09AL134423        6/25/1968    6/25/1969    6/25/1968     6/25/1969
Green Mountain (592): Long Trail 1933-1972 (592)        Aetna Casualty and Surety Company                         09AL137072        6/25/1969    6/25/1970    6/25/1969     6/25/1970
Green Mountain (592): Long Trail 1933-1972 (592)        Aetna Casualty and Surety Company                         9AL141700         6/25/1971    6/25/1972    6/25/1971     6/25/1972
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      7/1/1972     1/1/1973
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      7/1/1972     1/1/1973
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greenwich (067): Greenwich (067)                        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greenwich (067): Greenwich (067)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 68        1/1/1976     1/1/1977      1/1/1976     1/1/1977




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Greenwich (067): Greenwich (067)                     New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greenwich (067): Greenwich (067)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greenwich (067): Greenwich (067)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219916         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greenwich (067): Greenwich (067)                     New Hampshire Insurance Company                           GLA210242          2/4/1977     2/4/1978      2/4/1977     2/4/1978
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gulf Coast (773): Gulf Coast (773)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 81        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Coast (773): Gulf Coast (773)                   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Coast (773): Gulf Coast (773)                   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gulf Coast (773): Gulf Coast (773)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219929         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gulf Stream (085): Gulf Stream 1937-1995 (085)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gulf Stream (085): Gulf Stream 1937-1995 (085)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Stream (085): Gulf Stream 1937-1995 (085)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 86        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Stream (085): Gulf Stream 1937-1995 (085)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Stream (085): Gulf Stream 1937-1995 (085)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gulf Stream (085): Gulf Stream 1937-1995 (085)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219934         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Fire Insurance Company                           39 CBP 109170    10/29/1970   10/29/1971   10/29/1970    10/29/1971
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Fire Insurance Company                           39 CBP 109170    10/29/1971   10/29/1972   10/29/1971    10/29/1972
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Fire Insurance Company                           39 CBP 109170    10/29/1972   10/29/1973   10/29/1972    10/29/1973
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          39 CBP 161610    10/29/1973   10/29/1974   10/29/1973    10/29/1974
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          39 CBP 161610    10/29/1974   10/29/1975   10/29/1974    10/29/1975
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          39 CBP 161610    10/29/1975   10/29/1976   10/29/1975    10/29/1976
Hawk Mountain (528): Hawk Mountain 1970- (528)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 45        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawk Mountain (528): Hawk Mountain 1970- (528)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          44 CBP 448087    10/29/1976   10/29/1977   10/29/1976    10/29/1977
Hawk Mountain (528): Hawk Mountain 1970- (528)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220100         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Hawk Mountain (528): Hawk Mountain 1970- (528)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          44 CBP 448087    10/29/1977   10/29/1978   10/29/1977    10/29/1978
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          44 CBP 448087    10/29/1978   10/29/1979   10/29/1978    10/29/1979
Hawkeye Area (172): Hawkeye Area 1952- (172)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Hawkeye Area (172): Hawkeye Area 1952- (172)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawkeye Area (172): Hawkeye Area 1952- (172)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawkeye Area (172): Hawkeye Area 1952- (172)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 40        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawkeye Area (172): Hawkeye Area 1952- (172)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219986         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Hawkeye Area (172): Hawkeye Area 1952- (172)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Hawkeye Area (172): Hawkeye Area 1952- (172)         Crum & Forster                                            Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Heart of America (307): Heart of America 1974- (307)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of America (307): Heart of America 1974- (307)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of America (307): Heart of America 1974- (307)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of America (307): Heart of America 1974- (307)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 47        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of America (307): Heart of America 1974- (307)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of America (307): Heart of America 1974- (307)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219995         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        Unknown           5/14/1969   5/14/1970    5/14/1969     5/14/1970
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        Unknown           5/14/1970   5/14/1971    5/14/1970     5/14/1971
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        Unknown           5/14/1971   5/14/1972    5/14/1971     5/14/1972
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/16/1972      1/1/1973
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/16/1972      1/1/1973
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        Unknown           5/14/1972   5/16/1972    5/14/1972     5/16/1972
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        GLP 42 40 26      6/18/1974   9/11/1974    6/18/1974     9/11/1974
Heart of New England (230): Mohegan 1955-2018 (254)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of New England (230): Mohegan 1955-2018 (254)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Mohegan 1955-2018 (254)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 85        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Mohegan 1955-2018 (254)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Mohegan 1955-2018 (254)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Mohegan 1955-2018 (254)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220136         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of New England (230): Monadnock 1924-1993 (232)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 73        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Monadnock 1924-1993 (232)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Monadnock 1924-1993 (232)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Monadnock 1924-1993 (232)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220123         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/30/1972      1/1/1973
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/30/1972      1/1/1973
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of New England (230): Nashua Valley -2018 (230)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Nashua Valley -2018 (230)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 76        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Nashua Valley -2018 (230)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220126         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Nashua Valley -2018 (230)      New Hampshire Insurance Company                           SLP 448251         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Nashua Valley -2018 (230)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Heart of Virginia (602)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of Virginia (602): Heart of Virginia (602)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Heart of Virginia (602)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Heart of Virginia (602)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)     Insurance Company of North America                        CGL 20 87 40      5/27/1963   5/26/1964    5/27/1963     5/26/1964
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)     Insurance Company of North America                        Unknown           5/26/1964   5/26/1965    5/26/1964     5/26/1965




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Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1965   5/26/1966    5/26/1965     5/26/1966
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1966   5/26/1967    5/26/1966     5/26/1967
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1967   5/26/1968    5/26/1967     5/26/1968
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1968   5/26/1969    5/26/1968     5/26/1969
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1969    1/1/1970    5/26/1969      1/1/1970
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        GLP 461031        5/27/1973   5/27/1974    5/27/1973     5/27/1974
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Mutual Fire, Marine and Inland Insurance Company (The)    Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        GLP 461031        5/27/1974   5/27/1975    5/27/1974     5/27/1975
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   North River Insurance Company                             Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        GLP 461031        5/27/1975   5/26/1976    5/27/1975     5/26/1976
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 12        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   North River Insurance Company                             Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        GLP 64 71 57      5/27/1976   5/27/1977    5/27/1976     5/27/1977
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   North River Insurance Company                             Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220233         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Hartford Casualty Insurance Company                       14 UUC CZ6576      6/9/1998    6/9/1999      6/9/1998     6/9/1999
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Hartford Casualty Insurance Company                       14 UUC CZ6576      6/9/1999    6/9/2000      6/9/1999     6/9/2000
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Hartford Casualty Insurance Company                       14 UUC CZ6576      6/9/2000    6/9/2001      6/9/2000     6/9/2001
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Hartford Casualty Insurance Company                       14 UUC CZ6576      6/9/2001    6/9/2002      6/9/2001     6/9/2002
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          736 CBP 109458     4/1/1973    4/1/1974      4/1/1973     4/1/1974
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          736 CBP 109458     4/1/1974    4/1/1975      4/1/1974     4/1/1975
Hoosier Trails (145): Hoosier Trails 1973- (145)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          736 CBP 109458     4/1/1975    4/1/1976      4/1/1975     4/1/1976
Hoosier Trails (145): Hoosier Trails 1973- (145)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hoosier Trails (145): Hoosier Trails 1973- (145)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 29        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hoosier Trails (145): Hoosier Trails 1973- (145)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          36 CBP 185443      4/1/1976    4/1/1977      4/1/1976     4/1/1977
Hoosier Trails (145): Hoosier Trails 1973- (145)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hoosier Trails (145): Hoosier Trails 1973- (145)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219975         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          36 CBP 185443      4/1/1977    4/1/1978      4/1/1977     4/1/1978
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          36 CBP 185443      4/1/1978    4/1/1979      4/1/1978     4/1/1979
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL-4-10-75       2/27/1966   2/27/1967    2/27/1966     2/27/1967
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL-4-67-26       2/27/1967   2/27/1968    2/27/1967     2/27/1968
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL 46763         2/27/1969   2/27/1970    2/27/1969     2/27/1970
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL 46763         2/27/1970   2/27/1971    2/27/1970     2/27/1971
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL 4 67 96       2/27/1971   2/27/1972    2/27/1971     2/27/1972
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 29 88        5/1/1965    5/1/1966      5/1/1965     5/1/1966
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 29 88        5/1/1966    5/1/1967      5/1/1966     5/1/1967
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 29 88        5/1/1967    5/1/1968      5/1/1967     5/1/1968
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 69 43        5/1/1968    5/1/1969      5/1/1968     5/1/1969
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 69 43        5/1/1969    5/1/1970      5/1/1969     5/1/1970
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 69 43        5/1/1970    5/1/1971      5/1/1970     5/1/1971
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 51537          5/1/1971    5/1/1972      5/1/1971     5/1/1972
Housatonic (069): Housatonic (069)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Housatonic (069): Housatonic (069)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973




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Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Housatonic (069): Housatonic (069)                     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Housatonic (069): Housatonic (069)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 67        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Housatonic (069): Housatonic (069)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219915         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Housatonic (069): Housatonic (069)                     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        GAL-40332         3/24/1968   3/24/1969    3/24/1968     3/24/1969
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        GAL-8-46-50       3/24/1969   3/24/1970    3/24/1969     3/24/1970
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        GAL-8-61-59       3/24/1970   3/24/1971    3/24/1970     3/24/1971
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        Unknown           3/24/1971   3/24/1972    3/24/1971     3/24/1972
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        Unknown           3/24/1972   3/24/1973    3/24/1972     3/24/1973
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        Unknown           3/24/1973   3/24/1974    3/24/1973     3/24/1974
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        Unknown           3/24/1974    1/1/1975    3/24/1974      1/1/1975
Hudson Valley (374): Dutchess County 1919-1996 (374)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Dutchess County 1919-1996 (374)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Dutchess County 1919-1996 (374)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 61        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Dutchess County 1919-1996 (374)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Dutchess County 1919-1996 (374)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220014         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Dutchess County 1919-1996 (374)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        XBC 83413         6/27/1973   6/27/1974    6/27/1973     6/27/1974
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        Unknown           6/27/1973   6/27/1974    6/27/1973     6/27/1974
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        Unknown           6/27/1974    1/1/1975    6/27/1974      1/1/1975
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        XBC 83413         6/27/1974   6/27/1975    6/27/1974     6/27/1975
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        XBC 83413         6/27/1975   6/27/1976    6/27/1975     6/27/1976
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 67        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220020         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973   12/16/1972      1/1/1973
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973   12/16/1972      1/1/1973
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Hudson Valley (374): Rockland County 1924-1996 (683)   Fireman’s Fund Insurance Company                          L6644883           1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Rockland County 1924-1996 (683)   Fireman’s Fund Insurance Company                          LX2667007          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Rockland County 1924-1996 (683)   Fireman’s Fund Insurance Company                          Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Rockland County 1924-1996 (683)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 75        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Rockland County 1924-1996 (683)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Rockland County 1924-1996 (683)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220028         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   New Hampshire Insurance Company                           GLA 282494        5/10/1977   5/10/1978    5/10/1977     5/10/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   New Hampshire Insurance Company                           SLP 275625        5/20/1977   5/20/1978    5/20/1977     5/20/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   New Hampshire Insurance Company                           GLA 282494        5/10/1978   5/20/1978    5/10/1978     5/20/1978




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Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SBL 4 78 99        6/1/1967   5/31/1968      6/1/1967    5/31/1968
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SBL 47934          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SBL 52104          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SBL 52123          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SB 52145           6/1/1971    6/1/1972      6/1/1971     6/1/1972
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 12 73 95       6/1/1972   12/1/1972      6/1/1972    12/1/1972
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        XBC 10 19 73      12/1/1972    6/1/1973    12/1/1972      6/1/1973
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 12 73 95      12/1/1972    6/1/1973    12/1/1972      6/1/1973
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 21 38 79       6/1/1973    6/1/1974      6/1/1973     6/1/1974
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        XBC 10 20 50       6/1/1973    6/1/1974      6/1/1973     6/1/1974
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        XBC 10 21 77       6/1/1974    6/1/1975      6/1/1974     6/1/1975
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 21 50 78       6/1/1974    6/1/1975      6/1/1974     6/1/1975
Illowa (133): Illowa 1967- (133)                              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 32 96 17       6/1/1975    6/1/1976      6/1/1975     6/1/1976
Illowa (133): Illowa 1967- (133)                              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Illowa 1967- (133)                              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 38        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Illowa 1967- (133)                              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 34 36 68       6/1/1976    6/1/1977      6/1/1976     6/1/1977
Illowa (133): Illowa 1967- (133)                              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Illowa 1967- (133)                              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219984         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 29 95       3/25/1965   3/25/1966    3/25/1965     3/25/1966
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 29 95       3/25/1966   3/25/1967    3/25/1966     3/25/1967
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 29 95       3/25/1967   3/25/1968    3/25/1967     3/25/1968
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 69 13       3/25/1968   3/25/1969    3/25/1968     3/25/1969
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 69 13       3/25/1969   3/25/1970    3/25/1969     3/25/1970
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 69 13       3/25/1970   3/25/1971    3/25/1970     3/25/1971
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 5 14 95       3/25/1971   3/25/1972    3/25/1971     3/25/1972
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/25/1972      1/1/1973
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/25/1972      1/1/1973
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Illowa (133): Prairie 1941-1993 (125)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 15        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Prairie 1941-1993 (125)                         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Prairie 1941-1993 (125)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219961         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Prairie 1941-1993 (125)                         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Sac-Fox 1959-1967 (134)                         Insurance Company of North America                        ABL 2 49 69        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Illowa (133): Sac-Fox 1959-1967 (134)                         Insurance Company of North America                        SBL-2-50-18        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Illowa (133): Sac-Fox 1959-1967 (134)                         Insurance Company of North America                        SBL-2-50-18        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977




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                                                                                                                                                                   Council       Council
              Current Council: Predecessor Council                                     Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                  Start Date1   End Date
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 22        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220079         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Nations (488): Indian Nations 1957- (488)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Indian Nations (488): Indian Nations 1957- (488)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Indian Nations 1957- (488)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Indian Nations 1957- (488)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Indian Nations 1957- (488)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220078         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Nations (488): Indian Nations 1957- (488)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Indian Waters (553): Central South Carolina 1929-1978 (553)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Waters (553): Central South Carolina 1929-1978 (553)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 57        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Waters (553): Central South Carolina 1929-1978 (553)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Waters (553): Central South Carolina 1929-1978 (553)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220279         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 4 53 57       6/21/1965   6/21/1966    6/21/1965     6/21/1966
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 4 53 57       6/21/1966   6/21/1967    6/21/1966     6/21/1967
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 4 53 57       6/21/1967   6/20/1968    6/21/1967     6/20/1968
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 50408         6/21/1968   6/21/1969    6/21/1968     6/21/1969
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 50408         6/21/1969   6/21/1970    6/21/1969     6/21/1970
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 50408         6/21/1970   6/21/1971    6/21/1970     6/21/1971
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 51572         6/21/1971   6/21/1972    6/21/1971     6/21/1972
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/21/1972      1/1/1973
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 03        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219950         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Inland Empire 1931-1987 (611)         Indemnity Insurance Company of North America              Unknown           6/30/1961   6/30/1962    6/30/1961     6/30/1962
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P100-747          6/10/1967   6/10/1968    6/10/1967     6/10/1968
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC-24884         3/14/1968   3/14/1969    3/14/1968     3/14/1969
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P100-747          6/10/1968   6/10/1969    6/10/1968     6/10/1969
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC-24884         3/14/1969   3/14/1970    3/14/1969     3/14/1970
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P100-747          6/10/1969   6/10/1970    6/10/1969     6/10/1970
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC-24884         3/14/1970   3/14/1971    3/14/1970     3/14/1971
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P101 760          6/10/1970   6/10/1971    6/10/1970     6/10/1971
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P101 760          6/10/1971   6/10/1972    6/10/1971     6/10/1972
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC 8 85 08       6/10/1971   6/10/1972    6/10/1971     6/10/1972
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P101 760          6/10/1972   6/10/1973    6/10/1972     6/10/1973
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC 8 89 86       6/10/1972   5/29/1973    6/10/1972     5/29/1973
Inland Northwest (611): Inland Empire 1931-1987 (611)         St. Paul Fire and Marine Insurance Company                Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975




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                                                                                                                                                             Council       Council
              Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                            Start Date1   End Date
Inland Northwest (611): Inland Empire 1931-1987 (611)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Inland Northwest (611): Inland Empire 1931-1987 (611)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Inland Northwest (611): Inland Empire 1931-1987 (611)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Inland Empire 1931-1987 (611)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Inland Empire 1931-1987 (611)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Inland Empire 1931-1987 (611)   St. Paul Fire and Marine Insurance Company                Unknown            4/3/1976    4/3/1977      4/3/1976     4/3/1977
Inland Northwest (611): Inland Empire 1931-1987 (611)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220244         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Inland Empire 1931-1987 (611)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Inland Empire 1931-1987 (611)   St. Paul Fire and Marine Insurance Company                Unknown            4/3/1977    4/3/1978      4/3/1977     4/3/1978
Inland Northwest (611): Inland Empire 1931-1987 (611)   St. Paul Fire and Marine Insurance Company                Unknown            4/3/1978    4/3/1979      4/3/1978     4/3/1979
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 05        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219952         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Genesee 1925-1994 (367)           Insurance Company of North America                        XBC 81983         11/1/1973   11/1/1974    11/1/1973     11/1/1974
Iroquois Trail (376): Genesee 1925-1994 (367)           Insurance Company of North America                        XBC 81983         11/1/1974   11/1/1975    11/1/1974     11/1/1975
Iroquois Trail (376): Genesee 1925-1994 (367)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Iroquois Trail (376): Genesee 1925-1994 (367)           Insurance Company of North America                        XBC 81983         11/1/1975    1/1/1976    11/1/1975      1/1/1976
Iroquois Trail (376): Genesee 1925-1994 (367)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Genesee 1925-1994 (367)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 50        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Genesee 1925-1994 (367)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Genesee 1925-1994 (367)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Genesee 1925-1994 (367)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220002         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   32 C 715130        1/1/1975    1/1/1976      1/1/1975     1/1/1976
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   32 HU 360257      3/10/1975    4/8/1975    3/10/1975      4/8/1975
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   32 HU 360257       4/8/1975    1/1/1976      4/8/1975     1/1/1976
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 64        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220017         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   32C719701          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Istrouma Area (211): Istrouma Area (211)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 57        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Istrouma Area (211): Istrouma Area (211)                American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Istrouma Area (211): Istrouma Area (211)                American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Istrouma Area (211): Istrouma Area (211)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1220105         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL-2-80-78       11/1/1966   11/1/1967    11/1/1966     11/1/1967




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Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL-2-80-83       11/1/1967   11/1/1968    11/1/1967     11/1/1968
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL 28094         11/1/1968   11/1/1969    11/1/1968     11/1/1969
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL 50855         11/1/1969   11/1/1970    11/1/1969     11/1/1970
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL 50861         11/1/1970   11/1/1971    11/1/1970     11/1/1971
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Jayhawk Area (197): Jayhawk Area (197)                  Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Jayhawk Area (197): Jayhawk Area (197)                  Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Jayhawk Area (197): Jayhawk Area (197)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Jayhawk Area (197): Jayhawk Area (197)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jayhawk Area (197): Jayhawk Area (197)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jayhawk Area (197): Jayhawk Area (197)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 49        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jayhawk Area (197): Jayhawk Area (197)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219997         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jayhawk Area (197): Jayhawk Area (197)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1978    1/1/1979      1/1/1978     1/1/1979
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1979    1/1/1980      1/1/1979     1/1/1980
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Insurance Company of North America                        SBL 50022          5/6/1970    5/6/1971      5/6/1970     5/6/1971
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Insurance Company of North America                        SBL 50088          5/6/1971    5/6/1972      5/6/1971     5/6/1972
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/5/1972     1/1/1973
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/5/1972     1/1/1973
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Jersey Shore (341): Atlantic Area 1926-1992 (331)       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Atlantic Area 1926-1992 (331)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Atlantic Area 1926-1992 (331)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Ambassador Insurance Company                              GLA 332372         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Atlantic Area 1926-1992 (331)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220177         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Atlantic Area 1926-1992 (331)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Ambassador Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Ocean County 1940-1993 (341)        Insurance Company of North America                        SBL 50087         5/11/1971   5/11/1972    5/11/1971     5/11/1972
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/11/1972      1/1/1973
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/11/1972      1/1/1973
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Ocean County 1940-1993 (341)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 38        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Ocean County 1940-1993 (341)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Ocean County 1940-1993 (341)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Ocean County 1940-1993 (341)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220189         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Juniata Valley (497): Juniata Valley (497)              Insurance Company of North America                        SBL 45396         2/22/1967   2/22/1968    2/22/1967     2/22/1968




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Juniata Valley (497): Juniata Valley (497)             Insurance Company of North America                        SBL 45396         2/22/1968    2/22/1969    2/22/1968     2/22/1969
Juniata Valley (497): Juniata Valley (497)             Insurance Company of North America                        SBL 45396         2/22/1969    2/22/1970    2/22/1969     2/22/1970
Juniata Valley (497): Juniata Valley (497)             Insurance Company of North America                        Unknown           2/22/1970    2/22/1971    2/22/1970     2/22/1971
Juniata Valley (497): Juniata Valley (497)             Insurance Company of North America                        Unknown           2/22/1971    2/22/1972    2/22/1971     2/22/1972
Juniata Valley (497): Juniata Valley (497)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Juniata Valley (497): Juniata Valley (497)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 40        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Juniata Valley (497): Juniata Valley (497)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Juniata Valley (497): Juniata Valley (497)             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Juniata Valley (497): Juniata Valley (497)             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Juniata Valley (497): Juniata Valley (497)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220095         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Katahdin Area (216): Katahdin Area 1929-1996 (216)     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Katahdin Area (216): Katahdin Area 1929-1996 (216)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 63        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Katahdin Area (216): Katahdin Area 1929-1996 (216)     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Katahdin Area (216): Katahdin Area 1929-1996 (216)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220111         1/1/1977     1/1/1978      1/1/1977     1/1/1978
La Salle (165): Northern Indiana 1973-1991 (165)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
La Salle (165): Northern Indiana 1973-1991 (165)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 36        1/1/1976     1/1/1977      1/1/1976     1/1/1977
La Salle (165): Northern Indiana 1973-1991 (165)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
La Salle (165): Northern Indiana 1973-1991 (165)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
La Salle (165): Northern Indiana 1973-1991 (165)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219982         1/1/1977     1/1/1978      1/1/1977     1/1/1978
La Salle (165): Northern Indiana 1973-1991 (165)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 4 53 65       7/15/1965    7/15/1966    7/15/1965     7/15/1966
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 4 53 65       7/15/1966    7/15/1967    7/15/1966     7/15/1967
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 4 53 65       7/15/1967    7/15/1968    7/15/1967     7/15/1968
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 5 04 14       7/15/1968    7/15/1969    7/15/1968     7/15/1969
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL-4-67-66      12/29/1968   12/29/1969   12/29/1968    12/29/1969
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 5 04 14       7/15/1969    7/15/1970    7/15/1969     7/15/1970
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        Unknown          12/29/1969   12/29/1970   12/29/1969    12/29/1970
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 5 04 14       7/15/1970    7/15/1971    7/15/1970     7/15/1971
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        Unknown          12/29/1970   12/29/1971   12/29/1970    12/29/1971
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        Unknown          12/29/1971   12/29/1972   12/29/1971    12/29/1972
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL-4-67-21       2/26/1967    2/26/1968    2/26/1967     2/26/1968
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL-4-67-50       2/26/1968    2/26/1969    2/26/1968     2/26/1969
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL 50451         2/26/1969    2/26/1970    2/26/1969     2/26/1970
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL 50451         2/26/1970    2/26/1971    2/26/1970     2/26/1971
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL 50451         2/26/1971    2/26/1972    2/26/1971     2/26/1972
La Salle (165): Pottawattomie 1926-1972 (731)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    2/26/1972     2/26/1972
La Salle (165): Pottawattomie 1926-1972 (731)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    2/26/1972     2/26/1972
Lake Erie (440): Firelands Area 1925-1994 (458)        American States Insurance Company                         CL 220-020         1/1/1970     1/1/1971      1/1/1970     1/1/1971
Lake Erie (440): Firelands Area 1925-1994 (458)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      4/1/1972     1/1/1973
Lake Erie (440): Firelands Area 1925-1994 (458)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      4/1/1972     1/1/1973
Lake Erie (440): Firelands Area 1925-1994 (458)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lake Erie (440): Firelands Area 1925-1994 (458)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974




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Lake Erie (440): Firelands Area 1925-1994 (458)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Firelands Area 1925-1994 (458)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Firelands Area 1925-1994 (458)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Lake Erie (440): Firelands Area 1925-1994 (458)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Firelands Area 1925-1994 (458)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 10        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Firelands Area 1925-1994 (458)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Firelands Area 1925-1994 (458)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Firelands Area 1925-1994 (458)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220063         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1947    1/1/1948      1/1/1947     1/1/1948
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1948    1/1/1949      1/1/1948     1/1/1949
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1949    1/1/1950      1/1/1949     1/1/1950
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1950    1/1/1951      1/1/1950     1/1/1951
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1951    1/1/1952      1/1/1951     1/1/1952
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1952    1/1/1953      1/1/1952     1/1/1953
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1953    1/1/1954      1/1/1953     1/1/1954
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1954    1/1/1955      1/1/1954     1/1/1955
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1955    1/1/1956      1/1/1955     1/1/1956
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1956    1/1/1957      1/1/1956     1/1/1957
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        ALB 46445         6/28/1967   6/27/1968    6/28/1967     6/27/1968
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        ALB 46445         6/28/1968   6/28/1969    6/28/1968     6/28/1969
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        ALB 46445         6/28/1969   6/28/1970    6/28/1969     6/28/1970
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        SBL 51942         6/28/1970   6/28/1971    6/28/1970     6/28/1971
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        SBL 51942         6/28/1971   6/27/1972    6/28/1971     6/27/1972
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        SBL 51942         6/28/1972   6/28/1973    6/28/1972     6/28/1973
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown           6/28/1973   6/28/1974    6/28/1973     6/28/1974
Lake Erie (440): Greater Cleveland -2017 (440)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Lake Erie (440): Greater Cleveland -2017 (440)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 98        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Greater Cleveland -2017 (440)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Greater Cleveland -2017 (440)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Greater Cleveland -2017 (440)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220051         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Greater Cleveland -2017 (440)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974    1/31/1973      1/1/1974
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Harding Area 1926-1994 (443)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 05        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Harding Area 1926-1994 (443)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Harding Area 1926-1994 (443)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220058         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Harding Area 1926-1994 (443)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL-4-64-52        1/22/1967    1/22/1968    1/22/1967     1/22/1968
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL-4-64-74        1/22/1968    1/22/1969    1/22/1968     1/22/1969
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL-5-19-01        1/22/1969    1/22/1970    1/22/1969     1/22/1970
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL 5 19 33        1/22/1970    1/22/1971    1/22/1970     1/22/1971
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        XUA 37 25          1/22/1971    1/22/1972    1/22/1971     1/22/1972
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL 5 19 58        1/22/1971    1/22/1972    1/22/1971     1/22/1972
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10HUA43302          1/1/1972     1/1/1973    1/22/1972      1/1/1973
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43303           1/1/1972     1/1/1973    1/22/1972      1/1/1973
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43303           1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43329           1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 04         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220057          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Buckeye Union Insurance Company                           CBP C6051512-92    1/22/1992    1/22/1993    1/22/1992     1/22/1993
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Continental Insurance Company                             CBP C6051512-93    1/22/1993    1/22/1994    1/22/1993     1/22/1994
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Buckeye Union Insurance Company                           CBP C6051512-95    1/22/1994    1/22/1995    1/22/1994     1/22/1995
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Buckeye Union Insurance Company                           CBP C6051512-96    1/22/1995    1/22/1996    1/22/1995     1/22/1996
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Continental Insurance Company                             CBP C6051512       1/22/1996    1/22/1997    1/22/1996     1/22/1997
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Insurance Company of North America                        SBL 51318          2/17/1970    2/17/1971    2/17/1970     2/17/1971
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Insurance Company of North America                        SBL 51318          2/17/1971    2/17/1972    2/17/1971     2/17/1972
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Insurance Company of North America                        SBL 51318          2/17/1972    2/17/1973    2/17/1972     2/17/1973
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   New Hampshire Insurance Company                           Unknown             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 22         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220174          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   New Hampshire Insurance Company                           GLA 332393          2/1/1977     2/1/1978      2/1/1977     2/1/1978
Last Frontier (480): Black Beaver 1930-1996 (471)        Hartford Accident and Indemnity Company                   10CA43303           1/1/1973     1/1/1974    5/14/1973      1/1/1974
Last Frontier (480): Black Beaver 1930-1996 (471)        Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973     1/1/1974    5/14/1973      1/1/1974
Last Frontier (480): Black Beaver 1930-1996 (471)        U.S. Fire Insurance Company                               DCL 72 60 41      12/31/1974   12/31/1975   12/31/1974    12/31/1975
Last Frontier (480): Black Beaver 1930-1996 (471)        Westchester Fire Insurance Company                        Unknown           12/31/1974   12/31/1975   12/31/1974    12/31/1975
Last Frontier (480): Black Beaver 1930-1996 (471)        Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Last Frontier (480): Black Beaver 1930-1996 (471)        Westchester Fire Insurance Company                        Unknown           12/31/1975   12/30/1976   12/31/1975    12/30/1976
Last Frontier (480): Black Beaver 1930-1996 (471)        U.S. Fire Insurance Company                               DCL 72 60 41      12/31/1975   12/31/1976   12/31/1975    12/31/1976
Last Frontier (480): Black Beaver 1930-1996 (471)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 21         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        New Hampshire Insurance Company                           Unknown             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        Westchester Fire Insurance Company                        Unknown           12/31/1976   12/31/1977   12/31/1976    12/31/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        U.S. Fire Insurance Company                               DCL 72 60 41      12/31/1976   12/31/1977   12/31/1976    12/31/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220075          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Last Frontier (480): Black Beaver 1930-1996 (471)        American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Last Frontier (480): Last Frontier 1939- (480)           Insurance Company of North America                        Unknown             1/1/1964     1/1/1965      1/1/1964     1/1/1965
Last Frontier (480): Last Frontier 1939- (480)           Insurance Company of North America                        Unknown             1/1/1965     1/1/1966      1/1/1965     1/1/1966
Last Frontier (480): Last Frontier 1939- (480)           Insurance Company of North America                        Unknown             1/1/1966     1/1/1967      1/1/1966     1/1/1967




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Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1967    1/1/1968      1/1/1967     1/1/1968
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1968    1/1/1969      1/1/1968     1/1/1969
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1969    1/1/1970      1/1/1969     1/1/1970
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1970    1/1/1971      1/1/1970     1/1/1971
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1971    1/1/1972      1/1/1971     1/1/1972
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1972    1/1/1973      1/1/1972     1/1/1973
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1973    1/1/1974      1/1/1973     1/1/1974
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1974    1/1/1975      1/1/1974     1/1/1975
Last Frontier (480): Last Frontier 1939- (480)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 23           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Last Frontier 1939- (480)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220076            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Allegheny 1921-1967 (527)          Insurance Company of North America                        SBL 43224             7/1/1967    1/1/1968      7/1/1967     1/1/1968
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        SBL 4 32 55           1/1/1968    1/1/1969      1/1/1968     1/1/1969
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        SBL43276              1/1/1969    1/1/1970      1/1/1969     1/1/1970
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        SBL 43295             1/1/1970    1/1/1971      1/1/1970     1/1/1971
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        SBL 52313             1/1/1971    1/1/1972      1/1/1971     1/1/1972
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        GAL120157             1/1/1972    1/1/1973      1/1/1972     1/1/1973
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        GLP 40 87 78          1/1/1973   5/31/1973      1/1/1973    5/31/1973
                                                                                                                     650-668A711-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND                   1/1/1973    1/1/1974     1/1/1973     1/1/1974
                                                                                                                     650-668A711-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND                   1/1/1974    1/1/1975     1/1/1974     1/1/1975
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               CUP-950A149-4         1/1/1974    1/1/1975     1/1/1974     1/1/1975
                                                                                                                     650    951A373-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND-75                1/1/1975    1/1/1976     1/1/1975     1/1/1976
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               CUP-950A149-5         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 43           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977     1/1/1976     1/1/1977
                                                                                                                     650    951A373-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND-76                1/1/1976    1/1/1977     1/1/1976     1/1/1977
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978     1/1/1977     1/1/1978
                                                                                                                     650-951A373-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND-77                1/1/1977    1/1/1978     1/1/1977     1/1/1978
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220098            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 29 60           3/1/1965    3/1/1966     3/1/1965     3/1/1966
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 29 60           3/1/1966    3/1/1967     3/1/1966     3/1/1967
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 29 60           3/1/1967    3/1/1968     3/1/1967     3/1/1968
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 69 20           3/1/1968    3/1/1969     3/1/1968     3/1/1969
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 69 20           3/1/1969    3/1/1970     3/1/1969     3/1/1970
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 46910             3/1/1970    3/1/1971     3/1/1970     3/1/1971
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 69 20           3/1/1970    3/1/1971     3/1/1970     3/1/1971
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 51496             3/1/1971    3/1/1972     3/1/1971     3/1/1972
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        SBL-4-32-15           1/1/1967    1/1/1968     1/1/1967     1/1/1968
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        SBL 4 32 56           1/1/1968    1/1/1969     1/1/1968     1/1/1969
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        SBL 4 32 78           1/1/1969    1/1/1970     1/1/1969     1/1/1970
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        SBL 52311             1/1/1971    1/1/1972     1/1/1971     1/1/1972
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        GAL 12 01 58          1/1/1972    1/1/1973     1/1/1972     1/1/1973
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                        GAL 11 71 47          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                        GLP 408779            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                         XBC 8 63 64          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                        GAL 20 60 95          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                        XBC 110662            1/1/1974    1/1/1975     1/1/1974     1/1/1975



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Laurel Highlands (527): East Valley Area 1973-1993 (530)     Insurance Company of North America                        GAL 20 63 77       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): East Valley Area 1973-1993 (530)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): East Valley Area 1973-1993 (530)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): East Valley Area 1973-1993 (530)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 41        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): East Valley Area 1973-1993 (530)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): East Valley Area 1973-1993 (530)     Insurance Company of North America                        GAL 32 85 17       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): East Valley Area 1973-1993 (530)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): East Valley Area 1973-1993 (530)     Insurance Company of North America                        GAL 33 71 19       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): East Valley Area 1973-1993 (530)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220096         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Monongahela Valley 1952-1971 (516)   Insurance Company of North America                        SBL-4-32-57        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Laurel Highlands (527): Monongahela Valley 1952-1971 (516)   Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Laurel Highlands (527): Monongahela Valley 1952-1971 (516)   Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Laurel Highlands (527): Monongahela Valley 1952-1971 (516)   Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Laurel Highlands (527): Mon-Yough 1971-1973 (523)            Insurance Company of North America                        GAL 12 01 59       1/1/1972    1/1/1973      1/1/1972     1/1/1973
Laurel Highlands (527): Nemacolin Trails 1964-1967 (720)     Insurance Company of North America                        SBL 45382          4/1/1966    4/1/1967      4/1/1966     4/1/1967
Laurel Highlands (527): Nemacolin Trails 1964-1967 (720)     Insurance Company of North America                        SBL 45382          4/1/1967   6/15/1967      4/1/1967    6/15/1967
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Insurance Company of North America                        SBL 5 15 22       2/16/1971   2/16/1972    2/16/1971     2/16/1972
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/16/1972      1/1/1973
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    2/16/1972      1/1/1973
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         National Surety Corporation                               Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 52        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220274         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 109015      6/1/1972    6/1/1973      6/1/1972     6/1/1973
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 109015      6/1/1973    6/1/1974      6/1/1973     6/1/1974
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 109015      6/1/1974    6/1/1975      6/1/1974     6/1/1975
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 115715      6/1/1975    6/1/1976      6/1/1975     6/1/1976
Laurel Highlands (527): Potomac 1938-2014 (757)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Potomac 1938-2014 (757)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 66        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 115715      6/1/1976    6/1/1977      6/1/1976     6/1/1977
Laurel Highlands (527): Potomac 1938-2014 (757)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220114         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Potomac 1938-2014 (757)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 115715      6/1/1977    6/1/1978      6/1/1977     6/1/1978
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975




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Leatherstocking (400): General Herkimer -2001 (400)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Leatherstocking (400): General Herkimer -2001 (400)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): General Herkimer -2001 (400)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): General Herkimer -2001 (400)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 60        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): General Herkimer -2001 (400)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): General Herkimer -2001 (400)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220013         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Iroquois 1969-1981 (395)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Leatherstocking (400): Iroquois 1969-1981 (395)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Iroquois 1969-1981 (395)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 72        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Iroquois 1969-1981 (395)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Iroquois 1969-1981 (395)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Iroquois 1969-1981 (395)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220025         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Leatherstocking (400): Otschodela 1927-2016 (393)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 69        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Otschodela 1927-2016 (393)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Otschodela 1927-2016 (393)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220022         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Otschodela 1927-2016 (393)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        GA048921           1/1/1967    1/1/1968      1/1/1967     1/1/1968
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 77        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220030         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL xxxx6          3/1/1967    3/1/1968      3/1/1967     3/1/1968
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL 44476          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL 5 11 78        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL 5 11 78        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL 5 11 78        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): Audubon 1952-1994 (200)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 53        1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Lincoln Heritage (205): Audubon 1952-1994 (200)                    American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Audubon 1952-1994 (200)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Audubon 1952-1994 (200)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220101         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Audubon 1952-1994 (200)                    American Home Assurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Audubon 1952-1994 (200)                    American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44415          5/7/1965     5/7/1966      5/7/1965     5/7/1966
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44415          5/7/1966     5/7/1967      5/7/1966     5/7/1967
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44415          5/7/1967     5/7/1968      5/7/1967     5/7/1968
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44478          5/7/1968     5/7/1969      5/7/1968     5/7/1969
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44478          5/7/1969     5/7/1970      5/7/1969     5/7/1970
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44478          5/7/1970     5/7/1971      5/7/1970     5/7/1971
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        Unknown            5/7/1971     5/7/1972      5/7/1971     5/7/1972
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        Unknown            5/7/1972     1/1/1973      5/7/1972     1/1/1973
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 54        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1220102         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Insurance Company of North America                        SBL 5 04 28      11/19/1968   11/19/1969   11/19/1968    11/19/1969
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Insurance Company of North America                        SBL 5 04 28      11/19/1969   11/19/1970   11/19/1969    11/19/1970
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Insurance Company of North America                        SBL 5 04 28      11/19/1970   11/19/1971   11/19/1970    11/19/1971
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 35        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219981         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Travelers Insurance Company                               Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Travelers Insurance Company                               Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 52        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Travelers Insurance Company                               Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220000         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1955   12/21/1956   12/22/1955    12/21/1956
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1956   12/22/1957   12/22/1956    12/22/1957
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1957   12/22/1958   12/22/1957    12/22/1958
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1958   12/22/1959   12/22/1958    12/22/1959
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1959   12/22/1960   12/22/1959    12/22/1960
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1960   12/22/1961   12/22/1960    12/22/1961
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1961     1/1/1962   12/22/1961      1/1/1962




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Long Beach Area (032): Long Beach Area (032)          General Accident                                          Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Long Beach Area (032): Long Beach Area (032)          General Accident                                          Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 42932          4/1/1965    4/1/1966      4/1/1965     4/1/1966
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 42932          4/1/1966    4/1/1967      4/1/1966     4/1/1967
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 42932          4/1/1967    4/1/1968      4/1/1967     4/1/1968
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 46936          4/1/1968    4/1/1969      4/1/1968     4/1/1969
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 46936          4/1/1969    4/1/1970      4/1/1969     4/1/1970
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 46936          4/1/1970    4/1/1971      4/1/1970     4/1/1971
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 51508          4/1/1971    4/1/1972      4/1/1971     4/1/1972
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Long Beach Area (032): Long Beach Area (032)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 36        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Long Beach Area (032): Long Beach Area (032)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Long Beach Area (032): Long Beach Area (032)          New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Long Beach Area (032): Long Beach Area (032)          New Hampshire Insurance Company                           GLA 332346         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Long Beach Area (032): Long Beach Area (032)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219885         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Long Beach Area (032): Long Beach Area (032)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhorn (662): Heart O' Texas 1929-2001 (662)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Longhorn (662): Heart O' Texas 1929-2001 (662)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Heart O' Texas 1929-2001 (662)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Heart O' Texas 1929-2001 (662)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 91        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Heart O' Texas 1929-2001 (662)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220222         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhorn (662): Heart O' Texas 1929-2001 (662)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhorn (662): Longhorn -2001 (582)                  Hartford Fire Insurance Company                           Unknown           7/27/1961   7/27/1962    7/27/1961     7/27/1962
Longhorn (662): Longhorn -2001 (582)                  Hartford Fire Insurance Company                           Unknown           7/27/1962   7/27/1963    7/27/1962     7/27/1963
Longhorn (662): Longhorn -2001 (582)                  Hartford Fire Insurance Company                           Unknown           7/27/1963   7/27/1964    7/27/1963     7/27/1964
Longhorn (662): Longhorn -2001 (582)                  Hartford Fire Insurance Company                           Unknown           7/27/1964    1/1/1965    7/27/1964      1/1/1965
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Longhorn (662): Longhorn -2001 (582)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Longhorn (662): Longhorn -2001 (582)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 78        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Longhorn -2001 (582)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Longhorn -2001 (582)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Longhorn -2001 (582)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220209         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhorn (662): Longhorn -2001 (582)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhouse (373): Cayuga County 1924-2009 (366)        Fidelity and Casualty Co. of NY                           XP 157455          6/1/1954    6/1/1955      6/1/1954     6/1/1955
Longhouse (373): Cayuga County 1924-2009 (366)        Fidelity and Casualty Co. of NY                           Unknown            6/1/1955    6/1/1956      6/1/1955     6/1/1956
Longhouse (373): Cayuga County 1924-2009 (366)        Fidelity and Casualty Co. of NY                           Unknown            6/1/1956    6/1/1957      6/1/1956     6/1/1957




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Longhouse (373): Cayuga County 1924-2009 (366)          Fidelity and Casualty Co. of NY                           Unknown               6/1/1957    1/1/1958      6/1/1957     1/1/1958
Longhouse (373): Cayuga County 1924-2009 (366)          Fidelity and Casualty Co. of NY                           XP 274 545            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Longhouse (373): Cayuga County 1924-2009 (366)          Manhattan Fire & Marine Insurance Company (The)           Unknown               1/1/1959    1/1/1960      1/1/1959     1/1/1960
                                                                                                                  A337     256-A208
Longhouse (373): Cayuga County 1924-2009 (366)          Manhattan Fire & Marine Insurance Company (The)           212                   1/1/1960    1/1/1961     1/1/1960     1/1/1961
Longhouse (373): Cayuga County 1924-2009 (366)          Travelers Insurance Company                               SL-8640074            6/1/1960    6/1/1961     6/1/1960     6/1/1961
Longhouse (373): Cayuga County 1924-2009 (366)          Travelers Indemnity Company                               Unknown               1/1/1968    1/1/1969     1/1/1968     1/1/1969
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10HUA43302            1/1/1972    1/1/1973     8/1/1972     1/1/1973
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43303             1/1/1972    1/1/1973     8/1/1972     1/1/1973
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Longhouse (373): Cayuga County 1924-2009 (366)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 48           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Cayuga County 1924-2009 (366)          American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Cayuga County 1924-2009 (366)          American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Cayuga County 1924-2009 (366)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220200            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Cayuga County 1924-2009 (366)          United States Fidelity and Guaranty Company               1-3900-377194         6/1/1977    6/1/1978     6/1/1977     6/1/1978
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP-9360               3/5/1991    3/4/1992     3/5/1991     3/4/1992
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP-9360               3/5/1992    3/5/1993     3/5/1992     3/5/1993
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP-9360               3/5/1993    3/5/1994     3/5/1993     3/5/1994
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP12613               3/5/1994    3/5/1995     3/5/1994     3/5/1995
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP12613               3/5/1995    3/5/1996     3/5/1995     3/5/1996
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP12613               3/5/1996    3/5/1997     3/5/1996     3/5/1997
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP 0050259            3/5/1997    4/5/1997     3/5/1997     4/5/1997
Longhouse (373): Cayuga County 1924-2009 (366)          Erie and Niagara Insurance Association                    56 04 0399            4/5/1997    4/5/1998     4/5/1997     4/5/1998
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43303             1/1/1972    1/1/1973    6/19/1972     1/1/1973
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10HUA43302            1/1/1972    1/1/1973    6/19/1972     1/1/1973
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Longhouse (373): Hiawatha -1999 (373)                   New Hampshire Insurance Company                           Unknown               1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Hiawatha -1999 (373)                   American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Hiawatha -1999 (373)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 76           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Hiawatha -1999 (373)                   New Hampshire Insurance Company                           Unknown               1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Hiawatha -1999 (373)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220029            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Hiawatha -1999 (373)                   American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Longhouse (373): Jefferson Lewis 1932-1982 (408)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 78           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Jefferson Lewis 1932-1982 (408)        New Hampshire Insurance Company                           Unknown               1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Jefferson Lewis 1932-1982 (408)        American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Jefferson Lewis 1932-1982 (408)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220032            1/1/1977    1/1/1978     1/1/1977     1/1/1978




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Longhouse (373): Jefferson Lewis 1932-1982 (408)        American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Longhouse (373): Jefferson Lewis 1932-1982 (408)        New Hampshire Insurance Company                           Unknown             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Longhouse (373): Saint Lawrence 1938-1982 (403)         Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Longhouse (373): Saint Lawrence 1938-1982 (403)         American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Longhouse (373): Saint Lawrence 1938-1982 (403)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 54         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Longhouse (373): Saint Lawrence 1938-1982 (403)         Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Longhouse (373): Saint Lawrence 1938-1982 (403)         American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Longhouse (373): Saint Lawrence 1938-1982 (403)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220006          1/1/1977     1/1/1978      1/1/1977     1/1/1978
                                                                                                                  45 BY 100497785
Longhouse (373): Seaway Valley 1982-1995 (403)          Aetna Casualty and Surety Company                         BCA                 1/1/1991     1/1/1992     1/1/1991      1/1/1992
Longs Peak (062): Longs Peak 1975- (062)                Travelers Insurance Company                               042 LB F181864      1/1/1975     1/1/1976     1/1/1975      1/1/1976
Longs Peak (062): Longs Peak 1975- (062)                Travelers Indemnity Company                               Unknown             1/1/1975     1/1/1976     1/1/1975      1/1/1976
Longs Peak (062): Longs Peak 1975- (062)                Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Longs Peak (062): Longs Peak 1975- (062)                Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977
Longs Peak (062): Longs Peak 1975- (062)                American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Longs Peak (062): Longs Peak 1975- (062)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 65         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Longs Peak (062): Longs Peak 1975- (062)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1219913          1/1/1977     1/1/1978     1/1/1977      1/1/1978
Longs Peak (062): Longs Peak 1975- (062)                American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978     1/1/1977      1/1/1978
Longs Peak (062): Longs Peak 1975- (062)                Travelers Indemnity Company                               Unknown             1/1/1981     1/1/1982     1/1/1981      1/1/1982
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Insurance Company of North America                        SBL-4-79-46       11/12/1968   11/12/1969   11/12/1968    11/12/1969
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Insurance Company of North America                        SBL 52108         11/12/1969   11/12/1970   11/12/1969    11/12/1970
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Insurance Company of North America                        SBL 52126         11/12/1970   11/12/1971   11/12/1970    11/12/1971
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10 HUA 43300        5/1/1971     5/1/1972     5/1/1971      5/1/1972
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43315          9/21/1971     1/1/1972    9/21/1971      1/1/1972
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43303           1/1/1972     1/1/1973     1/1/1972      1/1/1973
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10HUA43302          1/1/1972     1/1/1973     1/1/1972      1/1/1973
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973     1/1/1974     1/1/1973      1/1/1974
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43303           1/1/1973     1/1/1974     1/1/1973      1/1/1974
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43329           1/1/1974     1/1/1975     1/1/1974      1/1/1975
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974     1/1/1975     1/1/1974      1/1/1975
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Los Padres (053): Mission 1929-1994 (053)               Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Los Padres (053): Mission 1929-1994 (053)               New Hampshire Insurance Company                           Unknown             1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Mission 1929-1994 (053)               American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Mission 1929-1994 (053)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 55         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Mission 1929-1994 (053)               Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Mission 1929-1994 (053)               Jefferson Insurance Company of New York                   GLA 209761          9/9/1976     8/1/1977     9/9/1976      8/1/1977
Los Padres (053): Mission 1929-1994 (053)               New Hampshire Insurance Company                           Unknown             1/1/1977     1/1/1978     1/1/1977      1/1/1978
Los Padres (053): Mission 1929-1994 (053)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219903          1/1/1977     1/1/1978     1/1/1977      1/1/1978
Los Padres (053): Mission 1929-1994 (053)               American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978     1/1/1977      1/1/1978
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1965    1/14/1966    1/14/1965     1/14/1966
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1966    1/14/1967    1/14/1966     1/14/1967
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1967    1/14/1968    1/14/1967     1/14/1968
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1968    1/14/1969    1/14/1968     1/14/1969
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1969    1/14/1970    1/14/1969     1/14/1970
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1970    1/14/1971    1/14/1970     1/14/1971
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 5 13 94        1/14/1971    1/14/1972    1/14/1971     1/14/1972
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 5 13 94        1/14/1972    1/14/1973    1/14/1972     1/14/1973
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Los Padres (053): Santa Lucia Area 1939-1994 (056)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 51         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Santa Lucia Area 1939-1994 (056)      New Hampshire Insurance Company                           Unknown             1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977




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                                                                                                                                                                Start Date1   End Date
Los Padres (053): Santa Lucia Area 1939-1994 (056)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Los Padres (053): Santa Lucia Area 1939-1994 (056)          New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Los Padres (053): Santa Lucia Area 1939-1994 (056)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219899         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Los Padres (053): Santa Lucia Area 1939-1994 (056)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Los Padres (053): Santa Lucia Area 1939-1994 (056)          United States Fidelity and Guaranty Company               1CCA16993         1/15/1977   1/15/1978    1/15/1977     1/15/1978
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Louisiana Purchase (213): Attakapas 1938-2003 (208)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Attakapas 1938-2003 (208)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Attakapas 1938-2003 (208)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 56        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Attakapas 1938-2003 (208)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Louisiana Purchase (213): Attakapas 1938-2003 (208)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220104         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Louisiana Purchase (213): Attakapas 1938-2003 (208)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1966   4/27/1967    4/27/1966     4/27/1967
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1967   4/27/1968    4/27/1967     4/27/1968
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1968   4/27/1969    4/27/1968     4/27/1969
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1969   4/27/1970    4/27/1969     4/27/1970
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1970   4/27/1971    4/27/1970     4/27/1971
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1971   4/27/1972    4/27/1971     4/27/1972
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/28/1972      1/1/1973
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/28/1972      1/1/1973
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 61        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220109         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Marin (035): Marin (035)                                    Insurance Company of North America                        SBL 51181         4/10/1969   4/10/1970    4/10/1969     4/10/1970
Marin (035): Marin (035)                                    Insurance Company of North America                        SBL 51181         4/10/1970   4/10/1971    4/10/1970     4/10/1971
Marin (035): Marin (035)                                    Insurance Company of North America                        SBL 51181         4/10/1971   4/10/1972    4/10/1971     4/10/1972
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/10/1972      1/1/1973
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/10/1972      1/1/1973
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Marin (035): Marin (035)                                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Marin (035): Marin (035)                                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Marin (035): Marin (035)                                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 53        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Marin (035): Marin (035)                                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Marin (035): Marin (035)                                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219901         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Marin (035): Marin (035)                                    New Hampshire Insurance Company                           GLA 282411         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Marin (035): Marin (035)                                 Ambassador Insurance Company                              25924              1/1/1977    1/1/1978      1/1/1977     1/1/1978
Marin (035): Marin (035)                                 Scottsdale Insurance Company                              CPS3255537         1/1/1995    1/1/1996      1/1/1995     1/1/1996
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mason-Dixon (221): Mason-Dixon 1956- (221)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mason-Dixon (221): Mason-Dixon 1956- (221)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mason-Dixon (221): Mason-Dixon 1956- (221)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 67        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mason-Dixon (221): Mason-Dixon 1956- (221)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mason-Dixon (221): Mason-Dixon 1956- (221)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220115         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mason-Dixon (221): Mason-Dixon 1956- (221)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown           7/24/1977   7/24/1978    7/24/1977     7/24/1978
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown           7/24/1978   7/24/1979    7/24/1978     7/24/1979
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown           7/24/1979   7/24/1980    7/24/1979     7/24/1980
Mayflower (251): Algonquin 1925-1996 (241)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mayflower (251): Algonquin 1925-1996 (241)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Algonquin 1925-1996 (241)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Algonquin 1925-1996 (241)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 72        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Algonquin 1925-1996 (241)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Algonquin 1925-1996 (241)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220122         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Knox Trail 1996-2017 (244)              Pacific Insurance Company                                 ZG 0021837        6/20/2003   6/20/2004    6/20/2003     6/20/2004
Mayflower (251): Knox Trail 1996-2017 (244)              Pacific Insurance Company                                 ZG 0021837        6/20/2004   6/20/2005    6/20/2004     6/20/2005
Mayflower (251): Knox Trail 1996-2017 (244)              Hartford Accident and Indemnity Company                   34UUVIS5513       6/20/2007   6/20/2008    6/20/2007     6/20/2008
Mayflower (251): Knox Trail 1996-2017 (244)              Hartford Accident and Indemnity Company                   34UUVIS5513       6/20/2008   6/20/2009    6/20/2008     6/20/2009
Mayflower (251): Knox Trail 1996-2017 (244)              Hartford Accident and Indemnity Company                   34UUVIS5513       6/20/2009   6/20/2010    6/20/2009     6/20/2010
Mayflower (251): Knox Trail 1996-2017 (244)              Hartford Accident and Indemnity Company                   34UUVIS5513       6/20/2010   6/20/2011    6/20/2010     6/20/2011
Mayflower (251): Knox Trail 1996-2017 (244)              National Casualty Company                                 BINDER547998      6/20/2011   6/20/2012    6/20/2011     6/20/2012
Mayflower (251): Norumbega 1918-1996 (246)               Employers' Fire Insurance Company                         EB-62085-97       3/26/1970   3/26/1971    3/26/1970     3/26/1971
Mayflower (251): Norumbega 1918-1996 (246)               Employers' Fire Insurance Company                         EB-62085-97       3/26/1971   3/26/1972    3/26/1971     3/26/1972
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Mayflower (251): Norumbega 1918-1996 (246)               Employers' Fire Insurance Company                         EB-62085-97       3/26/1972   3/26/1973    3/26/1972     3/26/1973
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Norumbega 1918-1996 (246)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 83        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Norumbega 1918-1996 (246)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Norumbega 1918-1996 (246)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Norumbega 1918-1996 (246)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220134         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Old Colony 1969-2017 (249)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mayflower (251): Old Colony 1969-2017 (249)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 69        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Old Colony 1969-2017 (249)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Old Colony 1969-2017 (249)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Old Colony 1969-2017 (249)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220117         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Old Colony 1969-2017 (249)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Squanto 1936-1969 (228)                 New Hampshire Insurance Company                           SL BSA 456135      7/1/1965    7/1/1966      7/1/1965     7/1/1966
Mayflower (251): Squanto 1936-1969 (228)                 Insurance Company of North America                        Unknown            7/1/1966    7/1/1967      7/1/1966     7/1/1967
Mayflower (251): Squanto 1936-1969 (228)                 Insurance Company of North America                        Unknown            7/1/1967    7/1/1968      7/1/1967     7/1/1968
Mayflower (251): Squanto 1936-1969 (228)                 Insurance Company of North America                        Unknown            7/1/1968    7/1/1969      7/1/1968     7/1/1969




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Mayflower (251): Squanto 1936-1969 (228)                  Insurance Company of North America                        SBL 51194           7/1/1969   10/30/1969      7/1/1969   10/30/1969
Mecklenburg County (415): Mecklenburg County (415)        Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Mecklenburg County (415): Mecklenburg County (415)        Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Mecklenburg County (415): Mecklenburg County (415)        American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Mecklenburg County (415): Mecklenburg County (415)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 84         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Mecklenburg County (415): Mecklenburg County (415)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220037          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Mecklenburg County (415): Mecklenburg County (415)        American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
                                                                                                                    SA       MGCPP-
Mecklenburg County (415): Mecklenburg County (415)        Amerisure Insurance Company                               0243786-0000        1/1/1989     1/1/1990     1/1/1989      1/1/1990
Miami Valley (444): Miami Valley (444)                    Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Miami Valley (444): Miami Valley (444)                    American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Miami Valley (444): Miami Valley (444)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 00         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Miami Valley (444): Miami Valley (444)                    Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977
Miami Valley (444): Miami Valley (444)                    American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978     1/1/1977      1/1/1978
Miami Valley (444): Miami Valley (444)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220053          1/1/1977     1/1/1978     1/1/1977      1/1/1978
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1960     6/1/1961     6/1/1960      6/1/1961
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1961     6/1/1962     6/1/1961      6/1/1962
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1962     6/1/1963     6/1/1962      6/1/1963
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1963     6/1/1964     6/1/1963      6/1/1964
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1964     6/1/1965     6/1/1964      6/1/1965
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 4 29 80        3/29/1965    3/29/1966    3/29/1965     3/29/1966
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        Unknown             6/1/1965     6/1/1966     6/1/1965      6/1/1966
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 4 29 80        3/29/1966    3/29/1967    3/29/1966     3/29/1967
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        Unknown             6/1/1966     6/1/1967     6/1/1966      6/1/1967
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 4 29 80        3/29/1967    3/29/1968    3/29/1967     3/29/1968
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        Unknown             6/1/1967    3/29/1968     6/1/1967     3/29/1968
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 46919          3/29/1968    3/29/1969    3/29/1968     3/29/1969
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 46919          3/29/1969    3/29/1970    3/29/1969     3/29/1970
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 46919          3/29/1970    3/29/1971    3/29/1970     3/29/1971
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 51414          3/29/1971    3/29/1972    3/29/1971     3/29/1972
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10HUA43302          1/1/1972     1/1/1973    3/29/1972      1/1/1973
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43303           1/1/1972     1/1/1973    3/29/1972      1/1/1973
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973     1/1/1974     1/1/1973      1/1/1974
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43303           1/1/1973     1/1/1974     1/1/1973      1/1/1974
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43329           1/1/1974     1/1/1975     1/1/1974      1/1/1975
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974     1/1/1975     1/1/1974      1/1/1975
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Michigan Crossroads (780): Blue Water 1939-2012 (277)     American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Michigan Crossroads (780): Blue Water 1939-2012 (277)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 96         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977
Michigan Crossroads (780): Blue Water 1939-2012 (277)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220146          1/1/1977     1/1/1978     1/1/1977      1/1/1978
Michigan Crossroads (780): Blue Water 1939-2012 (277)     American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978     1/1/1977      1/1/1978
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        SBL 52003           5/1/1969     5/1/1970     5/1/1969      5/1/1970
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        XPL 17689           5/1/1970     5/1/1971     5/1/1970      5/1/1971
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        SBL 52042           5/1/1970     5/1/1971     5/1/1970      5/1/1971
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        XPL 17748           5/1/1971     5/1/1972     5/1/1971      5/1/1972
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        SBL 52066           5/1/1971     5/1/1972     5/1/1971      5/1/1972
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        Unknown             5/1/1972     5/1/1973     5/1/1972      5/1/1973
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        XPL 17748           5/1/1972     6/1/1972     5/1/1972      6/1/1972
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 93         1/1/1976     1/1/1977     1/1/1976      1/1/1977




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Michigan Crossroads (780): Chief Okemos 1932-2012 (271)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220143         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        LB-3-79-18         6/1/1962    6/1/1963      6/1/1962     6/1/1963
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        LB-3-79-18         6/1/1963    6/1/1964      6/1/1963     6/1/1964
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        LB-3-79-18         6/1/1964    6/1/1965      6/1/1964     6/1/1965
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 4 24 72        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 4 24 72        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 4 24 72        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 47729          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 47729          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 47729          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 52072          6/1/1971    6/1/1972      6/1/1971     6/1/1972
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/22/1972      1/1/1973
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/22/1972      1/1/1973
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 95        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220145         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 45740         2/13/1966   2/13/1967    2/13/1966     2/13/1967
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL-4-76-71       2/13/1967   2/13/1968    2/13/1967     2/13/1968
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 4 77 22       2/13/1968   2/13/1969    2/13/1968     2/13/1969
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 4 77 56       2/13/1969   2/13/1970    2/13/1969     2/13/1970
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 4 77 56       2/13/1970   2/13/1971    2/13/1970     2/13/1971
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 52065         2/13/1971   2/13/1972    2/13/1971     2/13/1972
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/13/1972      1/1/1973
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    2/13/1972      1/1/1973
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Detroit Area -2009 (262)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Detroit Area -2009 (262)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 88        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Detroit Area -2009 (262)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Detroit Area -2009 (262)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Detroit Area -2009 (262)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Detroit Area -2009 (262)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220139         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        SBL-4-95-05       5/20/1962   5/20/1963    5/20/1962     5/20/1963
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        SBL-4-95-05       5/20/1963   5/19/1964    5/20/1963     5/19/1964
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        Unknown            1/1/1964   5/20/1964      1/1/1964    5/20/1964
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        SBL-4-95-05       5/20/1964   5/20/1965    5/20/1964     5/20/1965




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Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-4-24-73       5/20/1965   5/20/1966    5/20/1965     5/20/1966
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-4-24-73       5/20/1966   5/20/1967    5/20/1966     5/20/1967
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-4-24-73       5/20/1967   5/20/1968    5/20/1967     5/20/1968
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        Unknown           5/20/1968   5/20/1969    5/20/1968     5/20/1969
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-4-77-27       5/20/1969   5/20/1970    5/20/1969     5/20/1970
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-5-20-37       5/20/1970   5/20/1971    5/20/1970     5/20/1971
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-5-20-37       5/20/1971   5/20/1972    5/20/1971     5/20/1972
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/21/1972      1/1/1973
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/21/1972      1/1/1973
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        GLP 43 22 35       1/1/1975    6/2/1975      1/1/1975     6/2/1975
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        XBC 123702         1/1/1975    6/2/1975      1/1/1975     6/2/1975
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 87        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220138         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 29 76       4/24/1965   4/24/1966    4/24/1965     4/24/1966
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 29 76       4/24/1966   4/24/1967    4/24/1966     4/24/1967
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 29 76       4/24/1967   4/24/1968    4/24/1967     4/24/1968
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 69 30       4/24/1968   4/24/1969    4/24/1968     4/24/1969
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 69 30       4/24/1969   4/24/1970    4/24/1969     4/24/1970
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 69 30       4/24/1970   4/24/1971    4/24/1970     4/24/1971
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 5 15 06       4/24/1971   4/23/1972    4/24/1971     4/23/1972
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/24/1972      1/1/1973
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/24/1972      1/1/1973
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 91        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220142         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        LAB-1-69-55        6/4/1964    6/4/1965      6/4/1964     6/4/1965
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-4-24-74        6/4/1965    6/4/1966      6/4/1965     6/4/1966
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-4-24-74        6/4/1966    6/4/1967      6/4/1966     6/4/1967
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-4-24-74        6/4/1967    6/4/1968      6/4/1967     6/4/1968
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-4-24-74        6/4/1968    6/4/1969      6/4/1968     6/4/1969
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-5-20-06        6/4/1969    6/4/1970      6/4/1969     6/4/1970
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL 52038          6/4/1970    6/4/1971      6/4/1970     6/4/1971
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL 52038          6/4/1971    6/3/1972      6/4/1971     6/3/1972




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Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      6/5/1972     1/1/1973
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      6/5/1972     1/1/1973
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 97        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220147         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 92        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219856         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Southwestern Michigan 1941-1973 (258)   Insurance Company of North America                        OBP 68693        10/29/1969   10/29/1970   10/29/1969    10/29/1970
Michigan Crossroads (780): Southwestern Michigan 1941-1973 (258)   Insurance Company of North America                        OBP 68693        10/29/1970   10/29/1971   10/29/1970    10/29/1971
Michigan Crossroads (780): Southwestern Michigan 1941-1973 (258)   Insurance Company of North America                        OBP 68693        10/29/1971   10/29/1972   10/29/1971    10/29/1972
Michigan Crossroads (780): Southwestern Michigan 1941-1973 (258)   Insurance Company of North America                        OBP 12 56 44     10/29/1972     1/1/1973   10/29/1972      1/1/1973
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        SBL-4-24-59       6/12/1967    6/12/1968    6/12/1967     6/12/1968
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        SBL-4-77-37       6/12/1968    6/12/1969    6/12/1968     6/12/1969
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        SBL 52007         6/12/1969    6/12/1970    6/12/1969     6/12/1970
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        SBL 52046         6/12/1970    6/12/1971    6/12/1970     6/12/1971
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        Unknown           6/12/1971     1/1/1972    6/12/1971      1/1/1972
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/12/1972      1/1/1973
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/12/1972      1/1/1973
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 89        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220140         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        SBL 4 57 66       7/27/1966    7/27/1967    7/27/1966     7/27/1967
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        SBL-4-76-81       7/27/1967    7/27/1968    7/27/1967     7/27/1968
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        SBL-4-76-81       7/27/1968    7/27/1969    7/27/1968     7/27/1969
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        SBL 52012         7/27/1969    7/27/1970    7/27/1969     7/27/1970
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        Unknown           7/27/1970    7/27/1971    7/27/1970     7/27/1971
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        Unknown           7/27/1971     1/1/1972    7/27/1971      1/1/1972
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/19/1972      1/1/1973




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Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/19/1972      1/1/1973
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 90        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220141         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 4 29 54        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 4 29 54        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 4 29 54        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        Unknown           2/29/1968   2/28/1969    2/29/1968     2/28/1969
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        Unknown           2/28/1969   2/28/1970    2/28/1969     2/28/1970
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        Unknown           2/28/1970    3/1/1970    2/28/1970      3/1/1970
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 51315          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 51315          3/1/1971    3/1/1972      3/1/1971     3/1/1972
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Wolverine 1925-1973 (711)              American Employers' Insurance Company                     AWW451163          3/3/1980    3/3/1981      3/3/1980     3/3/1981
Michigan Crossroads (780): Wolverine 1973-1993 (255)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Wolverine 1973-1993 (255)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Wolverine 1973-1993 (255)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 86        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Wolverine 1973-1993 (255)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Wolverine 1973-1993 (255)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Wolverine 1973-1993 (255)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220137         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Mid-America 1965- (326)                        Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Mid-America (326): Mid-America 1965- (326)                        Travelers Insurance Company                               Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Mid-America (326): Mid-America 1965- (326)                        Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Mid-America (326): Mid-America 1965- (326)                        Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Mid-America (326): Mid-America 1965- (326)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mid-America (326): Mid-America 1965- (326)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Mid-America 1965- (326)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 21        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Mid-America 1965- (326)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Mid-America 1965- (326)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220173         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Mid-America 1965- (326)                        Travelers Insurance Company                               Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Mid-America 1965- (326)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Insurance Company of North America                        SBL 52139         3/23/1971   3/23/1972    3/23/1971     3/23/1972
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/2/1972     1/1/1973
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/2/1972     1/1/1973
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mid-America (326): Prairie Gold Area 1942-2000 (179)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 43        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Prairie Gold Area 1942-2000 (179)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Mid-America (326): Prairie Gold Area 1942-2000 (179)     New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Prairie Gold Area 1942-2000 (179)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Prairie Gold Area 1942-2000 (179)     National Union Fire Insurance Company of Pittsburgh, PA   BE 12199S9         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Prairie Gold Area 1942-2000 (179)     New Hampshire Insurance Company                           GAL 34 36 80       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Prairie Gold Area 1942-2000 (179)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 4 49 67       3/23/1966   3/23/1967    3/23/1966     3/23/1967
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1967   3/23/1967      1/1/1967    3/23/1967
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 4 78 67       3/23/1967   3/22/1968    3/23/1967     3/22/1968
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 4 79 20       3/23/1968   3/23/1969    3/23/1968     3/23/1969
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 4 79 54       3/23/1969   3/23/1970    3/23/1969     3/23/1970
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 52117         3/23/1970   3/23/1971    3/23/1970     3/23/1971
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 52139         3/23/1971   3/23/1972    3/23/1971     3/23/1972
Mid-America (326): Sioux City 1918-1926 (185)            St. Paul Mercury Insurance Company                        Unknown           6/10/1954   6/10/1955    6/10/1954     6/10/1955
Middle Tennessee (560): Middle Tennessee (560)           Insurance Company of North America                        SBL 5 04 06        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Middle Tennessee (560): Middle Tennessee (560)           Insurance Company of North America                        SBL 5 04 06        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Middle Tennessee (560): Middle Tennessee (560)           Insurance Company of North America                        SBL 5 04 06        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Middle Tennessee (560): Middle Tennessee (560)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Middle Tennessee (560): Middle Tennessee (560)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 69        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Middle Tennessee (560): Middle Tennessee (560)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Middle Tennessee (560): Middle Tennessee (560)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220292         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mid-Iowa (177): Mid-Iowa 1970- (177)                     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-Iowa (177): Mid-Iowa 1970- (177)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 41        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-Iowa (177): Mid-Iowa 1970- (177)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219987         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-Iowa (177): Mid-Iowa 1970- (177)                     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 4 53 76       1/24/1966   1/24/1967    1/24/1966     1/24/1967
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 4 53 76       1/24/1967   1/24/1968    1/24/1967     1/24/1968
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 4 53 76       1/24/1968   1/24/1969    1/24/1968     1/24/1969
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 5 04 33       1/24/1969   1/24/1970    1/24/1969     1/24/1970
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 5 04 33       1/24/1970    5/1/1970    1/24/1970      5/1/1970
Midnight Sun (696): Midnight Sun (696)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/1/1972      1/1/1973




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Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    12/1/1972      1/1/1973
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Midnight Sun (696): Midnight Sun (696)                     New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Midnight Sun (696): Midnight Sun (696)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 16        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Midnight Sun (696): Midnight Sun (696)                     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Midnight Sun (696): Midnight Sun (696)                     New Hampshire Insurance Company                           GLA 311350         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Midnight Sun (696): Midnight Sun (696)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Midnight Sun (696): Midnight Sun (696)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219865         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Minsi Trails (502): Delaware Valley Area 1932-1969 (510)   Insurance Company of North America                        2075             10/16/1944   10/16/1945   10/16/1944    10/16/1945
Minsi Trails (502): Delaware Valley Area 1932-1969 (510)   Phoenix of Hartford Insurance Companies                   CC 8 98 96        5/16/1966    5/16/1967    5/16/1966     5/16/1967
Minsi Trails (502): Delaware Valley Area 1932-1969 (510)   Phoenix of Hartford Insurance Companies                   CC 8 98 96        5/16/1967    5/16/1968    5/16/1967     5/16/1968
Minsi Trails (502): Delaware Valley Area 1932-1969 (510)   Phoenix of Hartford Insurance Companies                   CC 8 98 96        5/16/1968    5/16/1969    5/16/1968     5/16/1969
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL Unknown       12/1/1965     5/1/1966    12/1/1965      5/1/1966
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL 4 47 99        5/1/1966     5/1/1967      5/1/1966     5/1/1967
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL 4 47 99        5/1/1967     5/1/1968      5/1/1967     5/1/1968
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL 4 47 99        5/1/1968     5/1/1969      5/1/1968     5/1/1969
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL 4 85 34        5/1/1969     5/9/1969      5/1/1969     5/9/1969
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL 44799          1/1/1967     1/1/1968      1/1/1967     1/1/1968
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL 44799          1/1/1968     1/1/1969      1/1/1968     1/1/1969
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL 44799          1/1/1969     1/1/1970      1/1/1969     1/1/1970
Minsi Trails (502): Minsi Trails 1968- (502)               Aetna Casualty and Surety Company                         44CA 115201       4/20/1969    4/20/1970    4/20/1969     4/20/1970
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL-48567          1/1/1970     1/1/1971      1/1/1970     1/1/1971
Minsi Trails (502): Minsi Trails 1968- (502)               Aetna Casualty and Surety Company                         Unknown           4/20/1970    4/20/1971    4/20/1970     4/20/1971
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL-48567          1/1/1971     1/1/1972      1/1/1971     1/1/1972
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL-48567          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL-48567          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        XBC-96766          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        GLP 40 72 24       1/1/1973     1/1/1974      1/1/1973     1/1/1974
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        GLP 40 72 24       1/1/1974     1/1/1975      1/1/1974     1/1/1975
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        GLP 40 72 24       1/1/1975     1/1/1976      1/1/1975     1/1/1976
Minsi Trails (502): Minsi Trails 1968- (502)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Minsi Trails (502): Minsi Trails 1968- (502)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Minsi Trails (502): Minsi Trails 1968- (502)               American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Minsi Trails (502): Minsi Trails 1968- (502)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 39        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        GLP-621176         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Minsi Trails (502): Minsi Trails 1968- (502)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220094         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Minsi Trails (502): Minsi Trails 1968- (502)               American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Insurance Company of North America                        SBL 5 04 24       6/20/1968    6/20/1969    6/20/1968     6/20/1969
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Insurance Company of North America                        SBL 5 04 24       6/20/1969    6/20/1970    6/20/1969     6/20/1970
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Insurance Company of North America                        SBL 5 04 24       6/20/1970    6/20/1971    6/20/1970     6/20/1971
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Insurance Company of North America                        SBL 5 15 61       6/20/1971    6/20/1972    6/20/1971     6/20/1972
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/20/1972      1/1/1973
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/20/1972      1/1/1973
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974




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Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mississippi Valley (141): Saukee Area 1935-1993 (141)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Saukee Area 1935-1993 (141)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 23        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Saukee Area 1935-1993 (141)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mississippi Valley (141): Saukee Area 1935-1993 (141)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219969         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 30 00        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 30 00        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 30 00        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 69 46        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 69 46        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 69 46        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 5 15 59        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 39        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219985         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mobile Area (004): Mobile Area (004)                       Insurance Company of North America                        SBL 46907          2/1/1970    2/1/1971      2/1/1970     2/1/1971
Mobile Area (004): Mobile Area (004)                       Insurance Company of North America                        SBL 51408          2/1/1971    2/1/1972      2/1/1971     2/1/1972
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mobile Area (004): Mobile Area (004)                       National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 11        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mobile Area (004): Mobile Area (004)                       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mobile Area (004): Mobile Area (004)                       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mobile Area (004): Mobile Area (004)                       New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mobile Area (004): Mobile Area (004)                       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219861         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mobile Area (004): Mobile Area (004)                       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 42996          2/1/1965    2/1/1966      2/1/1965     2/1/1966
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 42996          2/1/1966    2/1/1967      2/1/1966     2/1/1967
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 42996          2/1/1967    2/1/1968      2/1/1967     2/1/1968
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 46903          2/1/1968    2/1/1969      2/1/1968     2/1/1969
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 46903          2/1/1969    2/1/1970      2/1/1969     2/1/1970
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 46903          2/1/1970    2/1/1971      2/1/1970     2/1/1971
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 51395          2/1/1971    2/1/1972      2/1/1971     2/1/1972
Monmouth (347): Monmouth (347)                             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Monmouth (347): Monmouth (347)                             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973




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Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Monmouth (347): Monmouth (347)                          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Monmouth (347): Monmouth (347)                          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Monmouth (347): Monmouth (347)                          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Monmouth (347): Monmouth (347)                          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220184         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Montana (315): Montana 1973- (315)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Montana (315): Montana 1973- (315)                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Montana (315): Montana 1973- (315)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 17        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Montana (315): Montana 1973- (315)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Montana (315): Montana 1973- (315)                      Home Insurance Company                                    1217117            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Montana (315): Montana 1973- (315)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220168         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Montana (315): Montana 1973- (315)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Montana (315): Western Montana 1924-1973 (320)          Insurance Company of North America                        SBL 3 31 46        2/1/1971    2/1/1972      2/1/1971     2/1/1972
Montana (315): Western Montana 1924-1973 (320)          Insurance Company of North America                        GAL 11 86 75       2/1/1972   1/31/1973      2/1/1972    1/31/1973
Montana (315): Yellowstone Valley 1928-1973 (318)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      3/1/1973     1/1/1974
Montana (315): Yellowstone Valley 1928-1973 (318)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      3/1/1973     1/1/1974
Moraine Trails (500): Lawrence County 1922-1973 (520)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Moraine Trails (500): Lawrence County 1922-1973 (520)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Moraine Trails (500): Lawrence County 1922-1973 (520)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Lawrence County 1922-1973 (520)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Moraine Trails (500): Moraine Trails 1973- (500)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Moraine Trails (500): Moraine Trails 1973- (500)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Moraine Trails (500): Moraine Trails 1973- (500)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Moraine Trails (500): Moraine Trails 1973- (500)        New Hampshire Insurance Company                           SLP275531          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Moraine Trails (500): Moraine Trails 1973- (500)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Moraine Trails (500): Moraine Trails 1973- (500)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220087         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Moraine Trails (500): Pioneer Trails 1949-1973 (500)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    7/15/1972      1/1/1973
Moraine Trails (500): Pioneer Trails 1949-1973 (500)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    7/15/1972      1/1/1973
Moraine Trails (500): Pioneer Trails 1949-1973 (500)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Pioneer Trails 1949-1973 (500)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Evergreen Area 1941-1994 (606)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mount Baker (606): Evergreen Area 1941-1994 (606)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Evergreen Area 1941-1994 (606)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 19        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Evergreen Area 1941-1994 (606)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Evergreen Area 1941-1994 (606)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220239         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Mount Baker (606): Evergreen Area 1941-1994 (606)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mount Baker (606): Evergreen Area 1941-1994 (606)     St. Paul Fire and Marine Insurance Company                684NA4503         5/17/1977   5/17/1978    5/17/1977     5/17/1978
Mount Baker (606): Mount Baker 1994- (606)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Mount Baker (606): Mount Baker 1994- (606)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Mount Baker (606): Mount Baker 1994- (606)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Mount Baker 1994- (606)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Mount Baker 1994- (606)            United States Fidelity and Guaranty Company               Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mount Baker (606): Mount Baker 1994- (606)            United States Fidelity and Guaranty Company               Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    12/1/1972      1/1/1973
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/1/1972      1/1/1973
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Mount Baker Area 1929-1994 (603)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 20        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Mount Baker Area 1929-1994 (603)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Mount Baker Area 1929-1994 (603)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220238         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mount Baker (606): Mount Baker Area 1929-1994 (603)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountain West (106): Mountainview 1951-1968 (105)     Insurance Company of North America                        SBL 4 29 74       3/31/1965   3/31/1966    3/31/1965     3/31/1966
Mountain West (106): Mountainview 1951-1968 (105)     Insurance Company of North America                        SBL 4 29 74       3/31/1966   3/31/1967    3/31/1966     3/31/1967
Mountain West (106): Mountainview 1951-1968 (105)     Insurance Company of North America                        GK-12042           1/1/1967    1/1/1968      1/1/1967     1/1/1968
Mountain West (106): Mountainview 1951-1968 (105)     Insurance Company of North America                        SBL 4 29 74       3/31/1967   3/31/1968    3/31/1967     3/31/1968
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        SBL 50411         3/31/1968   3/31/1969    3/31/1968     3/31/1969
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        SBL 50411         3/31/1969   3/31/1970    3/31/1969     3/31/1970
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        SBL 50411         3/31/1970   3/31/1971    3/31/1970     3/31/1971
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        Unknown           3/31/1971    1/1/1972    3/31/1971      1/1/1972
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/31/1972      1/1/1973
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/31/1972      1/1/1973
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mountain West (106): Ore-Ida 1933-2020 (106)          Industrial Indemnity                                      MP 698-0754       11/1/1973   11/1/1974    11/1/1973     11/1/1974
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        XBC 11 46 94      2/15/1974    2/1/1975    2/15/1974      2/1/1975
Mountain West (106): Ore-Ida 1933-2020 (106)          Industrial Indemnity                                      MP 698-0754       11/1/1974   11/1/1975    11/1/1974     11/1/1975
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        XBC 11 48 44       2/1/1975    2/1/1976      2/1/1975     2/1/1976
Mountain West (106): Ore-Ida 1933-2020 (106)          Industrial Indemnity                                      MP 698-0754       11/1/1975   11/1/1976    11/1/1975     11/1/1976
Mountain West (106): Ore-Ida 1933-2020 (106)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 02        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          U.S. Fire Insurance Company                               1027493            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          U.S. Fire Insurance Company                               CA-D-0036          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219949         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountain West (106): Ore-Ida 1933-2020 (106)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966




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             Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
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Mountain West (106): Snake River -2020 (111)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mountain West (106): Snake River -2020 (111)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 07        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Snake River -2020 (111)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Snake River -2020 (111)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Snake River -2020 (111)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219954         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountain West (106): Snake River -2020 (111)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 45387          6/4/1966    6/4/1967      6/4/1966     6/4/1967
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 45387          6/4/1967    6/3/1968      6/4/1967     6/3/1968
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 45387          6/4/1968    6/4/1969      6/4/1968     6/4/1969
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 51184          6/4/1969    6/4/1970      6/4/1969     6/4/1970
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 51184          6/4/1970    6/4/1971      6/4/1970     6/4/1971
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 51184          6/4/1971    6/3/1972      6/4/1971     6/3/1972
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/4/1972     1/1/1973
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/4/1972     1/1/1973
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountaineer Area (615): Mountaineer Area (615)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 36        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountaineer Area (615): Mountaineer Area (615)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountaineer Area (615): Mountaineer Area (615)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountaineer Area (615): Mountaineer Area (615)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220252         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 4-44-28       6/26/1965   6/26/1966    6/26/1965     6/26/1966
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 4-44-28       6/26/1966   6/26/1967    6/26/1966     6/26/1967
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 4-44-28       6/26/1967   6/26/1968    6/26/1967     6/26/1968
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL-4-44-79       6/26/1968   6/26/1969    6/26/1968     6/26/1969
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL-4-44-79       6/26/1969   6/26/1970    6/26/1969     6/26/1970
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL-4-44-79       6/26/1970   6/26/1971    6/26/1970     6/26/1971
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 25204         6/26/1971   6/25/1972    6/26/1971     6/25/1972
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 25204         6/26/1972    2/1/1973    6/26/1972      2/1/1973
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      2/1/1973     1/1/1974
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Muskingum Valley (467): Muskingum Valley 1956- (467)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Muskingum Valley (467): Muskingum Valley 1956- (467)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Muskingum Valley (467): Muskingum Valley 1956- (467)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 74 01        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Muskingum Valley (467): Muskingum Valley 1956- (467)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220069         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Muskingum Valley (467): Muskingum Valley 1956- (467)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Muskingum Valley (467): Muskingum Valley 1956- (467)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Annawon 1930-2016 (225)            Insurance Company of North America                        SBL 5 13 14        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Narragansett (546): Annawon 1930-2016 (225)            Insurance Company of North America                        SBL 5 13 14        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Narragansett (546): Annawon 1930-2016 (225)            Insurance Company of North America                        SBL 5 13 14        3/1/1972    1/1/1973      3/1/1972     1/1/1973
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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              Current Council: Predecessor Council                                        Carrier                           Policy Number   Start Date   End Date
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Narragansett (546): Annawon 1930-2016 (225)                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Annawon 1930-2016 (225)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Annawon 1930-2016 (225)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 82        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Annawon 1930-2016 (225)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Annawon 1930-2016 (225)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220133         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 40247         11/1/1965   11/1/1966    11/1/1965     11/1/1966
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 40247         11/1/1966   11/1/1967    11/1/1966     11/1/1967
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 40247         11/1/1967   11/1/1968    11/1/1967     11/1/1968
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 50614         11/1/1968   11/1/1969    11/1/1968     11/1/1969
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 50614         11/1/1969   11/1/1970    11/1/1969     11/1/1970
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 50614         11/1/1970   11/1/1971    11/1/1970     11/1/1971
Narragansett (546): Moby Dick 1971-2001 (245)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Narragansett (546): Moby Dick 1971-2001 (245)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Moby Dick 1971-2001 (245)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 79        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Moby Dick 1971-2001 (245)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Moby Dick 1971-2001 (245)                    New Hampshire Insurance Company                           SLP63-49-06       1/15/1976   1/15/1977    1/15/1976     1/15/1977
Narragansett (546): Moby Dick 1971-2001 (245)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220130         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Moby Dick 1971-2001 (245)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Moby Dick 1971-2001 (245)                    New Hampshire Insurance Company                           SLP63-49-06       1/15/1977   1/15/1978    1/15/1977     1/15/1978
Narragansett (546): Moby Dick 1971-2001 (245)                    New Hampshire Insurance Company                           SLP63-49-06       1/15/1978   1/15/1979    1/15/1978     1/15/1979
Narragansett (546): Narragansett 1930- (546)                     Phoenix Insurance Company                                 TOP58010057        1/1/1967    1/1/1968      1/1/1967     1/1/1968
Narragansett (546): Narragansett 1930- (546)                     Phoenix Insurance Company                                 TOP58010057        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Narragansett (546): Narragansett 1930- (546)                     Phoenix Insurance Company                                 TOP58010057        1/1/1969    1/1/1970      1/1/1969     1/1/1970
Narragansett (546): Narragansett 1930- (546)                     Travelers Indemnity Company                               ND6619859          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Narragansett (546): Narragansett 1930- (546)                     Travelers Indemnity Company                               ND6619859          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Narragansett (546): Narragansett 1930- (546)                     Travelers Indemnity Company                               ND6619859          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Narragansett (546): Narragansett 1930- (546)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Narragansett (546): Narragansett 1930- (546)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Narragansett (546): Narragansett 1930- (546)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Narragansett (546): Narragansett 1930- (546)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Narragansett (546): Narragansett 1930- (546)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 55        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Narragansett 1930- (546)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220277         1/1/1977    1/1/1978      1/1/1977     1/1/1978
National Capital Area (082): National Capital Area 1911- (082)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 75        1/1/1976    1/1/1977      1/1/1976     1/1/1977
National Capital Area (082): National Capital Area 1911- (082)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219923         1/1/1977    1/1/1978      1/1/1977     1/1/1978
National Capital Area (082): National Capital Area 1911- (082)   Aetna Insurance Company                                   SMP 35 29 46       4/1/1981    4/1/1982      4/1/1981     4/1/1982
National Capital Area (082): National Capital Area 1911- (082)   Aetna Insurance Company                                   CPP 42 58 80       4/1/1982    4/1/1983      4/1/1982     4/1/1983
National Capital Area (082): Virgin Islands 1965-2013 (410)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974    1/15/1973      1/1/1974
National Capital Area (082): Virgin Islands 1965-2013 (410)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974    1/15/1973      1/1/1974
National Capital Area (082): Virgin Islands 1965-2013 (410)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
National Capital Area (082): Virgin Islands 1965-2013 (410)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
National Capital Area (082): Virgin Islands 1965-2013 (410)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
National Capital Area (082): Virgin Islands 1965-2013 (410)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 08        1/1/1976    1/1/1977      1/1/1976     1/1/1977
National Capital Area (082): Virgin Islands 1965-2013 (410)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220230         1/1/1977    1/1/1978      1/1/1977     1/1/1978
National Capital Area (082): Virgin Islands 1965-2013 (410)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Nevada Area (329): Nevada Area (329)                             American Employers' Insurance Company                     AF W05 00 10       3/1/1973    3/1/1974      3/1/1973     3/1/1974
Nevada Area (329): Nevada Area (329)                             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Nevada Area (329): Nevada Area (329)                             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Nevada Area (329): Nevada Area (329)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 23        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Nevada Area (329): Nevada Area (329)                             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Nevada Area (329): Nevada Area (329)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220175         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Nevada Area (329): Nevada Area (329)                             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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                                                                                                                        650-225A529-4-
Nevada Area (329): Nevada Area (329)                          Travelers Indemnity Company                               IND-77            4/12/1977     4/1/1978    4/12/1977      4/1/1978
New Birth of Freedom (544): Harrisburg Area 1927-1948 (515)   Insurance Company of North America                        LB 3541           6/20/1946    6/20/1947    6/20/1946     6/20/1947
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        LB-4-21-48       10/20/1964   10/20/1965   10/20/1964    10/20/1965
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        LB-4-21-48       10/20/1965   10/20/1966   10/20/1965    10/20/1966
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        LB-4-21-48       10/20/1966   10/20/1967   10/20/1966    10/20/1967
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        ALB-4-84-03      10/20/1967   10/20/1968   10/20/1967    10/20/1968
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        ALB-4-84-03      10/20/1968   10/20/1969   10/20/1968    10/20/1969
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        ALB-4-84-03      10/20/1969   10/20/1970   10/20/1969    10/20/1970
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1970   10/19/1971   10/19/1970    10/19/1971
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1971   10/19/1972   10/19/1971    10/19/1972
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1972   10/19/1973   10/19/1972    10/19/1973
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1973   10/19/1974   10/19/1973    10/19/1974
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1974     1/1/1975   10/19/1974      1/1/1975
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Aetna Casualty and Surety Company                         Unknown            1/1/1975     1/1/1976     1/1/1975      1/1/1976
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976     1/1/1975      1/1/1976
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 37        1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978     1/1/1977      1/1/1978
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220092         1/1/1977     1/1/1978     1/1/1977      1/1/1978
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/11/1972      1/1/1973
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/11/1972      1/1/1973
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974     1/1/1973      1/1/1974
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974     1/1/1973      1/1/1974
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975     1/1/1974      1/1/1975
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975     1/1/1974      1/1/1975
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976     1/1/1975      1/1/1976
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 53        1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978     1/1/1977      1/1/1978
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220275         1/1/1977     1/1/1978     1/1/1977      1/1/1978
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 45384          4/8/1966     4/8/1967     4/8/1966      4/8/1967
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 45384          4/8/1967     4/8/1968     4/8/1967      4/8/1968
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 45384          4/8/1968     4/8/1969     4/8/1968      4/8/1969
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 50444          4/8/1969     4/8/1970     4/8/1969      4/8/1970
North Florida (087): North Florida (087)                      Travelers Insurance Company                               NSL FA4183479      4/8/1970     4/8/1971     4/8/1970      4/8/1971
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 50444          4/8/1970     4/8/1971     4/8/1970      4/8/1971
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 50444          4/8/1971     4/7/1972     4/8/1971      4/7/1972
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973     4/7/1972      1/1/1973
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973     4/1/1972      1/1/1973
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974     1/1/1973      1/1/1974
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974     1/1/1973      1/1/1974
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975     1/1/1974      1/1/1975
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975     1/1/1974      1/1/1975
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976     1/1/1975      1/1/1976
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977     1/1/1976      1/1/1977
North Florida (087): North Florida (087)                      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977     1/1/1976      1/1/1977
North Florida (087): North Florida (087)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 78        1/1/1976     1/1/1977     1/1/1976      1/1/1977
North Florida (087): North Florida (087)                      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978     1/1/1977      1/1/1978
North Florida (087): North Florida (087)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219926         1/1/1977     1/1/1978     1/1/1977      1/1/1978




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Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 88        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219936         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    3/31/1972      1/1/1973
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    3/31/1972      1/1/1973
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Illinois (129): Evanston 1916-1969 (124)                    Insurance Company of North America                        SBL-2-59-19       2/25/1966    2/25/1967    2/25/1966     2/25/1967
Northeast Illinois (129): Evanston 1916-1969 (124)                    Insurance Company of North America                        SBL-2-50-54       2/25/1967    2/25/1968    2/25/1967     2/25/1968
Northeast Illinois (129): Evanston 1916-1969 (124)                    Insurance Company of North America                        SBL-2-51-38       2/25/1968    2/25/1969    2/25/1968     2/25/1969
Northeast Illinois (129): Evanston 1916-1969 (124)                    Insurance Company of North America                        SBL-2-51-38       2/25/1969    6/12/1969    2/25/1969     6/12/1969
Northeast Illinois (129): Evanston-North Shore Area 1969-1971 (129)   Insurance Company of North America                        SBL 51814         6/12/1969    6/25/1970    6/12/1969     6/25/1970
Northeast Illinois (129): Evanston-North Shore Area 1969-1971 (129)   Insurance Company of North America                        SBL 51833         6/25/1970    6/25/1971    6/25/1970     6/25/1971
Northeast Illinois (129): Northeast Illinois 1971- (129)              Insurance Company of North America                        GAL 27962         6/25/1971    6/25/1972    6/25/1971     6/25/1972
Northeast Illinois (129): Northeast Illinois 1971- (129)              Insurance Company of North America                        GAL 28017         6/25/1972    12/1/1972    6/25/1972     12/1/1972
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      2/1/1973     1/1/1974
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Illinois (129): Northeast Illinois 1971- (129)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 16        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Illinois (129): Northeast Illinois 1971- (129)              New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Illinois (129): Northeast Illinois 1971- (129)              American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Illinois (129): Northeast Illinois 1971- (129)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219962         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Illinois (129): Northeast Illinois 1971- (129)              American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Illinois (129): Northeast Illinois 1971- (129)              New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 25 02 5       6/21/1966    6/21/1967    6/21/1966     6/21/1967
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 25 10 2       6/21/1967    6/21/1968    6/21/1967     6/21/1968
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 25 15 1       6/21/1968    6/21/1969    6/21/1968     6/21/1969
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 51808         6/21/1969    6/21/1970    6/21/1969     6/21/1970
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 51808         6/21/1970    6/21/1971    6/21/1970     6/21/1971
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 51808         6/21/1971   12/20/1972    6/21/1971    12/20/1972
Northeast Iowa (178): Northeast Iowa (178)                            Maryland Casualty Company                                 31-086767          7/7/1957     7/7/1958      7/7/1957     7/7/1958
Northeast Iowa (178): Northeast Iowa (178)                            Maryland Casualty Company                                 Unknown            7/1/1958     7/1/1959      7/1/1958     7/1/1959
Northeast Iowa (178): Northeast Iowa (178)                            Home Indemnity Company                                    CGA 024051        7/31/1959    7/31/1960    7/31/1959     7/31/1960
Northeast Iowa (178): Northeast Iowa (178)                            Home Indemnity Company                                    CGA 024051        7/31/1960    7/31/1961    7/31/1960     7/31/1961
Northeast Iowa (178): Northeast Iowa (178)                            Home Indemnity Company                                    CGA 024051        7/31/1961    7/17/1962    7/31/1961     7/17/1962
Northeast Iowa (178): Northeast Iowa (178)                            American States Insurance Company                         Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Iowa (178): Northeast Iowa (178)                            United States Fidelity and Guaranty Company               Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Iowa (178): Northeast Iowa (178)                            United States Fidelity and Guaranty Company               Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Iowa (178): Northeast Iowa (178)                            American States Insurance Company                         Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Iowa (178): Northeast Iowa (178)                            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Iowa (178): Northeast Iowa (178)                            National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 42        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Iowa (178): Northeast Iowa (178)                            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Iowa (178): Northeast Iowa (178)                            American States Insurance Company                         Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Iowa (178): Northeast Iowa (178)                            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977




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Northeast Iowa (178): Northeast Iowa (178)                        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Iowa (178): Northeast Iowa (178)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219988         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeastern Pennsylvania (501): Anthracite 1927-1970 (514)       Insurance Company of North America                        SBL 4 29 70        4/1/1967     4/1/1968      4/1/1967     4/1/1968
Northeastern Pennsylvania (501): Anthracite 1927-1970 (514)       Insurance Company of North America                        SBL 4 69 34        4/1/1968     4/1/1969      4/1/1968     4/1/1969
Northeastern Pennsylvania (501): Anthracite 1927-1970 (514)       Insurance Company of North America                        SBL 4 69 34        4/1/1969     4/1/1970      4/1/1969     4/1/1970
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 48449         3/30/1968    3/30/1969    3/30/1968     3/30/1969
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 48449         3/30/1969    3/30/1970    3/30/1969     3/30/1970
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 48449         3/30/1970    3/30/1971    3/30/1970     3/30/1971
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 53071         3/30/1971    3/29/1972    3/30/1971     3/29/1972
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 53071         3/30/1972    3/30/1973    3/30/1972     3/30/1973
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 53071         3/30/1973    3/30/1974    3/30/1973     3/30/1974
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        GLP 56 95 31      3/30/1974    3/30/1975    3/30/1974     3/30/1975
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        GLP 56 95 31      3/30/1975    3/30/1976    3/30/1975     3/30/1976
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 46        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        GLP 56 95 31      3/30/1976    3/30/1977    3/30/1976     3/30/1977
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        GLP 66 36 60      3/30/1977     1/1/1978    3/30/1977      1/1/1978
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Insurance Company of North America                        SBL 51392          4/1/1970     4/1/1971      4/1/1970     4/1/1971
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Insurance Company of North America                        SBL 51392          4/1/1971    3/31/1972      4/1/1971    3/31/1972
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Insurance Company of North America                        SBL 51392          4/1/1972     4/1/1973      4/1/1972     4/1/1973
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      4/1/1973     1/1/1974
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      4/1/1973     1/1/1974
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 44        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Aetna Casualty and Surety Company                         44AB221317       12/31/1976   12/31/1977   12/31/1976    12/31/1977
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220099         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 4 53 72        1/1/1966     1/1/1967      1/1/1966     1/1/1967
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 4 53 72        1/1/1967     1/1/1968      1/1/1967     1/1/1968
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 4 53 72        1/1/1968     1/1/1969      1/1/1968     1/1/1969
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 50434          1/1/1969     1/1/1970      1/1/1969     1/1/1970
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 50434          1/1/1970     4/1/1970      1/1/1970     4/1/1970
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/20/1972      1/1/1973
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/20/1972      1/1/1973
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        SBL-4-46-37        7/1/1968     7/1/1969      7/1/1968     7/1/1969
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        SBL 4 46 52        7/1/1969     7/1/1970      7/1/1969     7/1/1970
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        SBL 4 46 70        7/1/1970     7/1/1971      7/1/1970     7/1/1971
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        SBL 4 46 90        7/1/1971     7/1/1972      7/1/1971     7/1/1972
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        GAL 13 57 61       7/1/1972   11/10/1972      7/1/1972   11/10/1972
Northern Lights (429): Missouri Valley 1929-1974 (432)            Insurance Company of North America                        SBL 4 46 60       1/17/1970    1/17/1971    1/17/1970     1/17/1971
Northern Lights (429): Missouri Valley 1929-1974 (432)            Insurance Company of North America                        SBL 4 46 78       1/17/1971    1/17/1972    1/17/1971     1/17/1972
Northern Lights (429): Missouri Valley 1929-1974 (432)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    1/17/1972      1/1/1973
Northern Lights (429): Missouri Valley 1929-1974 (432)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    1/17/1972      1/1/1973




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Northern Lights (429): Missouri Valley 1929-1974 (432)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Missouri Valley 1929-1974 (432)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Missouri Valley 1929-1974 (432)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Missouri Valley 1929-1974 (432)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Northern Lights 1974- (429)              Insurance Company of North America                        XBC 132519         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Lights (429): Northern Lights 1974- (429)              New Hampshire Insurance Company                           GLA 91 79 99       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Lights (429): Northern Lights 1974- (429)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Lights (429): Northern Lights 1974- (429)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Lights (429): Northern Lights 1974- (429)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Lights (429): Northern Lights 1974- (429)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 93        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Lights (429): Northern Lights 1974- (429)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Lights (429): Northern Lights 1974- (429)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220046         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Lights (429): Red River Valley 1925-1974 (429)         United States Fidelity and Guaranty Company               20011              6/1/1949    6/1/1950      6/1/1949     6/1/1950
Northern Lights (429): Red River Valley 1925-1974 (429)         United States Fidelity and Guaranty Company               CGA 28599          6/1/1950    6/1/1951      6/1/1950     6/1/1951
Northern Lights (429): Red River Valley 1925-1974 (429)         United States Fidelity and Guaranty Company               42075              6/1/1951    6/1/1952      6/1/1951     6/1/1952
Northern Lights (429): Red River Valley 1925-1974 (429)         Central Surety & Insurance Corporation                    CCP 12670          6/1/1952    6/1/1953      6/1/1952     6/1/1953
Northern Lights (429): Red River Valley 1925-1974 (429)         Central Surety & Insurance Corporation                    CCP 14162          6/1/1953    6/1/1954      6/1/1953     6/1/1954
Northern Lights (429): Red River Valley 1925-1974 (429)         Central Surety & Insurance Corporation                    CCP 17526          6/1/1954    6/1/1955      6/1/1954     6/1/1955
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL 71781           6/1/1955    6/1/1956      6/1/1955     6/1/1956
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL11-0537          6/1/1956    6/1/1957      6/1/1956     6/1/1957
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL10-9446          6/1/1957    6/1/1958      6/1/1957     6/1/1958
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        118145             6/1/1958    6/1/1959      6/1/1958     6/1/1959
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        120666             6/1/1959    6/1/1960      6/1/1959     6/1/1960
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL70090            6/1/1960    6/1/1961      6/1/1960     6/1/1961
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL70095            6/1/1961    6/1/1962      6/1/1961     6/1/1962
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL17-6975          6/1/1962    6/1/1963      6/1/1962     6/1/1963
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1963    6/1/1964      6/1/1963     6/1/1964
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1964    6/1/1965      6/1/1964     6/1/1965
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1965    6/1/1966      6/1/1965     6/1/1966
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1966    6/1/1967      6/1/1966     6/1/1967
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1967    6/1/1968      6/1/1967     6/1/1968
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        SBL-4-46-39       8/16/1968   8/16/1969    8/16/1968     8/16/1969
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        SBL 4 46 50       8/16/1969   8/16/1970    8/16/1969     8/16/1970
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        SBL 4 46 74       8/16/1970   8/16/1971    8/16/1970     8/16/1971
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        SBL 44688         8/16/1971   8/16/1972    8/16/1971     8/16/1972
Northern Lights (429): Red River Valley 1925-1974 (429)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Red River Valley 1925-1974 (429)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Red River Valley 1925-1974 (429)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Red River Valley 1925-1974 (429)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 45385         4/25/1966   4/25/1967    4/25/1966     4/25/1967
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 45385         4/25/1967   4/25/1968    4/25/1967     4/25/1968
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 45385         4/25/1968   4/25/1969    4/25/1968     4/25/1969
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 51182         4/25/1969   4/25/1970    4/25/1969     4/25/1970
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 51175         4/25/1969   4/26/1969    4/25/1969     4/26/1969
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 51182         4/25/1970   4/25/1971    4/25/1970     4/25/1971
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 51182         4/25/1971   4/24/1972    4/25/1971     4/24/1972
Northern New Jersey (333): Aheka 1939-1972 (354)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/25/1972      1/1/1973
Northern New Jersey (333): Aheka 1939-1972 (354)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/25/1972      1/1/1973
Northern New Jersey (333): Aheka 1939-1972 (354)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Aheka 1939-1972 (354)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 29 98        4/1/1965    4/1/1966      4/1/1965     4/1/1966
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 29 98        4/1/1966    4/1/1967      4/1/1966     4/1/1967




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Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 29 98        4/1/1967    4/1/1968      4/1/1967     4/1/1968
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 69 45        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 69 45        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 69 45        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 29 90       5/11/1965   5/11/1966    5/11/1965     5/11/1966
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 29 90       5/11/1966   5/11/1967    5/11/1966     5/11/1967
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 29 90       5/11/1967   5/11/1968    5/11/1967     5/11/1968
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 69 39       5/11/1968   5/11/1969    5/11/1968     5/11/1969
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 69 39       5/11/1969   5/11/1970    5/11/1969     5/11/1970
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 69 39       5/11/1970   5/11/1971    5/11/1970     5/11/1971
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/11/1972      1/1/1973
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/11/1972      1/1/1973
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Bayonne 1918-1993 (332)              Travelers Indemnity Company                               Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Northern New Jersey (333): Bayonne 1918-1993 (332)              Travelers                                                 Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Northern New Jersey (333): Bayonne 1918-1993 (332)              Travelers Indemnity Company                               SBL 521793        11/1/1962   11/1/1963    11/1/1962     11/1/1963
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        Unknown           11/1/1963   11/1/1964    11/1/1963     11/1/1964
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        Unknown           11/1/1964   11/1/1965    11/1/1964     11/1/1965
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 45370         11/1/1965   11/1/1966    11/1/1965     11/1/1966
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 45370         11/1/1966   11/1/1967    11/1/1966     11/1/1967
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 45370         11/1/1967   11/1/1968    11/1/1967     11/1/1968
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 50420         11/1/1968   11/1/1969    11/1/1968     11/1/1969
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 50420         11/1/1969   11/1/1970    11/1/1969     11/1/1970
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 50420         11/1/1970   11/1/1971    11/1/1970     11/1/1971
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Bayonne 1918-1993 (332)              New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bayonne 1918-1993 (332)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bayonne 1918-1993 (332)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bayonne 1918-1993 (332)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220178         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bayonne 1918-1993 (332)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bayonne 1918-1993 (332)              New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bergen 1969-1995 (350)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Bergen 1969-1995 (350)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bergen 1969-1995 (350)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 36        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bergen 1969-1995 (350)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bergen 1969-1995 (350)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220187         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bergen 1969-1995 (350)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bergen 1995-1999 (350)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/23/1972      1/1/1973
Northern New Jersey (333): Bergen 1995-1999 (350)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/23/1972      1/1/1973
Northern New Jersey (333): Bergen 1995-1999 (350)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Northern New Jersey (333): Bergen 1995-1999 (350)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Bergen 1995-1999 (350)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Bergen 1995-1999 (350)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Eagle Rock 1931-1976 (346)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Eagle Rock 1931-1976 (346)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Eagle Rock 1931-1976 (346)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Essex 1976-1999 (336)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Essex 1976-1999 (336)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 74 00        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Essex 1976-1999 (336)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Essex 1976-1999 (336)                 New Hampshire Insurance Company                           GLA 336371         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Essex 1976-1999 (336)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Hudson 1936-1968 (342)                Insurance Company of North America                        SBL 6 53 52       5/13/1965   5/13/1966    5/13/1965     5/13/1966
Northern New Jersey (333): Hudson 1936-1968 (342)                Insurance Company of North America                        SBL 6 53 52       5/13/1966   5/13/1967    5/13/1966     5/13/1967
Northern New Jersey (333): Hudson 1936-1968 (342)                Insurance Company of North America                        SBL 6 53 52       5/13/1967   5/13/1968    5/13/1967     5/13/1968
Northern New Jersey (333): Hudson 1936-1968 (342)                Insurance Company of North America                        SBL 4 69 51       5/13/1968   5/13/1969    5/13/1968     5/13/1969
Northern New Jersey (333): Hudson Liberty 1993-1999 (348)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Northern New Jersey (333): Hudson Liberty 1993-1999 (348)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Insurance Company of North America                        SBL 4 69 45        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Insurance Company of North America                        SBL 4 69 45        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Insurance Company of North America                        SBL 4 69 45        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 40        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220191         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1966   3/23/1966      1/1/1966    3/23/1966
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 4 53 81       3/23/1966   3/23/1967    3/23/1966     3/23/1967
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 4 53 81       3/23/1967   3/23/1968    3/23/1967     3/23/1968
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 4 53 81       3/23/1968   3/23/1969    3/23/1968     3/23/1969
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 5 11 79       3/23/1969   3/23/1970    3/23/1969     3/23/1970
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 5 11 79       3/23/1970   3/23/1971    3/23/1970     3/23/1971
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 5 11 79       3/23/1971   3/23/1972    3/23/1971     3/23/1972
Northern New Jersey (333): Northern New Jersey 1999- (333)       Hartford Fire Insurance Company                           13 UUN CY4185      4/5/1999    4/5/2000      4/5/1999     4/5/2000
Northern New Jersey (333): Northern New Jersey 1999- (333)       Hartford Fire Insurance Company                           13 UUN CY4185      4/5/2000    4/5/2001      4/5/2000     4/5/2001
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        GLP-17-77-71      8/18/1967   8/18/1968    8/18/1967     8/18/1968
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        GLP-17-39-79      8/18/1968   8/18/1969    8/18/1968     8/18/1969
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        Unknown           8/18/1970   8/18/1971    8/18/1970     8/18/1971
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        Unknown           8/18/1971   8/18/1972    8/18/1971     8/18/1972
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        Unknown           8/18/1972   8/18/1973    8/18/1972     8/18/1973




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Northern New Jersey (333): Orange Mountain 1949-1976 (337)     Insurance Company of North America                        Unknown           8/18/1973   8/18/1974    8/18/1973     8/18/1974
Northern New Jersey (333): Orange Mountain 1949-1976 (337)     Insurance Company of North America                        Unknown           8/18/1974    1/1/1975    8/18/1974      1/1/1975
Northern New Jersey (333): Orange Mountain 1949-1976 (337)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Orange Mountain 1949-1976 (337)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Orange Mountain 1949-1976 (337)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 43        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220194         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1946   6/14/1947    6/14/1946    6/14/1947
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1947   6/14/1948    6/14/1947    6/14/1948
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1948   6/14/1949    6/14/1948    6/14/1949
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1949   6/14/1950    6/14/1949    6/14/1950
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1950   6/14/1951    6/14/1950    6/14/1951
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1951   6/14/1952    6/14/1951    6/14/1952
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1952   6/14/1953    6/14/1952    6/14/1953
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1953   6/14/1954    6/14/1953    6/14/1954
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1954   6/14/1955    6/14/1954    6/14/1955
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1955   6/14/1956    6/14/1955    6/14/1956
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1956   6/14/1957    6/14/1956    6/14/1957
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1957   6/14/1958    6/14/1957    6/14/1958
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1958   6/14/1959    6/14/1958    6/14/1959
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1959   6/14/1960    6/14/1959    6/14/1960
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1960   6/14/1961    6/14/1960    6/14/1961
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1961   6/14/1962    6/14/1961    6/14/1962
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1962   6/14/1963    6/14/1962    6/14/1963
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1963   6/14/1964    6/14/1963    6/14/1964
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1964   6/14/1965    6/14/1964    6/14/1965
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        SBL 4 53 60       6/14/1965   6/14/1966    6/14/1965    6/14/1966
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1965   6/14/1966    6/14/1965    6/14/1966




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Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 4 53 60       6/14/1966   6/14/1967    6/14/1966    6/14/1967
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        Unknown           6/14/1966   6/14/1967    6/14/1966    6/14/1967
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 4 53 60       6/14/1967   6/14/1968    6/14/1967    6/14/1968
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 50403         6/14/1968   6/14/1969    6/14/1968    6/14/1969
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 50403         6/14/1969   6/14/1970    6/14/1969    6/14/1970
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 50403         6/14/1970   6/14/1971    6/14/1970    6/14/1971
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 5 15 57       6/14/1971   6/14/1972    6/14/1971    6/14/1972
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/1/1972     1/1/1973
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    12/1/1972     1/1/1973
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 35        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220186         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 New Hampshire Insurance Company                           GLA 282471         3/1/1977    3/1/1978     3/1/1977     3/1/1978
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 53 71       5/13/1965   5/13/1966    5/13/1965    5/13/1966
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 53 71       5/13/1966   5/13/1967    5/13/1966    5/13/1967
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 53 71       5/13/1967   5/13/1968    5/13/1967    5/13/1968
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 69 44       5/13/1968   5/13/1969    5/13/1968    5/13/1969
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 69 44       5/13/1969   5/13/1970    5/13/1969    5/13/1970
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 69 44       5/13/1970   5/13/1971    5/13/1970    5/13/1971
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 5 15 44       5/13/1971   5/13/1972    5/13/1971    5/13/1972
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/13/1972     1/1/1973
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/13/1972     1/1/1973
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974




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Northern New Jersey (333): Robert Treat 1933-1976 (349)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Robert Treat 1933-1976 (349)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Robert Treat 1933-1976 (349)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Robert Treat 1933-1976 (349)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Robert Treat 1933-1976 (349)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Robert Treat 1933-1976 (349)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220182         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 45388          6/1/1966    6/1/1967      6/1/1966     6/1/1967
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 45388          6/1/1967    6/1/1968      6/1/1967     6/1/1968
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 45388          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 5 11 86        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 5 11 86        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 5 11 86        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Tamarack 1935-1986 (333)       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Tamarack 1935-1986 (333)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Tamarack 1935-1986 (333)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 37        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Tamarack 1935-1986 (333)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220188         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Tamarack 1935-1986 (333)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Tamarack 1935-1986 (333)       New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                766JH0451          1/1/1961    1/1/1962      1/1/1961     1/1/1962
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Star (250): Indianhead Council 1955-2005 (295)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Star (250): Indianhead Council 1955-2005 (295)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Indianhead Council 1955-2005 (295)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Indianhead Council 1955-2005 (295)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 04        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Indianhead Council 1955-2005 (295)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Star (250): Indianhead Council 1955-2005 (295)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220154         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1961    7/1/1961      1/1/1961     7/1/1961
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        XUA 1461           7/1/1961    9/1/1961      7/1/1961     9/1/1961




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Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1961    9/1/1962      9/1/1961     9/1/1962
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1962    9/1/1963      9/1/1962     9/1/1963
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1963    9/1/1964      9/1/1963     9/1/1964
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1964    9/1/1965      9/1/1964     9/1/1965
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1965    6/1/1966      9/1/1965     6/1/1966
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL-3-70-25       6/18/1966   6/18/1967    6/18/1966     6/18/1967
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL 4 46 20       6/18/1967   6/18/1968    6/18/1967     6/18/1968
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL 4 46 38       6/18/1968   6/18/1969    6/18/1968     6/18/1969
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL 4 46 48       6/18/1969   6/18/1970    6/18/1969     6/18/1970
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL 44669         6/18/1970   6/18/1971    6/18/1970     6/18/1971
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/18/1972      1/1/1973
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/18/1972      1/1/1973
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Star (250): Viking 1951-2005 (289)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Viking 1951-2005 (289)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 01        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Viking 1951-2005 (289)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Star (250): Viking 1951-2005 (289)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220151         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northwest Georgia (100): Northwest Georgia (100)        Insurance Company of North America                        SBL 4 88 35       7/29/1970   7/29/1971    7/29/1970     7/29/1971
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northwest Georgia (100): Northwest Georgia (100)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 94        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Georgia (100): Northwest Georgia (100)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   SMP 267512        1/21/1976    3/9/1976    1/21/1976      3/9/1976
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   SMP 267512         3/9/1976   1/21/1977      3/9/1976    1/21/1977
Northwest Georgia (100): Northwest Georgia (100)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219942         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northwest Georgia (100): Northwest Georgia (100)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   SMP 267512        1/21/1977   1/21/1978    1/21/1977     1/21/1978
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Texas (587): Northwest Texas (587)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 92        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Texas (587): Northwest Texas (587)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Texas (587): Northwest Texas (587)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220223         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northwest Texas (587): Northwest Texas (587)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Norwela (215): Norwela (215)                            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Norwela (215): Norwela (215)                            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Norwela (215): Norwela (215)                            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Norwela (215): Norwela (215)                            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975




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Norwela (215): Norwela (215)                                 Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Norwela (215): Norwela (215)                                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 62           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Norwela (215): Norwela (215)                                 American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Norwela (215): Norwela (215)                                 Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Norwela (215): Norwela (215)                                 American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978      1/1/1977     1/1/1978
Norwela (215): Norwela (215)                                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220110            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Occoneechee (421): Occoneechee (421)                         Continental Casualty Company                              SRD-354549            1/1/1956    1/1/1957      1/1/1956     1/1/1957
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974      1/1/1973     1/1/1974
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975      1/1/1974     1/1/1975
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Occoneechee (421): Occoneechee (421)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 89           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Occoneechee (421): Occoneechee (421)                         American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Occoneechee (421): Occoneechee (421)                         American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978      1/1/1977     1/1/1978
Occoneechee (421): Occoneechee (421)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220043            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 12           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220065            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Insurance Company of North America                        AGP D0 05 09 68 1    4/19/1977    1/9/1978    4/19/1977      1/9/1978
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43230            6/15/1967   6/15/1968    6/15/1967     6/15/1968
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43259            6/15/1968   6/15/1969    6/15/1968     6/15/1969
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43259            6/15/1969   6/15/1970    6/15/1969     6/15/1970
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43259            6/15/1970   6/15/1971    6/15/1970     6/15/1971
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43259            6/15/1971   6/15/1972    6/15/1971     6/15/1972
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10HUA43302            1/1/1972    1/1/1973    6/16/1972      1/1/1973
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43303             1/1/1972    1/1/1973    6/16/1972      1/1/1973
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ohio River Valley (619): National Trail 1966-1991 (619)      New Hampshire Insurance Company                           Unknown               1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): National Trail 1966-1991 (619)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 40           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): National Trail 1966-1991 (619)      American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): National Trail 1966-1991 (619)      New Hampshire Insurance Company                           Unknown               1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): National Trail 1966-1991 (619)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220256            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): National Trail 1966-1991 (619)      American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1959    1/1/1960      1/1/1959     1/1/1960
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1960    1/1/1961      1/1/1960     1/1/1961
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1961    1/1/1962      1/1/1961     1/1/1962
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1962    1/1/1963      1/1/1962     1/1/1963
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1963    1/1/1964      1/1/1963     1/1/1964




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Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        7 04 34            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        Unknown            1/1/1969   2/28/1969      1/1/1969    2/28/1969
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        SBL 51025         2/28/1969   2/28/1970    2/28/1969     2/28/1970
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        SBL 52588         2/28/1970   2/28/1971    2/28/1970     2/28/1971
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        SBL 53595         2/28/1971   2/28/1972    2/28/1971     2/28/1972
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old Hickory (427): Old Hickory (427)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 92        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old Hickory (427): Old Hickory (427)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old Hickory (427): Old Hickory (427)                    New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old Hickory (427): Old Hickory (427)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old Hickory (427): Old Hickory (427)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220045         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        SBL 50252          6/9/1968    6/9/1969      6/9/1968     6/9/1969
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        SBL 51056          6/9/1969    6/9/1970      6/9/1969     6/9/1970
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        SBL 5 26 52        6/9/1970    6/9/1971      6/9/1970     6/9/1971
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        Unknown            6/9/1971    6/9/1972      6/9/1971     6/9/1972
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        Unknown            6/9/1972    6/9/1973      6/9/1972     6/9/1973
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        Unknown            6/9/1973    1/1/1974      6/9/1973     1/1/1974
Old North State (070): Cherokee 1923-1994 (417)         United States Fidelity and Guaranty Company               Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old North State (070): Cherokee 1923-1994 (417)         United States Fidelity and Guaranty Company               Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old North State (070): Cherokee 1923-1994 (417)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old North State (070): Cherokee 1923-1994 (417)         United States Fidelity and Guaranty Company               Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 83        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Cherokee 1923-1994 (417)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Cherokee 1923-1994 (417)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220036         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): General Greene 1947-1992 (418)   Insurance Company of North America                        SBL 5 10 55       4/24/1969   4/24/1970    4/24/1969     4/24/1970
Old North State (070): General Greene 1947-1992 (418)   Insurance Company of North America                        SBL 52627         4/24/1970   4/24/1971    4/24/1970     4/24/1971
Old North State (070): General Greene 1947-1992 (418)   Insurance Company of North America                        SBL 53619         4/21/1971   4/21/1972    4/21/1971     4/21/1972
Old North State (070): General Greene 1947-1992 (418)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old North State (070): General Greene 1947-1992 (418)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): General Greene 1947-1992 (418)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 87        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): General Greene 1947-1992 (418)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): General Greene 1947-1992 (418)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): General Greene 1947-1992 (418)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220040         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Uwharrie 1923-1992 (419)         Insurance Company of North America                        SBL 5 11 92       5/29/1969   5/29/1970    5/29/1969     5/29/1970
Old North State (070): Uwharrie 1923-1992 (419)         Insurance Company of North America                        SBL 5 11 92       5/29/1970   5/29/1971    5/29/1970     5/29/1971
Old North State (070): Uwharrie 1923-1992 (419)         Insurance Company of North America                        SBL 5 11 92       5/29/1971   5/29/1972    5/29/1971     5/29/1972
Old North State (070): Uwharrie 1923-1992 (419)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/29/1972      1/1/1973




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Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/29/1972      1/1/1973
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old North State (070): Uwharrie 1923-1992 (419)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Uwharrie 1923-1992 (419)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 88        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Uwharrie 1923-1992 (419)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220041         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Uwharrie 1923-1992 (419)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Orange County (039): North Orange 1965-1972 (037)         Insurance Company of North America                        SBL 4 59 03       12/1/1968   12/1/1969    12/1/1968     12/1/1969
Orange County (039): North Orange 1965-1972 (037)         Insurance Company of North America                        SBL 4 59 03       12/1/1969   12/1/1970    12/1/1969     12/1/1970
Orange County (039): North Orange 1965-1972 (037)         Insurance Company of North America                        SBL 4 59 03       12/1/1970   12/1/1971    12/1/1970     12/1/1971
Orange County (039): North Orange 1965-1972 (037)         New Hampshire Insurance Company                           GLA 424946         1/1/1972   8/15/1972      1/1/1972    8/15/1972
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           837484            8/15/1972    1/1/1973    8/15/1972      1/1/1973
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Orange County (039): Orange County 1972- (039)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Orange County (039): Orange County 1972- (039)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 54        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Orange County (039): Orange County 1972- (039)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Orange County (039): Orange County 1972- (039)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Orange County (039): Orange County 1972- (039)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Orange County (039): Orange County 1972- (039)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219902         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Orange County (039): Orange Empire Area 1944-1972 (039)   New Hampshire Insurance Company                           Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Orange County (039): Orange Empire Area 1944-1972 (039)   Pacific Insurance Company                                 Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Oregon Trail (697): Oregon Trail (697)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Oregon Trail (697): Oregon Trail (697)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Oregon Trail (697): Oregon Trail (697)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Oregon Trail (697): Oregon Trail (697)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Oregon Trail (697): Oregon Trail (697)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Oregon Trail (697): Oregon Trail (697)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220081         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Overland Trails (322): Overland Trails 1993- (322)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 18        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Overland Trails (322): Overland Trails 1993- (322)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220169         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Overland Trails (322): Tri-Trails 1954-1993 (323)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Overland Trails (322): Tri-Trails 1954-1993 (323)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Overland Trails (322): Tri-Trails 1954-1993 (323)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Overland Trails (322): Tri-Trails 1954-1993 (323)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 20        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Overland Trails (322): Tri-Trails 1954-1993 (323)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Overland Trails (322): Tri-Trails 1954-1993 (323)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220172         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Insurance Company of North America                        SBL 51587         6/15/1971   6/15/1972    6/15/1971     6/15/1972
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/15/1972      1/1/1973
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/15/1972      1/1/1973
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 13        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220163         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ozark Trails (306): Ozarks 1966-1994 (308)                 Great American Insurance Company                          Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ozark Trails (306): Ozarks 1966-1994 (308)                 Great American Insurance Company                          Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ozark Trails (306): Ozarks 1966-1994 (308)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 16        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Ozarks 1966-1994 (308)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Ozarks 1966-1994 (308)                 Great American Insurance Company                          Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Ozarks 1966-1994 (308)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Ozarks 1966-1994 (308)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220167         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220245         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Insurance Company of North America                        SBL 50443         2/16/1969   2/16/1970    2/16/1969     2/16/1970
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Insurance Company of North America                        SBL 50443         2/16/1970   2/16/1971    2/16/1970     2/16/1971
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Insurance Company of North America                        SBL 50443         2/16/1971   2/16/1972    2/16/1971     2/16/1972
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/16/1972      1/1/1973
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 23        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220242         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
                                                                                                                     650-186E164-7-
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Charter Oak Fire Insurance Company                        COF-77            6/12/1977   6/12/1978    6/12/1977    6/12/1978
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Insurance Company of North America                        SBL 51197         10/1/1969   10/1/1970    10/1/1969    10/1/1970
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Insurance Company of North America                        SBL 51197         10/1/1970   10/1/1971    10/1/1970    10/1/1971
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Insurance Company of North America                        SBL 51197         10/1/1971   10/1/1972    10/1/1971    10/1/1972
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    10/1/1972     1/1/1973
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973     1/1/1972     1/1/1973
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975




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Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 22        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220241         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Insurance Company of North America                        SBL 5 04 42       1/19/1969   1/19/1970    1/19/1969     1/19/1970
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Insurance Company of North America                        SBL 5 04 42       1/19/1970   1/19/1971    1/19/1970     1/19/1971
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Insurance Company of North America                        SBL 5 04 42       1/19/1971   1/19/1972    1/19/1971     1/19/1972
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/19/1972      1/1/1973
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/19/1972      1/1/1973
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Skyline (031): San Mateo County 1932-1994 (020)    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): San Mateo County 1932-1994 (020)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): San Mateo County 1932-1994 (020)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 52        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): San Mateo County 1932-1994 (020)    New Hampshire Insurance Company                           GLA 282420         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): San Mateo County 1932-1994 (020)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219900         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): San Mateo County 1932-1994 (020)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): San Mateo County 1932-1994 (020)    New Hampshire Insurance Company                           GLA 282421         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 48595         2/18/1965   2/18/1966    2/18/1965     2/18/1966
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 48595         2/18/1966   2/18/1967    2/18/1966     2/18/1967
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 48595         2/18/1967   2/18/1968    2/18/1967     2/18/1968
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 46904         2/18/1968   2/18/1969    2/18/1968     2/18/1969
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 46904         2/18/1969   2/18/1970    2/18/1969     2/18/1970
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 46904         2/18/1970   2/18/1971    2/18/1970     2/18/1971
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 51509         2/18/1971   2/18/1972    2/18/1971     2/18/1972
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    2/18/1972      1/1/1973
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/18/1972      1/1/1973
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): Stanford Area 1940-1994 (031)       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): Stanford Area 1940-1994 (031)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): Stanford Area 1940-1994 (031)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 42        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): Stanford Area 1940-1994 (031)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): Stanford Area 1940-1994 (031)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219890         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        GAL 34 32 31       2/4/1977    1/1/1978      2/4/1977     1/1/1978
Palmetto (549): Palmetto (549)                             Insurance Company of North America                        SBL 50254          7/1/1968    7/1/1969      7/1/1968     7/1/1969
Palmetto (549): Palmetto (549)                             Insurance Company of North America                        SBL 51087          7/1/1969    7/1/1970      7/1/1969     7/1/1970
Palmetto (549): Palmetto (549)                             Insurance Company of North America                        SBL 52670          7/1/1970    7/1/1971      7/1/1970     7/1/1971




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             Current Council: Predecessor Council                                         Carrier                           Policy Number   Start Date   End Date
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Palmetto (549): Palmetto (549)                                   Insurance Company of North America                        SBL 53661          7/1/1971    7/1/1972      7/1/1971     7/1/1972
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Palmetto (549): Palmetto (549)                                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 60        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Palmetto (549): Palmetto (549)                                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Palmetto (549): Palmetto (549)                                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220282         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Palmetto (549): Palmetto (549)                                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Calumet 1965-2016 (152)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Calumet 1965-2016 (152)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Calumet 1965-2016 (152)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 34        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Calumet 1965-2016 (152)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Calumet 1965-2016 (152)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Calumet 1965-2016 (152)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219980         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL-2-50-05        1/1/1966    1/1/1967      1/1/1966     1/1/1967
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL-2-50-63        1/1/1967    1/1/1968      1/1/1967     1/1/1968
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL-2-51-31        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL 25162          1/1/1969    1/1/1970      1/1/1969     1/1/1970
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL 51835          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL 5 18 50        1/1/1971    1/1/1972      1/1/1971     1/1/1972
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 11        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219958         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Illinois Employers Insurance of Wausau                    77-GA 14332       9/12/1977   9/12/1978    9/12/1977     9/12/1978
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Insurance Company of North America                        SBL 52763         5/13/1971   5/13/1972    5/13/1971     5/13/1972
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Insurance Company of North America                        Unknown           5/13/1971   5/13/1972    5/13/1971     5/13/1972
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/13/1972      1/1/1973
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/13/1972      1/1/1973
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 08        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219955         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Pathway to Adventure (456)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Pathway to Adventure (456)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Pathway to Adventure (456)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977




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             Current Council: Predecessor Council                                          Carrier                           Policy Number   Start Date   End Date
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Pathway to Adventure (456): Pathway to Adventure (456)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL-2-49-60        4/2/1965    4/2/1966      4/2/1965     4/2/1966
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 2 50 73        4/2/1966    4/2/1967      4/2/1966     4/2/1967
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 2 50 73        4/2/1967    4/2/1968      4/2/1967     4/2/1968
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 25148          4/2/1968    4/2/1969      4/2/1968     4/2/1969
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 51801          4/2/1969    4/2/1970      4/2/1969     4/2/1970
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 51825          4/2/1970    4/2/1971      4/2/1970     4/2/1971
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 51856          4/2/1971    4/2/1972      4/2/1971     4/2/1972
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/2/1972     1/1/1973
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/2/1972     1/1/1973
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 21        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219967         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 45369         10/1/1965   10/1/1966    10/1/1965     10/1/1966
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 45369         10/1/1966   10/1/1967    10/1/1966     10/1/1967
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 45369         10/1/1967   10/1/1968    10/1/1967     10/1/1968
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 50419         10/1/1968   10/1/1969    10/1/1968     10/1/1969
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 50419         10/1/1969   10/1/1970    10/1/1969     10/1/1970
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 50419         10/1/1970   10/1/1971    10/1/1970     10/1/1971
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Federal Insurance Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Federal Insurance Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): West Suburban 1918-1993 (147)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): West Suburban 1918-1993 (147)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): West Suburban 1918-1993 (147)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 19        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): West Suburban 1918-1993 (147)         New Hampshire Insurance Company                           SLP275526CN137     1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): West Suburban 1918-1993 (147)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219965         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): West Suburban 1918-1993 (147)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Camden Fire Insurance Association                         SMP 419016         2/1/1975    2/1/1976      2/1/1975     2/1/1976
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977




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              Current Council: Predecessor Council                                Carrier                           Policy Number   Start Date   End Date
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Patriots' Path (358): Morris-Sussex 1936-1999 (343)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 27        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Morris-Sussex 1936-1999 (343)      Camden Fire Insurance Association                         SMP 419016         2/1/1976    2/1/1977      2/1/1976     2/1/1977
Patriots' Path (358): Morris-Sussex 1936-1999 (343)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220179         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Morris-Sussex 1936-1999 (343)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Morris-Sussex 1936-1999 (343)      Camden Fire Insurance Association                         SMP 419016         2/1/1977    2/1/1978      2/1/1977     2/1/1978
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/15/1972      1/1/1973
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/15/1972      1/1/1973
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Union 1928-1980 (338)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Union 1928-1980 (338)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 29        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Union 1928-1980 (338)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220181         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Union 1928-1980 (338)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        2115              1/27/1945   1/27/1946    1/27/1945     1/27/1946
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        2115              1/27/1946   1/27/1947    1/27/1946     1/27/1947
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        2115              1/27/1947   1/27/1948    1/27/1947     1/27/1948
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1948   1/27/1949    1/27/1948     1/27/1949
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1949   1/27/1950    1/27/1949     1/27/1950
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1950   1/27/1951    1/27/1950     1/27/1951
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1951   1/27/1952    1/27/1951     1/27/1952
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1952   1/27/1953    1/27/1952     1/27/1953
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1953   1/27/1954    1/27/1953     1/27/1954
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1954   1/27/1955    1/27/1954     1/27/1955
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1955   1/27/1956    1/27/1955     1/27/1956
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1956   1/27/1957    1/27/1956     1/27/1957
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1957   1/27/1958    1/27/1957     1/27/1958
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1958   1/27/1959    1/27/1958     1/27/1959
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1959   1/27/1960    1/27/1959     1/27/1960
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1960   1/27/1961    1/27/1960     1/27/1961
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1961   1/27/1962    1/27/1961     1/27/1962
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1962   1/27/1963    1/27/1962     1/27/1963
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1963   1/27/1964    1/27/1963     1/27/1964
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1964   1/27/1965    1/27/1964     1/27/1965
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1965   1/27/1966    1/27/1965     1/27/1966
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1966   1/27/1967    1/27/1966     1/27/1967
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1967   1/27/1968    1/27/1967     1/27/1968
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1968   1/27/1969    1/27/1968     1/27/1969
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1969   1/27/1970    1/27/1969     1/27/1970
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1970   3/20/1970    1/27/1970     3/20/1970
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        GAL-16124         3/20/1970   3/20/1971    3/20/1970     3/20/1971
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        SBL 21690         5/27/1971   5/27/1972    5/27/1971     5/27/1972
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/27/1972      1/1/1973
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/27/1972      1/1/1973
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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              Current Council: Predecessor Council                                     Carrier                           Policy Number   Start Date   End Date
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Patriots' Path (358): Watchung Area 1926-1999 (358)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 34        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Watchung Area 1926-1999 (358)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Watchung Area 1926-1999 (358)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Watchung Area 1926-1999 (358)           New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Watchung Area 1926-1999 (358)           Jefferson Insurance Company of New York                   JE 65914           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)           Ambassador Insurance Company                              Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220185         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)           New Hampshire Insurance Company                           GLA 332370         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 4 53 56        7/1/1965     7/1/1966      7/1/1965     7/1/1966
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 4 53 56        7/1/1966     7/1/1967      7/1/1966     7/1/1967
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 4 53 56        7/1/1967     7/1/1968      7/1/1967     7/1/1968
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 5 04 07        7/1/1968     7/1/1969      7/1/1968     7/1/1969
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 5 04 07        7/1/1969     7/1/1970      7/1/1969     7/1/1970
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 5 04 07        7/1/1970     7/1/1971      7/1/1970     7/1/1971
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 51579          7/1/1971     7/1/1972      7/1/1971     7/1/1972
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      7/1/1972     1/1/1973
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      7/1/1972     1/1/1973
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pee Dee Area (552): Pee Dee Area (552)                        New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pee Dee Area (552): Pee Dee Area (552)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 58        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pee Dee Area (552): Pee Dee Area (552)                        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pee Dee Area (552): Pee Dee Area (552)                        New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pee Dee Area (552): Pee Dee Area (552)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220280         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pee Dee Area (552): Pee Dee Area (552)                        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Nationwide Mutual Insurance Company                       Unknown            1/1/1965     1/1/1966      1/1/1965     1/1/1966
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        Unknown          12/31/1965   12/31/1966   12/31/1965    12/31/1966
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        Unknown          12/31/1966   12/31/1967   12/31/1966    12/31/1967
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        Unknown          12/31/1967   12/16/1968   12/31/1967    12/16/1968
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        SBL 4 85 12      12/16/1968   12/16/1969   12/16/1968    12/16/1969
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        SBL 4 85 12      12/16/1969   12/16/1970   12/16/1969    12/16/1970
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        SBL 4 85 12      12/16/1970   12/16/1971   12/16/1970    12/16/1971
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        SBL 53073         4/26/1971    4/25/1972    4/26/1971     4/25/1972
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        SBL 53073         4/26/1972    4/26/1973    4/26/1972     4/26/1973
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        XBC 9 67 55      11/28/1972   11/28/1973   11/28/1972    11/28/1973
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        SBL 53073         4/26/1973    4/26/1974    4/26/1973     4/26/1974
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        XBC 9 67 55      11/28/1973   11/28/1974   11/28/1973    11/28/1974
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        XBC 9 67 55      11/28/1974     1/1/1975   11/28/1974      1/1/1975
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        XBC 11 69 81       1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 38        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220093         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)      Insurance Company of North America                        SBL 4 47 25       4/26/1967    4/26/1968    4/26/1967     4/26/1968
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)      Insurance Company of North America                        SBL 4 84 45       4/26/1968    4/26/1969    4/26/1968     4/26/1969




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                                                                                                                                                                Start Date1   End Date
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 4 84 45        4/26/1969   4/26/1970    4/26/1969     4/26/1970
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 4 84 45        4/26/1970   4/26/1971    4/26/1970     4/26/1971
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 5 30 73        4/26/1971   4/25/1972    4/26/1971     4/25/1972
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 5 30 73        4/26/1972   4/26/1973    4/26/1972     4/26/1973
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 5 30 73        4/26/1973   4/26/1974    4/26/1973     4/26/1974
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 5 30 73        4/26/1974    1/1/1975    4/26/1974      1/1/1975
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 4 53 99         6/1/1967    6/1/1968      6/1/1967     6/1/1968
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 4 53 99         6/1/1968    6/1/1969      6/1/1968     6/1/1969
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 4 53 99         6/1/1969    6/1/1970      6/1/1969     6/1/1970
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 5 13 90         6/1/1970    6/1/1971      6/1/1970     6/1/1971
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 5 13 90         6/1/1971    6/1/1972      6/1/1971     6/1/1972
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43303           1/1/1972    1/1/1973      6/1/1972     1/1/1973
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10HUA43302          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43303           1/1/1973    1/1/1974      1/1/1973     1/1/1974
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43329           1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Piedmont (042): Piedmont (042)                             New Hampshire Insurance Company                           Unknown             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (042): Piedmont (042)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 45         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (042): Piedmont (042)                             American Re-Insurance Company                             M-1027493           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (042): Piedmont (042)                             American Re-Insurance Company                             M-1027493           1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (042): Piedmont (042)                             New Hampshire Insurance Company                           GLA 282405          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (042): Piedmont (042)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219893          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        SBL 50251          6/15/1968   6/15/1969    6/15/1968     6/15/1969
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        SBL 51085          6/15/1969   6/15/1970    6/15/1969     6/15/1970
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        Unknown             1/1/1970    1/1/1971      1/1/1970     1/1/1971
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        SBL 52676          6/15/1970   6/15/1971    6/15/1970     6/15/1971
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        SBL 53638          6/15/1971   6/15/1972    6/15/1971     6/15/1972
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43303           1/1/1972    1/1/1973    6/15/1972      1/1/1973
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43303           1/1/1973    1/1/1974      1/1/1973     1/1/1974
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43329           1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (420): Piedmont (420)                             New Hampshire Insurance Company                           Unknown             1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Piedmont (420): Piedmont (420)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 85         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (420): Piedmont (420)                             New Hampshire Insurance Company                           Unknown             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (420): Piedmont (420)                             American Re-Insurance Company                             M-1027493           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (420): Piedmont (420)                             American Re-Insurance Company                             M-1027493           1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (420): Piedmont (420)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220038          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (420): Piedmont (420)                             St. Paul Fire and Marine Insurance Company                Unknown             2/1/1977    2/1/1978      2/1/1977     2/1/1978
Piedmont (420): Piedmont (420)                             St. Paul Fire and Marine Insurance Company                Unknown             2/1/1978    2/1/1979      2/1/1978     2/1/1979
Piedmont (420): Piedmont (420)                             St. Paul Fire and Marine Insurance Company                Unknown             2/1/1979    2/1/1980      2/1/1979     2/1/1980
                                                                                                                     025 GL 21404017
Piedmont (420): Piedmont (420)                             Aetna Casualty and Surety Company                         CCS                6/15/1991   6/14/1992    6/15/1991    6/14/1992
Pikes Peak (060): Pikes Peak (060)                         Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975    1/1/1976     1/1/1975     1/1/1976
Pikes Peak (060): Pikes Peak (060)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 62         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Pikes Peak (060): Pikes Peak (060)                         Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Pikes Peak (060): Pikes Peak (060)                         American Re-Insurance Company                             M-1027493           1/1/1976    1/1/1977     1/1/1976     1/1/1977




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Pikes Peak (060): Pikes Peak (060)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219910         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pikes Peak (060): Pikes Peak (060)                         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pine Burr Area (304): Pine Burr Area (304)                 New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Burr Area (304): Pine Burr Area (304)                 American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Burr Area (304): Pine Burr Area (304)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 07        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Burr Area (304): Pine Burr Area (304)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220157         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Burr Area (304): Pine Burr Area (304)                 New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Burr Area (304): Pine Burr Area (304)                 American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 154949       1/25/1973    1/25/1974    1/25/1973     1/25/1974
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 157992       1/25/1974    1/25/1975    1/25/1974     1/25/1975
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 161230       1/25/1975    1/25/1976    1/25/1975     1/25/1976
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Tree (218): Pine Tree (218)                           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 64        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Tree (218): Pine Tree (218)                           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 161099       1/25/1976    1/25/1977    1/25/1976     1/25/1977
Pine Tree (218): Pine Tree (218)                           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Tree (218): Pine Tree (218)                           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220112         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 163132       1/25/1977    1/25/1978    1/25/1977     1/25/1978
Pony Express (311): Pony Express (311)                     Insurance Company of North America                        SBL 5 08 54      12/29/1969   12/29/1970   12/29/1969    12/29/1970
Pony Express (311): Pony Express (311)                     Insurance Company of North America                        SBL 5 08 62      12/29/1970   12/29/1971   12/29/1970    12/29/1971
Pony Express (311): Pony Express (311)                     Insurance Company of North America                        Unknown          12/29/1971     1/1/1972   12/29/1971      1/1/1972
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pony Express (311): Pony Express (311)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 14        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pony Express (311): Pony Express (311)                     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pony Express (311): Pony Express (311)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pony Express (311): Pony Express (311)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220165         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Potawatomi Area (651): Potawatomi Area (651)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Potawatomi Area (651): Potawatomi Area (651)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Potawatomi Area (651): Potawatomi Area (651)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 47        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Potawatomi Area (651): Potawatomi Area (651)               American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Potawatomi Area (651): Potawatomi Area (651)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220264         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Potawatomi Area (651): Potawatomi Area (651)               American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        Unknown            1/1/1968     1/1/1969      1/1/1968     1/1/1969
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        SBL 5 04 12        6/1/1968     6/1/1969      6/1/1968     6/1/1969
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        SBL 5 04 12        6/1/1969     6/1/1970      6/1/1969     6/1/1970
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        SBL 5 04 12        6/1/1970     6/1/1971      6/1/1970     6/1/1971
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        SBL 51570          6/1/1971     6/1/1972      6/1/1971     6/1/1972
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      6/1/1972     1/1/1973




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Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Prairielands (117): Arrowhead 1933-1991 (117)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 10        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Arrowhead 1933-1991 (117)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Arrowhead 1933-1991 (117)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219957         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Prairielands (117): Arrowhead 1933-1991 (117)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Prairielands (117): Piankeshaw 1926-1991 (739)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Prairielands (117): Piankeshaw 1926-1991 (739)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Piankeshaw 1926-1991 (739)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Piankeshaw 1926-1991 (739)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 13        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Piankeshaw 1926-1991 (739)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Prairielands (117): Piankeshaw 1926-1991 (739)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219959         1/1/1977    1/1/1978      1/1/1977     1/1/1978
President Ford FSC (781): President Ford FSC (781)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
President Ford FSC (781): President Ford FSC (781)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
President Ford FSC (781): President Ford FSC (781)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
President Ford FSC (781): President Ford FSC (781)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Puerto Rico (661): Puerto Rico 1965- (661)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Puerto Rico (661): Puerto Rico 1965- (661)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 54        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Puerto Rico (661): Puerto Rico 1965- (661)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Puerto Rico (661): Puerto Rico 1965- (661)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Puerto Rico (661): Puerto Rico 1965- (661)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Puerto Rico (661): Puerto Rico 1965- (661)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220276         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pushmataha Area (691): Pushmataha Area (691)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 06        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pushmataha Area (691): Pushmataha Area (691)               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pushmataha Area (691): Pushmataha Area (691)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pushmataha Area (691): Pushmataha Area (691)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pushmataha Area (691): Pushmataha Area (691)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220156         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pushmataha Area (691): Pushmataha Area (691)               New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219874         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 53 62       5/27/1965   5/27/1966    5/27/1965     5/27/1966
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 53 62       5/27/1966   5/27/1967    5/27/1966     5/27/1967
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 53 62       5/27/1967   5/27/1968    5/27/1967     5/27/1968
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 69 41       5/27/1968   5/27/1969    5/27/1968     5/27/1969
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 69 41       5/27/1969   5/27/1970    5/27/1969     5/27/1970
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 69 41       5/27/1970   5/27/1971    5/27/1970     5/27/1971
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        Unknown           5/27/1971    1/1/1972    5/27/1971      1/1/1972




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Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/27/1972      1/1/1973
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/27/1972      1/1/1973
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Ouachita Area 1925-2012 (014)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Ouachita Area 1925-2012 (014)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Ouachita Area 1925-2012 (014)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 24        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Ouachita Area 1925-2012 (014)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219873         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Ouachita Area 1925-2012 (014)      New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Ouachita Area 1925-2012 (014)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quapaw Area (018): Quapaw Area 1927- (018)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Quapaw Area 1927- (018)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219875         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Quapaw Area 1927- (018)            St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Kanza 1946-1997 (190)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quivira (198): Kanza 1946-1997 (190)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Kanza 1946-1997 (190)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 46        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Kanza 1946-1997 (190)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Kanza 1946-1997 (190)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Kanza 1946-1997 (190)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219992         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL-2-80-76        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL-2-80-81        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL-2-80-89        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL 5 08 58        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL 5 08 63        6/1/1971   5/31/1972      6/1/1971    5/31/1972
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quivira (198): Quivira 1918- (198)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 50        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Quivira 1918- (198)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Quivira 1918- (198)                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Quivira 1918- (198)                    New Hampshire Insurance Company                           GLA 332350         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Quivira 1918- (198)                    Jefferson Insurance Company of New York                   GLA 323706         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Quivira 1918- (198)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Quivira (198): Quivira 1918- (198)                            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219998         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Quivira (198): Quivira 1918- (198)                            New Hampshire Insurance Company                           GLA 301302         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Quivira (198): Sekan Area 1930-1972 (193)                     Insurance Company of North America                        SBL 5 15 50       5/28/1971   12/31/1971    5/28/1971    12/31/1971
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 4 29 87        3/2/1965     3/2/1966      3/2/1965     3/2/1966
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 4 29 87        3/2/1966     3/2/1967      3/2/1966     3/2/1967
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 4 29 87        3/2/1967     3/2/1968      3/2/1967     3/2/1968
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 46920          3/2/1968     3/2/1969      3/2/1968     3/2/1969
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 46920          3/2/1969     3/2/1970      3/2/1969     3/2/1970
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 46920          3/2/1970     3/2/1971      3/2/1970     3/2/1971
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 51497          3/2/1971     3/2/1972      3/2/1971     3/2/1972
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      3/2/1972     1/1/1973
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      3/2/1972     1/1/1973
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   82 C 282090        1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   82 HU 580155      1/16/1975    1/16/1976    1/16/1975     1/16/1976
Rainbow (702): Rainbow (702)                                  American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rainbow (702): Rainbow (702)                                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 20        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rainbow (702): Rainbow (702)                                  American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rainbow (702): Rainbow (702)                                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219966         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      2/6/1972     1/1/1973
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      2/6/1972     1/1/1973
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Redwood Empire (041): Redwood Area 1923-1992 (044)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 33        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Redwood Area 1923-1992 (044)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Redwood Area 1923-1992 (044)            New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Redwood Area 1923-1992 (044)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219882         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Redwood Area 1923-1992 (044)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Redwood Area 1923-1992 (044)            New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Insurance Company of North America                        SBL 36222         5/20/1970    5/20/1971    5/20/1970     5/20/1971
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Insurance Company of North America                        SBL 51574         5/20/1971    5/20/1972    5/20/1971     5/20/1972
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/20/1972      1/1/1973
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/20/1972      1/1/1973
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 44        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219892         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Rio Grande (775): Rio Grande (775)                     Insurance Company of North America                        Unknown            1/1/1970     1/1/1971      1/1/1970     1/1/1971
Rio Grande (775): Rio Grande (775)                     Insurance Company of North America                        Unknown            1/1/1971     1/1/1972      1/1/1971     1/1/1972
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rio Grande (775): Rio Grande (775)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 80        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rio Grande (775): Rio Grande (775)                     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rio Grande (775): Rio Grande (775)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220211         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rio Grande (775): Rio Grande (775)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-37        11/12/1966   11/12/1967   11/12/1966    11/12/1967
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-37        11/12/1967   11/12/1968   11/12/1967    11/12/1968
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-37        11/12/1968   11/12/1969   11/12/1968    11/12/1969
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-72        11/12/1969   11/12/1970   11/12/1969    11/12/1970
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-72        11/12/1970   11/12/1971   11/12/1970    11/12/1971
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-72        11/12/1971    7/11/1972   11/12/1971     7/11/1972
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        GAL 227276         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        XBC 99313          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 62        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        GAL 344145         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        GAL 36 28 32       1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220016         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rocky Mountain (063): Rocky Mountain (063)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rocky Mountain (063): Rocky Mountain (063)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 66        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rocky Mountain (063): Rocky Mountain (063)             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rocky Mountain (063): Rocky Mountain (063)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rocky Mountain (063): Rocky Mountain (063)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219914         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rocky Mountain (063): Rocky Mountain (063)             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1965    10/1/1966    10/1/1965     10/1/1966
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1966    10/1/1967    10/1/1966     10/1/1967
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1967    10/1/1968    10/1/1967     10/1/1968
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1968    10/1/1969    10/1/1968     10/1/1969
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1969    10/1/1970    10/1/1969     10/1/1970
Sagamore (162): Sagamore 1973- (162)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Sagamore (162): Sagamore 1973- (162)                   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977




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Sagamore (162): Sagamore 1973- (162)                         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sagamore (162): Sagamore 1973- (162)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 33        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sagamore (162): Sagamore 1973- (162)                         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sagamore (162): Sagamore 1973- (162)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219979         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sagamore (162): Three Rivers 1936-1973 (162)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sam Houston Area (576): Sam Houston Area (576)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sam Houston Area (576): Sam Houston Area (576)               St. Paul Fire and Marine Insurance Company                Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sam Houston Area (576): Sam Houston Area (576)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sam Houston Area (576): Sam Houston Area (576)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 81        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sam Houston Area (576): Sam Houston Area (576)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sam Houston Area (576): Sam Houston Area (576)               St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sam Houston Area (576): Sam Houston Area (576)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sam Houston Area (576): Sam Houston Area (576)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220212         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 53 59        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 53 59        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 53 59        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 15 40        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 15 40        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 15 40        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 15 64        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Samoset (627): Samoset (627)                                 Insurance Company of North America                        Unknown            6/1/1972    6/1/1973      6/1/1972     6/1/1973
Samoset (627): Samoset (627)                                 Insurance Company of North America                        Unknown            6/1/1973    6/1/1974      6/1/1973     6/1/1974
Samoset (627): Samoset (627)                                 Insurance Company of North America                        Unknown            6/1/1974    1/1/1975      6/1/1974     1/1/1975
Samoset (627): Samoset (627)                                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Samoset (627): Samoset (627)                                 Insurance Company of North America                        Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 Insurance Company of North America                        GAL 212382         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 48        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Samoset (627): Samoset (627)                                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220265         1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 81        4/1/1965    4/1/1966      4/1/1965     4/1/1966
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 81        4/1/1966    4/1/1967      4/1/1966     4/1/1967
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 81        4/1/1967    4/1/1968      4/1/1967     4/1/1968
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 35        4/1/1968    4/1/1969      4/1/1968     4/1/1969
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 35        4/1/1969    4/1/1970      4/1/1969     4/1/1970
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 35        4/1/1970    4/1/1971      4/1/1970     4/1/1971
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219881         1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      New Hampshire Insurance Company                           GLA 332369         1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): San Diego County 1921-1993 (049)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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San Diego-Imperial (049): San Diego County 1921-1993 (049)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego County 1921-1993 (049)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego County 1921-1993 (049)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego County 1921-1993 (049)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 49        1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego County 1921-1993 (049)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): San Diego County 1921-1993 (049)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219897         1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): San Diego County 1921-1993 (049)   New Hampshire Insurance Company                           SLP 275657        3/10/1977   3/10/1978    3/10/1977     3/10/1978
San Diego-Imperial (049): San Diego-Imperial 2005- (049)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
San Diego-Imperial (049): San Diego-Imperial 2005- (049)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego-Imperial 2005- (049)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego-Imperial 2005- (049)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Santa Fe Trail (194): Santa Fe Trail (194)                   Insurance Company of North America                        SBL 50430         11/1/1968   11/1/1969    11/1/1968     11/1/1969
Santa Fe Trail (194): Santa Fe Trail (194)                   Insurance Company of North America                        SBL 50430         11/1/1969   11/1/1970    11/1/1969     11/1/1970
Santa Fe Trail (194): Santa Fe Trail (194)                   Insurance Company of North America                        SBL 50430         11/1/1970   11/1/1971    11/1/1970     11/1/1971
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Santa Fe Trail (194): Santa Fe Trail (194)                   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Santa Fe Trail (194): Santa Fe Trail (194)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 45        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Santa Fe Trail (194): Santa Fe Trail (194)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Santa Fe Trail (194): Santa Fe Trail (194)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Santa Fe Trail (194): Santa Fe Trail (194)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219991         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Santa Fe Trail (194): Santa Fe Trail (194)                   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Insurance Company of North America                        GLP 32 23 19      5/17/1972   5/21/1972    5/17/1972     5/21/1972
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 804621       4/27/1973   4/27/1974    4/27/1973     4/27/1974
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 807376       4/27/1974   4/27/1975    4/27/1974     4/27/1975
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 809631       4/27/1975   4/27/1976    4/27/1975     4/27/1976
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 57        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 811730       4/27/1976   4/27/1977    4/27/1976     4/27/1977
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220010         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 814173       4/27/1977   4/27/1978    4/27/1977     4/27/1978
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963




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Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            1/1/1963    4/1/1963      1/1/1963     4/1/1963
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        63-CGL9729         4/1/1963    4/1/1964      4/1/1963     4/1/1964
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1964    4/1/1965      4/1/1964     4/1/1965
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1965    4/1/1966      4/1/1965     4/1/1966
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1966    4/1/1967      4/1/1966     4/1/1967
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1967    4/1/1968      4/1/1967     4/1/1968
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1968    4/1/1969      4/1/1968     4/1/1969
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        GLA 18433          4/1/1969    4/1/1970      4/1/1969     4/1/1970
Seneca Waterways (397): Otetiana 1943-2009 (397)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Seneca Waterways (397): Otetiana 1943-2009 (397)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Otetiana 1943-2009 (397)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 71        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Otetiana 1943-2009 (397)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Otetiana 1943-2009 (397)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220024         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Otetiana 1943-2009 (397)      Hartford Accident and Indemnity Company                   CBP 800237         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Otetiana 1943-2009 (397)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 45380          3/1/1966    3/1/1967      3/1/1966     3/1/1967
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 45380          3/1/1967    3/1/1968      3/1/1967     3/1/1968
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 45380          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 50440          3/1/1969    3/1/1970      3/1/1969     3/1/1970
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 50440          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 50440          3/1/1971    3/1/1972      3/1/1971     3/1/1972
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sequoia (027): Mount Whitney Area 1929-1992 (054)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Mount Whitney Area 1929-1992 (054)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 59        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Mount Whitney Area 1929-1992 (054)     New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Mount Whitney Area 1929-1992 (054)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Mount Whitney Area 1929-1992 (054)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219907         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Mount Whitney Area 1929-1992 (054)     New Hampshire Insurance Company                           GLA 282424         1/3/1977    1/3/1978      1/3/1977     1/3/1978
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 62        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 62        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 62        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 27        3/1/1968    3/1/1969      3/1/1968     3/1/1969
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 27        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 27        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 5 15 10        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Sequoia 1925- (027)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 34        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Sequoia 1925- (027)                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Sequoia (027): Sequoia 1925- (027)                                  Ambassador Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Sequoia 1925- (027)                                  New Hampshire Insurance Company                           GLA 332400         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Sequoia 1925- (027)                                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219883         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoyah (713): Sequoyah (713)                                      Insurance Company of North America                        SBL 51193         6/11/1969   6/11/1970    6/11/1969     6/11/1970
Sequoyah (713): Sequoyah (713)                                      Insurance Company of North America                        SBL 51193         6/11/1970   6/11/1971    6/11/1970     6/11/1971
Sequoyah (713): Sequoyah (713)                                      Insurance Company of North America                        SBL 51193         6/11/1971   6/11/1972    6/11/1971     6/11/1972
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/11/1972      1/1/1973
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/11/1972      1/1/1973
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sequoyah (713): Sequoyah (713)                                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 66        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoyah (713): Sequoyah (713)                                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoyah (713): Sequoyah (713)                                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220288         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoyah (713): Sequoyah (713)                                      Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoyah (713): Sequoyah (713)                                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Shenandoah Area (598): Shenandoah Area (598)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Shenandoah Area (598): Shenandoah Area (598)                        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Shenandoah Area (598): Shenandoah Area (598)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Shenandoah Area (598): Shenandoah Area (598)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 16        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Shenandoah Area (598): Shenandoah Area (598)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Shenandoah Area (598): Shenandoah Area (598)                        New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Shenandoah Area (598): Shenandoah Area (598)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Shenandoah Area (598): Shenandoah Area (598)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220237         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 48        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               New Hampshire Insurance Company                           Unknown            1/1/1977   10/1/1977     1/1/1977    10/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219896         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974




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Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 50        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Insurance Company of North America                        Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219898         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Insurance Company of North America                        GAL 34 32 19       6/7/1977    6/7/1978     6/7/1977     6/7/1978
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/30/1972     1/1/1973
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/30/1972     1/1/1973
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Simon Kenton (441): Central Ohio 1930-1994 (441)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 99        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Simon Kenton (441): Central Ohio 1930-1994 (441)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Simon Kenton (441): Central Ohio 1930-1994 (441)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220052         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Simon Kenton (441): Central Ohio 1930-1994 (441)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 4 53 66        7/1/1965    7/1/1966     7/1/1965     7/1/1966
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 4 53 66        7/1/1966    7/1/1967     7/1/1966     7/1/1967
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 4 53 66        7/1/1967    7/1/1968     7/1/1967     7/1/1968
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 50413          7/1/1968    7/1/1969     7/1/1968     7/1/1969
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 50413          7/1/1969    7/1/1970     7/1/1969     7/1/1970
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 50413          7/1/1970    7/1/1971     7/1/1970     7/1/1971
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 51585          7/1/1971    7/1/1972     7/1/1971     7/1/1972
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973     7/1/1972     1/1/1973
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973     7/1/1972     1/1/1973
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977




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Simon Kenton (441): Chief Logan 1944-1994 (464)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Chief Logan 1944-1994 (464)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Chief Logan 1944-1994 (464)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 96        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Chief Logan 1944-1994 (464)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Chief Logan 1944-1994 (464)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220049         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Chief Logan 1944-1994 (464)        New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 4 29 58       1/14/1965   1/14/1966    1/14/1965     1/14/1966
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 4 29 58       1/14/1966   1/14/1967    1/14/1966     1/14/1967
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 4 29 58       1/14/1967   1/14/1968    1/14/1967     1/14/1968
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 46902         1/14/1968   1/14/1969    1/14/1968     1/14/1969
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 46902         1/14/1969   1/14/1970    1/14/1969     1/14/1970
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 46902         1/14/1970   6/28/1970    1/14/1970     6/28/1970
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Simon Kenton (441): Licking County 1922-1987 (451)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Licking County 1922-1987 (451)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 07        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Licking County 1922-1987 (451)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220060         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Licking County 1922-1987 (451)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Scioto Area 1931-1994 (457)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Simon Kenton (441): Scioto Area 1931-1994 (457)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Scioto Area 1931-1994 (457)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Scioto Area 1931-1994 (457)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 09        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Scioto Area 1931-1994 (457)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220062         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Scioto Area 1931-1994 (457)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        SBL 4 53 93       11/1/1966   11/1/1967    11/1/1966     11/1/1967
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        Unknown           11/1/1967   11/1/1968    11/1/1967     11/1/1968
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        Unknown           11/1/1968   11/1/1969    11/1/1968     11/1/1969
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        SBL 5 11 99       11/1/1969   11/1/1970    11/1/1969     11/1/1970
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        SBL 5 11 99       11/1/1970   11/1/1971    11/1/1970     11/1/1971
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        SBL 5 11 99       11/1/1971   11/1/1972    11/1/1971     11/1/1972
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    11/1/1972      1/1/1973
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    11/1/1972      1/1/1973
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        AGP 14 41 08       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Pheasant 1942-1978 (693)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 61        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Pheasant 1942-1978 (693)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        AGP 14 41 08       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Pheasant 1942-1978 (693)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220283         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Pheasant 1942-1978 (693)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        CGL 243562        5/13/1966   5/13/1967    5/13/1966     5/13/1967
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP-07-93-29      5/13/1967   5/13/1968    5/13/1967     5/13/1968
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP-14-72-39      5/13/1968   5/13/1969    5/13/1968     5/13/1969
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP 22 78 40      5/13/1969   5/13/1970    5/13/1969     5/13/1970




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Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP 22 79 77      5/13/1970   5/13/1971    5/13/1970     5/13/1971
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP 30 83 96      5/13/1971   5/12/1972    5/13/1971     5/12/1972
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        Unknown           5/13/1972    1/1/1973    5/13/1972      1/1/1973
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GAL 21 16 51       1/1/1973   5/24/1973      1/1/1973    5/24/1973
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        XBC 97586          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 41      5/24/1973    1/1/1974    5/24/1973      1/1/1974
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        XBC 97752          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 75       1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 75       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        XBC 97752          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 75       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Sioux 1927- (733)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 63        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 75       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Sioux 1927- (733)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220285         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Florida (084): South Florida (084)               Continental Casualty Company                              Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
South Florida (084): South Florida (084)               Continental Casualty Company                              Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
South Florida (084): South Florida (084)               Continental Casualty Company                              Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1963    2/8/1964      2/8/1963     2/8/1964
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1964    2/8/1965      2/8/1964     2/8/1965
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1965    2/8/1966      2/8/1965     2/8/1966
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1966    2/8/1967      2/8/1966     2/8/1967
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1967    2/8/1968      2/8/1967     2/8/1968
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1968    2/8/1969      2/8/1968     2/8/1969
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1969    2/8/1970      2/8/1969     2/8/1970
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1970    2/8/1971      2/8/1970     2/8/1971
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1971    1/1/1972      2/8/1971     1/1/1972
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/8/1972     1/1/1973
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/8/1972     1/1/1973
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Florida (084): South Florida (084)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Florida (084): South Florida (084)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 79        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Florida (084): South Florida (084)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219927         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Florida (084): South Florida (084)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Georgia (098): Alapaha Area 1960-2012 (098)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Alapaha Area 1960-2012 (098)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 97        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Alapaha Area 1960-2012 (098)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Alapaha Area 1960-2012 (098)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219944         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Alapaha Area 1960-2012 (098)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Alapaha Area 1960-2012 (098)      New Hampshire Insurance Company                           GLA 282454        2/23/1977   2/23/1978    2/23/1977     2/23/1978
South Georgia (098): Chehaw 1939-1984 (097)            Insurance Company of North America                        SBL 5 11 87       4/23/1969   4/23/1970    4/23/1969     4/23/1970




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South Georgia (098): Chehaw 1939-1984 (097)                   Insurance Company of North America                        SBL 5 11 87       4/23/1970   4/23/1971    4/23/1970     4/23/1971
South Georgia (098): Chehaw 1939-1984 (097)                   Insurance Company of North America                        SBL 5 11 87       4/23/1971   4/23/1972    4/23/1971     4/23/1972
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/23/1972      1/1/1973
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/23/1972      1/1/1973
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Georgia (098): Chehaw 1939-1984 (097)                   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Chehaw 1939-1984 (097)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Chehaw 1939-1984 (097)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 87        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Chehaw 1939-1984 (097)                   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Chehaw 1939-1984 (097)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Chehaw 1939-1984 (097)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219935         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 IC 632582      2/16/1973   2/16/1974    2/16/1973     2/16/1974
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 IC 632582      2/16/1974   2/16/1975    2/16/1974     2/16/1975
South Plains (694): South Plains (694)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 IC 632582      2/16/1975   2/16/1976    2/16/1975     2/16/1976
South Plains (694): South Plains (694)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 82        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Plains (694): South Plains (694)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Plains (694): South Plains (694)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 TMP 100576     2/16/1976   2/16/1977    2/16/1976     2/16/1977
South Plains (694): South Plains (694)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220213         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Plains (694): South Plains (694)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 TMP 100576     2/16/1977   2/16/1978    2/16/1977     2/16/1978
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 TMP 100576     2/16/1978   2/16/1979    2/16/1978     2/16/1979
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               CGL 48 44 08      5/16/1966   5/16/1967    5/16/1966     5/16/1967
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1967   5/16/1968    5/16/1967     5/16/1968
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1968   5/16/1969    5/16/1968     5/16/1969
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1969   5/16/1970    5/16/1969     5/16/1970
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1970   5/16/1971    5/16/1970     5/16/1971
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1971    1/1/1972    5/16/1971      1/1/1972
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Texas (577): Gulf Coast 1929-2002 (577)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 75        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Texas (577): Gulf Coast 1929-2002 (577)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Texas (577): Gulf Coast 1929-2002 (577)                 Employers Casualty Company                                C-558681           1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Texas (577): Gulf Coast 1929-2002 (577)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Texas (577): Gulf Coast 1929-2002 (577)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220206         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975




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Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 60        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220108         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southeast Louisiana (214): Southeast Louisiana (214)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Southeast Louisiana (214): Southeast Louisiana (214)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): Southeast Louisiana (214)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): Southeast Louisiana (214)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Shores FSC (783): Southern Shores FSC (783)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Southern Shores FSC (783): Southern Shores FSC (783)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Shores FSC (783): Southern Shores FSC (783)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Shores FSC (783): Southern Shores FSC (783)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Southern Sierra (030): Southern Sierra 1965- (030)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Sierra (030): Southern Sierra 1965- (030)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Sierra (030): Southern Sierra 1965- (030)            New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Sierra (030): Southern Sierra 1965- (030)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 28        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Sierra (030): Southern Sierra 1965- (030)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219877         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            Jefferson Insurance Company of New York                   65899              1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            Jefferson Insurance Company of New York                   65898              1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            New Hampshire Insurance Company                           GLA 282518         4/1/1977     4/1/1978      4/1/1977     4/1/1978
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 45392          1/1/1967     1/1/1968      1/1/1967     1/1/1968
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 45392          1/1/1968     1/1/1969      1/1/1968     1/1/1969
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 45392          1/1/1969     1/1/1970      1/1/1969     1/1/1970
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 51305          1/1/1970     1/1/1971      1/1/1970     1/1/1971
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 51305          1/1/1971     1/1/1972      1/1/1971     1/1/1972
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 51305          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Southwest Florida (088): Southwest Florida 1966- (088)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Southwest Florida (088): Southwest Florida 1966- (088)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Southwest Florida (088): Southwest Florida 1966- (088)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southwest Florida (088): Southwest Florida 1966- (088)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southwest Florida (088): Southwest Florida 1966- (088)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 77        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Southwest Florida 1966- (088)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219925         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 4 53 54      11/17/1965   11/17/1966   11/17/1965    11/17/1966
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 4 53 54      11/17/1966   11/17/1967   11/17/1966    11/17/1967
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 4 53 54      11/17/1967   11/17/1968   11/17/1967    11/17/1968
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 50422        11/17/1968   11/17/1969   11/17/1968    11/17/1969
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 50422        11/17/1969   11/17/1970   11/17/1969    11/17/1970
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 50422        11/17/1970   11/17/1971   11/17/1970    11/17/1971
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976




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Southwest Florida (088): Sunny Land 1925-1995 (724)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Sunny Land 1925-1995 (724)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 82        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Sunny Land 1925-1995 (724)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Sunny Land 1925-1995 (724)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Sunny Land 1925-1995 (724)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Southwest Florida (088): Sunny Land 1925-1995 (724)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219930         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Southwest Florida (088): Sunny Land 1925-1995 (724)         New Hampshire Insurance Company                           GLA 282417        2/10/1977   2/10/1978    2/10/1977     2/10/1978
Spirit of Adventure (227): Boston 1921-1980 (227)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Boston 1921-1980 (227)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Boston 1921-1980 (227)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Boston 1921-1980 (227)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 68        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Boston 1921-1980 (227)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Boston 1921-1980 (227)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220116         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Cambridge 1919-2001 (229)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      3/1/1973     1/1/1974
Spirit of Adventure (227): Cambridge 1919-2001 (229)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      3/1/1973     1/1/1974
Spirit of Adventure (227): Cambridge 1919-2001 (229)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Cambridge 1919-2001 (229)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 70        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Cambridge 1919-2001 (229)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Cambridge 1919-2001 (229)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Cambridge 1919-2001 (229)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220120         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Cambridge 1919-2001 (229)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 78        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1970    3/6/1970      1/1/1970     3/6/1970
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/16/1972      1/1/1973
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/16/1972      1/1/1973
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220128         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Insurance Company of North America                        SBL 46915          3/6/1970    3/6/1971      3/6/1970     3/6/1971
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Insurance Company of North America                        SBL 51409          3/6/1971    3/6/1972      3/6/1971     3/6/1972
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/6/1972     1/1/1973
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/6/1972     1/1/1973
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 74        1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Spirit of Adventure (227): Lone Tree 1926-1993 (749)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220124         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Lone Tree 1926-1993 (749)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Mass. Bay Federated 1976-1979 (850)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Mass. Bay Federated 1976-1979 (850)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Mass. Bay Federated 1976-1979 (850)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Minuteman 1959-1993 (240)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Minuteman 1959-1993 (240)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Minuteman 1959-1993 (240)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 81        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Minuteman 1959-1993 (240)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Minuteman 1959-1993 (240)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Minuteman 1959-1993 (240)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220132         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Bay 1966-1993 (236)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): North Bay 1966-1993 (236)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Bay 1966-1993 (236)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Bay 1966-1993 (236)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 80        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Bay 1966-1993 (236)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220131         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Bay 1966-1993 (236)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Essex 1925-1993 (712)           Insurance Company of North America                        SBL 50418         6/10/1968   6/10/1969    6/10/1968     6/10/1969
Spirit of Adventure (227): North Essex 1925-1993 (712)           Insurance Company of North America                        SBL 50418         6/10/1969   6/10/1970    6/10/1969     6/10/1970
Spirit of Adventure (227): North Essex 1925-1993 (712)           Insurance Company of North America                        SBL 50418         6/10/1970   6/10/1971    6/10/1970     6/10/1971
Spirit of Adventure (227): North Essex 1925-1993 (712)           Insurance Company of North America                        SBL 51562         6/10/1971   6/10/1972    6/10/1971     6/10/1972
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/10/1972      1/1/1973
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/10/1972      1/1/1973
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): North Essex 1925-1993 (712)           New Hampshire Insurance Company                           UL 078557          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): North Essex 1925-1993 (712)           New Hampshire Insurance Company                           SLP 63-47-76       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): North Essex 1925-1993 (712)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Essex 1925-1993 (712)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 77        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Essex 1925-1993 (712)           New Hampshire Insurance Company                           SLP 63-49-02       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Essex 1925-1993 (712)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220127         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Essex 1925-1993 (712)           New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Essex 1925-1993 (712)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 65760          6/1/1967    6/1/1968      6/1/1967     6/1/1968
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 65760          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 CPP 500098      6/1/1969    6/1/1970      6/1/1969     6/1/1970
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 65760          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC-73765          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 CPP 500098      6/1/1970    6/1/1971      6/1/1970     6/1/1971
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC-73765          6/1/1971    3/9/1972      6/1/1971     3/9/1972
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 CPP 500098      6/1/1971    6/1/1972      6/1/1971     6/1/1972
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 73765          3/9/1972    3/7/1973      3/9/1972     3/7/1973
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 SMP 304687      6/1/1972    6/1/1973      6/1/1972     6/1/1973
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 73765          3/7/1973    6/1/1973      3/7/1973     6/1/1973
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 SMP 304687      6/1/1973    6/1/1974      6/1/1973     6/1/1974
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 SMP 304687      6/1/1974    6/1/1975      6/1/1974     6/1/1975
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 CBP 400297      6/1/1974    6/1/1975      6/1/1974     6/1/1975
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400297      6/1/1975    6/1/1976      6/1/1975     6/1/1976
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suffolk County (404): Suffolk County (404)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suffolk County (404): Suffolk County (404)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 66        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400297      6/1/1976    6/1/1977      6/1/1976     6/1/1977
Suffolk County (404): Suffolk County (404)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Suffolk County (404): Suffolk County (404)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220019         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400656      6/1/1977    6/1/1978      6/1/1977     6/1/1978
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400656      6/1/1978    6/1/1979      6/1/1978     6/1/1979
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400656      6/1/1979    6/1/1980      6/1/1979     6/1/1980
Susquehanna (533): Susquehanna 1975- (533)                   Insurance Company of North America                        XBC 9 85 02        1/1/1972    1/1/1973      1/1/1972     1/1/1973
Susquehanna (533): Susquehanna 1975- (533)                   Insurance Company of North America                        XBC 9 85 02        1/1/1973    1/1/1974      1/1/1973     1/1/1974
Susquehanna (533): Susquehanna 1975- (533)                   Insurance Company of North America                        XBC 9 85 02        1/1/1974    1/1/1975      1/1/1974     1/1/1975
Susquehanna (533): Susquehanna 1975- (533)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Susquehanna (533): Susquehanna 1975- (533)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 51        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Susquehanna (533): Susquehanna 1975- (533)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Susquehanna (533): Susquehanna 1975- (533)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Susquehanna (533): Susquehanna 1975- (533)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Susquehanna (533): Susquehanna 1975- (533)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220273         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        4 47 50           6/14/1965   6/14/1966    6/14/1965     6/14/1966
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        4 47 50           6/14/1966   6/14/1967    6/14/1966     6/14/1967
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        4 47 50           6/14/1967   6/14/1968    6/14/1967     6/14/1968
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 4 84 64       6/14/1968   6/14/1969    6/14/1968     6/14/1969
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 4 84 64       6/14/1969   6/14/1970    6/14/1969     6/14/1970
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 4 84 64       6/14/1970   6/14/1971    6/14/1970     6/14/1971
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 53078         7/14/1971   7/13/1972    7/14/1971     7/13/1972
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 53078         7/14/1972   2/22/1973    7/14/1972     2/22/1973
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        GLP 411728        2/22/1973   2/22/1974    2/22/1973     2/22/1974
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        XBC 9 68 34       2/22/1973   2/22/1974    2/22/1973     2/22/1974
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        XBC 9 68 34       2/22/1974   2/22/1975    2/22/1974     2/22/1975
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        GLP 411728        2/22/1974   2/22/1975    2/22/1974     2/22/1975
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL-4-48-96        2/9/1967    2/9/1968      2/9/1967     2/9/1968
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL-4-48-96        2/9/1968    2/9/1969      2/9/1968     2/9/1969
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL-4-48-96        2/9/1969    2/9/1970      2/9/1969     2/9/1970
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL 5 30 08        2/9/1970    2/9/1971      2/9/1970     2/9/1971
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL 5 30 08        2/9/1971    2/9/1972      2/9/1971     2/9/1972
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL 5 30 08        2/9/1972    2/9/1973      2/9/1972     2/9/1973
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        XBC 9 68 17        2/9/1973    2/9/1974      2/9/1973     2/9/1974
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        GLP 40 76 42       2/9/1973    2/9/1974      2/9/1973     2/9/1974
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        XBC 9 68 17        2/9/1974    2/9/1975      2/9/1974     2/9/1975
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        GLP 40 76 42       2/9/1974    2/9/1975      2/9/1974     2/9/1975
Susquehanna (533): West Branch 1935-1975 (543)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        GLP 40 76 42       2/9/1975   3/26/1975      2/9/1975    3/26/1975
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        XBC 9 68 17        2/9/1975    2/9/1976      2/9/1975     2/9/1976
Suwannee River Area (664): Suwannee River Area (664)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Suwannee River Area (664): Suwannee River Area (664)         Hartford Accident and Indemnity Company                   21 SMP 118708     9/15/1975   9/15/1976    9/15/1975     9/15/1976
Suwannee River Area (664): Suwannee River Area (664)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suwannee River Area (664): Suwannee River Area (664)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 84        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suwannee River Area (664): Suwannee River Area (664)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suwannee River Area (664): Suwannee River Area (664)         Hartford Accident and Indemnity Company                   21 SMP 118708     9/15/1976   9/15/1977    9/15/1976     9/15/1977
Suwannee River Area (664): Suwannee River Area (664)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219932         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Suwannee River Area (664): Suwannee River Area (664)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Suwannee River Area (664): Suwannee River Area (664)   New Hampshire Insurance Company                           Unknown           2/10/1977    2/10/1978    2/10/1977     2/10/1978
Suwannee River Area (664): Suwannee River Area (664)   Hartford Accident and Indemnity Company                   21 SMP 118708     9/15/1977     1/1/1978    9/15/1977      1/1/1978
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-68-33        12/15/1965   12/15/1966   12/15/1965    12/15/1966
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-68-33        12/15/1966   12/15/1967   12/15/1966    12/15/1967
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-68-33        12/15/1967   12/15/1968   12/15/1967    12/15/1968
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-1-64-96      12/15/1968   12/15/1969   12/15/1968    12/15/1969
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1968   12/15/1969   12/15/1968    12/15/1969
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-1-64-96      12/15/1969   12/15/1970   12/15/1969    12/15/1970
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1969   12/15/1970   12/15/1969    12/15/1970
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1970   12/15/1971   12/15/1970    12/15/1971
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-1-64-96      12/15/1970   12/15/1971   12/15/1970    12/15/1971
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1971   12/15/1972   12/15/1971    12/15/1972
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1972   12/15/1973   12/15/1972    12/15/1973
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1973   12/15/1974   12/15/1973    12/15/1974
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1974     1/1/1975   12/15/1974      1/1/1975
Tecumseh (439): Tecumseh (439)                         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Tecumseh (439): Tecumseh (439)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 11        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tecumseh (439): Tecumseh (439)                         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tecumseh (439): Tecumseh (439)                         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tecumseh (439): Tecumseh (439)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220064         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Tecumseh (439): Tecumseh (439)                         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 51317          4/1/1970     4/1/1971      4/1/1970     4/1/1971
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 5 13 91        4/1/1970     4/1/1971      4/1/1970     4/1/1971
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 5 13 91        4/1/1971     4/1/1972      4/1/1971     4/1/1972
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 51317          4/1/1971    3/31/1972      4/1/1971    3/31/1972
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      4/1/1972     1/1/1973
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 51317          4/1/1972     4/1/1973      4/1/1972     4/1/1973
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Texas Southwest (741): Concho Valley 1926-2012 (741)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Southwest (741): Concho Valley 1926-2012 (741)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 86        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Southwest (741): Concho Valley 1926-2012 (741)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220217         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Texas Southwest (741): Concho Valley 1926-2012 (741)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Texas Southwest (741): Texas Southwest 2012- (741)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Texas Southwest (741): Texas Southwest 2012- (741)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Insurance Company of North America                        SBL 5 14 98       2/15/1971    2/15/1972    2/15/1971     2/15/1972
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    2/15/1972      1/1/1973
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    2/15/1972      1/1/1973
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Texas Trails (561): Chisholm Trail 1926-2003 (561)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 70        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Chisholm Trail 1926-2003 (561)     New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Chisholm Trail 1926-2003 (561)     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Ambassador Insurance Company                              Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Texas Trails (561): Chisholm Trail 1926-2003 (561)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220201         1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Texas Trails (561): Chisholm Trail 1926-2003 (561)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Texas Trails (561): Chisholm Trail 1926-2003 (561)        New Hampshire Insurance Company                           GLA 332324         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Texas Trails (561): Comanche Trail 1932-2003 (479)        Insurance Company of North America                        SBL 45420         12/5/1968   12/5/1969    12/5/1968     12/5/1969
Texas Trails (561): Comanche Trail 1932-2003 (479)        Insurance Company of North America                        SBL 45425         12/5/1969   12/5/1970    12/5/1969     12/5/1970
Texas Trails (561): Comanche Trail 1932-2003 (479)        Insurance Company of North America                        Unknown           12/5/1970   12/5/1971    12/5/1970     12/5/1971
Texas Trails (561): Comanche Trail 1932-2003 (479)        Insurance Company of North America                        Unknown           12/5/1971    1/1/1972    12/5/1971      1/1/1972
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    12/5/1972      1/1/1973
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/5/1972      1/1/1973
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Texas Trails (561): Comanche Trail 1932-2003 (479)        New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Texas Trails (561): Comanche Trail 1932-2003 (479)        New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Comanche Trail 1932-2003 (479)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 74        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Comanche Trail 1932-2003 (479)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Comanche Trail 1932-2003 (479)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Comanche Trail 1932-2003 (479)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Texas Trails (561): Comanche Trail 1932-2003 (479)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220205         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 41011         1/12/1967   1/12/1968    1/12/1967     1/12/1968
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 41011         1/12/1968   1/12/1969    1/12/1968     1/12/1969
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        AGP-1-88-16        1/1/1969    1/1/1970      1/1/1969     1/1/1970
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 41011         1/12/1969   1/12/1970    1/12/1969     1/12/1970
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        AGP-1-88-16        1/1/1970    1/1/1971      1/1/1970     1/1/1971
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 43053         1/12/1970   1/12/1971    1/12/1970     1/12/1971
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        GLP 19 73 26      2/20/1970   2/20/1971    2/20/1970     2/20/1971
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        AGP-1-88-16        1/1/1971    1/1/1972      1/1/1971     1/1/1972
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 43053         1/12/1971   1/12/1972    1/12/1971     1/12/1972
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        GLP 28 44 92      2/20/1971   2/20/1972    2/20/1971     2/20/1972
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 43053         1/12/1972   1/12/1973    1/12/1972     1/12/1973
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 45540         1/12/1973   1/12/1974    1/12/1973     1/12/1974
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 45540         1/12/1974   1/12/1975    1/12/1974     1/12/1975
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        AGP 09 98 41       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 45540         1/12/1975   1/12/1976    1/12/1975     1/12/1976
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 73        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XCP 12350         1/12/1976    3/1/1976    1/12/1976      3/1/1976




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Theodore Roosevelt (386): Nassau County 1916-1997 (386)     Ambassador Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)     Continental Casualty Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220026         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)     New Hampshire Insurance Company                           GLA 210262         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Chief Shabbona 1931-1968 (735)           Insurance Company of North America                        SBL 4 29 79       3/29/1965   3/29/1966    3/29/1965     3/29/1966
Three Fires (127): Chief Shabbona 1931-1968 (735)           Insurance Company of North America                        SBL 4 29 79       3/29/1966   3/29/1967    3/29/1966     3/29/1967
Three Fires (127): Chief Shabbona 1931-1968 (735)           Insurance Company of North America                        SBL 4 29 79       3/29/1967   3/29/1968    3/29/1967     3/29/1968
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        RWP-2-70-86        1/1/1967    1/1/1968      1/1/1967     1/1/1968
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        RWP-2-70-86        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        RWP-2-70-86        1/1/1969    1/1/1970      1/1/1969     1/1/1970
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 5 11 76       4/29/1969   4/29/1970    4/29/1969     4/29/1970
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        XPL 17137         4/29/1970   4/29/1971    4/29/1970     4/29/1971
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 51829         4/29/1970   4/29/1971    4/29/1970     4/29/1971
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 5 11 76       4/29/1970   4/29/1971    4/29/1970     4/29/1971
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 5 11 76       4/29/1971   4/29/1972    4/29/1971     4/29/1972
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        XPL 17137         4/29/1971   4/28/1972    4/29/1971     4/28/1972
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 51829         4/29/1971   4/28/1972    4/29/1971     4/28/1972
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/29/1972      1/1/1973
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/29/1972      1/1/1973
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Du Page Area 1928-1992 (148)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Du Page Area 1928-1992 (148)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219973         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Du Page Area 1928-1992 (148)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   82 UUN PN2419      6/1/1985    6/1/1986      6/1/1985     6/1/1986
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL-2-51-01        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL-2-51-43        3/1/1968    3/1/1969      3/1/1968     3/1/1969
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL 51809          3/1/1969    3/1/1970      3/1/1969     3/1/1970
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL 51826          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL 5 18 58        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        GAL 24 20 22       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        GAL 23 79 42       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Two Rivers 1968-1992 (127)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Two Rivers 1968-1992 (127)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Two Rivers 1968-1992 (127)               INA Insurance Company of Illinois                         GAL 23 74 77       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Two Rivers 1968-1992 (127)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Two Rivers 1968-1992 (127)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219971         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Two Rivers/DuPage Area 1992-1993 (127)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 27        1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Three Fires (127): Two Rivers/DuPage Area 1992-1993 (127)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Kenosha 1961-1972 (623)                Insurance Company of North America                        SBL 41511          2/5/1966     2/5/1967      2/5/1966     2/5/1967
Three Harbors (636): Kenosha 1961-1972 (623)                Insurance Company of North America                        SBL 41526          2/5/1967     2/5/1968      2/5/1967     2/5/1968
Three Harbors (636): Kenosha 1961-1972 (623)                Insurance Company of North America                        SBL-4-15-35        2/5/1968     2/5/1969      2/5/1968     2/5/1969
Three Harbors (636): Kenosha 1961-1972 (623)                Insurance Company of North America                        SBL-4-15-39        2/5/1968     2/5/1969      2/5/1968     2/5/1969
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        CGL190079         10/1/1962    10/1/1963    10/1/1962     10/1/1963
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        Unknown            1/1/1963     1/1/1964      1/1/1963     1/1/1964
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        CGL190079         10/1/1963    10/1/1964    10/1/1963     10/1/1964
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        CGL190079         10/1/1964    10/1/1965    10/1/1964     10/1/1965
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL 41515         10/1/1965    10/1/1966    10/1/1965     10/1/1966
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL-4-15-20       10/1/1966    10/1/1967    10/1/1966     10/1/1967
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL-4-15-31       10/1/1967    10/1/1968    10/1/1967     10/1/1968
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL 4 15 42       10/1/1968    10/1/1969    10/1/1968     10/1/1969
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL 4 15 50       10/1/1969    10/1/1970    10/1/1969     10/1/1970
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL 4 15 59       10/1/1970    10/1/1971    10/1/1970     10/1/1971
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        Unknown           10/1/1971    10/1/1972    10/1/1971     10/1/1972
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        Unknown           10/1/1972    10/1/1973    10/1/1972     10/1/1973
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA2353         10/1/1973    10/1/1974    10/1/1973     10/1/1974
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648XA6131         3/12/1974    3/12/1975    3/12/1974     3/12/1975
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA2353         10/1/1974    10/1/1975    10/1/1974     10/1/1975
Three Harbors (636): Milwaukee County 1929-2011 (629)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648XA6131         3/12/1975    3/12/1976    3/12/1975     3/12/1976
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA2353         10/1/1975    10/1/1976    10/1/1975     10/1/1976
Three Harbors (636): Milwaukee County 1929-2011 (629)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Milwaukee County 1929-2011 (629)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648XA6131         3/12/1976    10/1/1976    3/12/1976     10/1/1976
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA5036         10/1/1976    10/1/1977    10/1/1976     10/1/1977
Three Harbors (636): Milwaukee County 1929-2011 (629)       American Re-Insurance Company                             Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220262         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       Continental Casualty Company                              RDX9539468        2/11/1977     1/1/1978    2/11/1977      1/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA5036         10/1/1977    10/1/1978    10/1/1977     10/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA5036         10/1/1978    10/1/1979    10/1/1978     10/1/1979
Three Harbors (636): Racine County 1927-1972 (631)          Insurance Company of North America                        SBL 5 11 91       6/15/1969    6/15/1970    6/15/1969     6/15/1970
Three Harbors (636): Racine County 1927-1972 (631)          Insurance Company of North America                        SBL 5 11 91       6/15/1970    6/15/1971    6/15/1970     6/15/1971
Three Harbors (636): Racine County 1927-1972 (631)          Insurance Company of North America                        SBL 5 11 91       6/15/1971    6/15/1972    6/15/1971     6/15/1972
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/15/1972      1/1/1973
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/15/1972      1/1/1973
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Insurance Company of North America                        GAL 21 22 13       1/1/1975     1/1/1976      1/1/1975     1/1/1976
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Insurance Company of North America                        GAL 21 23 07       1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220263         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Rivers (578): Three Rivers 1970- (578)                Maryland American General Group                           CGA682849        11/18/1964   11/18/1965   11/18/1964    11/18/1965
Three Rivers (578): Three Rivers 1970- (578)                Maryland American General Group                           Unknown          11/18/1965   11/18/1966   11/18/1965    11/18/1966
Three Rivers (578): Three Rivers 1970- (578)                Maryland American General Group                           Unknown          11/18/1966   11/18/1967   11/18/1966    11/18/1967




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Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           Unknown          11/18/1967   11/18/1968   11/18/1967    11/18/1968
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           Unknown          11/18/1968    3/16/1969   11/18/1968     3/16/1969
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           31-480583         3/16/1969    3/16/1970    3/16/1969     3/16/1970
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           31-476201         3/16/1971    3/16/1972    3/16/1971     3/16/1972
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    3/16/1972      1/1/1973
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    3/16/1972      1/1/1973
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           31-480583         3/16/1972    3/16/1973    3/16/1972     3/16/1973
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           7186226           6/25/1972    6/25/1973    6/25/1972     6/25/1973
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           542TD5947         1/10/1975    1/10/1976    1/10/1975     1/10/1976
Three Rivers (578): Three Rivers 1970- (578)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Rivers (578): Three Rivers 1970- (578)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 73        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Rivers (578): Three Rivers 1970- (578)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220204         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Rivers (578): Three Rivers 1970- (578)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Rivers (578): Trinity-Neches 1942-1970 (565)      Maryland American General Group                           31-818323         3/16/1969    3/16/1970    3/16/1969     3/16/1970
Three Rivers (578): Trinity-Neches 1942-1970 (565)      Maryland American General Group                           31-471819         3/16/1970    3/16/1971    3/16/1970     3/16/1971
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        LB 4 17 55         1/1/1966     1/1/1967      1/1/1966     1/1/1967
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        ALB-4-17-88        1/1/1967     1/1/1968      1/1/1967     1/1/1968
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        ALB-4-17-88        1/1/1968     1/1/1969      1/1/1968     1/1/1969
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        ALB-4-17-88        1/1/1969     1/1/1970      1/1/1969     1/1/1970
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        Unknown            1/1/1971     1/1/1972      1/1/1971     1/1/1972
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        Unknown            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        Unknown            1/1/1973     1/1/1974      1/1/1973     1/1/1974
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Tidewater (596): Tidewater (596)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Tidewater (596): Tidewater (596)                        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tidewater (596): Tidewater (596)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 10        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tidewater (596): Tidewater (596)                        New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tidewater (596): Tidewater (596)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tidewater (596): Tidewater (596)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220232         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Tidewater (596): Tidewater (596)                        New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Tidewater (596): Tidewater (596)                        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Transatlantic (802): Transatlantic 1953- (802)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      8/1/1974     1/1/1975
Transatlantic (802): Transatlantic 1953- (802)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Transatlantic (802): Transatlantic 1953- (802)          American Foreign Insurance Association                    Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Transatlantic (802): Transatlantic 1953- (802)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Transatlantic (802): Transatlantic 1953- (802)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 93        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Transatlantic (802): Transatlantic 1953- (802)          American Foreign Insurance Association                    Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Transatlantic (802): Transatlantic 1953- (802)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Transatlantic (802): Transatlantic 1953- (802)          American Foreign Insurance Association                    Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Transatlantic (802): Transatlantic 1953- (802)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220224         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Transatlantic (802): Transatlantic 1953- (802)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 45391         11/1/1966    11/1/1967    11/1/1966     11/1/1967
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 45391         11/1/1967    11/1/1968    11/1/1967     11/1/1968
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 45391         11/1/1968    11/1/1969    11/1/1968     11/1/1969
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 5 11 98       11/1/1969    11/1/1970    11/1/1969     11/1/1970
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 5 11 98       11/1/1970    11/1/1971    11/1/1970     11/1/1971




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Tukabatchee Area (005): Tukabatchee Area (005)             Insurance Company of North America                        SBL 5 11 98       11/1/1971   11/1/1972    11/1/1971     11/1/1972
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    11/1/1972      1/1/1973
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    11/1/1972      1/1/1973
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tukabatchee Area (005): Tukabatchee Area (005)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tukabatchee Area (005): Tukabatchee Area (005)             Continental Insurance Company                             CBP 76715          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tukabatchee Area (005): Tukabatchee Area (005)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 12        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tukabatchee Area (005): Tukabatchee Area (005)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Tukabatchee Area (005): Tukabatchee Area (005)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219862         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Tukabatchee Area (005): Tukabatchee Area (005)             Continental Insurance Company                             Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Tuscarora (424): Tuscarora (424)                           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Tuscarora (424): Tuscarora (424)                           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Tuscarora (424): Tuscarora (424)                           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Tuscarora (424): Tuscarora (424)                           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tuscarora (424): Tuscarora (424)                           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 86        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tuscarora (424): Tuscarora (424)                           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tuscarora (424): Tuscarora (424)                           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Tuscarora (424): Tuscarora (424)                           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220039         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Adirondack 1924-2006 (394)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Adirondack 1924-2006 (394)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 70        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Adirondack 1924-2006 (394)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220023         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Adirondack 1924-2006 (394)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Fort Orange-Uncle Sam 1963-1971 (364)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Twin Rivers (364): Governor Clinton 1971-1990 (364)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Governor Clinton 1971-1990 (364)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Governor Clinton 1971-1990 (364)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Governor Clinton 1971-1990 (364)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 65        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Governor Clinton 1971-1990 (364)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Governor Clinton 1971-1990 (364)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220018         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Mohican 1927-1998 (378)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 58        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Mohican 1927-1998 (378)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Mohican 1927-1998 (378)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220011         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Mohican 1927-1998 (378)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                                Carrier                           Policy Number   Start Date   End Date
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Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 C 530923        5/1/1972     5/1/1973      5/1/1972     5/1/1973
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 C 531176        5/1/1972     5/1/1973      5/1/1972     5/1/1973
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 HU 300166     12/15/1972   12/15/1973   12/15/1972    12/15/1973
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 HU 300166     12/15/1973   12/15/1974   12/15/1973    12/15/1974
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 HU 300166     12/15/1974   12/15/1975   12/15/1974    12/15/1975
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Saratoga County 1924-1990 (684)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 49        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Saratoga County 1924-1990 (684)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Saratoga County 1924-1990 (684)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Saratoga County 1924-1990 (684)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220001         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Schenectady County 1926-1991 (399)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Schenectady County 1926-1991 (399)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Schenectady County 1926-1991 (399)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 74        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Schenectady County 1926-1991 (399)    American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Schenectady County 1926-1991 (399)    American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Schenectady County 1926-1991 (399)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220027         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 59        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220012         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Valley (283): Cedar Valley Area 1937-1969 (282)     Insurance Company of North America                        SBL 45389         6/20/1966    6/20/1967    6/20/1966     6/20/1967
Twin Valley (283): Cedar Valley Area 1937-1969 (282)     Insurance Company of North America                        SBL-4-46-15       6/20/1967    6/20/1968    6/20/1967     6/20/1968
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        SBL 44634         10/1/1967    10/1/1968    10/1/1967     10/1/1968
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        SBL 44646         10/1/1968    10/1/1969    10/1/1968     10/1/1969
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        SBL 4 46 54       10/1/1969    10/1/1970    10/1/1969     10/1/1970
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        SBL 44673         10/1/1970    10/1/1971    10/1/1970     10/1/1971
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        GAL 11 80 46      10/1/1971    10/1/1972    10/1/1971     10/1/1972
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        Unknown            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        GAL 13 61 40      10/1/1972     1/1/1973    10/1/1972      1/1/1973
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Twin Valley (283): Twin Valley 1969- (283)               New Hampshire Insurance Company                           Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Valley (283): Twin Valley 1969- (283)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 00        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Valley (283): Twin Valley 1969- (283)               American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Valley (283): Twin Valley 1969- (283)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220150         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Valley (283): Twin Valley 1969- (283)               American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
                                                                                                                   660845F6308COF
Twin Valley (283): Twin Valley 1969- (283)               Travelers Indemnity Company                               90                 4/1/1990     4/1/1991     4/1/1990      4/1/1991
Unknown (N/A): Unknown (N/A)                             Insurance Company of North America                        LG 67 00 88        2/1/1964     2/1/1965     2/1/1964      2/1/1965
Unknown (N/A): Unknown (N/A)                             Insurance Company of North America                        OLT 77 92 72       5/3/1964     5/3/1965     5/3/1964      5/3/1965
Unknown (N/A): Unknown (N/A)                             Insurance Company of North America                        LG 67 00 88        2/1/1965     2/1/1966     2/1/1965      2/1/1966




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Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 39 54      2/16/1965    2/16/1966    2/16/1965     2/16/1966
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 92 72       5/3/1965     5/3/1966      5/3/1965     5/3/1966
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 74 48 16      5/24/1965    5/24/1966    5/24/1965     5/24/1966
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 784768        1/26/1966    1/26/1967    1/26/1966     1/26/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    LG 67 00 88        2/1/1966     2/1/1967      2/1/1966     2/1/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 39 54      2/16/1966    2/16/1967    2/16/1966     2/16/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 78 88 46      3/28/1966    3/28/1967    3/28/1966     3/28/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 92 72       5/3/1966     5/3/1967      5/3/1966     5/3/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 78 88 36      5/24/1966    5/24/1967    5/24/1966     5/24/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    LG-69-82-98        8/8/1966     8/8/1967      8/8/1966     8/8/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 62 83         10/4/1966    10/4/1967    10/4/1966     10/4/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 20490         1/11/1967    1/11/1968    1/11/1967     1/11/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-4-20-49       1/26/1967    1/26/1968    1/26/1967     1/26/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 27123         2/14/1967    2/14/1968    2/14/1967     2/14/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 39 54      2/16/1967    2/16/1968    2/16/1967     2/16/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 42204          3/6/1967     3/6/1968      3/6/1967     3/6/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-4-20-28       3/28/1967    3/28/1968    3/28/1967     3/28/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 44650         3/30/1967    3/30/1968    3/30/1967     3/30/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 11 59      4/11/1967    4/10/1968    4/11/1967     4/10/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-07-08-30       5/3/1967     5/3/1968      5/3/1967     5/3/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 08 30       5/3/1967     5/3/1968      5/3/1967     5/3/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 78 88 36      5/24/1967    5/24/1968    5/24/1967     5/24/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 17 68      6/10/1967    6/10/1968    6/10/1967     6/10/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-7-10-90       6/10/1967    6/10/1968    6/10/1967     6/10/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 77 68      6/10/1967    6/10/1968    6/10/1967     6/10/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    LG-69-82-98        8/8/1967     8/8/1968      8/8/1967     8/8/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-06-40-05      10/4/1967    10/4/1968    10/4/1967     10/4/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-06-40-05      10/4/1967    10/4/1968    10/4/1967     10/4/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GAL 15474        10/17/1967   10/16/1968   10/17/1967    10/16/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 17683        12/21/1967   12/20/1968   12/21/1967    12/20/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-77-44      1/11/1968    1/11/1969    1/11/1968     1/11/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-4-20-49       1/26/1968     4/9/1969    1/26/1968      4/9/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-14-65-79      2/14/1968    2/14/1969    2/14/1968     2/14/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-44-76      2/16/1968    2/16/1969    2/16/1968     2/16/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-82-64       3/6/1968     3/6/1969      3/6/1968     3/6/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-63-87      3/20/1968    3/20/1969    3/20/1968     3/20/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-78-83      3/30/1968    3/30/1969    3/30/1968     3/30/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-07-08-30       5/3/1968     5/3/1969      5/3/1968     5/3/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 08 30       5/3/1968     5/3/1969      5/3/1968     5/3/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 78 88 36      5/24/1968    5/24/1969    5/24/1968     5/24/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-7-10-90       6/10/1968    6/10/1969    6/10/1968     6/10/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 17 68      6/10/1968    6/10/1969    6/10/1968     6/10/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 77 68      6/10/1968    6/10/1969    6/10/1968     6/10/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    LG-69-82-98        8/8/1968     8/8/1969      8/8/1968     8/8/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-06-40-05      10/4/1968     8/7/1969    10/4/1968      8/7/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-06-40-05      10/4/1968    10/4/1969    10/4/1968     10/4/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GAL 15556        10/17/1968   10/17/1969   10/17/1968    10/17/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-18-01-66     12/21/1968   12/21/1969   12/21/1968    12/21/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-44-76      2/16/1969    2/16/1970    2/16/1969     2/16/1970
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-22-32-34      3/30/1969    3/30/1970    3/30/1969     3/30/1970
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 08 30       5/3/1969     5/3/1970      5/3/1969     5/3/1970
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-07-08-30       5/3/1969     5/3/1970      5/3/1969     5/3/1970




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Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-22-87-11      5/18/1969    5/19/1969    5/18/1969     5/19/1969
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 07 17 68      6/10/1969    6/10/1970    6/10/1969     6/10/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-7-10-90       6/10/1969    6/10/1970    6/10/1969     6/10/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 07 77 68      6/10/1969    6/10/1970    6/10/1969     6/10/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-19-66-19      6/15/1969    6/16/1969    6/15/1969     6/16/1969
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-06-40-05      10/4/1969    10/4/1970    10/4/1969     10/4/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-24-50-57     12/21/1969   12/21/1970   12/21/1969    12/21/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-24-50-57     12/21/1969   12/21/1970   12/21/1969    12/21/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-13-44-76      2/16/1970    2/16/1971    2/16/1970     2/16/1971
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-25-10-46      3/30/1970    12/3/1970    3/30/1970     12/3/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 25 19 91      6/10/1970    6/10/1971    6/10/1970     6/10/1971
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-25-19-91      6/10/1970    6/10/1971    6/10/1970     6/10/1971
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-25-19-91      6/10/1971    6/10/1972    6/10/1971     6/10/1972
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 25 19 91      6/10/1971    6/10/1972    6/10/1971     6/10/1972
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-30-95-03      6/20/1971    6/21/1971    6/20/1971     6/21/1971
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 25 19 91      6/10/1972    6/10/1973    6/10/1972     6/10/1973
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-25-19-91      6/10/1972    6/10/1973    6/10/1972     6/10/1973
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 37 85 02       7/1/1972     7/1/1973      7/1/1972     7/1/1973
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 37 85 02       7/1/1973     7/1/1974      7/1/1973     7/1/1974
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 37 85 02       7/1/1974     7/1/1975      7/1/1974     7/1/1975
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 59 12 04      2/20/1975    2/20/1976    2/20/1975     2/20/1976
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 59 12 04      2/20/1976    2/20/1977    2/20/1976     2/20/1977
Unknown (N/A): Unknown (N/A)                            St. Paul Fire and Marine Insurance Company                584JB6615          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 301334         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332378         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332388         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332387         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332365         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332374         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           25852              1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA301308          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            Jefferson Insurance Company of New York                   JE 65928          1/14/1977     1/1/1978    1/14/1977      1/1/1978
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 59 12 04      2/20/1977    2/20/1978    2/20/1977     2/20/1978
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL xxx78         5/23/1965    5/23/1966    5/23/1965     5/23/1966
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL xxx78         5/23/1966    5/23/1967    5/23/1966     5/23/1967
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL xxx78         5/23/1967    5/23/1968    5/23/1967     5/23/1968
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL 46938         5/23/1968    5/23/1969    5/23/1968     5/23/1969
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL 46938         5/23/1969    5/23/1970    5/23/1969     5/23/1970
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL 46938         5/23/1970    5/23/1971    5/23/1970     5/23/1971
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL 51453         5/23/1971    5/23/1972    5/23/1971     5/23/1972
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/23/1972      1/1/1973
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/23/1972      1/1/1973
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Ventura County (057): Ventura County (057)              New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Ventura County (057): Ventura County (057)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 29        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Ventura County (057): Ventura County (057)              American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Ventura County (057): Ventura County (057)              New Hampshire Insurance Company                           GLA 332352         1/1/1977     1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                                       Carrier                           Policy Number   Start Date   End Date
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Ventura County (057): Ventura County (057)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ventura County (057): Ventura County (057)                      Ambassador Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ventura County (057): Ventura County (057)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219878         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600326             6/1/1965    6/1/1966      6/1/1965     6/1/1966
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600326             6/1/1966    6/1/1967      6/1/1966     6/1/1967
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600326             6/1/1967    6/1/1968      6/1/1967     6/1/1968
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600383             6/1/1968    6/1/1969      6/1/1968     6/1/1969
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600383             6/1/1969    6/1/1970      6/1/1969     6/1/1970
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600383             6/1/1970    6/1/1971      6/1/1970     6/1/1971
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            6/1/1971    6/1/1972      6/1/1971     6/1/1972
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            6/1/1972    6/1/1973      6/1/1972     6/1/1973
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            6/1/1973    6/1/1974      6/1/1973     6/1/1974
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            6/1/1974    1/1/1975      6/1/1974     1/1/1975
Verdugo Hills (058): Verdugo Hills (058)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Verdugo Hills (058): Verdugo Hills (058)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 35        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219884         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            1/1/1977    6/1/1977      1/1/1977     6/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        Ambassador Insurance Company                              2 60 35            6/1/1977    6/1/1978      6/1/1977     6/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           GLA 282523         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        Insurance Company of North America                        GLP 706452         1/1/1978    1/1/1979      1/1/1978     1/1/1979
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 14        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220235         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 53 58        1/1/1965    1/1/1966      1/1/1965     1/1/1966
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 53 58        1/1/1966    1/1/1967      1/1/1966     1/1/1967
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 53 58        1/1/1967    1/1/1968      1/1/1967     1/1/1968
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 69 23        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 69 23        1/1/1969    1/1/1970      1/1/1969     1/1/1970
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 69 23        1/1/1970    1/1/1971      1/1/1970     1/1/1971
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 5 13 96        1/1/1971    1/1/1972      1/1/1971     1/1/1972
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 5 13 96        1/1/1972    1/1/1973      1/1/1972     1/1/1973
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 99        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220149         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Voyageurs Area (286): Lake Superior 1959-1994 (286)       American Employers' Insurance Company                     AW-8504-058        1/1/1973    1/1/1974      1/1/1973     1/1/1974
Voyageurs Area (286): Lake Superior 1959-1994 (286)       American Employers' Insurance Company                     AW-8504-063        1/1/1974    1/1/1975      1/1/1974     1/1/1975
Voyageurs Area (286): Lake Superior 1959-1994 (286)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Voyageurs Area (286): Lake Superior 1959-1994 (286)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 98        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Lake Superior 1959-1994 (286)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Lake Superior 1959-1994 (286)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Lake Superior 1959-1994 (286)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Voyageurs Area (286): Lake Superior 1959-1994 (286)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220148         1/1/1977    1/1/1978      1/1/1977     1/1/1978
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-2-50-34       9/21/1966   9/21/1967    9/21/1966     9/21/1967
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-4-89-01       9/21/1967   9/21/1968    9/21/1967     9/21/1968
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-4-89-01       9/21/1968   9/21/1969    9/21/1968     9/21/1969
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-4-89-01       9/21/1969   9/21/1970    9/21/1969     9/21/1970
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-4-89-01       9/21/1970   9/21/1971    9/21/1970     9/21/1971
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
W.D. Boyce (138): W.D. Boyce 1973- (138)                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      4/1/1973     1/1/1974
W.D. Boyce (138): W.D. Boyce 1973- (138)                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      4/1/1973     1/1/1974
W.D. Boyce (138): W.D. Boyce 1973- (138)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
W.D. Boyce (138): W.D. Boyce 1973- (138)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 22        1/1/1976    1/1/1977      1/1/1976     1/1/1977
W.D. Boyce (138): W.D. Boyce 1973- (138)                  New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
W.D. Boyce (138): W.D. Boyce 1973- (138)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
W.D. Boyce (138): W.D. Boyce 1973- (138)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
W.D. Boyce (138): W.D. Boyce 1973- (138)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219968         1/1/1977    1/1/1978      1/1/1977     1/1/1978
W.D. Boyce (138): W.D. Boyce 1973- (138)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
W.D. Boyce (138): W.D. Boyce 1973- (138)                  New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Washington Crossing (777): Bucks County 1927-2015 (777)   Aetna Casualty and Surety Company                         Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Washington Crossing (777): Bucks County 1927-2015 (777)   American Casualty Company of Reading, Pennsylvania        CCP 903 04 46      1/1/1972    1/1/1973      1/1/1972     1/1/1973
Washington Crossing (777): Bucks County 1927-2015 (777)   Continental Casualty Company                              Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Washington Crossing (777): Bucks County 1927-2015 (777)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Washington Crossing (777): Bucks County 1927-2015 (777)   Continental Casualty Company                              CCP 191 05 38      1/1/1975    1/1/1976      1/1/1975     1/1/1976
Washington Crossing (777): Bucks County 1927-2015 (777)   Continental Casualty Company                              RDU 9998388        1/1/1975    1/1/1976      1/1/1975     1/1/1976
Washington Crossing (777): Bucks County 1927-2015 (777)   Continental Casualty Company                              CCP 244 22 48      1/1/1976    1/1/1977      1/1/1976     1/1/1977
Washington Crossing (777): Bucks County 1927-2015 (777)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Washington Crossing (777): Bucks County 1927-2015 (777)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 33        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Washington Crossing (777): Bucks County 1927-2015 (777)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Washington Crossing (777): Bucks County 1927-2015 (777)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220088         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Washington Crossing (777): Bucks County 1927-2015 (777)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Washington Crossing (777): Bucks County 1927-2015 (777)   Maryland Casualty Company                                 Unknown            3/1/1977    1/1/1978      3/1/1977     1/1/1978
Water and Woods FSC (782): Water and Woods FSC (782)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Water and Woods FSC (782): Water and Woods FSC (782)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Water and Woods FSC (782): Water and Woods FSC (782)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Water and Woods FSC (782): Water and Woods FSC (782)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
West Tennessee Area (559): West Tennessee Area (559)          Insurance Company of North America                        SBL 3 95 48       5/29/1968   5/29/1969    5/29/1968     5/29/1969
West Tennessee Area (559): West Tennessee Area (559)          Insurance Company of North America                        SBL 3 95 54       5/29/1969   5/29/1970    5/29/1969     5/29/1970
West Tennessee Area (559): West Tennessee Area (559)          Insurance Company of North America                        Unknown           5/29/1970   5/29/1971    5/29/1970     5/29/1971
West Tennessee Area (559): West Tennessee Area (559)          Insurance Company of North America                        Unknown           5/29/1971    1/1/1972    5/29/1971      1/1/1972
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/29/1972      1/1/1973
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/29/1972      1/1/1973
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
West Tennessee Area (559): West Tennessee Area (559)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 65        1/1/1976    1/1/1977      1/1/1976     1/1/1977
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
West Tennessee Area (559): West Tennessee Area (559)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
West Tennessee Area (559): West Tennessee Area (559)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
West Tennessee Area (559): West Tennessee Area (559)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220287         1/1/1977    1/1/1978      1/1/1977     1/1/1978
West Tennessee Area (559): West Tennessee Area (559)          Continental Casualty Company                              CCP 3036625        4/1/1977    4/1/1978      4/1/1977     4/1/1978
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    10/1/1972      1/1/1973
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    10/1/1972      1/1/1973
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Westark Area (016): Westark Area (016)                        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westark Area (016): Westark Area (016)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 23        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westark Area (016): Westark Area (016)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westark Area (016): Westark Area (016)                        New Hampshire Insurance Company                           GLA 332338         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westark Area (016): Westark Area (016)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westark Area (016): Westark Area (016)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219872         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1953    1/1/1954      1/1/1953     1/1/1954
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1954    1/1/1955      1/1/1954     1/1/1955
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1955    1/1/1956      1/1/1955     1/1/1956
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1956    1/1/1957      1/1/1956     1/1/1957
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Westchester-Putnam (388): Siwanoy 1922-1958 (401)             Travelers Indemnity Company                               Unknown            8/1/1950    8/1/1951      8/1/1950     8/1/1951
Westchester-Putnam (388): Washington Irving 1951-1973 (388)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Westchester-Putnam (388): Washington Irving 1951-1973 (388)   Insurance Company of North America                        XBC 27296          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Westchester-Putnam (388): Washington Irving 1951-1973 (388)   Aetna Casualty and Surety Company                         74AL141036         2/1/1969    2/1/1970      2/1/1969     2/1/1970




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Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Insurance Company of North America                        XBC 27379          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Aetna Casualty and Surety Company                         74AL141036         2/1/1970    2/1/1971      2/1/1970     2/1/1971
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Insurance Company of North America                        XBC 27487          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 111101     1/20/1976   1/20/1977    1/20/1976     1/20/1977
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 111101     1/20/1977   1/20/1978    1/20/1977     1/20/1978
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 111101     1/20/1978   1/20/1979    1/20/1978     1/20/1979
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 117538     1/20/1979   1/20/1980    1/20/1979     1/20/1980
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 117538     1/20/1980   1/20/1981    1/20/1980     1/20/1981
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 117538     1/20/1981   1/20/1982    1/20/1981     1/20/1982
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 SMP 118672     1/20/1982   1/20/1983    1/20/1982     1/20/1983
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 SMP 118672     1/20/1983   1/20/1984    1/20/1983     1/20/1984
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 SMP WC7495     1/20/1984   1/20/1985    1/20/1984     1/20/1985
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 SMP 118672     1/20/1984   1/20/1985    1/20/1984     1/20/1985
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 UUC NW2936     1/20/1985   1/20/1986    1/20/1985     1/20/1986
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 79        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220033         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Los Angeles County (051): Great Western 1972-1985 (051)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Western Los Angeles County (051): Great Western 1972-1985 (051)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Los Angeles County (051): Great Western 1972-1985 (051)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 58        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Los Angeles County (051): Great Western 1972-1985 (051)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Los Angeles County (051): Great Western 1972-1985 (051)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Los Angeles County (051): Great Western 1972-1985 (051)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Los Angeles County (051): Great Western 1972-1985 (051)      New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Los Angeles County (051): Great Western 1972-1985 (051)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219906         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Zurich Insurance Company                                  80-39-959         7/19/1960   7/19/1961    7/19/1960    7/19/1961
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        XCP 6616           7/1/1970    7/1/1971     7/1/1970     7/1/1971
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        SBL 5 14 06        7/1/1970    7/1/1971     7/1/1970     7/1/1971
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        SBL 5 14 06        7/1/1971    7/1/1972     7/1/1971     7/1/1972
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        XCP 6616           7/1/1971    7/1/1972     7/1/1971     7/1/1972
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        XCP 6616           7/1/1972    8/7/1972     7/1/1972     8/7/1972
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        SBL 5 14 06        7/1/1972    8/7/1972     7/1/1972     8/7/1972
Western Los Angeles County (051): Western Los Angeles County (051)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Western Los Angeles County (051): Western Los Angeles County (051)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Western Los Angeles County (051): Western Los Angeles County (051)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Western Los Angeles County (051): Western Los Angeles County (051)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Western Massachusetts (234): Great Trails 1969-2008 (243)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Western Massachusetts (234): Great Trails 1969-2008 (243)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Western Massachusetts (234): Great Trails 1969-2008 (243)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Western Massachusetts (234): Great Trails 1969-2008 (243)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975



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Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 84        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220135         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        GLP-4-39-53       5/14/1967   5/14/1968    5/14/1967     5/14/1968
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        GLP-17-15-33      5/14/1968   5/14/1969    5/14/1968     5/14/1969
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        Unknown           5/14/1969   5/14/1970    5/14/1969     5/14/1970
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        Unknown           5/14/1970   5/14/1971    5/14/1970     5/14/1971
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        Unknown           5/14/1971    1/1/1972    5/14/1971      1/1/1972
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/14/1972      1/1/1973
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/14/1972      1/1/1973
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 36        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220091         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        CLP-10-11-88       4/6/1966    4/6/1967      4/6/1966     4/6/1967
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        GAL-2-42-19        4/6/1967    4/6/1968      4/6/1967     4/6/1968
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        GAL-23819          4/6/1968    4/6/1969      4/6/1968     4/6/1969
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        GAL 9 51 19        4/6/1969    4/6/1970      4/6/1969     4/6/1970
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        GAL 96141          4/6/1970    4/6/1971      4/6/1970     4/6/1971
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        SBL 52141          4/6/1971   11/1/1971      4/6/1971    11/1/1971
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        Unknown           11/1/1971   11/1/1972    11/1/1971     11/1/1972
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        Unknown           11/1/1972    1/1/1973    11/1/1972      1/1/1973
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Winnebago (173): Winnebago 1937- (173)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Winnebago (173): Winnebago 1937- (173)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 44        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Winnebago (173): Winnebago 1937- (173)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Winnebago (173): Winnebago 1937- (173)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Winnebago (173): Winnebago 1937- (173)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Winnebago (173): Winnebago 1937- (173)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219990         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yocona Area (748): Yocona Area (748)                          American Home Fire Assurance Company                      Unknown            2/1/1942    2/1/1943      2/1/1942     2/1/1943
Yocona Area (748): Yocona Area (748)                          American Home Fire Assurance Company                      Unknown            2/1/1943    2/1/1944      2/1/1943     2/1/1944
Yocona Area (748): Yocona Area (748)                          American Home Fire Assurance Company                      Unknown            2/1/1944    2/1/1945      2/1/1944     2/1/1945
Yocona Area (748): Yocona Area (748)                          American Home Fire Assurance Company                      Unknown            2/1/1945    2/1/1946      2/1/1945     2/1/1946
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        SBL 51310          1/1/1970    1/1/1971      1/1/1970     1/1/1971




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                                                                                                                                                                               Council       Council
               Current Council: Predecessor Council                                                Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                              Start Date1   End Date
Yocona Area (748): Yocona Area (748)                                      Insurance Company of North America                        SBL 51310          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Yocona Area (748): Yocona Area (748)                                      Insurance Company of North America                        SBL 51310          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Yocona Area (748): Yocona Area (748)                                      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yocona Area (748): Yocona Area (748)                                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yocona Area (748): Yocona Area (748)                                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 10        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yocona Area (748): Yocona Area (748)                                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yocona Area (748): Yocona Area (748)                                      New Hampshire Insurance Company                           GLA 332341         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yocona Area (748): Yocona Area (748)                                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220160         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yucca (573): Yucca (573)                                                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Yucca (573): Yucca (573)                                                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yucca (573): Yucca (573)                                                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 77        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yucca (573): Yucca (573)                                                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yucca (573): Yucca (573)                                                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220208         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yucca (573): Yucca (573)                                                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
1
  Certain limits incorporate assumptions or are extrapolated from other
known coverage.
                                                                                    LOCAL COUNCIL POLICIES




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                       SCHEDULE 4

                OIL AND GAS INTERESTS
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                                         OIL AND GAS INTERESTS

State       County        Legal Description                                  Interest Type      Status
ARKANSAS    COLUMBIA      COLUMBIA CO AR MI                                  MINERAL INTEREST   PRODUCING
                           SEC 16-17S-22W: W/2 NW/4 NW/4, 20 ACS
                           SEC 17-17S-22W: E/2
                          NW/4 NE/4, 20 ACS
                           SALT WATER ROYALTY- CONTRACT
                           # 08178068 DATED 01/16/80 (ALBEMARLE)
                           SWD BRINE LEASE
LOUISIANA   CLAIBORNE     CLAIBORNE PA LA MI                                 MINERAL INTEREST   PRODUCING
                          SEC 5-22N-6W: NE/4, NW/4 NE/4, 200 ACS
                          SEC. 4-22N-6W: W/2NW/4, NW/4 SE/4, NW/4, 280 ACS
                          G.W. TIGNER #2
                          .0091146 RI
LOUISIANA   CLAIBORNE     CLAIBORNE PA LA MI                                 MINERAL INTEREST   PRODUCING
                          SEC 4-22N-6W: NW/4, 160 ACS
                          SEC 5-22N-6W: NE/4, 160 ACS
                          MOWER 1 .00607638 RI
LOUISIANA   CONCORDIA     CONCORDIA/TENSAS PARISH LA 1/3 MI, SEC 1-9N-10E,   MINERAL INTEREST   PRODUCING
                          SEC 2 9N-10E, SEC 51 9N-10E, 275 ACS,
                          20 ACS GIN HOUSE TRACT TENSAS PARISH LA
                          BAYOU L'ARGENT ADDITIONAL PROPERTY TO
                          ACCOUNT, ANCILLARY SUCCESSION DATED
                          MAY 7, 1983, BOOK 226 PG 49
LOUISIANA   TENSAS        TENSAS PH LA .001109 RI                            ROYALTY INTEREST   PRODUCING
                          LAKE ST JOHN UNIT TR 116, 117, 119
                          121, 128, 140, 193,216, 219, 221, 222, 223
                          230, 239, 240, 249, 303, 304, 416, 417, 419
                          421,428VA
                          RIOUS RI INTEREST
                          LAKE ST JOHN UNIT
                          DENBURY (PAYS ON DEEP RIGHTS) ; MCGOWAN
                          OPERATING (PAYS ON SHALLOW RIGHTS)
MICHIGAN    CLARE         CLARE CO MI MI                                     ROYALTY INTEREST   PRODUCING
                          SEC 12-20N-6W: W/2, 320 ACS
                          SEC 11-20N-6W: E/2, 320 ACS
                          STATE
                          WINTERFIELD 2-12
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State      County       Legal Description                                    Interest Type      Status
MICHIGAN   CLARE        CLARE CO MI MI                                       ROYALTY INTEREST   PRODUCING
                        SEC 30-20N-6W: S/2
                        SEC 31-20N-6W: N/2
                        WINTERFIELD #2-31 .0035888 RI
MICHIGAN   CLARE        CLARE CO MI MI                                       ROYALTY INTEREST   PRODUCING
                        SEC 7-20N-5W: W/2
                        SEC 12-20N-6W: E/2
                        STATE WINTERFIELD 1-12REG# 8550
MICHIGAN   CLARE        CLARE CO MI MI                                       MINERAL INTEREST   PRODUCING
                        SEC 19-20N-6W: SE/4 SE/4, 40 ACS
                        SEC 29-20N-6W: W/2, W/2 NE/4,
                        SEC 31-20N-6W: ALL, EXC SW/4 SW/4,
                        SEC 20-20N-6W: SW, SWSE,
                        SEC 30-20N-6W:ALL,
                        SEC 32-20N-6W: W/2 W/2
                        WINTERFIELD TOWNSHIP,
                        WINTERFIELD RICHFIELD UNIT
MICHIGAN   CLARE        CLARE CO MI MI                                       ROYALTY INTEREST   PRODUCING
                        SEC 12-20N-6W: NE/4, 160 ACS
                        H TOPE #4 .002927 RI
MICHIGAN   CLARE        CLARE CO MI MI                                       MINERAL INTEREST   PRODUCING
                        SEC 1,2,11,12-T20-R6W: WINTERFIELD TOWNSHIP
                        CRANBERRY LAKE RICHFIELD UNIT .00046112 RI
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                     ROYALTY INTEREST   PRODUCING
                        SEC 28-15N-2E: NW/4 NE/4, 40 ACS
                        WASKEVICH 1-28 E .0131844 RI
MICHIGAN   MISSAUKEE    MISSAUKEE CO MI MI                                   ROYALTY INTEREST   PRODUCING
                        SEC 35-22N-6W: N/2, BUNING A UNIT
                        SEC 26-22N-6W: S/2 SW/4, REAMES UNIT
                        SEC 26-22N-6W: SW/4 SE/4, WING UNIT
                        UNITIZED INTO PROSPER DUNDEE UNIT .0167808 RI
MICHIGAN   MISSAUKEE    MISSSAUKEE CO MI, MI                                 ROYALTY INTEREST   PRODUCING
                        SEC 36; T22N-R6W, SE/4 NW/4 &
                        SEC 26; T22N-R6W, SW/4 SE/4
                        AETNA TOWNSHIP
                        WING 2, .01996874 RI




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State        County       Legal Description                                   Interest Type      Status
MICHIGAN     OSCEOLA      OSCEOLA CO MI                                       ROYALTY INTEREST   PRODUCING
                          TR 1: SW4 SW4 & W2 SE4 SEC 17-18N-10W;
                          TR 3: E2 NW4 & NW4 NE4SEC19-18N-10W;
                          TR 5: W2 NW4 SEC 20-18N-10W
                          REED CITY UNIT-
                          (TR1) .00051560 RI
                          (TR3) .00151566 RI
                          (TR5) .00281254 RI
MICHIGAN     OSCEOLA      OSCEOLA CO MI MI                                    ROYALTY INTEREST   PRODUCING
                          SEC 28-18N-9W: S2 NE, N2 NESE & SESE
                          ZIMMERMAN .0087892 RI
MICHIGAN     OSCEOLA      OSCEOLA CO MI MI                                    ROYALTY INTEREST   PRODUCING
                          SEC 28-18N-9W: S2 & NESE
                          ZIMMERMAN A1 & B .0087892 RI
NEW MEXICO   EDDY         EDDY CO NM .0003906 ORISEC 17-19S-29ESOUTHWEST      OVERRIDING         PRODUCING
                          ROYALTIES-UNION TEXAS STATE 1;SEC 6-23S-25E         ROYALTY
                          (ROCK TANK UNIT) .00002697 ORI
OKLAHOMA     BEAVER       BEAVER CO OK                                        OVERRIDING         PRODUCING
                          SEC 17-4N-25ECM: ALL                                ROYALTY
                          EVANS UNIT .0008136 ORRI
OKLAHOMA     BEAVER       BEAVER CO OK                                        OVERRIDING         PRODUCING
                          SEC 29-6N-22 ECM: SE/4 & E/2 SW/4                   ROYALTY
                          PREWITT GAS UNIT .0001196 ORRI
OKLAHOMA     BEAVER       BEAVER CO OK                                        OVERRIDING         PRODUCING
                          SEC 17-4N-25EM: ALL                                 ROYALTY
                          LEROY 1-17 .000824 ORRI
OKLAHOMA     ELLIS        ELLIS CO OK 1/4 MI                                  MINERAL INTEREST   PRODUCING
                          SEC 18-19N-21W: W/2 W/2
                          AKA LOT 1 OF 36.9 ACS LOT 2, 37.13ACS
                          LOT 3 OF 37.36 ACS LOT 4 37.58 ACS
                          CORAM "B" .00740197 RI
OKLAHOMA     ELLIS        ELLIS CO OK 1/4 MI                                  MINERAL INTEREST   PRODUCING
                          SEC 5-19N-23W: SW/4
                          ANNE 5-1 .00778984 RI




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State      County        Legal Description                                    Interest Type      Status
OKLAHOMA   ELLIS         ELLIS CO OK                                          MINERAL INTEREST   PRODUCING
                          SEC 6-19N-23W: NW/4
                          SEC 8-19N-23W: N/2 NE/4
                          SEC 13-19N-22W: S/2
                          SEC 17-19N-23W: SE/4
                          SEC 14-19N-22W: E/2 E/2
                          SEC 23-19N-22W: S/2 SE/4,
                          SEC 24-19N-22W: NW/4
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          G W TUGGLE SVY A-771 &
                          WILLIAM WRIGHT SVY A-798, 111.93 ACS
                          HUMBLE-NECHES UNIT
                          NECHES SUB CLARKVILLE UNIT TR 30
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          F CURBIER SVY A-221, 148 ACS
                          TODD .00156226 RI
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                         ALFRED BENGE A-106 &
                         JOSE CHREINO SVY A-168, 157.050 ACS
                         FAIRWAY JAMES LIME UNIT TR 853
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          JOHN FERGUSON SVY A-22
                          JOSEPH FERGUSON SVY A-23, 156.551 ACS
                          FAIRWAY JAMES LIME UNIT TR 661
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          JOSE CHERINO SVY A-168, 158.94 ACS
                          FAIRWAY JAMES LIME UNITTR 756
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                         JOSE CHERINO SVY A-168, 159.959 ACS
                         FAIRWAY JAMES LIME UNIT
                         TR 758 & TR 856
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          JOSEPH FERGUSON SVY A-23, 152.73 ACS
                          FAIRWAY JAMES LIME UNIT TR 759
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                         JOSE CHERINO SVY A-168, 133.698 ACS
                         FAIRWAY JAMES LIME UNIT
                         TR 858



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State   County        Legal Description                                    Interest Type      Status
TEXAS   ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                       JOSE CHERINO A-168, 160 ACS
                       FAIRWAY JAMES LIME UNIT TR 855
TEXAS   ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                      JOHN FERGUSON SVY A-22, 99.76 ACS
                      FAIRWAY JAMES LIME UT TR663
                      J M COOK SVY A-972 &
                      JOSEPH FERGUSON A-23, 156.599 ACS
                      FAIRWAY JAMESLIME UTTR 860
TEXAS   ANDREWS       ANDREWS CO TX MI                                     MINERAL INTEREST   PRODUCING
                      SEC 4 BLK A-35 PSL SVY A-950: NE/4, 160 ACS
                      YATES FORMATION,
                      M. GROOM
                      GROOM 0.000868 RI
TEXAS   ANDREWS       ANDREWS CO TX MI                                     MINERAL INTEREST   PRODUCING
                       SEC 4 BLK A-35 PSL SVY A-950: E/2, 320 ACS
                       SEC 7 BLK A-35 PSL SVY A-951: NE/4, 160 ACS
                       J. CLEO THOMPSON-WEST MEANS
                       GRAYSBURG-SAN ANDRES UNIT .0017360 RI
TEXAS   BORDEN        BORDEN CO TX MI                                      MINERAL INTEREST   PRODUCING
                      320 ACS, 40 ACS OF 214.9 LOCATED IN
                      E/2 SEC 69 BLK20 LAVACA NAVIGA SVY
                      SOUTH LAKE THOMAS 69 -B3- RRC 68663
TEXAS   BORDEN        BORDEN CO TX MI                                      MINERAL INTEREST   PRODUCING
                      SEC 80 BLK 20 LAVACA NAV
                      JOANN .015625 RI (RRC 64823)
TEXAS   BURLESON      BURLESON CO TX MI J C WALKER SVY, 309.73 ACS         MINERAL INTEREST   PRODUCING
TEXAS   BURLESON      BURLESON CO TX 9.398 MI                              MINERAL INTEREST   PRODUCING
                      56.39 ACS OUT OF J P COLE SVY, A-12
                      DESCRIBED IN DEED DTD 3/12/1999 FROM
                      ALTA MAE KEMP TO SANDRA G. JACKSON
                      RECORDED IN VOL. 499, PG 214
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   PRODUCING
                       LEMUEL MOORE SVY, 15.95 ACS
                       YEZAK
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   PRODUCING
                      IGN CO SVY
                      COFFIELD B-10 ETAL .0625 RI



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State   County        Legal Description                                      Interest Type      Status
TEXAS   BURLESON      BURLESON CO TX MIHENRY MARTIN SVY A-                   MINERAL INTEREST   PRODUCING
                      185COFFIELD M-2 (RRC 71500) & (RRC 23057).064375 RI
                      & .01072916 ORI

TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      J C WALKER SVY
                      COFFIELD B-7A "A"
                      .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      ABNER SMITH SVY
                      COFFIELD B-4 .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI 20 ACRES M/L                         MINERAL INTEREST   PRODUCING
                      E SANTE SVY, A-210 & ABNER SMITH SVY, A-209
                      COFFIELD-RUSSELL UNIT (RRC 10994)
                      .01041666 ORI & .02083332 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      SMITH SVY
                      COFFIELD-SHAW
                      .046875 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      SMITH SVY
                      COFFIELD-SMITH A,C,D
                      .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      J S WINSTON SVY A-251
                      COFFIELD-WINSTON A & B .0625 RI
TEXAS   BURLESON      BURLESON CO TX 9.6933 MI                               MINERAL INTEREST   PRODUCING
                      58.16 ACS, J P COLE SVY A-12
                      DESCRIBED IN DEED DTD 10/26/1949
                      FROM ROBERT KEMP ETAL TO ALMA DAVIS
                      RECORDED IN VOL. 106, PG 133
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      MOSES CUMMINGS SVY A-16, 200 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      J M SANCHES SVY A-55
                      KNESEK-FINLEY UNIT #1
                      .00165126 RI




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State   County        Legal Description                                   Interest Type      Status
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      MOSES CUMMINGS SVY A-16, 455.852 ACS
                      LOUISE PORTER 1-H .0020466 RI
TEXAS   BURLESON      BURLESON CO TX .1875 MI                             MINERAL INTEREST   PRODUCING
                      HUGH MCKEEN SVY
                      STANLEY A .125 RI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      MARY CARNAGHAN SVY A-8
                      STORM UNIT (RRC 23276)
                      .01841214 RI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      H COVINGTON SVY A-14
                      CHARLES MATTHEWS SVYA-40, 488.882 ACS
                      COLLEY-TREYBIG UNIT 1RE
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      SEC 9 A SMITH SVY A-209
                      RECORDED VOL 21 PAGE 652
                      COFFIELD-SMITH "E" AND "F"
                      .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      MOSES CUMMINGS SVY A-16, 360 ACS
                      KOVAR-PORTER .0020932 RI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-317 & A-210
                      COFFIELD B UNIT(RRC 10378) TR 17,39 ACS
                      .0416666 RI & .02083332 ORI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-210, 40.25 ACS
                      COFFIELD "E" RRC 10227
                      .0416666 RI & .02083332 ORI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      E. SANTE SVY A-210
                      COFFIELD (RRC 4390) NR
                      .0416666 RI & .02083332 ORI
TEXAS   BURLESON      BURLESON CO TX MIE. SANTE SVY A-210COFFIELD "A"     MINERAL INTEREST   PRODUCING
                      (RRC 04396).0416666 RI & .02083332 ORI




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State   County        Legal Description                                      Interest Type      Status
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-210: 46 ACS
                      COFFIELD W (C2475) RRC 4365
                      .0416666 RI & .02083332 ORI
TEXAS   BURLESON      BURLESON & MILAM CO TX MI                              MINERAL INTEREST   PRODUCING
                      SANTE SVY A-272
                      HENRY MARTIN SVY A-125, 40 ACS
                      COFFIELD -C- (RRC 04332)
                      .0416666RI & .02083332 ORI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-210: 40 ACS
                      H H COFFIELD (RRC 03979)
                      .0416666RI & .03116822 ORI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-210
                      COFFIELD 2A9 UNIT
                      .0416666 ORI & .02083332 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      39.2 ACS BEING A TRACT OF LAND OUT
                      OF THE E. SANTE SVY, A-210 (RRC 10446)
                      COFFIELD "G" .0416666 RI & .02083332 ORI
TEXAS   CALDWELL      CALDWELL CO TX 1/32 ORI                                OVERRIDING         PRODUCING
                      30 ACES IN THE GERRON HINDS LEAGUE, A-13               ROYALTY
                      TILLER UNIT (VARIOUS INTEREST) .02083332 ; .00260966
TEXAS   CHEROKEE      CHREOKEE CO TX MI                                      MINERAL INTEREST   PRODUCING
                      HERDON SVY & LEVI JORDAN SVY
                      AND J. H. ARMSTRONG, A-69
                      SALLI D. WHITEMAN #2 .00018606 RI
TEXAS   CHEROKEE      CHEROKEE CO TX MI                                      MINERAL INTEREST   PRODUCING
                      LEVI JORDAN LGE A-28, 649 ACS
                      J O HUGGINS GU -1- 0.00017358
                      RI
TEXAS   COLORADO      COLORADO CO TX MI                                      MINERAL INTEREST   PRODUCING
                      T P ANDERSON SVY A-54
                      C SIMON SVY A-502
                      R WEED A-598




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State   County        Legal Description                                   Interest Type      Status
TEXAS   CROCKETT      CROCKETT CO TX 45/2460 X1/16 MI                     MINERAL INTEREST   PRODUCING
                       SEC 4 CHAMBERS CSL A-1689, 4428 ACS
                       CHAMBERSCO SCHOOL LANDS .0003811 RI
                       MIDWAY LANE 1100 UNIT (RRC 5579)
                       MIDWAY LANE 1050 UNIT
                       MIDWAY LANE 850
TEXAS   DE WITT       DE WITT CO TX 1/8 MI                                MINERAL INTEREST   PRODUCING
                      JAMES DUFF LGE A-153, 236.3 ACS
                      E C SCHAEFER .0104166 RI
TEXAS   DE WITT       DE WITT CO TX 7.5/103 RI                            ROYALTY INTEREST   PRODUCING
                      JAMES MAY 1/4 LGE, 103 ACS
                      LTD TO DEPTHS 100' BELOW ALVES WELLS
                      HENSON 1H, 2H, 3H .00089188 RI
TEXAS   DIMMIT        DIMMIT CO TX 1/3 MI                                 MINERAL INTEREST   PRODUCING
                      SEC 57 LOT 8 BLK 2 SUBD A
                      T&NO SVY A-758, 40 ACS
TEXAS   DIMMIT        DIMMIT CO TX NPRI                                   ROYALTY INTEREST   PRODUCING
                      SEC 140 & 502, 1136.5 ACS
                      RAY MORRIS
TEXAS   DIMMIT        DIMMIT CO TX 1/6 NPRI                               ROYALTY INTEREST   PRODUCING
                      SEC 7 GC&SF SVY A-1201
                      DIAMOND H RANCH 1-H
                      .08333334 RI
TEXAS   DIMMIT        DIMMIT CO TX MI                                     MINERAL INTEREST   PRODUCING
                      40 ACS, SEC 68 LOT 16 BLK 2
                      VANDERVOORT SVY A-1238
TEXAS   DIMMIT        DIMMIT CO TX 1/3 MI                                 ROYALTY INTEREST   PRODUCING
                      LOT 7 BLK 175 SVY
                      CATARINA FARMS SUBD, 200 ACS
                      LOT 7 T&NORR CO/CASSIN,W A-1077
                      BRISCOE B #11
TEXAS   DIMMIT        DIMMIT CO TX NPRI                                   PERPETUAL NON-     PRODUCING
                      SEC 78 BLK 2 T&NO RR CO                             PARTICIPATING
                      F. VANDERVOORT SVY, A-1243                          ROYALTY INTEREST
TEXAS   FAYETTE       FAYETTE CO TX 139 ACS                               MINERAL INTEREST   PRODUCING
                      ROBERT G. BAUGH SVY A-12
                      TANNER UNIT .00214311 RI




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State   County       Legal Description                                Interest Type      Status
TEXAS   FAYETTE      FAYETTE CO TX 1/4                                MINERAL INTEREST   PRODUCING
                     ROBERT G. BAUGH SVY A-12, 139 ACS
                     JOHN VANDERWORTH LGE A-312, 237 ACS
                     SPECKELS UNIT #1 .00715 RI
TEXAS   FAYETTE      FAYETTE CO TX 1/8 MI 237 ACS                     MINERAL INTEREST   PRODUCING
                     JOHN VANDERWORTH LGE A-312
                     PATSY UNIT .00651368RI
TEXAS   FAYETTE      FAYETTE CO TX 237 ACSJOHN VANDERWORTH LGE A-     MINERAL INTEREST   PRODUCING
                     312KATHY UNIT .003347 RI
TEXAS   FAYETTE      FAYETTE CO TX 1/8 MI 237 ACS                     ROYALTY INTEREST   PRODUCING
                     JOHN VANDERWORTH LGE A-312,
                     OPAL UNIT #1.00198532RI
                     (TRS 1,2 & 3) (135.32 ACS)
TEXAS   FAYETTE      FAYETTE CO TX MI 237 ACS                         ROYALTY INTEREST   PRODUCING
                     JOHN VANDERWORTH LGE A-312
                     (TRS 1-20) IVORY OIL UNIT#1 .000236 RI
TEXAS   FAYETTE      FAYETTE CO TX MI                                 MINERAL INTEREST   PRODUCING
                     W J WILLIAMSON SVY A-113
                     GARNET UNIT OL #1-H
TEXAS   FAYETTE      FAYETTE CO TX                                    MINERAL INTEREST   PRODUCING
                     A. E. BAKER SVY A-8
                     JASPER UNIT .00089512 RI
TEXAS   FAYETTE      FAYETTE CO TX MI                                 MINERAL INTEREST   PRODUCING
                     J G WILKINSON SVY A-108
                     CONIE B #1 .01510722 RI
TEXAS   GAINES       GAINES CO TX MI                                  MINERAL INTEREST   PRODUCING
                      SEC 1 BLK C-30 PSL SVY
                      SEC 2 BLK C-30 PSL,
                      SEC 4 BLK H, D&W SVY
                      SEC 10 BLK H D&W SVY
                      EXCEPT SW/4 SW/4 OF SEC 10
                      CEDAR LAKE UNIT
TEXAS   GOLIAD       GOLIAD CO TX 1/12 NPRI                           ROYALTY INTEREST   PRODUCING
                     M. G. CARICO SVY A-90, 50.6 ACS
                     ANNIE WEISE LSE .006942 RI




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State   County       Legal Description                                 Interest Type      Status
TEXAS   GRAY         GRAY CO TX MI                                     MINERAL INTEREST   PRODUCING
                     COFFIELD 1 & 2
                     COFFIELD-GRAY, SEC.89, BLK. 23
                     H AND GN RR CO.
                     SVY.SE/4 SEC.94
                     BLK. 23 H&GN CO. SVY.
TEXAS   GRAYSON      GRAYSON CO TX 1/48 MI                             MINERAL INTEREST   PRODUCING
                     J B MC ANAIR SVY A-763, 202 ACS
                     SHERMAN 7,500' SU (VARIOUS UNIT INT)
TEXAS   GRAYSON      GRAYSON CO TX 1/48 MI                             MINERAL INTEREST   PRODUCING
                     J B MC ANAIR SVY A-763, 202 ACS
                     SHERMAN 8900 PENN SU
                     (VARIOUS UNIT INTEREST)
TEXAS   GREGG        GREGG CO TX 1/16 MI                               MINERAL INTEREST   PRODUCING
                     50 ACS DOLORES SANCHEZ SVY A-186
                     C J DOLLAHITE LSE .0052086 RI
TEXAS   GREGG        GREGG CO TX 5/16 MI                               MINERAL INTEREST   PRODUCING
                     24.95 ACS W P CHISM SVY A-36
                     HILBURN-LLOYD "B" LSE .026042RI
TEXAS   GREGG        GREGG CO TX 1/8 MI                                MINERAL INTEREST   PRODUCING
                     33.5 ACS JOHN RUDDLE SVY A-176
                     IRENE ZIEGLER LSE .010416 RI
TEXAS   GREGG        GREGG CO TX 1/3 X 1/16 MI                         MINERAL INTEREST   PRODUCING
                     52 ACS DELORES SANCHEZ SVY A-186
                     COTTON VALLEY FORMATION
                     MCKINLEY WELLS .00112332 RI
TEXAS   GREGG        GREGG CO TX MI                                    MINERAL INTEREST   PRODUCING
                     G W HOOPER SVY A-92
                     ALFRED JONES .00520866 RI
TEXAS   GREGG        GREGG CO TX MI                                    MINERAL INTEREST   PRODUCING
                     P P RAINS SVY A-258
                     A J TUTTLE GAS UT
                     .00364800 ORI
TEXAS   GREGG        GREGG CO TX MI                                    MINERAL INTEREST   PRODUCING
                     G W HOOPER SVY A-92
                     SHILOH SCHOOL 1,2,3 GU
                     .00073752 RI




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State   County        Legal Description                                 Interest Type      Status
TEXAS   GREGG         GREGG CO TX MI                                    ROYALTY INTEREST   PRODUCING
                      247.5 ACS W H CASTLEBERRY SVY A-38
                      MATTIE MONCRIEF 1,2,3
TEXAS   HARRIS        HARRIS CO TX 1/44 X 1/8 RI                        ROYALTY INTEREST   PRODUCING
                      67.04 ACS C. GOODRICH SVY A-311
                      HULDA MARTENS .001894 RI
TEXAS   HARRIS        HARRIS CO TX MI                                   MINERAL INTEREST   PRODUCING
                      RALPH HUBBARD SVY A-383, WM HURD SVY A-371,
                      JOSEPH MILLER SVY
                      A-50, 566.094 ACS
                      TOMBALL GAS UNIT #8 (RRC 8544)
                      .00000734 RI
TEXAS   HARRISON      HARRISON CO TX 1/16 MI                            MINERAL INTEREST   PRODUCING
                      252 ACS A. B. WYATT SVY A-796
                      PEARCE GAS UNIT .0030762
                      RI
TEXAS   HARRISON      HARRISON CO TX 704 ACSJOHN HUSBAND, A-297,R W     OVERRIDING         PRODUCING
                      SMITH, A-626, AND H VARDEMAN,A-726, FRANK DAVIS   ROYALTY
                      ESTATE DEEP GU.000423 ORI
TEXAS   HENDERSON     HENDERSON CO TX MI                                MINERAL INTEREST   PRODUCING
                       STEPHEN HATTON SVY A-291
                       JOHN LAWSON SVY A-434
                       OPELIKAGAS UNIT
TEXAS   HOWARD        HOWARD CO TX MI                                   MINERAL INTEREST   PRODUCING
                      SEC 3 BLK 34 T1S T&P SVY A-405
                      SAUNDERS -A- & -B- .0347222 RI
TEXAS   JACK          JACK CO TX MI 1/4                                 ROYALTY INTEREST   PRODUCING
                      SEC 2, S M SNODGRASS SVY, A-1314; S H TILGHMAN
                      SVY A-1724
                      TR1- 7 1/2 ACS, TR 249 ACS,
                      TR 3 40 ACS, SEC 2, TR 4 40 ACS
                      136.5 ACS L&E 20 AC
                      S VOL 79 PG 557
                      LEACH 1-A
TEXAS   LEE           LEE CO TX 1/2 MI                                  MINERAL INTEREST   PRODUCING
                      HUMPHREY BEST SVY A-2, 103 ACS
                      USING 2 TRS OF 21.78 &24.77ACSIN
                      A 301.89 AC UNIT, GIDDINGS FLD
                      COLVIN #1 UNIT .00963722 RI


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State   County       Legal Description                                      Interest Type      Status
TEXAS   LEE          LEE CO TX MI                                           MINERAL INTEREST   PRODUCING
                     P W OWENS SVY A-250, 374 ACS
                     OWENS & OWENS "A" .0125 RI
TEXAS   LEE          LEE CO TX MI                                           MINERAL INTEREST   PRODUCING
                      G. B. LOFTIN SVY A-197, 81.666 ACS
TEXAS   LEE          LEE CO TX MI 80 ACS                                    MINERAL INTEREST   PRODUCING
                     PART OF JOHN CHENOWITH SVY, A-60
                     MALOY-COFFIELD .04687334RI
TEXAS   LEE          LEE CO TX MI                                           MINERAL INTEREST   PRODUCING
                     HUMPHREY BEST SVY A-2
                     THOMAS WARD SVY A-330, 577.7 ACS,
                     EVA MAE3& 4 .01170554 RI
TEXAS   LEE          LEE CO TX MI                                           MINERAL INTEREST   PRODUCING
                     F BOATWRIGHT SVY, 151.54 ACS
                     COFFIELD-ORSAGE .02402732 RI
TEXAS   LEON         LEON CO TX MI                                          MINERAL INTEREST   PRODUCING
                     S SANCHEZ SVY, 458,13 ACS
                     CARTER 1 & 2 .00130214 RI
TEXAS   LIBERTY      JEFFERSON & LIBERTY CO TX 1/4 MI                       MINERAL INTEREST   PRODUCING
                     G K PETRY SVY A-775 (LIBERTY)
                     G K PETRY SVYA-935 (JEFFERSON)
                     FUTER SACE, LLC #1 .04166666 RI
TEXAS   MARTIN       MARTIN CO TX MI                                        MINERAL INTEREST   PRODUCING
                     SEC 36 BLK 36 T2N T&P SVY A-757: E/2, 320 ACS
                     HOPPER 36 #5 .009375 RI
TEXAS   MARTIN       MARTIN CO TX MI                                        MINERAL INTEREST   PRODUCING
                     SEC 36 BLK 36 T2N T&P SVY A-757: SW/4, 160 ACS
                     WILLIAMS .00703126 RI
TEXAS   MARTIN       MARTIN CO TX MI                                        MINERAL INTEREST   PRODUCING
                     SEC 25 BLK 36 T2N T&P SVY A-163: NE/4, 160 ACS
                     MORRISON "25" .0075 RI
TEXAS   MARTIN       MARTIN CO TX MI                                        MINERAL INTEREST   PRODUCING
                     SEC 38 BLK 36 T2N T&P RR SVY A-896: E/2 , 320 ACS
                     GASKIN #3801(NE/4) .00421876 RI
                     GASKIN #3803 (SE/4) .00445314 RI
                     GASKIN #3804 (E/2NW/4)
                     .00445314 RI




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State   County       Legal Description                                 Interest Type      Status
TEXAS   MIDLAND      MIDLAND CO TX 1/16 ORI                            OVERRIDING         PRODUCING
                     SEC 40 BLK A, W T GRAY SVY, 656 ACS               ROYALTY
                     BAXTER-WILLIS; WILLIS 40
                     .0208332 ORI
TEXAS   MIDLAND      MIDLAND CO TX 1/16 ORI                            OVERRIDING         PRODUCING
                     SEC 11 BLK 38 T2S T&P SVY A-159, 125 ACS          ROYALTY
                     S/58 ACS NE/4
                     &N/67 ACS SE/4,
                     CASBEER 1 .0029124 ORI
TEXAS   MILAM        MILAM CO TX                                       OVERRIDING         PRODUCING
                     D H VAN VEIGHTON SVY                              ROYALTY
                     SMITH VINCENT SVY, 275 ACS
                     LTD TO DEPTH OF4,000'
                     W P HOGAN .0416666 ORI
TEXAS   MILAM        MILAM CO TX                                       MINERAL INTEREST   PRODUCING
                     ELIZ SANTA SVY A-317, 80 ACS
                     COFFIELD B (RRC 04331)
                     .04166668 RI
                     .02083332 ORI
TEXAS   MILAM        MILAM CO TX MI                                    MINERAL INTEREST   PRODUCING
                     BROWN & MCKENZIE & ELIZA SANTE SVY
                     COFFIELD H H -A- (04299)
                     .02577066 RI
                     .02083334 ORI
TEXAS   MILAM        MILAM CO TX MI W W HILL SVY CALUGIA-COFFIELD      MINERAL INTEREST   PRODUCING
                     .1875
TEXAS   MILAM        MILAM CO TX MI                                    MINERAL INTEREST   PRODUCING
                     VAN VEIGHTON SVY
                     COFFIELD - CAMP
                     .04166666 RI
TEXAS   MILAM        MILAM CO TX MI                                    MINERAL INTEREST   PRODUCING
                     ELIZA SANTE SVY A-317
                     HERNDON-HENSLEY (RRC 11882)
                     .0625 RI
TEXAS   MILAM        MILAM CO TX MI                                    MINERAL INTEREST   PRODUCING
                     HENRY MARTIN SVY A-272
                     COFFIELD-MARTIN (RRC 04429)
                     .08046876 RI
                     .01341146 ORI


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State   County      Legal Description                                  Interest Type      Status
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    WILLIAM BENTON SVY A-111
                    COFFIELD-STEWART
                    .0699094 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    CHARLES BIGELOW SVY A-100, 40 ACS
                    COFFIELD ESTATE (RRC 09869)
                    .125 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    FURHAM SVY
                    WOLFDEN UNIT #1
                    .08556646 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    T. J. CHAMBERS SVY A-7 AND
                    A. F. BURCHARD SVY A-87
                    BEING 450ACS CONYEYED FROM C.A.
                    PRATER 2/26/1940. VOL 234 PG 441
                    581.609 ACS CONVEYEDFROM B.K. ISAACS
                    11/18/1943 VOL 241 PG 96 & 98 ANNIE ISAACS
                    KOONSEN .05333334 RI
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   PRODUCING
                     JAMES PREWITT SVY, 3.576 ACS
                     ELZIE LEWIS, EXC OF J. LEWIS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   PRODUCING
                    120 ACRES OUT OF THE T.S. ARNETT SVY, A-74 &
                    T.J. CHAMBERS
                    SVY, A-7, FOR THE EST OF H. C. VANCE
                    SCHWAMP A-1 .01845188 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    ELIZA SANTE SVY
                    COFFIELD- HENSLEY
                    .0477656 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    HENRY MARTIN SVY A-272
                    37 ACS IN SVY
                    H H COFFIELD
                    .01401670
                    RI
                    .00520830 ORI


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State   County      Legal Description                                   Interest Type      Status
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    B F SWOAP SVY A-328
                    COFFIELD M-11 1 & 2
                    .0625 RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SMITH VINCENT SVY A-372
                    D H VAN VEIGHTON SVY A-373
                    WELLS 1,2,4RRC LEASE #10198
                    WELL 3 RRC LEASE #10397
                    210 ACS - 50 ACS IN SMITH VINCENT SV
                    Y A-372
                    160 ACS IN D.H. VANVEIGHTON SVY A-373
                    BELT III 1,2,3,4 .0104166 RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    J. A. PREWITT SVY, A-288
                    BULLOH (NAVARRO) FIELD; (LSE 7129)
                    COFFIELD-COOK UNIT .056694 RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    ELIZA SANTE SVY A-317, 40 ACS
                    VAUGH #2 & WILMA OWENS .0416666
                    RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    WILLIAM BENTON SVY A-111, 164 ACS
                    COFFIELD -G (RRC 4663)
                    .125
                    RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SANTE SVY A-317
                    COFFIELD UNIT (A/K/A COFFIELD UNIT A-1)
                    .03181666 RI
                    .02083332 ORI
TEXAS   MILAM       MILAM CO TX MIE SANTE SVY A-317 FOUND AT A          MINERAL INTEREST   PRODUCING
                    DEPTH OF 2830' IN THE TETEN AND LEONARD NO 1
                    COFFIELD WELLH H COFFIELD B (04294).0401575 RI
                    .02614584 ORI
TEXAS   MILAM       MILAM CO TX MI                                      PERPETUAL NON-     PRODUCING
                    WILLIAM W HILL SVY A-191, 40 ACS                    PARTICIPATING
                    H H COFFIELD HILL A-1                               ROYALTY INTEREST
                    .07208334 RI


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State   County        Legal Description                                  Interest Type      Status
TEXAS   MILAM         MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                      ELIZA SANTE SVY A-317
                      COFFIELD-SANTE (RRC 23875)
                      .0416666 RI
                      .02083334 ORI
TEXAS   MILAM         MILAM CO TX UNDI 1/2 MI                            MINERAL INTEREST   PRODUCING
                      WILLIAM ALLEN SVY; A-72
                      COFFIELD (RRC 11856)
                      .01184834 RI
TEXAS   MILAM         MILAM CO TX NPRI                                   ROYALTY INTEREST   PRODUCING
                      JAMES REESE SVY, A-303
                      (MINERVA-ROCKDALE) RRC 872136
TEXAS   MILAM         MILAM CO TX 1/6 NPRI                               PERPETUAL NON-     PRODUCING
                      139.012 AC IN THE COLTON WELLS SVY A-390           PARTICIPATING
                                                                         ROYALTY INTEREST
TEXAS   MITCHELL      MITCHELL & SCURRY COS TX MI                        ROYALTY INTEREST   PRODUCING
                      SUBD 7 OF C. A. O'KEEFE SUBD OF
                      GEORGE A REIGER& KIRKLAND &
                      FIELDS SVYS, 258 ACS FEE UNIT #1;
                      EDMONDSON .006944446 RI
TEXAS   MONTGOMER     MONTGOMERY CO TX MI                                MINERAL INTEREST   PRODUCING
        Y             JOHN A DAVIS SVY A-188, 70.5256 ACS
                      HARRIS A, B, D TRACTS
                      CONROE FU TR E1,E2,E5
TEXAS   MONTGOMER     MONTGOMERY CO TX MI                                ROYALTY INTEREST   PRODUCING
        Y             WILSON STRICKLAND SVY, 29 ACS
                      J. C. YOUNG LSE
TEXAS   MONTGOMER     MONTGOMERY CO TX MI                                MINERAL INTEREST   PRODUCING
        Y             I&GN RR CO SVY
                      HOOPER B;
                      CONROE FIELD UT TRACT A-31
                      .01528894 RI
TEXAS   MONTGOMER     MONTGOMERY CO TX MI                                MINERAL INTEREST   PRODUCING
        Y             HOOPER J G WATSON SVY
                      CONROE FIELD WIDE UNIT
                      CONROE PLANTTRACT A-28
                      .02278000 RI




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TEXAS   MONTGOMER    MONTGOMERY CO TX MI                               MINERAL INTEREST   PRODUCING
        Y            L A LANG SVY, 40 ACS
                     T&NO/T M WIGGINGS SVY A-714
                     E. MOREHEAD -B- UNIT
                     WIGGINS HEIRS
                     PERRY HEIRS
                     CONROE FLD UT E-19,35,36,37
TEXAS   MONTGOMER    MONTGOMERY CO TX MI                               MINERAL INTEREST   PRODUCING
        Y            C T DARBY SVY
                     A. E. WALKER UNIT
                     CONROE FIELD UNIT E-17 RI
TEXAS   PALO PINTO   PALO PINTO CO TX 7.5 % ORI                        OVERRIDING         PRODUCING
                     SEC 18 T&P SVY A-1667                             ROYALTY
                     GEORGE A. WRIGHT G U#1
                     .0250000 ORI
TEXAS   PARKER       PARKER CO TX 1/16 ORI                             OVERRIDING         PRODUCING
                     JOHN L. SEE SVY A-1194,                           ROYALTY
                     SEC 325 T&P SVY A-1532,
                     SEC 326 T&P SVY A-1748, NW/C, 395 ACS
                     LEATHERMAN UNIT .041666 ORI
TEXAS   PARKER       PARKER CO TX 7.5% ORI                             OVERRIDING         PRODUCING
                     SEC 327 T&P SVY A-1537, 320 ACS                   ROYALTY
                     TIERCE-MCDONALD UNIT (RRC 63637)
                     .04773436 ORI
TEXAS   REAGAN       REAGAN CO TX 2/3 X 3/256 MI & 2/3 X 3/32 RI       MINERAL INTEREST   PRODUCING
                     SEC 13 CERT 551 BLK E HE&WT SVY:
                     SW/4, 160 ACS
                     MWJ-TRAMMELL A LSE .0078125 RI
TEXAS   REAGAN       REAGAN CO TX 1/2 X 3/64 X 7/8 ORI                 OVERRIDING         PRODUCING
                     SEC 9 BLK 2 UNIVERSITY LANDS SVY;                 ROYALTY
                     SW/4 LTD TO DEPTH OF 7,200', 164.93 ACS
                     UNIVERSITY 1-9 .00683593 ORI
TEXAS   RUSK         RUSK CO TX 1/20 MI                                MINERAL INTEREST   PRODUCING
                     19.25 ACS MARY COGSWELL SVY
                     (DICKSON LSE) .00416666 RI
TEXAS   RUSK         RUSK CO TX MIM J PRU SVY, 79 ACSSOUTH 7.5 ACRES   MINERAL INTEREST   PRODUCING
                     OF THE EAST 15 ACRESOF THEWEST 30 ACRES OF THE
                     SOUTH 60ACRES OF BLK 22 BEING 79 ACRESGILES A
                     .00277800 RI


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State   County      Legal Description                                    Interest Type      Status
TEXAS   SCURRY      SCURRY CO TX 3/160 MI                                MINERAL INTEREST   PRODUCING
                    SEC 117 BLK 97 H&TC SVY: NE/4, 160 ACS
                    T J ELLIS .00156252 RI
TEXAS   SCURRY      SCURRY CO TX 1/16 ORI                                OVERRIDING         PRODUCING
                    SEC 129 BLK 97 H & TC RY CO SVY: NE/4, 160 ACS       ROYALTY
                    FIRST NATLBANK OF SNYDER LSE
                    .04166666 ORI
TEXAS   SCURRY      SCURRY CO TX 1/32 X 7/8 ORI                          OVERRIDING         PRODUCING
                    SEC 253 BLK 97 H&TC SVY: NW/PT, 193.6 ACS            ROYALTY
                    SACROC UNIT TR 167 (LUNSFORD LSE)
                    .0182292 ORI
TEXAS   SCURRY      SCURRY CO TX 1/2 X 1/16 ORI                          OVERRIDING         PRODUCING
                    SEC 115 BLK 97 H&TC RY CO SVY                        ROYALTY
                    S/60 ACS OF W/2 SE/4(LTD TO 2,000')
                    MURPHY D .02083334 ORI
TEXAS   SCURRY      SCURRY CO TX MI 160 ACS                              MINERAL INTEREST   PRODUCING
                    SEC 130 BLK 97 H&TC SVY: NW/4
                    W F STERLING .00520866 RI
TEXAS   SCURRY      SCURRY CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SEC 114 BLK 97 H&TC SVY: SE/4 NE/4 NE/4
                    & NE/4 SE/4 NE/4, 20ACS
                    J E (ALSO L E) MURPHY .02083334 & .00260416 ORI
                    IRA 1700 ZONE UNIT TR 24
TEXAS   SCURRY      SCURRY CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SEC 142 BLK 97 H&TC SVY
                    S/2 W/2 NE/4 SW/4,
                    S/2 E/2 NW/4 SW/4,20 ACS
                    MCCLURE, R. O. .00260416 ORI
TEXAS   SCURRY      SCURRY CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SEC 115 BLK 97 H&TC SVY: N/2 NE/4, 80 ACS
                    S H NEWMAN .00260414ORI
                    IRA UNIT TR 28 -
TEXAS   SCURRY      SCURRY CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SEC 115 BLK 97 H&TC SVY
                    W A REITER .00260414 ORI
                    IRA UNIT TR54




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TEXAS   SCURRY      SCURRY CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 115 BLK 97 H&TC SVY: W/2 NW/4, 80 ACS
                    WADE .00260416 ORI
                    IRA UNIT TR 25
TEXAS   SCURRY      SCURRY CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 146 BLK 97 H&TC SVY: 80 ACS
                    ALLIANCE TRUST .00260414 ORI
TEXAS   SCURRY      SCURRY CO TX MI                                    OVERRIDING         PRODUCING
                    SEC 146 BLK 97 H&TC SVY                            ROYALTY
                    O L BURNEY .0026042 ORI
TEXAS   SCURRY      SCURRY CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 116 BLK 97 H&TC SVY, PT SW/4, 120 ACS
                    RI IRA 1700 ZONE UNIT
                    JJ MOORE LSE
                    IRA UNIT TR 35 - .00206414 RI
                    IRA UNIT TR 46 - .00260414 RI
TEXAS   SCURRY      SCURRY CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 116 BLK 97 H&TC SVY, PT SW/4, 120 ACS
                    IRA 1700 ZONE UNIT
                    MOORE LSE .02083334 ORI
                    IRA UNIT TR 33
TEXAS   SCURRY      SCURRY CO TX .0182292 ORI                          OVERRIDING         PRODUCING
                    SEC 253 BLK 97 H&TC SVY: NW/PT, 193.6 ACS          ROYALTY
                    SACROC UNIT TR 168
TEXAS   SCURRY      SCURRY CO TX .0182292 ORI                          OVERRIDING         PRODUCING
                    SEC 291 BLK 97 H&TC SVY                            ROYALTY
                    SACROC UNIT TR 156
TEXAS   TERRY       TERRY CO TX 1/4 MI S/440 ACS                       MINERAL INTEREST   PRODUCING
                    SEC 22 BLK K PSL SVY A-1292
                    C B TOWNES BLEASE
                    PRENTICE SOUTHWEST UNIT
TEXAS   TERRY       TERRY CO TX 1/4 MI S/440.8 ACS                     MINERAL INTEREST   PRODUCING
                    SEC 22 BLK K PSL SVY A-1292
                    C B TOWNES "A" TR
                    3
                    PRENTICE CENTRAL GLORIETA UT
                    .020834 RI AND .041666 ORI




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TEXAS   TERRY        TERRY CO TX 1/4 MI S/440.8 ACS                      MINERAL INTEREST     PRODUCING
                     SEC 22 BLK K PSL SVY A-1292
                     LTD TO CLRFK FM ONLY
                     C B TOWNES "A" TR 3
                     PRENTICE 6700' CLEARFORK CENTRAL UNIT
                     .020834 RI AND .041666 ORI
TEXAS   UPTON        UPTON CO TX 7/64 X 1/8 RI640 ACS S/2 SVY 36 BLK 1   ROYALTY INTEREST     PRODUCING
                     CERT-334 MK&T RR CO SVY &N/2 SVY 1 CERT- 4260 A-
                     211 GC&SF RR CO SVY (LANE LSE) MCCAMEY UNIT TR
                     13,14,15,16
TEXAS   WARD         WARD CO TX MI                                       MINERAL INTEREST     PRODUCING
                      SEC 58, BLK 33, H&TC RR SVY A-892, 640 ACS
TEXAS   WILLIAMSON   WILLIAMSON CO TX MI                                 MINERAL INTEREST     PRODUCING
                     SIMON MILLER SVY; A-492
                     PHILLIP PRATER SVY; A-418
                     CHAPMAN-ABBOTT UNIT - TRACT 1
                      *** COMBINED ALL TRACTS HERE; SEE REMARKS***
TEXAS   WINKLER      WINKLER CO TX MCL                                   MINERAL CLASSIFIED   PRODUCING
                     SEC 8 BLK B-2 PSL SVY A-1239,                       LAND
                     S/2 S/2 & S/2 N/2, 320 ACS
                     SEC 9 BLK B-2 PSL SVY A-1931,
                     N/2 NW/4, N/2 SW/4, NW/4 SE/4, 200 ACS
                     EAST KEYSTONE FIELDWIDE UNIT
TEXAS   WINKLER      WINKLER CO TX MI                                    MINERAL INTEREST     PRODUCING
                     SEC 41 BLK 21 UL SVY A-81U
                     UNIVERSITY -41 (RRC 74260)
TEXAS   WINKLER      WINKLER CO TX                                       MINERAL INTEREST     PRODUCING
                     SEC 31 BLK 21 UL SVY A-71U: SW/4
                     UNIVERSITY -31- A (RRC 19550)
                     .0208334 ORI
TEXAS   WOOD         WOOD CO TX 1.25/99 RI                               ROYALTY INTEREST     PRODUCING
                     99 ACS BERRY SMITH SVY A-534
                     COKE UNIT .0006554 RI & .0006434 RI
TEXAS   WOOD         WOOD CO TX 1/16 X 7/8 RI                            ROYALTY INTEREST     PRODUCING
                     TR. 5 & 1/3 X 1.25/113 RI-TR. 21 IN
                     J. D. MATTHEWS SVY & DAVID
                     GILLILAND SVY A-229
                     SECOND-SUB CLARKSVILLE FORM UNIT TR 4 & 5



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TEXAS   WOOD        WOOD CO TX                                         ROYALTY INTEREST   PRODUCING
                    G B WATKINS SVY A-629
                    WOODBINE -A- FORMATION UNIT
                    TRACT 40 (25
                    WELLS) RRC 4887
TEXAS   WOOD        WOOD CO TX MI                                      MINERAL INTEREST   PRODUCING
                    GEORGE BREWER SVY A-41
                    LOTS 10-13, BLK 23 OF HAWKINS TOWN SITE,
                    HAWKINS FIELD UT TR B7-12,B9-7,B7-11
                    HAWKINS FIELD UNIT (747 WELLS) RRC 5743
TEXAS   WOOD        WOOD CO TX MI                                      MINERAL INTEREST   PRODUCING
                    GEORGE BREWER SVY A-41
                    CRAIN (J M HENRY B9-7) .00205934 RI
                    HAWKINS FIELD UNIT (747 WELLS) RRC 5743
TEXAS   YOAKUM      YOAKUM CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 25 BLK K PSL SVY A-1559: NE/4, 160 ACS
                    PRENTICE GLORIETATR 16
                    PRENTICE 6700' TR 16
                    PRENTICE SW TR 16
TEXAS   ZAVALA      ZAVALA CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SVY 385 J D OWEN A-1061
                    PICKENS-COFFIELD .0625 RI
                    SVY 4 JMWILLIAMS A-1139
                    SVY 387 J M WILLIAMS A-1244
                    SVY 12 E C RUTLEDGE A-1211
                    SV
                    Y 12 E C RUTLEDGE A-1379
                    SVY 12 E C RUTLEDGE A-1381
                    SVY 13 GC&SF A-754
                    SVY14 J F CRAWFORD A-1170
                    SVY 386 1/2 HENRY HUBBLE A-191
                    SVY 388 H W WILLAIMS~
                    ~ SVY 389 J C RUFF A-562
                    SVY 392 W HADDEN A-1121
                    SVY 388 GB&N A-646
                    SVY 449 H W DAVIS A-1120




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State     County       Legal Description                                      Interest Type      Status
WYOMING   WESTON       WESTON CO WY                                           OVERRIDING         PRODUCING
                       SEC 7-45N-67W: LOT 1 W/2 NE/4, NE/4 NW/4,              ROYALTY
                       SE/4 SE/4, 200.07 ACS
                       BEING TRACT 4 & SE/4 NW/4, 40 ACS
                       QUEST MUDDY UNIT TR 5B .0014168 ORI
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 3-2S-4E: S/2 SE/4, 80 ACS
                       SEC 10-2S-4E: W/2 NE/4, 80 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 14-2S-4E: SW/4, 160 ACS
                       SEC 15-2S-4E: SE/4, 160 ACS
                       SEC 2-2S-4E: NE/4 SE/4, 40 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 23-2S-4E: NW/4 SE/4, 40 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI SEC 31-4S-5E: E/2 NW/4; W/2 NE/4      MINERAL INTEREST   NON PRODUCING
                       SW/4; NW/4 SE/4; N/2 SW/4SE/4, 234 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 6-5S-5E: NW/4 NE/4, 40 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 2-2N-4E: E/2 SW/4 & W/2 SE/4, 160 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 17-4S-5E: W/2 E/2, 160 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-17E: S/2 SE/4, 80 ACS
                       SEC 13-3N-17E: 2 ACS NW/CNW/4 NE/4, 2 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 24-3N-17E: E/2 SW/4, 80 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 35-1N-18E: NW/4 SW/4, SW/4 NW/4, NW/4 NE/4, NE/4
                       SW/4,
                       SW/4 SW/4, 200 ACS
                       SEC 26-1N-18E: E/2 SW/4 SE/4, 20 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 13-3N-17E: NE/4 SW/4 & SE/4 NW/4, 80 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 24-1N-18E: S/2 SW/4, 80 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 24-3N-17E: SE/4 & SE/4 SE/4, 200 ACS



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ALABAMA      COVINGTON     COVINGTON CO AL MI                                         MINERAL INTEREST   NON PRODUCING
                            SEC 10-3N-17E: SW/4 SE/4, NE/4 NW/4, NW/4 NE/4,
                            SW/4 SE/4, SE/4 SW/4, SW/4 SW/4 EAST OF SANFORD
                           RD, 207 ACS
ALABAMA      ESCAMBIA      ESCAMBIA CO AL MI                                          MINERAL INTEREST   NON PRODUCING
                            SEC 26: NW/4 SW/4, 40 ACS
                           SEC 34: 11 ACS
ALABAMA      ESCAMBIA      ESCAMBIA CO AL MI                                          MINERAL INTEREST   NON PRODUCING
                            SEC 9-2N-5E: SW/4 SW/4, 40 ACS
                           SEC 22-2N-5E: NW/4 SE/4, 40ACS
ALABAMA      HOUSTON       HOUSTON CO AL MI                                           MINERAL INTEREST   NON PRODUCING
                            SW/4 LYING EAST OF PANSY CROSBY RDTWP 1 RNG
                           29, 86 ACS
ARKANSAS     COLUMBIA      COLUMBIA CO AR MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 15-16S-22W: SW/4, 160 ACS
ARKANSAS     LAFAYETTE     LAFAYETTE CO AR MI                                         MINERAL INTEREST   NON PRODUCING
                           SEC 24-17S-24W: S/2 S/2 SW/4, 40 ACS
ARKANSAS     LAFAYETTE     LAFAYETTE CO AR MI                                         MINERAL INTEREST   NON PRODUCING
                           SEC 24-17S-24W: SW/4, 160 ACS
ARKANSAS     LAFAYETTE     LAFAYETTE CO AR MI                                         MINERAL INTEREST   NON PRODUCING
                           SEC 25-17S-24W: NW/4, 160 ACS
ARKANSAS     MILLER        MILLER CO AR MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 19-19S-27W: SW/4 NW/4 & NW/4 SW/4, 80 ACS
ARKANSAS     MILLER        MILLER CO AR MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 35-19S-27W: W/2, 320 ACS
ARKANSAS     OUACHITA      OUACHITA CO AR MI                                          MINERAL INTEREST   NON PRODUCING
                            SEC 34-11S-19W: NE/4 SW/4, SE/4 NW/4, E/4 SW/4 NW/4,
                           90 ACS
ARKANSAS     OUACHITA      OUACHITA CO AR MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 34-11S-19W: W/2, 320 ACS
CALIFORNIA   KERN          KERN CO, CA MI                                             MINERAL INTEREST   NON PRODUCING
                           SECTION 25; 27S-28E ALL,
                           640 ACS
FLORIDA      CALHOUN       CALHOUN CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 4-1N-9W: NW/4 SE/4, 40 ACS
FLORIDA      CALHOUN       CALHOUN CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 30-2N-9W: S/2 SW/4, 80 ACS




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FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 17-1N-9W: SE/4 NE/4, 40 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 13-1N-10W: N/2 NE/4 & SW/4 NE/4, 120 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 18-1N-9W: NW/4 NW/4, 40 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 14-2N-9W: W/2 NE/4, 80 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 3-1N-9W: SW/4 SE/4, 40 ACS
FLORIDA   CALHOUN      CALHOUN CO FL NPRI                                      ROYALTY INTEREST   NON PRODUCING
                        SEC 6-1N-11W
                        SEC 7-1N-11W
                        SEC 8-1N-11W
                        SEC 15-1N-11W
                        1440 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 36-2N-9W: NE/4, 160 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 4-1N-9W: NW/4 SE/4, 40 ACS
                        SEC 20-2N-9W: S/2 SW/4, 80 ACS
                        SEC 17-1N-9W: SE/4 NE/4, 40 ACS
                        SEC 13-1N-10W: N/2 NE/4, SW/4 NE/4, 120 ACS
                        SEC 18-1N-9W: NW/4 NW4, 40 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 15-1N-11W: ALL, 640 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI SEC 7-1N-11W SEC 8-1N-11W SEC 6-       MINERAL INTEREST   NON PRODUCING
                       1N-11W: SW/4 SW/4, 40 ACS 770 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 34-7N-15W: SW/4 SE/4 & 1.5 TO 2 ACS IN A V SHAPE
                       IN NE/C SE/4 SW/4 & E/2 SE/4, 122 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                        NW/4 SW/4 SEC 16-5N-16W:
FLORIDA   HOLMES       HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                        120 AC N/2 SW/4 AND NW/4 SE/4 OF SEC 28-7N-15W:




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State     County      Legal Description                                      Interest Type      Status
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       SEC 16-5N-16W: ALL NORTH OF BONIFAY AND
                      GENEVA PUBLIC ROAD ANDWEST OF CARYVILLE AND
                      GENEVA RD IN NE/4 OF SW/4 AND NW/4 OF SE/4 OF SEC
                      16-5N-16W LESS ONE ACRE IN NW CORNER AND LESS
                      ONE ACRE W OF CARYVILLE AND GENEVA RD
                      CROSSING AND N. OF BONIFAY AND GENEVA RD, 39
                      ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       175 ACS E/2 OF NW/4 AND SE/4 OF THE NE/4 AND 12 1/2
                      AC.ON THE
                      EAST SIDE OF NW/4 OF THE NW/4 AND 12 1/2 AC. ON
                      THE EAST SIDE OF THE SW/4OF THENE/4, KNOWN AS
                      THE 7 AC. SOUTH OF THE CREEK. ALL IN SEC 32-7N-
                      15W:
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       175 ACS E/2 OF NW/4 AND SE/4 OF THE NE/4 AND 12 1/2
                      AC. ON THEE. SIDE OF NW/4 OF THE NW/4 AND 12 1/2
                      AC. ON THE E. SIDE OF THE SW/4OFTHE NE
                      /4 KNOWN AS THE 7 AC. S. OF THE CREEK, ALL IN SEC
                      32-7N-15W:
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       5 AC. NW CORNER OF NE/4 OF SE/4 OF SEC 32-7N-17W:
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       40 ACS SE/4 OF SE/4 OF SEC 6-6N-17W:
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       40 ACS NE/4 OF NW/4 SEC 35-7N-15W:




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FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                      NW/4 LESS 9 AC. OUT OF SE/CORNER OF SEC. 30,E/2 OF
                      SEC. 31; SEC. 30 S/2 OF NE/4 AND 6 AC. IN THE
                      SE/CORNER OF SE/4 OF SW/4;LOTS 1 AND 2 OF BLOCK
                      CYPRESS; LOTS 4,21,22 OF BLK G; LOTS 1 AND 2 OF
                      BLK 1; LOT 6OF BLOCK J. ALL OFBLK K, LESS LOTS
                      1,2,3 AND LOT SOLD TO CARY HAMILTON; LOT2 BLK
                      M; LOTS 1,2,7,8
                      OF BLOCK O; LOTS 1,2,4,5,8,14,15 OF BLOCK P; LOTS
                      1,2,15,16,18,19,20, OF BLK. R;ALL OF BLK S; LOTS
                      3,4,5,6,7,8 OF BLK. T; LOTS 1,2,3,6 OF BLK. U. ALL IN
                      TWP 4N
                      -RNG 8W, 480 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 24-4N-9W: SW/4 SE/4, 40 ACS
                       SEC 25-4N-9W: ALL, 640 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 21 S/2 OF NE/4; N/2 OF SE/4;
                       SEC 23 SW/4; S/2 OF NW/4; NE/4 OF SE/4;
                       SEC 24 NW/4 OF NW/4; SE/4 OF SW/4,
                       SEC 13 W/2 SW/4 TWP. 4-N RNG. 9-W
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 31-4N-9W: E/2 OF W/2; SW/4 OF NW/4;
                       SEC 36-4N-9W: E/2OF E/2 SW/4 OF NE/4; SE/4 OF NW/4;
                      SW/4 AND W/2 OF SE/4,
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 27 ALL EXCEPT NE/4 NW/4, 600 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 11-4N-9W: NW/4 NW/4; SE/4 NW/4; S/2 NE/4; E/2
                      SW/4; SE/4,
                      27 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 26-5N-9W: S/2, 320 ACS
                       SEC 35-5N-9W: N/2, 320 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 34-7N-15W: SW/4 SE/4 & 2 ACS IN NE/C SE/4 SW/4,
                      E/2 SE/4,
                      122 ACS



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FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       40 ACS BEING NW/4 SW/4 16-5N-16W
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 16-5N-16W: NW/4 SW/4, NW/4 SE/4 L&E 1 AC IN
                       NW/C & 1 AC W
                       OF CARYVILLE & GENEVA RDS, 41 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 28-7N-15W: N/2 SW/4, NW/4 SE/4, 120 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 32-7N-15W: E/2 NW/4, SW/4 NE/4 ON THE
                        E/SIDE NW/4 NW/4,
                       12-1/2 ACS ON THE E/SIDE
                        SW/4 NW/4, SE/4 NE/4 L & E 7 ACS OFF S/SIDE
                        SE/4 NE/4, 175 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 32-7N-17W: NW/C NW/4, 5 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 6-6N-17W: SE/4 SE/4, 40 ACS
FLORIDA   HOLMES       HOLMES CO FL MI SEC 35-7N-15W: NE/4 NW/4, 40 ACS      MINERAL INTEREST   NON PRODUCING
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 2-5N-16W: E/2 NW/4, 80 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 27-5N-17W: 110 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 4-2N-10W: S/2 NW/4 & NW/4 SW/4, 120 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 31-3N-10W: N/2, 320 ACS




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FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 11,12,14-4N-10W: BEGIN ON THE E. ROW LINE OF
                       THE MARIANNA
                       AIRBASE RAILROAD AT IT'S POINT OF INTERSECTION
                       WITH STATE RD. NO. 1 (US90) THENCE SOUTHERLY
                       ALONG SAID RIGHT OF WAY LINE TO THE ROW OF
                       THELAND N RAILROAD; THENCE IN A
                       SOUTHEASTERLY DIRECTION ALONG SAID ROW TO
                       SPRING CREEK; THENCE NORTHEASTERLY ALONG
                       SAID CREEK TO THE EASTERN SECTION LINE OF SEC
                       14; THENCE NORTH ALONG
                       SAID SEC LINE TO THE NE CORNER OF SAID SEC;
                       THENCEEASTALONG SECTION LINE BETWEENSEC 12
                       AND 13 TO THE ROW OF STATE ROAD NO. 1 TO POB,
                       275 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 33-5N-9W: E/2, 320 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 26-3N-10W: W/2 NE/4 & E/2 NW/4 LESS E/2 NW/4
                       NE/4, 140 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 32-3N-10W: N/2 LESS 10 ACS IN THE NE/C NE/4
                       NE/4, 311.88ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 7-4N-8W: ALL EXCEPT SW/4 SW/4, 600 ACS




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State     County       Legal Description                                            Interest Type      Status
FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 36-4N-9W: SW/4 NE/4; SE/4 NW/4; SW/4; W/2 SE/4,
                       480 ACS,
                        SEC 30-4N-8W: S/2 NE/4; 6 ACRES IN SE/CORNER SE/4
                       SW/4;
                        LOTS 1 & 2 OF BLK CYPRESS; LOTS 4 & 22 OF BLK G;
                       LOTS 1 &
                        2 OF BLK 1; LOT 6 OFBLK J; BLK K LESS LOTS 1,2,3 &
                       LOT SOLD
                        TO CARY HAMILTON; LOT 2 OF BLK M; LOTS1,2,7, & 8
                       OF BLK O;
                        LOTS 1,2,4,5,8,14, AND 15 OF BLK P; LOTS 1,2,15,16,18,19,
                       & 20
                        OF BLK R; BLK S; LOTS 3,4,5,6,7, & 8 OF BLK T LOTS
                       1,2,3, & 6 OF BLK J
FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 7-4N-8W L&E SW/4 SW/4,
                        SEC 30-4N-8W: NW/4 L&E 9 ACS INSE/CE/2, E/2 W/2;
                        SEC 31-4N-8W: SW/4 NW/4, 40 ACS
                        SEC 25-4N-9W: ALL L&E NE/4
                       NW/4, 440 ACS
                        SEC 36-4N-9W: E/2 E/2, 160 ACS
                        SEC 21-4N-9W: S/2 NE/4, N/2 SE/4, 160 ACS
                        SEC 23-4N-9W: SW/4, S/2 NW/4, NE/4 SE/4,
                        SEC 24-4N-9W: NW/4 NW/4, SE/4 SW/4, SW/4 SE/4, 120
                       ACS
                        SEC13-4N-9W: W/2 SW/4, 80 ACS
                        SEC 11-4N-9W:
                       NW/4 NW/4, SE/4 NW/4, S/2 NE/4, E/2 SW/4, SE/4,
FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 31-3N-10W: N/2, 320 ACS
                        SEC 32-3N-10W: N/2 L&E 10 ACS IN NE/C NE/4 NE/4,
                       311.88 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 26-5N-9W: S/2, 320 ACS
                        SEC 35-5N-9W: N/2, 320 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 26-3N-10W: W/2 NE/4, E/2 NW/4 L&E E/2 NW/4 NE/4,
                       140 ACS


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State     County        Legal Description                                      Interest Type      Status
FLORIDA   JACKSON       JACKSON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                         SEC 4-2N-10W: S/2 NW/4 & NW/4 SW/4, 120 ACS
FLORIDA   JACKSON       JACKSON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                         SECS 11, 12, 14-4N-10W: 275 ACS
FLORIDA   JACKSON       JACKSON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                         SEC 33-5N-9W: E/2, 320 ACS
FLORIDA   JACKSON       JACKSON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 4N-8W & 4N-9W: 231.94 ACS SCATTERED
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 28-5N-23W: E/2 NW/4 SW/4, SW/4 NW/4 SW/4 & SW/4
                        SW/4, 70ACS
                         SEC 29-5N-23W: E/2 L&E PT LYING W OF YELLOW
                        RIVER, 120 ACS
                         SEC 34-5N-2
                        3W: NW/4 NW/4, 40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 26-5N-23W: SW/4 NE/4 & W/2 SE/4, 120 ACS
                         SEC 35-5N-23W: N/2 SW/4 NE/4 & SW/4 NW/4 NE/4, 30
                        ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 26-5N-23W: E/2 SE/4, 80 ACS
                         SEC 35-5N-23W: NE/4 NE/4,40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 14-5N-23W: SE/4, 160 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 36-5N-22W: NE/4 NE/4, 40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI SEC 33-4N-23W: SE/4 NE/4 & SE/4      MINERAL INTEREST   NON PRODUCING
                        NW/4 & N/2 N/2 NE/4 SW/4 &W/2 SE/4 LESS S/15 AC OF
                        SW/4 SE/4, 155 ACS SEC 34-4N-23W: NW/4 NW/4, 40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 14-4N-23W: NE/4 NE/4, 40 ACS
                         SEC 23-4N-23W: N/2 NW/4,
                        SW/4 NW/4, 120 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 19-4N-24W: S/2 NE/4, E/2 SE/4 NW/4, 780 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 11-5N-24W: SE/4 SE/4, 40 ACS
                         SEC 14-5N-24W: NE/4 NE/4,40 ACS
                         SEC 12-5N-24W: S/2 SW/4, 80 ACS


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State     County        Legal Description                                      Interest Type      Status
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 30-5N-23W: SW/4 EXCEPT THE W/18 AC SW/4 SW/4
                         & SW/4 NE/4 & S/2 NW/4 & NW/4 SE/4, 142 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 15-5N-23W: S/2 SW/4, 80 ACS
                         SEC 16-5N-23W: SW/4 SW/4,
                        40 ACS
                         SEC 21-5N-23W: W/2 SE/4, 80 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 19-4N-24W: SE/4 SE/4, EXCEPT 3 AC COMMENCING
                        AT THE SW
                        CORNER OF SAID QUARTER AND RUNNING THENCE
                        EAST 210 YDS THENCE NORTH 70 YDS THENCE
                        WEST 210 YDS. THENCE SOUTH 70 YRDS TO THE
                        PLACE OF BEGINNING.
                         SEC 20-4N-24W: W/2 NE/4 SE/4, 20 ACS
                         SEC 21-4N-24W: SW/4 SW/4, S/2 NW/4 SW/4, A STRIP OF
                        LAND 48 FT WIDE OFF S SIDE OF THE N/2 NW/4 SW/4
                        OF SEC 21,
                         SEC 19-4N-24W: E/2 SW/4 & SE/4, 240 ACS
                         SEC 29-4N-24W: SW/4, 160 ACS
                         SEC 29-4N-24W: W/2
                        NW/4, 80 ACS
                         SEC 30-4N-24W: E/2 NE/4, 80 ACS
                         ALSO 1 AC LOCATED IN THE NE CORNER OF THE NW/4
                        SW/4 OF SEC 19 COMMENCING AT THE H.H. BOYETT
                        CORNER AND THE PUBLIC ROAD RUNNING THENCE
                        115 FT. SOUTH 228 FT WEST 257 FT.TO THE PUBLIC
                        ROAD
                        IN A NORTHEASTERLY DIRECTION ALONG SAID
                        PUBLIC RD. TO THE PLACE OF BEGINNING,




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State     County        Legal Description                                          Interest Type      Status
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 19-4N-24W: SE/4 SE/4 L&E 3 ACS,
                         SEC 20-4N-24W: W/2 NE/4 SE/4,
                         SEC 21-4N-24W: SW/4 SW/4, S/2 NW/4 SW/4, A STRIP OF
                        LAND 48' WIDEACROSS
                         THE S/SIDE N/2 NW/4 SW/4,
                         SEC 19-4N-24W: S/2 NE/4, E/2 SE/4 NW/4, E/2 SW/4, SE/4,
                         SEC 20-4N-24W: SW/4, 160 ACS
                         SEC 29-4N-24W: W/2 NW/4, 80 ACS
                         SEC30-4N-24W: E/2 NE/4, 80 ACS
                        SEC 19-4N-24W: 1AC M/L IN NE/C NW/4 SW/4,
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 15-5N-23W: S/2 SW/4, 80 ACS
                         SEC 16-5N-23W: SW/4 SW/4,
                        40 ACS
                        SEC 21-5N-23W: W/2 SE/4, 80 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 28-5N-23W: E/2 NW/4 SW/4, SW/4 NW/4 SW/4, SW/4
                        SW/4, 70
                        ACS
                         SEC 29-5N-23W: E/2 L&E THAT PT LYING W OF
                        YELLOW RIVER, 120 ACS
                        SEC 34-5N-23W: NW/4 NW/4, 40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 14-4N-23W: NE/4 NE/4, 40 ACS
                         SEC 22-4N-23W: N/2 NW/4,
                        SW/4 NW/4, 120 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 20-5N-23W: SW/4 L&E THE W/18 ACS
                         OF SW/4 SW/4, SW/4 NE/4, S/2 NW/4,
                        NW/4 SE/4, 302 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 26-5N-23W: SW/4 NE/4, W/2 SE/4, 120 ACS
                        SEC 35-5N-23W: N/2 NW/4 NE/4, SW/4 NW/4 NE/4, 30 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 11-5N-24W: SE/4 SE/4, 40 ACS
                         SEC 14-5N-24W: NE/4 NE/4,40 ACS
                        SEC 12-5N-24W: S/2 SW/4, 80 ACS



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State     County        Legal Description                                    Interest Type      Status
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 14-5N-23W: SE/4, 160 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                         SEC 26-5N-23W: E/2 SE/4, 80 ACS
                         SEC 35-5N-23W: NE/4 NE/4,
                        40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI SEC 36-5N-22W: NE/4 NE/4, 40 ACS   MINERAL INTEREST   NON PRODUCING
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                         SEC 33-4N-23W: SE/4 NE/4, SE/4 NW/4,
                         N/2 N/2 NE/4 SW/4,W/2SE/4 (L&E S/15
                         ACS OF SW/4 SE/4), 155 ACS
                        SEC 34-4N-23W: NW/4 NW/4, 40 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                         SEC 2-1N-29W: S/2 S/2 SW/4, DESCRIBED AS
                         BEG AT SW CORNER OF SEC. 2; N 10 CHAINS;
                        E 32 CHAINS S 10 CHAINS; W32 CHAINS, 32 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                        SEC 4-2N-29W: W/2 SW/4, 80 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                        SEC 28-2N-28W: S/2 NW/4 & NW/4, 120 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                         SEC 5-2N-28W: S/2 S/2 SW/4, 334 ACS
                        SEC 9-2N-28W: N/2, S/2, SW/4 SE/4, 80 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                         SEC 8-2N-28W: NW/4 & W/2 NE/4 LESS 5 ACS
                         SEC 9-2N-28W:
                        RUN S 350 YRDS. W 70 YRDS N
                         350 YRDS. E 70 RDS TO POINT OF BEGINNING
                         CONTAINING 275 AC & THAT PORTION OF SE/4
                         SW/4 OF SEC 9 T2N R28W LYING WEST OF STATE
                        HWY 188 CONTAINING 19 AC & SE/4 SW/4 LESS 2 AC
                         LYING E OF STATE HWY 188 OF SE
                        C 9 T2N R28W, 334 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                         SEC 6-2N-28W: NE/4 NE/4 & E/2 SW/4 &
                        S/2 SE/4 EXCEPT 3 AC, 157 ACS




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State     County       Legal Description                                    Interest Type      Status
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 31-3N-28W: 5 ACS IN BEG SEC 31
                       & RUNNING N 2 1/2 CHAINS; THENCE
                       W 20; THENCE S 2 1/2 CHAINS; THENCE E 20 CHAINS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 32-3N-28W: SE/4 NE/4 & NE/4 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 4-4N-28W: W/2 NW/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 5-4N-28W: S/2 SW/4 L&E 10 ACS
                       SW/4 SE/4 L&E 10 ACS OFF W/SIDE, 100 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 8-4N-28W: N/2 NE/4, 80 ACS
                       SEC 9-4N-28W:NW/4 NW/4, 40 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 7-3N-28W: SE/4 NW/4 & S/2 SW/4 NW/4, 60 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 8-3N-28W: SE/4 NW/4, 40 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-28W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 30-3N-28W: NW/4, 160 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 10-4N-30W: SE/4 SE/4, 40 ACS
                       SEC 11-4N-30W: SW/4 SW/4, 40 ACS
                       SEC 15-4N-30W: NE/4 NW/4 & SW/4 SW/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 27-4N-29W: NE/4, 160 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 3-3N-29W: E/2 NE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 10-1N-29W: NE/4 NE/4, 40 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 11-3N-29W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-29W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-28W: E/2 SE/4, 80 ACS



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State     County       Legal Description                                        Interest Type      Status
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-29W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 10-1N-29W
                       40 ACS NE/4 NE/4
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 11-3N-29W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 30-3N-28W: NW/4, 160 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 4-2N-29W: W/2 SW/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 2-1N-29W: S/2 S/2 SW/4, 32 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 32-3N-28W: SE/4 NE/4; NE/4 SE/4, 80 ACS
                       SEC 28-2N-28W: S/2 NW/4 & NW/4 NW/4, 120 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI SEC 6-2N-28W: NE/4 NE/4, 40          MINERAL INTEREST   NON PRODUCING
                       ACS SEC 31-3N-28W: 5 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 6-2N-28W: E/2 SW/4 & S/2 SE/4
                       L&E 3 ACS OUT OF SE/C,157 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 5-4N-28W: SW/4 SE/4 L&E 10 ACS OFF W/SIDE, 30
                       ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 5-4N-28W: S/2 SW/4 L&E E 10 ACS, 120 ACS
                       SEC 8-4N-28W: NW/4 NW/4, 40 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 5-2N-28W: S/2 S/2 SW/4, NW/4; W/2 NE/4; NE/4 NE/4
                        L&E 5 ACS DESCRIBED AS BEG AT NE/C OF 8-2N-28W,
                       315 ACS
                       SEC 9-2N-28W: SE/4 SW/4,19 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 5-2N-28W: N/2 S/2 SW/4; SW/4 SE/4, 80 ACS
                       SEC 9-2N-28W: SE/4 SW/4 L&E 2 ACS, 38 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 10-4N-30W: SE/4 SE/4, 40 ACS
                        SEC 11-4N-30W: SW/4 SW/4, 40 ACS
                       SEC 15-4N-30W: NE/4 NW/4, SW/4 NW/4, 80 ACS


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State     County       Legal Description                                         Interest Type      Status
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 3-3N-29W: E/2 NE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 27-4N-29W: NE/4, 160 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 12-5N-19W: SW/4 NE/4, 40 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 32-5N-21W: NE/4, 160 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 2-5N-19W: NW/4 NW/4 LESS 140 YRDS (4 AC)
                       SQUARE NE/C OF TR, 39.971074 ACS
                       SEC 3-5N-19W: NE/4 NE/4, 40 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 22-5N-21W: SE/4 SW/4
                        SEC 21-5N-21W: SE/4 SE/4
                        SEC 22-5N-21W: SW/4 SW/4
                       SEC 28-5N-21W: NE/4 NE/4, 160 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 31-5N-21W: NW/4 NW/4, 40 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 12-2N-18W: SW/4 SE/4, E/2 SE/4 & SE/4 NE/4,
                       SEC 13-2N-18W: NW/4 NE/4, 200 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 3-2N-18W: S/2 L&E PT OF NE/4 SE/4
                        EAST OF VALLEY CHURCH
                       ROAD, 300 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 35-3N-17W: LOT 6, 69 ACS
                        SEC 19-3N-17W: S3/4 SE/4 SE/4,
                       21 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 28-2N-18W: W/2 NW/4; SE/4 NW/4 & N/2 SW/4, 360
                       ACS
                        SEC 29-2N-18W: E/2 NE/4, 280 ACS
                       SEC 28-2N-18-W: N/2 SE/4, 80 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 33-2N-18W: NE/4 NE/4; SW/4 NE/4; NW/4 SE/4; 120
                       ACS, 1/6 MI



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FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 32-2N-18W: S/2 SW/4 & SW/4 SE/4, 120 ACS
                       SEC 2-2N-18W: NE/4 NE/4, 40 ACS
                      SEC 1-1N-18W: NW/4 NW/4 & NW/4 NE/4, 80 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                      SEC 23-2N-18W: NE/4 SE/4 & SE/4 NE/4, 80 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                      SEC 24-2N-18W: NE/4 NE/4, 40 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 36-2N-18W: S/2 SW/4; SW/4 SE/4;
                       SEC 2-1N-18W: NE/4 NE/4;
                      SEC 1-1N-18W: NW/4 NW/4; NW/4 NE/4; 240 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 28-2N-18W: W/2 NW/4; SE/4 NW/4; N/2 SW/4; N/2
                      SE/4;
                       SEC
                      29-2N-18W: E/2 NE/4; 360 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 33-2N-18W: NE/4 NE/4; SW/4 NE/4; NW/4 SE/4; 120
                      ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                      SEC 23-2N-18W: NE/4 SE/4 & SE/4 NE/4, 80 ACS, 1/4 MI
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 12-2N-18W: SW/4 SE/4, E/2 SE/4 & SE/4 NE/4;
                      SEC 13-2N-18W: NW/4 NE/4, 200 ACS 1/8 MI
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 12-5N-19W: SW/4 NE/4, 40 ACS
                       SEC 25-3N-17W:LOT 6, 69 ACS
                      SEC 19-3N-17W: S3/4 SE/4 SE/4, 21 ACS
FLORIDA   WALTON      WALTON CO FL MI SEC 2-5N-19W: NW/4 NW/4 L&E 140           MINERAL INTEREST   NON PRODUCING
                      SQ YDS IN NE/C 39.971074 ACS, 1/4 MI SEC 3-5N-19W:
                      NE/4 NE/4, 40 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 22-5N-21W: SE/4 SW/4
                       SEC 21-5N-21W: SE/4 SE/4
                       SEC 22-5N-21W: SW/4 SW/4
                      SEC 28-5N-21W: NE/4 NE/4, 160 ACS




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State     County       Legal Description                                      Interest Type      Status
FLORIDA   WALTON       WALTON CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 3-2N-18W: 320 ACS S/2 L&E THAT 20 ACS M/L OF
                       NE/4 SE/4 LYING E OF VALLEY CHURCH RD
FLORIDA   WALTON       WALTON CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 24-2N-18W: NE/4 NE/4, 40 ACS, 1/4 MI
FLORIDA   WALTON       WALTON CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 31-5N-21W: 40 AC NW/4 NW/4, 1/4 MI
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 7-4N-13W: TRACT 1: SE/4 SE/4 OF SEC 7 & SW/4
                       NW/4 OF SEC 17 & W/2 SW/4 LESS
                        NW/4 NW/4 SW/4 OF SEC 17 & S/2 NW/4 NW/4 SW/4 LESS
                       2 AC
                       OFF EAST END OF SEC
                        17 & 2 1/2 AC DESCRIBED AS COMMENCING 110
                       YARDS EAST OF THE NW CORNER OF
                        NW/4 SW/4 OF SEC 17, THENCE S 10 YARDS.THENCE E
                       10 YRDS THENCE
                       N 110 YRDS TO
                        THE BEGINNING & 2 1/2 AC IN NW CORNER OF NW/4
                       SW/4 OF SEC 17 BEING 110 YRDS
                        SQUARE, 238 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 20-2N-13W: SE/4 SW/4 LESS 4 ACS IN NW/C & N/2
                       SE/4 & SE/4, 156 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 18-4N-12W: N/2 SE/4 & S/2 S/2 NE/4, 120 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 4-2N-29W: W/2 SW/4, 80.63 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 6-2N-16W: NE/4 SW/4 & NW/4 SE/4 LESS 14 AC OFF
                       EAST SIDE, 66 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 19-2N-14W: N/2 NW/4, 80 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 13-4N-13W: E/2 SW/4 & W/2 SE/4 & SE/4 SE/4, 200
                       ACS
FLORIDA   WASHINGTON   WASHINGON CO FL MI                                     MINERAL INTEREST   NON PRODUCING
                        SEC 24-4N-19W: N/2 NE/ 4 & SW/4 NE/4 & NE/4 NW/4 &
                       W/2 SE/4NE/4, 180 ACS


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FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 13-4N-13W: E/2 SW/4; W/2 SE/4; SE/4 SE/4, 200 ACS;
                       N/2 NE/4; SW/4 NE/4; NE/4 NW/4; W/2 SE/4 NE/4, 180 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 18-4N-12W: N/2 SE/4 & S/2 S/2 NE/4, 120 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 7-4N-13W: SE/4 SE/4
                        SEC 17-4N-13W: SW/4 NW/4; NE/2 NW/4 SW/4; S/2 NW/4
                       SW/4; SW/4 SW/4; S/2 NW/4
                        NW/4 L&E 2ACS OFF E/END; 2-1/2
                       ACS DESCRIBED AS COMMENCING 110 YDS OFF NW/C
                        NW/4 SW/4, THENCE S 110 YDS, THENCE E 110 YDS,
                       THENCE N 110 YDS, THENCE W 110
                        YDS TO POB 2-1/2 ACS IN NW/C NW/4SW/4 BEING 110
                       YDS SQ SEC 17-4N-13W, 158 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 22-5N-13W: S/2 NE/4, 80 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 6-2N-16W: NE/4 SW/4; NW/4 SE/4 L&E 14 ACS OFF
                       E/SIDE,
                       66 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 19-2N-14W: N/2 NW/4, 80 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 20-2N-29W: SE/4 SW/4 L&E 4 ACS IN NW/C; SE/4
                       SE/4 SE/4, 41 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 4-2N-29W: W/2 SW/4, 80 ACS
GEORGIA   BAKER        BAKER CO GA MI                                            MINERAL INTEREST   NON PRODUCING
                        LOTS 32,48,49,73,88,89,90,91,110,111,112,113
                        OUT OF MCRAINEY
                       PLANTATION SVY, 2833.5 ACS
GEORGIA   COFFEE       COFFEE CO GA MI                                           MINERAL INTEREST   NON PRODUCING
                        LOT 23,24,25,68 IN 5TH DISTRICT
                        LOT 1 IN 6TH DISTRICT
                        LOT
                       15 IN 4TH DISTRICT
                       LOT 47,92,139 IN 1ST DISTRICT, 1729 ACS



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State     County        Legal Description                                     Interest Type      Status
GEORGIA   DECATUR       DECATUR CO GA MI                                      MINERAL INTEREST   NON PRODUCING
                        LOTS 142 & 143 IN 16TH DISTRICT, 323 ACS
GEORGIA   DECATUR       DECATUR CO GA MI 250 ACS LOT 223, 16TH DISTRICT       MINERAL INTEREST   NON PRODUCING
GEORGIA   DECATUR       DECATUR CO GA MI                                      MINERAL INTEREST   NON PRODUCING
                        LOT 179, 16TH DISTRICT, 125 ACS
GEORGIA   EARLY         EARLY CO GA MI                                        MINERAL INTEREST   NON PRODUCING
                         LOT 188 W. OF SPRING CREEK, 380 ACS
                        PT LOT 175, 44 ACS
GEORGIA   EARLY         EARLY CO GA MI                                        MINERAL INTEREST   NON PRODUCING
                        LOTS 186-187 LYING W/SPRING CREEK, 160 ACS
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                        LOT 265, ALL, 12TH DISTRICT
                        LOT 290, SE/PT, 12TH DISTRICT
                        LOT 312, SE/C, 12TH DISTRICT
                         LOT 312, SW/C, 12TH DISTRICT
                        LOT 311, NE/C, 12TH DISTRICT
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                         LOT 311, S&E 75 AC 12TH DISTRICT
                        LOT 312, 12TH DISTRICT
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                        LOT 313, S/E CORNER, 12TH DISTRICT
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                         LOT 241, PT, 13TH DISTRICT
                        LOT 280, PT, 13TH DISTRICT
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                        LOT 313, SW/PT, 12TH DISTRICT
GEORGIA   MITCHELL      MITCHELL CO GA MI                                     MINERAL INTEREST   NON PRODUCING
                         LOT 154 10 DISTRICT, S/2 LESS 10 ACS
                        LOT 167 10TH DISTRICT, 10 ACS
GEORGIA   MITCHELL      MITCHELL CO GA MI                                     MINERAL INTEREST   NON PRODUCING
                        LOT 195, 10TH DISTRICT, W/SIDE, 106.27 ACS
GEORGIA   MITCHELL      MITCHELL CO GA MI                                     MINERAL INTEREST   NON PRODUCING
                        LOT 194 10TH DISTRICT, W/SIDE 110.18 ACS
GEORGIA   WARE          WARE CO GA MI                                         MINERAL INTEREST   NON PRODUCING
                         LOTS 401,308,354,382,336,349,403, 5TH DISTRICT,
                        3,101.33 ACS
GEORGIA   WARE          WARE CO GA MI                                         MINERAL INTEREST   NON PRODUCING
                        LOTS 47,92,91 IN 7TH DISTRICT, 754 ACS



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State      County        Legal Description                                     Interest Type      Status
GEORGIA    WARE          WARE CO GA MI                                         MINERAL INTEREST   NON PRODUCING
                         PT OF LOT 94, 7TH DISTRICT, 411 ACS
GEORGIA    WARE          WARE CO GA MI                                         MINERAL INTEREST   NON PRODUCING
                         PT OF LOT 137, 7TH DISTRICT, 450 ACS
ILLINOIS   FRANKLIN      FRANKLIN CO IL MI                                     MINERAL INTEREST   NON PRODUCING
                         SEC 19-5S-3E: W/19 ACS NE/4 SW/4 & E/19 ACS NW/4
                         SW/4, 38 ACS
ILLINOIS   FRANKLIN      FRANKLIN CO IL MI                                     MINERAL INTEREST   NON PRODUCING
                         SEC 19-5S-3E: NW/4 SW/4, 40 ACS
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 12-20N-6W: NW/4 NW/4, 40 ACS
                         .0011000 RI, TR PART .0980860
                         CRANBERRY LAKE RICHFIELD TR7 REG # 19887
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 12-20N-6W: W/2 NE/4, 80 ACS
                         .0014636 RI, REG # 19887
                         CRANBERRY LAKE RICHFIELD TR11 REG# 19887
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 31-20N-6W: SE NW, WINTERFIELD
                         TOWNSHIP,.00791016 RI, CALVERT 2-31
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 30-20N-6W: SW SW
                         WINTERFIELD TOWNSHIP
                         JACKSON 10-30, .00322534 RI
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 31-20N-6W: NE NW
                         WINTERFIELD TOWNSHIP, .00527333 RI
                         BENCHLEY-HOTCHKISS 1-31
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 36-22N-6W: W/2 SW/4
                         AETNA TOWNSHIP .00585937 RI
                         & .00292966 ORI
                         CAVANAGH 1-36 & 2-36
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 30-20N-6W: S/2, 320 ACS (.03515625 MI);
                         SEC 30-20N-6W: SE/4, 160 ACS (.01757813 MI);
                         SEC 5-19N-3W: N/2, 320 ACS (.01757813 MI);
                         SEC 31-20N-3W: SE/4, 160 ACS (.03515625 MI)
                         H.H.COFFIELD 19.6875 NMA


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State      County       Legal Description                                      Interest Type      Status
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 5-19N-3W: W/2 NE/4, NE/4 NW/4, 120 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 31-20N-3W: E/2 SE/4, 80 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 30-20N-6W: W/2 E/2 SW/4, 109 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 3-20N-14W: SW/4 SE/4, 40 ACS
                        SEC 11-20N-14W: N/2 NW/4 & S/2 NE/4 & NW/4 NE/4 &
                        N/2 NE/4, 220 ACS
MICHIGAN   CLARE        CLARE CO MI MI SEC 10-18N-12W: SW/4 SE/4, 40 ACS       MINERAL INTEREST   NON PRODUCING
                        SEC 14-18N-12W: S/2 NE/4, 80 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 12 -18N-12W: ALL, 600 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 2-20N-14-W: S/2 SE/4, 80 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 11-20N-6W: NW/4 NW/4 NW/4
                        WINTERFIELD TOWNSHIP
                        BLANEY 1& 2-12 .00110 RI
MICHIGAN   LAKE         LAKE CO MI MI                                          MINERAL INTEREST   NON PRODUCING
                        SEC 10-18N-12W: SE/4, 160 ACS (.0703125 MI)
                        SEC 3-20N-14W: SE/4, 160 ACS (.0922375)
                        SEC 2-20N-14W: SE/4, 160 ACS (.0158125 MI)
MICHIGAN   MECOSTA      MECOSTA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 9-16N-7W: NW/4, 160 ACS (.01171875 MI);
                        SEC 28-14N-8W:
                        W/2, 320 ACS (.01757813 MI)
MICHIGAN   MECOSTA      MECOSTA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 8-16N-7W: S/2 NE/4, 80 ACS
                        SEC 9-16N-7W: NW/4 NW/4, 40
                        ACS
MICHIGAN   MECOSTA      MECOSTA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 28-14N-8W: W/2, 320 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                     MINERAL INTEREST   NON PRODUCING
                        SEC 3-21N-6W: NW/4 NE/4, 40 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                     MINERAL INTEREST   NON PRODUCING
                        SEC 19-21N-6W: NW/4 SW/4, 42.12 ACS



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State      County       Legal Description                                     Interest Type      Status
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 26-22N-6W: S/2 SW/4, 80 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 13-21N-7W: N/2 SE/4, 80 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 13-21-7W: E/2 NW/4, 80 ACS
MICHIGAN   MECOSTA      MECOSTA CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 11-2N-7W: W/2 NW/4, 80 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 25-21N-6W: SW/4, 160 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 35-22N-6W: NW/4 SW/4, 40 ACS
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 28-15N-2E: SW/4 NE/4, 40 ACS
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 20-15N-2E: S/2, 320 ACS (.026236875 MI)
                        SEC 28-15N-2E:
                        NE/4, 160 ACS (.0527375 MI)
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 12-16N-2E: E/2 SE/4, 80 ACS
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 20-15N-2E: N/2 SE/4 S/2 NE/4 SW/4, 100 ACS
MICHIGAN   MISSAUKEE    MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 26-22N-6W: S/2 SW/4, 80 ACS
MICHIGAN   MISSAUKEE    MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 35-22N-6W: NE/4 NW/4, 40 ACS




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State      County      Legal Description                                     Interest Type      Status
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 34-22N-6W: NE/4, 160 ACS
                       SEC 35-22N-6W: SW/4, 160 ACS
                       SEC 26-22N-6W: NE/4 & SE/4, 320 ACS
                       SEC 34-22N-6W: SE/4 & NE/4, 320 ACS
                       SEC 25-21N-7W: SW/4, 160 ACS
                       SEC 11-21N-7W: NW/4, 160 ACS
                       SEC 13-21N-7W: NW/4& SE/4, 320 ACS
                       SEC 24-21N-7W: NE/4, 160 ACS
                       SEC 19-21N-6W: SW/4, 160 ACS

                       SEC 1-21N-6W: NW/4, 160 ACS
                        SEC 6-21N-5W: SW/4, 160 ACS
                        SEC 3-21N-6W: NE/4,
                       160 ACS
                       H H COFFIELD ESTATE 109.312 NMA
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 36-22N-6W: W/2 SW/4, 80 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 24-21N-7W: N/2 NE/4, 80 ACS
MICHIGAN   MISSAUKEE   MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 28-15N-2E: E/2 W/2 NE/4, 40 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 34-22N-6W: NE/4 SE/4, 40 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 34-22N-6W: SW/4 SE/4, 40 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 6-21N-5W: E/2 SW/4, 80 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 34-22N-6W: SE/4 NE/4, 40 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI SEC 26-22N-6W: SE/4 NE/4, 40 ACS   MINERAL INTEREST   NON PRODUCING
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 26-22N-6W: E/2 SE/4, 80 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 26-22N-6W: SW/4 SE/4, 40 ACS
                       SEC 36-22N-6W: NW/4, 160ACS
MICHIGAN   MONROE      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 1-21N-6W: NE/4 NW/4, 40 ACS



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State      County       Legal Description                                        Interest Type      Status
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 28-16N-11W: NE/4, 160 ACS (.02636719 MI)
                        SEC 29-16N-11W: NE/4, 160 ACS (.02636719 MI)
                        SEC 21-15N-11W: SE/4 & NE/4, 320 ACS (.03515626MI)
                        SEC 22-15N-11W: SW/4, 160 ACS (.01757813 MI)
                        H H COFFIELD ESTATE 16.875
                        NMA
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 22-15N-11W: S/2 SW/4, 80 ACS
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 28-16N-11W: NE/4 NE/4, 40 ACS
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 29-16N-11W: NE/4 NE/4, 40 ACS
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 21-15N-11W: S/2 S/2 NE/4 & N/2 S/2 NE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 19-18N-10W: E/2 NW/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 20-18N-10W: W/2 NW/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 18-18N-10W: W/2 SE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 27-18N-8W: N/2 NE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 22-18N-8W: S/2 NW/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 36-19N-10W: NW/4 SW/4, 40 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 28-19N-10W: SW/4 SW/4, 80 ACS
                        SEC 29-19N-10W: SE/4 SE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 26-19N-10W: E/2 NE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 25-19N-10W: W/2 SE/4, 80 ACS
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 21-15N-11W: S/2 S/2 NE/4 & N/2 S/2 NE/4, 80 ACS




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MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 16-15N-11W: N/2 & THAT PT OF THE
                         N/2 SW/4 & N/2 SE/4 LYING NORTH OF
                         BIG RAPIDS AND WHITEHALL RD EXCEPT
                         A PARCEL DESCRIBED AS COMMENCING
                         AT E/4 POST, THENCE N 27 2/5 RODS W
                         25 RODS S 6 2/5 RODS W 7 1/2 RODS
                        S 21
                         RODS MORE OR LESS TO CENTER OF SAID
                         RD E ALONG CENTER OF SAME 32 1/2 RODS
                         MORE OR LESS TO POB, 400 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 21-22-18N-8W: PT
                         SEC 1-17N-8W: PT
                         SEC 27-18N-8W: PT
                        SECS 18,7,21,1,16-18N-10W: PTS
                         SECS 5,6,28-18N-9W: PTS
                         SECS 25,26,29,36-19N
                        -10W: PTS
                         H H COFFIELD ESTATE 92.0986 NMA
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 5-18N-9W: SE/4, 160 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 6-18N-9W: NORTH FRACTIONAL HALF SW/4
                        EXCEPT 20 RODS OFF
                        THE N SIDE
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 28-18N-9W: E/2 SE/4, S/2 NE/4, 160 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 28-18N-9W: NE/4 NE/4, 40 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 7-18N-10W: SE/4 SE/4, 40 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 7-18N-10-W: SE/4 SE/4, 40 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 16-18W-10W: S/2 SW/4, EXCEPT THE ROW OF
                        GRAND RAPIDS INDIANA RR, 80 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 21-18N-10W: NW/4 SW/4, 40 ACS


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State         County       Legal Description                                      Interest Type      Status
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI SEC 22-18N-8W: NW/4, 160 ACS          MINERAL INTEREST   NON PRODUCING
MICHIGAN      OSCEOLA      MISSAUKEE CO MI MI                                     MINERAL INTEREST   NON PRODUCING
                           SEC 35-22N-6W: N/2, 320 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                           SEC 27-18N-8W: PT, 260 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                           SEC 19-18N-10W: E/2 NW/4 SE/4, 20 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 17-18N-10W: SW/4 SW/4 & W/2 SE/4, 120 ACS
                           0.0007734 REED CITY UNIT TRACT 1
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                           SEC 21-18N-8W: NE/4, 160 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 19-18N-10W: NW/4 NE/4, 40 ACS
                           SEC 17-18N-10W: SW/4 SW/4, W/2 SE/4 SW/4, 60 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 28-19N-10W: NW/4 SW/4, 40 ACS
                           SEC 29-19N-10W: N/2 SE/4,80 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 1-13S-5E: NE/4 SE/4, 40 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 12-13S-5E: SE/4, 160 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                            SEC 32-13S-5E: NE/4, SW/4, SOUTH SIDE OF NW/4 BEING
                           20 AC, 340 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                            SEC 7-13S-5E: SW/4 & 4 AC ON THE SOUTH SIDE OF
                           NW/4, 164 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 7-13S-5E: S/2 NW/4 & 2 ACS IN SW/C NE/4, 82 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                            SEC 30-12N-5E: NW/4 & 60 ACS ON NORTH SIDE OF
                           SW/4, 220 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 12-13S-4E: SE/4, 160 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 33-12N-5E: W/2 NW/4, 80 ACS




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State         County       Legal Description                                     Interest Type      Status
MISSISSIPPI   COPIAH       COPIAH CO MS MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 26-10N-9E: NW/4 NE/4, NE/4 NE/4 NW/4, W/2 NE/4
                           NW/4, 70 ACS
                            SEC 22-10N-9E: NE/4 SE/4, 40 ACS
                            SEC 23-10N-9E: SW/4 NW/4, 30 ACS EAST SIDE NW/4
                           SW4, 70 ACS
MISSISSIPPI   FORREST      FORREST CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                            SEC 25-1N-12W: SE/2 NW/4 & W/2 SE/4, 160 ACS
                            SEC 1-1S-12W:
                           SE/4 SW/4, SE/4 & NE/4 SE/4,
                            NE/4, SE/4 NW/4, N/2 SW/4 & NE/4 SE/4, 440 ACS
MISSISSIPPI   GREENE       GREENE CO MS MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 31-3N-5W:
                            SEC 36-3N-6W:
                            SEC 31-3N-5W:
                            NW/4 SW/4, SEC. 31-3N-5W NE/4, SEC 36-3N-6W. LYING
                           EAST OF THE CHICKASAWHAY RIVER AND ALL THAT
                           PART OF NE/2 SE/4, SEC 36-3N-6-W LYING E. OF SAME
                           RIVER NW/4 NW/4, SEC 31-3N-5W & A STRIP ONE WIDE
                           W/SIDE OF SW/4 NW/4 SEC 31-3N- 5W
MISSISSIPPI   JACKSON      JACKSON CO MS 1/3 MI                                  MINERAL INTEREST   NON PRODUCING
                           SEC 13-5S-5W: SW/4, 160 ACS
MISSISSIPPI   JASPER       JASPER CO MS MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 13-4N-12E: SE/4 SW/4, 40 ACS
                            SEC 25-4N-12E: W/2 E/2 SE/4& SE/4 NE/4, 80 ACS
                            SEC 24-4N-12E: E/2 NW/4, 80 ACS
                            SEC 19-4N-13E: 31 ACS O
                           F SW/4 SW/4, 31 ACS
MISSISSIPPI   LAUDERDALE   LAUDERDALE CO MS MI                                   MINERAL INTEREST   NON PRODUCING
                            SEC 29-6N-14E: SW/4 SW/4 L&E 2 ACS NE/C, 38 ACS
                            SEC 30-6N-14E: SE/4, 160 ACS
                            SEC 31-6N-14E: W/2 NE/4, 80 ACS
MISSISSIPPI   NEWTON       NEWTON CO MS MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 22-5N-13E: E/2 SE/4, 80 ACS




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State         County      Legal Description                                         Interest Type      Status
MISSISSIPPI   NEWTON      NEWTON CO MS MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 2-6N-13E: SE/4 SW/4, 40 ACS
                           SEC 11-6N-13E: NE/4 NW/4 &SE/4 NW/4
                           LESS 1 AC. IN SE/C & 10 AC ON SOUTH SIDE
                           OF NW/4 NE/4 & SW/4 NE/
                          4 LESS 2 AC IN
                           SW/C & 22 AC ON NORTH SIDE OF SE/4 NE/4, 109 ACS
MISSISSIPPI   NEWTON      NEWTON CO MS MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 22-6N-12E: S/2 NE/4 & N/2 NW/4 & N/2 N/2 S/2 NW/4,
                          180 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 8-1S-11W: SE/4 SW/4, 40 ACS
                           SEC 6-1S-11W: SE/4 NE/4, SW/4SW/4, 80 ACS
                           SEC 5-1S-11W: NW/4 NW/4, 40 ACS
                           SEC 30-1S-11W: W/2 NW/4, NW/4
                          SW/4, NE/4 SE/4, SW/4 SE/4, 200 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI SEC 17-1S-11W: NE/2 NE/4, NE/4 NW/4,       MINERAL INTEREST   NON PRODUCING
                          SW/4 NW/4 W/2 SW/4, SE/4SW/4, S/2, 680 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 19-1S-11W: NE/4 NE/4, SW/4 NE/4, S/2 NW/4, N/2
                          SW/4, SW/4 SW/4, W/2 SE/4, 360
                           SEC 18-1S-11W: N/2 NW/4, N/2 SE/4, SE/4 SE/4, 200 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 21-1S-11W: NE/4 NE/4, S/2 NE/4, NW/4, NW/4
                           NW/4, S/2 NW/4N/2 SW/4, N/2 SE/4, 160 ACS
                           SEC 20-1S-11W: N/2 NE/4, NE/4 NW/4, SW/4
                           SW/4,
                          E/2 SE/4, 480 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 13-1S-11W: SE/4 SE/4, 40 ACS
                           SEC 24-1S-11W: W/2 SE/4, 40
                          ACS
                           SEC 26-1S-11W: NE/4 NE/4, 40 ACS
                           SEC 23-1S-11W: S/2 NW/4, NW4 NW/4, SE/4SW/4, N/2
                          SW/4 & NW/4 SE/4, 400 ACS
                           SEC 14-1S-11W: SW/4 SW/4, 40 ACS




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State         County       Legal Description                                        Interest Type      Status
MISSISSIPPI   PERRY        PERRY CO MS MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 22-1S-11W: E/2 NE/4, NW/4 NE/4, NE/4 NW/4, SW/4
                           NW/4, N/2 SW/4, N/2 SE/4,
                           SEC 15-1S-11W: NW/4 NW/4, S/2 SW/4, NE/4 SW/4, S/2
                           SE/4, NW/4 E/4,
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 27-4N-1E: N/2 SW/4 LESS 5 AC OFF
                           EAST END & SW/4 NW/4 &
                           W/2 SE/4 NW/4, 135 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC NE/4 NW/4 & 13 AC OFF EAST SIDE
                           OF NW/4 NW/4, NW/2 SE/4
                           NW/4 & THAT
                           PT N/2 SW/4 NW/4 LYING E OF PUBLIC RD, 29 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 33-4N-1E: W/2 NW/4, 80 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 27-4N-1E: N/2 SW/4 LESS 5 AC OFF EAST
                           END & SW/4 NW/4 &
                           W/2 SE/4 NW/4, 135 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC NE/4 NW/4 & 13 AC OFF EAST SIDE
                           OF NW/4 NW/4, NW/2 SE/4
                           NW/4 & PT
                           N/2 SW/4 NW/4 LYING EAST OF PUBLIC RD, 29 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 29-4N-1E: W/2 NE/4, E/2 SE/4 NW/4, 100 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 33-4N-1E: W/2 NW/4, 80 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 29-4N-1E: W/2 NE/4, E/2 SE/4 NW/4, 100 ACS
MISSISSIPPI   TALLAHATCH   TALLAHATCHIE CO MS MI                                    MINERAL INTEREST   NON PRODUCING
              IE           SEC 7-24N-1W: PT SE/4 NE/4, 32 ACS
                           SEC 8-24N-1W: NW/4SW/4, 40 ACS
MISSISSIPPI   TALLAHATCH   TALLAHATCHIE CO MS MI                                    MINERAL INTEREST   NON PRODUCING
              IE           NE/2 OF SEC 3 SOUTH OF MUDDY BAYOU
                           & E/2 W/2 OF SEC 3
                           NORTH OF MUDDY BAYOU, 245 ACS



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State         County        Legal Description                                       Interest Type      Status
MISSISSIPPI   TALLAHATCH    TALLAHATCHIE CO MS MI                                   MINERAL INTEREST   NON PRODUCING
              IE             SEC 24-T25-R2W: NE/4 NE/4, ALL THAT PART
                             OF NW/4 LYINGCENTER OF LONG BRAKE;
                             N/2 SW/4 NE/4 THAT PART OF SE/4 NE/4, 245 ACS
MISSISSIPPI   WINSTON       WINSTON CO MS 3/8 MI                                    MINERAL INTEREST   NON PRODUCING
                             SEC 33-13 N-10E: E/2 NW/4, 80 ACS
MISSISSIPPI   WINSTON       WINSTON CO MS 3/8 MI                                    MINERAL INTEREST   NON PRODUCING
                             SEC 32-13N-10E: SE/4 SE/4, 40 ACS
MISSISSIPPI   WINSTON       WINSTON CO MS 3/8 MI                                    MINERAL INTEREST   NON PRODUCING
                             SEC 29-13N-10E: W/2 SE/4, 80 ACS
MISSISSIPPI   WINSTON       WINSTON CO MS 1/4 MI                                    MINERAL INTEREST   NON PRODUCING
                             SEC 29-13N-10E: 42 ACS NE/4 NE/4 SW/4 & 12 ACS IN
                            SE/C SE/4 NW/4
MISSISSIPPI   WINSTON       NEWTON CO MS MI                                         MINERAL INTEREST   NON PRODUCING
                             SEC 13-6N-13E: W/2 NW/4 LESS 10 AC OUT OF SE/C, 70
                            ACS
                             SEC 14-6N-13E: E/2 NE/4, 80 ACS
NEBRASKA      CUSTER        CUSTER CO NEBRASKA 1/2 MI                               MINERAL INTEREST   NON PRODUCING
                            T20N-R17W OF THE 6TH P.M. IN SECTION 34 (E/2SE/4);
                            80 ACS
                            T19N,R17W OF THE 9TH P.M. IN SECTION 3 (SW/4) 160
                            ACS & SECTION 4 (E/2) 320 ACS
                            PER MINERAL DEED DTD 04/22/1953 RECORDED 5/18/53,
                            IN BOOK 130, PG 643
NEBRASKA      GARFIELD      GARFIELD CO NEBRASKA 1/2 MI T22N-R15W OF THE            MINERAL INTEREST   NON PRODUCING
                            6TH P.M.SECTION 10: N/2 SE/4; SECTION 11: E/2, SW/4,
                            S/2 NW/4 AND NE/4 NW/4; SECTION 12: W/2 W/2PER
                            MINERAL DEED RECORDED IN BOOK 5, PG 553
NORTH         BENSON        BENSON CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                      TOWNSHIP 153, RANGE 71
                            SECTION 1: SW/4, AND S/2 NW/4
                            SECTION2: SE/4 NE/4; NE/4 SE/4; SW/4 NE/4; NW/4 SE/4;
                            NW/4 SW/4
                            SECTION 12: N/2 SW/4,
                            NW/4




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State    County        Legal Description                                          Interest Type      Status
NORTH    BOTTINEAU     BOTTINEAU CO ND MI 596.59 ACS                              MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 21-163N-75W: LOTS 3(32.19), 4(17.20), 6(16.80), N/2
                       NE/4, SW/4 NW/4, W/2 SW/4,
                        SEC 28-163N-75W: LOTS 2(39.10), 3(11.30), SW/4, W/2
                       SE/4, SW/4 NE/4,
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                  NW/4 & SE/4 SEC 29-T139-R75, SE/4 & NE/4 SEC 11-T138-
                       R75, 640 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 NW/4; SE/4; S/2; SE/4 SW/4 SEC 21-139-75W, SW/4;
                       SE/4SEC 3-139-75, 600 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 SW/4 SEC 24-140-75, NE/4; NE/4 SEC 23-140-75, NW/4 SEC
                       3-140-75, 640 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 NW/4 SEC 27-142-75, NE/4 SEC 34-142-75, NW/4 SEC 2-141-
                       75, SW/4 SEC 6-142-76, 640 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 NE/4 SEC 32-143-78, SE/4 SEC 29-143-78, NW/4 SEC 12-143-
                       76, 480 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 S/2 SE/4 SEC 23-138-78, NE/4 SEC 26-138-78, SE/4 SEC35-
                       138-78, W/2 SEC 5-139-79, 720 ACS
NORTH    EDDY          EDDY CO ND MI 480 ACS                                      MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 4-T150-R67: LOTS 1,2; S/2, NE/4; SE/4 LOT 4; SW/4,
                       NW/4; SE/4, NW/4; LOT 3
NORTH    EDDY          EDDY CO ND MI 480 ACS                                      MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 33-T148-R67: NE/4 & SW/4
                        SEC 33-T148-R66: SW/4
NORTH    FOSTER        FOSTER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 22-T142N-R77W: S/2 SW/4, 80 ACS
                        SEC 2-143N-77W: N/2, 320ACS
                        SEC 4-143N-77W: NE/4, 160 ACS
NORTH    FOSTER        FOSTER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 22-144N-77W: SE/4, 160 ACS
                        SEC 26-144N-77W: SW/4, 160 ACS
                        SEC 27-144N-77W: N/2, 320 ACS




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State    County      Legal Description                                       Interest Type      Status
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 15-144N-77W: E/2 & SW/4, 480 ACS
                      SEC 14-144N-77W: NW/4,
                     160 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 24-144N-77W: E/2 & LOTS 1, 2, 480 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 26-144N-76W: SE/4, NW/4, SW/4,
                     SEC 34-144N-76W: N/2, 320 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 7-144N-75W: SW/4 & SE/4, 320 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 35-144N-75W: ALL, 640 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 31-T147-R66: E/2, 320 ACS
                     SEC 32-T147-R66: W/2, 320 ACS
NORTH    FOSTER      FOSTER CO ND MI 480 ACS                                 MINERAL INTEREST   NON PRODUCING
DAKOTA                NE/4 SEC 13-T146-R66
                      SE/4 SEC 3-T146-R66
                      SE/4 SEC
                     32-T147-R66
NORTH    FOSTER      FOSTER CO ND MI 640 ACS                                 MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 5-146-66: ALL
NORTH    FOSTER      FOSTER CO ND MI 640 ACS                                 MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 32-T145-R66: ALL
NORTH    KIDDER      KIDDER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 30-144N-74W: E/2, NW/4, LOTS 1,2,
                      SEC 19-144N-74W: SW/4,
                     SEC 30-144N-74W: NE/4; E/2 SW/4, LOTS 3,4,
NORTH    KIDDER      KIDDER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 19-144N-74W: SE/4, 160 ACS
                      SEC 18-T144N-R74W: NE/4, 160
                     ACS
                     SEC 28-T144N-R73W: SE/4 & SW/4, 320 ACS
NORTH    KIDDER      KIDDER CO ND MI SEC 33-T143N-R74W: E/2, 320 ACS         MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 32-T144N-R74W: S/2, SW/4, W/2 SE/4, SEC 32-T144N-
                     R74W: N/2 NW/4, 80 ACS




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NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 28-141N-73W: SE/4, 160 ACS
                     SEC 16-141N-73W: SW/4, 160 ACS
                     SEC 5-141N-73W: SW/4, 160 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 17-142N-72W: N/2 & SW/4, 480 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 31-T142N-R72W: NW/4, 160 ACS
                     SEC 30-T142N-R72W: E/2 W/2,160 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 20-144N-73W: NE/4, 160 ACS
                     SEC 17-T144N-R73W: NE/4 & SE/4, 320 ACS
NORTH    KIDDER      MORTON CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 8-137N-85W: NE/4, 160 ACS
                     SEC 9-137N-85W: W/2, 320 ACS
NORTH    KIDDER      MORTON CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 31-137N-85W: S/2, 320 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 15-143-71: NE/4 & SE/4, 320 ACS
                     SEC 22-141-71: W/2 NW/4,N/2 SW/4, S/2 NE/4 N/2 SE/4, 320
                     ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 9-141-72: E/2 & NW/4, 480 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 4-141-72: E/2 SE/4; E/2 NE/4 & SW LOT 2,3,4, 480
                     ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 14-137-71: NW/4, 160 ACS
                     SEC 28-137-71: N/2 NW/4; NW/4 SE/4; SW/4 NE/4, 240 ACS
                     SEC 22-137-71: N/2 NW/4, 80 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 10-137-71: NE/4 & NW/4, 320 ACS
                     SEC 11-137-71: W/2, 320
                     ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 7-137-71: NW/4 & SW/4, 320 ACS




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NORTH    KIDDER       KIDDER CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 25-138-72: N/2 & SE/4, 480 ACS
                      SEC 19-138-71: SW/4, 160
                      ACS
NORTH    KIDDER       KIDDER CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 18-138-72: SW/4, 160 ACS
                      SEC 19-138-72: NW/4, 160 ACS

                      SEC 13-138-73: SW/4, 160 ACS
NORTH    KIDDER       KIDDER CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 9-137-71: NE/4, 160 ACS
                       SEC 9-137-71: SW/4, 160 ACS
                       SEC 8-137-71: NW/4, 160 ACS
                      SEC 17-137-71: SW/4, 160 ACS
NORTH    MC LEAN      MCLEAN CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 21-149N-79W: SW/4, 160 ACS
                       SEC 20-149N-79W: SE/4, 160 ACS
                      SEC 3-149-N-80W: SW/4, 160 ACS
NORTH    MC LEAN      MCLEAN CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 11-150N-80W: W/2 & NE/4, 480 ACS
NORTH    MORTON       MORTON CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 1-137N-85W: NE/4 & SW/4, 320 ACS
                       SEC 2-137N-85W: SE/4 &
                      S/2 NE/4, 240 ACS
NORTH    MORTON       MORTON CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 9-137N-85W: E/2, 320 ACS
                      SEC 10-137N-85W: W/2, 320 ACS
NORTH    MORTON       MORTON CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 21-137N-85W: E/2, 320 ACS
                      SEC 27-137N-85W: N/2, 320 ACS
NORTH    SIOUX        SIOUX CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 5-129N-83W: W/2, 320 ACS
                      SEC 6-129N-83W: E/2, 320 ACS
NORTH    SIOUX        SIOUX CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 30-130N-83W: SE/4, 160 ACS
NORTH    SIOUX        SIOUX CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 31-129N-80W: LOTS 2,3,4 & SE/4 NW/4 & E/2 SW/4,
                      240 ACS



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NORTH    WALSH       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 34-T148-R72: E/2 NE/4; SW/4 NE/4
                     SEC 26-T148-R72: SE/4 NW/4; SW/4
                     SEC 4-T147-R72: LOTS 1,2; S/2 NE/4, 480 ACS.
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 27-T145-R69: N/2 & N/96 ACS, 416 ACS
NORTH    WELLS       WELLS CO ND MISEC 26-T150-R68: NE/4, NW/4; W/2           MINERAL INTEREST   NON PRODUCING
DAKOTA               NE/4; NE/4, NE/4SEC 14-T150-R68: SE/4 & SW/4SEC 22-
                     T150-R68: E/2 & NE/4SEC 23-T150-R68: NW/4, 600 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 21-T150-R68: S/2 & SE/4
                     SEC 28-T150-R68: E/2 NE/4
                     SEC 27-T150-R68: NW/4
                     SEC 22-T150-R68: SW/4, 480 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 34-T150-R68: E/2, NE/4; E/2 SE/4
                     SEC 35-T150-R-68: W/2 NW/4& SW/4
                     SEC 27-T150-R68: SW/4 & SE/4, 640 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 5-T149-R68: S/2 NE/4; LOTS 1, 2
                     SEC 32-T150-R68: S/2 SW/4S/2 SE/4; NE/4 SE/4
                     SEC 33-T150R68: N/2 SE/4; SW/4 SW/4, 520 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 1-T159-R69: SE/4, NE/4 LOT 1
                     SEC 31-T150-R68: NE/4 SW/4;SW/4 SE/4; SE/4 SW/4
                     SEC 32-T150-R68: NW/4 SW/4; SW/4 NW/4; NW/4, 640 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 19-T150-R71: NE/4 & SW/4
                     SEC 18-T150-R71: SE/4
                     SEC 24-T150-R72: SE/4, 640 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 15-T148-R72: SE/4, NW/4
                     SEC 21-T148-R72: S/2, SE/4; SW/4SW/4;N/2 S/2; E/3 NE/4
                     SEC 28-T148-R72: NE/4 NE/4; S/2 NW/4; W/2 NE/4
                     SEC 22-T148-R72: W/2 NW/4; NW/4 SW/4, 720 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 27-T148-R72: N/2; E/2 SW/4; SW/4 SW/4; SE/4
                     SEC 34-T148-R72: NW/4 NW/4, 640 ACS



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NORTH      WELLS         WELLS CO ND MI                                                MINERAL INTEREST   NON PRODUCING
DAKOTA                   SEC 29-T149-R71: E/2
                         SEC 11-T149-R72: NW/4, 480 ACS
OKLAHOMA   BEAVER        OKLAHOMA WITHHOLDING                                          ROYALTY INTEREST   NON PRODUCING
OKLAHOMA   ELLIS         ELLIS CO OK MI                                                MINERAL INTEREST   NON PRODUCING
                         SEC 16-17S-22W: 40 ACS
                         SALT WATER ROYALTY
                         ALBERMARIE CORP
OKLAHOMA   LE FLORE      LEFLORE CO OK NPRI                                            ROYALTY INTEREST   NON PRODUCING
                         SEC 13-7N-25E
                         SEC 14-7N-25E
                         SEC 23-7N-25E
                         SEC 24-7N-25E
                         SEC 25-7N-25E
                         SEC 26-7N-25E
                         SEC 31-7N-25E
                         SEC 36-7N-25E
                         HENRY CHASTAIN, ET UX
OREGON     CLATSOP       CLATSOP CO OR MI                                              MINERAL INTEREST   NON PRODUCING
                         TOWNSHIP 6 NORTH RANGE 6 WEST
                         SEC 4 LOTS 1,2,3,4, S/2 N/2,S/2, SEC 5 LOTS 1,2,3,4, S/2
                         N/2, S/2,
                         SEC 6 LOTS 1,2, S/2 NE, SENW, NESW, SE,SEC7NENE,
                         SEC 8 ALL, SEC 9 ALL, SEC 14 W/2 S & E LOUIS IGOT
                         CREEK,
                         SEC 15 ALL EX
                         CEPT 77.5 ACS, SEC 16 ALL, SEC 17 ALL,
                         SEC 18 LOTS 2,3,4, SENW, S/2 NE, E/2 SW,SE,
                         SEC 19 LOTS 1,2,3,4 E/2W/2, E/2, SEC 20 ALL,
                         SEC 21W/2, N/2NE,SENE, SEC22
                         N/2N/2,
                         SEC 23 N/2 NW EXCEPT 8 ACS, SEC 30 LOT 1,2,E/2 NW,
                         NE,
                         TOWNSHIP 6 NOR
                         TH RANGE 7 WEST
                         SEC 1 LOTS 1,2,3,4, SEC 2 LOTS 1,2,3,4,5,
                         SEC 3 LOTS 1,2,3,4,
                         SEC 24 E/2 E/2, W/2 NE, NWSE, SWSE,
                         SEC 25 NWNE,E/2 NW, 8,748.68 ACS


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OREGON   COOS        COOS CO OR MI                                           MINERAL INTEREST   NON PRODUCING
                     1166 ACS PARTS OF
                     SEC 21-28S-13W
                     SEC 22-28S-13W
                     SEC26-28S-13W
                     SEC 27-28S-13W
                     SEC 28-28S-13W
SOUTH    CORSON      CORSON CO SD MIT22N-R26E (1/4 MI) SECTION 14;           MINERAL INTEREST   NON PRODUCING
DAKOTA               T22N-R27E (1/4 MI) SECTION 23(SE/4 & NW/4) T22N-R28E
                     (1/8 MI) SECTION 9: ALL;T23N-R22E (1/4 MI)
                     SECTIONS25,26;T23N-R23E (3/8 MI) SECTIONS 19, 23,
                     28;T23N-R23E (1/4 MI) SECTIONS 29,30;T23N-R26E (1/4
                     MI) SECTION 28 (S/2, NE/4)T23N-R28E (3/8 MI) SECTION
                     21, LOTS 1 & 2, SW/4
SOUTH    HAAKON      HAAKON CO SD MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA               TOWNSHIP 1, RANGE 18E (1/2 MI) IN SECTIONS 26, 35;
                     TOWNSHIP 4,RANGE 21E (1/2 MI) IN SECTION 24;
                     TOWNSHIP 6, RANGE 24E (1/8 MI) IN SECTIONS 5
                     , 8, 9 AND (1/2 MI) IN SECTION 6 (NW/4);
                     TOWNSHIP 7, RANGE 23E (1/2 MI) IN SEC1 (N/2, SW/4) ,
                     SEC 7 (S/2 S/2), SEC 27,28;
                     TOWNSHIP 7, RANGE 24E (1/2 MI) IN
                     SECTIONS 18 (NW/4 & SECTION 31 (S/2);
                     TOWNSHIP 8, RANGE 23E (1/2 MI) IN SECTIONS
                     19,21,28,29,30
SOUTH    HUGHES      HUGHES CO SD 1/2 MI                                     MINERAL INTEREST   NON PRODUCING
DAKOTA               TOWNSHIP 111, RANGE 74 IN SECTIONS 14, 15;
                     TOWNSHIP 112, RANGE 75 IN SECTION 19;
                     TOWNSHIP 112, RANGE 76 IN SECTIONS 13, 24
SOUTH    HYDE        HYDE CO SD 1/2 MI                                       MINERAL INTEREST   NON PRODUCING
DAKOTA               TOWNSHIP 112, RANGE 73 IN SECTIONS 2,3,4,5,10,14,15;
                     TOWNSHIP 113, RANGE 72 IN SEC 4 (SW/4), SEC 8 (SE/4),
                     SEC 26 (SE/4), SEC 28 (NW/4);
                     TOWNSHIP 113, RANGE 73 IN SECTION 25: SW/4, SE/4;
                     TOWNSHIP 114, RANGE 72 IN SECTIONS 27,33,34,35,




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State    County        Legal Description                                      Interest Type      Status
SOUTH    PERKINS       PERKINS CO SD MI                                       MINERAL INTEREST   NON PRODUCING
DAKOTA                 TOWNSHIP 22 RANGE 10 (3/16 MI) IN SECTION 18 19;
                       TOWNSHIP 22RANGE 11 (3/16 MI) IN SECTIONS 14,23,24,
                       26;
                       TOWNSHIP 22 RANGE 11 (1/8 MI) IN
                       SECTIONS 14, 23,24,26, 29, 30 AND 31;
                       TOWNSHIP 23 RANGE 10 (1/2 MI) IN SECTIONS 25, 35
SOUTH    STANLEY       STANLEY CO SD (1/2) MI                                 MINERAL INTEREST   NON PRODUCING
DAKOTA                 TOWNSHIP 5, RANGE 27 E IN SECTION 33;
                       TOWNSHIP 7, RANGE 25 E IN SECTION 21, 28, 29
SOUTH    SULLY         SULLY CO SD MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                 TOWNSHIP 114, RANGE 80 (3/8 MI) IN SECTIONS 5,6,8;
                       TOWNSHIP 115, RANGE 80 (3/8 MI) IN SECTION 9, 28,
                       29,30,31 AND 32;
                       TOWNSHIP 115, RANGE 81
                       (3/8 MI) IN SECTION SECTION 25;
                       TOWNSHIP 113, RANGE 75 (1/2 MI) IN SECTIONS 25,26;
                       TOWNSHIP 113, RANGE 74 (1/2 MI) IN SEC 1 (NW/4); SEC
                       3 (W/2& E/2); SEC 10
                       (NE/4);
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        F CURBIER SVY A-221, 148 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        G W TUGGLE SVY A-771
                        WILLIAM WRIGHT SVY A-798, 224.25 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        THOMAS GOSS SVY A-27 & W L POOL SVY A-57, 638.8
                       ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 1 I&GN RR SVY BLK 1 PAT 583, 134.8 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        ROBERT ERWIN SVY A-262, 55 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        C C MCDONALD SVY A-1058, 88 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        SVY, 160 ACS
                        MITCHELL LEASE 0.000189 RI




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State   County        Legal Description                                 Interest Type      Status
TEXAS   ANDERSON      ANDERSON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                      J W CARPENTER SVY A-222 &
                      ANDERSON CSL SVY A-71, 3,573.9ACS
                      DOUGLAS LATIMER
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      CALVIN GAGE SVY A-174
                      CHARLES KESSLER SVY A-218
                      180.5 ACS(80.5 + 100)
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      J FARRELL & SARAH CASTLEBURY SVY, 79.9 ACS
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      HEADRIGHT SVY, 200 ACS
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      R H GRIMES SVY, 130 ACS
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      J FERRELL SVY, 100 ACS
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      S S BEASLEY SVY, 750 ACS
TEXAS   BASTROP       BASTROP CO TX NPRI J MARTIN SVY, 124 ACS J O      ROYALTY INTEREST   NON PRODUCING
                      BROWNING
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      J MARTIN & E HARRIS SVYS, 437.2 ACS
                      GEORGE OWEN (DANNELLEY)
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      J WRIGHT & J P WALLACE SVY, 242.5 ACS
                      H B EDWARDS
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      J CUNNINGHAM & J OGLESBY SVY, 2 ACS
                      AUGUST LINDNER ETUX
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      JAS WEST SVY, 200 ACS
                      HENRY MOBLEY
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      J FERRELL SVY, 105.92 ACS
                      C W MOEHRING NETTLES
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      T G ALLEN & P B ISLES SVY, 708.909 ACS
                      GEORGE NINK, ETAL



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State   County        Legal Description                                Interest Type      Status
TEXAS   BASTROP       BASTROP CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       DEMPSEY PACE SVY, 191 ACS
                       O M WEATHERBY
TEXAS   BASTROP       BRAZORIA CO TX NPRI                              ROYALTY INTEREST   NON PRODUCING
                       H. E. WEAVER F. S. PHILLIPS, 105 ACS
TEXAS   BEE           BEE CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 216 DAN MALEY SVY A-567, 127.9 ACS
TEXAS   BORDEN        BORDEN CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                       S. LAKE THOMAS LAVACA NAVIGATION SVY, 40 ACS
TEXAS   BRAZORIA      BRAZORIA CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       J W HALL SVY A-68, 322.01 ACS
TEXAS   BROWN         BROWN CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      GC&SF RR CO SVY 3, A-1403,
                      KERR CSL SVY 271,
                      ALL OF F. M. WILSON SVY, A-1372,
                      ALL OF DAY LAND & CATTLE CO SVY A-1727, 318.41
                      ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       A. R. GUILD SVY A-268, 571.236 ACS
                       LSED 04/04/08 3 YRS
TEXAS   BURLESON      BURLESON CO TX 1/3 X 50/136.5 MI                 MINERAL INTEREST   NON PRODUCING
                      136.5 ACS ABNER SMITH SVY
                      (JOHN COWDEN LSE)
                       .02289377 RI
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       JOHN CHEASEY SVY, 267.5 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       THOMPSON AND SANCHEZ LGES, 157 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       CHRISTIAN LABOR SVY, 13 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       S C ROBERTSON LGE 2, 59.75 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       LOTS 1-20 BLK 11 CHRISMAN TX, 1.7218 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       SVY, 17.625 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       MCKEEN SVY, 110.1205 ACS



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TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      GUILD & O PERRY SVY, 163 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      A CALVIN SVY, 80 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      JAS. LASTLEY LGE, 40 ACS
TEXAS   BURLESON      BURLESON & MILAM CO TX MI                            MINERAL INTEREST   NON PRODUCING
                      H MARTIN GRANT, 40.177 ACS
TEXAS   BURLESON      BURLESON & MILAM CO TX MI                            MINERAL INTEREST   NON PRODUCING
                      I. MAIDEN SVY,
                      SAMUEL SLATER SVY, 160 ACS
TEXAS   BURLESON      BURLESON & MILAM CO TX MI                            MINERAL INTEREST   NON PRODUCING
                      CHARLES SEVIER SVY A-226, 340 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      DAVID HOUSTON SVY, 194 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      JAS. DUNN SVY, 16.5 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      WM. ALLEN SVY, 53 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      S. A. LONG SVY, 160 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      W. W. HILL SVY, 103.85 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      W. W. HILL SVY, 130 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      S. Y. REAMS SVY, 102 ACS
TEXAS   BURLESON      BURLESON CO TX MI F. A. RUIZ SVY, 160 ACS            MINERAL INTEREST   NON PRODUCING
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      MILES & MOORE SVY, 173.25 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      E SANTE SVY, 39.2 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      C A SMITH SVY A-209
                      PCC 634673 COFFIELD B-3 #1 0.09375 RI
                      PCC 634678 COFFILED B-3 #2 0.09375 RI (98875)




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State   County        Legal Description                                           Interest Type      Status
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       E. SANTE AND ABNER SVYS
                       COFFIELD-RUSSELL .09375 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       ABNER SMITH SVY
                       COFFIELD-SMITH .1875 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       ABNER SMITH SVY
                       COFFIELD-SMITH B .09375 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       ABNER SMITH SVY
                       COFFIELD-SMITH .1875 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                      JOHN CHESNEY SVY A-10: 425.85 ACS
                      TR 1 133.36 AC, TR 2 50.84AC, TR 3 126.75, TR 3B 2.38, TR
                      4 112.52 AC
                      ADAMS-LAKEVIEW DEVELOPMENT NO.1-AREUNIT
                      LAKEVIEW UNIT 1 .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                      SEC 1 MOSES CUMMINGS SVY A-16, 300 ACS
                      J M ORSAG UNIT 1, 2,
                      0.0046542 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                      E SANTE SVY
                      GRAMM LEASE .0628 RI
TEXAS   BURLESON      BURLESON CO TX NPRI                                         ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 25 ACS
                       W. A. BOUNDS, ET UX
TEXAS   BURLESON      BURLESON CO TX NPRI                                         ROYALTY INTEREST   NON PRODUCING
                       J S WINSTON SVY, 645 ACS
                       F. C. EDMINSTON ESTATE
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       A.THOMPSON SVY, 262 ACS
                       H NEVILLS SVY
                       J. M. SANCHEZ SVY
                       F. M. ETHERIDGE EST.
TEXAS   BURLESON      BURLESON CO TX NPRI                                         ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 125 ACS
                       M. T. FOOD LAND


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TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ELIZA SANTE SVY, 221 ACS
                      NELLIE K. GRAMM
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ABNER SMITH SVY, 379 ACS
                      J. N. GREEN LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      JAMES SHAW SVY, 44.8 ACS
                      M.H. HELFORD ET UX
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      WILLIAM OLDHAM SVY, 160 ACS
                      T. S. HENDERSON LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      JOHN WINSTON SVY, 645 ACS
                      JOHN A. JACKSON LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      SAM WILLIAMS SVY, 20 ACS
                      SARAH ANN JACKSON ET AL
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      I&GN RR SVY, 140 ACS
                      E. A. LARREMAORE ET UX
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ELIZA SANTE SVY, 500 ACS
                      GENEVIEVE MAAS, A WIDOW &
                      NELLIE GRAMM ET VIR
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ELIZA SANTE SVY, 218 ACS
                      GENEVIEVE MAAS, A WIDOW
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ABNER SMITH SVY, 86 ACS
                      W. T. MACY & A. S. CROW LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      MARY CARNAGHAN, 99 ACS
                      ROBERT MCLANE LAND
TEXAS   BURLESON      BURLESON CO TX NPRI J. C. WALKER SVY, 247 ACS P.   ROYALTY INTEREST   NON PRODUCING
                      H. HARRISS ET UX (OGLE LAND)
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      SVY, 160.33 ACS
                      J. P. STEVENS & W. EVANS DOVIE RAY JONES, ET VIR


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State   County        Legal Description                                 Interest Type      Status
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 100 ACS
                       RAY AND JONES LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 103 ACS
                       JESSE Q. RAY, A SINGLE MAN
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       J. C. WALKER SVY, 664.25 ACS
                       W.H. ORR, ET UX, B. REGENBRECHT LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       J. C. WALKER SVY, 175 ACS
                       MRS. CADDIE SCARBROUGH, A WIDOW
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 80 ACS
                       TEX-OKAN MILLING CO LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       JAMES SHAW SVY, 280 ACS
                       VOGEL LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       HENRY MARTIN SVY, 40 ACS
                       I. H. WARREN, ET UX
TEXAS   BURLESON      BURLESON CO TX MI                                 MINERAL INTEREST   NON PRODUCING
                      AARON COLVIN SVY A-13, 80 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                 MINERAL INTEREST   NON PRODUCING
                      E. SANTE SVY A-210, 40 ACS
                      COFFIELD UNIT A (C2502) .1250 RI
                      COFFIELD UNIT A (C2502) .0625 ORRI
TEXAS   BURLESON      BURLESON CO TX MI                                 MINERAL INTEREST   NON PRODUCING
                      E SANTE SVY A-210, 43.6 ACS
                      H H COFFIELD -A- #2 (04209)
                      .0416666 RI & .02083332 ORI
TEXAS   CALDWELL      CALDWELL CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       MILES G. DYKES SVY, 3 ACS
                       W. V. HARDIN
TEXAS   COOKE         COOKE CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      GARCIA SVY A-404, 112 ACS
TEXAS   DALLAS        DALLAS CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                       WILLIAM B. COATS SVY, .29 AC
                       ETTA D. BLANDCHARD ET VIR


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TEXAS   DALLAS       DALLAS CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                      JAMES MATTHEWS SVY, 8.45 ACS
                      FOREST LAWN LOT OWNERS ASSN
TEXAS   DALLAS       DALLAS CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      JOHN S JONES SVY A-687, 155 ACS
TEXAS   DE WITT      DE WITT CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      JAMES DUFF SVY A-153, 167 ACS
                      LUKE M. MASON SVY A-335, 20
                     ACS
TEXAS   DE WITT      DEWITT CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                     JAMES MAY 1/4 LGE A-324, 103 ACS
TEXAS   DE WITT      DEWITT CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      JAMES DUFF SVY A-153
                      & LUKE MASON SVY A-325, 40 ACS
TEXAS   DIMMIT       DIMMIT CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      LOT 7, BLK 175 OF SUB L, 80 ACS
                      LOT 7 & 10 BLK 11 SUB A, 80
                     ACS
                      LOT 9 BLK 11 & LOT 11 BLK 10 SUB A, 80 ACS
                      ALL IN TAFT-CATARINA PROPERTIES SUBD
TEXAS   DIMMIT       DIMMIT CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                      T&NO RR SVY, 40 ACS
                      JEFF ARCHER ESTATE
TEXAS   DIMMIT       DIMMIT CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                      SEC 651 A-102, 40 ACS
                      SAM F. SHROUT ET UX
TEXAS   DIMMIT       DIMMIT CO TX 2/3 MI LOT 14 BLK-4 SUBD A,           MINERAL INTEREST   NON PRODUCING
                     W R RUTLEDGE SVY A-1229 TAFT-CATARINA, LOT 14
                     BLK-8 W R RUTLEDGE SVY A-1229 CATARINA
                     TOWNSITE 80 ACS
                     ADDITIONAL PROPERTY TO ACCOUNT, SEE DEED
                     DATED 08/30/1984, VOL. 206, PG 6
TEXAS   DIMMIT       DIMMIT CO TX 3/128 NPRI                            MINERAL INTEREST   NON PRODUCING
                     LOTS 11 & 12 BLK 2
                     TAFT-CATARINA SUBD A, 80 ACS
                     DEED DTD 07/18/1953,
                     RECORDD IN VOL. 106, PG 539-540




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TEXAS   DIMMIT       DIMMIT CO TX 3/128 NPRILOT 12 BLK 6 TAFT-          MINERAL INTEREST   NON PRODUCING
                     CATARINA SUBD A, 40 ACS DEED DTD
                     05/29/1961,RECORDD IN VOL. 120, PG 361
TEXAS   DIMMIT       DIMMIT CO TX 3/128 NPRI                            MINERAL INTEREST   NON PRODUCING
                     LOT 1 BLK 10
                     TAFT-CATARINA SUBD A, 40 ACS
                     DEED DTD 11/02/1953,
                     RECORDD IN VOL. 107, PG 93
TEXAS   ECTOR        ECTOR CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     GOLDSMITH ADOBE UNIT
TEXAS   FAYETTE      FAYETTE CO TX 1/2 X 3/4 X 1/8 X 7/8 ORI            OVERRIDING         NON PRODUCING
                     J T WHITESIDE LEAGUE A-107, 500 ACS                ROYALTY
                     JANECKA -A- (RRC 700)
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                     237 ACS, JOHN VANDERWORTH LGE A-312
                     IRENE UNIT- A NO. 1
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      AMAZIAH E BAKER LGE A-8
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      A.E. BAKER LEAGUE A-8 &
                      MARY PHELPS LEAGUE A-82, 210.7 ACS
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      A.E. BAKER LEAGUE A-8 &
                      MARY PHELPS LEAGUE A-82, 210.7 ACS
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      J.G. WILKINSON SVY A-108, 94.9 ACS
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      MARY PHELPS LGE A-82, 50 ACS
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                     W. WILLIAMSON SVY A-113, 795.084
                     GEOSOUTHERN-AMY .03125 RI
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                     J G WILKINSON SVY A-108
                     GEOSOUTHERN-STAR .046875 RI
TEXAS   GALVESTON    GALVESTON CO TX MI                                 MINERAL INTEREST   NON PRODUCING
                     JOHN D. MOORE LEAGUE




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TEXAS   GARZA       GARZA CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     SEC 1111 TWN G RY CO SVY A-353: SW/4, 160 ACS
                     PATENT 436 VOL
                    29 CERT 0/38
TEXAS   GOLIAD      GOLIAD CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    321.2 ACS OUT OF THE R. E. HANDY SVY
                    AND M. G. CARICO SVY A-90
TEXAS   GRAY        GRAY CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                     H&GN RR CO SVY, 562.2 ACS
                    FEDERAL FARM MORTGAGE CORP.
TEXAS   GREGG       GREGG CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     L B OUTLAW SVY A-159
                    CALVIN BROWN .005 RI
TEXAS   GREGG       GREGG CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     L B OUTLAW SVY A-159
                    ROSA BROWN .03125 RI
TEXAS   GREGG       GREGG CO TX                                         MINERAL INTEREST   NON PRODUCING
                    L B OUTLAW SVY A-159
                    ROSA BROWN .020834 RI
TEXAS   GRIMES      GRIMES CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    J. G. TONG SVY A-446, 188 ACS
TEXAS   HARRIS      HARRIS CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    JACOB HALL SVY, 161.75 ACS
TEXAS   HARRIS      HARRIS CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    JOHN WHITE SVY, 140 ACS
TEXAS   HARRIS      HARRIS CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HARRIS-WILSON 2 LGE GRANT, 2.09 ACS
                    BANKERS MORTGAGE CO.
TEXAS   HARRIS      HARRIS CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HARRIS-WILSON 2 LGE GRANT, 3.32157 ACS
                     A.B. O'DONNELL ET,
                    UX
TEXAS   HARRIS      HARRIS CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HARRIS-WILSON FIRST TIER, .5603 ACS
                    JOHN CLAYTON
TEXAS   HARRIS      HARRIS CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HARRIS -WILSON FIRST TIER, .7 AC
                    N.J. KLIEN



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TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      HARRIS-WILSON 2 LGE GRANT, 3.305 ACS
                      ANTHONY B. O'DONNELL
                      ET UX
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      J. MITCHELL SVY A-570, 100 ACS
                      E.A. SCROGGINS, ETUX
TEXAS   HARRIS        HARRIS CO TX NPRI J. MITCHELL SVY A-570, 4.556 ACS   ROYALTY INTEREST   NON PRODUCING
                      E.A. SCROGGINS ET, UX
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      HARRIS-WILSON 2-LEAGUE GRANT, .7 ACS
                      TEXAS-LOUISIANA CORP
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      PART OF LOT 3, BLK. 35, 2.778 ACS
                      URSULINE ACADEMY OF GALVESTON ET AL
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      JOHN BROWN SVY, 2.778 ACS
                      U.S.A. ADM. OF GENERAL SVCS
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      JOHN BROWN SVY, 11.5 ACS
                      E. MONROE WISE ET UX
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      HARRIS-WILSON 2 LGE GRANT, 2.245 ACS
                      JOHN H. BLAFFER, T.J.HILL & KINCAID SC
TEXAS   HARRISON      HARRISON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      P.R. PEARSON SVY, 50 ACS
TEXAS   HARRISON      HARRISON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      DAVID HILL SVY, 41.5 ACS
TEXAS   HARRISON      HARRISON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      PRANSON & FAZER SVY, 72.5 ACS
TEXAS   HOUSTON       HOUSTON CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      S. A. RINGO & JESSIE DODSON, 6.8 ACS
TEXAS   HOUSTON       HOUSTON CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      MARY INGRAM SVY A-1263, 160 ACS
TEXAS   HOWARD        HOWARD CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                      SEC 4 BLK 34 T1S T&P SVY, 320 ACS




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TEXAS   HUNT           HUNT CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                        PRICE SVY, 269.6926 ACS
                        W.M. JACKSON
TEXAS   JACK           JACK CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                       S H TRIGHMAN SVY A-1724; A-2339
                       STEED-LEACH
                       LEACH #1 .0208334
                       RI
TEXAS   JACK           JACK CO TX MI 160 ACS                             MINERAL INTEREST   NON PRODUCING
                       S. H. TILGHMAN SVY A-2339
                       CATLIN-LEACH #1 .0138890RI
TEXAS   JACK           JACK CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        S H TILGHMAN SVY A-1724, E/40 ACS
TEXAS   JASPER         JASPER CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                        A. WRIGHT SVY, 63 ACS
TEXAS   JASPER         JASPER CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                        A. WRIGHT SVY, 65 ACS
TEXAS   JEFFERSON      JEFFERSON & LIBERTY CO TX MI                      MINERAL INTEREST   NON PRODUCING
                        SEC 31 T&NO SVY, A-375, LIBERTY CO TX
                        SEC 1140
                       WHEELER SVY JEFFERSON CO TX
                        980 ACS
TEXAS   KARNES         KARNES CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                        VICTOR BLANCO ORIG GRANT A-3, 60.25 ACS
TEXAS   KAUFMAN        KAUFMAN CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                        NELSON SVY, 1343.78 ACS
                        W.P. KING SVY, 97.2 ACS
                        F.S. OLDT, ET UX
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        ABNER TAYLOR SVY LABOR 7 LGE 642, 177.1 ACS
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        ABNER TAYLOR SVY, 191.5 ACS
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        ABNER TAYLOR SVY LABOR 25 LGE 642, 100 ACS
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        ABNER TAYLOR SVY LABOR 3 LGE 642, 177.1 ACS
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        THOMSON SVY SEC 24, 637.7 ACS



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TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    JOHN CHENOWETH SVY A-60, 117.469 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    R. MILBUM SVY, 100 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    PEVEYHOUSE SVY, 45 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    THOS. MORROW SVY A-222, 276 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    JOHN PREWITT LGE A-259, 100 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    JOHN PREWITT LGE A-259, 106 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    W S DOBBINS LGE A-88, 116 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    J. M. DICKSON SVY A-94: 71.125 ACS
TEXAS   LEE         LEE CO TX MI E MILBURN SVY, 100 ACS                MINERAL INTEREST   NON PRODUCING
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    S.S. CURTIS & E. MILBURN SVY, 248 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    A. ESTES LGE, 157.5 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    W. H. BYNUM SVY A-6, 174 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    IRA CLEMONS SVY A-58, 204.1 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    AARON D. DODD SVY A-85, 125 ACS
TEXAS   LEE         BURLESON & LEE CO TX MI                            MINERAL INTEREST   NON PRODUCING
                    LEWIS MOORE SVY A-236
                    JOHN FURNASH LGE A-107
                    263.333 ACS, LSED 11/15/10 3 YRS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    S. S. CURTIS & B .W. SWEARAGIN SVYS, 71 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    NICHOLAS S. CRUNK SVY A-62, 61.25 ACS
                    NICHOLAS S. CRUNK SVY A-62, 42.827 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    JOHN PREWITT SVY, 111 ACS



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TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    JOHN FURNASH LGE A-107, 200 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    DANIEL WALKER SVY, 125 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    R T. S. MAHAN & S. S. CURTIS 1/3 LGE, 175 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    JOHN EASLEY SVY, 45.7 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    JOHN NEWTON SVY A-244, 120 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    DANIEL WALKER LGE, 105 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    GEORGE DARR SVY, 50 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    P. WIMBERLY SVY, 40 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    THOMAS WARD LGE, 68.5 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    THOS MORROW SVY A-222, 51.6 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    DANIEL WALKER SVY, 39.75 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    GEORGE KESSNER SVY, 40 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    WM. C. HUGHES SVY, 95 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    ARMSTRONG SVY, 100 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    IRA CLEMONS SVY A-58, 100 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    E. MILBURN SVY, 116.5 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    E. MILBURN SVY, 193 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    S.S. CURTIS SVY & E. MILBUM SVY, 175 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    E. MILBUM SVY, 24.405 ACS



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TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    A. S. MITCHELL SVY, 15 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    F. BOATWRIGHT LGE, 151.54 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    GEORGE DARR SVY 201 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    A. S. MITCHELL 1/3 LGE SVY A-221, 325 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    IRA CLEMMONS SVY A-58, 108 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    P. T. CUMEAL SVY, 70 ACS
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    W. N. MOCK LGE, 164 ACS
                    JOHN CURREY ET AL
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     C. L. L. CHILES & JOHN CHENOWITH SVY, 248 ACS
                     FIRST NATIONAL
                    BANK
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     J. A. TANNER LGE & FRANKLIN J. WILLIAMS SVY,
                    283.5 ACS
                    P. A.HELMS, ET UX
TEXAS   LEE         LEE CO TX NPRI IRA CLEMMONS SVY, 100 ACS B.         ROYALTY INTEREST   NON PRODUCING
                    HESTER ET UX
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    WILLIAM N MOCK SVY, 50 ACS
                    JOHN JENKINS ET UX
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     THOMAS MORROW SVY, 112.23 ACS
                    NORAH E. MARTIN
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     JOHN CHENOWETH SVY, 132.75 ACS
                    PEARL MCCAWLEY, A WIDOW
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     GEORGE W. GUTHIE & WARREN LYONS SVYS, 140
                    ACS,
                    ROSA A. MUSTONAL BY J. KNOX



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TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      P OWENS GRANT, 374 ACS
                      J. B. NEWTON ET UX
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      W. H. BYNUM LGE, 174 ACS
                      T. S. PEEBLES ET UX
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      JOHN CHENOWETH SVY, 144 ACS
                      J. T. PRUETT, ET UX
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      P. T. CUMEAL LGE A-61, 255 ACS
                      F. W. RETZLOFF ET AL
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      WILEY HARRISON SVY, 322.853 ACS
                      STATE BANK AND TRUST CO
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      WILLET HEADRIGHT SVY, 55 ACS
                      A. L. TURNIPSEED, ET UX
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      HENRY COOK LGE, 102 ACS
                      BETTIE WALDEN A WIDOW
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      THOMAS H. MAYS SVY, 130 ACS
                      H. M. WEST LAND
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      A. S. MITCHELL SVY, 200 ACS
                      FRED VOLLHUE
TEXAS   LEE          LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                     J F MANCHA SVY A-207
TEXAS   LEE          LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      JAMES SHAW SVY A-289, 139.6 ACS
TEXAS   LEE          LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      ROBERT FINNEY A-108, 91 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      JAS. HANNEY LGE, 160 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      JAS. HANNEY & H. B. JOHNSON LGE, 106 ACS




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TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      ELDRIDGE SVY, 10 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      S. O. THOMPSON SVY, 41 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      H. B. JOHNSON & JAS. HANDRY LGE, 130 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      JAMES HANEY LGE, 77 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     29.62 ACS OUT OF THE B W HOLTZCLAW SVY, A-187
                     (COFFIELD-STANISLAW)
TEXAS   MILAM        MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                      JOSE LEAL SVY, 16 ACS
                      JOHN HALL (R L ABBOTT, ET UX) GRANTOR
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      R L BATTE SVY A-453, 357.8 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      J L NICHOLSON SVY, 128.8 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      ELI WILLIAMS SVY A-380
                      JOHN NOLAN SVY A-286, 236 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      E SANTE SVY, 54.5 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      M A SACKETT SVY A-337, 105 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     D A THOMPSON SVY A-398 AND WILLIAM ALLEN SVY
                     MINERVA-ROCKDALE FIELD
                     H H COFFIELD E(A/K/A H H SHAMROCK 1) .0833334 RI
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      J. LEAL SVY, 100 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      T. J. CHAMBERS SVY, 40 ACS
TEXAS   MILAM        MILAM CO TX MIJ. B. HARVEY SVY A-186, 103 ACS      MINERAL INTEREST   NON PRODUCING
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     MARY SACKETT SVY A-337, 72 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     J. A. PREWITT SVY A-288, 45 ACS



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State   County      Legal Description                                      Interest Type      Status
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    MARY SACKETT SVY A-337, 75 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    MARY SACKETT SVY A-337, 16.33 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    MARY SACKETT SVY A-337, 82 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    B. F. SWOAP SVY A-328, 218.5 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    J. B. HARVEY SVY A-186, 130 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    J. LEAL SVY A-29, 20 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                     ELIZA SANTE SVY A-210, 40 ACS
                     BROWN & MCKENZIE
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                     WILLIAM ALLEN SVY A-72
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                     ROBERT WALKER HEIRS SVY A-382
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    W W HILL SVY
                    COFFIELD -LOCKHART .1875 RI
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     D A THOMPSON SVY, 5 ACS
                     A. AGUILLAR, ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     WM. ISAACS & JAS. STEVENS SVY, 336 ACS
                     SAM GARDNER (J. BALFORD EST) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     S. C. ROBERTSON SVY A-52, 101.666 ACS
                     ALUMINUM CO. OF AMERICA GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     J. P. SMITHSON & E.S.C. ROBERTSON SVY, 160.5 ACS
                     T.F. CRISWELL (G.W. MARZILLA APPLIN)
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     J. J. ACOSTA SVY, 134.167 ACS
                     DORIS SIMMS AVRETT, ET AL, GRANTOR




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TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 16 ACS
                    JIM BARTLETT ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    S. Y. REAMS SVY, 17.9 ACS
                    ELDON BATTE ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    HENRY MARTIN SVY, 65 ACS
                    KATE BEATY, ET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 2.5 ACS
                    CARL C. BLACK GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    ROBERT WALKER SVY, 660.3 ACS
                    ED. J. BAHAC ET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 5 ACS
                    DAN F. BOUNDS LAND GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    T.S. ARNETT SVY, 9.601 ACS
                    BRIDLE BIT MRS. SUE HALE,
                    A FEME SOLE GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    G. W. TEVIS SVY, 263 ACS
                    C. W. HINYARD (R.N. BRENNAN ETAL)
                    GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    S. P. CARSON SVY, 10 ACS
                    KENNETH BRODNAX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 175 ACS
                    J. MCGREGOR (MRS. NM BULLOCK)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    H. MARTIN & J SHAW SVY, 133 ACS
                    MRS. N. M. BULLOCK GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 30 ACS
                    J.W. BUSBY ETUX GRANTOR



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State   County      Legal Description                                Interest Type      Status
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    W. THOMPSON SVY, 820.9 ACS
                    LENA EVANS CALLIER GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI D. A. THOMPSON SVY, 1 AC        ROYALTY INTEREST   NON PRODUCING
                    CHARLES CALVIN GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    F. RUIZ SVY, 256.4 ACS
                    C.W. HINYARD (ARCHBISHOP OF
                    SAN ANTONIO) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 55 ACS
                    WM. CAMERON CO. (CAYWOOD LN.) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 100 ACS
                    A.L. CAYWOOD ETUX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 100 ACS
                    LOUIS CAYWOOD GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 55 ACS
                    RUBEN CAYWOOD GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 70 ACS
                    W. T. CAYWOOD GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 128.61 ACS
                    WILLARD T. SCURLOCK (O. CHARLES ETUX)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 10.4 ACS
                    BERTIE W. CHINN GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JAMES SHIELDS SVY, 180 ACS
                    E. GUNN (J. M. COLLINS EST.LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 15 ACS
                    SONS OF HERMAN (CORBITT LAND) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 8 ACS
                    MRS. EDNA COULTER GRANTOR


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State   County      Legal Description                                 Interest Type      Status
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 115.5 ACS
                    J. COX (M. G. COX, ESTATE) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    B. W. HOLTZCLAW SVY, 1,389.66 ACS
                    CULPEPPER-SIMMS LAND
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 40 ACS
                    CRAYTON LAND GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    E. BAILEY SVY, 605.5 ACS
                    J. M. CUNNINGHAM LANDS. GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 65.77 ACS
                    HOWARD J. DEBUS. GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 50 ACS
                    J. W. DYER, TE UX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 4.6 ACS
                    VERNON DYJMKE, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 3 ACS
                    FRANK BYMKE, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 10.5 ACS
                    VERNON DYMKE, ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                    ELIZA SANTE SVY, 47 ACS
                    R.E. EAKIN LAND GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JAMES SHIELDS SVY, 108 ACS
                    J. J. ELLIOTT LAND
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    F. RUIZ SVY, 80.75 ACS
                    FEDERAL LAND BANK (T. A. FISHER)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. W. HAYS SVY, 68.33 ACS
                    R. A. THOMAS ET UX ( FIRST NAT.BANK) GRANTOR


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State   County      Legal Description                                     Interest Type      Status
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    T. F. HAILEY SVY. I & GN RR SVY, 68.33 ASC
                    BENTLEY FLETCHERET UX, WIDOW GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    T. F. HAILEY SVY, 67.5 ACS
                    LOUISE FLETCHER, WIDOW GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI I & G N RR T. F. HAILEY SVY, 119.2   ROYALTY INTEREST   NON PRODUCING
                    ACS WILLIAM S. FLETCHERET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    C. S. WALDEN & D. A. THOMPSON SVY, 807.6 ACS
                    E. H. FOSTER ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    SMITH VINCENT SVY, 25 ACS
                    J. R. FRAIM LAND
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    RICHARD ROSS SVY, 100 ACS
                    J. S. FRANKLIN, ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    CHAMBERS, THOMPSON, ARNETT SVYS, 128.75 ACS
                    MRS. J. A. GAMBILL, ET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 84.25 ACS
                    DAVIS R. GARLAND ET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    G. W. TEVIX & S. Y. REAMS SVY, 130.5 ACS
                    W.V. HARDIN (TOM E.
                    GARRARD ET UX)
TEXAS   MILAM       MILAM CO TX NPRI                                      MINERAL INTEREST   NON PRODUCING
                    JAS. SHELTON SVY, 50 ACS
                    L. FYKES ET AL (W GIBSON)
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 36 ACS
                    W. GIBSON (JESSE H. GORE LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    D. A. THOMPSON SVY, 8 ACS
                    JOE W. GRABENER
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    WM. THOMPSON SVY, 250 ACS
                    H. L. GREEN ET UX (LELAND GREEN)


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State   County      Legal Description                                Interest Type      Status
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JAMES LEWIS SVY, 194.5 ACS
                    LELAND GREEN JR. ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    S. P. CARSON SVY, 5 ACS
                    R.O. GREER, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 21 ACS
                    FLOYD Y. GRIFFIS, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 116 ACS
                    JOSIE PALMER, S. C. GRUBAUGH ET UX
                    GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    CHARLES BIGELOW SVY A-100, 435.2 ACS
                    E. A. CAMP (C. H. GUSTAFSON ETUX)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 50 ACS
                    JOHN T. HALE ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    ELIZA SANTA SVY, 520.054 ACS
                    W. N. HALE LAND
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    A. M. TANDY SVY, 932.2 ACS
                    W.M. KELLER (H.H. HALL EST)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 17 ACS
                    WALLIS M HARRIS ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    ELIZA SANTE SVY, 52.11 ACS
                    LEO HARRIS LAND GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JAMES DUNN A-146, 50 ACS
                    R. A. HAIRSTON
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    SMITH VINCENT SVY, 75 ACS
                    LEE BATTE HARVEY (JEAN KAY) GRANTOR




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State   County      Legal Description                                 Interest Type      Status
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JAS. SHELTON SVY, 185.25 ACS
                    HAYNIE ESTATE LANDS
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 150.6 ACS
                    P. SANDERS, W. L. HALL ET UX (HELMS LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    B. C. ROBERTSON SVY, 94.456 ACS
                    CARROL ROBERTSON ET UX (OSWALD HENNIGER)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 15 ACS
                    HOLCOMB OR LOCKETT LAND
TEXAS   MILAM       MILAM CO TX NPRI JOSE LEAL SVY, 1.02 ACS ROBERT   ROYALTY INTEREST   NON PRODUCING
                    F. HOSKINS
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    D. A. THOMPSON SVY, 70 ACS
                    W. V. HARDIN ET UX (LON HUDSON LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 1013 ACS
                    INTERNATIONAL COAL MINE PROPERTY
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JOHN DUNLAP MRS M. I. JAMES, 303 ACS
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. J. ASOSTA SVY, 176.33 ACS
                    J. G. THOMPSON (LOUIE JENNESSLAND)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J.J, ACOSTA SVY, 21.25 ACS
                    MRS. IDA JENNESS, ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JAS. SHELTON SVY, 141 ACS
                    A. B. KERR ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. M. HAYS SVY, 120.37 ACS
                    HELEN C. KIEFERS. A WIDOW
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    CARSON AND STEPHENS SVY, 901.25 ACS
                    C. A. PRATER ET UX (G.B. KINCAID LAND)




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State   County      Legal Description                                  Interest Type      Status
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    GABRIEL JACKSON SVY, 4 ACS
                    EARL LEECH ET UX (FITZ KOCH LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 41 ACS
                    C.L. KOLB ESTATE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS & J. LEAL SVY, 220 ACS
                    KRULL PLACE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    JAMES SHIELDS SVY, 100 ACS
                    P. SANDERS (HARRY LANDA)
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    G.B. BOWEN, 160.5 ACS
                    ROY LAW
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 95 ACS
                    J.F. LEEPER
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    ELIZA SANTE SVY, 209.07 ACS
                    LENA PETER LIBERTO, ET VIR
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 120 ACS
                    PRESTON SANDERS (LINDSEY FARM)
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    W W HILL SVY, 54.75 ACS
                    L L LONG ESTATE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    M. DAVILLA SVY, 183.656
                    L. M. MASSEY ESTATE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    J. A. JONES SVY, 72 ACS
                    MRS. IDA MATHEWS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    S. A. LONG SVY, 640 ACS
                    MARTHA DANA MERCER
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 61 ACS
                    W. GIBSON (MIKE MONTOYA)


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State   County      Legal Description                                 Interest Type      Status
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. H. SVY, 131 ACS
                    CARL C. BLACK (J.G. MOON, EST.)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    S. Y. REAMS SVY, 31.5 ACS
                    MARY MULLINS ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    C. M. MATHEWS SVY, 178 ACS
                    P. SANDERS (MCGOWN & ANDERSON)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    E & H HARDCASTLE SVY, 260.4 ACS
                    HOMER NABOURS, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    THOMPSON-CHAMBERS SVY, 460 ACS
                    GABINO NIETRO
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 148.9 ACS
                    A. N. OWENS
TEXAS   MILAM       MILAM CO TX NPRI ELIZA SANTA SVY, 209.07 ACS      ROYALTY INTEREST   NON PRODUCING
                    ALBERT V. PETER ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    S. G. ROBERTSON SVY, 193 ACS
                    PHILLIPS LAND
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 13.125 ACS
                    CECIL PLATE, ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 60 ACS
                    PAULINE PRIESS, ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    S. C. ROBERTSON SVY, 96.4 ACS
                    CARROLL ROBERTSON ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    S. C. ROBERTSON SVY, 96.4 ACS
                    CARROLL ROBERTSON ET UX




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TEXAS   MILAM       MILAM CO TX 1,008.76 NPRI                          ROYALTY INTEREST   NON PRODUCING
                    TRACT 1: W. ISAACS SVY A-219; J. STEPHENS SVY
                    A-322 & JAMES A SMITH SVY A-331 AND
                    TRACT 2: WILLIAM ISAACS SVY A-219;
                    J. STEPHENS SVY A-322
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSE LEAL SVY, 81.25 ACS
                     MRS. MARY ROBINSON & W.A.L. ROBINSON
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     M. J. DELGADO SVY, 11 ACS
                     RUTH C. ROBINSON, ET VIR
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     T. J. CHAMBERS SVY, 37.27 ACS
                     NANCY A. ROUNTREE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSE LEAL SVY, 122 ACS
                     W. P. ROSE, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     H. HAWFORD SVY, 34.5 ACS
                     P. SANDERS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     DAVID HOUSTON SVY, 50 ACS
                     T.C. SCARBOROUGH LAND
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HENRY MARTIN SVY, 86.75 ACS
                     SCOTT HEIRS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JACOB WILCOX SVY, 10 ACS
                     SCOTT AND WHITE LAND
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     CARSON AND ROBERTSON SVY, 7.42 ACS
                     HATTIE SIDES ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     A. T. MILES SVY, 58 ACS
                     R. J. SLOAN, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     MORRIS MOORE SVY, 35 ACS
                     R J SLONE



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TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    J. F. FRAZIER SVY, 753.2 ACS
                    DORCAS BATTE SMITH ET VIR
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    G. H. BORROUGHS SVY, 80 ACS
                    STEWART LAND
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JAMES SHELTON SVY, 80 ACS
                    JEWEL O. STEWART ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 159.85 ACS
                    D.J. SULLIVAN
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    ELIZA SANTE SVY, 103 ACS
                    CLAUD SWEAKS ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    SMITH VINCENT SVY, 130 ACS
                    LEO TAYLOR ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 89.79 ACS
                    JAMES A TERRY ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JAS. SHELTON & GEORGE DAMPKIN SVYS, 157.5 ACS
                    RAY E. THOMPSON
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    S. C. ROBERTSON & T. J. CHAMBERS SVYS, 68 ACS
                    JOHN TIMMERMAN ET AL LAND
TEXAS   MILAM       MILAM CO TX NPRI J.J. ACOSTA SVY, 17 ACS A. G.      ROYALTY INTEREST   NON PRODUCING
                    TRIGGS ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    H. HARDCASTLE SVY, 100 ACS
                    ELLA TAYLOR VANOVER ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JACOB WILCOX SVY, 4.772 ACS
                    HERBERT M WALKER, SR. ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JAS. PREWITT SVY, 36 ACS
                    W. R. WILLIAMS ET AL



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TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     D. H. VAN VEIGHTON SVY, 80 ACS
                     HOUSTON WILLIAMS & B. R. WILLIAMS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     DAVID CURRY SVY, 37.5 ACS
                     D. B. WILLESS ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSE LEAL GRANT, 109 ACS
                     H.D. YOAKUM ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     D. A. THOMPSON SVY
                     J. TOM WILLIAMS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSE LEAL SVY, 70.5 ACS
                     D. A. THOMPSON SVY
                     J. TOM WILLIAMS
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    CHARLES BIGELOW SVY A-100, 40 ACS
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    WM PHARARRAS SVY, 177 ACS
                    TRS OF 88 & 89 ACS,
                    R W WALLIS TO TOM PREWITT
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    MINERVA ROCKDALE A-7, 5.5 ACS
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    W W HILL SVY A-191, 103.85 ACS
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    JOSE LEAL SVY
                    COOK E M (03465)
                    .0555668 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    ELIZA SANTE SVY A-317, 40 ACS
                    H H COFFIELD -D- (RRC 4315)
                    .01041666 RI &.01041666 ORRI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     J W COLLINS SVY A-130, 180 ACS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSEPH COTTLE SVY A-129: 121.799 ACS



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TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     F A RUIZ SVY A-308, 160 ACS
TEXAS   MILAM        MILAM CO TX 2/3 MI                                 MINERAL INTEREST   NON PRODUCING
                     190.80 ACS, C M MATTHEWS SVY A-57
TEXAS   MONTGOMER    MONTGOMERY CO TX MI                                MINERAL INTEREST   NON PRODUCING
        Y            W. DUNLAVY SVY, 100 ACS
TEXAS   MONTGOMER    MONTGOMERY CO TX MI                                MINERAL INTEREST   NON PRODUCING
        Y             PETER WITTAKER SVY, 80 ACS
                     SAN JACINTO CO
TEXAS   MONTGOMER    MONTGOMERY CO TX NPRI                              ROYALTY INTEREST   NON PRODUCING
        Y            DUNCAN MCINTIRE SVY A-386, 91.8 ACS
TEXAS   NAVARRO      NAVARRO CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                     JOHN MCNEAL SVY, 65 ACS
TEXAS   NAVARRO      NAVARRO CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                      S.F. MCCANLESS A-516, 2 ACS
                     ELEANOR MUNSEY SLOAN ET VIR
TEXAS   ORANGE       ORANGE CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                     SEC 26 T&NO SVY: NW/4, 160 ACS
                     AKA BECKWITH SVY A-391 HARRY
                     LUCAS
TEXAS   PARKER       PARKER CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      T T HINES SVY A-2611, 80 ACS
                     JAMES MULBERRY SVY A-1887, 64 ACS
TEXAS   PARMER       PARMER CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                      SEC 20 IN BLK B: NE/4, 160 ACS
                      OF THE CAPITOL SYNDICATE SUBD
                     FARWELL NATL FARM LOAN ASSOC
TEXAS   POLK         POLK CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     P A SUBLET SVY A-71, 52.76 ACS
TEXAS   POLK         POLK CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     I D THOMAS LGE, 85.5 ACS
TEXAS   POLK         POLK CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     WM SHADBURN & J C PITE SVYS, 35 ACS
TEXAS   POLK         POLK CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     SHANBUM SVY, 35 ACS
TEXAS   POLK         POLK CO TX MI J. C. PITTS SVY, 35 ACS              MINERAL INTEREST   NON PRODUCING




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TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      WILLIAM DAVIS SVY, 85.5 ACS
                      LESTER 2.5 ACS
                      LIVELY 83 ACS
TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      THOMAS & PACE LEAGUE, 41.5 ACS
TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      P A SUBLET SVY A-71, 48.5 ACS
TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      MARY SWINNEY SVY, 50 ACS
TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      MARY SWINNEY SVY, 10 ACS
TEXAS   REAGAN        REAGAN CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      SEC 13 BLK E HE&WT SVY A-211: NW/4, 160 ACS
TEXAS   ROBERTSON     ROBERTSON CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      JOHN FISHER 1/4 LEAGUE SVY, 30 ACS
TEXAS   RUSK          RUSK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      W. F. HYDE SVY, 111.3 ACS
TEXAS   SAN JACINTO   SAN JACINTO CO TX MI                                MINERAL INTEREST   NON PRODUCING
                      J. F. D. RUMAYON SVY, 85 ACS
TEXAS   SAN JACINTO   SAN JACINTO CO TX MI                                MINERAL INTEREST   NON PRODUCING
                      SMITH AND WHITE SVY, 50 ACS
TEXAS   SAN JACINTO   SAN JACINTO CO TX MI                                MINERAL INTEREST   NON PRODUCING
                      C. SMITH SVY, 64 ACS
TEXAS   SCURRY        SCURRY CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      SEC 253 BLK 97, H&TC SVY: NE/4, 160 ACS
                      LEE .0273438 RI
TEXAS   SCURRY        SCURRY CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                      H&TC SVY W H MURPHY, 21 ACS
TEXAS   SMITH         SMITH CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                      CICERO WARREN JAMES CHAFFIN SVY, 53.17 ACS
TEXAS   SMITH         SMITH CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      J.H. SANDERS SVY, J.H. WILKERSON SVY, A. WALSH
                      SVY
                      MRS. WAUNETTE BARR, FEME SOLE, 182.98 ACS
TEXAS   SMITH         SMITH CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                      P LIVELY SVY A-566
                      KARPER-PALUXY GU 1,2,3



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TEXAS   TAYLOR       TAYLOR CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      NOT SOLD WM. BISHOP SVY 43 JOHN ADAMS SVY 44
                      (ROSIE LEE JONES, ET AL), 276.7 ACS
TEXAS   TRAVIS       TRAVIS CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      WILKINSON SPARKS 44 (W. W. BENNETT ET UX), .047
                     ACS
TEXAS   TRAVIS       TRAVIS CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      WILKINSON SPARKS 4 A-21 (ALLEN M. CAIN), 3.82 ACS
TEXAS   TRAVIS       TRAVIS CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      WILKINSON SPARKS 4 (ALLEN M. CAIN ET UX), 1.16
                     ACS
TEXAS   TRAVIS       TRAVIS CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      WILKINSON SPARKS 4 (PAUL S. CEDER), 125.24 ACS
TEXAS   WALLER       WALLER CO TX MI                                      MINERAL INTEREST     NON PRODUCING
                      S. MARSH SVY A-217, 137 ACS
TEXAS   WALLER       WALLER CO TX MI                                      MINERAL INTEREST     NON PRODUCING
                      S. MARSH SVY, 74 ACS
TEXAS   WALLER       WALLER CO TX MI                                      MINERAL INTEREST     NON PRODUCING
                      WINGFIELD LEAGUE, 450 ACS
TEXAS   WINKLER      WINKLER CO TX MCL                                    MINERAL CLASSIFIED   NON PRODUCING
                      SEC 9 BLK B-2 PSL SVY A-1931: N/2 S/2, 160 ACS      LAND
TEXAS   WINKLER      WINKLER CO TX NPRI                                   ROYALTY INTEREST     NON PRODUCING
                      SEC 42 BLK 21 UNIVERSITY SVY: NW/4
TEXAS   WOOD         WOOD CO TX MI                                        MINERAL INTEREST     NON PRODUCING
                      BROOKS & BURLESON SVY A-92, 495.66 ACS
TEXAS   WOOD         WOOD CO TX 7.5/92.6 RI                               ROYALTY INTEREST     NON PRODUCING
                     BERRY SMITH SVY, 92.6 ACS
                     BESSIE CONNOR LSE .0068742RI
                     HAWKINS FIELD UNIT (747 WELLS) RRC 5743
TEXAS   WOOD         WOOD CO TX MI                                        MINERAL INTEREST     NON PRODUCING
                      GREEN B WATKINS SVY A-629, 207.9 ACS
TEXAS   WOOD         WOOD CO, TX 1.25/99 RI                               ROYALTY INTEREST     NON PRODUCING
                     BERRY SMITH SVY A-534, 99 ACS
                     J. D. KENNEMER LSE .00106132 RI
                     HAWKINS FIELD UNIT (747 WELLS) RRC 5743
TEXAS   WOOD         WOOD CO TX MI                                        MINERAL INTEREST     NON PRODUCING
                      DAVID GILLILAND SVY A-162, 87.7 ACS




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TEXAS   YOAKUM      YOAKUM CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                     SEC 788 JOHN H GIBSON SVY, 640 ACS
                    SEC 854 JOHN H GIBSON SVY, 640 ACS
TEXAS   YOAKUM      YOAKUM CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    SEC 756 BLK D JOHN H GIBSON SVY: E/2, 320 ACS
TEXAS   ZAVALA      ZAVALA CO TX NPRI SVY NO 386, SVY NO 387, SVY NO      ROYALTY INTEREST   NON PRODUCING
                    388, SVY NO 389, SVYNO 390, SVY NO 391, SVY NO 392,
                    DEWITT LANGFORD ET UX, 2,213.315 ACS




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